20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                               Pg 1 of 342



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Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            )
In re:                                                      )    Chapter 11
                                                            )
OneWeb Global Limited, et al.                               )    Case No. 20-22437 (RDD)
                                                            )
                                 Debtors. 1                 )    (Jointly Administered)
                                                            )

            NOTICE OF FILING OF SOLICITATION VERSION OF DISCLOSURE
         STATEMENT RELATING TO THE SECOND AMENDED JOINT CHAPTER
         11 PLAN OF REORGANIZATION OF ONEWEB GLOBAL LIMITED, ET AL.

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) hereby file the solicitation version of the Disclosure Statement
Relating to the Second Amended Joint Chapter 11 Plan of Reorganization of OneWeb Global
Limited, et al. (the “Solicitation Version Disclosure Statement”), attached hereto as Exhibit A.
A blackline of the Solicitation Version Disclosure Statement is attached hereto as Exhibit B,
which reflects changes from the Disclosure Statement Relating to the First Amended Joint
Chapter 11 Plan of Reorganization of OneWeb Global Limited, et al. [Docket No. 519] filed on
August 26, 2020.



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, if
    any, are: OneWeb Global Limited (N/A); OneWeb Holdings LLC (5429); OneWeb Communications Limited
    (9487); WorldVu Satellites Limited (7802); WorldVu Development LLC (9067); WorldVu JV Holdings LLC
    (N/A); 1021823 B.C. LTD (8609); Network Access Associates Limited (8566); OneWeb Limited (8662);
    WorldVu South Africa (Pty) Ltd. (1867); OneWeb Chile SpA (2336); WorldVu Australia Pty Ltd. (5436);
    WorldVu Unipessoal Lda. (2455); OneWeb Norway AS (0209); OneWeb ApS (9191); OneWeb Network
    Access Holdings Limited (8580); OneWeb G.K. (1396); OneWeb Ltd. (8661); WorldVu Mexico S. DE R. L.
    DE C.V. (1234). The Debtors’ headquarters is located at 195 Wood Lane, West Works Building, 3rd Floor,
    London, W12 7FQ, UK.
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                     Pg 2 of 342



Dated: August 31, 2020
       New York, New York            /s/ Lauren C. Doyle
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20-22437-rdd   Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                       Pg 3 of 342



                                        Exhibit A

                         Solicitation Version Disclosure Statement
     20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                                    Pg 4 of 342



     THE DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT
     HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT. THIS IS NOT A
     SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
     ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
     DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
     COURT. THE DISCLOSURE STATEMENT MAY BE REVISED TO REFLECT
     EVENTS THAT OCCUR AFTER THE DATE HEREOF BUT PRIOR TO THE
     BANKRUPTCY COURT’S APPROVAL OF THE DISCLOSURE STATEMENT.

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                                 )
     In re:                                                      )    Chapter 11
                                                                 )
     OneWeb Global Limited, et al.                               )    Case No. 20-22437 (RDD)
                                                                 )
                                         Debtors. 1              )    (Jointly Administered)
                                                                 )


                          DISCLOSURE STATEMENT RELATING TO
                     THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF
                   REORGANIZATION OF ONEWEB GLOBAL LIMITED, ET AL.

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         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, if
         any, are: OneWeb Global Limited (N/A); OneWeb Holdings LLC (5429); OneWeb Communications Limited
         (9487); WorldVu Satellites Limited (7802); WorldVu Development LLC (9067); WorldVu JV Holdings LLC
         (N/A); 1021823 B.C. LTD (8609); Network Access Associates Limited (8566); OneWeb Limited (8662);
         WorldVu South Africa (Pty) Ltd. (1867); OneWeb Chile SpA (2336); WorldVu Australia Pty Ltd. (5436);
         WorldVu Unipessoal Lda. (2455); OneWeb Norway AS (0209); OneWeb ApS (9191); OneWeb Network
         Access Holdings Limited (8580); OneWeb G.K. (1396); OneWeb Ltd (8661); WorldVu Mexico S. DE R. L.
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         London, W12 7FQ, UK.
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                           Pg 5 of 342




                    IMPORTANT INFORMATION FOR YOU TO READ

THE DEADLINE TO VOTE ON THE PLAN IS SEPTEMBER 25, 2020 AT 4:00 P.M.
PREVAILING EASTERN TIME, UNLESS EXTENDED BY THE DEBTORS
(THE “VOTING DEADLINE”).

FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
RECEIVED BY THE SOLICITATION AGENT BEFORE THE VOTING DEADLINE AS
DESCRIBED HEREIN.

PLEASE BE ADVISED THAT SECTION XI. OF THE PLAN CONTAINS
EXCULPATION, RELEASES AND INJUNCTION PROVISIONS. YOU SHOULD
REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE IT MAY AFFECT
YOUR RIGHTS.

       You have received this Disclosure Statement (the “Disclosure Statement”) from the
above-captioned debtors in possession (the “Debtors”) because you may be a creditor entitled to
vote on the Second Amended Joint Chapter 11 Plan of Reorganization of OneWeb Global
Limited, et al. dated as August 31, 2020 attached hereto as Annex A (as it may be amended,
supplemented, or otherwise modified from time to time, the “Plan”). Capitalized terms not
otherwise defined herein have the meanings ascribed to them in the Plan.
                                 ________________________

        The Debtors urge each holder of a Claim to consult with its own advisors with respect to
any legal, financial, securities, tax, or business advice in reviewing the Disclosure Statement and
the Plan.
                                     ________________________

        The Disclosure Statement contains, among other things, summaries of the Plan, certain
statutory provisions, certain events in the Debtors’ chapter 11 cases, and certain documents
related to the Plan. Although the Debtors believe that these summaries are fair and accurate,
they are qualified in their entirety to the extent that they do not set forth the entire text, or every
detail, of the relevant document or statutory provision. In the event of any inconsistency or
discrepancy between a description in the Disclosure Statement and the terms and provisions of
the Plan or any document incorporated in the Plan by reference, the Plan or such other document
will govern for all purposes. The statements contained herein are made as of the date of this
Disclosure Statement, and there can be no assurance that such statements will be correct at any
time after such date. Although the Debtors may subsequently update the information in this
Disclosure Statement, they have no affirmative duty to do so, and expressly disclaim any duty to
publicly update any forward-looking statements, whether as a result of new information, future
events or otherwise. The Debtors also reserve the right to file an amended or different plan and
related amended disclosure statement.
                                    ________________________

      This Disclosure Statement has been prepared in accordance with section 1125 of the
Bankruptcy Code and Bankruptcy Rule 3016 and not necessarily in accordance with federal,


                                                 -2-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 6 of 342



state, or foreign securities laws or other non-U.S. laws. This Disclosure Statement has not been
approved or disapproved by the United States Securities and Exchange Commission (the
“SEC”), any state securities commission, or any securities exchange or association, or foreign
equivalent, nor has the SEC, any state securities commission, any securities exchange, or foreign
equivalent association passed upon the accuracy or adequacy of the statements contained herein.
                                     ________________________
        In preparing this Disclosure Statement, the Debtors relied on financial data derived from
their books and records or that was otherwise been made available to them at the time of such
preparation. Although the Debtors believe that the financial information contained herein and in
the Plan fairly reflects the financial conditions of the Debtors as of the date hereof, no
representations or warranties are made as to the accuracy of the financial information contained
herein and in the Plan. Except where specifically noted, the financial information contained in
the Plan, this Disclosure Statement and in its exhibits has not been audited by a certified public
accountant and has not been prepared in accordance with generally accepted accounting
principles in the United States or any other jurisdiction.
                                     ________________________
        This Disclosure Statement does not constitute, and may not be construed as, an admission
of fact, liability, stipulation, or waiver. The Debtors may object to Claims before or after the
Effective Date irrespective of whether this Disclosure Statement identifies any such objection.
                                     ________________________
        Confirmation and effectiveness of the Plan are subject to certain material conditions
precedent described in Section IX of the Plan. There is no assurance that the Plan will be
confirmed or, if confirmed, that the material conditions precedent to its effectiveness will be
satisfied or waived. You are encouraged to read this Disclosure Statement in its entirety,
including, but not limited to, Section VII hereof entitled “Risk Factors,” before submitting your
vote to accept or reject the Plan.
                                     ________________________
        The Debtors have not authorized any Entity to give any information about or concerning
the Plan other than that which is contained in this Disclosure Statement. The Debtors have not
authorized any representations concerning the Debtors or the value of their property other than as
set forth in this Disclosure Statement.
                                     ________________________
        If the Plan is confirmed and the Effective Date occurs, all holders of Claims and Interests
(including those holders of Claims or Interests who are not entitled to vote on the Plan) will be
bound by the terms of the Plan.


                    QUESTIONS AND ADDITIONAL INFORMATION

If you would like to obtain copies of this Disclosure Statement or the Plan or have questions
about the solicitation and voting process or these cases generally, please contact Omni
Agent Solutions, the Claims and Noticing Agent in these cases, by either (i) visiting its
website at http://www.omniagentsolutions.com/onewebglobal or (ii) calling (866) 680-8121.




                                                -3-
20-22437-rdd      Doc 534            Filed 09/01/20 Entered 09/01/20 00:35:39                                     Main Document
                                                 Pg 7 of 342



                                             TABLE OF CONTENTS

                                                                                                                                     Page

I.     INTRODUCTION AND OVERVIEW OF THE PLAN .....................................................1
       A.      The Adequacy of Disclosure ....................................................................................1
       B.      The Plan ...................................................................................................................2
       C.      Voting on the Plan ...................................................................................................3
       D.      Votes Required for Acceptance ...............................................................................4
       E.      Certain Factors to be Considered Prior to Voting ....................................................4
       F.      Solicitation Package and Plan Supplement ..............................................................4
       G.      Voting Procedures ....................................................................................................5
       H.      Plan Objection Deadline ..........................................................................................5
       I.      Confirmation Hearing ..............................................................................................6
II.    DEBTORS’ PREPETITION BUSINESS AND CAPITAL STRUCTURE ........................6
       A.      The Debtors’ Business .............................................................................................6
               1.      Overview of OneWeb’s Satellite System Licenses .....................................7
               2.      Overview of OneWeb’s Satellite Development and Deployment .............10
       B.      The Debtors Prepetition Organizational Structure and Stockholders’
               Equity .....................................................................................................................12
               1.      Organizational Structure ............................................................................12
               2.      Stockholders’ Equity ..................................................................................13
       C.      Prepetition Funded Indebtedness ...........................................................................13
III.   EVENTS LEADING TO THE CHAPTER 11 CASES.....................................................16
       A.      Historical Financing Sources and Increasing Liquidity Needs ..............................16
       B.      Liquidity Concerns and Discussions with Potential Lenders and Investors ..........16
       C.      Shift to Bankruptcy Preparation.............................................................................16
       D.      The Decision to File for Chapter 11 Protection .....................................................17
IV.    EVENTS DURING THE CHAPTER 11 CASES .............................................................17
       A.      First and Second Day Pleadings ............................................................................17
       B.      Procedural and Administrative Motions ................................................................18
       C.      Appointment of the Creditors’ Committee ............................................................19
       D.      Debtors’ Retention of Professionals ......................................................................19
       E.      Postpetition Financing ...........................................................................................19
       F.      Pending Litigation Proceedings and Claims ..........................................................20
       G.      The Marketing and Sale Process ............................................................................21
       H.      The Terms of BidCo’s Bid .....................................................................................23
               1.      Acquisition of All Assets Including Retained Causes of Action &
                       Avoidance Actions .....................................................................................23
               2.      Cash Consideration and BidCo Equity Consideration ...............................24
20-22437-rdd        Doc 534         Filed 09/01/20 Entered 09/01/20 00:35:39                                  Main Document
                                                Pg 8 of 342



               3.    The Releases ..............................................................................................25
                     a.       Releases for the Prepetition Secured Parties ................................. 25
                     b.       Releases of the Debtors’ Directors & Officers ............................. 27
      I.       Approval of the Plan Support Agreement and Interim Funding ............................29
      J.       The Committee’s Derivative Standing Motion ......................................................30
               1.    The Committee’s Recharacterization Claims ............................................32
                     a.       Debtors’ Response ........................................................................ 32
                     b.       SoftBank’s Response .................................................................... 33
               2.    The Committee’s Equitable Subordination Claims ...................................35
                     a.       Debtors’ Response ........................................................................ 35
                     b.       SoftBank’s Response .................................................................... 36
               3.    The Plan Contemplates Releases for the Prepetition Secured
                     Parties .........................................................................................................36
                     a.       Debtors’ Response ........................................................................ 36
                     b.       SoftBank’s Response .................................................................... 36
V.    SUMMARY OF THE PLAN ............................................................................................37
      A.       CLASSIFICATION AND TREATMENT OF CLAIMS AND
               INTERESTS ..........................................................................................................37
               1.   Unclassified Claims ...................................................................................37
                    a.      Administrative Expense Claims.................................................... 37
                    b.      U.S. Trustee Fees .......................................................................... 38
                    c.      Fee Claims .................................................................................... 38
                    d.      Priority Tax Claims ....................................................................... 38
                    e.      DIP Claims .................................................................................... 39
               2.   Classified Claims .......................................................................................39
      B.       MEANS OF IMPLEMENTATION .......................................................................46
               1.   Deemed Consolidation ...............................................................................46
               2.   Comprehensive Settlement ........................................................................46
               3.   Sources of Consideration for Plan Distributions .......................................48
                    a.      Cash Consideration ....................................................................... 48
                    b.      Additional Cash Plan Funding ...................................................... 48
                    c.      Ongoing Trade Claims Recovery Pool ......................................... 48
                    d.      General Unsecured Claims Settlement Distribution ..................... 49
               4.   Issuance of the New Equity Interests, BidCo Equity Interests, and
                    SoftBank Rollover BidCo Equity ..............................................................49
                    a.      New Equity Interests ..................................................................... 49
                    b.      BidCo Equity Interests .................................................................. 49
                    c.      Authorization, Issuance and Delivery of the New Equity
                            Interests ......................................................................................... 50
                    d.      Authorization, Issuance and Delivery of the BidCo Equity
                            Consideration to Class 1 ............................................................... 50


                                                              -ii-
20-22437-rdd      Doc 534           Filed 09/01/20 Entered 09/01/20 00:35:39                                   Main Document
                                                Pg 9 of 342



               5.   Restructuring Steps Under UK Corporate Law .........................................50
               6.   The Liquidating Debtors ............................................................................51
               7.   Plan Administrator .....................................................................................51
               8.   The Wind Down .........................................................................................52
               9.   Continued Corporate Existence .................................................................52
               10.  Disbursing Agent .......................................................................................53
               11.  New Board of Directors/Officers ...............................................................53
               12.  Survival of Indemnification Obligations and D&O Liability
                    Insurance ....................................................................................................53
                    a.         Indemnification Obligations ......................................................... 53
                    b.         D&O Liability Insurance Policies ................................................. 53
               13.  Employee Matters ......................................................................................54
               14.  Retained Causes of Action .........................................................................54
               15.  Release of Avoidance Actions for Holders of Claims in Class 4
                    and Class 5 .................................................................................................55
               16.  Cancellation and Surrender of Notes, Instruments, Securities and
                    Other Documentation .................................................................................55
               17.  Release of Liens .........................................................................................56
               18.  Effectuating Documents; Further Transactions .........................................56
               19.  Amended Organizational Documents ........................................................57
               20.  FCC Communications Consents ................................................................57
               21.  Section 1146 Exemptions from Certain Taxes and Fees ...........................58
      C.       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES .................................................................................................................58
               1.   Assumption and Rejection of Executory Contracts and Unexpired
                    Leases .........................................................................................................58
               2.   Claims Based on Rejection of Executory Contracts and Unexpired
                    Leases .........................................................................................................59
               3.   Cure Claims ...............................................................................................59
               4.   Reservation of Rights .................................................................................61
      D.       CONDITIONS PRECEDENT TO CONFIRMATION AND
               CONSUMMATION OF THE PLAN ....................................................................61
               1.   Conditions to Confirmation .......................................................................61
               2.   Conditions to the Effective Date ................................................................61
                    a.         Confirmation Order ....................................................................... 61
                    b.         Statutory Fees................................................................................ 62
                    c.         Documentation .............................................................................. 62
                    d.         Antitrust and Foreign Investment Approvals ................................ 62
                    e.         State Aid Approval ....................................................................... 62
                    f.         DDTC Notification ....................................................................... 62
                    g.         No Injunctions or Restraints ......................................................... 62
                    h.         Establishment of Professional Fee Escrow ................................... 62


                                                              -iii-
20-22437-rdd        Doc 534           Filed 09/01/20 Entered 09/01/20 00:35:39                                    Main Document
                                                 Pg 10 of 342



                            i.
                             Funding of the Ongoing Trade Claims Recovery Pool and
                             the General Unsecured Claims Settlement Distribution ............... 62
                     j.      Conditions Precedent to the Obligations of the Plan
                             Sponsor ......................................................................................... 63
                             i.        Accuracy of Representations and Warranties ................... 63
                             ii.       Performance of Obligations .............................................. 63
                             iii.      No Termination ................................................................. 63
                             iv.       BidCo Equity Consideration ............................................. 63
                             v.        Officer’s Certificate .......................................................... 63
                             vi.       Communications Consents................................................ 63
                             vii.      No Company Material Adverse Effect ............................. 64
                             viii. Principal Vendor Contracts ............................................... 64
                             ix.       Effective Date Cash Funding Cap..................................... 64
                     k.      Conditions Precedent to the Debtors’ Obligations........................ 64
                             i.        Accuracy of Representations and Warranties ................... 64
                             ii.       Performance of Obligations .............................................. 64
                             iii.      No Termination ................................................................. 64
                             iv.       Officer’s Certificate .......................................................... 64
                 3.  Waiver of Conditions to the Effective Date ...............................................65
       E.        EXCULPATION, RELEASES AND INJUNCTIONS .........................................65
                 1.  Discharge of Claims Against and Interest in the Debtors ..........................65
                 2.  Exculpation ................................................................................................65
                 3.  Releases......................................................................................................66
                     a.      Releases by the Debtors ................................................................ 66
                     b.      Third-Party Releases by Holders of Claims and Interests ............ 67
                 4.  Injunction ...................................................................................................69
                 5.  Scope of Discharge, Release, or Injunction With Respect to the
                     United States of America ...........................................................................69
                 6.  Term of Injunctions or Stays......................................................................70
                 7.  Ipso Facto and Similar Provisions Ineffective ...........................................71
VI.    STATUTORY REQUIREMENTS FOR CONFIRMATION ...........................................71
       A.        Requirements for Confirmation .............................................................................71
                 1.     Acceptance by Impaired Classes ...............................................................71
                 2.     Best Interests of Creditors ..........................................................................72
                 3.     Feasibility...................................................................................................72
       B.        The Debtor Releases, Third Party Releases, Exculpation, and Injunction
                 Provisions...............................................................................................................73
       C.        Alternative Plans ....................................................................................................75
       D.        Confirmation Hearing ............................................................................................75
VII.   RISK FACTORS ...............................................................................................................75



                                                                -iv-
20-22437-rdd      Doc 534           Filed 09/01/20 Entered 09/01/20 00:35:39                                  Main Document
                                               Pg 11 of 342



      A.       Certain Bankruptcy Considerations .......................................................................75
               1.     The Debtors May Not Be Able to Secure Confirmation............................75
               2.     Releases, Injunctions and Exculpations Provisions May Not Be
                      Approved....................................................................................................76
               3.     Risks Related to Possible Objections to the Plan.......................................76
               4.     Risk of Termination of the Plan Support Agreement ................................76
               5.     Risk of Nonoccurrence of the Effective Date ............................................76
      B.       Risk Factors that May Affect Recoveries Available to Holders of Allowed
               Claims Under the Plan ...........................................................................................77
               1.     Claims May Be Higher Than Projected .....................................................77
               2.     The Debtors Cannot Guarantee Recoveries or the Timing of such
                      Recoveries ..................................................................................................77
      C.       Disclosure Statement Disclaimer ...........................................................................77
               1.     The Financial Information Contained in this Disclosure Statement
                      Has Not Been Audited ...............................................................................77
               2.     Information Contained in this Disclosure Statement Is for
                      Soliciting Votes..........................................................................................77
               3.     The Disclosure Statement May Contain Forward Looking
                      Statements ..................................................................................................77
               4.     No Legal or Tax Advice is Provided to You by this Disclosure
                      Statement....................................................................................................78
               5.     No Admissions Made.................................................................................78
               6.     Failure to Identify Objections ....................................................................78
               7.     No Waiver of Right to Object or Right to Recover Transfers and
                      Assets .........................................................................................................78
               8.     Information was Provided by the Debtors and was Relied Upon by
                      the Debtors’ Advisors ................................................................................78
               9.     No Representations Outside this Disclosure Statement are
                      Authorized..................................................................................................79
      D.       Risks Relating to Securities to Be Issued Under the Plan .....................................79
               1.     Market for Securities..................................................................................79
               2.     Potential Dilution .......................................................................................79
               3.     Equity Interests Subordinated to Indebtedness ..........................................80
               4.     Implied Value of New Equity Interests or BidCo Equity Interests
                      Not Intended to Represent Trading Value of New Equity Interests
                      and BidCo Equity Interests, Respectively .................................................80
               5.     No Dividends .............................................................................................80
      E.       Risks Related to the Debtors’ Businesses ..............................................................80
               1.     Macroeconomic Conditions .......................................................................80
               2.     Financial Results May Be Volatile and May Not Reflect Historical
                      Trends ........................................................................................................81
               3.     The Debtors’ Substantial Liquidity Needs May Impact the Plan ..............81



                                                              -v-
20-22437-rdd         Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                                      Main Document
                                               Pg 12 of 342



                4.        The Debtors’ Business is Subject to Complex Laws and
                          Regulations That Can Adversely Affect the Cost, Manner, or
                          Feasibility of Doing Business ....................................................................82
                5.        The Reorganized Debtors May Be Adversely Affected by Potential
                          Litigation, Including Litigation Arising Out of the Chapter 11
                          Cases ..........................................................................................................82
                6.        The Loss of Key Personnel Could Adversely Affect the Debtors’
                          Operations ..................................................................................................82
                7.        Certain Claims May Not Be Discharged and Could Have a
                          Material Adverse Effect on the Debtors’ Corporate Reputation or
                          Brand Perception, Financial Condition, and Results of Operations ..........83
                8.        Recent Global Economic Trends Could Adversely Affect the
                          Debtors’ Business, Results of Operations and Financial Condition,
                          Primarily Through Disruption to the Debtors’ Customers’
                          Businesses ..................................................................................................83
                9.        Consent Required Relating to FCC and Other Communications
                          Licenses......................................................................................................83
                10.       CFIUS Approval Required ........................................................................84
                11.       Export Controls Notification to the DDTC ................................................85
VIII.   CERTAIN TAX CONSEQUENCES OF THE PLAN ......................................................85
        A.      Certain U.S. Federal Income Tax Consequences of the Plan ................................85
                1.     Certain U.S. Federal Income Tax Consequences to the Debtors ...............86
                       a.      Cancellation of Debt and Reduction of Tax Attributes ................ 87
                       b.      Limitation of NOL Carryforwards and Other Tax Attributes ....... 88
                               i.     General Section 382 Annual Limitation ........................... 88
                               ii.    Special Bankruptcy Exceptions ........................................ 89
                2.     U.S. Holders of Allowed Secured Notes Claims .......................................89
                       a.      Consequences of Receiving BidCo Equity Consideration............ 89
                       b.      Consequences of Owning BidCo Equity Interests ........................ 91
                               i.     Distributions on BidCo Equity Interests ........................... 91
                               ii.    Sale, Exchange or Other Taxable Disposition of BidCo
                                      Equity Interests ................................................................. 92
                               iii.   Possible Treatment of BidCo as a Passive Foreign
                                      Investment Company ........................................................ 92
                3.     U.S. Holders of Allowed General Unsecured Claims................................93
                4.     U.S. Holders of Allowed Ongoing Trade Claims ......................................93
                5.     Accrued Interest .........................................................................................94
                6.     Market Discount.........................................................................................94
                7.     Information Reporting and Backup Withholding ......................................95
        B.      Certain UK Tax Consequences for Holders of BidCo Equity Interests.................96
IX.     RECOMMENDATION AND CONCLUSION .................................................................96



                                                               -vi-
20-22437-rdd          Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39                    Main Document
                                             Pg 13 of 342



I.       INTRODUCTION AND OVERVIEW OF THE PLAN 2

        OneWeb Global Limited and its affiliated Debtors submit this Disclosure Statement
pursuant to section 1125 of the Bankruptcy Code in connection with solicitation of votes to
accept or reject the Plan, which the Debtors are asking the Bankruptcy Court to confirm. A copy
of the Plan is attached hereto as Annex A.

       The Debtors recommend that all holders of Claims entitled to vote accept the Plan by
checking the appropriate box on their Ballots and returning such Ballots so they are actually
received by the Claims and Noticing Agent by the Voting Deadline, which is currently set for
September 25, 2020, at 4:00 P.M. (prevailing Eastern Time). Assuming the requisite
acceptances of the Plan are obtained, the Debtors will seek Confirmation at the Confirmation
Hearing on October 2, 2020, at 10:00 AM (prevailing Eastern Time). Should they believe it
necessary or appropriate to do so, the Debtors may extend or modify one or both of the foregoing
dates.

         A.       THE ADEQUACY OF DISCLOSURE

        Before soliciting acceptances of a proposed chapter 11 plan, section 1125 of the
Bankruptcy Code requires the plan proponent to prepare a written disclosure statement
containing information of a kind, and in sufficient detail, to enable a hypothetical reasonable
investor to make an informed judgment regarding acceptance of the plan. The Debtors submit
this Disclosure Statement in accordance with such requirements.

         The Disclosure Statement includes, without limitation, information about:

                  •       the Debtors’ organizational structure, business operations, prepetition
                          indebtedness, and assets and liabilities (Section II hereof);

                  •       the events leading to the filing of these cases (Section III hereof);

                  •       the major events during these cases (Section IV hereof);

                  •       the classification and treatment of Claims and Interests under the Plan,
                          including identification of the Claims entitled to vote on the Plan, and the
                          projected recoveries under the plan (Section V.A hereof);

                  •       the means for implementation of the Plan (Section V.B hereof);

                  •       the exculpations, releases and injunctions contemplated by the Plan
                          (Section V.E hereof);

                  •       the statutory requirements for confirming the Plan (Section VI hereof);



2
     Capitalized terms used but not defined herein have the meanings given to them in the Plan, attached hereto as
     Annex A.
20-22437-rdd         Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39                    Main Document
                                            Pg 14 of 342



                 •       certain risk factors that holders of Claims should consider before voting on
                         the Plan (Section VII hereof); and

                 •       certain tax consequences of the Plan (Section VIII hereof).

        B.       THE PLAN

       In the lead up to the commencement of these cases on March 27, 2020, the Debtors
engaged advisors and began evaluating potential strategic alternatives for stabilizing their
businesses and maximizing value for their stakeholders. The Debtors continued to pursue these
value-maximizing strategies following the Petition Date, and accordingly obtained approval of
the Bidding Procedures 3 pursuant to which they conducted a robust sale process. This sale
process culminated in the selection of BidCo 100 Limited, 4 a private limited company organized
under English Law (“BidCo” or “Plan Sponsor”), as the successful bidder pursuant to the
Bidding Procedures, and entry into, and Bankruptcy Court approval of that certain Plan Support
Agreement, dated as of July 1, 2020 (as amended, supplemented, or otherwise modified from
time to time in accordance with the terms therein, the “Plan Support Agreement”), among
Company Parties and BidCo.

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
incorporates a settlement of, inter alia, the claims asserted by the Committee in the Standing
Motion. See Section V.B.2, infra. Notwithstanding the Settlement in the Plan, the Debtors, the
Committee, and SoftBank have requested mediation, which is ongoing at the time of solicitation
of the Plan. Neither the Plan nor the Settlement alter the terms of the successful bid nor do they
alter the rights of the parties thereto, nor shall, pending confirmation of the Plan, anything in the
Plan or Settlement alter the terms of the Plan Support Agreement Order without further Court
approval.

        The Debtors view the terms of the Plan, consistent with their agreements in the Plan
Support Agreement, as providing the Debtors with a framework to emerge from chapter 11 and
make Distributions to creditors that provide them with a higher recovery than they would receive
in a liquidation under chapter 7 of the Bankruptcy Code. Following the Effective Date, the
Reorganized Debtors’ business will focus on continuing the development of the OneWeb
System. Excluded Assets and Excluded Liabilities will be transferred to the Liquidating Debtors
and the Liquidating Debtors will be responsible for administering the Plan post-Effective Date
and effectuating the Distributions contemplated in the Plan.

        The Plan designates Classes of Claims and Interests and specifies which Classes are (i)
Impaired and Unimpaired by the Plan, (ii) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code, or (iii) deemed to accept or reject the
Plan in accordance with section 1126 of the Bankruptcy Code.

3
    Order (A) Approving Bidding Procedures, (B) Scheduling an Auction and Sale Hearing and Approving Form
    and Manner of Notice Thereof, (C) Approving Assumption and Assignment Procedures and Form and Manner
    of Notice Thereof; and (D) Granting Related Relief [Docket No. 104] (the “Bidding Procedures Order”) at Ex. 1
    (the “Bidding Procedures”).
4
    BidCo’s shareholders are the United Kingdom Secretary of State for Business, Energy and Industrial Strategy
    (“HMG”) and Bharti Global Limited (“Bharti”).


                                                      -2-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 15 of 342



        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. Solely for purposes of voting on, and receiving Distributions under, the Plan, the
Estates are deemed to be substantively consolidated, i.e., (i) all assets and liabilities of the
Debtors are deemed to be assets and liabilities, respectively, of a single Estate; (ii) all guarantees
by one Debtor of the obligations of any other Debtor are deemed eliminated, (iii) any joint or
several liability of any of the Debtors are deemed to be one obligation of the Debtors; and (iv)
Proofs of Claim filed against multiple Debtors are deemed to be one Claim against a single
Estate. This deemed consolidation will not affect (i) the legal and corporate structures of the
Debtors; (ii) the rights of the holders of Allowed Claims to receive Distributions from any
insurance policies or proceeds of such policies; (iii) any Liens granted or arising at any time prior
to the Effective Date or the priority of those Liens; or (iv) the rights of the Debtors to contest
alleged setoff or recoupment rights on the grounds of lack of mutuality under section 553 of the
Bankruptcy Code and other applicable law.

        This deemed consolidation is appropriate and justified under the circumstances of these
chapter 11 cases because it (i) causes no harm to the Debtors’ creditors because (a) the DIP
Claims may be asserted against each Debtor, (b) the holders of Secured Notes Claims have
Secured Claims against the majority of the Debtors, and (c) the DIP Claims and Secured Notes
Claims exceed the value of the assets of each Debtor, and (ii) avoids the costs of allocating
consideration and litigation-related costs among the Debtors’ Estates, thereby avoiding diluting
creditor recoveries as a result of increased professional fees, particularly given there has been no
allocation of the consideration to be provided by BidCo amongst the various Debtors and their
assets. Therefore, all Distributions on account of Claims other than the DIP Claims are carved
out from the collateral of the DIP Lenders, and in the absence of such carve-out and the deemed
consolidation of the Debtors’ Estates, such Claims would receive no recovery.

       A summary of the Plan is contained herein at Section V.

       Although the Court has approved this Disclosure Statement for solicitation of votes to
accept or reject the Plan, the positions taken by the Debtors in this Disclosure Statement are
those of the Debtors and/or their advisors and have not been approved by or endorsed by the
Bankruptcy Court.

        The Committee has asserted its views and positions with respect to the Plan and certain
matters described in this Disclosure Statement in a letter (the “Committee Letter”) that will be
enclosed in the Solicitation Package. Among other things, the Committee disagrees with the
Debtors’ and SoftBank’s characterization of the legal and factual issues described in Sections
IV.G, IV.H, IV.I, and IV.J of this Disclosure Statement, and, in this regard, the Committee refers
creditors to the Committee Letter.

       C.      VOTING ON THE PLAN

        Holders of Claims in Class 1 (Secured Notes Claims), Class 4 (General Unsecured
Claims) and Class 5 (Ongoing Trade Claims) are Impaired and entitled to vote on the Plan.
Solicitation and tabulation of votes on the Plan will be conducted in accordance with the
Disclosure Statement Order that is transmitted concurrently herewith.


                                                 -3-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 16 of 342



       Each holder of a General Unsecured Claim in Class 4 or an Ongoing Trade Claim in
Class 5 will receive a Ballot that will identify the Class in which such holder is entitled to vote.
Ongoing Trade Claims have been identified by the Debtors with the consent of the Plan Sponsor.
Each counterparty to an Executory Contract or Unexpired Lease that has timely filed a Proof of
Claim will receive a Class 4 Ballot and will be entitled to vote. If an Executory Contract or
Unexpired Lease is assumed (whether under the Plan or otherwise), the vote of such counterparty
to such Executory Contract or Unexpired Lease will not be counted with respect to any Claims
thereunder.

       D.      VOTES REQUIRED FOR ACCEPTANCE

        Pursuant to section 1129(a)(8) of the Bankruptcy Code, for the Plan to be confirmed by
the Bankruptcy Court, it must be accepted by at least one voting Class of Impaired Claims – in
this case, by Class 1 (Secured Notes Claims), Class 4 (General Unsecured Claims) or Class 5
(Ongoing Trade Claims). A Class accepts the Plan where: (i) the holders of at least two-thirds in
dollar amount of the Claims voting in such Class vote to accept the Plan; and (ii) the holders of
more than one-half in number of the Claims voting in such Class vote to accept the Plan.

       E.      CERTAIN FACTORS TO BE CONSIDERED PRIOR TO VOTING

       There are a variety of factors that holders of Allowed Claims entitled to vote on the Plan
should consider prior to voting to accept or reject the Plan, including:

               •       the financial information contained in this Disclosure Statement and the
                       Plan has not been audited and is based on an analysis of data available at
                       the time of the preparation of this Disclosure Statement;

               •       although the Debtors believe that the Plan complies with all applicable
                       provisions of the Bankruptcy Code, there is no assurance that the
                       Bankruptcy Court will confirm the Plan; and

               •       any delays of either Confirmation or consummation could result in, among
                       other things, increased Administrative Expense Claims, including Fee
                       Claims, and jeopardize the Debtors’ ability to satisfy the conditions
                       precedent to the effectiveness of the Plan.

       F.      SOLICITATION PACKAGE AND PLAN SUPPLEMENT

       In accordance with the Disclosure Statement Order, together with this Disclosure
Statement, the holders of Claims entitled to vote to accept or reject the Plan will receive the
package of materials (the “Solicitation Package”) containing the following (as applicable):

               •       a cover letter;

               •       a notice of the Confirmation Hearing (the “Confirmation Hearing
                       Notice”);

               •       the Disclosure Statement Order (excluding exhibits thereto);


                                                -4-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 17 of 342



               •       a Ballot, instructions on how to complete the Ballot, and a pre-paid,
                       pre-addressed return envelope; and

               •       such other materials as the Bankruptcy Court may direct to include in the
                       Solicitation Package, including the Committee Letter.

        The Solicitation Package (except for the Ballots) may also be obtained free of charge
from        the        Claims      and        Noticing       Agent        by:      (1) visiting
http://www.omniagentsolutions.com/onewebglobal; (2) writing to the Solicitation Agent at
OneWeb Global Limited, et al. Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Ave., Suite 100, Woodland Hills, CA 91367; or (3) calling (866) 680-8121.

       The Debtors will file the Plan Supplement on or before September 18, 2020, which is
seven (7) days prior to the Voting Deadline.

       G.      VOTING PROCEDURES

       If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) have been
enclosed in your Solicitation Package for the purpose of voting on the Plan.

      The deadline to vote on the Plan is September 25, 2020 at 4:00p.m. (Eastern) (the
“Voting Deadline”).

        Please vote and return your Ballot(s) to Omni Agent Solutions in its capacity as a
solicitation agent (the “Solicitation Agent”), at OneWeb Global Limited, et al. Ballot
Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
91367, or by overnight delivery or by hand courier so as to be actually received by the
Solicitation Agent by the Voting Deadline. Ballots should not be sent to the Debtors or the
Creditors’ Committee, or their respective counsel.

        In addition to accepting Ballots via first class mail, overnight courier and hand delivery,
the Solicitation Agent will accept Ballots via electronic, online transmission, solely through a
customized online balloting portal at https://omniagentsolutions.com/OnewebBallotSubmission.
Parties entitled to vote may cast an electronic Ballot and electronically sign and submit the Ballot
instantly by utilizing the online balloting portal. Instructions for electronic, online transmission
of Ballots are set forth on the forms of the Ballots. The encrypted Ballot data and audit trail
created by such electronic submission shall become part of the record of any Ballot submitted in
this matter, and the creditor’s electronic signature will be deemed to be immediately legally valid
and effective.

       H.      PLAN OBJECTION DEADLINE

       The deadline to file objections to Confirmation is September 28, 2020, at 4:00 P.M.
(prevailing Eastern Time) (the “Plan Objection Deadline”).

       Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
Confirmation. All objections to Confirmation must be in writing and must specify in detail the
name and address of the objector, all grounds for the objection and the amount of the Claim held


                                                -5-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 18 of 342



by the objector. Any such objection must be filed with the Bankruptcy Court and served on the
Debtors and certain other parties in interest in accordance with the Disclosure Statement Order
so that they are actually received on or before the Plan Objection Deadline. Parties wishing to
reply to any objection to Confirmation shall do so by September 30, 2020.

       I.      CONFIRMATION HEARING

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
hold a hearing on Confirmation. The Confirmation Hearing will commence on October 2, 2020,
at 10:00 AM (prevailing Eastern Time), before the Honorable Robert D. Drain, United States
Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District of New York,
300 Quarropas Street, White Plains, New York 10601. Pursuant to the Bankruptcy Court’s
General Order M-543, dated March 20, 2020 (“General Order M-543”), the Confirmation
Hearing will be conducted telephonically. Parties wishing to participate in the Confirmation
Hearing should review General Order M543 which can be obtained at
http://www.nysb.uscourts.gov/news/general-order-m-543-court-operations-under-exigent-
circumstances-created-covid-19 for further instructions on how to make a telephonic appearance.

        The Confirmation Hearing may be continued from time to time without further notice
other than an adjournment announced in open court or a notice of adjournment filed with the
Bankruptcy Court and served on the Entities that have filed objections to Confirmation, without
further notice to other parties in interest. The Bankruptcy Court, in its discretion and before the
Confirmation Hearing, may put in place additional procedures governing the Confirmation
Hearing. Subject to the terms of the Plan Support Agreement and the Plan Support Agreement
Order, the Plan may be modified, if necessary, before, during or as a result of the Confirmation
Hearing, without further notice to parties in interest.

II.    DEBTORS’ PREPETITION BUSINESS AND CAPITAL STRUCTURE

       A.      THE DEBTORS’ BUSINESS

       Prior to the Petition Date, the Debtors and their non-debtor subsidiaries (collectively,
“OneWeb”) were in the process of deploying the world’s first global satellite communications
network to deliver high-throughput, high-speed, low-latency internet connectivity services
channeling up to 50 megabits per second, with a latency of less than 50 milliseconds.

        Founded in 2012, OneWeb has spent the past eight years developing a low-Earth orbit
(“LEO”) satellite constellation system (the “Constellation”) as well as associated ground
infrastructure, including terrestrial gateways (“Satellite Network Portals” or “SNPs”) and
end-user terminals, to deliver communication services for use by consumers, businesses,
governmental entities, and institutions, including schools, hospitals, and other end-users whether
on the ground, in the air, or at sea (collectively, the “OneWeb System”). OneWeb’s business
consists of, first, the design, development, manufacture and integration of the various
components of the OneWeb System and, second, maintenance and operation of, and the sale of
broadband capacity, on a wholesale and/or retail basis, generated by the OneWeb System.

       OneWeb’s design, development and manufacturing activities include next generation
small satellites and the mass production of these satellites through a strategic joint venture


                                                -6-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 19 of 342



between OneWeb and certain members of the Airbus family of companies (as described below),
which are major players in the European aerospace sector. Through the joint venture, OneWeb
also develops ground infrastructure associated with and used for maintaining and operating its
Constellation, including operations centers, ground control facilities, SNPs, and various end-user
terminals for various markets.

        In order to operate the OneWeb System, OneWeb indirectly holds various authorizations
and licenses, including for use of Ku-band and Ka-band radio-frequency spectrum on a global
basis, and domestic market access/services authorizations necessary for operating ground
infrastructure associated with the Constellation in, and for sending and receiving signals into and
from, the jurisdictions in which such ground infrastructure is located. Having already completed
three successful launches of over 70 satellites between February 2019 and March 2020, OneWeb
was well on its way to growing the Constellation to 648 satellites as well as beginning to identify
and negotiate with customers, with the goal of commencing customer service demonstrations in
late 2020 and providing global commercial coverage by late 2021 or early 2022.

       Below, is an illustration of how the OneWeb System operates:




               1.      Overview of OneWeb’s Satellite System Licenses

       OneWeb’s most significant assets are its radio-frequency spectrum authorizations (the
“Spectrum Licenses”) issued by (a) the United Kingdom’s Office of Communications (“Ofcom”)
to Debtor WorldVu Satellites Limited (“WSL”), a company organized under the laws of Jersey,
authorizing WSL to operate certain service link radio-frequencies in the 10.7-12.7 GHz Ku-band
transmit frequencies and 14.0-14.5 GHz Ku-band receive frequencies of the electromagnetic
spectrum, and (b) France’s Agence Nationale des Fréquences (“ANFR”) to OneWeb Ltd., a
company organized under the laws of Malta and affiliated with WSL, for gateway/feeder link
frequencies in the 17.8-18.6 and 18.8.-19.3 and 19.7-19.8 GHz Ka-band transmit frequencies and
27.5-29.1 and 29.5-30 GHz Ka-band receive frequencies of the electromagnetic spectrum. The
Spectrum Licenses provide that Ofcom and ANFR will represent and defend the interests of


                                                -7-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 20 of 342



WSL at the International Telecommunication Union (the “ITU”), a specialized agency of the
United Nations that establishes standards for international connectivity in communications
networks, including the allocation of global wireless radio-frequency spectrum, satellite orbits,
and related services, among member state nations. For example, Ofcom is obligated to represent
and defend OneWeb’s interests at the ITU with respect to any challenges or disputes relating to
the use of the radio-frequencies allocated to OneWeb, including any potential claims of harmful
radio-frequency use interference caused by or to the other satellite system operators represented
at the ITU by their national telecoms regulatory authorities.

        To maintain priority rights to use the radio-frequency allocations authorized under the
Spectrum Licenses, OneWeb has successfully launched and operated (in its notified LEO orbit)
six satellites with the confirmed capability of transmitting and receiving communications links
within the radio-frequency ranges prescribed in the Spectrum Licenses for a continuous period of
at least 90 days prior to the regulatory deadline. Ofcom on October 25, 2019 submitted to the
ITU the “bringing into use” notice necessary to confirm and maintain OneWeb’s priority rights
to use the Ku-band radio-frequencies authorized under its Spectrum License (the “BIU” notice),
officially bringing the radio-frequencies into use prior to the required deadline of November 27,
2019. ANFR also submitted the BIU notice with respect to the Ka-band radio-frequencies to the
ITU on October 18, 2019, before the required deadline of December 18, 2019.

       OneWeb has additional Spectrum Licenses, which have a BIU regulatory deadline in
2021 or later, as follows:

(a)         Spectrum Licenses issued by Ofcom to WSL for: (i) Ka-band frequencies for a LEO
            system to be brought into use before June 22, 2023; (ii) Ku- and Ka-band
            frequencies for a LEO system to be brought into use before June 22, 2025; (iii) Ku-
            and Ka-band frequencies for a Medium-Earth orbit (“MEO”) system to be brought
            into use before March 29, 2024; (iv) the 37.5-42.5 GHz V-band transmit frequencies
            and 42.5-43.5 GHz, 47.2-50.2 GHz and 50.4-51.4 GHz V-band receive frequencies
            for a LEO system to be brought into use before November 22, 2022; (v) V-band
            frequencies for a LEO system to be brought into use before November 23, 2026; (vi)
            V-band frequencies for a MEO system to be brought into use before November 22,
            2022; and (vii) the 71-76 GHz and 81-86 GHz E-band transmit and receive
            frequencies for a MEO system to be brought into use before December 18, 2024;

(b)         Spectrum Licenses issued by ANFR to OneWeb Ltd for: (i) Ku- and Ka-band
            frequencies for a MEO system to be brought into use before March 22, 2024;
            (ii) V-band frequencies for two LEO systems to be brought into use before
            November 22, 2022; and (iii) V-band frequencies for a LEO system to be brought
            into use before November 23, 2026;

(c)         Spectrum Licenses issued by Canada’s Innovation, Science and Economic
            Development (“ISED”) agency to 1021823 BC Ltd. for Ka-band frequencies for a
            LEO system in Ka-band to be brought into use before May 27, 2022; and




                                               -8-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 21 of 342



(d)         Spectrum Licenses issued by Mexico’s Instituto Federal de Telecomunicaciones
            (“IFT”) to WorldVu Mexico, S. de R.L. de C.V. for V-band frequencies for a LEO
            system in V-band to be brought into use before November 23, 2026.

         Prior to the Petition Date, OneWeb was also in the process of obtaining market access
“landing rights” authorizations in various countries, where such are required. These
authorizations are issued by individual countries and permit the licensee to send signals from
satellites into the particular country, to receive uplinks from such country’s territory to the
satellites, and to provide services to, from, or within such country. As of the Petition Date,
OneWeb has received landing rights in Argentina, Australia, the Bahamas, Canada, Colombia,
Mexico, Nigeria, Paraguay, Peru and the United States. Specifically, WSL holds a landing rights
license (called a “market access grant” in the United States) issued by the United States Federal
Communications Commission (the “FCC”) to provide services to, from, or within the United
States as well as a landing rights license issued by the Bahamas. Debtor Network Access
Associates Limited (“NAA”), a company organized under the laws of England and Wales, holds
landing rights licenses issued by Australia, Colombia, Nigeria, Paraguay and Peru. Debtor
1021823 BC Ltd. (“1021823 BC”), a company organized under the laws of the Province of
British Columbia, holds a landing rights license issued by Canada. OneWeb S.A., a company
organized under the laws of Argentina, holds a landing rights license issued by Argentina.
Debtor WorldVu Mexico S. de R. L. de C.V., a company organized under the laws of Mexico,
holds a landing rights license issued by Mexico. OneWeb also has landing rights for the
Indonesia market via a license held by a local partner.

        In addition, prior to the Petition Date, OneWeb was in the process of constructing SNPs
for the purpose of transmitting and receiving customer data, as well as telemetry, tracking and
control signals (“TT&C Stations”) to and from the OneWeb System. OneWeb has already been
granted licenses for SNPs in Italy, Portugal, the United States (Florida and Alaska), Australia,
Chile and Norway. WSL holds licenses issued by the FCC for the operation of the SNPs in the
United States. NAA holds a license for the operation of an SNP in Portugal. Debtor OneWeb
Chile SpA (“OW Chile”), a company organized under the laws of Chile, holds a
preliminary/experimental license for the operation of an SNP in Chile. Debtor WorldVu
Australia Pty Ltd., a company organized under the laws of Australia, holds the
preliminary/experimental licenses for the operation of SNPs in Australia. 1021823 BC holds
licenses for the operation of a TT&C Station in Canada. Debtor WorldVu Development LLC
(“WVD”), a company organized under the laws of Nevada, holds a license for the operation of a
ground station located in Svalbard, Norway used primarily as a TT&C Station, but which can
also be used as an SNP.

        OneWeb has obtained experimental licenses in multiple countries to allow testing of the
end-user terminals required to access and use the OneWeb System (“User Terminals”). NAA
holds experimental licenses for the operation of User Terminals in Croatia, Italy, and the United
Kingdom. WSL holds experimental licenses for the operation of User Terminals in Sweden and
the United States. OW Chile holds an experimental license for the operation of User Terminals
in Chile.

       In addition, OneWeb has obtained licenses under the Outer Space Act 1986 from the
United Kingdom Space Agency (“UKSA”) for the procurement of launch and in-orbit operations


                                               -9-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 22 of 342



for each of the 74 satellites on its first three launches of the OneWeb System satellites (the “OSA
licenses”). The OSA licenses authorize OneWeb to procure the launch of its satellites into orbit
from various launch sites located around the globe. The UKSA, as a condition to issuing the
OSA Licenses, required OneWeb to set aside funds that the UKSA could use to maintain and, if
necessary, deorbit, OneWeb’s satellite constellation in the event of OneWeb’s insolvency.
GLAS Trustees Limited (the “UKSA Trustee”), in its role as trustee of an English Law governed
trust established for the benefit of the UKSA, holds £3,955,050.80 (~$5,137,000.00) in a bank
account. Pursuant to the Trust Deed establishing such trust, the UKSA may unilaterally direct
the release of funds from the trust by sending a payment instruction to the UKSA Trustee.

       OneWeb and the UKSA also entered into a Financial Security Agreement to govern the
conditions upon which the UKSA may request a release of funds from the trust. The UKSA may
request a release of funds following the occurrence of a OneWeb insolvency event if the UKSA
considers it appropriate to release such funds to ensure compliance with the conditions of any of
OneWeb’s UKSA licenses or the international obligations of the United Kingdom. The UKSA is
permitted to use such funds to (a) “take control of the operation of the Satellites,” (b) “implement
a de-orbiting or decommissioning of the Satellites, either in whole or in part” or (c) “pay any
additional insurance premiums or renewal premiums as required for third party liability
insurance.” The UKSA has not requested a release of the funds from the trust.

               2.      Overview of OneWeb’s Satellite Development and Deployment

         In June of 2015, Debtor WorldVu JV Holdings LLC (“WJVH”), a Delaware limited
liability company (an indirect subsidiary of OneWeb), and Airbus DS Satnet LLC (“Airbus
Satnet”), a Delaware limited liability company, formed a Delaware company to house the
parties’ strategic joint venture, Airbus OneWeb Satellites LLC (“AOS”). AOS is owned 50/50
by WJVH and Airbus Satnet. The formation and operation of AOS was to comprise part of
OneWeb’s and Airbus’ comprehensive plan of cooperation and joint development with respect to
satellites based on the Constellation and the OneWeb System. AOS was formed in the first
instance to design, develop, and manufacture a limited batch of “pilot” satellites to serve as
prototypes for future work, after which AOS would incorporate the intellectual property
developed in those activities into manufacturing over 600 LEO satellites for the OneWeb System
(such satellites forming the OneWeb first generation constellation, the “GEN 1 Constellation”),
as well as continuing work on developing and improving the relevant technologies towards
next-generation satellites associated ground infrastructure for the OneWeb System and ultimately
serve third-party customers with the technology developed along the way.

       The satellite production process was divided into two stages. In the first stage, pursuant
to a design and development contract between WSL and AOS, AOS focused on performing
research, design, development, and testing to validate, confirm and upgrade the initial design of
the LEO satellites, and to develop working prototypes of the satellites based on such research
and development activities. As the culmination of about three years of research, development
and testing, a total of twelve operational prototypes (the “Pilot Satellites”) were completed at a
production facility owned by AOS in Toulouse, France. The prototypes ultimately reached the
required orbit and were able to send and receive the wireless signals required for OneWeb to
achieve BIU with respect to the Spectrum Frequencies licensed through Ofcom.



                                               -10-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 23 of 342



         The second, main-run stage of satellite production commenced in July 2019, when AOS
completed construction of the world’s first state-of-the-art, high-volume satellite manufacturing
facility in Exploration Park, Florida, on the land leased to it by Space Florida. With a unique set
of proprietary tooling and other high-tech manufacturing equipment, the new facility production
capability was up to one satellite per day. The facility had completed production of 68 satellites
in two successive batches of 34 satellites each as of the Petition Date.

       The satellites in the GEN 1 Constellation were designed to use a cutting-edge technique
called “Progressive Pitch™”, which allows OneWeb to use its spectrum in a highly efficient
manner by gradually and slightly tilting the satellites as they approach the equator to ensure that
such satellites do not cause or receive interference with Ku-band satellites operating above the
GEN 1 Constellation in geostationary orbit. This is necessary in order to comply with the ITU’s
rules and procedures protecting satellites operating in the geostationary orbit from receiving
harmful interference from non-geostationary orbit satellite systems, such as the OneWeb System.
OneWeb’s user terminals would provide high-speed connectivity without latency during satellite
handovers to ensure excellent voice quality, gaming, and web-based experience. These
ground-based terminals would be capable of being self-installed and be small, affordable, and
extremely efficient, such that they would operate with optionally included solar panels, battery
packs, and Wi-Fi, 2G, 3G, & 4G/LTE, potentially upgradable to 5G capabilities, to provide
coverage directly to cellular phones, tablets, and laptops. OneWeb’s satellites were designed to
comply with the “orbital debris-mitigation” guidelines for removing satellites from orbit.

        For the launch and deployment of its satellites in orbit, OneWeb entered into two
significant launch services agreements with launch services provider Arianespace S.A.
(“Arianespace”). Specifically, OneWeb and Arianespace entered into a launch services
agreement for the performance of 21 launch missions, each using the Soyuz launch vehicle and
carrying up to 36 satellites per launch mission (the “Soyuz LSA”). The Soyuz LSA
contemplates use of three separate launch sites – the Soyuz launch complex at the Baikonur
Cosmodrome in Baikonur, Kazakhstan, the Soyuz launch base at the Guiana Space Centre in
Kourou, French Guiana, and the Soyuz launch base at the Vostochny Cosmodrome in
Vostochny, Russia – in order to support the capacity needs of the OneWeb launch campaign.
OneWeb and Arianespace also entered into a launch services agreement for the performance of
an additional launch mission using the new (under development) heavy-lift Ariane 6 launch
vehicle expected to carry at least 30 satellites per launch mission (the “Ariane 6 LSA”). The
Ariane 6 LSA contemplates use of the Ariane 6 launch base at the Guiana Space Centre in
Kourou, French Guiana. Certain contracts between Arianespace and certain of the Debtors are
designated as Principal Vendor Contracts under the Plan Support Agreement.

       On February 27, 2019, OneWeb successfully launched all six Pilot Satellites from the
Guiana Space Centre on a Soyuz launch vehicle, marking successful performance of the first
launch mission contemplated under the Soyuz LSA. OneWeb then successfully launched, on
February 6, 2020, its first batch of 34 GEN 1 Constellation satellites and the following month, on
March 21, 2020, a second batch of 34 GEN 1 Constellation satellites, in each case on a Soyuz
launch vehicle from the Baikonur Cosmodrome, marking successful performance of two more
launch missions under the Soyuz LSA. OneWeb currently operates a total of 74 fully
functioning satellites in orbit.



                                               -11-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 24 of 342



       In addition to AOS, OneWeb and Airbus intended to cooperate in the development and
monetization of related technologies. Manufacturing the GEN 1 Constellation and, eventually,
the GEN 2 Constellation, would continue to be AOS’s priority business, but AOS would also
pursue third-party design, development and manufacturing opportunities, thereby generating a
passive return for OneWeb unrelated to its core business. In addition, OneWeb has and
continues to have rights in a portfolio of certain intellectual property developed in the course of
the work of AOS and would have the potential opportunity to develop further innovations based
on such intellectual property. Certain contracts between AOS and certain of the Debtors are
designated as Principal Vendor Contracts under the Plan Support Agreement.

       OneWeb has also constructed two Satellite Operation Centers (“SOCs”) and two Ground
Network Operations Centers (“GNOCs”) in Virginia and London. Each of the SOCs can
individually manage the entire Constellation through the TT&C Antennas and are responsible for
managing ground station visibility, collision avoidance, altitude maneuvers, planning contacts
and payload schedules and analyzing telemetry and investigating anomalies. Each of the
GNOCs is a redundant data center that can individually manage the entire SNP ground network
and is responsible for determining satellite pass schedules, frequency allocations, effective
downlink power and monitoring and controlling all SNP sites, equipment and the network
connections.

       B.      THE DEBTORS PREPETITION ORGANIZATIONAL STRUCTURE AND
               STOCKHOLDERS’ EQUITY

               1.      Organizational Structure

       A chart showing the Debtors’ organizational structure as of the Petition Date is attached
as Exhibit A to the Declaration of Thomas Whayne in Support of Chapter 11 Petitions and First
Day Pleadings [Docket No. 3]. As reflected in that chart, OneWeb owns 100% of the interests in
OneWeb Communications Limited (“OWC”), a company organized under the laws of England
and Wales.

       OWC owns 100% of the interests in WSL, which in turn owns 100% of the interests in
WVD, 1021823 BC, NAA, OneWeb Asia Pte. Ltd., a company organized under the laws of
Singapore, Debtor OneWeb Limited, a company organized under the laws of Jersey, and
OneWeb Communications S.à.r.l., a company organized under the laws of Luxembourg. Each of
the companies at this level was established as required by the local laws of the countries in which
OneWeb operates to hold spectrum and landing rights, regulatory licenses and authorizations,
administer sales, conduct network operations, undertake research and development, and for other
corporate, finance, regulatory, contracting, administrative and employment related purposes, as
applicable.

         WVD owns 100% of the interests in Debtor WJVH, which owns 50% of the interests in
AOS. WVD owns 100% of the interests in Debtor OneWeb Holdings LLC, a New York limited
liability company, which leases office space and maintains a bank account in White Plains,
New York.




                                               -12-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39         Main Document
                                         Pg 25 of 342



       NAA owns 100% of Debtor OneWeb Network Access Holdings Ltd. (“ONAH”), a
company organized under the laws of England and Wales, which in turn owns 99% (and NAA
owns 1%) of Debtor OneWeb Ltd., a company organized under the laws of Malta. Each of the
companies owned wholly or partially by NAA was established as required by local laws to hold
spectrum and landing rights, regulatory licenses and authorizations, own and operate antennas
and other ground segment equipment and communication network assets, and for other corporate
and regulatory purposes, as applicable, in the various countries in which OneWeb operates.

       ONAH owns 49% (and a local partner owns 51%) of OneWeb LLC, a company
organized under the laws of Russia. Each of the companies owned wholly or partially by ONAH
were established as required by local laws to hold spectrum and landing rights licenses, own and
operate antennas and other ground segment equipment and communication network assets, and
for other corporate and regulatory purposes, as applicable, in the various countries in which
OneWeb operates.

               2.      Stockholders’ Equity

        In 2015, OneWeb raised approximately $500 million in equity financing primarily from
strategic investors, including certain entities affiliated with Airbus Group, Inc. (collectively,
“Airbus”), Hughes Network Systems, LLC, which is producing OneWeb’s ground network
system and which is a subsidiary of EchoStar Corp., Indian Continent Investment Limited, an
associate entity of Bharti, Qualcomm Incorporated, and Virgin Group Ltd. In December 2016,
OneWeb raised an additional $1.2 billion in equity financing, consisting of a $1 billion
investment from SoftBank Group Corp. (“SoftBank”), a Japanese corporation, thereby making
SoftBank OneWeb’s largest shareholder, and a $200 million investment from certain of its
existing investors.

       As of the Petition Date, OneWeb had 6,897,734 ordinary shares and 606,061 preferred
shares outstanding. The number of ordinary shares outstanding includes restricted stock units
awarded under OneWeb’s employee and consultant equity incentive plans. As of June 30, 2018,
an aggregate of 417,000 ordinary shares were authorized for issuance pursuant to such plans.

       C.      PREPETITION FUNDED INDEBTEDNESS

        On July 12, 2018, OWC entered into a Note Purchase Agreement (the “Original NPA”)
among OWC, SoftBank, as administrative and collateral agent, and each of the purchasers
thereunder from time to time, for the issuance of 13% senior secured promissory notes (the
“Bridge Notes”). Between July 2018 and January 2019, OWC issued Bridge Notes to SoftBank
under the Original NPA in an aggregate principal amount of $408 million. The obligations under
the Original NPA were guaranteed by WSL, WVD, LLC, OneWeb Asia Pte. Ltd., OneWeb
Limited, NAA, and 1021823 BC and were secured by substantially all assets of OWC and its key
subsidiaries. These assets included the frequency spectrum authorizations, which assets were
considered to be valued in excess of the amounts outstanding under the Bridge Notes. PIK
interest accrued on the Bridge Notes quarterly. SoftBank did not receive any fees or other
special compensation in connection with providing the Bridge Notes.




                                              -13-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 26 of 342



        The Original NPA was structured as a short-term 364-day bridge loan to an anticipated
$3 billion export credit agency-guaranteed project financing that was being sourced from various
export credit agencies, public financial institutions, lenders guaranteed or supported by export
credit agencies and development finance institutions (the “ECA Financing”). Indeed, a number
of potential lenders, including International Finance Corporation, part of the World Bank Group,
European Bank for Reconstruction and Development and BpiFrance Assurance Credit Export
were party to an agreed term sheet that was annexed to the Original NPA. In contemplation of
the ECA Financing and its eventual take out of the Bridge Notes, the Original NPA contained
financing milestones and other express terms, conditions and accommodations relating to the
ECA Financing.

        The structuring of a multi-sourced financing such as the ECA Financing is complex, and
the internal approval processes of export credit agencies and development finance institutions
often require coordination among a number of different teams and, in certain circumstances, with
multiple governmental institutions, which results in a time-consuming and lengthy process to get
from initial due diligence to credit approval (and thereafter documentation and financial closing).
Accordingly, SoftBank agreed to enter into the Original NPA and provide bridge loans to
OneWeb thereunder in order to fund OneWeb’s needs during the extended process up to the
expected completion of the ECA Financing.

        As noted above, the Original NPA contemplated that the Bridge Notes would be fully
refinanced by the completion and funding of the ECA Financing, and OneWeb’s use of proceeds
drawn under the Original NPA were restricted to project costs that would be eligible for
refinancing under the ECA Financing. Under a separate redeemable preferred shares purchase
agreement (the “SPA”) entered into in connection with the Original NPA, the Bridge Notes were
automatically exchangeable for redeemable shares of OWG upon the occurrence of the initial
funding of the ECA Financing. The redeemable shares were in turn either redeemable by OWG
(using the ECA Financing proceeds) upon commercial completion or convertible to equity.

       The financing structure contemplated by the Original NPA and the ECA Financing (i.e.,
using bridge loans from a prominent sponsor to ensure continuity of funding for the project while
the debt process is being completed) is employed in project financings generally, and has been
successfully employed in numerous satellite financings including both for satellite constellations
such as O3b Networks, Iridium and Globalstar and geostationary satellite projects such as PSN
Enam, Asia Broadcast Satellite ABS-2 and APT Satellite APStar-2.

        By the fourth quarter of 2018, it became evident that not all the lenders needed under the
ECA Financing would be able to obtain necessary internal approvals prior to the maturity of the
Original NPA and the related Bridge Notes. Concurrently, OneWeb decided to restructure the
project to reduce the amount of capital needed to secure immediate commitments for less than
the full amount of the originally contemplated ECA Financing, with the full expectation that
additional senior indebtedness would be required and obtained.

       While OneWeb continued to pursue project financing from typical project finance
sources such as government agencies and quasi-development finance institutions, OneWeb
determined to secure the immediate funding needs from existing stakeholders.



                                               -14-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 27 of 342



       On March 18, 2019, OWC entered into an Amended and Restated Note Purchase
Agreement (the “A&R NPA”) among OWC, Global Loan Agency Services Limited, as
administrative agent, GLAS Trust Corporation Limited (“GLAS”), as collateral agent, and
SoftBank, Banco Azteca, S.A., Institución de Banca Múltiple (“Banco Azteca”), Airbus Group
Proj B.V. (“Airbus”), Qualcomm Technologies, Inc. and The Government of the Republic of
Rwanda as the initial purchasers (collectively, and together with their respective affiliates, the
“Prepetition Lenders”).

        The A&R NPA amended and restated the Original NPA. SoftBank’s $408 million in
Bridge Notes issued under the Original NPA, together with accrued interest, were converted into
a new note under the A&R NPA. Due to the size of SoftBank’s existing note holdings together
with the additional notes issued in exchange for additional funds it lent under the A&R NPA,
SoftBank alone qualified as “Required Holders” under the A&R NPA, and, therefore, as is
customary in third-party loans, had the ability to control decisions regarding the exercise of
remedies and release of collateral. However, and notably, SoftBank did not have rights to
unilaterally alter material terms of the Secured Notes. In addition, due to the fact that SoftBank
was no longer the only lender, a third party, GLAS, was appointed to replace SoftBank as
collateral agent so that the debt facility would be managed, and benefit from security held by a
third party agent with duties to all noteholders (as is customary for debt financing transactions
with multiple lenders) and in contemplation of additional future senior secured financing.

        Between March 2019 and October 2019, OWC issued 12.5% senior secured promissory
notes (the “Secured Notes”) in an aggregate principal amount of $1,560,621,949.30. Like the
Bridge Notes, the Secured Notes are guaranteed by WSL, WVD, OneWeb Limited, OneWeb
Asia Pte. Ltd., NAA, and 1021823 BC, and are secured by substantially all of OneWeb’s assets.
In order to support the additional loans, OneWeb, in connection with the A&R NPA, provided an
enhanced collateral package to secure the additional Secured Notes including local law share
pledges with respect to many of OWG’s operating subsidiaries worldwide, and also provided a
guarantee from ONAH.

        The willingness of the Prepetition Lenders to provide the additional indebtedness (or in
Qualcomm’s case defer payment of amounts then owing) was conditioned on the success of
OneWeb’s initial launch of the first six prototype satellites (an important step towards
successfully bringing OneWeb’s radio frequency spectrum into use and thereby maintaining its
priority to use the spectrum ahead of its competitors), which OneWeb successfully achieved in
February 2019 and which the parties believed would significantly enhance the value of
OneWeb’s assets.

       In conjunction with entering into the A&R NPA, certain of the Prepetition Lenders also
entered into a Warrant Purchase Agreement, dated as of March 18, 2019 (the “Warrant Purchase
Agreement”), pursuant to which OWG issued warrants, a common equity sweetener for
providers of debt financing, with an exercise price of $0.01 per voting or non-voting share of
OWG at each drawdown under the A&R NPA, giving such Prepetition Lenders the right to
subscribe for a number of shares of OWG in an amount equal to 100% of such Prepetition
Lender’s funded amount on the drawdown date divided by $300. SoftBank also received
warrants at the initial closing to purchase voting and/or non-voting shares of OWG in the amount
of $408 million divided by $300/share.


                                              -15-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 28 of 342



       The Committee does not agree with the Debtors’ characterizations of the Original NPA,
the Bridge Notes, the A&R NPA, or the Senior Secured Notes (collectively, the “Senior Secured
Debt”), as described more fully in the Committee Letter. The Committee has asserted that the
Senior Secured Debt should be recharacterized as equity or should be equitably subordinated to
the Claims of general unsecured creditors, all as set forth more fully in the Standing Motion
described in Section IV.J, infra, and in the Committee Letter.

       As of the Petition Date, there was approximately $1,733,809,254.40 (principal plus
accrued interest) of Secured Notes outstanding.

III.   EVENTS LEADING TO THE CHAPTER 11 CASES

       A.      HISTORICAL FINANCING SOURCES AND INCREASING LIQUIDITY
               NEEDS

        As of the Petition Date, the Debtors were still in the development stage of their business
and, notably, did not yet generate revenue. Historically, and throughout the various development
stages of the OneWeb System, OneWeb has looked to its key equity and debt investors to
provide liquidity for the next stage of its operations. Since 2019, OneWeb has been actively
seeking investments from both its existing and new investors to fund its continuing operations
and completion of the OneWeb System. In February 2020, OneWeb completed the first launch
of 34 satellites for its GEN 1 Constellation, and over the course of 2020 it was anticipated that
OneWeb would continue with a monthly launch cadence to deploy the complete GEN 1
Constellation of 648 satellites. At that time, OneWeb had anticipated raising additional capital to
meet its launch and constellation implementation schedule.

       B.      LIQUIDITY CONCERNS AND DISCUSSIONS WITH POTENTIAL
               LENDERS AND INVESTORS

       By early 2020, OneWeb continued to face a rapidly deteriorating liquidity position as the
cost of building out the OneWeb System exhausted its existing equity and debt financing.
OneWeb engaged Guggenheim Securities, LLC (“Guggenheim Securities”) in February 2020 to
serve as its investment banker and assist the Debtors in their evaluation and pursuit of strategic
opportunities.

        After several due diligence meetings during the first and second weeks of March 2020,
OneWeb believed that it was going to be able to secure a long-term funding arrangement from
existing stakeholders. However, on March 12, 2020, as the markets began to feel the impact of
COVID-19, OneWeb was notified that its current investors would not commit to a long-term
solution. Thereafter, OneWeb entered into a term sheet for bridge financing to be consummated
by March 26, 2020, but OneWeb was notified on March 21, 2020 that the bridge financing offer
was no longer available. By the end of March, it had become clear that the anticipated funding
opportunities OneWeb had been pursuing, as well as the prospect of locating any new sources of
financing or strategic partners, were significantly and precipitously impacted by the COVID-19
pandemic and the resulting shuttering of the global economy.

       C.      SHIFT TO BANKRUPTCY PREPARATION



                                               -16-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 29 of 342



       Following notification on March 21, 2020 that the bridge financing offer was no longer
available, and due to the near exhaustion of its existing equity and debt financing and the lack of
any other financing prospects, OneWeb immediately shifted to bankruptcy preparation and the
preservation of its assets for a potential sale. OneWeb, in an effort to conserve liquidity and
preserve the value of its existing assets, began shutting down nonessential aspects of its business.
OneWeb was forced to pursue a strategic reduction in force of approximately 90% of its
workforce and maintain only its existing operations, while halting all further development.

       D.      THE DECISION TO FILE FOR CHAPTER 11 PROTECTION

        Ultimately, OneWeb, in consultation with its advisors, determined that the best path
forward was to commence chapter 11 cases to preserve the value of its key assets while pursuing
strategic alternatives. As such, OneWeb entered into an agreement with its largest equity and
debtholder, SoftBank, with respect to the consensual use of its cash collateral to fund the
chapter 11 cases.

         On March 27, 2020, OWG’s board of directors, and the boards of directors or managers
of each of its affiliated Debtors, unanimously voted to commence voluntary cases for relief under
chapter 11 of the Bankruptcy Code. The Debtors’ other subsidiaries, OneWeb S.R.L., a
company formed under the laws of Italy, OneWeb Capacidade Satelital Ltda., a Brazilian limited
liability company, OneWeb Costa Rica Limitada, a Costa Rican limited liability company
(Sociedad de Responsibilidad Limitada), OneWeb Senegal SARL, a Senegal limited liability
company, One Web Angola – Serviços De Telecomunicações (SU), LDA., an Angolan limited
liability company, OneWeb S.A., an Argentinian sociedad anónima, First Tech Web Company
Limited, a Saudi Arabian limited liability company, OneWeb Communications S.a.r.l., a
Luxembourg société à responsabilité limitée, OneWeb Asia Pte. Ltd., a Singaporean private
company limited by shares, OneWeb Development Ltd., a company incorporated under the laws
of England and Wales, and OneWeb Technology Ltd., a Jersey private company, did not
commence chapter 11 cases.

IV.    EVENTS DURING THE CHAPTER 11 CASES

       A.      FIRST AND SECOND DAY PLEADINGS

        Immediately after commencing these cases, the Debtors filed a number of motions and
other pleadings seeking relief necessary to stabilize their business and ensure a smooth transition
into chapter 11. These first and second day motions were granted by the Bankruptcy Court with
certain adjustments or modifications.

       The Bankruptcy Court entered orders authorized the Debtors to, among other things:

               •       maintain their existing bank accounts and cash management system, and
                       continue use of existing checks [Docket Nos. 30, 119, and 349];

               •       pay certain prepetition employee wages, salaries, other compensation, and
                       continue certain compensation and benefits programs [Docket Nos. 37 and
                       108];



                                               -17-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 30 of 342



               •       pay all undisputed, liquidated, prepetition amounts owing on account of
                       claims held by critical vendors [Docket Nos. 38 and 109];

               •       provide adequate assurance of payment to utility companies and establish
                       procedures for resolving requests by utility companies for additional
                       assurance of payment [Docket Nos. 45 and 111];

               •       pay certain prepetition taxes and fees and those that will become payable
                       during the pendency of the cases [Docket Nos. 32 and 113];

               •       continue insurance coverage, workers’ compensation programs and surety
                       bond programs entered into prepetition and satisfy payment of those
                       obligations, and continue performance [Docket Nos. 35 and 110];

               •       establish procedures relating to certain transfers of, or declarations of
                       worthlessness with respect to, common stock or any beneficial ownership
                       interests [Docket Nos. 36 and 112];

               •       utilize cash collateral [Docket Nos. 17 and 118];

               •       obtain postpetition financing [Docket No. 121]; and

               •       approving bidding procedures with respect to the sale of the Debtors’
                       assets [Docket No. 104].

       B.      PROCEDURAL AND ADMINISTRATIVE MOTIONS

        On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
Extending Time to File Schedules of Assets and Liabilities, Schedule of Executory Contracts and
Unexpired Leases, Statements of Financial Affairs, and Rule 2015.3 Financial Reports [Docket
No. 7] seeking an extension of the time within which the Debtors must file their schedules of
assets and liabilities and statements of financial affairs (collectively, the “Schedules”) up to and
including 30 days after the meeting of the creditors pursuant to section 341 of the Bankruptcy
Code or 44 days from the Petition Date or such later date as agreed to with the U.S. Trustee,
which the Bankruptcy Court granted on April 1, 2020 [Docket No. 33]. On May 25, 2020, the
Debtors filed the Schedules and their Rule 2015.3 Financial Report.

        On June 23, 2020, the Bankruptcy Court entered an order approving: (1) August 11,
2020, at 5:00 p.m., prevailing Eastern Time, as the deadline for all non-governmental units (as
defined in section 101(27) of the Bankruptcy Code) to file Claims in the chapter 11 cases; (2)
September 24, 2020 at 5:00 p.m., prevailing Eastern Time, as the deadline for all governmental
units (as defined in section 101(27) of the Bankruptcy Code) to file Claims in the chapter 11
cases; (3) procedures for filing proofs of Claim; and (4) the form and manner of notice of the
applicable bar dates [Docket No. 331] (the “Bar Date Order”). Any creditor whose Claim is not
scheduled in the Schedules or whose Claim is scheduled as disputed, contingent, or unliquidated
must file a Proof of Claim in accordance with the Bar Date Order.




                                               -18-
20-22437-rdd       Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 31 of 342



       To facilitate the efficient administration of these chapter 11 cases and to reduce the
administrative burden associated therewith, the Debtors also filed and received authorization to
implement several further procedural and administrative motions:

               •      authorizing the joint administration of the chapter 11 cases [Docket No.
                      29];

               •      establishing certain notice, case management, and administrative
                      procedures [Docket No. 44];

               •      allowing the Debtors to prepare a list of creditors in lieu of submitting a
                      formatted mailing matrix and to file a consolidated list of the Debtors’
                      30 largest creditors [Docket No. 41];

               •      approving the procedures for the interim compensation and reimbursement
                      of retained Professionals in the chapter 11 cases [Docket No. 106];

               •      allowing the Debtors to retain and compensate certain Professionals
                      utilized in the ordinary course of business [Docket No. 107]; and

               •      approving procedures for rejecting executory contracts and unexpired
                      leases [Docket No. 346].

       C.      APPOINTMENT OF THE CREDITORS’ COMMITTEE

        On April 16, 2020, the U.S. Trustee appointed the Official Committee of Unsecured
Creditors (the “Committee”) pursuant to section 1102 of the Bankruptcy Code [Docket No. 67].
The Committee retained (a) Paul Hastings, LLP as lead counsel; (b) Cole Schotz, P.C. as
conflicts and efficiency counsel; (c) Province, Inc. as financial advisor; and (d) Jefferies LLC as
investment banker.

       D.      DEBTORS’ RETENTION OF PROFESSIONALS

        Upon the Bankruptcy Court’s approval, the Debtors retained (1) Milbank LLP as counsel;
(2) Omni Agent Solutions as the Claims and Noticing Agent; (3) Guggenheim Securities as
investment banker; (4) Choate, Hall & Stewart LLP as special corporate counsel; and (5) FTI
Consulting, Inc., as financial advisor. The Bankruptcy Court also authorized the Debtors to
retain and compensate certain Professionals utilized in the ordinary course of the Debtors’
business.

       E.      POSTPETITION FINANCING

       Following the Petition Date, the Debtors obtained debtor-in-possession financing
pursuant to a Senior Secured Debtor-In-Possession Term Loan Credit Agreement, dated as of
April 29, 2020 (the “Original DIP Credit Agreement”), among, inter alios, OWC as borrower,
SoftBank and Grupo Elektra, S.A.B. de C.V., as lenders (the “DIP Lenders”), GLAS USA LLC,
as administrative agent (the “DIP Administrative Agent”) and GLAS Trust Corporation Limited,



                                               -19-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 32 of 342



as collateral agent (the “DIP Collateral Agent”, and together with the DIP Administrative Agent,
the “DIP Agent”).

        The Original DIP Credit Agreement provided for senior secured superpriority financing
consisting of (a) new money term loans of up to $75 million, consisting of a $10 million first
tranche, a $20 million second tranche, a $25 million third tranche, and a $20 million fourth
tranche (the “New Money DIP Loans”) and (b) a “roll-up,” consisting of a substitution and
exchange of a portion of the Claims of the DIP Lenders or their affiliates under the A&R NPA
and the Secured Notes (the “Prepetition Obligations”) occurring on each borrowing date under
the Original DIP Credit Agreement (except that the roll-up with respect to the New Money DIP
Loans extended on the first borrowing date was deemed to occur on the second borrowing date)
in an aggregate amount equal to three times the aggregate principal amount of New Money DIP
Loans made on the applicable date, up to an aggregate amount of no more than $225 million (the
“DIP Facility”).

        To secure the obligations under the Original DIP Credit Agreement, the Debtors granted
the DIP Collateral Agent, for the benefit of the DIP Lenders and the DIP Agent (collectively, the
“DIP Secured Parties”), a valid, perfected first priority priming security interest and lien on all of
their prepetition and postpetition tangible and intangible property and assets, whether real or
personal, other than the Excluded Collateral and the Avoidance Actions (each, as defined in the
Original DIP Credit Agreement).

       In connection with the bid from the Plan Sponsor to acquire 100% of the equity interests
of the Reorganized Company Party (the “New Equity Interests”) through a chapter 11 plan of
reorganization and to provide an ongoing, material funding commitment to the reorganized
business (the “Transaction”), as discussed further herein, the Plan Sponsor agreed to provide
$110 million of incremental DIP financing (the “Interim Funding”), by taking assignment of the
approximately $45 million of unfunded new-money commitments under the Original DIP Credit
Agreement and providing additional new-money commitments of approximately $65 million.

       The Debtors filed a motion seeking authority to amend the DIP Facility to allow for the
Interim Funding on June 6, 2020 [Docket No. 370] and increasing the size of the DIP Facility
from $300 million to $410 million. The Bankruptcy Court entered an order granting the
requested relief on July 10, 2020 [Docket No. 398].

       F.      PENDING LITIGATION PROCEEDINGS AND CLAIMS

        In the ordinary course of business, certain of the Debtors are party to various lawsuits,
legal proceedings, and claims arising out of their businesses. The Debtors cannot predict with
certainty the outcome or disposition of these lawsuits, legal proceedings, and claims, although
the Debtors do not believe any reasonable outcome of any currently existing proceeding, even if
determined adversely, would (a) have a material adverse effect on their businesses, financial
condition, or results of operations or (b) interfere with the feasibility of the Plan.

       On June 6, 2019, Virgin Orbit, LLC (“Virgin”) filed suit against OneWeb in the United
States District Court for the Southern District of New York, alleging breach of contract related to
the calculation and payment of a termination fee associated with OneWeb’s termination of



                                                -20-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 33 of 342



certain launches under a Launch Services Agreement between the parties in May 2015. Virgin is
seeking $46,323,851 in damages, interest, attorney’s fees and costs (the “Virgin Litigation”).

        On September 10, 2019, Intelsat US LLC (“Intelsat”) filed suit against OneWeb and
SoftBank Group Corporation in the Supreme Court of the State of New York, County of New
York, alleging contract and tort claims, including breach of contract under the Amended and
Restated Strategic Cooperation Agreement between Intelsat, OneWeb and SoftBank (the
“Intelsat Litigation”). On November 8, 2019, OneWeb and SoftBank filed a joint motion to
dismiss the complaint in its entirety. On May 13, 2020, Intelsat commenced voluntary cases
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern
District of Virginia.

        With certain exceptions, the filing of the chapter 11 cases operates as a stay with respect
to the commencement or continuation of litigation against the Debtors that was or could have
been commenced before the commencement of the chapter 11 cases. The Debtors’ liability with
respect to litigation stayed by the commencement of the chapter 11 cases is subject to discharge,
settlement, and release upon confirmation of a plan under chapter 11, with certain exceptions.
Therefore, certain litigation claims against the Debtors may be subject to discharge in connection
with the chapter 11 cases. This may reduce the Debtors’ exposure to losses in connection with
the adverse determination of such litigation.

       G.      THE MARKETING AND SALE PROCESS

        The Debtors, with the assistance of Guggenheim Securities, conducted an extensive
outreach effort in connection with the Debtors’ marketing and sale process, including, among
other things, reaching out to over ninety (90) strategic and financial investors around the world.
Over half of those parties executed non-disclosure agreements and received access to a data
room supplied with diligence information regarding the Debtors’ businesses and operations.
Such information included, among other things, a management presentation, regulatory filings,
information regarding manufacturing facilities, asset details, technical specifications for SNPs,
network, user terminals and satellite design, various business plans, and other commercial
agreements. Moreover, the Debtors’ management and their advisors participated in numerous
calls to address diligence and sale related topics. Through additional information posted to the
data room and written answers, the Debtors, with the assistance of their advisors, provided well
over one hundred (100) written submissions in response to diligence questions submitted by
prospective buyers. Throughout the sale and marketing process, the Debtors regularly informed
and consulted with the Committee and SoftBank (together, the “Consultation Parties”).

        At the original bid deadline of June 26, 2020, the Debtors received three bids, none of
which met the definition of a Qualified Bid in the Bidding Procedures Order. Consequently,
after discussion with the Consultation Parties (including the Committee), the Debtors extended
the bid deadline and continued discussions with the parties that submitted these bids in an
attempt to turn their submissions into Qualified Bids. Three additional parties that had
conducted due diligence also contacted the Debtors and expressed interest in bidding for the
Debtors’ assets, although each of these additional parties indicated they were yet to secure the
requisite financing and internal approvals. The Debtors, with the assistance of their advisors,
continued to interact with these parties following the original bid deadline.


                                               -21-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 34 of 342



      On July 1, 2020, the Debtors received a signed bid from BidCo in the form of a Plan
Support Agreement and plan term sheet attached thereto as Exhibit A (the “Plan Term Sheet”).

        On July 2, 2020, BidCo’s bid was submitted to OWG’s Board of Directors (the “Board”)
for consideration. Of the seven Board members, each of SoftBank, Airbus, Grupo Salinas, and
Qualcomm have one designee. The other three Board members are: an independent member
with no other affiliation to the Debtors or the holders of Secured Notes Claims, the Debtors’
CEO, and the founder of OneWeb, who also has no affiliation with the holders of Secured Notes
Claims but is a current equity holder. The Board unanimously voted to approve BidCo’s bid,
subject to obtaining certain modifications to be negotiated by the Debtors, with the assistance of
their advisors, as the baseline bid. Among the Board members who voted to approve the bid
were the unaffiliated independent director and the designees of two significant unsecured
creditors—Qualcomm (directly) and Airbus (indirectly through its ownership interests in the
AOS joint venture and its significant ownership interest in Arianespace). In approving BidCo’s
bid, including the Plan Term Sheet, each member of the Board exercised its duties under
applicable law, having determined that BidCo’s bid preserved the going concern value of the
Debtors’ business, avoided imminent liquidation, and was the highest and otherwise best bid
available. The Board’s decision was further supported, as described below, by the Committee,
which recognized that BidCo’s bid was the highest and best bid and conceded that there were no
issues with the sale process, stating as follows in a filing with the Bankruptcy Court:

               The Committee fully supports a going concern sale of the Debtors’
               business, and it agrees that the selection of BidCo as the proposed
               buyer in accordance with the sale process is a positive
               development and a critical first step towards a confirmable chapter
               11 plan and a successful reorganization. The Committee is also
               not second-guessing the sale process run by the Debtors or the
               purchase price to be paid by BidCo.

Official Committee of Unsecured Creditors’ Limited Objection to (1) Debtors’ (I) Supplemental
Motion for Entry of an Order (A) Authorizing Debtors to Enter Into and Perform Under Plan
Support Agreement With Successful Bidder in Connection With Debtors’ Motion to Authorize
Sale, Free and Clear of All Liens, Claims, Interests & Encumbrances and (B) Granting Related
Relief and (II) Preliminary Reply to Cure, Assumption and Assignment, and Sale Objections, and
(2) Debtors’ Motion for Authorization to Amend Existing DIP Facility [Docket No. 386] (the
“PSA Objection”) at ¶ 1; see also, id. at ¶¶ 9, 16 (the Committee “has no objection to the Debtors
selecting BidCo as the Successful Bidder”).

        None of the other bids received were Qualified Bids, and no other interested party
indicated to the Debtors that it would submit a Qualified Bid competitive with BidCo’s bid.
BidCo agreed to requested modifications, and in consultation with the Consultation Parties
(including the Committee), notified BidCo that the Debtors intended to designate BidCo’s bid as
the highest and otherwise best bid. The Debtors, in consultation with the Consultation Parties,
then cancelled the auction and BidCo was declared the successful bidder.




                                              -22-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 35 of 342



        On July 3, 2020, the Debtors announced that BidCo was the successful bidder and that
the terms of the Plan Support Agreement and the going concern sale contemplated thereby
constituted the highest and otherwise best bid for the Debtors’ business.

       The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.G and, in this regard, the Committee refers creditors to the
Committee Letter.

       H.      THE TERMS OF BIDCO’S BID

               1.      Acquisition of All Assets Including Retained Causes of Action &
                       Avoidance Actions

        The Plan Support Agreement and the Plan Term Sheet expressly state that BidCo’s offer
is for the acquisition of the New Equity Interests and includes “all the assets, properties and
rights used or held for use by the Debtor entity that will act as the Reorganized Company Party
(in accordance with the terms [of the Plan Support Agreement and the Plan Term Sheet]) and its
subsidiaries and affiliated entities in the operation and conduct of the Business as a going
concern in connection with the Chapter 11 Cases through the Transactions, subject to the ability
to designate Excluded Assets in accordance with the PSA.” Plan Term Sheet at 4 (a schedule of
the Excluded Assets is attached as Annex D hereto). All assets necessary for the operation of the
Debtors’ business as a going concern, among other things, include all Causes of Action,
including all Avoidance Actions, except those released pursuant to the Plan. The Plan Support
Agreement and the Plan Term Sheet do not provide for any allocation of the purchase price to
specific assets. Notably, the Committee insisted on striking from the Bidding Procedures the
requirement that Proposals (as defined therein) include allocation of the purchase price as part of
its comments thereto. See Notice of Filing of Revised Proposed Order (I)(A) Approving Bidding
Procedures, (B) Scheduling an Auction and Sale Hearing and Approving Form and Manner of
Notice Thereof, and (C) Approving Assumption and Assignment Procedures and Form and
Manner of Notice Thereof; and (II) Authorizing (A) the Sale(s), Free and Clear of All Liens,
Claims, Interests, and Encumbrances, and (B) Assumption and Assignment of Executory
Contracts and Unexpired Leases [Docket No. 89]; cf. Bidding Procedures Motion, Exhibit 1,
Section III.B.2.(c). [Docket No. 57]; Bidding Procedures, Section III.B.2.(c). [Docket No. 104].
The purchase and sale of the Causes of Action is a requirement of the Plan Term Sheet and is a
necessary predicate to confirmation of the Plan.

        Notwithstanding assertions by the Committee to the contrary, it is standard for a
purchaser of a going concern business, including a reorganizing business, to retain all of its
causes of action regardless of whether the purchaser is an existing creditor. In any event, this is
not a case where a buyer cherry-picks assets to operate as part of a different business and looks
to acquire causes of action unrelated to the existing business. To the contrary, because the
Debtors’ business is being acquired as a going concern, it is unremarkable that the Plan Sponsor
seeks to acquire all rights associated therewith, including the ability to decide which Claims to
pursue and which Claims to release. To do otherwise would require the Plan Sponsor to
relinquish its ability to make critical go-forward business decisions, and/or subject the
reorganized business to unquantifiable risks to disruption of its business because its vendors,
customers, debt and equity sources and counterparties are being subjected to litigation in the


                                               -23-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39         Main Document
                                         Pg 36 of 342



name of their business. The acquisition of the Retained Causes of Action ensures that the
Debtors’ new owners will have the ability to continue to negotiate with existing or former
vendors, suppliers, and contract counterparties, without the overhang of the threat of litigation
(not controlled by the new owners) that could disrupt operations and management of the
business. It is a requirement of the Plan Term Sheet.

         Moreover, while the Debtors have not conducted an independent review of potential
Causes of Action and Avoidance Actions, the Debtors are not aware of any valuable Causes of
Action or Avoidance Actions that are being retained by the Reorganized Debtors. Notably, the
Debtors believe that any potential preference claims under section 547 of the Bankruptcy Code
are likely subject to applicable defenses, including “contemporaneous exchange for value”, “new
value”, or are for payments tied to contracts that will be assumed, and therefore the cost of
litigation would far exceed the recoverable value. Even so, the Bankruptcy Court approved
BidCo’s bid as the highest and otherwise best option for the Debtors, and the terms of the BidCo
bid require the Reorganized Debtors to maintain the Retained Causes of Action.

               2.      Cash Consideration and BidCo Equity Consideration

        In exchange for the acquisition of the New Equity Interests, BidCo agreed to provide,
among other things, (i) on or before the Effective Date, $150 million cash payment to satisfy
Allowed DIP Claims (other than the Interim Funding DIP Claims) and such other claims that
were required to be paid in cash under the Plan; and (ii) on or following the Effective Date, the
Additional Cash Plan Funding. In addition, BidCo committed to (i) provide additional DIP
financing in the amount of $110 million to fund the Debtors’ chapter 11 cases through the
Effective Date and (ii) provide for payment of all Allowed Cure Claims. The Plan Support
Agreement and Plan Term Sheet also provides for the issuance of the BidCo Equity
Consideration pro rata for the holders of Allowed Secured Notes Claims.

        These key financial terms of the Plan Support Agreement and the Plan Term Sheet
comprise the terms of BidCo’s successful bid. These terms have been in every iteration of the
Plan Support Agreement and the Plan Term Sheet delivered by BidCo to the Debtors, as well as
the Committee as a Consultation Party under the Bidding Procedures. BidCo is a private joint
venture between HMG and Bharti, established by them for the purpose of acquiring 100% of the
equity interests of the Reorganized Company Party in consortium with each other, together with
any other selected additional commercial partners that HMG and Bharti may invite to join that
consortium. As with any private consortium, HMG and Bharti will take care in the selection of
any third parties that they invite to become consortium partners with them. In addition, HMG, as
a sovereign entity, has additional considerations and approval procedures in relation to the
identity and ultimate ownership of any third party with which it enters a commercial partnership.
For the same reasons, HMG and Bharti will limit the transferability of both the legal and
beneficial ownership of the equity in BidCo.

       Because of these concerns, in deciding to offer the BidCo Equity Consideration as part of
the Plan, consideration was given by HMG and Bharti to the identity of those third parties who
would receive such consideration. HMG and Bharti had identified and approved as acceptable
shareholders in BidCo the holders of Allowed Secured Notes Claims to whom it is proposed the
BidCo Equity Consideration will be issued. HMG and Bharti have not undertaken, and do not


                                              -24-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 37 of 342



believe it is appropriate or reasonable to expect them to undertake, this exercise in respect of the
much larger pool of holders of General Unsecured Claims. BidCo, as the Plan Sponsor and DIP
Lender and the party funding payment of administrative expenses of these cases, has every
incentive to seek to reduce, not increase, the cost of administering these cases.

        In addition to any considerations that HMG and Bharti may have over the identity of
those third parties unknown to them, HMG and Bharti would also have concerns about any
increase in the number of shareholders in BidCo given the private company nature of BidCo and
its governance. HMG and Bharti would also be concerned about any proposed arrangement
where a single trustee acts as shareholder for all of the New Equity Interests, given that similar
concerns would arise in relation the identity and number of underlying beneficiaries, and where
in addition HMG and Bharti would have less visibility into those underlying beneficiaries and
less ability to control any transfer or other dealings in BidCo equity.

       The Debtors, through their advisors, requested that the BidCo Equity Consideration, like
the Cash Consideration, be made available to the Estate generally. However, the Plan Sponsor
would not agree.

        Contrary to the Committee’s assertions, in the Debtors’ view, the Bankruptcy Court has
been clear that BidCo would (1) have a reasonable basis for terminating the Plan Support
Agreement if the BidCo Equity Consideration was required to be distributed to any party other
than the holders of Secured Notes Claims (see Tr. of July 10, 2020, Hearing to Approve Plan
Support Agreement and DIP Amendment at 67:7-13 (“[T]he point you made about the equity, to
me, I understand completely. That would be, certainly, a [case] where consent would be
reasonably withheld, if it affects your very ability to do the transaction, get regulatory approval,
et. cetera.”)) and (2) that any challenge brought by the Committee to recharacterize or equitably
subordinate the Secured Notes Claims in a manner that could trigger termination rights under the
Plan Support Agreement and jeopardize the sale should not be a risk that should be allowed to
exist. See Tr. of July 28, 2020 hearing at 111:1-20 (“I believe the committee should not be
permitted to [] pursue litigation that would, by its plain terms, cause a breach of the purchase
agreement if the committee succeeded [in its recharacterization and equitable subordination
claims] and the order would have to be drafted to preclude that relief and the pursuit of that relief
from taking place, which in all likelihood would mean that the remedies that the committee
would see would be limited to the other aspect of the consideration provided by BidCo, which is
ninety million dollars.”) (emphasis added). And, again, BidCo’s successful bid was determined
to be the highest and best available to the Debtors.

      Contrary to the Committee’s assertions, these are critical components to the Plan Support
Agreement and Plan Term Sheet, which are further clarified in Sections IV and IX of the Plan.

               3.      The Releases

                       a.      Releases for the Prepetition Secured Parties

       As part of the Debtors’ negotiations to obtain the consensual use of cash collateral and
ultimately, DIP financing, the Prepetition Secured Parties insisted, among other things, that the
Debtors agree that the Secured Notes Claims be allowed in the full outstanding amount and that a



                                                -25-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 38 of 342



release will be granted of all claims and Causes of Action against the Prepetition Secured Parties,
subject only to the limited challenge rights of other parties in interest. While the Debtors did not
conduct an independent investigation of claims potentially held by them or their estates against
the Prepetition Secured Parties at the time of granting the release (the Debtors neither had the
time nor the liquidity to do so), the Debtors were not aware of any potential Claims they held
against the Prepetition Secured Parties nor did they have any reasonable basis to believe such
claims existed. Ultimately, the Debtors, in the reasonable exercise of their business judgement,
agreed to grant the requested releases in exchange for the consensual use of cash collateral and
DIP financing, both of which were necessary to allow the Debtors to use chapter 11 to pursue a
value maximizing going concern sale for the benefit of all of the Debtors’ stakeholders. Absent
the ability to use cash collateral and obtain postpetition financing (which was only available from
SoftBank and an affiliate of Banco Azteca), the Debtors would not have been able to pursue the
sale process, secure a going concern bid, or otherwise maximize value for their Estates. Rather,
the Debtors would have been forced to liquidate under U.S. or English Law.

        After further review of the facts surrounding the Original NPA and the A&R NPA, as
detailed more fully above, the Debtors believe that the claims and causes of action alleged by the
Committee against the Prepetition Secured Parties are without any merit (as discussed more fully
below). Accordingly, the treatment provided to the Prepetition Secured Parties under the Plan is
consistent with the current status quo waivers and releases contained in the DIP Order and the
Cash Collateral Order. Until such time as there is a successful challenge of the Secured Notes
Claims, there is no basis to treat such claims differently.

        The Debtors’ decision to agree to the releases in the Plan Term Sheet and the Plan is
similarly justified by the Debtors’ business judgment as, in connection with finalizing the terms
of the Plan Support Agreement and the Plan Term Sheet, the Debtors were required to obtain the
consent of the existing DIP Lenders and the largest prepetition secured lenders to the transactions
contemplated by BidCo’s bid. They did so for two valid reasons (neither of which is remotely
improper). First, because the Plan proposes to provide the holders of Secured Notes Claims with
equity – a treatment that cannot be crammed down on secured debt (and the Secured Notes
Claims are presumptively valid secured claims), SoftBank’s consent to the Plan was necessary.

        Second, it is a “Termination Event” under the Debtors’ DIP financing for the Debtors to
file or support a plan that is not in form and substance acceptable to SoftBank. Pursuant to
paragraph 24 of the DIP Order, it is a Termination Event (as defined in the DIP Order) with
respect to the Debtors’ right to use proceeds of any DIP Loans if, among other things, “the
Debtors file, propose, or support confirmation of a chapter 11 plan that is not in form and
substance acceptable to [SoftBank, as] the Lead Lender.” Similarly, pursuant to paragraph 8 of
the Cash Collateral Order, it is a Termination Event (as defined in the Cash Collateral Order)
with respect to the Debtors’ right to use cash collateral if “the Debtors shall create, incur, or
suffer any other claim which is pari passu or senior to the Notes Superpriority Claim, other than
a claim granted in connection with a postpetition financing facility consented to by [SoftBank,
as] the Required Holders or under this Final Order.”

       Whatever rights the Committee may have to challenge the Secured Notes Claims under
the Cash Collateral Order, the Committee expressly consented to the foregoing provisions.
Statement of Official Committee of Unsecured Creditors in Support of Debtors’ Motions for


                                               -26-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 39 of 342



Orders (A) Authorizing Use of Cash Collateral, (B) Authorizing Postpetition Financing, and (C)
Approving Bidding Procedures, Each as Modified, at ¶ 3 [Docket No. 96].

        To obtain SoftBank’s consent to the Plan Support Agreement and the Plan Term Sheet,
SoftBank required the Debtors to release claims against SoftBank as a DIP Secured Party and
Prepetition Secured Party. On July 9, 2020, SoftBank executed a joinder to the Plan Support
Agreement which provides that SoftBank’s support is contingent on no change in its treatment or
the releases to be granted under the Plan Support Agreement and Plan Term Sheet.

       In addition, pursuant to the terms of the Settlement embodied in the Plan, SoftBank has
agreed to contribute its cash recovery on account of the Allowed SoftBank DIP Claims
(approximately $91 million before the consideration of accrued interest) in exchange for the
issuance of $87.9 million of equity in BidCo calculated on the same basis as the BidCo Equity
Consideration (the “Additional SoftBank Consideration”). In turn, and as a result thereof, and a
reduction in the amount of BidCo Equity Consideration distributed to holders of Allowed Senior
Secured Claims, BidCo has agreed to fund the General Unsecured Claims Settlement
Distribution to provide a recovery to holders of Allowed Claims in Class 4 and holders of
Allowed Claims in Class 5 with their pro rata share of $6.1 million (which, depending on the
ultimate size of the unsecured claims pool, could yield a percentage of recovery the Debtors
believe will be greater than, and the Committee asserts may be less than, the percentage of
recovery originally contemplated under the Plan Term Sheet for holders of Allowed Secured
Notes Claims under the Plan).

                       b.     Releases of the Debtors’ Directors & Officers

        The Plan and the Plan Term Sheet also contemplate the Debtors’ and third-party releases
of the Debtors’ directors and officers (“Directors and Officers”) serving in such capacity on and
after the Petition Date to the fullest extent permitted by law, including under English Law.
Notwithstanding the Committee’s entirely baseless accusations, the Debtors are not aware of any
valid claims or Causes of Action against any of their Directors and Officers. Leading up to the
filing of these cases, the Directors and Officers were faced with extremely challenging
circumstances. The Directors and Officers have shepherded these Debtors through extraordinary
circumstances, least of which is a global pandemic.

        As described more fully above, just weeks before the commencement of these cases, the
Debtors believed that they had secured an out-of-court financing transaction that would have
funded the build-out of the Debtors’ constellation to completion. On the same day the Debtors
expected to get the go-ahead with respect to this anticipated financing, the World Health
Organization declared COVID-19 a global pandemic, the world financial markets suffered one of
the worst days in trading history, and the Debtors were informed that the possibility of a fully
funded transaction was no longer available. The Directors and Officers pivoted quickly toward
pursuit of an out-of-court bridge financing, which was hoped to bridge the Debtors to a value
maximizing sale once the financial markets rebounded. However, just one hour before the
Debtors’ scheduled launch of their third batch of satellites into orbit, they were informed that the
bridge financing was no longer available.




                                               -27-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 40 of 342



        The Directors and Officers had no choice but to turn quickly to preparing for a chapter 11
filing – a process (unlike an insolvency process under English insolvency law) that would give
the Debtors the necessary breathing space to pursue a value maximizing sale. The Directors and
Officers had to make the difficult decisions to preserve cash, shut down non-essential operations,
and implement a significant reduction in work force, all the while managing continuing business
operations, maintaining vendor and supplier relationships, and retaining essential and specially
skilled employees. In addition, the Debtors had to navigate a “free fall” chapter 11 case, obtain
and agree to conditional postpetition financing at a fraction of the Debtors’ operating
requirements, and pursue a value maximizing sale of their business as a going concern on a shoe-
string budget and extremely short timeline – which they have successfully done. Had the
Directors and Officers opted to shut down operations and pursue an insolvency process under
English Law, the Debtors would have ended up in liquidation with no value available for
hundreds of stakeholders.

        The Committee intimates that there may be potential claims against the Directors and
Officers that are being released but it asserts no basis for these allegations. To the contrary, the
Directors and Officers have achieved a home-run going concern sale of the Debtors’ business,
pursuant to which current employees will keep their jobs, many terminated employees may be
rehired, and hundreds of contract counterparties will have their contracts assumed by the
Reorganized Debtors. Moreover, even with respect to those contract counterparties whose
contracts may be rejected, an opportunity for future engagement with the Reorganized Debtors
remains as the Debtors’ business will continue as a going concern. The Plan contemplates the
retention of Current Employees in their current positions, including Officers. To allow parties to
bring meritless claims against these individuals would cause enormous disruption to the
Reorganized Debtors’ business, would force the Reorganized Debtors to have to expend
resources in defending and indemnifying the Directors and Officers, and would risk losing the
very same employees who have been so critical to the Debtors’ survival and these chapter 11
cases.

        Among the baseless allegations made by the Committee is that certain retention payments
made to the Debtors’ Officers and other remaining employees prior to the commencement of
these cases may have been improperly made or improperly approved by the Board. However, as
the Committee is well aware from its review of the Debtors’ KEIP and KERP, discussions with
the Debtors’ advisors, informal and formal document production, and voluntary interviews of the
Debtors’ management, there was absolutely nothing improper about the retention payments made
in the week prior to the commencement of these cases. Those payments were made upon the
review and advice of outside employment advisors and were considered and unanimously
approved by the Board (excluding the Debtors’ CEO), including the Debtors’ independent
director. The Board determined that, in order to successfully operate the Debtors’ assets while
managing chapter 11 and conducting a sale process, the prepetition retention payments were
necessary to retain the Debtors’ essential management team and remaining employees in the face
of extreme uncertainty. The Board was also informed at that time that the Debtors would likely
seek approval of a key employee incentive program tied to the sale process at a future date.
Contrary to the Committee’s baseless accusations, these payments were approved by the Board
before the Debtors received any draft form of order from holders of the Secured Notes Claims
authorizing consensual use of cash collateral. Indeed, the Debtors had only a matter of days to
pivot from a fully operational satellite venture to “mothballing” their operations. The Directors


                                               -28-
20-22437-rdd       Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                            Pg 41 of 342



and Officers have been and continue to be critical to the success of the sale process and these
chapter 11 cases. This was also recognized by the Bankruptcy Court when it approved the
Debtors’ KEIP. Thus, the releases are appropriate.

        The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.H, and, in this regard, the Committee refers creditors to the
Committee Letter.

        I.      APPROVAL OF THE PLAN SUPPORT AGREEMENT AND INTERIM
                FUNDING

       On July 6, 2020, the Debtors filed a motion seeking authority to enter into the Plan
Support Agreement [Docket No. 369] (the “PSA Motion”) and a motion seeking authority to
amend the existing DIP Facility [Docket No. 370] (the “DIP Amendment Motion”). The
Committee filed its PSA Objection (which included an objection to the Interim Funding) on July
9, 2020.

        Principally, the PSA Objection raised concerns with: (1) the Plan Support Agreement’s
allocation of the purchase price; (2) the proposed releases; (3) a $5.5 million exit fee, up to $25
million in expense reimbursements, and automatic acceleration of the Interim Funding if the Plan
Support Agreement is terminated; and (4) the Plan Sponsor’s right to determine the treatment of
General Unsecured Claims under the Plan. See PSA Objection at ¶¶ 1, 2, 8, 10. The Debtors,
Plan Sponsor, DIP Secured Parties, and the Committee were able to resolve many of these issues
consensually, and their agreement was memorialized in the Plan Support Agreement Order and
DIP Amendment Order.

        As described above, the Committee stated in the PSA Objection that it “fully supports a
going concern sale of the Debtors’ business, and that it agrees that the selection of BidCo as the
proposed buyer in accordance with the sale process is a positive development and a critical first
step towards a confirmable chapter 11 plan and a successful reorganization.” PSA Objection at ¶
1; see also, id. at ¶¶ 9, 16 (the Committee “has no objection to the Debtors selecting BidCo as
the Successful Bidder”). The Committee also made clear that it was not second-guessing the sale
process run by the Debtors or the purchase price to be paid by BidCo. Id.

        However, the Debtors, the Plan Sponsor, and the Committee were unable to resolve their
disputes over the proposed releases and the allocation of the BidCo Equity Consideration in
advance of the hearing on July 10, 2020. The Bankruptcy Court acknowledged on the record of
that hearing that it would not be unreasonable for the Plan Sponsor to decline to modify its
obligations under the Plan Support Agreement and Plan Term Sheet to allow the BidCo Equity
Consideration to be made available to the Estate generally and not just to the holders of the
Allowed Secured Notes Claims, as agreed to by the Debtors in the Plan Support Agreement and
Plan Term Sheet. See Tr. of July 10, 2020, Plan Support Agreement and DIP Amendment
hearing at 67:7-13 (“[T]he point you made about the equity, to me, I understand completely.
That would be, certainly, a [case] where consent would be reasonably withheld, if it affects your
very ability to do the transaction, get regulatory approval, et. cetera.”). 5

5
    At a subsequent hearing, the Bankruptcy Court further noted that the “risk that equity goes to other parties


                                                     -29-
20-22437-rdd       Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                             Pg 42 of 342



        The Bankruptcy Court entered the Plan Support Agreement Order and DIP Amendment
Order, as modified, on July 13, 2020 [Docket No. 400] and July 10, 2020 [Docket No. 398],
respectively.

       The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.I, and, in this regard, the Committee refers creditors to the
Committee Letter.

       J.       THE COMMITTEE’S DERIVATIVE STANDING MOTION

        On July 13, 2020, the Committee filed a motion seeking (a) derivative standing to pursue
recharacterization and equitable subordination claims against the holders of Secured Notes
Claims and (b) disallowance of the Secured Notes Claims under section 502(b) of the
Bankruptcy Code. See Official Committee of Unsecured Creditors’ (I) Motion for Order
Granting Derivative Standing to Pursue and, if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination against Certain Purported Secured Creditors,
and (II) Objection to such Creditors’ Claims [Docket No. 402] (the “Standing Motion”).

        In the Standing Motion, the Committee alleged that some factors from Bayer Corp. v.
MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726 (6th Cir. 2001), support
recharacterizing the Secured Notes Claims as equity. Standing Motion at ¶ 105. In addition, the
Committee alleged the Secured Notes Claims should be equitably subordinated because the
holders of Secured Notes Claims used their “insider” position with the Debtors to “engage[] in
inequitable conduct for their benefit that harmed the Company’s other creditors” while the
Debtors were undercapitalized. Id. at ¶ 108.

        On July 21, 2020, the Debtors filed an objection to the Standing Motion. Debtors’
Objection to the Official Committee of Unsecured Creditors’ (I) Motion for Order Granting
Committee Derivative Standing to Pursue, and if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination Against Certain Purported Secured Creditors,
and (II) Objection to Such Creditors’ Claims [Docket No. 430] (the “Debtors’ Objection”). The
Debtors’ Objection argues, among other things, that the Committee’s request for derivative
standing was improper because (i) such standing would cause more harm than benefit to the
Estates and creditors, (ii) the Debtors are justified in not pursuing the alleged claims, and (iii) the
Committee’s claims are not colorable. Id. at ¶¶ 18-49. Other parties, such as SoftBank, Banco
Azteca, Airbus Group Proj B.V., Qualcomm Technologies, Inc., and Qualcomm Global Trading
Pte. Ltd. also objected to the Standing Motion. See SoftBank Group Corp.’s Objection to the
Official Committee of Unsecured Creditors’ (I) Motion for Order Granting Committee
Derivative Standing to Pursue, and if Appropriate, Settle Claims for Recharacterization and


   because of a recharacterization win by the committee, BidCo could walk from its transaction or at least
   renegotiate it. I don’t believe that that risk should be allowed to even exist.” Tr. of July 28, 2020 hearing at
   111:1-20; see also id. (“I believe the committee should not be permitted to [] pursue litigation that would, by its
   plain terms, cause a breach of the purchase agreement if the committee succeeded [in its recharacterization and
   equitable subordination claims] and the order would have to be drafted to preclude that relief and the pursuit of
   that relief from taking place, which in all likelihood would mean that the remedies that the committee would see
   would be limited to the other aspect of the consideration provided by BidCo, which is ninety million dollars”)
   (emphasis added).


                                                       -30-
20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                              Pg 43 of 342



Equitable Subordination Against Certain Purported Secured Creditors, and (II) Objection to
Such Creditors’ Claims [Docket No. 427] (“SoftBank’s Objection”); Joinder and Supplemental
Memorandum of Law in Opposition to the Official Committee of Unsecured Creditors’ (I)
Motion for Order Granting Committee Derivative Standing to Pursue and, if Appropriate, Settle
Claims for Recharacterization and Equitable Subordination Against Certain Purported Secured
Creditors and (II) Objection to such Creditors’ Claims [Docket No. 428]; Joinder of Airbus
Group Proj B.V. to the SoftBank Group Corp.’s Objection to the Official Committee of
Unsecured Creditors’ (I) Motion for Order Granting Committee Derivative Standing to Pursue
and, if Appropriate, Settle Claims for Recharacterization and Equitable Subordination Against
Certain Purported Secured Creditors, and (II) Objection to Such Creditors’ Claims [Docket No.
429]; Joinder of Qualcomm Technologies, Inc. and Qualcomm Global Trading Pte. Ltd. to the
Debtors’ and SoftBank Group Corp.’s Objections to the Official Committee of Unsecured
Creditors’ Motion for Derivative Standing to Pursue Recharacterization and Subordination of
Certain Secured Creditors’ Claims and Objections Thereto [Docket No. 440].

        On July 24, 2020, the Committee filed its reply to all of the foregoing objections.
Official Committee of Unsecured Creditors’ Reply in Support of Motion for Order Granting
Committee Derivative Standing to Pursue and, if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination Against Certain Purported Secured Creditors
[Docket No. 445].

       On July 28, 2020, the Bankruptcy Court held a hearing on the Standing Motion.
Following oral argument, the Bankruptcy Court adjourned the matter to the next omnibus
hearing date.

         The Debtors believe the claims identified in the Standing Motion are meritless and
unlikely to succeed. Moreover, the costs of pursuing the causes of action the Committee
identified in the Standing Motion will likely be significant. Even if the Committee was
permitted to pursue its baseless claims, there is simply no source of funding available to support
it, as failure to confirm the Plan could result in both the termination of the Debtors’ right to use
the proceeds of the DIP Facility and give rise to a termination event under the Plan Support
Agreement and Plan Term Sheet, a risk the Bankruptcy Court has acknowledged should not be
allowed to exist. 6




6
    See Tr. of July 28, 2020 hearing at 111:1-20 (“I believe the committee should not be permitted to [] pursue
    litigation that would, by its plain terms, cause a breach of the purchase agreement if the committee succeeded
    [in its recharacterization and equitable subordination claims] and the order would have to be drafted to preclude
    that relief and the pursuit of that relief from taking place, which in all likelihood would mean that the remedies
    that the committee would see would be limited to the other aspect of the consideration provided by BidCo,
    which is ninety million dollars.”) (emphasis added).


                                                        -31-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 44 of 342



        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
incorporates a settlement of the claims asserted by the Committee in the Standing Motion. See
Section V.B.2, infra. Notwithstanding the Settlement in the Plan, the Debtors, the Committee,
and SoftBank have requested mediation, which is ongoing at the time of solicitation of the Plan.
Neither the Plan nor the Settlement alter the terms of the successful bid nor do they alter the
rights of the parties thereto, nor shall, pending confirmation of the Plan, anything in the Plan or
Settlement alter the terms of the Plan Support Agreement Order without further Court approval.

               1.      The Committee’s Recharacterization Claims

                       a.      Debtors’ Response

        In the Standing Motion, the Committee contends that recharacterization of the Secured
Notes Claims is warranted primarily because the Debtors were undercapitalized at the time the
Secured Notes were issued and because the holders of the Secured Notes Claims also held equity
in the Debtors. As discussed in the Debtors’ Objection, the Debtors believe that these facts alone
are insufficient to warrant recharacterization.

        The Committee has used its Standing Motion to rewrite history, including a version of the
facts that are simply not based in reality. The fact that the Debtors were undercapitalized is
unremarkable for companies still in the process of capital development; investments made as
debt in similar companies are not uncommon. A project the size of the Debtors’ contemplated
business plan requires years to be fully funded, given the significant capital contributions
required, lengthy regulatory approval processes in numerous countries, the time necessary to
manufacture and launch satellites, and the challenges in securing presales of capacity on
reasonable terms.

        It is clear that the version of facts that the Committee relies on to support its claims for
recharacterization bear no resemblance to the facts as they actually occurred. Contrary to the
Committee’s allegations, at the time the Secured Notes were issued, the Debtors were not a
moribund start-up company unlikely to generate sufficient revenue to satisfy its debt obligations.
To the contrary, by the time the Debtors entered into the A&R NPA, they had already
successfully launched the first six prototype satellites into orbit (an important step in bringing its
radio frequency spectrum into use and thereby maintaining its priority right to use the spectrum
ahead of its competitors). By the time of the filing of these cases, the Debtors, through their joint
venture with Airbus, were capable of producing a satellite a day, and the Debtors had
commenced a monthly launch cadence of 34 satellites per month.

       The Bridge Notes and the Secured Notes were issued pursuant to the agreements clearly
evidencing indebtedness in contemplation of additional third-party financing and weighing
against recharacterization. In particular, the Debtors believe that if the facts were further
examined, the AutoStyle factors weigh heavily against the Committee because the Secured Notes
contain an explicit fixed maturity date and schedule of payments which are hallmarks of debt and
weigh against recharacterization. Further, the Secured Notes have a fixed rate of interest paid in
kind (“PIK”) and were secured by valuable collateral which are quintessential debt features.

       As discussed in Section II.C, supra, the Bridge Notes in particular were intended to



                                                -32-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 45 of 342



function as a short-term bridge loan (364 days) to allow for full funding of the contemplated
ECA Financing. And the Bridge Notes were expressly tied to replacement financing milestones.
In addition, contrary to the Committee’s assertions repayment of the Secured Notes was not
contingent on the Debtors’ success in generating revenues and signing up customers, instead the
Secured Notes were used to fund obligations to vendors and suppliers and in particular were
designed to attract additional project financing, consistent with the nature of a bridge loan and
thus further evidencing characteristics of debt.

        The overlap between the Debtors’ equity-holders and debt holders is likewise
unremarkable in the project finance space. As noted in the Debtors’ Objection, it is common for
a start up’s existing stakeholders to make loans where third-party financing may not be readily
available – especially in the context of bridge loans. Here, contrary to the Committee’s bald
allegations, the loans were not used by the Debtors’ equity holders to “leap frog” the Debtors’
unsecured creditors in advance of a chapter 11 filing. Nothing could be further from the truth.
The funds were used to fund obligations to the very same unsecured creditors whose official
representative now asserts that the loans should be recharacterized. The Debtors’ vendors
directly benefitted from the issuance of the Secured Notes as they received hundreds of millions
of dollars from their proceeds.

        Thus, for these reasons, among others, the Debtors believe that the Committee’s claims
asserted in its Standing Motion have little possibility of success and serve only to imperil the
Debtors’ ability to confirm the Plan and pursue the value-maximizing transaction contemplated
thereby. The Debtors believe that they have justifiably refused to bring the meritless claims that
the Committee is seeking to pursue here, with minimal benefit and likely significant expense to
the Estates.

                       b.     SoftBank’s Response

        SoftBank believes that the plain terms of the Original NPA and the A&R NPA
demonstrate that the Secured Notes were intended, in all respects, to be debt instruments and not
equity investments. The Secured Notes and the financing documents themselves have all the
hallmarks of debt in that they provided for the issuance of promissory notes with fixed interest
rates, maturity dates, repayment terms, events of default, and collateral in the event of default.
SoftBank is of the opinion that a trier of fact is unlikely to recharacterize the Secured Notes as
equity because the documents themselves clearly evidence an intent to create a creditor-debtor
relationship and the economic terms reflected the substantial credit risk of loaning new money to
the Debtors. For example, the high interest rates under both Original NPA and the A&R NPA,
as well as the consideration provided under the Warrant Purchase Agreement, accounted for the
significant risks involved.

       In addition, SoftBank is not aware of any case where a bankruptcy court has
recharacterized debt that was secured by a valid lien (not to mention a lien on substantially all of
a borrower’s assets). Nor has the Committee identified any such case in its pleadings before the
bankruptcy court. SoftBank believes that it is highly unlikely that the Committee will be able to
convince a finder of fact to take unprecedented action and hold that SoftBank (and the other
Senior Noteholders) never intended to be paid back on the Secured Notes issued under the A&R
NPA (or, as to SoftBank, under the Original NPA).


                                               -33-
20-22437-rdd         Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                       Main Document
                                               Pg 46 of 342



        Furthermore, SoftBank notes that bankruptcy courts in this district look to a number of
factors when assessing recharacterization claims. 7 SoftBank asserts the Committee has
acknowledged, however, that only two out of the eleven recharacterization factors could
conceivably weigh in favor of recharacterization in this case. SoftBank is of the opinion this
clearly demonstrates that the Committee’s recharacterization arguments are weak. In any event,
the factors that the Committee believes weigh in favor of recharacterization are that (i) the
Debtors were allegedly undercapitalized and (ii) that SoftBank was an insider that allegedly
controlled the other Senior Noteholders.

        But even assuming that the Committee could meet its burden of demonstrating the
presence of these two factors (SoftBank submits that the Committee cannot), SoftBank believes
that recharacterization would otherwise be inappropriate under the facts and circumstances of
this case. This is because courts have overwhelmingly held that undercapitalization is not
sufficient, on its own, to justify recharacterization particularly where, as here, a debtor is a
startup company rather than a revenue-generating (but distressed) company. 8 Similarly, courts
have recognized that insiders are often the only entities that have both the means and the
incentive to lend money to undercapitalized companies and have refused to recharacterize debt in
such circumstances. 9

        Finally, SoftBank believes that pursuing claims for recharacterization is not in the best
interest of the Debtors’ estates because even if successful they are not likely to generate
meaningful value for general unsecured creditors. That is because regardless of the outcome of
any challenge against SoftBank for recharacterization (which owns approximately 60% of the
Secured Notes), it is unlikely that the Committee could ever prevail in recharacterizing or
subordinating the claims of Banco Azteca and Qualcomm. As the bankruptcy court noted at the
July 28, 2020 hearing to consider the Committee’s motion for derivative standing, Qualcomm’s
Secured Notes claims were “rolled over from legitimate debt,” while Banco Azteca “is a bank
subject to regulation by the Mexican banking authorities” and is “precluded from making an
equity investment” in the Debtors. 10 SoftBank is of the opinion that, putting aside the logical
dissonance that would be required for a trier of fact to conclude that Banco Azteca and
Qualcomm hold valid debt while the other parties to the exact same instrument somehow
invested in equity, the claims of Banco Azteca and Qualcomm alone make the Committee’s
claims pointless. Specifically, Banco Azteca and Qualcomm hold over $400 million of Secured
Notes Claims so a successful recharacterization challenge against every other holder of the
Secured Notes Claims would leave no prospect of any “money [left] over for the unsecured
creditors.” 11


7
     See Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726 (6th Cir. 2001).
8
     See, e.g., In re USDigital, Inc., 443 B.R. 22, 51–53 (Bankr. D. Del. 2011) (dismissing a recharacterization claim
     in the context of multiple startups that shared similar management and sources of capital).
9
     See, e.g., See In re Rockville Orthopedic Assocs., P.C., 377 B.R. 438, 442–43 (Bankr. D. Conn. 2007) (“[I]t [is]
     important to note that a claimant’s insider status and a debtor’s undercapitalization alone will normally be
     insufficient to support the recharacterization of a claim. In many cases, an insider will be the only party willing
     to make a loan to a struggling business, and recharacterization should not be used to discourage good-faith
     loans.”) (quoting In re Dornier Aviation, (N. Am.), Inc., 453 F.3d 225, 234 (4th Cir. 2006)).
10
     See Tr. of Hr’g. at 104:21-105:7 (Jul. 28, 2020).
11
     See id., at 105:23-24. Although the Committee has suggested that any liens in favor of holder of the Secured
     Notes Claims whose claims are successfully recharacterized could be preserved for the benefit of the Debtors’


                                                         -34-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39                Main Document
                                         Pg 47 of 342



               2.      The Committee’s Equitable Subordination Claims

                       a.      Debtors’ Response

        The Committee also seeks to equitably subordinate the Secured Notes Claims, alleging
the holders of the Secured Notes Claims, primarily through SoftBank, controlled the Debtors
prepetition and used this control for their own parochial benefit at the expense of other creditors.
The Debtors believe this theory to be unfounded.

        As with the Committee’s recharacterization claims, the Debtors believe that the
Committee has failed (and will not be able) to allege a colorable claim for equitable
subordination because the Committee has failed to show that holders of the Secured Notes
Claims engaged in inequitable conduct, that any such conduct caused injury to the Debtors’
creditors or conferred an unfair advantage to the holders of the Secured Notes Claims, or that
equitable subordination is consistent with the provisions of the Bankruptcy Code. Importantly,
the Debtors believe that the Committee has failed in its Standing Motion to allege that the
holders of the Secured Notes Claims are all insiders that collectively exercised the requisite
control over the Debtors or that SoftBank, alone, exercised the requisite control over the Debtors,
such that holders of the Secured Notes Claims could orchestrate a complex financing
arrangement simply to “leap frog” unsecured creditors who, it should be noted, benefitted from
the proceeds of the very same loans. Further, the Debtors do not believe that the Committee has
alleged or can allege any harm to unsecured creditors or any unwarranted benefit to the holders
of the Secured Notes Claims.

         Specifically, the Committee has alleged that the fact that SoftBank had the right to
appoint one designee of the Board amounts to control of both the holders of Secured Notes
Claims and the Debtors. There are six other members of the Board, three of whom are not
affiliated with any of the holders of Secured Notes Claims, including a completely independent
and unaffiliated director. Furthermore, not only does the Standing Motion fail to articulate any
specific harm that flowed from this alleged control, the ability to designate board members is a
common right that lenders bargain for and is not evidence of inequitable conduct. Nor does
SoftBank exert control over the other holders of Secured Notes Claims. Each lender viewed its
investment into the Secured Notes based on its own interest and potential benefits. See, e.g.,
Banco Azteca Objection at ¶ 15 (“Banco Azteca made its own lending decisions and did not
delegate these decisions to any third party.”).

        Thus, the Debtors do not believe equitable subordination of the Secured Notes Claims is
warranted. Aside from asserting that SoftBank is an insider, the Committee has failed to
establish any other basis for the equitable subordination of the Secured Notes Claims. As noted
above, unsecured creditors only benefitted from the issuance of the Secured Notes. Moreover,
none of the holders of Secured Notes Claims received any special advantage or benefit as a result
of the loans. The terms of the Bridge Notes and the Secured Notes were market for loans of their
type and included terms intended to make additional financings more “bankable.” The Debtors
do not believe that there is a legitimate basis to equitably subordinate the Secured Notes Claims.


   estates—i.e., unsecured creditors would be pari passu with Qualcomm and Banco Azteca—the Committee has
   provided no support for this novel theory, nor has SoftBank identified any.


                                                 -35-
20-22437-rdd           Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                              Pg 48 of 342



                           b.       SoftBank’s Response

         SoftBank also believes that the Committee has not demonstrated that it is likely to
succeed on a claim for equitable subordination under section 510(c) of the Bankruptcy Code
because the facts and circumstances of this case do not warrant it. As a threshold matter,
SoftBank believes it is telling that the Committee has not identified any misconduct that would
justify the subordination of claims of either SoftBank or the other Senior Noteholders. Instead,
the Committee appears to rely upon vague and formulaic allegations of undercapitalization and
control.     SoftBank believes that these allegations are insufficient to justify equitable
subordination, and courts have held that undercapitalization, on its own, is an insufficient
justification for subordination. 12 Finally, SoftBank is of the opinion that the Committee has cited
no evidence of inequitable conduct on the part of SoftBank despite have received tens of
thousands of pages of documents in these chapter 11 cases, including communications between
SoftBank and the other holders of the Secured Notes and after having spent a significant amount
of professional fees in these cases.

                  3.       The Plan Contemplates Releases for the Prepetition Secured Parties

                           a.       Debtors’ Response

         The Plan contemplates releases for the holders of the Prepetition Secured Parties, as
discussed in Section V.E. below. As detailed below, the Debtors believe that the releases in the
Plan are necessary and appropriate and meet the requisite legal standard promulgated by the
United States Court of Appeals for the Second Circuit. The Debtors have determined, in their
business judgment, that all of the Released Parties have made substantial and valuable
contributions to the Debtors’ restructuring (as described more fully herein) through efforts
including providing (i) consensual use to cash collateral; (ii) DIP financing; (iii) standstill
agreements, amendments, and accommodations with respect to various executory contracts and
other arrangements; (iv) consent to the incurrence of additional pari passu Interim Funding; (v)
the equitization of the Secured Notes Claims, and (vi) the Additional SoftBank Consideration to
facilitate the Settlement and the funding of the General Unsecured Claims Settlement
Distribution.

        Accordingly, the holders of Secured Notes Claims are entitled to the benefit of the
releases contained in the Plan. The Debtors will present evidence at the Confirmation Hearing to
demonstrate the basis for and propriety of the release and exculpation provisions.

                           b.       SoftBank’s Response

        SoftBank believes that the releases contained in the Plan are entirely consistent with and
justified under Second Circuit law, which permits a debtor to release claims in a Plan where
doing so is in the best interests of the estate and constitutes a reasonable exercise of the debtor’s
business judgment. Since the beginning of these chapter 11 cases, SoftBank (along with certain
other of the holders of the Secured Notes Claims) has provided significant consideration to the
estates, including funding the Debtors’ sales and marketing process with tens of millions of
dollars in new-money investments; agreeing to subordinate a portion of its recovery under the
12
     Matter of Lifschultz Fast Freight, 132 F.3d 339, 345 (7th Cir. 1997).


                                                        -36-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 49 of 342



DIP Facility to facilitate additional funding by the Plan Sponsor; agreeing to contribute a portion
of its recoveries on account of its claims to provide a distribution to unsecured creditors;
supporting the Debtors’ efforts to prosecute and confirm a plan of reorganization, as opposed to
the liquidation of its collateral; committing to further support the Plan process by signing a
joinder to the Plan Support Agreement; and consenting to receive equity in the reorganized
Debtors rather than a cash payment, which it is entitled to as a secured lender under the
Bankruptcy Code. This is particularly relevant where, as here, the proposed release was a
substantial inducement and ongoing condition for SoftBank to execute the Plan Support
Agreement and support the Plan, respectively.

        Taken alone, SoftBank is of the opinion that any one of the foregoing would be sufficient
to justify the proposed release of claims in favor of SoftBank. But when viewed together, it is
clear that SoftBank’s contributions to these cases have been substantial and they easily support a
finding that the releases are in the best interests of the Debtors’ estate and a reasonable exercise
of the Debtors’ business judgment.

        The Committee disagrees with the Debtors’ and SoftBank’s characterization of the legal
and factual issues described in this Section IV.J and, in this regard, the Committee refers
creditors to the Committee Letter.

V.     SUMMARY OF THE PLAN

     THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN SUBSTANTIVE
PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A
COMPLETE DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE
REVIEW OF THE PLAN. THE DEBTORS URGE ALL HOLDERS OF CLAIMS AND
INTERESTS TO READ AND STUDY CAREFULLY THE PLAN, A COPY OF WHICH
IS ATTACHED HERETO AS ANNEX A. IN THE EVENT OF ANY CONFLICT
BETWEEN THE DISCLOSURE STATEMENT, ON THE ONE HAND, AND THE PLAN
OR ANY OTHER OPERATIVE DOCUMENT, ON THE OTHER HAND, THE TERMS
OF THE PLAN AND/OR SUCH OTHER OPERATIVE DOCUMENT SHALL
CONTROL.

       A.      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

               1.      Unclassified Claims

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, Priority Tax Claims and DIP Claims are not classified in the Plan. Such Claims will be
satisfied as set forth in the Plan and as summarized herein.

                       a.     Administrative Expense Claims

       Except to the extent otherwise expressly provided in the Plan, other than Fee Claims,
U.S. Trustee Fee Claims, DIP Claims and Administrative Expense Claims that have already been
paid by the Debtors during the chapter 11 cases, and except to the extent that a holder of an
Allowed Administrative Expense Claim and the applicable Debtor, with the consent of the Plan
Sponsor (such consent to not be unreasonably withheld), Reorganized Debtor or Liquidating


                                               -37-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 50 of 342



Debtor, as applicable, agree to less favorable treatment, each holder of an Allowed
Administrative Expense Claim shall be paid 100% of the unpaid Allowed amount of such Claim
in Cash by the Reorganized Debtors from the proceeds of the DIP Facility, Cash on hand and/or
Cash funded by BidCo on the date that is the later of: (a) the Effective Date; (b) the date such
Claim would ordinarily be due and payable in accordance with ordinary business terms; or (c)
the date that is fifteen (15) days (or, if such date is not a Business Day, on the next Business
Day) after such Claim becomes an Allowed Administrative Expense Claim.

                       b.     U.S. Trustee Fees

        All fees payable pursuant to 28 U.S.C. § 1930 on or before the Effective Date, shall be
paid in full by the Debtors. Fees payable pursuant to 28 U.S.C. § 1930 after the Effective Date
shall be paid by the Liquidating Debtors until the closing of the applicable case pursuant to
section 350(a) of the Bankruptcy Code.

                       c.     Fee Claims

        Professionals asserting Fee Claims for services rendered before the Effective Date must
file and serve on the Notice Parties and such other Entities as are designated by the order
establishing procedures for compensation and reimbursement of expenses of Professionals
entered by the Bankruptcy Court an application for final allowance of such Fee Claims no later
than 60 days after the Effective Date; provided, however, that any Professional whose
compensation or reimbursement of expenses is authorized pursuant to the Ordinary Course
Professionals Order may continue to receive such compensation and reimbursement of expenses
pursuant to the Ordinary Course Professionals Order. Objections to any Fee Claim must be filed
and served on the Notice Parties and the requesting party not later than 90 days after the
Effective Date or such other period of limitation as may be established by a Bankruptcy Court’s
Order.

        Allowed Fee Claims shall be satisfied from the Professional Fee Escrow. If the amount
in the Professional Fee Escrow is insufficient to pay in full of all Allowed Fee Claims, the
deficiency shall be promptly funded by the Reorganized Debtors, without any further action or
order of the Bankruptcy Court.

                       d.     Priority Tax Claims

        Pursuant to section 1129(a)(9)(C) of the Bankruptcy Code, unless otherwise agreed by
the holder of a Priority Tax Claim, each holder of an Allowed Priority Tax Claim, to the extent
not previously paid, shall receive, in full and final satisfaction of its Allowed Priority Tax Claim
(a) that is due and payable on or before the Effective Date, Cash in an amount equal to the
Allowed amount of such Claim, at the option of the Liquidating Debtors and/or the Plan
Administrator, (i) on the Effective Date or (ii) in installments over a period of time not to exceed
five years after the Petition Date; and (b) that is not due and payable on or before the Effective
Date, as it becomes due in the ordinary course; provided, however, that if an Allowed Priority
Tax Claim is also a Secured Tax Claim, such Claim shall be treated as an Other Secured Claim.




                                               -38-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 51 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 52 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 53 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 54 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 55 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 56 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                    Pg 57 of 342
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 58 of 342



       B.      MEANS OF IMPLEMENTATION

               1.      Deemed Consolidation

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. Solely for purposes of voting on, and receiving Distributions under, the Plan, the
Estates are deemed to be substantively consolidated, i.e., (a) all assets and liabilities of the
Debtors are deemed to be assets and liabilities, respectively, of a single Estate; (b) all guarantees
by one Debtor of the obligations of any other Debtor are deemed eliminated, (iii) any joint or
several liability of any of the Debtors are deemed to be one obligation of the Debtors; and (d)
Proofs of Claim filed against multiple Debtors are deemed to be one Claim against a single
Estate. This deemed consolidation will not affect (x) the legal and corporate structures of the
Debtors; (y) the rights of the holders of Allowed Claims to receive Distributions from any
insurance policies or proceeds of such policies; (z) any Liens granted or arising at any time prior
to the Effective Date or the priority of those Liens; or (iv) the rights of the Debtors to contest
alleged setoff or recoupment rights on the grounds of lack of mutuality under section 553 of the
Bankruptcy Code and other applicable law.

        This deemed consolidation is appropriate and justified under the circumstances of these
chapter 11 cases because it (i) causes no harm to the Debtors’ creditors because (a) the DIP
Claims may be asserted against each Debtor, (b) the holders of Secured Notes Claims have
Secured Claims against the majority of the Debtors, and (c) the DIP Claims and Secured Notes
Claims exceed the value of the assets of each Debtor, and (ii) avoids the costs of allocating
consideration and litigation-related costs among the Debtors’ Estates, thereby avoiding diluting
creditor recoveries as a result of increased professional fees, particularly given there has been no
allocation of the consideration to be provided by BidCo amongst the various Debtors and their
assets. Indeed, the Liquidation Analysis demonstrates that, in a liquidation, even the DIP Claims
would be massively undersecured, and no junior creditor would be entitled to any recovery.
Therefore, all Distributions on account of Claims other than the DIP Claims are carved out from
the collateral of the DIP Lenders, and in the absence of such carve-out and the deemed
consolidation of the Debtors’ Estates, such Claims would receive no recovery.

               2.      Comprehensive Settlement

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in
consideration of the Distributions and other benefits provided under the Plan, the provisions of
the Plan, including the releases set forth in Section XI.E of the Plan, shall constitute a good-faith
compromise and settlement of all Claims, Interests, disputes and controversies relating to the
rights of holders of Claims and Interests, including with respect to the claims asserted in the
Standing Motion in exchange for, among other things, the Additional SoftBank Consideration
and the reduction of BidCo Equity Consideration to be distributed to the holders of Senior
Secured Claims which is facilitating the cash funding of the General Unsecured Claims
Settlement Distribution (the “Settlement”).

      The Debtors believe that the Settlement will comply with the requirements that courts in
the Second Circuit demand in determining whether a settlement is within the range of


                                                -46-
20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                              Pg 59 of 342



reasonableness. 16 First, the Debtors are of the opinion that the possibility of success of the
Committee’s Challenge is extremely low for the reasons set forth in Section IV.J.

        Second, the Debtors believe that the likelihood of complex and protracted litigation and
the expense and delay associated with litigation will weigh in favor of the Settlement. The
Debtors believe that, even if the Committee were successful in pursuing its claims against the
Prepetition Secured Parties, any benefit to the Estates would almost certainly be drastically offset
by the expense of pursuing protracted litigation.

        Third, the paramount interest of creditors is to achieve confirmation of the Plan which
offers the Debtors a chance to survive as a going concern, preserving employees’ jobs and
maintaining prepetition vendor relationships (not to mention hundreds of millions of dollars of
cure payments made and hundreds of contracts assumed).

        Fourth, the Debtors, the Plan Sponsor, and SoftBank support the Settlement as an
efficient means to achieve the Debtors’ successful reorganization.

       Fifth, the Debtors believe that the releases to be obtained by the Officers and Directors
are similar to those in other large, complex, chapter 11 cases and as detailed herein and will be
demonstrated at the Confirmation Hearing are justified and appropriate under the facts of these
cases.

         The Debtors believe the sixth Iridium factor is neutral.

       The Debtors believe the last Iridium factor will weigh heavily in favor of the Settlement
because the Settlement was the result of arm’s length bargaining among the Debtors, the Plan
Sponsor, and SoftBank. None of the Prepetition Secured Parties or DIP Secured Parties
independently controls the Debtors or the Debtors’ management.

       Thus, the Debtors believe, in their business judgment, that the Settlement is reasonable
and in the best interests of the Debtors’ Estates and will maximize and preserve the going-
concern value of the Debtors for all parties in interest. Based on the foregoing, the Debtors
believe that they will be able to demonstrate at the Confirmation Hearing that the Settlement is
far above the lowest possible point of reasonableness.

      The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as
of the Effective Date, of such compromise and settlement and the Bankruptcy Court’s

16
     In re NII Holdings, 536 B.R. 61, 100 (Bankr. S.D.N.Y. 2015) (“When courts in this Circuit consider whether a
     settlement is within the range of reasonableness, they apply the following factors:
     (1) the balance between the litigation's possibility of success and the settlement's future benefits;
     (2) the likelihood of complex and protracted litigation, with its attendant expense, inconvenience, and delay;
     (3) the paramount interests of creditors;
     (4) whether other parties in interest support the settlement;
     (5) the nature and breadth of releases to be obtained by officers and directors;
     (6) the competency and experience of counsel supporting, and the experience and knowledge of the bankruptcy
          court judge reviewing, the settlement; and
     (7) the extent to which the settlement is the product of arm's-length bargaining.”)
     (citing, In re Iridium Operating LLC, 478 F.3d 452, 462 (2d Cir. 2007)).


                                                       -47-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                          Pg 60 of 342



determination that such compromise and settlement is in the best interests of the Debtors, their
Estates, their creditors, and all other parties in interest, and is fair, equitable and within the range
of reasonableness. If Confirmation of the Plan and/or the Effective Date do not occur, the
settlements set forth in the Plan shall be deemed to have been withdrawn without prejudice to the
respective positions of the parties.

        Subject to Section VII, all Distributions Made to Holders of Allowed Claims and
Interests in any Class are Intended to be and shall be Final.

               3.      Sources of Consideration for Plan Distributions

        Prior to the Effective Date, the Plan Sponsor will be capitalized with cash and
commitments sufficient to satisfy the Additional Cash Plan Funding. The Reorganized Debtors
shall fund Distributions under the Plan from the proceeds of the (i) DIP Facility including the
Interim Funding, (ii) Cash Consideration, (iii) Additional Cash Plan Funding and Cash funded by
BidCo to fund (iv) the Ongoing Trade Claims Recovery Pool and (v) as the result of the
Settlement to fund the General Unsecured Claims Settlement Distribution, and (vi) BidCo Equity
Consideration.

                       a.      Cash Consideration

       On the Effective Date, the Plan Sponsor shall pay the Cash Consideration (less the
amount of the Deposit) to the Debtors by wire transfer of immediately available funds to an
account or accounts designated in writing by the Debtors before the Effective Date. The Cash
Consideration shall be used to pay Allowed DIP Claims (other than the Interim Funding DIP
Claims, as set forth above), but subject to the Settlement, as well as other claims to be satisfied in
cash hereunder.

                       b.      Additional Cash Plan Funding

       On and following the Effective Date, the Plan Sponsor will provide the Reorganized
Debtors with the Additional Cash Plan Funding to fund, as and when due: (i) all Allowed Cure
Claims; (ii) all Allowed Administrative Expense Claims, including the Wind-Down Reserve (but
excluding Allowed Cure Claims), all Allowed Priority Tax Claims, all Allowed Other Secured
Claims required to receive cash payment, and all Allowed Priority Non-Tax Claims required to
receive Cash payment, up to an aggregate maximum of $25.9 million (it being agreed that such
aggregate maximum excludes any amounts used to satisfy Allowed Administrative Expense
Claims that are paid with the Cash Consideration or the Interim Funding) or such greater amount
as the Plan Sponsor agrees in its sole discretion; and (iii) the Reorganized Debtors’ business
going forward.

                       c.      Ongoing Trade Claims Recovery Pool

      On the Effective Date, provided that Class 5 votes to accept the Plan, Cash in the amount
of $350,000 shall be funded by BidCo by wire transfer in immediately available funds to an
account or accounts designated in writing by the Debtors before the Effective Date to fund the
Ongoing Trade Claims Recovery Pool. For the avoidance of doubt, the Ongoing Trade Claims



                                                 -48-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 61 of 342



Recovery Pool shall be funded from the Additional SoftBank Consideration and shall not be
included in the calculation of, or subject to the Effective Date Cash Funding Cap.

                       d.     General Unsecured Claims Settlement Distribution

        On the Effective Date, cash in the amount of $6.1 million shall be funded by BidCo by
wire transfer in immediately available funds to an account or accounts designated in writing by
the Debtors before the Effective Date to fund the General Unsecured Claims Settlement
Distribution. For the avoidance of doubt, the General Unsecured Claims Settlement Distribution
shall be funded from the Additional SoftBank Consideration and shall not be included in the
calculation of, or subject to, the Effective Date Cash Funding Cap.

               4.      Issuance of the New Equity Interests, BidCo Equity Interests, and
                       SoftBank Rollover BidCo Equity

       On the Effective Date, the Plan Sponsor shall be issued one hundred percent (100%) of
the New Equity Interests in Reorganized Company Party in exchange for the consideration set
forth herein, SoftBank shall receive the SoftBank Rollover BidCo Equity, each holder of an
Allowed Secured Notes Claim shall receive its pro rata share of the BidCo Equity
Consideration, and that portion of the Allowed Secured Notes Claims not satisfied with the pro
rata portion of the BidCo Equity Consideration will be considered as uncollectible accounts, and
the obligations of the Debtors thereunder or in any way related thereto will be deemed
extinguished and cancelled in full.

                       a.     New Equity Interests

        The offering, issuance, and distribution of the New Equity Interests shall be exempt from,
among other things, the registration requirements of section 5 of the Securities Act and any other
applicable law requiring registration prior to the offering, issuance, distribution, or sale of
Securities pursuant to section 4(a)(2) of the Securities Act; provided that, to the extent that such
exemption is unavailable, such securities shall be issued pursuant to any other available
exemptions from registration. With respect to the New Equity Interests issued pursuant to
section 4(a)(2) of the Securities Act and Regulation D thereunder, such securities will be
considered “restricted securities” and may not be transferred except pursuant to an effective
registration statement or under an available exemption from the registration requirements of the
Securities Act. The ability to transfer New Equity Interests will be subject to any restrictions in
any applicable securities laws as well as any restrictions in the Reorganized Debtors’ Amended
Organizational Documents or BidCo’s organizational documents, as applicable. On the
Effective Date, the New Equity Interests shall not be registered under the Securities Act, and
shall not be listed for public trading on any securities exchange.

                       b.     BidCo Equity Interests

        Except as otherwise set forth herein, the offering, issuance, and distribution of the BidCo
Equity Interests (including the SoftBank Rollover BidCo Equity) shall be exempt from, among
other things, the registration requirements of section 5 of the Securities Act and any other
applicable law requiring registration prior to the offering, issuance, distribution, or sale of
Securities in accordance with section 1145 of the Bankruptcy Code, provided that, to the extent


                                               -49-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 62 of 342



that such exemption is unavailable, such securities shall be issued pursuant to any other available
exemptions from registration. In addition, under section 1145 of the Bankruptcy Code, such
BidCo Equity Consideration and the SoftBank Rollover BidCo Equity will be freely tradable in
the U.S. by the recipients thereof, subject to the provisions of (i) section 1145(b)(1) of the
Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the Securities
Act, (ii) compliance with applicable securities laws and any rules and regulations of the
Securities and Exchange Commission, if any, applicable at the time of any future transfer of such
securities or instruments, and (iii) any restrictions in the Reorganized Debtors’ Amended
Organizational Documents or BidCo’s organizational documents, as applicable. On the Effective
Date, the BidCo Equity Consideration and the SoftBank Rollover BidCo Equity shall not be
registered under the Securities Act, and shall not be listed for public trading on any securities
exchange.

                       c.     Authorization, Issuance and Delivery of the New Equity
                              Interests

        On the Effective Date, the Reorganized Company Party shall be authorized to issue or
cause to be issued and deliver to the Plan Sponsor the New Equity Interests in accordance with
the terms of the Amended Organizational Documents without the need for any further corporate
or shareholder action subject to Section IV.V of the Plan. The New Equity Interests, when so
issued and delivered, shall be duly authorized, validly issued, fully paid and non-assessable.

                       d.     Authorization, Issuance and Delivery of the BidCo Equity
                              Consideration to Class 1

        On the Effective Date, BidCo shall issue or cause to be issued and distributed to holders
of Allowed Secured Notes Claims pursuant to Section II.C.1 of the Plan the BidCo Equity
Consideration without the need for any further corporate or shareholder action provided that
BidCo shall take such actions as may be required under English Law to effectuate the foregoing.
The BidCo Equity Consideration when so issued and distributed, shall be duly authorized,
validly issued, fully paid and non-assessable. Effective as of the Effective Date, such holders
will be subject to transfer restrictions and, in addition to statutory protections for minority
shareholders, will receive preemptive rights to purchase ordinary shares of BidCo on a pro rata
basis in respect of their existing ownership percentage in BidCo in the event of a new issuance of
ordinary shares by BidCo, subject to customary exceptions.

               5.      Restructuring Steps Under UK Corporate Law

       The Transaction contemplated in the Plan shall be effectuated through certain steps and
provisions set forth on Exhibit 1 thereto, or such other steps and provisions as may be agreed to
by the Debtors and the Plan Sponsor.

       The Debtors and the Plan Sponsor agree that OWC will be the Reorganized Company
Party and will implement the transactions contemplated by the Plan. The Debtors and the Plan
Sponsor do not believe that it is legally necessary to implement an English Law Scheme of
Arrangement (or any alternative process) to effect the acquisition of the New Equity Interests in
compliance with English Law.



                                               -50-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 63 of 342



               6.      The Liquidating Debtors

        In order to transfer the Excluded Assets to the Liquidating Debtors, the Debtors may
implement one or more restructuring steps to effectuate such transfers, which such steps shall be
set for on a schedule to be filed with the Plan Supplement. The Liquidating Debtors shall
continue to exist after the Effective Date for the purposes of making Distributions to the holders
of Allowed Claims under the Plan other than those Claims to be satisfied by the Reorganized
Debtors and to take any other steps in furtherance thereof or as may be reasonably necessary or
appropriate to wind-down the affairs of their Estates. The principal purposes of the Liquidating
Debtors shall be to liquidate, collect and maximize the Cash value of the Excluded Assets, which
shall be transferred to the Liquidating Debtors on, or immediately prior to, the Effective Date
and make Distributions in respect of Allowed Claims in accordance with the terms of the Plan.
The Plan Administrator shall be authorized to merge, consolidate, or dissolve any of the
Liquidating Debtors, as the Plan Administrator deems appropriate.

               7.      Plan Administrator

    On the Effective Date, the Plan Administrator shall be appointed for the purpose of (and shall
have the authority to) (i) conducting the wind down of the Estates of the Liquidating Debtors as
expeditiously as reasonably possible; (ii) administering the liquidation or dissolution of the
Liquidating Debtors and their Estates; (iii) selling, abandoning (or effecting a similar disposition)
of the Excluded Assets; (iv) making Distributions to the holders of Allowed Claims in
accordance with the Plan; (v) except to the extent Claims have been previously Allowed,
conducting the Claims reconciliation process, including objecting to, seeking to subordinate,
compromise or settle any and all Disputed Claims; (vi) retaining professionals to assist in
performing its duties under the Plan; (vii) maintaining the books, records, and accounts of the
Liquidating Debtors; (viii) completing and filing, as necessary, all final or otherwise required
federal, state, local and foreign tax returns for the Liquidating Debtors; (ix) creating and funding
reserves provided for in the Plan; (x) investing Cash of the Liquidating Debtors, including any
Cash proceeds realized from the liquidation of the Excluded Assets, if any; (xi) obtaining
commercially reasonable liability, errors and omissions, directors and officers, or other insurance
coverage as the Plan Administrator deems necessary and appropriate; (xii) performing other
duties and functions that are consistent with the implementation of the Plan; (xiii) filing the final
monthly operating report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports, and (xiv) cooperating with the Plan Sponsor in any way necessary to fully
effectuate the purposes and the benefit of the bargain of the Transaction; provided, that the
Liquidating Debtors and the Plan Administrator shall not take any actions that could reasonably
be expected to prejudice or would otherwise be adverse to the Reorganized Debtors.

        The Plan Administrator shall act for the Liquidating Debtors in the same capacity and
shall have the same rights and powers as are applicable to a manager, managing member, board
of managers, board of directors or equivalent governing body, as applicable, and to officers,
subject to the provisions hereof (and all certificates of formation and limited liability company
agreements and certificates of incorporation or by-laws, or equivalent governing documents and
all other related documents (including membership agreements, stockholders agreements or other
similar instruments), as applicable, are deemed amended pursuant to the Plan to permit and
authorize the same).


                                                -51-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 64 of 342



        From and after the Effective Date, the Plan Administrator shall be the sole representative
of and shall act for the Liquidating Debtors with the authority set forth in Section IV of the Plan
and in the Plan Supplement.

       Each of the Liquidating Debtors shall indemnify and hold harmless the Plan
Administrator solely in its capacity as such for any losses incurred in such capacity, except to the
extent such losses were the result of the Plan Administrator’s fraud, gross negligence, willful
misconduct, or criminal conduct.

               8.      The Wind Down

       On and after the Effective Date, the Plan Sponsor shall fund the Wind-Down Reserve and
the Liquidating Debtors and the Plan Administrator shall be authorized to implement the Plan
and shall have the power and authority to take any reasonable action necessary to implement the
wind down of the Estates.

        The activities and operations of the Liquidating Debtors and the Plan Administrator shall
be funded from the Wind-Down Reserve. Upon the closing of the chapter 11 cases and the
dissolution of the Liquidating Debtors, or such earlier time as it appears, in the reasonable view
of the Plan Administrator, that the Wind-Down Reserve is overfunded, the Plan Administrator
shall make any excess funds available for Distribution and funding of the other reserves and
Distributions in accordance with the terms of the Plan.

        Except to the extent necessary to (i) complete the wind down and (ii) effectuate the
Transaction, from and after the Effective Date, the Liquidating Debtors (a) for all purposes, shall
be deemed to have withdrawn the Debtors’ business operations from any state or province or
foreign jurisdiction in which the Debtors were previously conducting, or are registered or
licensed to conduct, their business operations, and shall not be required to file any document, pay
any sum, or take any other action to effectuate such withdrawal and (b) shall not be liable in any
manner to any taxing authority for franchise, business, license, or similar taxes accruing on or
after the Effective Date; provided, that the above shall not preclude the Plan Administrator from
taking any action necessary to dissolve or wind down any Liquidating Debtor pursuant to any
dissolution, winding down or similar proceeding.

               9.      Continued Corporate Existence

       Except as otherwise provided in the Plan, the Reorganized Debtors and the Liquidating
Debtors shall continue to exist after the Effective Date. At any time after the Effective Date,
each Liquidating Debtor or Reorganized Debtor, in its sole and exclusive discretion, may take
such action as permitted by applicable law as such Liquidating Debtor or Reorganized Debtor
may determine is reasonable and appropriate, including, but not limited to, (i) merging into
another Liquidating Debtor or Reorganized Debtor, or a Subsidiary and/or Affiliate of the
foregoing, (ii) causing a Liquidating Debtor or Reorganized Debtor to be liquidated and/or
dissolved, (iii) changing the legal name of a Liquidating Debtor or Reorganized Debtor, (iv)
converting a Liquidating Debtor or Reorganized Debtor to another form of Entity, including
from a corporation to a limited liability company, or (v) closing a Liquidating Debtor’s or
Reorganized Debtor’s chapter 11 case.



                                               -52-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 65 of 342



               10.     Disbursing Agent

        The Debtors, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall
designate one or more Entities (which may be the Reorganized Debtors in the case of the
Reorganized Debtors and the Plan Administrator in the case of the Liquidating Debtors) to
effectuate the Distributions. If the Disbursing Agent is a third party, the reasonable fees and
expenses of the Disbursing Agent shall be paid by the Liquidating Debtors upon submission of
statements. The payment of the reasonable fees and expenses of the Disbursing Agent shall be
made in the ordinary course of business without any further notice to any party or action, order
or approval of the Bankruptcy Court. The Disbursing Agent shall be deemed exculpated and
indemnified by the Estates, except for fraud, ultra vires actions, willful misconduct, criminal
conduct or gross negligence.

               11.     New Board of Directors/Officers

        The member(s) of the boards of directors and the officers of the Reorganized Debtors and
the Liquidating Debtors will be identified in the Plan Supplement. The Reorganized Debtors and
the Liquidating Debtors shall purchase an insurance policy (including any “tail policy”) for the
Reorganized Debtors’ and Liquidating Debtors’, as applicable, directors and officers that is
acceptable to the Reorganized Debtors and Liquidating Debtors, as applicable. For the
avoidance of doubt, the Debtors may extend any or obtain new insurance policies during the
chapter 11 cases without the consent of the Plan Sponsor for any period prior to consummation
of the Transaction subject to Section IV.T of the Plan.

        On the Effective Date, all persons acting as directors, and/or managers of the Debtors that
have not been selected as directors and/or managers of the Reorganized Debtors or the
Liquidating Debtors shall be deemed to have resigned, their appointments shall be rescinded for
all purposes, and their respective authority and power, in their capacities as such, shall be
revoked, in each case, without the necessity of taking any further action in connection therewith
subject to Section IV.T of the Plan.

               12.     Survival of Indemnification Obligations and D&O Liability Insurance

                       a.     Indemnification Obligations.

       Each of the Debtors’ Indemnification Obligations shall be reinstated, assumed by the
Reorganized Debtors and remain intact and irrevocable, as applicable, and shall not be
discharged, impaired, or otherwise affected by the Plan.

                       b.     D&O Liability Insurance Policies.

        The D&O Liability Insurance Policies shall be deemed executory contracts and shall be
assumed by the Reorganized Debtors, on behalf of the Debtors effective as of the Effective Date,
pursuant to sections 365 and 1123 of the Bankruptcy Code. For the avoidance of doubt,
coverage for defense and indemnity under the D&O Liability Insurance Policies shall remain
available to all individuals within the definition of “Insured” in the D&O Liability Insurance
Policies. In addition, after the Effective Date, all officers, directors, agents or employees of the
Debtors who served in such capacity at any time before the Effective Date shall be entitled to the


                                               -53-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 66 of 342



full benefits of the D&O Liability Insurance Policies (including any “tail” policy) in effect or
purchased as of the Effective Date for the full term of such policy regardless of whether such
officers, directors, agents and/or employees remain in such positions after the Effective Date, in
each case, to the extent such individuals are covered under the D&O Liability Insurance Policies.

               13.    Employee Matters

       On the Effective Date, all Current Employees shall be retained by the Reorganized
Debtors in their existing positions. Each Benefit Plan and all other wage, compensation,
employee expense reimbursement, and other benefit obligations solely relating to the Current
Employees, including without limitation the KEIP and the KERP, shall be assumed by the
Reorganized Debtors as of the Effective Date.

       For the avoidance of doubt, (i) neither the KEIP nor the KERP shall be included on the
Rejection Schedule and such programs will be honored in accordance with their terms, (ii) the
consummation of the Plan will constitute a “Sale” under the KEIP and (iii) any Benefit Plan
included on the Rejection Schedule shall be replaced by a comparable Benefit Plan that is no less
favorable to Current Employees for the benefit of the Current Employees.

       The 2018 Equity Incentive Plan of OneWeb Global Limited, the Consultant Equity
Incentive Plan of OneWeb Global Limited and any predecessor plans thereof (the “Liquidated
Incentive Plans”) shall remain with the Liquidating Debtors and wound down by the Plan
Administrator. Notwithstanding the foregoing, none of the Plan Sponsor, the Debtors, the
Reorganized Debtors or their subsidiaries shall have any payment or other obligation under the
Liquidated Incentive Plans or any Awards (as defined therein) issued thereunder upon or
following the Effective Date, regardless of whether such Awards or obligations were issued or
incurred before or after the Petition Date.

       Without limiting or altering any employee’s rights under the KEIP or the KERP,
execution of the Plan Support Agreement and consummation of the Plan will not constitute a
change of control under any other Benefit Plan.

               14.    Retained Causes of Action

        Except as provided in the Plan or in any contract, instrument, release or other agreement
entered into or delivered in connection with the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, the Reorganized Debtors will retain the Retained Causes of Action that the
Debtors or the Estates may hold against any Entity to the extent included on the Retained Causes
of Action Schedule and not released under Section XI.E of the Plan or otherwise, including the
Avoidance Actions (and all Privilege Rights with respect to any of the foregoing) and may, in
their sole discretion, pursue or settle any such Retained Causes of Action, as appropriate, in
accordance with the best interests of the Estates. The Retained Causes of Action Schedule shall
be included as part of the Plan Supplement. The inclusion or failure to include any Retained
Cause of Action in the Plan Supplement shall not be deemed an admission, denial or waiver of
any claims, rights or causes of action that any Reorganized Debtor may hold against any Entity.
For the avoidance of doubt, the Retained Causes of Action shall not include any claims or
Causes of Action against any Released Party or any Avoidance Action released against a holder



                                              -54-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 67 of 342



of a General Unsecured Claim or Ongoing Trade Claim in accordance with Sections II.C.4.b. and
II.C.5.b. of the Plan.

        On the Effective Date, the applicable Reorganized Debtors shall be deemed to be
substituted as a party to any Retained Causes of Action litigation in which any Debtor is a party,
including (but not limited to): (a) pending contested matters or adversary proceedings in the
Bankruptcy Court; (b) any appeals of orders of the Bankruptcy Court; and (c) any state court or
federal or state administrative proceedings pending as of the Petition Date. The Reorganized
Debtors are not required to, but may, take such steps as are appropriate to provide notice of such
substitution.

               15.    Release of Avoidance Actions for Holders of Claims in Class 4 and
                      Class 5

       On the Effective Date, in connection with the Distributions to the holders of Allowed
General Unsecured Claims in accordance with Section II.C of the Plan, the Debtors and the
Reorganized Debtors shall grant each holder of an Allowed General Unsecured Claim that
individually votes to accept the Plan an Avoidance Action Release. Also, on the Effective Date,
in connection with the Distributions to holders of Allowed Ongoing Trade Claims in accordance
with Section II.C of the Plan, the Debtors and the Reorganized Debtors shall grant each holder of
an Allowed Ongoing Trade Claim that individually votes to accept the Plan an Avoidance Action
Release.

               16.    Cancellation and Surrender of Notes, Instruments, Securities and Other
                      Documentation

        Except as provided in the Plan Support Agreement, or as otherwise agreed to by the Plan
Sponsor, on the Effective Date, all notes, instruments, certificates and other documents
evidencing Claims or Interests, that are not otherwise being satisfied by the pro rata portion of
the BidCo Equity Consideration (collectively, the “Cancelled Agreements”) shall be deemed
cancelled and will be considered uncollectible accounts and surrendered and of no further force
and effect against the Debtors, the Reorganized Debtors or the Liquidating Debtors without any
further action on the part of the Debtors, the Reorganized Debtors or the Liquidating Debtors;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the DIP Agent
and Secured Notes Agent, as applicable, to (1) make distributions on account of such Claims or
Interests; (2) maintain, enforce, and exercise their respective Liens, including their charging
liens, as applicable, under the terms of the applicable agreements, or any related or ancillary
document, instrument, agreement, or principle of law, against any money or property distributed
or allocable on account of such Claims under the Plan, as applicable; (3) seek compensation and
reimbursement for any reasonable and documented fees and expenses incurred in connection
with the implementation of the Plan; (4) maintain, enforce, and exercise any right or obligation
to compensation, indemnification, expense reimbursement, or contribution, or any other claim or
entitlement that the DIP Agent or Secured Notes Agent may have under the applicable credit
agreement, note purchase agreement, collateral agreements, or pledge agreements, in each case
solely as against the holders of the Secured Notes Claims; (5) appear and raise issues in these


                                               -55-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                          Pg 68 of 342



chapter 11 cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to the Plan or the applicable credit agreements or note
purchase agreement; and (6) execute documents pursuant to Section IV.V of the Plan; provided,
further, that the DIP Agent and Secured Notes Agent may take such further action to implement
the terms of the Plan as agreed to with the Debtors or the Reorganized Debtors, as applicable, to
the extent not inconsistent with the Confirmation Order or the Plan. Nothing herein shall affect
the discharge pursuant to section 1141 of the Bankruptcy Code.

               17.     Release of Liens

       Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan or the Transaction,
on the Effective Date, subject to receipt of the applicable Distributions, if applicable, all Liens on
the property of any Estate, including the New Equity Interests, shall be fully released and
discharged.

       The DIP Agent and the Secured Notes Agent shall execute and deliver all documents
reasonably requested by the Debtors or the Reorganized Debtors to evidence the release of such
Liens and shall authorize the Reorganized Debtors and their designees to file UCC-3 termination
statements and other release documentation (to the extent applicable) with respect thereto, at the
sole expense of the Debtors or the Reorganized Debtors, as applicable.

               18.     Effectuating Documents; Further Transactions

        Following entry of the Confirmation Order, but subject to the occurrence of the Effective
Date, and subject to any consents of the Plan Sponsor required by the Plan Support Agreement,
in each instance, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall take
all actions as may be necessary or appropriate to effectuate, implement and evidence the terms
and conditions of the Plan and the restructuring Transaction contemplated thereby, including (i)
implementation of any restructuring steps; (ii) the execution and delivery of appropriate
agreements or other documents of merger, amalgamation, consolidation, restructuring,
conversion, disposition, transfer, arrangement, continuance, dissolution, cancellation, sale,
purchase, or liquidation containing terms that are consistent with the terms of the Plan, (iii) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan, (iv) the filing of appropriate certificates or articles of incorporation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance,
cancellation, or dissolution pursuant to applicable foreign, state, territorial, provincial, or federal
law, (v) the issuance of securities in accordance with the Plan, all of which shall be authorized
and approved in all respects in each case without further action being required under applicable
law, regulation, order, or rule, (vi) taking necessary steps under applicable local law to effectuate
the Plan; and (vii) all other actions that the applicable entities determine to be necessary or
appropriate, including making filings or recordings that may be required by applicable law or the
Plan Support Agreement and the term sheet annexed thereto, as applicable, to fully effectuate the
Plan.




                                                 -56-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 69 of 342



        Each officer, legal representative or member of the board of directors of the Debtors is
authorized to issue, execute, deliver, file, or record such contracts, securities, instruments,
releases, indentures, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
of the Plan, the Plan Documents and the securities issued pursuant to the Plan in the name of and
on behalf of the Debtors, all of which shall be authorized and approved in all respects, in each
case, without the need for any approvals, authorization, consents, or any further action required
under applicable law, regulation, order, or rule (including any action by the directors or
managers of the Debtors) except for those expressly required pursuant to the Plan.

         Each officer, legal representative or member of the board of directors of the Reorganized
Debtors is authorized to issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, indentures, and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Plan, the Plan Documents and the securities issued pursuant to the Plan in the
name of and on behalf of the Reorganized Debtors, all of which shall be authorized and approved
in all respects, in each case, without the need for any approvals, authorization, consents, or any
further action required under applicable law, regulation, order, or rule (including any action by
the directors or managers of the Debtors) except for those expressly required pursuant to the
Plan.

       Unless otherwise agreed to by the Debtors and the Plan Sponsor, all matters provided for
in the Plan involving the corporate structure of the Debtors or Reorganized Debtors, or any
corporate, limited liability company, or related action required by the Debtors or Reorganized
Debtors in connection with the Plan shall be deemed to have occurred and shall be in effect as of
the Effective Date, without any requirement of further action by the stockholders, members,
board, or directors of the Debtors or Reorganized Debtors, and with like effect as though such
action had been taken unanimously by the stockholders, members, directors, or officers, as
applicable, of the Debtors or Reorganized Debtors.

               19.    Amended Organizational Documents

        On or prior to the Effective Date, the Amended Organizational Documents shall be filed
with the applicable Secretaries of State and/or other applicable authorities in their respective
states, provinces, or countries of incorporation or organization, if necessary under the corporate
laws of the respective states, provinces, or countries of incorporation or organization, in
accordance with such corporate laws as determined by the Plan Sponsor and the Reorganized
Debtors. The Amended Organizational Documents shall prohibit the issuance of non-voting
equity securities to the extent required by section 1123(a)(6) of the Bankruptcy Code. After the
Effective Date, the Amended Organizational Documents may be amended and restated as
permitted by such documents and the laws of their respective states, provinces, or countries of
incorporation or organization.

               20.    FCC Communications Consents

      No provision in the Plan relieves any Debtor or Reorganized Debtor from its obligation to
comply with the Communications Act of 1934, as amended, and the rules, regulations and orders


                                              -57-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 70 of 342



promulgated thereunder by the FCC. No transfer of any FCC license or authorization held by
any Debtor or transfer of control of an FCC licensee controlled by any Debtor shall take place
prior to the issuance of any necessary FCC Communications Consents for such transfer pursuant
to applicable FCC regulations. The FCC’s rights and powers to take any action pursuant to its
regulatory authority, including but not limited to imposing any regulatory conditions on any of
the above-described transfers, are fully preserved, and nothing herein shall proscribe or constrain
the FCC’s exercise of such power or authority to the extent provided by law.

               21.     Section 1146 Exemptions from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any stamp tax or other similar tax or governmental assessment in
the United States, and the Confirmation Order shall direct and be deemed to direct the
appropriate state or local governmental officials or agents to forego the collection of any such tax
or governmental assessment and to accept for filing and recordation instruments or other
documents pursuant to such transfers of property without the payment of any such tax or
governmental assessment. Such exemption specifically applies, without limitation, to (1) the
creation of any mortgage, deed of trust, lien or other security interest; (2) the making or
assignment of any lease or sublease; (3) any restructuring transaction authorized by the Plan; or
(4) the making or delivery of any deed or other instrument of transfer under, in furtherance of or
in connection with the Plan, including, without limitation: (a) any merger agreements; (b)
agreements of consolidation, restructuring, disposition, liquidation or dissolution; (c) deeds; or
(d) assignments executed in connection with any transaction occurring under or pursuant to the
Plan.

       C.      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

               1.      Assumption and Rejection of Executory Contracts and Unexpired
                       Leases

       As of and subject to the occurrence of the Effective Date, all Executory Contracts and
Unexpired Leases shall be deemed assumed, together with all amendments agreed to in writing
between the Debtor(s) and the Executory Contract or Unexpired Lease counterparty and
consented to by the Plan Sponsor, unless such Executory Contract or Unexpired Lease (i) was
previously assumed or rejected pursuant to a Final Order of the Bankruptcy Court, (ii) is listed
on the Rejection Schedule or (iii) is the subject of a separate motion filed by a Debtor for
assumption or rejection under section 365 of the Bankruptcy Code.

       The Debtors or Reorganized Debtors, as applicable, shall use reasonable best efforts to
obtain all necessary consents required under any Executory Contract or Unexpired Lease
assumed as a result of the Transactions. To the extent the foregoing shall require any action by
any Debtor that would, or would continue to, have an adverse effect on the business of the Plan
Sponsor or any of its Affiliates after the Effective Date, such action shall require the prior written
consent of the Plan Sponsor. These reasonable best efforts shall not require any material payment
or other material consideration from the Debtors or the Plan Sponsor (other than the payment of
the Cure Claims, by the Plan Sponsor), or any action reasonably likely to delay the Debtors’


                                                -58-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                         Pg 71 of 342



emergence from these chapter 11 cases, and any such consent shall contain terms and conditions
reasonably acceptable to the Debtors and the Plan Sponsor. For the avoidance of doubt, the term
“material” in the prior sentence means material in the context of the relevant assumed Executory
Contract or Unexpired Lease.

               2.      Claims Based on Rejection of Executory Contracts and Unexpired
                       Leases

        Unless otherwise provided by a Bankruptcy Court’s order, any Proof of Claim arising
from the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan must be
filed with the Claims and Noticing Agent by the Rejection Damages Deadline. Any Claim
arising from the rejection of an Executory Contract or Unexpired Lease, with respect to which no
Proof of Claim is timely filed, shall be automatically disallowed without the need for any
objection or further notice to or action or approval of the Bankruptcy Court.

    Holders of Claims arising from the rejection of Executory Contracts or Unexpired Leases
with respect to which no Proof of Claim is timely filed shall be forever barred, estopped, and
enjoined from asserting a Claim based on such rejection against the Debtors, the Reorganized
Debtors, the Liquidating Debtors, the Estates or the respective property of any of the foregoing,
and such Claims shall be discharged as of the Effective Date unless otherwise expressly allowed
by the Bankruptcy Court.

         The Liquidating Debtors and/or Plan Administrator shall have the right to object to,
settle, compromise or otherwise resolve any Claim asserted on account of a rejected Executory
Contract or Unexpired Lease.

       Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall not constitute a termination of the obligations owed by the counterparty to the
applicable Debtor(s) under such Executory Contracts or Unexpired Leases. Notwithstanding any
applicable non-bankruptcy law to the contrary, the Liquidating Debtors and the Reorganized
Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of
a counterparty to provide, warranties, indemnifications or continued maintenance obligations
from the counterparties to the rejected Executory Contracts or Unexpired Leases.

               3.      Cure Claims

        Any Cure Claims under each Executory Contract and Unexpired Lease to be assumed or
assumed and assigned pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Claim in Cash on the Effective Date or as soon as
reasonably practicable thereafter, subject to the limitations described below, by the Reorganized
Debtors or the Plan Sponsor, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of the
Cure Claim, (2) the ability of the Debtors’ Estates or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter
pertaining to assumption, the Cure Claims required by section 365(b)(1) of the Bankruptcy Code
shall be satisfied following the entry of a Final Order or Orders resolving the dispute and



                                              -59-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 72 of 342



approving the assumption. Assumption of any Executory Contract or Unexpired Lease pursuant
to the Plan or otherwise shall result in the full release and satisfaction of any Claims or defaults,
subject to satisfaction of the Cure Claims whether monetary or nonmonetary, including defaults
of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time before the effective date of assumption and/or assignment. Any liabilities reflected
in the Schedules with respect to an Executory Contract or Unexpired Lease that has been
assumed or assumed and assigned shall be deemed disallowed and expunged, without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

        For the avoidance of doubt, the Debtors served the First and Second Cure Notices to
applicable counterparties to the Executory Contracts and Unexpired Leases listed on Schedule I
attached to the respective notice. Pursuant to the First and Second Cure Notices, the deadline to
file an objection to the proposed assumption of any Executory Contract or Unexpired Lease,
including any objection relating to a Cure Claim, other than an objection based solely on the
adequate assurance of future performance under such Executory Contract or Unexpired Lease
was fourteen days following service of the applicable notice. Prior to the expiration of the First
Cure Notice’s objection deadline, the Debtors received twenty-five (25) objections asserting
Cure Claims [Docket Nos. 250, 254, 256, 259-263, 265, 267-271, 274, 284, 286, 288, 296, 297,
303, 311, 312, 319 and 321]. After the expiration of the objection deadline of the First Cure
Notice the Debtors received one objection asserting a Cure Claim [Docket No. 360]. The
Debtors received an amended objection asserting Cure Claims after the expiration of the
objection deadline to the First Cure Notice [Docket No. 505]. Prior to the expiration of the
objection deadline of the Second Cure Notice, the Debtors received one more objection asserting
a Cure Claim [Docket No. 377]. Furthermore, five parties filed timely objections regarding the
First and Second Cure Notices requesting additional adequate assurance [Docket Nos. 258, 267,
268, 297 and 377].

        With respect to Executory Contracts or Unexpired Leases for which no objection was
filed or for which no informal comments were received, the amount of the applicable Cure Claim
set forth in the First and Second Cure Notices, as applicable is now binding. Upon entry of the
Plan Support Agreement Order, all of the objections in connection with the First Cure Notice and
the Second Cure Notice not previously consensually resolved were adjourned to the
Confirmation Hearing or such other hearing date and time scheduled by the Debtors or
Reorganized Debtors with the Bankruptcy Court.

        Unless otherwise provided by an order of the Bankruptcy Court, at least seven (7)
calendar days before the Voting Deadline, the Debtors shall cause notice of any proposed
assumption to the extent of any proposed Cure Claim regarding any Executory Contracts and
Unexpired Leases not reflected in the First and Second Cure Notices or otherwise not previously
noticed to be sent to the applicable counterparties. Such notice shall contain the proposed Cure
Claim and the deadline by which the counterparty may dispute the proposed Cure Claim. Any
objection by such newly noticed counterparty must be filed and served on the Debtors no later
than the deadline for objecting to Confirmation of the Plan. Any counterparty to an Executory
Contract or Unexpired Lease that previously failed or fails to timely object to the proposed
assumption or cure amount will be deemed to have assented to such assumption and Cure Claim.
Notwithstanding the foregoing, except to the extent an Executory Contract or Unexpired Lease is


                                                -60-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                         Pg 73 of 342



set forth on the Rejection Schedule, all Executory Contracts and Unexpired Leases shall be
assumed by the Reorganized Debtors on the Effective Date.

        To the extent the Debtors or the Reorganized Debtors, as applicable, and the objecting
counterparty cannot resolve their dispute consensually, the Bankruptcy Court shall retain
jurisdiction to resolve such dispute. Upon the Bankruptcy Court’s resolution of the dispute, the
Plan Sponsor shall have three (3) business days to determine whether it wishes to assume the
applicable Executory Contract or Unexpired Lease. If the Plan Sponsor determines not to
assume the applicable Executory Contract or Unexpired Lease, it shall direct the applicable
Reorganized Debtor to reject same, and such Executory Contract or Unexpired Lease shall be
deemed rejected under the Plan as of the Effective Date, and all procedures set forth in Section
VI.B of the Plan shall apply.

               4.      Reservation of Rights

       Neither the listing of any contract or lease on the Rejection Schedule, nor the Debtors’
delivery of a Notice of Cure and Assumption to the applicable counterparty shall constitute an
admission by the Debtors that such contract or lease is in fact an Executory Contract or
Unexpired Lease or that any Debtor has any liability thereunder.

       D.      CONDITIONS  PRECEDENT                      TO      CONFIRMATION              AND
               CONSUMMATION OF THE PLAN

               1.      Conditions to Confirmation

        The Bankruptcy Court shall not be requested to enter the Confirmation Order unless and
until the following conditions have been satisfied:

               •       The Bankruptcy Court shall have entered the Disclosure Statement Order.

               •       The Plan and the Confirmation Order shall be in form and substance
                       acceptable to the Debtors and the Plan Sponsor.

               2.      Conditions to the Effective Date

        The Effective Date will not occur, and the Plan will not be consummated unless and until
the conditions set forth in Section IX.B of the Plan have been satisfied or duly waived pursuant
to Section IX.C of the Plan.

                       a.     Confirmation Order

       The Confirmation Order shall be in full force and effect, and shall not have been stayed,
stayed pending appeal or vacated; provided, however, that even if an appeal, notice of appeal,
motion to amend, or make additional findings of fact or motion for a new trial is timely filed, or
the Confirmation Order is otherwise challenged in any respect, such Confirmation Order will be
deemed a Final Order if it provides that it is effective immediately upon entry on the Bankruptcy
Court’s docket and not subject to any stay notwithstanding Bankruptcy Rules 6004(h), 6006(d),
or 7062 or Rule 62 of the Federal Rules of Civil Procedure.


                                               -61-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 74 of 342



                      b.      Statutory Fees

       All statutory fees and obligations then due and payable to the U.S. Trustee shall have
been paid in full.

                      c.      Documentation

        All documents and agreements necessary to implement the Plan and the Transaction,
including such agreements and documents set forth in Section 4 of the Plan Support Agreement,
shall have been executed and delivered to the required parties and, to the extent required, filed
with the applicable government unit in accordance with applicable laws, and all other actions
required to be taken in connection with the Effective Date shall have occurred;

                      d.      Antitrust and Foreign Investment Approvals

       All (A) applicable waiting periods, and any extensions thereof, under the HSR Act and
the Antitrust and Foreign Investment Laws, and any commitments by the parties to the Plan
Support Agreement not to close before a certain date under a timing agreement entered into with
applicable Antitrust and Foreign Investment Authorities, shall have expired or otherwise been
terminated and (B) authorizations, consents, orders or approvals under the Antitrust and Foreign
Investment Laws, including but not limited to the CFIUS Approval and those authorizations,
consents, orders or approvals set forth on Section 9(c)(i) of the disclosures schedules to the Plan
Support Agreement, shall have been obtained and shall remain in full force and effect.

                      e.      State Aid Approval

        If required by applicable law, a decision of the European Commission pursuant to Article
4 or Article 9 of Council Regulation (EU) 2015/1589 of 13 July 2015 that the transaction notified
to it does not constitute aid or is compatible with the internal market, or such other similar
consents or approvals as may be required from the European Commission after December 31,
2020 shall have been obtained.

                      f.      DDTC Notification

      WVD shall have provided to the U.S. Directorate of Defense Trade Controls of the U.S.
Department of State the DDTC Notification.

                      g.      No Injunctions or Restraints

       No Governmental Entity (as defined in the Plan Support Agreement) shall have issued,
enacted, entered, promulgated, or enforced any Restraint.

                      h.      Establishment of Professional Fee Escrow

        The Professional Fee Escrow shall have been established and fully funded in the amount
of the Professional Fee Reserve Amount.

                      i.      Funding of the Ongoing Trade Claims Recovery Pool and the


                                               -62-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 75 of 342



                               General Unsecured Claims Settlement Distribution

        Each of the Ongoing Trade Claims Recovery Pool and the General Unsecured Claims
Settlement Distribution shall have been funded by BidCo in the respective amounts required by
the Settlement.

                       j.      Conditions Precedent to the Obligations of the Plan Sponsor

                               i.      Accuracy of Representations and Warranties

       The representations and warranties of the Company Parties as set forth in the Plan
Support Agreement in (i) Sections 11(a)(i)-(iv), (b), (e)(i) and (u) shall be true and correct in all
material respects and (ii) set forth in Section 11 (other than those described in clause (i)) shall be
true and correct (disregarding all qualifications or limitations as to “materiality” or “Company
Material Adverse Effect” and words of similar import set forth therein), except where the failure
of such representations or warranties to be true and correct has not had and would not reasonably
be expected to have a Company Material Adverse Effect (as defined in the Plan Support
Agreement), in the case of each of clauses (i) and (ii), at and as of the Effective Date as though
made at and as of the Effective Date (in each case, except to the extent expressly made as of
another date, in which case as of such date as if made at and as of such date).

                               ii.     Performance of Obligations

        The Debtors shall have performed in all material respects all obligations and agreements
contained in Plan Support Agreement required to be performed by them on or prior to the
Effective Date.

                               iii.    No Termination

        The Plan Sponsor shall not have terminated the Plan Support Agreement, in accordance
with its terms prior to the occurrence of the Effective Date.

                               iv.     BidCo Equity Consideration

      The Entities to receive any share of the BidCo Equity Consideration are acceptable to the
Plan Sponsor, in its sole discretion, provided that for the avoidance of doubt the holders of
Allowed Secured Notes Claims receiving such BidCo Equity Consideration in the term sheet
annexed to the Plan Support Agreement are acceptable to the Plan Sponsor.

                               v.      Officer’s Certificate

       The Plan Sponsor shall have received a certificate, dated the Effective Date, of the chief
executive officer or the chief financial officer of OneWeb, on behalf of the Debtors, to the effect
that the conditions specified in Section 9(a)(i) and Section 9(a)(ii) of the Plan Support
Agreement have been fulfilled and/or waived.

                               vi.     Communications Consents



                                                -63-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 76 of 342



       All Communications Consents shall have been obtained.

                               vii.    No Company Material Adverse Effect

     Since the Agreement Date of the Plan Support Agreement (as defined therein), no
Company Material Adverse Effect (as defined therein) shall have occurred and be continuing.

                               viii.   Principal Vendor Contracts

       The applicable Company Parties shall have executed the Amended Principal Vendor
Contracts (in accordance with Section 6(c) of the Plan Support Agreement) and such Amended
Principal Vendor Contracts shall remain in full force and effect.

                               ix.     Effective Date Cash Funding Cap

       The Effective Date Cash Funding Reserve Amount, as determined in good faith by the
Debtors and delivered to the Plan Sponsor no later than five days before the Effective Date, shall
not exceed the Effective Date Cash Funding Cap, unless otherwise agreed to by the Plan
Sponsor.

                       k.      Conditions Precedent to the Debtors’ Obligations

                               i.      Accuracy of Representations and Warranties

        The representations and warranties of the Plan Sponsor (i) set forth in Sections 12(a), (b)
and (e) of the Plan Support Agreement shall be true and correct in all material respects and (ii)
set forth in Section 12 of the Plan Support Agreement (other than those described in clause (i))
shall be true and correct (disregarding all qualifications or limitations as to “materiality” or “Plan
Sponsor Material Adverse Effect” and words of similar import set forth therein), except where
the failure of such representations or warranties to be true and correct has not had and would not
reasonably be expected to have a Plan Sponsor Material Adverse Effect (as defined in the Plan
Support Agreement), in the case of each of clauses (i) and (ii), at and as of the Effective Date as
though made at and as of the Effective Date (in each case, except to the extent expressly made as
of another date, in which case as of such date as if made at and as of such date).

                               ii.     Performance of Obligations

        The Plan Sponsor shall have performed in all material respects all obligations and
agreements contained in this Agreement required to be performed by it on or prior to the
Effective Date.

                               iii.    No Termination

       The Company Parties shall not have terminated the Plan Support Agreement in
accordance with its terms prior to the occurrence of the Effective Date.

                               iv.     Officer’s Certificate




                                                -64-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                          Pg 77 of 342



       The Company Parties shall have received a certificate, dated the Effective Date, of a chief
executive officer of the Plan Sponsor to the effect that the conditions specified in Section 9(b)(i)
and Section 9(b)(ii) of the Plan Support Agreement have been fulfilled and/or waived.

               3.      Waiver of Conditions to the Effective Date

       The conditions to consummation of the Plan set forth in Section IX therein may be
waived as follows: the conditions set forth in Section IX.B.10 of the Plan may only be waived by
the Plan Sponsor; the conditions set forth in Section IX.B.111 of the Plan may be waived by the
Debtors; and the conditions set forth in Section IX.B.4-7 of the Plan may be mutually waived by
both the Plan Sponsor and the Debtors, as applicable, in their sole discretion, respectively,
without notice, leave or order of the Bankruptcy Court or any formal action other than
proceeding to confirm or consummate the Plan. For the avoidance of doubt, Sections IX.B.8-9
may not be waived by the Plan Sponsor.

       E.      EXCULPATION, RELEASES AND INJUNCTIONS

               1.      Discharge of Claims Against and Interest in the Debtors

        Upon the Effective Date and in consideration of the Distributions to be made hereunder,
to the fullest extent permitted by applicable law, except as expressly provided herein or in the
Confirmation Order, each holder (as well as any trustee and agents on behalf of such holder) of a
Claim or Interest and any affiliate of such holder shall be deemed to have forever waived,
released, and discharged the Debtors, to the fullest extent permitted by section 1141 of the
Bankruptcy Code, of and from any and all Claims, Interests, Liens, rights, and liabilities that
arose prior to the Effective Date, and will be considered waived, released, or discharged as an
uncollectible account for tax purposes. Except as otherwise expressly provided herein, upon the
Effective Date, all such holders of Claims, Interests, rights and liabilities and their affiliates shall
be forever precluded and enjoined, pursuant to sections 105, 524, and 1141 of the Bankruptcy
Code, from prosecuting or asserting any Claim, Interest, Lien, right or liability in or against the
Estates, Debtors, Liquidating Debtors or the Reorganized Debtors or any of their assets or
property, whether or not such holder has filed a Proof of Claim and whether or not the facts or
legal bases thereof were known or existed prior to or on the Effective Date.

               2.      Exculpation

     EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO
EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED
PARTY IS RELEASED AND EXCULPATED FROM, ANY LIABILITY FOR ANY ACT
OR OMISSION IN CONNECTION WITH, RELATING TO OR ARISING OUT OF THE
DEBTORS’ CHAPTER 11 CASES, THE FORMULATION, PREPARATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE PLAN SUPPORT
AGREEMENT, THE PLAN SUPPORT AGREEMENT ORDER, THE DISCLOSURE
STATEMENT, THE PLAN, THE DIP FACILITY, THE DIP AGREEMENT, THE DIP
AMENDMENT, THE DIP ORDER, THE DIP AMENDMENT ORDER, THE
TRANSACTION OR ANY TRANSACTION, CONTRACT, INSTRUMENT, RELEASE
OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN



                                                 -65-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                         Pg 78 of 342



CONNECTION WITH THE FOREGOING, THE FILING OF THE CHAPTER 11
CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION,
THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING
THE ISSUANCE OF SECURITIES PURSUANT TO THE PLAN, THE DISTRIBUTION
OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT,
EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED ACTUAL FRAUD,
GROSS NEGLIGENCE OR WILLFUL MISCONDUCT; IN ALL RESPECTS THE
EXCULPATED PARTIES SHALL BE ENTITLED TO REASONABLY RELY UPON
THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES. THE EXCULPATED PARTIES HAVE, AND UPON
COMPLETION OF THE PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN
THE SOLICITATION OF VOTES AND DISTRIBUTIONS PURSUANT TO THE PLAN
IN GOOD FAITH AND IN COMPLIANCE WITH APPLICABLE LAWS AND,
THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH ACTIONS SHALL NOT BE,
LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE,
OR REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF THE PLAN OR DISTRIBUTIONS MADE PURSUANT TO THE
PLAN.

      NOTWITHSTANDING THE FOREGOING, SOLELY WITH RESPECT TO
EXCULPATED PARTIES THAT ARE NOT (A) FIDUCIARY EXCULPATED PARTIES
OR (B) THE PLAN SPONSOR AND ITS REPRESENTATIVES, PLAN SECTION XI.D.
WILL BIND ONLY ENTITIES THAT ARE RELEASING PARTIES. FOR THE
AVOIDANCE OF DOUBT, THIS PARAGRAPH IS NOT INTENDED TO, AND SHALL
NOT, IMPAIR OR OTHERWISE LIMIT (I) ANY EXCULPATION RIGHTS OF ANY
PERSONS THAT ARE PROVIDED FOR UNDER ANY AGREEMENTS TO WHICH
SUCH PERSONS ARE PARTIES OR BENEFICIARIES OR (II) PLAN SECTION XI.D.
OR ANY OTHER EXCULPATION RIGHTS (INCLUDING UNDER 11 U.S.C. § 1125(E))
AS APPLIED TO (A) FIDUCIARY EXCULPATED PARTIES OR (B) THE PLAN
SPONSOR AND ITS REPRESENTATIVES.

               3.      Releases

                       a.     Releases by the Debtors

     PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD
AND VALUABLE CONSIDERATION AND FOR THE CONCESSIONS MADE AS SET
FORTH IN THE PLAN AND THE OTHER CONTRACTS, INSTRUMENTS,
RELEASES, AGREEMENTS, OR DOCUMENTS TO BE ENTERED INTO OR
DELIVERED IN CONNECTION WITH THE PLAN, AND THE SERVICE OF THE
RELEASED PARTIES IN FACILITATING THE EXPEDITIOUS REORGANIZATION
OF THE DEBTORS AND THE IMPLEMENTATION OF THE RESTRUCTURING
CONTEMPLATED BY THE PLAN, ON AND AFTER THE EFFECTIVE DATE, EACH
RELEASED PARTY IS DEEMED RELEASED AND DISCHARGED BY THE
DEBTORS, THEIR ESTATES, THE REORGANIZED DEBTORS, THE LIQUIDATING
DEBTORS AND ANY OTHER PERSON OR ENTITY SEEKING TO EXERCISE THE


                                             -66-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39     Main Document
                                    Pg 79 of 342



RIGHTS OF THE ESTATES FROM ANY AND ALL CLAIMS, INTERESTS,
OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS, RIGHTS,
LIENS, LOSSES, REMEDIES, CONTRIBUTIONS, INDEMNITIES, COSTS, CAUSES
OF ACTION OR LIABILITIES WHATSOEVER, INCLUDING ANY DERIVATIVE
CLAIMS OR CAUSES OF ACTION, THAT THE DEBTORS, THEIR ESTATES, THE
REORGANIZED DEBTORS OR THE LIQUIDATING DEBTORS WOULD HAVE
BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
CLAIM OR INTEREST OR ANOTHER ENTITY, WHETHER LIQUIDATED OR
UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR ARISING,
IN LAW, EQUITY, CONTRACT, TORT, OR OTHERWISE, BY STATUTE,
VIOLATIONS OF FEDERAL, STATE, PROVINCIAL, FOREIGN, OR TERRITORIAL
SECURITIES LAWS, OR OTHERWISE THAT THE DEBTORS, THE REORGANIZED
DEBTORS, THE LIQUIDATING OR THE ESTATES WOULD HAVE BEEN LEGALLY
ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF A CLAIM OR INTEREST
OR OTHER PERSON OR ENTITY, BASED ON, RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
DEBTORS’    IN-   OR    OUT-OF-COURT    RESTRUCTURING     EFFORTS,
INTERCOMPANY TRANSACTIONS, THE DEBTORS’ CHAPTER 11 CASES, THE
FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING
OF THE PLAN SUPPORT AGREEMENT, THE PLAN SUPPORT AGREEMENT
ORDER, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE DIP ORDER,
THE DIP AMENDMENT ORDER, THE PLAN, THE SECURED NOTE PURCHASE
AGREEMENT, THE TRANSACTION AND ANY CONTRACT, INSTRUMENT,
RELEASE, OR ANOTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED
INTO IN CONNECTION WITH THE FOREGOING, AND ANY EXHIBITS OR
DOCUMENTS RELATED THERETO, THE FILING OF THESE CHAPTER 11 CASES,
THE PURSUIT OF CONFIRMATION, INCLUDING THE SOLICITATION OF VOTES
WITH RESPECT TO THE PLAN, THE PURSUIT OF CONSUMMATION, THE
ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
PURCHASE, SALE, ISSUANCE, DISTRIBUTION, OR CANCELLATION OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITIES PURSUANT TO
THE PLAN, OR THE DISTRIBUTIONS UNDER THE PLAN OR ANY OTHER
RELATED AGREEMENT, OR UPON ANY OTHER ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE. FOR THE AVOIDANCE OF
DOUBT, NO RELEASE IN PLAN SECTION XI.E. SHALL BE GIVEN FOR: (I) THE
DEBTORS’ COUNTERCLAIMS, SETOFFS, OR DEFENSES TO CLAIMS OR (II) ANY
OBLIGATIONS OF ANY NON-DEBTOR COUNTERPARTY UNDER ASSUMED
CONTRACTS.

                  b.     Third-Party Releases by Holders of Claims and Interests

    AS OF THE EFFECTIVE DATE, EACH RELEASING PARTY IS DEEMED TO
HAVE RELEASED AND DISCHARGED EACH DEBTOR, EACH LIQUIDATING


                                        -67-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 80 of 342



DEBTOR, EACH REORGANIZED DEBTOR, AND EACH RELEASED PARTY FROM
ANY AND ALL CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN THAT
SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
(WHETHER INDIVIDUALLY OR COLLECTIVELY, INCLUDING ANY DERIVATIVE
CLAIMS), BASED ON OR RELATING TO OR IN ANY MANNER ARISING FROM, IN
WHOLE OR IN PART, THE DEBTORS, THE DEBTORS’ IN- OR OUT-OF-COURT
RESTRUCTURING EFFORTS, INTERCOMPANY TRANSACTIONS, THE DEBTORS’
CHAPTER 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
NEGOTIATION, OR FILING OF THE PLAN SUPPORT AGREEMENT, THE PLAN
SUPPORT AGREEMENT ORDER, THE DISCLOSURE STATEMENT, THE DIP
FACILITY, THE DIP ORDER, THE DIP AMENDMENT ORDER, THE PLAN, THE
SECURED NOTE PURCHASE AGREEMENT, THE TRANSACTION AND ANY
CONTRACT, INSTRUMENT, RELEASE, OR ANOTHER AGREEMENT OR
DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE
FOREGOING, AND ANY EXHIBITS OR DOCUMENTS RELATED THERETO, THE
FILING OF THESE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION,
INCLUDING THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, THE
PURSUIT     OF    CONSUMMATION,     THE     ADMINISTRATION    AND
IMPLEMENTATION OF THE PLAN, INCLUDING THE PURCHASE, SALE,
ISSUANCE, DISTRIBUTION, OR CANCELLATION OR RESCISSION OF THE
PURCHASE OR SALE OF ANY SECURITIES PURSUANT TO THE PLAN, OR THE
DISTRIBUTIONS UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT,
OR UPON ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

        The Debtors intend to obtain Bankruptcy Court approval of the foregoing third party
releases under two alternative bases. First, that the releases are consensual for all those parties
who do not opt-out of the third party releases as described in the following paragraph.
Consequently, if you do not want to grant a release, you must opt out as described in the
following paragraphs. Second, the Debtors may seek to demonstrate at the Confirmation
Hearing that such third-party releases is warranted on a non-consensual basis as described infra
in Section VI.B.

     FOR THE AVOIDANCE OF DOUBT, THE ONLY PARTIES THAT ARE BOUND
BY THE RELEASE SET FORTH IN SECTION XI.E.2 OF THE PLAN ARE: (A) THE
RELEASED PARTIES; (B) PARTIES WHO VOTE IN FAVOR OF THE PLAN AND DO
NOT OPT OUT OF THE RELEASE PROVIDED IN SECTION XI.E.2 OF THE PLAN IN
A TIMELY AND PROPERLY SUBMITTED BALLOT; (C) PARTIES WHO ARE
ENTITLED TO VOTE BUT DO NOT VOTE AND DO NOT OPT OUT OF THE
RELEASE PROVIDED IN SECTION XI.E.2 OF THE PLAN IN A TIMELY AND
PROPERLY SUBMITTED BALLOT; AND (D) PARTIES WHO ARE DEEMED TO
ACCEPT THE PLAN AND DO NOT OPT OUT OF THE RELEASE PROVIDED IN
SECTION XI.E.2 OF THE PLAN BY SUBMITTING A DULY COMPLETED OPT-OUT
FORM.




                                               -68-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39      Main Document
                                         Pg 81 of 342



     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE ANY
INDIVIDUAL FROM ANY CLAIM OR CAUSES OF ACTION RELATED TO AN ACT
OR OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD,
WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE.

               4.      Injunction

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
HOLD CLAIMS OR INTERESTS OR CAUSES OF ACTION THAT HAVE BEEN
RELEASED, DISCHARGED, OR ARE SUBJECT TO EXCULPATION UNDER THE
PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE
DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS
APPLICABLE, THE DEBTORS, THE REORGANIZED DEBTORS, THE
LIQUIDATING DEBTORS, THE EXCULPATED PARTIES, OR THE RELEASED
PARTIES: (A) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION
OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
WITH ANY SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION; (B)
ENFORCING, ATTACHING, COLLECTING, OR RECOVERING ANY JUDGMENT,
AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR
IN CONNECTION WITH ANY SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION; (C) CREATING, PERFECTING, OR ENFORCING AN ENCUMBRANCE OF
ANY KIND AGAINST SUCH ENTITIES OR THEIR PROPERTIES ON ACCOUNT OF
OR IN CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION; (D) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE
RIGHT TO PERFORM SUCH SETOFF, NOTWITHSTANDING AN INDICATION IN
ANY PROOF OF CLAIM OR OTHERWISE THAT SUCH HOLDER ASSERTS, HAS,
OR INTENDS TO PRESERVE THE RIGHT OF SETOFF PURSUANT TO
APPLICABLE LAW OR OTHERWISE; AND (E) COMMENCING OR CONTINUING
ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN
CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION.

     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE INJUNCTION SET FORTH ABOVE SHALL NOT ENJOIN THE
PLAN SPONSOR FROM EXERCISING ANY OF ITS RIGHTS UNDER THE PLAN
SUPPORT AGREEMENT PRIOR TO THE EFFECTIVE DATE.

               5.      Scope of Discharge, Release, or Injunction With Respect to the United
                       States of America

      As to the United States of America, its agencies, departments, or agents (collectively,


                                             -69-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 82 of 342



the “United States”), nothing in this Plan or the Confirmation Order shall limit or expand the
scope of discharge, release or injunction to which the Debtors or Reorganized Debtors are
entitled to under the Bankruptcy Code, if any. The discharge, release, and injunction provisions
contained in this Plan and the Confirmation Order are not intended and shall not be construed to
bar the United States from, subsequent to the Confirmation Order, pursuing any police or
regulatory action except to the extent the applicable Bar Date or the discharge, release,
exculpation or injunction provisions of the Plan bar a Governmental Unit from pursuing
prepetition Claims against the Debtors or Reorganized Debtors.

        Accordingly, notwithstanding anything contained herein or in the Confirmation Order to
the contrary, nothing herein or the Confirmation Order shall discharge, release, impair or
otherwise preclude: (1) any liability to the United States that is not a “claim” within the meaning
of section 101(5) of the Bankruptcy Code; (2) any Claim of the United States arising on or after
the Effective Date; or (3) any valid right of setoff or recoupment of the United States against any
of the Debtors. Nothing herein or in the Confirmation Order shall: (i) enjoin or otherwise bar the
United States from asserting or enforcing, outside the Bankruptcy Court, any liability described
in the preceding sentence; or (ii) divest any court, commission, or tribunal of jurisdiction to
determine whether any liabilities asserted by the United States are discharged or otherwise
barred by this Plan, the Confirmation Order or the Bankruptcy Code.

        Moreover, nothing herein or in the Confirmation Order shall release or exculpate any
non-Debtor, including any Released Parties and/or Exculpated Parties that are not Debtors, from
any liability to the United States, including but not limited to any liabilities arising under the
Internal Revenue Code, the environmental laws, or the criminal laws against the Released Parties
and/or Exculpated Parties, nor shall anything herein or in the Confirmation Order enjoin the
United States from bringing any claim, suit, action or other proceeding against any non-Debtor
for any liability whatsoever; provided, that the foregoing sentence shall not (x) limit the scope of
discharge granted to the Debtors and the Reorganized Debtors under sections 524 and 1141 of
the Bankruptcy Code, or (y) diminish the scope of any exculpation to which any party is entitled
under section 1125(e) of the Bankruptcy Code.

        Without limiting the application of section 1145 of the Bankruptcy Code, nothing
contained herein or in the Confirmation Order shall be deemed to determine the tax liability of
any person or entity, including but not limited to the Debtors and the Reorganized Debtors, nor
shall this Plan or the Confirmation Order be deemed to have determined the federal tax treatment
of any item, distribution, or entity, including the federal tax consequences of this Plan, nor shall
anything in this Plan or Confirmation Order be deemed to have conferred jurisdiction upon the
Bankruptcy Court to make determinations as to federal tax liability and federal tax treatment
except as provided under 11 U.S.C. § 505.

               6.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays arising under or entered during the pendency of these cases under section 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order providing
for such injunction or stay; provided, however, that in no event shall the Plan or the


                                               -70-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 83 of 342



Confirmation Order be construed as enjoining the Plan Sponsor from exercising any of its rights
under the Plan Support Agreement prior to the Effective Date.

               7.      Ipso Facto and Similar Provisions Ineffective

        Any term of any prepetition policy, contract, or other obligation applicable to a Debtor
shall be void and of no further force or effect to the extent that such policy, contract, or other
obligation is conditioned on, creates an obligation as a result of, or gives rise to a right of any
Entity based on (i) the insolvency or financial condition of a Debtor, (ii) the commencement of
these chapter 11 cases, (iii) the confirmation or consummation of the Plan, or (iv) the
Transaction.

VI.    STATUTORY REQUIREMENTS FOR CONFIRMATION

       The following is a brief summary of the requirements for Confirmation. Holders of
Claims and Interests are encouraged to review the relevant provisions of the Bankruptcy Code
and to consult their own advisors with respect to the summary provided in this Disclosure
Statement.

       A.      REQUIREMENTS FOR CONFIRMATION

       For the Plan to be confirmed, the Plan (and the Debtors as proponents of the Plan) must
comply with section 1129 of the Bankruptcy Code. Among the requirements for Confirmation
pursuant to section 1129 of the Bankruptcy Code are: (1) the Plan is accepted by all Impaired
Classes of Claims, or if rejected by any Impaired Class, the Plan “does not discriminate unfairly”
and is “fair and equitable” as to such rejecting Impaired Class; (2) the Plan is feasible; (3) the
Plan is in the “best interests” of holders of Claims and Interests, and (4) the Plan has been
proposed in good faith.

        The Debtors believe that: (1) the Plan satisfies, or will satisfy, all of the requirements of
section 1129 of the Bankruptcy Code; and (2) the Debtors have complied, or will have complied,
with all of the requirements of section 1129 of the Bankruptcy Code.

               1.      Acceptance by Impaired Classes

        For a plan to be confirmable, section 1129(a)(8) of the Bankruptcy Code requires that
each “impaired” class of claims and interests accepts the plan. Any class that is “unimpaired”
under a plan is presumed to have accepted the plan. Pursuant to section 1124 of the Bankruptcy
Code, a class is “impaired” unless, with respect to each claim or interest in such class, the plan:
(1) leaves unaltered the legal, equitable and contractual rights to which such claim or interest
entitles the holder of such claim; or (2) cures any default, reinstates the maturity of such claim or
interest as such maturity existed before such default and compensates the holder of such claim or
interest for any damages incurred.

        Under the Plan, the only Classes that are both Impaired and may be entitled to receive a
Distribution under the Plan are Classes 1, 4 and 5. Accordingly, only Class 1, 4 and 5 are
entitled to vote to accept or reject the Plan.



                                                -71-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 84 of 342



               2.      Best Interests of Creditors

        Pursuant to section 1129(a)(7), notwithstanding acceptance of the Plan by a voting
Impaired Class, to confirm the Plan, the Bankruptcy Court must still independently determine
that the Plan is in the best interests of each holder of a Claim in such Class that has not voted to
accept the Plan. The Plan will be deemed to be in the best interests of such claimants if it
provides to each such claimant a recovery that is at least equal in value to the recovery that such
claimant would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code
on the Effective Date. Accordingly, if the holders of Claims in Class 1, Class 4 or Class 5 do not
unanimously vote to accept the Plan, the Bankruptcy Court will need to determine whether the
Plan provides to each rejecting holder a recovery on account of its Claim that has a value, as of
the Effective Date, at least equal to the value that each such holder would receive if the Debtors
were liquidated under chapter 7 on the Effective Date. Based on the liquidation analysis attached
hereto as Annex B (the “Liquidation Analysis”), the Debtors believe that the Plan satisfies the
best interests of creditors test.

        Recoveries in a chapter 7 case, as compared to the Distribution provided under the Plan,
would be further reduced by (i) the delay necessarily resulting from the appointment of a chapter
7 trustee with no familiarity with the Debtors’ assets and business, (ii) the fees and expenses of
such trustee and any professionals he or she will retain, and (iii) additional Administrative
Expense Claims.

        Additionally, sales organized under a chapter 7 liquidations will often yield depressed
values because the sale is conducted under more or less “fire sale” conditions. In particular, it is
unlikely that a chapter 7 trustee appointed by the Bankruptcy Court and overseen by the United
States Trustee’s office in the Southern District of New York will continue to operate the
Debtors’ assets. Besides logistical concerns, the chapter 7 trustee would not likely be familiar
with the intricacies of Debtors’ assets, the Debtors’ business nor would the chapter 7 trustee be
familiar with various regulatory laws related thereto. Thus, an additional layer of advisors and
experts would need to be retained by the chapter 7 trustee, giving rise to additional
administrative expenses that would be entitled to priority.

        Because recoveries under the Plan exceed those in a hypothetical chapter 7 case, the Plan
satisfies the best interests of creditors test.

               3.      Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that, to confirm a chapter 11 plan,
the Bankruptcy Court must find that confirmation of such plan is not likely to be followed by the
liquidation or the need for further financial reorganization of the debtor, unless contemplated by
the plan.

        To determine whether the Plan meets the feasibility requirement, the Debtors analyzed
their ability to meet their respective obligations under the Plan. As part of this analysis, the
Debtors prepared financial projections, attached hereto as Annex C (the “Financial
Projections”). Based on the Financial Projections, the Debtors believe that the Plan satisfies the
feasibility requirement.



                                               -72-
20-22437-rdd         Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                               Pg 85 of 342



           B.     THE   DEBTOR    RELEASES,    THIRD   PARTY                                          RELEASES,
                  EXCULPATION, AND INJUNCTION PROVISIONS

        It is well-settled that debtors are authorized to settle or release their claims in a chapter 11
      17
plan. Debtor releases are granted by courts in the Second Circuit where the debtors establish
that such releases are in the “best interests of the estate.” 18 Courts often find that releases
pursuant to a settlement are appropriate. 19 Additionally, in the Second Circuit, third party
releases are permissible when they are consensual or where “truly unusual circumstances” render
the release terms integral to the success of the plan. 20

        “Unusual circumstances” include: (a) the estate received a substantial contribution; (b)
the enjoined claims were “channeled” to a settlement fund rather than extinguished; (c) the
enjoined claims would indirectly impact the debtors’ reorganization by way of indemnity or
contribution; (d) the plan otherwise provided for the full payment of the enjoined claims; and (e)
the affected creditors consent. 21 Courts typically allow releases of third party claims against
non-debtors where there is the express consent (including pursuant to an opt-out) of the party
giving the release or where other circumstances in the case justify giving the release. 22 Finally,
exculpation provisions that extend to prepetition conduct and cover non-estate fiduciaries are
regularly approved. 23 In approving these provisions, courts consider a number of factors,
including whether the beneficiaries of the exculpation have participated in good faith in
negotiating the plan and bringing it to fruition, and whether the provision is integral to the plan. 24


17
     See In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289, 269 (Bankr. S.D.N.Y. 2007) (debtor may release
     its own claims); In re Oneida Ltd., 351 B.R. 79, 94 n. 21 (Bankr. S.D.N.Y. 2006) (noting that a debtor’s release
     of its own claims does not raise third party release issues).
18
     See In re Charter Commc’ns, 419 B.R. 221, 257 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a
     debtor’s plan, courts consider whether such releases are in the best interest of the estate.”).
19
     See, e.g., In re Spiegel, 2005 WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving releases
     pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re AMR Corp., No.
     11-15463 (SHL) (Bankr. S.D.N.Y. Oct. 22, 2013) (confirming chapter 11 plan containing releases of members,
     directors, officers and employees of the debtors as well as prepetition lenders that were party to a restructuring
     support agreement); see also In re Bally Total Fitness Holding Corp., 2007 WL 2779438, at *12 (“To the extent
     that a release or other provision in the Plan constitutes a compromise of a controversy, this Confirmation Order
     shall constitute an order under Bankruptcy Rule 9019 approving such compromise.”); accord In re Adelphia
     Communications Corp., 368 B.R. 140, 263 n. 289 (Bankr. S.D.N.Y. 2007) (“The Debtors have considerable
     leeway in issuing releases of any claims the Debtors themselves own.”).
20
     In re Metromedia Fiber Network, Inc., 416 F.3d 136, 142-43 (2d Cir. 2005).
21
     Id. at 141.
22
     Id. at 142-43.
23
     See, e.g., Oneida, 351 B.R. at 94 & n.22 (considering an exculpation provision covering a number of prepetition
     actors with respect to certain prepetition actions, as well as postpetition activity).
24
     See In re Bearing Point, Inc., 435 B.R. 486, 494 (Bankr. S.D.N.Y. 2011) (“Exculpation provisions are included
     so frequently in chapter 11 plans because stakeholders all too often blame others for failures to get recoveries
     they desire; seek vengeance against other parties, or simply wish to second guess the decision makers.”); In re
     DBSD N. Am., Inc., 419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009) (same), aff’d, In re DBSD N. Am., Inc., No. 09-
     10156, 2010 WL 1223109 (S.D.N.Y. May 24, 2010), aff’d in part, rev’d in part, 634 F.3d 79 (2d Cir. 2011); In
     re Bally Total Fitness, 2007 WL 2779438, at *8 (finding exculpation, release, and injunction provisions
     appropriate because they were fair and equitable, necessary to successful reorganization, and integral to the
     plan); In re WorldCom, Inc., No. 02-13533, 2003 WL 23861928, at *28 (Bankr. S.D.N.Y. Oct. 31, 2003)
     (approving an exculpation provision where it “was an essential element of the [p]lan formulation process and
     negotiations”); Enron, 326 B.R. 497, 503 (S.D.N.Y. 2005) (excising similar exculpation provisions would “tend


                                                         -73-
20-22437-rdd         Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                              Pg 86 of 342



         “Most courts allow consensual [third party] releases to be included in a plan.” 25 Courts
in this district have found that parties consent to give releases when they vote in favor of the plan
or when they abstain from voting but do not opt out of releases. 26 Third party releases may also
be deemed consensual for unimpaired creditors who are deemed to accept the plan. 27 Here, the
third party releases are consensual with respect to all of the Released Parties. Importantly, the
Ballots to be distributed to holders of Claims entitled to vote on the Plan quote the entirety of the
Releases and related provisions and definitions of the Plan, clearly informing holders of Claims
entitled to vote of the steps they should take if they disagree with the scope of the Release.28
Thus, affected parties are on notice of the third party release and given the express opportunity to
opt-out of the third party releases. As a result, the third party releases are consensual under the
majority of precedent in this jurisdiction, and the Bankruptcy Court need not consider the other
Metromedia factors with respect to such aspects.

        The Debtors believe that the Releases contained in the Plan meet the Second Circuit’s
well established criteria for when such provisions are “important to a debtor’s plan” and “where
the released party provides substantial consideration” which are present here as more fully
described above and as will be demonstrated at the Confirmation Hearing. Contrary to the
assertions made by the Committee, the Releases are an integral component of the Plan and the
DIP Secured Parties, the Prepetition Secured Parties, the Debtors’ Directors and Officers and all
Released Parties have made substantial contributions to these cases to justify the releases.

        Moreover, the Debtors are of the view that the Claims that are subject to Release are of,
at best, minimal value when compared to the certain value achieved to the Estates through the
Plan. Absent the Releases contemplated in the Plan, the Debtors believe that the parties in
interest that both negotiated for, and relied upon, the prospect of the Releases in negotiations
would not have otherwise committed to the result reflected in the Plan Support Agreement and
the Plan. In this regard, too, the Releases are an integral part of the Plan. The Debtors believe

     to unravel the entire fabric of the Plan, and would be inequitable to all those who participated in good faith to
     bring it into fruition”).
25
     In re Wool Growers Cent. Storage Co., 371 B.R. 768, 775 (Bankr. N.D. Tex. 2007); see also Indianapolis
     Downs, 486 B.R. 286, 305 (Bankr. Del. 2013) (“Courts in this jurisdiction have consistently held that a plan
     may provide for a release of third party claims against a non-debtor upon consent of the party affected.”).
26
     See In re Metromedia Fiber Network, Inc., 416 F.3d at 142 (“Nondebtor releases may also be tolerated if the
     affected creditors consent.”); In re Calpine Corp., No. 05-60200 BRL, 2007 WL 4565223, at *10 (Bankr.
     S.D.N.Y. Dec. 19, 2007) (“Such releases by Holders of Claims and Interests provide for the release by Holders
     of Claims and Interests that vote in favor of the Plan, who abstain from voting and choose not to opt out of the
     releases, or who have otherwise consented to give a release, and are consensual.”); DBSD N. Am., 419 B.R. at
     218–19 (“Except for those who voted against the Plan, or who abstained and then opted out, I find the Third
     Party Release provision consensual and within the scope of releases permitted in the Second Circuit.”);
     Adelphia, 368 B.R. at 268 (upholding non-debtor releases for creditors who voted to accept the plan because
     creditors consented to the releases through their vote to support the plan); In re Lear Corp., No. 09–14326, 2009
     WL 6677955, at *7 (Bankr. S.D.N.Y. Nov. 5, 2009) (finding that non-debtor releases for creditors who voted to
     accept the plan were permissible).
27
     See Indianapolis Downs, 486 B.R. at 306 (finding that the releases, which included releases of unimpaired
     creditors who were deemed to accept the plan, “may be properly characterized as consensual”).
28
     See, e.g., In re Crabtree & Evelyn, Ltd., No. 09-14267 (BRL), 2010 WL 3638369, at *7 (Bankr. S.D.N.Y. Jan
     14. 2010) (finding that where creditors have accepted the plan and the non-debtor releases were appropriately
     disclosed by the debtors in both the disclosure statement and the ballot, the creditors have expressly consented
     to the non-debtor releases and therefore, the non-debtor releases satisfy the standards set forth in Metromedia
     for granting non-debtor releases and are fair to the releasing parties).


                                                        -74-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 87 of 342



that the Releases are narrowly tailored and should be approved as an essential part of the Plan.

       C.      ALTERNATIVE PLANS

        The Debtors do not believe that there are any alternative plans for their reorganization.
The Debtors believe that the Plan, as described therein, enables holders of Claims to realize the
greatest possible value under the circumstances and that, compared to any alternative plan, the
Plan has the greatest chance to be confirmed and consummated.

       D.      CONFIRMATION HEARING

        As set forth in the Disclosure Statement Order, the Bankruptcy Court has scheduled
the Confirmation Hearing for October 2, 2020 at 10:00 A.M. (prevailing Eastern Time).
The Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without
further notice except for an announcement of the adjourned date made at the Confirmation
Hearing or the filing of a notice of such adjournment served in accordance with the Disclosure
Statement Order. Unless an objection to the Plan is timely served and filed, it may not be
considered by the Bankruptcy Court.

VII.   RISK FACTORS

        Holders of Claims should read and carefully consider the risk factors set forth below, as
well as the other information set forth in this Disclosure Statement and the documents delivered
together with this Disclosure Statement, referred to or incorporated by reference in this
Disclosure Statement, before reaching their own views prior to voting to accept or reject the
Plan. These factors should not be regarded as constituting the only risks present in connection
with the Debtors’ business or the Plan and its implementation. All of these factors are
contingencies which may or may not occur and the Debtors are not in a position to express a
view on the likelihood of any such contingency occurring.

       A.      CERTAIN BANKRUPTCY CONSIDERATIONS

               1.      The Debtors May Not Be Able to Secure Confirmation

        Although section 1129(b) of the Bankruptcy Code allows, under certain circumstances,
confirmation of a plan even where not all Impaired Classes accept the Plan, section 1129(a)(10)
requires that at least one Impaired Class has accepted the Plan. There can be no assurance that
the requisite acceptances to confirm the Plan will be received. As discussed above, Class 1, 4 or
5 are the only Impaired Classes entitled to vote on the Plan. If none of Class 1, Class 4 and Class
5 vote to accept the Plan, the Plan will not comply with the confirmation requirements of section
1129.

       Even if the requisite acceptances are received, there can be no assurance that the
Bankruptcy Court will confirm the Plan. The Bankruptcy Court may find that the statutory
requirements for Confirmation have not been met, including the best interest of creditors test.

      The Debtors, subject to the terms and conditions of the Plan and the Plan Support
Agreement, reserve the right to modify the terms and conditions of the Plan as necessary for


                                               -75-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 88 of 342



Confirmation. Any such modifications may result in a less favorable treatment of any Class than
the treatment currently provided in the Plan. Such a less favorable treatment may include a
Distribution of a lesser value than currently provided in the Plan.

       In the event the Plan is not confirmed, the Debtors may seek to pursue another strategy to
reorganize the Debtors, such as an alternative chapter 11 plan (which, as described above the,
Debtor does not believe is available), a dismissal of these cases and an out-of-court dissolution,
an assignment for the benefit of creditors, a conversion to a chapter 7 cases or other strategies.
There can be no assurance that the terms of any such alternative strategies would be similar or as
favorable to the holders of Allowed Claims as those proposed in the Plan.

               2.      Releases, Injunctions and Exculpations Provisions May Not Be
                       Approved

        Section XI of the Plan provides for certain releases, injunctions, and exculpations, for
claims and Causes of Action that may otherwise be asserted against the Debtors, the Reorganized
Debtors, the exculpated parties, or the Released Parties, as applicable. The releases, injunctions,
and exculpations provided in the Plan are subject to objection by parties in interest and may not
be approved. If the releases and exculpations are not approved, certain parties may not be
considered Releasing Parties, Released Parties, or exculpated parties, and certain Released
Parties or Exculpated Parties may withdraw their support for the Plan.

               3.      Risks Related to Possible Objections to the Plan

        There is a risk that certain parties could oppose and object to either the entirety of the
Plan or specific provisions of the Plan. Although the Debtors believe that the Plan complies with
all relevant Bankruptcy Code provisions, there can be no guarantee that a party in interest will
not file an objection to the Plan or that the Bankruptcy Court will not sustain such an objection.
An objection that is sustained and is contrary to the terms of the Plan Support Agreement could
lead to a failure of a condition to effectiveness of the Plan.

               4.      Risk of Termination of the Plan Support Agreement

         The Plan Support Agreement contains certain provisions that give the Plan Sponsor the
ability to terminate the Plan Support Agreement if various conditions are satisfied or not satisfied
(as applicable), including, among others, (i) if the Debtors lose the exclusive right to file a plan
or plans of reorganization or to solicit acceptances thereof pursuant to section 1121 of the
Bankruptcy Code, (ii) a trustee or an examiner with expanded powers is appointed in any of
these chapter 11 cases, (iii) any of these chapter 11 cases are dismissed or converted to a case
under chapter 7 of the Bankruptcy Code, (iv) failure of the Debtors to meet certain milestones,
and (v) the Debtors’ pursuit of a Plan inconsistent with the terms of the Plan Support Agreement
and Plan Term Sheet. Termination of the Plan Support Agreement could result in protracted
chapter 11 cases, have a negative impact on the Debtors’ ability to consummate the Transaction
and implement the Plan, and could significantly and detrimentally impact the Debtors’
relationships with vendors, suppliers, employees, and major customers.

               5.      Risk of Nonoccurrence of the Effective Date



                                               -76-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 89 of 342



         The Plan Support Agreement contains numerous conditions that must be met by the
Effective Date. There can be no assurance as to such timing or as to whether the Effective Date
will, in fact, occur as there can be no assurance of the satisfaction of certain conditions precedent
to the Effective Date, including consummation of the Transaction.

       B.      RISK FACTORS THAT MAY AFFECT RECOVERIES AVAILABLE TO
               HOLDERS OF ALLOWED CLAIMS UNDER THE PLAN

               1.      Claims May Be Higher Than Projected

       There can be no assurance that the estimated Allowed number of certain Claims will not
be significantly more than projected, which could cause the value of pro rata Distributions to be
reduced substantially. Inevitably, some assumptions will not materialize, and unanticipated
events and circumstances may affect the ultimate results.

               2.      The Debtors Cannot Guarantee Recoveries or the Timing of such
                       Recoveries

       Although the Debtors have made commercially reasonable efforts to project recoveries to
the holders of Allowed Claims, it is possible that the amount of Allowed Claims will be
materially higher than any range the Debtors have considered to date, and thus recoveries could
be materially reduced or eliminated. In addition, the timing of actual Distributions to holders of
Allowed Claims may be affected by many factors that cannot be predicted. Therefore, the
Debtors cannot guarantee the timing of any recovery on an Allowed Claim.

       C.      DISCLOSURE STATEMENT DISCLAIMER

               1.      The Financial Information Contained in this Disclosure Statement Has
                       Not Been Audited

        In preparing this Disclosure Statement, the Debtors and their advisors relied on financial
data derived from the Debtors’ books and records that was available at the time of such
preparation. Although the Debtors have used their reasonable business judgment to ensure the
accuracy of the financial information, and any conclusions or estimates drawn from such
financial information, and although the Debtors believe that such financial information fairly
reflects the financial condition of the Debtors, the Debtors are unable to represent or warrant that
the financial information contained herein and in the Plan, or any such conclusions or estimates
drawn therefrom, is without inaccuracies.

               2.      Information Contained in this Disclosure Statement Is for Soliciting
                       Votes

       The information contained in this Disclosure Statement is for the purpose of soliciting
acceptances of the Plan and may not be relied upon for any other purpose.

               3.      The Disclosure Statement May Contain Forward Looking Statements




                                                -77-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 90 of 342



       This Disclosure Statement may contain “forward looking statements” within the meaning
of the Private Securities Litigation Reform Act of 1995. Such statements consist of any
statement other than a recitation of historical fact and can be identified by the use of forward
looking terminology such as “may,” “will,” “might,” “expect,” “believe,” “anticipate,” “could,”
“would,” “estimate,” “continue,” “pursue” or the negative thereof or comparable terminology.
All forward-looking statements are necessarily speculative, and there are certain risks and
uncertainties that could cause actual events or results to differ materially from those referred to
in such forward looking statements. The information contained herein and in the Plan is an
estimate only, based upon information currently available to the Debtors.

               4.      No Legal or Tax Advice is Provided to You by this Disclosure Statement

        This Disclosure Statement is not legal advice to you. The contents of this Disclosure
Statement should not be construed as legal, business or tax advice. Each holder of a Claim or an
Interest should consult his or her own legal counsel, accountant or other applicable advisor with
regard to any legal, tax and other matters concerning his, her or its Claim or Interest. This
Disclosure Statement may not be relied upon for any purpose other than to determine (i) how to
vote on the Plan, (ii) whether or not to opt-out of the Releases as set forth in Section XI.E of the
Plan, and (iii) whether or not object to Confirmation.

               5.      No Admissions Made

        The information and statements contained in this Disclosure Statement will neither
(a) constitute an admission of any fact or liability by any Entity (including, without limitation,
the Debtors) nor (b) be deemed evidence of the tax or other legal effects of the Plan on the
Debtors, holders of Allowed Claims or Allowed Interests or any other parties in interest.

               6.      Failure to Identify Objections

       No reliance should be placed on the fact that a projected objection to a particular Claim
is, or is not, identified in this Disclosure Statement. The Reorganized Debtors and/or
Liquidating Debtors, as applicable, may object to Claims after the Effective Date irrespective of
whether this Disclosure Statement identifies objections to such Claims.

               7.      No Waiver of Right to Object or Right to Recover Transfers and Assets

        The vote by a holder of a Claim for or against the Plan does not constitute a waiver or
release of any claims, causes of action or rights of the Debtors (or any other Entity, as the case
may be) to object to that holder’s Claim, or recover any preferential, fraudulent or other voidable
transfer, regardless of whether any Claims or Causes of Action of the Debtors or their Estates are
specifically or generally identified in this Disclosure Statement.

               8.      Information was Provided by the Debtors and was Relied Upon by the
                       Debtors’ Advisors

       The Debtors’ advisors have relied upon information provided by the Debtors in
connection with the preparation of this Disclosure Statement. Although the Debtors’ advisors
have performed certain limited due diligence in connection with the preparation of this


                                               -78-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 91 of 342



Disclosure Statement, they have not independently verified the information contained in the Plan
and in this Disclosure Statement.

               9.      No Representations Outside this Disclosure Statement are Authorized

       No representations concerning or relating to the Debtors, these cases or the Plan are
authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement and the Committee Letter. Any representations or inducements made to
secure your acceptance or rejection of the Plan other than as contained in this Disclosure
Statement and the Committee Letter should not be relied upon by you in arriving at your
decision. You should promptly report unauthorized representations or inducements to counsel to
the Debtors and the U.S. Trustee.

       D.      RISKS RELATING TO SECURITIES TO BE ISSUED UNDER THE PLAN

               1.      Market for Securities

        There is currently no market for the New Equity Interests or BidCo Equity Consideration,
and the Reorganized Debtors are under no obligation to list any securities on any securities
exchange. Therefore, there can be no assurance that any of the foregoing securities will be
tradable or liquid at any time after the Effective Date. If a trading market does not develop or is
not maintained, holders of the foregoing securities may experience difficulty in reselling such
securities or may be unable to sell them at all. Even if such a market were to exist, such
securities could trade at prices higher or lower than the estimated value set forth in the
Disclosure Statement depending upon many factors including prevailing interest rates, markets
for similar securities, industry conditions, and the performance of, and investor expectations for
the Reorganized Debtors and BidCo. Accordingly, holders of these securities may bear certain
risks associated with holding securities for an indefinite period of time.

               2.      Potential Dilution

        The ownership percentage represented by the New Equity Interests or BidCo Equity
Consideration distributed on the Effective Date under the Plan may be subject to dilution from
the conversion of any options, warrants, convertible securities, exercisable securities, or other
securities that may be issued postemergence, including, as a result of the conversion of the
Interim Funding Claims into BidCo Equity Interests on the Effective Date. In the future, similar
to all companies, additional equity financings or other share issuances by the Reorganized
Debtors or BidCo could adversely affect the value of the New Equity Interests and the BidCo
Equity Interests. The amount and dilutive effect of any of the foregoing could be material.

        The ownership percentage represented by the New Equity Interests or BidCo Equity
Consideration distributed on the Effective Date under the Plan may be subject to dilution from
the conversion of any options, warrants, convertible securities, exercisable securities, or other
securities that may be issued postemergence, including, as a result of the conversion of the
Interim Funding Claims into BidCo Equity Interests on the Effective Date. In the future, similar
to all companies, additional equity financings or other share issuances by the Reorganized
Debtors or BidCo could adversely affect the value of the New Equity Interests and the BidCo
Equity Interests. The amount and dilutive effect of any of the foregoing could be material


                                               -79-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 92 of 342



               3.      Equity Interests Subordinated to Indebtedness

        In any subsequent liquidation, dissolution, or winding down of the Reorganized Debtors,
the New Equity Interests would rank below all debt claims against the Reorganized Debtors. As
a result, holders of the New Equity Interests will not be entitled to receive any payment or other
Distribution of assets upon the liquidation, dissolution, or winding down of the Reorganized
Debtors until after all the applicable entity’s obligations to their debt holders have been satisfied.

               4.      Implied Value of New Equity Interests or BidCo Equity Interests Not
                       Intended to Represent Trading Value of New Equity Interests and BidCo
                       Equity Interests, Respectively

        The implied value of the Reorganized Debtors is not intended to represent the trading
value of New Equity Interests or BidCo Equity Interests in public or private markets and is
subject to additional uncertainties and contingencies, all of which are difficult to predict. Actual
market prices of such securities at issuance will depend upon, among other things: (a) prevailing
interest rates; (b) conditions in the financial markets; (c) the anticipated initial securities of
creditors receiving New Equity Interests or BidCo Equity Interests under the Plan, some of
which may prefer to liquidate their investment rather than hold it on a long-term basis; and (d)
other factors that generally influence the prices of securities. The actual market price of the New
Equity Interests and BidCo Equity Interests are likely to be volatile. Many factors, including
factors unrelated to the actual operating performance of the Reorganized Debtors and BidCo, and
other factors not possible to predict, could cause the market price of the New Equity Interests or
BidCo Equity Interests to rise and fall. Accordingly, the implied value, stated herein and in the
Plan, of the securities to be issued does not necessarily reflect, and should not be construed as
reflecting, values that will be attained for the New Equity Interests or BidCo Equity Interests in
the public or private markets.

               5.      No Dividends

        The Reorganized Debtors may not pay any dividends on the New Equity Interests and
may instead retain any future cash flows for debt reduction and to support operations. Similarly,
BidCo may not pay any dividends on the BidCo Equity Interests and may instead retain any
future cash flows for debt reduction and to support its operations. As a result, the success of an
investment in the New Equity Interests or BidCo Equity Interests may depend entirely upon any
future appreciation in the value of the New Equity Interests or BidCo Equity Interests, as
applicable. There is no guarantee that the New Equity Interests or BidCo Equity Interests will
appreciate in value or even maintain their initial value.

       E.      RISKS RELATED TO THE DEBTORS’ BUSINESSES

               1.      Macroeconomic Conditions

       On March 11, 2020, the spread of COVID-19 (also known as coronavirus) was declared a
“pandemic” by the World Health Organization. The situation with respect to COVID-19
continues to evolve rapidly. The extent to which COVID-19 may impact the Debtors’
operational and financial performance is uncertain.



                                                -80-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 93 of 342



               2.      Financial Results May Be Volatile and May Not Reflect Historical
                       Trends

       The Financial Projections attached hereto as Annex C are based on assumptions that are
an integral part of the projections, including Confirmation and implementation of the Plan in
accordance with its terms, the anticipated future performance of the Reorganized Debtors,
industry performance, general business and economic conditions, and other matters, many of
which are beyond the control of the Reorganized Debtors and some or all of which may not
materialize.

        In addition, unanticipated events and circumstances occurring after the date hereof may
affect the actual financial results of the Debtors’ operations. These variations may be material
and may adversely affect the value of the New Equity Interests and the ability of the Debtors to
make payments with respect to their indebtedness. Because the actual results achieved may vary
from projected results, perhaps significantly, the Financial Projections should not be relied upon
as a guarantee or other assurance of the actual results that will occur.

        Further, during the chapter 11 cases, the Debtors’ financial results may be volatile as
restructuring activities and expenses, contract terminations and rejections, and claims
assessments significantly impact the Debtors’ consolidated financial statements. As a result, the
Debtors’ historical financial performance likely will not be indicative of their financial
performance after the Petition Date. In addition, if the Debtors emerge from the chapter 11
cases, the amounts reported in subsequent consolidated financial statements may materially
change relative to historical consolidated financial statements, including as a result of revisions
to the Debtors’ operating plans pursuant to a plan of reorganization. The Debtors also may be
required to adopt fresh start accounting, in which case their assets and liabilities will be recorded
at fair value as of the fresh start reporting date, which may differ materially from the recorded
values of assets and liabilities on the Debtors’ consolidated balance sheets. The Debtors’
financial results after the application of fresh start accounting also may be different from
historical trends.

        Lastly, the business plan was developed by the Debtors with the assistance of their
advisors. There can be no assurances that the Debtors’ business plan will not change, perhaps
materially, as a result of decisions that the board of directors may make after fully evaluating the
strategic direction of the Debtors and their business plan. Any deviations from the Debtors’
existing business plan would necessarily cause a deviation in the Financial Projections.

               3.      The Debtors’ Substantial Liquidity Needs May Impact the Plan

        The Debtors operate in a capital-intensive industry. The Debtors face uncertainty
regarding the adequacy of their liquidity and capital resources. In addition to the cash necessary
to fund ongoing operations, the Debtors have incurred significant professional fees and other
costs in connection with preparing for the chapter 11 cases and expect to continue to incur
significant professional fees and costs throughout the chapter 11 cases. The Debtors cannot
guarantee that Cash on hand, Cash paid provided by the Plan Sponsor and Cash provided by the
DIP Agreement will be sufficient to continue to fund their operations and allow the Debtors to




                                                -81-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                         Pg 94 of 342



satisfy obligations related to the chapter 11 cases until the Debtors are able to emerge from
bankruptcy protection.

        The Debtors’ liquidity, including the ability to meet ongoing operational obligations, will
be dependent upon, among other things: (a) their ability to comply with the terms and condition
of the DIP Agreement, the DIP Order, the DIP Amendment Order, and the Cash Collateral Order
in connection with the chapter 11 cases; (b) their ability to maintain adequate cash on hand;
(c) their ability to develop, confirm, and consummate the Plan; and (d) the cost, duration, and
outcome of the chapter 11 cases. The Debtors’ ability to maintain adequate liquidity depends, in
part, upon industry conditions and general economic, financial, competitive, regulatory, and
other factors beyond the Debtors’ control. In the event that Cash on hand, Cash provided by the
sale of the New Equity Interests, and Cash provided under the DIP Agreement are not sufficient
to meet the Debtors’ liquidity needs, the Debtors may be required to seek additional financing.
The Debtors can provide no assurance that additional financing would be available or, if
available, offered to the Debtors on acceptable terms. The Debtors’ access to additional
financing is, and for the foreseeable future likely will continue to be, extremely limited if it is
available at all.

               4.      The Debtors’ Business is Subject to Complex Laws and Regulations
                       That Can Adversely Affect the Cost, Manner, or Feasibility of Doing
                       Business

        The Debtors’ operations are subject to extensive foreign, federal, state and local laws and
regulations, including complex telecommunication and satellite laws and regulations. The
Debtors may be required to make large expenditures to comply with such laws and regulations.
Failure to comply with these laws and regulations may result in the suspension or termination of
operations and subject the Reorganized Debtors to administrative, civil and criminal penalties.
These liabilities and costs could have a material adverse effect on the business, financial
condition, results of operations and cash flows of the Reorganized Debtors.

               5.      The Reorganized Debtors May Be Adversely Affected by Potential
                       Litigation, Including Litigation Arising Out of the Chapter 11 Cases

         The Reorganized Debtors may become parties to future litigation. Litigation can be
expensive and time consuming to prosecute or defend. Such litigation could result in settlements
or damages that could significantly affect the Reorganized Debtors’ financial results. It is also
possible that certain parties will commence litigation with respect to the treatment of their
Claims under the Plan. It is not possible to predict the potential litigation that the Reorganized
Debtors may become party to, nor the final resolution of such litigation. The impact of any such
litigation on the Reorganized Debtors’ businesses and financial stability, however, could be
material.

               6.      The Loss of Key Personnel Could Adversely Affect the Debtors’
                       Operations

       The Debtors’ operations are dependent on a relatively small group of key management
personnel and a highly skilled employee base. The Debtors’ recent liquidity issues and the



                                               -82-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 95 of 342



chapter 11 cases have created distractions and uncertainty for key management personnel and
employees. Because competition for experienced personnel can be significant, the Debtors may
be unable to find adequate replacements with comparable skills and experience and the loss of
such key management personnel could adversely affect the Debtors’ ability to operate their
businesses. In addition, a loss of key personnel or material erosion of employee morale could
have a material adverse effect on the Debtors’ ability to meet expectations, thereby adversely
affecting the Debtors’ businesses and the results of operations.

               7.      Certain Claims May Not Be Discharged and Could Have a Material
                       Adverse Effect on the Debtors’ Corporate Reputation or Brand
                       Perception, Financial Condition, and Results of Operations

        The Bankruptcy Code provides that the confirmation of a plan of reorganization
discharges a debtor from substantially all debts arising prior to confirmation. With few
exceptions, all Claims that arose prior to the Petition Date or before Confirmation (a) would be
subject to compromise and/or treatment under the Plan and/or (b) would be discharged in
accordance with the terms of the Plan. Any Claims not ultimately discharged through the Plan
could be asserted against the Reorganized Debtors and harm the Reorganized Debtors’
reputations and/or damage their brands, which may have an adverse effect on the Reorganized
Debtors’ financial condition and results of operations.

               8.      Recent Global Economic Trends Could Adversely Affect the Debtors’
                       Business, Results of Operations and Financial Condition, Primarily
                       Through Disruption to the Debtors’ Customers’ Businesses

       Recent global economic conditions, including disruption of financial markets, could
adversely affect the Debtors’ business, results of operations and financial condition, primarily
through disrupting their customers’ businesses. Higher rates of unemployment and lower levels
of business activity generally adversely affect the level of demand for certain of the Debtors’
products and services. In addition, continuation or worsening of general market conditions in the
U.S. economy, the departure of the U.K. from the EU single market and customs union or other
national economies important to the Debtors’ businesses may adversely affect the Debtors’
customers’ level of spending, ability to obtain financing for purchases and ability to make timely
payments to the Debtors for their products and services.

               9.      Consent Required Relating to FCC and Other Communications
                       Licenses

         A change in control of the OneWeb entities that hold Spectrum Licenses, market access
“landing rights” licenses or authorizations, SNP and/or TT&C Station licenses or authorizations,
User Terminal experimental licenses or authorizations for launch and in-orbit operations of
satellites will, depending on the type of license, permit, consent or authorization, involve either a
notification requirement to, or alternatively a requirement to obtain consent from, the relevant
national regulatory authority.

        FCC approval will be required to assign the Debtors’ FCC SNP and experimental
licenses to the Reorganized Debtors pursuant to the Plan. Applications requesting such FCC



                                                -83-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 96 of 342



approval will have to detail the change in control of the Reorganized Debtors in order to account
for the New Equity Interests acquired by the Plan Sponsor. Similarly, certain of Debtors’ other
radio-frequency spectrum authorizations, market access licenses and other communications
services related authorizations or licenses may also require disclosure of details associated with
the change in control the Reorganized Debtors. Timing of FCC and other communications
regulatory authority approvals associated with emergence will be difficult to predict.

        The Debtors can provide no assurance that the required regulatory and governmental
consents in connection with the Transaction under the Plan will be obtained. In addition, even if
all required regulatory and other governmental consents are obtained and the closing conditions
are satisfied, no assurance can be given as to the terms, conditions, and timing of the approvals
or clearances.

               10.     CFIUS Approval Required

        The Committee on Foreign Investment in the United States, through powers conferred by
legislation and delegated by the President of the United States, is authorized to conduct
investigations of any investment, acquisition, merger, takeover or other transaction that could
result in a foreign person acquiring (A) control of a U.S. business or (B) with respect to U.S.
businesses that deal with “critical technology,” “critical infrastructure” or “sensitive personal
data” of U.S. citizens, rights to hold or obtain a board of directors voting seat or observer seat,
rights to access certain information or rights to participate in substantive decision-making
relating to critical technology, critical infrastructure, or sensitive personal data of U.S. citizens.
If CFIUS determines that such a transaction could threaten to impair the national security of the
United States, it may work with the transaction parties to mitigate the perceived national security
risk. If CFIUS determines that risk mitigation is not possible and the parties decline to abandon
the transaction voluntarily, then CFIUS may refer the matter to the President for a decision
whether to suspend or prohibit the transaction. In 2016, OneWeb and SoftBank voluntarily
notified CFIUS of SoftBank’s indirect acquisition of a 38.11% voting interest in OneWeb.
CFIUS concluded its review of the transaction in 2017 with a finding that it had no outstanding
concerns of risk to U.S. national security. As a condition to reaching that conclusion, CFIUS
required OneWeb and SoftBank to enter into a National Security Agreement with the U.S.
Department of Defense to address and mitigate concerns relating to U.S. national security.
Given that the Transaction contemplated by the Plan involves non-U.S. parties acquiring control
of OneWeb, and given that OneWeb’s business involves “critical technologies” as defined in the
CFIUS regulations utilized in connection with activities of OneWeb of a kind enumerated in
those regulations, it will be necessary for OneWeb and the acquirer(s) of the New Equity
Interests to formally notify the transaction to CFIUS. It is highly recommended that the Parties
make conclusion of review by CFIUS with an affirmative finding of no national security
concerns a precondition to emergence from chapter 11. When CFIUS formally accepts a notice
for review, it has 45 days in which to complete a first-stage “review.” This may be followed by
an additional 45-day period for second-stage “investigation.” But even before a notice is
accepted, time is required for CFIUS staff to examine a draft notice and verify its completeness,
and more often than not parties are required to revise a draft notice to address comments from
CFIUS staff. These additional steps before a notice is accepted make it difficult to assess the
length of the CFIUS review process. From the date the parties begin drafting a notice to the date
CFIUS concludes its review ordinarily will be four to six months. As a condition to approving


                                                -84-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 97 of 342



the notified transaction, CFIUS or its member agencies may require OneWeb and BidCo to enter
into mitigation measures to address concerns relating to U.S. national security.

               11.     Export Controls Notification to the DDTC

        WVD is registered with the Directorate of Defense Trade Controls of the U.S.
Department of State (“DDTC”) as an exporter of defense articles and defense services. Under
the International Traffic in Arms Regulations administered by DDTC, WVD is required to
provide notification to DDTC of any change in the ownership or control of WVD and any
change in the information provided in WVD’s annual DDTC registration statement, including
changes in WVD’s senior management or board of directors. In connection with implementation
of the Plan, WVD will have to provide a notification to DDTC detailing any such changes that
would result from such implementation. As the purchaser(s) of the New Equity Interests include
foreign persons, and implementation of the Plan will result in foreign ownership or control of
WVD, then WVD will have to submit such notification to DDTC no later than 60 days prior to
implementation of the Plan.

VIII. CERTAIN TAX CONSEQUENCES OF THE PLAN

       A.      CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE
               PLAN

        The following is a general discussion based upon present law of certain U.S. federal
income tax consequences relevant to the implementation of the Plan to the Debtors, the
Reorganized Debtors and U.S. Holders (as defined below) of Allowed Secured Notes Claims,
Allowed General Unsecured Claims, Allowed Ongoing Trade Claims and BidCo Equity
Interests. This summary is limited to U.S. Holders of Allowed Secured Notes Claims, Allowed
General Unsecured Claims, Allowed Ongoing Trade Claims and BidCo Equity Interests who
hold their Claims or BidCo Equity Interests, as applicable, as capital assets for purposes of the
Internal Revenue Code of 1986, as amended (the “Code”). This discussion does not address
rules relating to special categories of holders, including financial institutions, insurance
companies, regulated investment companies, real estate investment trusts, broker-dealers, tax-
exempt organizations, traders in securities that elect to mark-to-market, persons subject to special
accounting rules under section 451(b) of the Code, U.S. expatriates, investors that hold Claims or
BidCo Equity Interests as part of a straddle, hedging, constructive sale or conversion transaction,
holders whose functional currency is not the U.S. dollar or holders who will actually or
constructively own 5% or more of the BidCo Equity Interests (by either vote or value). The
discussion does not address any state, local or foreign taxes, the Medicare tax on net investment
income, the federal alternative minimum tax or any other federal tax other than the federal
income tax. The discussion of U.S. federal income tax consequences below is based on the
Code, Treasury Regulations, judicial authorities, published positions of the U.S. Internal
Revenue Service (the “IRS”) and other applicable authorities, all as in effect on the date of this
Disclosure Statement and all of which are subject to change or differing interpretations (possibly
with retroactive effect). The U.S. federal income tax consequences of the contemplated
transactions are complex and subject to significant uncertainties. Holders should note that no
rulings from the IRS have been sought with respect to any of the U.S. federal income tax
consequences discussed below, and no assurance can be given that the IRS or a court will not


                                               -85-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                         Pg 98 of 342



take contrary positions. This discussion does not address the U.S. federal income tax
consequences to holders of Claims or Interests who are Unimpaired, or who are not entitled to
vote because they are deemed to accept or reject the Plan.

        This summary is not a comprehensive description of all of the U.S. federal tax
consequences that may be relevant with respect to the Plan. U.S Holders are urged to consult
their own tax advisors regarding their particular circumstances and the U.S. federal tax
consequences with respect to the Plan, as well as any tax consequences arising under the laws of
any state, local or foreign tax jurisdiction and the possible effects of changes in U.S. federal or
other tax laws.

       As used herein, the term “U.S. Holder” means a beneficial owner of Allowed Secured
Notes Claims, Allowed General Unsecured Claims, Allowed Ongoing Trade Claims, or BidCo
Equity Interests, as applicable, that for U.S. federal income tax purposes is any of the following:

               •       an individual citizen or resident of the United States;

               •       a corporation or any other entity treated as a corporation for U.S. federal
                       income tax purposes created or organized in or under the laws of the
                       United States, any state thereof or the District of Columbia;

               •       an estate the income of which is subject to U.S. federal income taxation
                       regardless of its source; or

               •       a trust if it (1) is subject to the primary supervision of a court within the
                       United States and one or more U.S. persons have the authority to control
                       all substantial decisions of the trust or (2) has a valid election in effect
                       under applicable Treasury Regulations to be treated as a U.S. person.

        If an entity or arrangement treated as a partnership for U.S. federal income tax purposes
holds Allowed Secured Notes Claims, Allowed General Unsecured Claims, Allowed Ongoing
Trade Claims, or BidCo Equity Interests, the U.S. federal income tax treatment of a partner
therein generally will depend upon the status of the partner and the activities of the partnership
and accordingly, this summary does not apply to partnerships. A partner of a partnership
exchanging Allowed Secured Notes Claims, Allowed General Unsecured Claims or Allowed
Ongoing Trade Claims pursuant to the Plan should consult its own tax advisor regarding the U.S.
federal income tax consequences to the partner of exchanging Allowed Secured Notes Claims,
Allowed General Unsecured Claims or Allowed Ongoing Trade Claims

               1.      Certain U.S. Federal Income Tax Consequences to the Debtors

        Only one of the Debtors, WVD, which has elected to be treated as a corporation for U.S.
federal income tax purposes, is required to file a U.S. federal income tax return. WJVH and
OneWeb Holdings LLC are each treated as disregarded entities of WVD for U.S. federal income
tax purposes. As of January 1, 2020, WVD estimates that it has net operating loss (“NOL”)
carryforwards in excess of $45 million and certain other favorable tax attributes, including
general business credit carryforwards, in excess of $28 million. As discussed below, if WVD is



                                                -86-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 99 of 342



one of the Reorganized Debtors, any NOLs and other tax attributes may be reduced or otherwise
subject to limitation as a result of or following the implementation of the Plan.

                       a.      Cancellation of Debt and Reduction of Tax Attributes

        In general, absent an exception, a debtor that is a U.S. taxpayer will realize and recognize
cancellation of debt income (“CODI”) upon satisfaction of its outstanding indebtedness for total
consideration less than the amount of such indebtedness. The amount of CODI, in general, is the
excess of (a) the adjusted issue price of the indebtedness satisfied over (b) the sum of (x) the
adjusted issue price of any new indebtedness of the taxpayer issued and (y) the fair market value
of any stock or other consideration given in satisfaction of such indebtedness at the time of the
exchange. The amount of CODI for WVD, if any, arising in connection with the implementation
of the Plan and the amount of WVD’s tax attributes potentially subject to reduction (as described
below), will generally depend on the amount of any Cash and the fair market value of any other
consideration received (or treated as received) by holders of General Unsecured Claims and
Ongoing Trade Claims under the Plan and the amount of General Unsecured Claims and
Ongoing Trade Claims against WVD and its subsidiaries, and may also be impacted by the
manner in which the Plan is implemented. These factors are not known at this time and may not
be known with certainty until after the Effective Date and, as a result, the total amount of CODI
for WVD arising as a result of the implementation of the Plan cannot be determined until after
the Effective Date.

        A debtor generally will not, however, be required to include any amount of CODI in
gross income if the debtor is under the jurisdiction of a court in a case under chapter 11 of the
Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding, as would be the
case if the Plan were approved. Instead, as a consequence of such exclusion, a debtor generally
must reduce certain of its tax attributes by the amount of CODI that it excluded from gross
income pursuant to section 108 of the Code. In general, tax attributes are reduced in the
following order: (a) NOLs and NOL carryforwards; (b) most tax credits; (c) capital loss
carryovers; (d) tax basis in assets (but not below the amount of liabilities to which the
reorganized company remains subject immediately after the discharge); (e) passive activity loss
and credit carryovers; and (f) foreign tax credits. Alternatively, a debtor with CODI may elect
first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the Code.
Although not free from doubt, it is expected that carryovers of disallowed business interest
expense are not tax attributes subject to such reduction. If the amount of excluded CODI
exceeds available tax attributes, the excess generally is not subject to U.S. federal income tax and
has no other U.S. federal income tax impact.

        WVD may realize CODI as a result of the implementation of the Plan. As noted above,
the amount of CODI will not be determinable until after the Effective Date. Any such amount,
however, is expected to be excluded from WVD’s gross income and reduce WVD’s NOLs
and/or other tax attributes. In addition, as discussed below under “Limitation of NOL
Carryforwards and Other Tax Attributes,” WVD’s ability to utilize those reduced NOLs and/or
other tax attributes is expected to be subject to limitation as a result of the implementation of the
Plan. Any changes in the direct or indirect ownership of equity interests in WVD following the
Effective Date may further limit WVD’s ability to utilize any NOLs and/or other tax attributes.



                                                -87-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 100 of 342



                       b.      Limitation of NOL Carryforwards and Other Tax Attributes

        Under sections 382 and 383 of the Code, if a corporation undergoes an “ownership
change,” the amount of any NOLs, interest expense carryforwards, tax credit carryforwards, net
unrealized built-in losses, and possibly certain other tax attributes of the corporation allocable to
periods prior to the ownership change (collectively, “Pre-Change Losses”) that may be utilized to
offset future taxable income generally are subject to an annual limitation. For purposes of this
discussion, it is assumed that WVD has not already undergone an “ownership change” during the
pendency of these chapter 11 cases. The implementation of the Plan is expected to result in an
“ownership change” of WVD for these purposes if WVD is one of the Reorganized Debtors. As
a result, if WVD is one of the Reorganized Debtors, WVD’s use of its Pre-Change Losses will be
subject to limitation unless an exception to the general rules of section 382 of the Code applies.
For this purpose, if a corporation has a net unrealized built-in loss at the time of an ownership
change (taking into account most assets and items of “built-in” income and deductions), then
generally built-in losses (including amortization or depreciation deductions attributable to such
built-in losses) recognized during the following five years (up to the amount of the original net
unrealized built-in loss) will be treated as Pre-Change Losses and similarly will be subject to the
annual limitation. In general, a corporation’s net unrealized built-in loss will be deemed to be
zero unless it is greater than the lesser of (a) $10,000,000 or (b) 15% of the fair market value of
its assets (with certain adjustments) before the ownership change. On September 9, 2019, the
IRS issued proposed regulations that would significantly modify the calculation and treatment of
net unrealized built-in gains and losses; however, the IRS recently amended the proposed
effective date provision of those regulations to exempt from the new regulations ownership
changes pursuant to chapter 11 cases filed prior to the regulations becoming effective. Thus, if
the proposed regulations are finalized in their current form, the proposed regulations are not
expected to apply to WVD and the remainder of this discussion assumes they will not apply.

                               i.      General Section 382 Annual Limitation

        In general, the amount of the annual limitation to which a corporation that undergoes an
“ownership change” would be subject is equal to the product of (a) the fair market value of the
stock of the corporation immediately before the “ownership change” (with certain adjustments)
multiplied by (b) the “long-term tax-exempt rate” (which is the highest of the adjusted federal
long-term rates in effect for any month in the three-calendar-month period ending with the
calendar month in which the ownership change occurs, e.g. 0.89% for ownership changes
occurring in July 2020). The section 382 limitation may be increased if the company has a net
unrealized built-in gain in its assets as of the ownership change date and the company recognizes
certain built-in gains in their assets during the five-year period following the ownership change
or are treated as recognizing built-in gains pursuant to the safe harbors provided in IRS Notice
2003-65. Section 383 of the Code applies a similar limitation to capital loss carryforwards and
tax credits. Any portion of the annual limitation that is not used in a given year may be carried
forward, thereby increasing the annual limitation in the subsequent taxable year. As discussed
below, however, special rules may apply in the case of a corporation that experiences an
ownership change as the result of a bankruptcy proceeding.

        If the corporation does not continue its historic business or use a significant portion of its
historic assets in a new business for at least two years after the ownership change, the annual


                                                -88-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 101 of 342



limitation resulting from the ownership change is reduced to zero, thereby precluding any
utilization of the ‘corporation’s Pre-Change Losses (absent any increases due to recognized built-
in gains).

                               ii.    Special Bankruptcy Exceptions

        An exception to the foregoing annual limitation rules generally applies when so-called
“qualified creditors” and/or shareholders of a debtor corporation in chapter 11 receive, in respect
of their claims or equity interests, respectively, at least 50% of the vote and value of the stock of
the reorganized debtor (or a controlling corporation if also in chapter 11) pursuant to a confirmed
chapter 11 plan (the “382(l)(5) Exception”). Under the 382(l)(5) Exception, a debtor’s Pre-
Change Losses are not limited on an annual basis, but, instead, the amount of the debtor’s Pre-
Change Losses is re-determined as if no interest deductions were allowable during the three
taxable years preceding the ownership change, and during the part of the taxable year prior to
and including the ownership change, in respect of all debt converted into stock in the
reorganization. If the 382(l)(5) Exception applies and the company undergoes another
“ownership change” within two years after the first change, then the company’s Pre-Change
Losses thereafter would be effectively eliminated in their entirety unless there is a net unrealized
built-in gain in the company’s assets. Any future ownership change after such two-year period
would subject WVD to the general limitations under sections 382 and 383 of the Code. Where
the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because the
debtor does not qualify for it or the debtor otherwise elects not to utilize the 382(l)(5)
Exception), a second special rule will generally apply (the “382(l)(6) Exception”). Under the
382(l)(6) Exception, the annual limitation will be calculated by reference to the lesser of (a) the
value of the debtor corporation’s stock (with certain adjustments) immediately after the
ownership change and (b) the value of such debtor corporation’s assets (determined without
regard to liabilities) immediately before the ownership change. This differs from the ordinary
rule that requires the fair market value of a debtor corporation that undergoes an “ownership
change” to be determined before the events giving rise to the change. The 382(l)(6) Exception
also differs from the 382(l)(5) Exception in that under it the debtor corporation is not required to
re-determine the amount of its Pre-Change Losses as if no interest deductions were allowable
with respect to the debt exchanged for stock in the manner described above, and the debtor may
undergo a change of ownership within two years without automatically triggering the elimination
of its Pre-Change Losses. The resulting limitation would be determined under the regular rules
for ownership changes.

       WVD is not expected to qualify for the 382(l)(5) Exception under the Plan.

               2.      U.S. Holders of Allowed Secured Notes Claims

                       a.      Consequences of Receiving BidCo Equity Consideration

       Pursuant to the Plan, each holder of Allowed Secured Notes Claims will receive its pro
rata share of the BidCo Equity Consideration in satisfaction of its Allowed Secured Notes
Claims. The U.S. federal income tax consequences of the Plan to U.S. Holders of Allowed
Secured Notes Claims will depend on whether the exchange of the Allowed Secured Notes
Claims pursuant to the Plan constitutes a taxable transaction or a tax-deferred transaction, such


                                                -89-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 102 of 342



as an exchange governed by section 351 of the Code and/or section 368 of the Code. Whether
the exchange constitutes a taxable transaction or a tax-deferred transaction will depend on the
manner in which the transactions undertaken pursuant to the Plan (including the transaction steps
set forth in Exhibit 1 of the Plan) are consummated and may also depend on whether the
Allowed Secured Notes Claims are treated as “securities” for U.S. federal income tax purposes.

        Whether a debt instrument constitutes a “security” for U.S. federal income tax purposes
is determined based on all the relevant facts and circumstances, but most authorities have held
that the length of the term of a debt instrument at initial issuance is an important factor in
determining whether such instrument is a security for U.S. federal income tax purposes. These
authorities have indicated that a term of less than five years is evidence that the instrument is not
a security, whereas a term of ten years or more is evidence that it is a security. The A&R NPA
under which the Secured Notes were issued was entered into on March 18, 2019, which was five
years before the stated maturity date for the Secured Notes. There are numerous other factors
that could be taken into account in determining whether a debt instrument is a security, including
the security for payment, the creditworthiness of the obligor at the time of issuance, the
subordination or lack thereof with respect to other creditors, the right to vote or otherwise
participate in the management of the obligor, convertibility of the instrument into an equity
interest of the obligor, whether payments of interest are fixed, variable, or contingent, and
whether such payments are made on a current or accrued basis. A U.S. Holder of Allowed
Secured Notes Claims should consult its own tax advisor to determine whether its Allowed
Secured Notes Claims should be treated as securities for U.S. federal income tax purposes.

        If the exchange of Allowed Secured Notes Claims for the BidCo Equity Consideration
constitutes a taxable transaction, each U.S. Holder of an Allowed Secured Notes Claim generally
will recognize gain or loss in an amount equal to the difference between (i) the fair market value
of the BidCo Equity Interests received (other than any BidCo Equity Interests treated as received
for accrued but unpaid interest and accrued original issue discount (“OID”), if any) and (ii) the
U.S. Holder’s adjusted tax basis in its Allowed Secured Notes Claim immediately prior to the
exchange (other than any tax basis attributable to accrued but unpaid interest and accrued OID, if
any). The character of such gain or loss as capital gain or loss or as ordinary income or loss will
be determined by a number of factors, including the tax status of the U.S. Holder, the nature of
the Allowed Secured Notes Claim in such U.S. Holder’s hands, whether the Allowed Secured
Notes Claim was purchased at a discount, and whether and to what extent the U.S. Holder
previously has claimed a bad debt deduction with respect to its Allowed Secured Notes Claim. If
recognized gain is capital gain, it generally would be long-term capital gain if the U.S. Holder
held its Allowed Secured Notes Claim for more than one year at the time of the exchange. The
deductibility of capital losses is subject to certain limitations. To the extent that a portion of the
BidCo Equity Interests received is allocable to accrued but unpaid interest or OID, the U.S.
Holder may recognize ordinary income. See “Accrued Interest” and “Market Discount” below.
A U.S. Holder’s tax basis in the BidCo Equity Interests received should be equal to the fair
market value of such BidCo Equity Interests. A U.S. Holder’s holding period in such BidCo
Equity Interests received should begin on the day following the Effective Date.

        If the exchange of Allowed Secured Notes Claims for the BidCo Equity Consideration
constitutes a tax-deferred transaction, subject to the discussion below under “Accrued Interest,”
U.S. Holders of Allowed Secured Notes Claims could be required to recognize gain, but not loss,


                                                -90-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                       Pg 103 of 342



upon the exchange. In such case, a U.S. Holder’s tax basis in the BidCo Equity Interests
received (other than any BidCo Equity Interests treated as received in satisfaction of accrued but
unpaid interest and accrued OID, if any) should be equal to the tax basis in the Allowed Secured
Notes Claims exchanged therefor increased by the amount of any gain recognized upon the
exchange, and the holding period for such BidCo Equity Interests should include the holding
period for the exchanged Allowed Secured Notes Claims.

        Regardless of whether the exchange is treated as a taxable transaction or a tax-deferred
transaction, a U.S. Holder will have taxable interest income to the extent of any consideration
allocable to accrued but unpaid interest or OID not previously included in income, as more fully
described below under “Accrued Interest,” which amounts will not be included in the amount
realized with respect to a U.S. Holder’s Allowed Secured Notes Claim.

                      b.      Consequences of Owning BidCo Equity Interests

                              i.      Distributions on BidCo Equity Interests

        Subject to the discussion below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” any distributions with respect to the BidCo Equity Interests (including
any amounts withheld in respect of taxes thereon) generally will be treated as taxable dividends
to the extent paid out of BidCo’s current or accumulated earnings and profits (as determined
under U.S. federal income tax principles). To the extent the amount of any distribution exceeds
BidCo’s current and accumulated earnings and profits for a taxable year (as determined under
U.S. federal income tax principles), the distribution will first be treated as a tax-free return of
capital to the extent of the U.S. Holder’s adjusted tax basis in the BidCo Equity Interests, and
thereafter as capital gain, subject to the discussion below under “Market Discount.” The Debtors
do not know whether BidCo will keep record of its earnings and profits in accordance with U.S.
federal income tax principles. Therefore, U.S. Holders should expect that any distribution on the
BidCo Equity Interests generally will be treated as a dividend unless otherwise noted.

        Any such taxable dividends received by a corporate U.S. Holder will not be eligible for
the “dividends received deduction.” Any such taxable dividends will be eligible for reduced
rates of taxation as “qualified dividend income” for non-corporate U.S. Holders if the following
conditions are met: (i) either (1) BidCo is eligible for the benefits of a comprehensive income
tax treaty with the United States that the Secretary of the U.S. Treasury has determined is
satisfactory and that includes an exchange of information program (which includes, as of the date
hereof, the Convention between the Government of the United States of America and the
Government of the United Kingdom of Great Britain and Northern Ireland for the Avoidance of
Double Taxation and the Prevention of Fiscal Evasion with respect to Taxes on Income and
Capital Gains) or (2) the BidCo Equity Interests are readily tradable on an established securities
market in the United States (including, e.g., the NYSE or NASDAQ); (ii) the U.S. Holder meets
the holding period requirement for the BidCo Equity Interests (generally more than 60 days
during the 121-day period that begins 60 days before the ex-dividend date); and (iii) BidCo was
not in the year prior to the year in which the dividend was paid (with respect to a U.S. Holder
that held BidCo Equity Interests), and is not in the year in which the dividend is paid, a passive
foreign investment company (“PFIC”). Otherwise, such taxable dividends will not be eligible
for reduced rates of taxation as “qualified dividend income.”


                                               -91-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 104 of 342



        No assurance can be given that BidCo will qualify for the benefits of a comprehensive
income tax treaty, and it is not expected that the BidCo Equity Interests will be considered
readily tradable on an established securities market in the United States as described above. In
addition, as discussed below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” no assurance can be given that BidCo will not be treated as a PFIC.
Accordingly, each non-corporate U.S. Holder is urged to consult its tax advisor regarding
whether taxable dividends received by such U.S. Holder will be eligible for qualified dividend
income treatment.

                               ii.     Sale, Exchange or Other Taxable Disposition of BidCo
                                       Equity Interests

        Subject to the discussion below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” a U.S. Holder generally will recognize gain or loss on a sale, exchange or
other taxable disposition of BidCo Equity Interests equal to the difference between the amount
realized on the disposition and the U.S. Holder’s adjusted tax basis in the BidCo Equity Interests.
Subject to the discussion below under “Market Discount” and the following sentence, this gain
or loss generally will be capital gain or loss and generally will be long-term capital gain or loss if
the U.S. Holder has held the BidCo Equity Interests for more than one year. A U.S. Holder that
previously claimed a bad debt deduction with respect to its Allowed Secured Notes Claims or
that is a cash-method taxpayer may be required to treat some or all of this gain as ordinary
income. Generally, for U.S. Holders who are individuals, long-term capital gains are subject to
U.S. federal income tax at a maximum rate of 20%. For foreign tax credit limitation purposes,
gain or loss recognized upon a disposition generally will be treated as from sources within the
United States. The deductibility of capital losses is subject to limitations for U.S. federal income
tax purposes.

                               iii.    Possible Treatment of BidCo as a Passive Foreign
                                       Investment Company

        BidCo may be classified as a PFIC for U.S. federal income tax purposes. In general, a
foreign corporation will be classified as a PFIC if (i) 75% or more of its gross income in a
taxable year is passive income, or (ii) 50% or more of its assets in a taxable year, averaged
quarterly over the year, produce, or are held for the production of, passive income. Passive
income for this purpose generally includes, among other items, interest, dividends, royalties,
rents and annuities. For purposes of these PFIC tests, if BidCo directly or indirectly owns at
least 25% (by value) of the stock of another corporation, BidCo will be treated as owning its
proportionate share of such other corporation’s gross assets and receiving its proportionate share
of such other corporation’s gross income. The Debtors cannot provide any assurances that
BidCo will not be treated as a PFIC in the current or future taxable years, especially in light of
the fact that the Debtors are still in the development stage of their business.

        Under the PFIC rules, if BidCo is a PFIC for any taxable year during which a U.S. Holder
holds BidCo Equity Interests, BidCo will continue to be treated as a PFIC with respect to such
U.S. Holder for all succeeding years during which the U.S. Holder holds the BidCo Equity
Interests unless (i) BidCo ceases to be a PFIC and (ii) the U.S. Holder makes a “deemed sale”
election under the PFIC rules. In general, if BidCo is a PFIC for any taxable year during which a


                                                -92-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 105 of 342



U.S. Holder holds BidCo Equity Interests, any gain recognized by the U.S. Holder on a sale or
other taxable disposition of BidCo Equity Interests, as well as the amount of any “excess
distribution” (defined below) received by such U.S. Holder, would be allocated ratably over the
U.S. Holder’s holding period for the BidCo Equity Interests. The amounts allocated to the
taxable year of the sale or other disposition (or the taxable year of receipt, in the case of an
excess distribution) and to any year before BidCo became a PFIC would be taxed as ordinary
income. The amounts allocated to each other taxable year would be subject to tax at the highest
rate in effect for that taxable year, and an interest charge would be imposed. For purposes of
these rules, an excess distribution is the amount by which any distribution received by a U.S.
Holder on its BidCo Equity Interests in a taxable year exceeds 125% of the average of the annual
distributions on the BidCo Equity Interests received during the preceding three years or the U.S.
Holder’s holding period, whichever is shorter. Certain elections may be available that would
result in alternative treatments (such as mark-to-market treatment or “qualified electing fund”
treatment) of the BidCo Equity Interests. It is not known whether BidCo will make available the
information necessary for U.S. Holders to make a “qualified electing fund” election with respect
to their BidCo Equity Interests.

       The rules relating to PFICs are complex. Each U.S. Holder is urged to consult its tax
advisor regarding whether BidCo will constitute a PFIC and, if so, the U.S. federal income tax
consequences of holding the BidCo Equity Interests.

               3.      U.S. Holders of Allowed General Unsecured Claims

        In general, a U.S. Holder of an Allowed General Unsecured Claim will recognize gain or
loss in an amount equal to the difference between (i) the sum of any Cash and the fair market
value of any other consideration received in satisfaction of its Claim (other than any Cash or
other consideration received in respect of a Claim for accrued but unpaid interest and accrued
OID, if any), and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis
attributable to accrued but unpaid interest and accrued OID, if any). A U.S. Holder will have
ordinary interest income to the extent of any Cash or other consideration received that is
allocable to accrued but unpaid interest or OID not previously included in income, as described
under “Accrued Interest.” In the event of the subsequent disallowance of any General Unsecured
Claims, a U.S. Holder of a previously Allowed General Unsecured Claim may receive additional
post-Effective Date Distributions. Accordingly, it is possible that any loss, or a portion of any
gain, realized by a U.S. Holder may be deferred until all General Unsecured Claims are Allowed
or disallowed. In addition, a U.S. Holder may have imputed interest income with respect to any
such post-Effective Date Distributions. U.S. Holders are urged to consult their own tax advisors
regarding the possible application (and the ability to elect out) of the “installment method” of
reporting any gain that may be recognized by them in respect of their General Unsecured Claims
due to the receipt of consideration in a taxable year subsequent to the taxable year in which the
Effective Date occurs. The discussion herein assumes that the installment method does not
apply.

               4.      U.S. Holders of Allowed Ongoing Trade Claims

       In general, a U.S. Holder of an Allowed Ongoing Trade Claim will recognize gain or loss
in an amount equal to the difference between (i) the sum of any Cash and the fair market value of


                                              -93-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 106 of 342



any other consideration received in satisfaction of its Claim (other than any Cash or other
consideration received in respect of a Claim for accrued but unpaid interest and accrued OID, if
any), and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis
attributable to accrued but unpaid interest and accrued OID, if any). A U.S. Holder will have
ordinary interest income to the extent of any Cash or other consideration received that is
allocable to accrued but unpaid interest or accrued OID not previously included in income, as
described under section “Accrued Interest.” In the event of the subsequent disallowance of any
Ongoing Trade Claims, a U.S. Holder of a previously Allowed Ongoing Trade Claim may
receive additional post-Effective Date Distributions subject to the treatment discussed above.
See Section VIII.A.3., “U.S. Holders of Allowed General Unsecured Claims”, supra.

               5.      Accrued Interest

        To the extent that any amount received by a U.S. Holder of a surrendered Allowed
Secured Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim is
attributable to accrued but unpaid interest or OID, the receipt of such amount should be taxable
to the U.S. Holder as ordinary interest income (to the extent not already taken into income by the
U.S. Holder, and subject to a special exception that may be available to cash-method U.S.
Holders in certain circumstances). Conversely, a U.S. Holder of an Allowed Secured Notes
Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim may be able to
recognize a deductible loss (or, possibly, a write off against a reserve for worthless debts) to the
extent that any accrued interest or OID was previously included in the U.S. Holder’s gross
income but was not paid in full. Such loss may be ordinary, but the tax law is unclear on this
point.

        If the fair market value of the consideration is not sufficient to fully satisfy all principal
and interest on an Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed
Ongoing Trade Claim, the extent to which such consideration will be attributable to accrued
interest is unclear. Under the Plan, the aggregate consideration received in respect of Allowed
Claims will be allocated first to the principal amount of such Claims, with any excess allocated
to unpaid interest, if any, that accrued on such Claims before the Petition Date. Certain
legislative history indicates that an allocation of consideration as between principal and interest
provided in a chapter 11 plan of reorganization is binding for U.S. federal income tax purposes,
while certain Treasury Regulations treat payments as allocated first to any accrued but unpaid
interest. The IRS could take the position that the consideration received by a U.S. Holder should
be allocated in some way other than as provided in the Plan. U.S. Holders of Allowed Secured
Notes Claims, Allowed General Unsecured Claims and Allowed Ongoing Trade Claims should
consult their own tax advisors regarding the proper allocation of the consideration received by
them under the Plan.

               6.      Market Discount

      Under the “market discount” provisions of the Code, some or all of any gain realized by a
U.S. Holder of an Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed
Ongoing Trade Claim who receives consideration pursuant to the Plan in satisfaction of its
Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade
Claim may be treated as ordinary income (instead of capital gain), to the extent of the amount of


                                                -94-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 107 of 342



market discount on the Claim. In general, a debt instrument is considered to have been acquired
with market discount if the U.S. Holder’s adjusted tax basis in the debt instrument is less than (a)
the sum of all remaining payments to be made on the debt instrument, excluding “qualified stated
interest” or (b) in the case of a debt instrument issued with original issue discount, its adjusted
issue price, in either case, by at least a statutorily defined de minimis amount.

       Any gain recognized by a U.S. Holder on the taxable disposition of an Allowed Secured
Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim acquired
with market discount should generally be treated as ordinary income to the extent of the market
discount that accrued thereon while the Allowed Secured Notes Claim, Allowed General
Unsecured Claim or Allowed Ongoing Trade Claim was considered to be held by the U.S.
Holder (unless the U.S. Holder elected to include market discount in income as it accrued).

        To the extent that Allowed Secured Notes Claims acquired with market discount are
exchanged in a tax-deferred transaction, any market discount that accrued on the Allowed
Secured Notes Claims (i.e., up to the time of the exchange) but was not recognized by the U.S.
Holder may carry over to the BidCo Equity Interests received in exchange therefor, in which
case any gain recognized on the subsequent sale or other taxable disposition of the BidCo Equity
Interests shall be treated as ordinary income to the extent of the accrued, but not recognized,
market discount with respect to the Allowed Secured Notes Claims.

       U.S. Holders are urged to consult their own tax advisors regarding the tax consequences
of the exchange of Allowed Secured Notes Claims, Allowed General Unsecured Claims or
Allowed Ongoing Trade Claims acquired with market discount pursuant to the Plan.

               7.      Information Reporting and Backup Withholding

        The Debtors and the Reorganized Debtors will withhold all amounts required by law to
be withheld and will comply with all applicable reporting requirements of the Code. In general,
information reporting requirements may apply to Distributions or payments made to a holder
under the Plan or with respect to their BidCo Equity Interests. In addition, dividends and other
reportable payments may, under certain circumstances, be subject to “backup withholding” at the
then applicable withholding rate (currently 24%) if a recipient of those payments fails to furnish
to the payor certain identifying information and, in some cases, a certification that the recipient is
not subject to backup withholding. Backup withholding is not an additional tax but is, instead,
an advance payment that may entitle the holder to a refund from the IRS to the extent it results in
an overpayment of tax, provided that the required information is timely provided to the IRS.

        In addition, from an information reporting perspective, the Treasury Regulations
generally require disclosure by a U.S. taxpayer on its U.S. federal income tax return of certain
types of transactions in which the taxpayer participated, including, among other types of
transactions, certain transactions that result in the taxpayer claiming a loss in excess of specified
thresholds. U.S. Holders are urged to consult their tax advisors regarding these regulations and
whether the transactions contemplated by the Plan would be subject to these regulations and
require disclosure on the holders’ tax returns.




                                                -95-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 108 of 342



        The U.S. federal income tax consequences of the Plan are complex. The foregoing
summary does not discuss all aspects of U.S. federal income taxation that may be relevant
to a particular U.S. Holder in light of such U.S. Holder’s circumstances and income tax
situation. All holders of Claims and Interests should consult with their tax advisors as to
the particular tax consequences to them of the transactions contemplated by the Plan,
including the applicability and effect of any state, local, or foreign tax laws, and of any
change in applicable tax laws.

       B.      CERTAIN UK TAX CONSEQUENCES FOR HOLDERS OF BIDCO
               EQUITY INTERESTS

        The mere subscription of new share capital in BidCo will have no immediate UK taxation
consequence for the new shareholder. A shareholder acquiring existing shares by transfer (as
opposed to new shares by subscription) will be liable for UK stamp duty at the rate of 0.5% on
the consideration paid for those shares. The acquisition of shares in the Reorganized Company
Party should not result in any UK tax consequences for the holders of shares in BidCo.

      The holder of shares in BidCo receiving dividends on those shares will not, under current
UK law, suffer any withholding on account of UK tax on such dividends.

         Indebtedness of the Reorganized Debtors which is released under the Plan in a way that
gives rise, prima facie, to a taxable credit in the hands of the Reorganized Debtors, should not, of
itself, result in a shareholder of BidCo incurring any charge to UK taxation. A ruling has been
obtained from HM Revenue and Customs which confirms that any income so arising shall be
treated as statutorily exempt from UK tax in the Reorganized Debtors’ hands.

       Shareholders should consult their own tax advisers of any non-UK taxation
consequences to them arising as a result of the conversion or exchange of any indebtedness
of the Debtors and/or the holding of the share capital of BidCo (or any affiliate thereof).

       This analysis may not apply to a shareholder who holds its investment in BidCo as a
trading or dealing asset of a financial trade or business carried on in the United Kingdom
or through a branch or permanent establishment there, and such persons are advised to
seek their own professional tax and accounting advice on the consequences of any exchange
of indebtedness for equity under the Plan.

IX.    RECOMMENDATION AND CONCLUSION

        The Debtors believe that the Confirmation and consummation of the Plan is preferable to
all other alternatives. Consequently, the Debtors urge all parties entitled to vote to accept the
Plan and to evidence their acceptance by duly completing and returning their Ballots so that they
will be received on or before the Voting Deadline established by the Disclosure Statement Order.




                                               -96-
    20-22437-rdd    Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                        Pg 109 of 342



Dated: August 31, 2020                   Respectfully submitted,

                                         OneWeb Global Limited,
                                         on behalf of itself and each of the other Debtors




                                         By:    /s/   Thomas Whayne
                                               Name: Thomas Whayne
                                               Title: Chief Financial Officer
                                                      OneWeb Global Limited




                                            -97-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 110 of 342



                                    ANNEX A

                                       Plan
20-22437-rdd         Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                              Pg 111 of 342



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                             )
 In re:                                                      )    Chapter 11
                                                             )
 OneWeb Global Limited, et al.                               )    Case No. 20-22437 (RDD)
                                                             )
                                  Debtors. 1                 )    (Jointly Administered)
                                                             )


              SECOND AMENDED JOINT CHAPTER 11 PLAN OF
           REORGANIZATION OF ONEWEB GLOBAL LIMITED, ET AL.



Dated: August 31, 2020

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and Debtors in Possession




 1
     The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, if
     any, are: OneWeb Global Limited (N/A); OneWeb Holdings LLC (5429); OneWeb Communications Limited
     (9487); WorldVu Satellites Limited (7802); WorldVu Development LLC (9067); WorldVu JV Holdings LLC
     (N/A); 1021823 B.C. LTD (8609); Network Access Associates Limited (8566); OneWeb Limited (8662);
     WorldVu South Africa (Pty) Ltd. (1867); OneWeb Chile SpA (2336); WorldVu Australia Pty Ltd. (5436);
     WorldVu Unipessoal Lda. (2455); OneWeb Norway AS (0209); OneWeb ApS (9191); OneWeb Network Access
     Holdings Limited (8580); OneWeb G.K. (1396); OneWeb Ltd (8661); WorldVu Mexico S. DE R. L. DE C.V.
     (1234). The Debtors’ headquarters is located at 195 Wood Lane, West Works Building, 3rd Floor, London, W12
     7FQ, UK.
20-22437-rdd          Doc 534         Filed 09/01/20 Entered 09/01/20 00:35:39                                     Main Document
                                                Pg 112 of 342
                                            TABLE OF CONTENTS

I.    DEFINED TERMS, RULES OF INTERPRETATION AND COMPUTATION
      OF TIME ..............................................................................................................................1
      A.         Defined Terms .........................................................................................................1
      B.         Rules of Interpretation and Computation of Time .................................................18
                 1.         Rules of Interpretation ...............................................................................18
                 2.         Computation of Time .................................................................................18
                 3.         Reference to Monetary Figures ..................................................................18
II.   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................18
      A.         Unclassified Claims ...............................................................................................19
                 1.         Administrative Expense Claims.................................................................19
                            a.         Treatment of Administrative Expense Claims ...............................19
                            b.         Administrative Expense Claims Bar Date .....................................19
                            c.         U.S. Trustee Fees ...........................................................................20
                            d.         Fee Claims .....................................................................................20
                            e.         Professional Fee Escrow ................................................................20
                 2.         Priority Tax Claims ....................................................................................21
                 3.         DIP Claims .................................................................................................21
                 4.         DIP Agent Fees and Expenses ...................................................................21
      B.         Classification of Claims and Interests....................................................................21
                 1.         Classes of Claims and Interests..................................................................21
      C.         Treatment of Claims and Interests .........................................................................22
                 1.         Class 1 – Secured Notes Claims ................................................................22
                 2.         Class 2 – Other Secured Claims.................................................................22
                 3.         Class 3 – Priority Non-Tax Claims ............................................................23
                 4.         Class 4 – General Unsecured Claims .........................................................23
                 5.         Class 5 – Ongoing Trade Claims ...............................................................24
                 6.         Class 6 – Intercompany Claims .................................................................24
                 7.         Class 7 – Intercompany Interests ...............................................................25
                 8.         Class 8 – Section 510(b) Claims ................................................................25
                 9.         Class 9 – OneWeb Interests .......................................................................25
      D.         Reservation of Rights Regarding Claims ...............................................................25
      E.         Postpetition Interest on Claims ..............................................................................26



                                                                 -i-
20-22437-rdd         Doc 534         Filed 09/01/20 Entered 09/01/20 00:35:39                                        Main Document
                                               Pg 113 of 342



       F.       Insurance ................................................................................................................26
III.   ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION
       BY ONE OR MORE CLASSES OF CLAIMS OR EQUITY INTERESTS .....................26
       A.       Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code .....................26
       B.       Elimination of Vacant Classes ...............................................................................26
       C.       Voting Classes .......................................................................................................26
IV.    MEANS OF IMPLEMENTATION ...................................................................................26
       A.       Deemed Consolidation ...........................................................................................26
       B.       The Settlement .......................................................................................................27
       C.       Sources of Consideration for Plan Distributions ...................................................27
                1.         Cash Consideration ....................................................................................28
                2.         Additional Cash Plan Funding ...................................................................28
       D.       Ongoing Trade Claims Recovery Pool ..................................................................28
       E.       General Unsecured Claims Settlement Distribution ..............................................28
       F.       Issuance of New Equity Interests, BidCo Equity Interests, and SoftBank
                Rollover BidCo Equity ..........................................................................................28
                1.         New Equity Interests ..................................................................................29
                2.         BidCo Equity Interests ...............................................................................29
                3.         Authorization, Issuance and Delivery of the New Equity Interests ...........30
                4.         Issuance and Delivery of the BidCo Equity Consideration to Class
                           1..................................................................................................................30
       G.       Restructuring Steps Under UK Corporate Law .....................................................30
       H.       The Liquidating Debtors ........................................................................................30
       I.       Plan Administrator .................................................................................................31
       J.       The Wind Down .....................................................................................................32
       K.       Continued Corporate Existence. ............................................................................32
       L.       Disbursing Agent ...................................................................................................32
       M.       New Board of Directors/Officers ...........................................................................33
       N.       Survival of Indemnification Obligations and D&O Liability Insurance ...............33
                1.         Indemnification Obligations ......................................................................33
                2.         D&O Liability Insurance Policies ..............................................................33
       O.       Employee Matters ..................................................................................................34
       P.       Retained Causes of Action .....................................................................................34




                                                                - ii -
20-22437-rdd         Doc 534          Filed 09/01/20 Entered 09/01/20 00:35:39                                        Main Document
                                                Pg 114 of 342



        Q.      Release of Avoidance Actions for Holders of Claims in Class 4 and Class
                5..............................................................................................................................35
        R.      Cancellation and Surrender of Notes, Instruments, Securities and Other
                Documentation .......................................................................................................35
        S.      Release of Liens .....................................................................................................36
        T.      Effectuating Documents; Further Transactions .....................................................36
        U.      Amended Organizational Documents ....................................................................37
        V.      FCC Communications Consents ............................................................................37
        W.      Section 1146 Exemption from Certain Taxes and Fees .........................................38
V.      SECURED NOTES AGENT FEES AND EXPENSES ....................................................38
VI.     TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ..........38
        A.      Assumption and Rejection of Executory Contracts and Unexpired Leases ..........38
        B.      Claims Based on Rejection of Executory Contracts and Unexpired Leases .........39
        C.      Cure Claims ...........................................................................................................39
        D.      Reservation of Rights .............................................................................................41
VII.    PROVISIONS GOVERNING DISTRIBUTIONS ............................................................41
        A.      Method of Distributions to Holders of Claims ......................................................41
        B.      Undeliverable Distributions and Time Bar to Cash Payments. .............................42
        C.      Distribution Record Date .......................................................................................42
        D.      Minimum Distributions..........................................................................................42
        E.      Compliance with Tax Requirements ......................................................................43
        F.      Setoffs ....................................................................................................................43
        G.      Allocation Between Principal and Accrued Interest ..............................................43
        H.      Claims Paid or Payable by Third Parties ...............................................................44
                1.         Claims Paid by Third Parties .....................................................................44
                2.         Claims Payable by Insurance .....................................................................44
VIII.   DISPUTED, CONTINGENT AND UNLIQUIDATED CLAIMS ...................................44
        A.      Allowance of Claims..............................................................................................44
        B.      Prosecution of Objections to Claims......................................................................44
                1.         Authority to Prosecute and Settle Claims ..................................................44
                2.         Omnibus Objections...................................................................................45
                3.         Authority to Amend Schedules ..................................................................45
        C.      Estimation of Claims..............................................................................................45



                                                                - iii -
20-22437-rdd         Doc 534         Filed 09/01/20 Entered 09/01/20 00:35:39                                  Main Document
                                               Pg 115 of 342



      D.        Claims Subject to Pending Actions........................................................................46
      E.        Distributions to Holders of Disputed Claims .........................................................46
      F.        Partitioning of Authority With Respect to Claims .................................................46
IX.   CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION
      OF THE PLAN ..................................................................................................................46
      A.        Conditions to Confirmation ...................................................................................46
      B.        Conditions to the Effective Date ............................................................................47
                1.         Confirmation Order ....................................................................................47
                2.         Statutory Fees.............................................................................................47
                3.         Documentation ...........................................................................................47
                4.         Antitrust and Foreign Investment Approvals. ............................................47
                5.         State Aid Approval ....................................................................................47
                6.         DDTC Notification ....................................................................................47
                7.         No Injunctions or Restraints ......................................................................48
                8.         Establishment of Professional Fee Escrow ................................................48
                9.         Funding of the Ongoing Trade Claims Recovery Pool and the
                           General Unsecured Claims Settlement Distribution ..................................48
                10.        Conditions Precedent to the Obligations of the Plan Sponsor. ..................48
                           a.         Accuracy of Representations and Warranties ................................48
                           b.         Performance of Obligations ...........................................................48
                           c.         No Termination ..............................................................................48
                           d.         BidCo Equity Consideration. .........................................................48
                           e.         Officer’s Certificate .......................................................................49
                           f.         Communications Consents.............................................................49
                           g.         No Company Material Adverse Effect ..........................................49
                           h.         Principal Vendor Contracts ............................................................49
                           i.         Effective Date Cash Funding Cap..................................................49
                11.        Conditions Precedent to the Debtors’ Obligations.....................................49
                           a.         Accuracy of Representations and Warranties ................................49
                           b.         Performance of Obligations ...........................................................49
                           c.         No Termination ..............................................................................50
                           d.         Officer’s Certificate .......................................................................50
      C.        Waiver of Conditions to the Effective Date ...........................................................50



                                                             - iv -
20-22437-rdd           Doc 534         Filed 09/01/20 Entered 09/01/20 00:35:39                                     Main Document
                                                 Pg 116 of 342



X.       WITHDRAWAL AND MODIFICATION OF THE PLAN .............................................50
         A.       Withdrawal of the Plan ..........................................................................................50
         B.       Modification of the Plan ........................................................................................50
XI.      EFFECT OF CONFIRMATION .......................................................................................51
         A.       Binding Effect ........................................................................................................51
         B.       Vesting of Assets ...................................................................................................51
         C.       Discharge of Claims Against and Interests in the Debtors ....................................51
         D.       Exculpation ............................................................................................................52
         E.       Releases..................................................................................................................53
                  1.         Releases by the Debtors .............................................................................53
                  2.         Releases by Holders of Claims ..................................................................54
         F.       Injunction ...............................................................................................................55
         G.       Scope of Discharge, Release, or Injunction With Respect to the United
                  States of America ...................................................................................................56
         H.       Term of Injunctions or Stays..................................................................................57
         I.       Ipso Facto and Similar Provisions Ineffective .......................................................57
XII.     RETENTION OF JURISDICTION ...................................................................................57
XIII.    MISCELLANEOUS PROVISIONS ..................................................................................59
         A.       Dissolution of Creditors’ Committee .....................................................................59
         B.       Inconsistency..........................................................................................................59
         C.       Exhibits / Schedules ...............................................................................................59
         D.       Severability ............................................................................................................59
         E.       Governing Law ......................................................................................................60
         F.       Successors and Assigns..........................................................................................60
         G.       Service of Documents ............................................................................................60
                  1.         The Debtors ................................................................................................60
                  2.         DIP Agent ..................................................................................................60
                  3.         Creditors’ Committee.................................................................................61
                  4.         The U.S. Trustee ........................................................................................61
                  5.         Plan Sponsor ..............................................................................................61
                  6.         SoftBank Group Corp. ...............................................................................62
XIV. CONFIRMATION REQUEST ..........................................................................................62




                                                                 -v-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 117 of 342



                                      INTRODUCTION

        OneWeb Global Limited, OneWeb Holdings LLC, OneWeb Communications Limited,
WorldVu Satellites Limited, WorldVu Development LLC, WorldVu JV Holdings LLC, 1021823
B.C. LTD, Network Access Associates Limited, OneWeb Limited, WorldVu South Africa (Pty)
Ltd., OneWeb Chile SpA, WorldVu Australia Pty Ltd., WorldVu Unipessoal Lda., OneWeb
Norway AS, OneWeb ApS, OneWeb Network Access Holdings Limited, OneWeb G.K., OneWeb
Ltd, and WorldVu Mexico S. DE R. L. DE C.V. propose this joint chapter 11 plan pursuant to
section 1129 of the Bankruptcy Code. The Debtors’ cases have been consolidated for procedural
purposes only and are being jointly administered pursuant to an order of the Bankruptcy Court.
The Plan constitutes a separate Plan for each Debtor and does not effectuate a substantive
consolidation of the Debtors or their Estates.

     ALL CREDITORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED
TO READ THE DISCLOSURE STATEMENT ACCOMPANYING THE PLAN IN ITS
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. SUBJECT TO
CERTAIN RESTRICTIONS AND REQUIREMENTS SET FORTH IN SECTION 1127 OF
THE BANKRUPTCY CODE, BANKRUPTCY RULE 3019 AND THE PLAN, THE
DEBTORS RESERVE THE RIGHT TO ALTER, AMEND, MODIFY, REVOKE OR
WITHDRAW THE PLAN PRIOR TO ITS SUBSTANTIAL CONSUMMATION.

I.     DEFINED TERMS, RULES OF INTERPRETATION AND COMPUTATION OF
       TIME

       A.      Defined Terms

        Capitalized terms used in the Plan and not otherwise defined herein have the meanings set
forth below. Any term that is not defined in the Plan, but that is defined in the Bankruptcy Code
or the Bankruptcy Rules, has the meaning given to that term in the Bankruptcy Code or the
Bankruptcy Rules, as applicable.

         1.     “Additional Cash Plan Funding” means the amount, up to $850 million, that the
Plan Sponsor will provide, less the amount of the Interim Funding, to the Reorganized Company
Party on or following the Effective Date to fund, as and when due: (a) all Allowed Cure Claims;
(b) all Administrative Expense Claims, including those necessary to fund the Wind-Down Reserve
(but excluding Cure Claims), Allowed Priority Tax Claims, Allowed Other Secured Claims, and
all Allowed Priority Non-Tax Claims, in each case, to the extent required to receive cash payment,
up to the Effective Date Cash Funding Cap (excluding any Administrative Expense Claims that
are being paid from the Cash Consideration or the Interim Funding) or such greater amount as the
Plan Sponsor agrees in its sole discretion; and (c) the Reorganized Company Party’s business
going forward.

       2.     “Additional SoftBank Consideration” means contribution of SoftBank’s Cash
recovery on account of SoftBank’s Allowed DIP Claims in exchange for the SoftBank Rollover
BidCo Equity.

       3.     “Administrative Expense Claims Bar Date” means the deadline for filing
requests for payment of Administrative Expense Claims (other than Fee Claims and Section
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 118 of 342



503(b)(9) Claims), which shall be the first Business Day that is thirty (30) days after the Effective
Date; provided, however that the deadline for filing requests for payment of Section 503(b)(9)
Claims is the Claims Bar Date.

        4.      “Administrative Expense Claim” means any Claim for payment of an
administrative expense of a kind specified in section 503(b) of the Bankruptcy Code and entitled
to priority or superpriority pursuant to sections 364(c)(1), 507(a)(2), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including (a) the actual and necessary costs and expenses incurred after the
Petition Date and through the Effective Date of preserving the estates and operating the businesses
of the Debtors, (b) Fee Claims, (c) any requests for compensation or expense reimbursement for
making a substantial contribution in the chapter 11 cases pursuant to sections 503(b)(3), (4), and
(5) of the Bankruptcy Code, (d) U.S. Trustee Fees, and (e) in respect of any obligations under the
KEIP or the KERP; provided that for the avoidance of doubt U.S. Trustee Fees and Fee Claims
shall receive the treatment set forth in section II.A(1)(c) and section II.A(1)(d), respectively.

        5.      “Affiliate” means, with respect to any Person, any other Person that directly, or
indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, the Person specified, where “control” shall mean the possession, directly or
indirectly, of the power to direct or cause the direction of the management policies of a Person,
through ownership of voting securities or rights, by contract, as trustee, executor or otherwise;
provided that, for purposes of the Plan, Airbus OneWeb Satellites LLC shall not be deemed to be
an Affiliate of OneWeb or any of its Subsidiaries.

        6.      “Allowed” means, with respect to a Claim or Interest, (a) any Claim or Interest
arising on or before the Effective Date (i) as to which a Proof of Claim has been timely filed on or
before the applicable Bar Date, (ii) as to which no objection to allowance, priority, or secured
status, and no request for estimation or other challenge, including, without limitation, pursuant to
section 502(d) of the Bankruptcy Code or otherwise, has been interposed prior to the Effective
Date, (iii) identified in the Schedules as of the Effective Date as not disputed, not contingent and
not unliquidated, and for which no Proof of Claim has been timely filed, or (iv) as to which an
objection has been determined by a Final Order to the extent such objection is determined in favor
of the respective holder unless subject to another pending objection, (b) any Claim or Interest that
is compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or
Reorganized Debtors (including pursuant to any stipulation or settlement agreement approved by
the Bankruptcy Court), (c) any Claim or Interest as to which the liability of the Debtors or
Reorganized Debtors, as applicable, and the amount thereof are determined by a Final Order of a
court of competent jurisdiction other than the Bankruptcy Court, (d) any Claim or Interest
expressly allowed by a Final Order of the Bankruptcy Court (including, but not limited to, the Cash
Collateral Order and DIP Order), or (e) any Claim or Interest expressly allowed hereunder;
provided that the Claims described in the foregoing clauses shall not include any Section 510(b)
Claims. Claims allowed solely for the purpose of voting to accept or reject the Plan pursuant to
an order of the Bankruptcy Court shall not be considered “Allowed Claims” hereunder.

      7.      “Allowed Secured Notes Claims Equity Amount” means the amount of the
Allowed Secured Notes Claims which will be converted into BidCo Equity Interests, being an
amount equal to the BidCo Equity Consideration.




                                                -2-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 119 of 342



        8.       “Amended Organizational Documents” means the form of the amended
certificates or articles of incorporation, bylaws, or such other applicable formation or governance
documents of the Reorganized Debtors and the Liquidating Debtors, to the extent required to be
amended under the Bankruptcy Code as agreed to between the Debtors and the Plan Sponsor, the
forms of which shall be included in the Plan Supplement.

       9.     “Amended Principal Vendor Contracts” means the Principal Vendor Contracts
as amended in accordance with section 6(c) of the Plan Support Agreement.

       10.     “Antitrust and Foreign Investment Authority” means the U.S. Federal Trade
Commission, the Antitrust Division of the U.S. Department of Justice, CFIUS, any attorney
general of any state of the United States, or any other Governmental Entity (as defined in the Plan
Support Agreement) of any jurisdiction with responsibility for enforcing any Antitrust and Foreign
Investment Laws.

        11.     “Antitrust and Foreign Investment Laws” means any Law (as defined in the Plan
Support Agreement) of any jurisdiction or any country designed to prohibit, restrict, or regulate
actions for the purpose or effect of monopolization, lessening of competition, restraining trade, or
abusing a dominant position, or direct or indirect foreign investment, including the HSR Act, the
Sherman Antitrust Act of 1890, the Clayton Antitrust Act of 1914, the Federal Trade Commission
Act of 1914, Section 721 of the DPA (as defined in the Plan Support Agreement), and any other
Law requiring parties to submit any notification or filing to an Antitrust and Foreign Investment
Authority regarding any investment transaction, merger, acquisition, or joint venture.

        12.     “Assumed Contracts” means all Executory Contracts and Unexpired Leases, other
than those listed on the Rejection Schedule.

       13.    “Assumed Liabilities” means any Actions against or Liabilities of any Debtor
expressly assumed by the Reorganized Debtors hereunder, including without limitation the Cure
Claims.

        14.    “Avoidance Actions” means any and all avoidance, recovery, subordination or
other actions or remedies that have been or may be brought on behalf of the Debtors or the Estates
under the Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, under
sections 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, and 553(b) of the Bankruptcy Code.

      15.    “Avoidance Action Release” means the release by the Debtors and the
Reorganized Debtors of any Avoidance Action against the holder of an Allowed General
Unsecured Claim or an Allowed Ongoing Trade Claim that votes to accept the Plan.

        16.     “Ballot” means the applicable form of ballot distributed to holders of Claims
entitled to vote on the Plan and on which the acceptance or rejection of the Plan is to be indicated.

       17.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§101-
1532, as now in effect or hereafter amended, as applicable to these cases.

        18.    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of New York.


                                                -3-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 120 of 342



      19.     “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
Procedure and the local rules of the Bankruptcy Court, as now in effect or hereafter amended.

       20.   “Bar Date” means the deadlines for asserting Claims established by the Plan or the
Bankruptcy Court, as applicable, including the Claims Bar Date, the Rejection Damages Deadline,
and the Administrative Expense Claims Bar Date.

        21.    “Base Funding Amount” means the $1 billion of funding that Bharti Global
Limited and the Secretary of State for Business, Energy and Industrial Strategy have agreed to
provide Plan Sponsor in order to consummate the Transaction and address the funding
requirements of the Company Parties and Reorganized Company Party on the Effective Date and
going forward as it may be increased by any further equity subscriptions to BidCo on or prior to
the Effective Date.

        22.     “Benefit Plan” means any employee benefit plan (as defined in section 3(3) of
ERISA) and any deferred compensation, bonus, pension, retirement, profit sharing, savings,
incentive compensation, stock purchase, stock option or other equity or equity-linked
compensation, disability, death benefit, hospitalization, medical, dental, life, employment,
retention, change in control, termination, severance, separation, vacation, sick leave, holiday pay,
paid time off, leave of absence, fringe benefit, compensation, incentive, insurance, welfare or any
similar plan, program, policy, practice, agreement or arrangement (including any funding
mechanism therefor), written or oral, whether or not subject to ERISA, and whether funded or
unfunded, in each case that is adopted, sponsored, maintained, entered into, contributed to, or
required to be maintained or contributed to, by any Company Party for the benefit of any Current
Employee other than as set forth on the Rejection Schedule.

       23.     “BidCo” means BidCo 100 Limited, a private limited company organized under
the laws of England and Wales.

       24.     “BidCo Equity Interests” means the equity interests in BidCo.

       25.    “BidCo Equity Consideration” means the portion of the equity interests in BidCo
having a value of $97 million calculated on a BidCo value of the Base Funding Amount plus
additional $97 million notional amount and $87.9 million notional amount attributable to the
SoftBank Rollover BidCo Equity.

        26.    “Business Day” means any day, other than a Saturday, Sunday or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

        27.    “Cash” means the lawful currency of the United States of America and equivalents
thereof.

      28.     “Cash Collateral Order” means the Final Order (I) Authorizing Debtors to Use
Cash Collateral Pursuant to 11 U.S.C. § 363, (II) Granting Certain Protections to Prepetition
Noteholders Pursuant to 11 U.S.C. §§ 361, 362, 363, and 507, and (III) Granting Related Relief
[Docket No. 118], as modified from time to time.

       29.     “Cash Consideration” means $150 million cash.


                                               -4-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 121 of 342



        30.      “Causes of Action” means any action, Claim, cause of action, controversy,
demand, right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
defense, offset, power, privilege, license and franchise of any kind or character whatsoever,
known, unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in law or
in equity or pursuant to any other theory of law. Cause of Action also includes: (a) any right of
setoff, counterclaim or recoupment and any claim for breach of contract or for breach of duties
imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any Avoidance
Action, (d) any claim or defense including fraud, mistake, duress and usury and any other defenses
set forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer claim.

       31.     “CFIUS” means the Committee on Foreign Investment in the United States.

        32.      “CFIUS Approval” means (a) a written notice issued by CFIUS providing, with
respect to a CFIUS Notice, that CFIUS (i) has determined that the transaction notified to CFIUS
under the CFIUS Notice is not subject to review by CFIUS as a covered transaction under section
721 of the DPA (as defined in the Plan Support Agreement), or (ii) it has concluded a review (and
any applicable investigation) of the transaction notified to CFIUS under the CFIUS Notice and has
determined that there are no unresolved national security concerns arising therefrom and
terminated all action under Section 721 of the DPA, or (b) if CFIUS has sent a report to the
President of the United States of America (the “President”) requesting the President’s decision
regarding the CFIUS Notice, then (i) a written notice received from CFIUS announcing the
President’s decision not to take any action to suspend or prohibit the transaction notified to CFIUS
under the CFIUS Notice, or (ii) the President has not taken any action, within fifteen (15) days
after the date the President received such report from CFIUS, to suspend or prohibit the transaction
notified to CFIUS under the CFIUS Notice.

       33.     “CFIUS Notice” means a notice jointly prepared and submitted to CFIUS by the
Debtors and the Plan Sponsor, either in the form of a declaration or a joint voluntary notice, as
applicable, with respect to the transactions contemplated hereby.

      34.    “Claim” means a “claim,” as such term is defined in section 101(5) of the
Bankruptcy Code, against a Debtor.

       35.     “Claims and Noticing Agent” means Omni Agent Solutions, in its capacity as
claims and noticing agent appointed in these cases.

        36.     “Claims Bar Date” means: (a) with respect to all Claims other than those specified
in sub-clauses (b) and (c) of this definition, 5:00 p.m. (Eastern Time) on August 11, 2020; (b) with
respect to Claims held by Governmental Units, 5:00 p.m. (Eastern Time) on September 24, 2020;
and (c) with respect to Claims arising from the rejection of an Executory Contract or Unexpired
Lease, the later of August 11, 2020 or the Rejection Damages Deadline.

       37.   “Claims Objection Deadline” means, for all Claims, including Section 503(b)(9)
Claims and Administrative Expense Claims, the later of: (a) 180 days after the Effective Date and




                                                 -5-
20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                       Main Document
                                             Pg 122 of 342



(b) such other period of limitation for objecting to particular Claims as may be established by the
Plan, the Confirmation Order, or another order of the Bankruptcy Court.

        38.      “Class” means a class of Claims or Interests, as set forth in section II of the Plan.

        39.    “Communications Consent” means any and all filings, consents, licenses notices,
reports, registrations, approvals, permits, expirations of waiting periods, exemptions or
authorizations of Governmental Entities required to be obtained or made under any
Communications Law in connection with the execution, delivery and performance of this
Agreement, the consummation of the Transactions and the conduct of the Business as conducted
on the Agreement Date or during the Support Period, including any Communications Permits
necessary to conduct the Business in such manner and any other Communication Permits held by
OneWeb and each of OneWeb’s Subsidiaries. 2

        40.      “Company Parties” shall mean OneWeb and OneWeb’s Subsidiaries.

      41.    “Confirmation” means the entry of the Confirmation Order on the docket of the
Bankruptcy Court.

       42.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on its docket.

       43.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
consider confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

       44.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code.

       45.     “Creditors’ Committee” means the official committee of unsecured creditors
appointed in these cases pursuant to section 1102 of the Bankruptcy Code.

       46.   “Cure Claim” means a Claim of a counterparty to an Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to sections 365 and/or 1123 of the
Bankruptcy Code on account of monetary defaults under such Executory Contract or Unexpired
Lease.

       47.     “Current Employees” means the Debtors’ employees as of the date immediately
preceding the Effective Date.

        48.    “D&O Liability Insurance Policies” means each insurance policy, including
director and officer liability insurance policies, to which the Debtors are a party as of the date
immediately prior to the Effective Date.




2
    Defined terms used in this definition that are not otherwise defined shall have the meaning ascribed thereto in the
    Plan Support Agreement.



                                                        -6-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                       Pg 123 of 342



       49.    “DDTC Notification” means the notification to the U.S. Directorate of Defense
Trade Controls of the U.S. Department of State required by the International Traffic in Arms
Regulations, 22 CFR § 122.4.

       50.     “Debtors” means, collectively, OneWeb Global Limited, OneWeb Holdings LLC,
OneWeb Communications Limited, WorldVu Satellites Limited, WorldVu Development LLC,
WorldVu JV Holdings LLC, 1021823 B.C. LTD, Network Access Associates Limited, OneWeb
Limited, WorldVu South Africa (Pty) Ltd., OneWeb Chile SpA, WorldVu Australia Pty Ltd.,
WorldVu Unipessoal Lda., OneWeb Norway AS, OneWeb ApS, OneWeb Network Access
Holdings Limited, OneWeb G.K., OneWeb Ltd, and WorldVu Mexico S. DE R. L. DE C.V., as
debtors in possession in these cases.

        51.    “Deficiency Claim” means the unsecured portion of any Secured Notes Claims
arising under section 506(a) of the Bankruptcy Code.

     52.    “DIP Agent” means, jointly, GLAS USA LLC, as the administrative agent, and
GLAS Trust Corporation Limited, as collateral agent, under the DIP Agreement.

        53.    “DIP Agent Fees and Expenses” means the compensation, fees, expenses,
disbursements, and indemnity claims incurred by the DIP Agent, including, without limitation,
attorneys’ and agents’ fees, expenses, disbursements, and noncontingent indemnification
obligations incurred by the DIP Agent, in each case as and to the extent payable or reimbursable
under the DIP Agreement and the DIP Order. For the avoidance of doubt, the DIP Agent Fees and
Expenses shall include, but are not limited to, the reasonable and documented fees, expenses, and
disbursements of counsel.

        54.     “DIP Agreement” means that certain Senior Secured Debtor-in-Possession Term
Loan Credit Agreement, dated as of April 29, 2020, among OneWeb Communications Limited, as
borrower, OneWeb, the DIP Agent, and the DIP Lenders [Docket No. 121, Exh. A] as amended
as of July 10, 2020 pursuant to the DIP Amendment.

       55.     “DIP Amendment” means that certain amendment to the DIP Agreement
authorized by the DIP Amendment Order dated as of July 10, 2020.

        56.    “DIP Amendment Order” means the Order Authorizing the Debtors to Amend
the Existing DIP Facility [Docket No. 398].

       57.    “DIP Claims” means all Claims of the DIP Secured Parties under the DIP Order
and the DIP Agreement, including all Claims of the Plan Sponsor under the Interim Funding.

       58.     “DIP Facility” means the superpriority senior secured delayed-draw debtor-in-
possession credit facility pursuant to the DIP Agreement.

       59.     “DIP Lenders” means the lenders from time to time under the DIP Agreement.

       60.   “DIP Order” means the Order (I) Authorizing Debtors to Obtain Postpetition
Secured Financing, (II) Granting Liens and Providing Superpriority Administrative Expense




                                              -7-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 124 of 342



Claims, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 121],
as modified from time to time, including as set forth in the DIP Amendment Order.

       61.     “DIP Secured Parties” means, collectively, the DIP Agent and the DIP Lenders.

      62.      “Disbursing Agent” means an Entity appointed to make the distributions required
by the Plan after the Effective Date, which may be the Liquidating Debtors and/or Plan
Administrator.

        63.    “Disclosure Statement” means the Disclosure Statement for Second Amended
Joint Chapter 11 Plan of OneWeb Global Limited et al. with respect to the Plan (including all
exhibits and schedules thereto or referenced therein) approved by the Disclosure Statement Order.

        64.    “Disclosure Statement Order” means the order of the Bankruptcy Court dated [●]
[Docket No. ●], approving the Disclosure Statement as containing adequate information pursuant
to section 1125 of the Bankruptcy Code.

        65.     “Disputed Claim” means any Claim or a portion of a Claim: (a) that is neither an
Allowed Claim nor a disallowed Claim; (b) that is listed as disputed, contingent or unliquidated in
the Schedules or that is otherwise subject to an objection; or (c) for which a Proof of Claim has
been timely filed or a written request for payment has been made, but (i) the Debtors (or any other
party in interest entitled to do so) have interposed a timely objection or request for estimation with
respect thereto, which objection or request for estimation has not been withdrawn or determined
by a Final Order or (ii) such Proof of Claim has been asserted in an amount that is greater than the
undisputed, non-contingent or liquidated amount listed for such Claim in the Schedules.

       66.     “Distribution” means any distribution of property to a holder of an Allowed Claim
on account of such Claim in accordance with sections II and VII of the Plan.

       67.     “Distribution Date” means the Initial Distribution Date, any Periodic Distribution
Dates, or the Final Distribution Date. Whenever the Plan provides that a Distributions must be
made on a particular Distribution Date it shall be deemed made on such Distribution Date if made
as promptly thereafter as practicable.

        68.    “Distribution Record Date” means the date for determining which holders of
Allowed Claims are eligible to receive Distributions hereunder, which, unless otherwise specified,
shall be the Confirmation Date or such other date as designated by the Bankruptcy Code.

        69.   “Effective Date” means the date, as determined by the Debtors, on which: (a) no
stay of the Confirmation Order is in effect, and (b) all conditions precedent set forth in section
IX.B hereof have been satisfied or waived in accordance with the terms hereof.

        70.     “Effective Date Cash Funding Cap” means the amount, up to $25.9 million or
such greater amount as the Plan Sponsor agrees in its sole discretion, of the Additional Cash Plan
Funding that Plan Sponsor will fund, either directly or to the Reorganized Debtors on the Effective
Date to satisfy Administrative Expense Claims, including those necessary to fund the Wind-Down
Reserve (but excluding Cure Claims), Allowed Priority Tax Claims, Allowed Other Secured
Claims, and Allowed Priority Non-Tax Claims, in each case, to the extent required to receive cash


                                                -8-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 125 of 342



payment, provided that such cap will not apply to any Administrative Expense Claims that are
being paid from the Cash Consideration or the Interim Funding or the Ongoing Trade Claims
Recovery Pool. For the avoidance of doubt, the Ongoing Trade Claims Recovery Pool and the
General Unsecured Claims Settlement Distribution amount are in addition to and shall not be
subject to the Effective Date Cash Funding Cap.

        71.    “Effective Date Cash Funding Reserve Amount” means the estimated total
amount of all outstanding Administrative Expense Claims, including those necessary to fund the
Wind-Down Reserve (but excluding Cure Claims), Allowed Priority Tax Claims, Allowed Other
Secured Claims, and Allowed Priority Non-Tax Claims, in each case, to the extent required to
receive cash payment, excluding any Administrative Expense Claims that are being paid from the
Cash Consideration or the Interim Funding, through and including the Effective Date, in each case
as determined in good faith by the Debtors and delivered to Plan Sponsor no later than five days
before the Effective Date.

       72.    “English Law” means all laws, rules, regulations and statutes of the legal system
of England and Wales.

       73.     “Entity” means an individual, firm, corporation, partnership, limited liability
company, association, joint stock company, joint venture, estate, trust, unincorporated
organization or government or any political subdivision thereof.

        74.    “Estate” means, as to each Debtor, the estate created for such Debtor pursuant to
section 541 of the Bankruptcy Code.

        75.    “Exculpated Parties” means, collectively and individually, (a) the Debtors; (b) the
Plan Sponsor; (c) the Creditors’ Committee and its members, (d) the DIP Secured Parties; (e) the
Prepetition Secured Parties; and (f) the Representatives of each of the foregoing, solely in their
respective capacities as such.

       76.    “Executory Contract and/or Unexpired Lease” means a contract or a lease to
which a Debtor is a party or with respect to which a Debtor may be liable that is capable of being
assumed, assumed and assigned or rejected under section 365 of the Bankruptcy Code, including
any modifications, amendments, addenda or supplements thereto.

      77.     “Excluded Assets” means any of the Debtors’ assets designated by the Plan
Sponsor to be transferred to the Liquidating Debtors and identified as “Excluded Assets” on
Annex D to the Disclosure Statement.

       78.    “Excluded Liabilities” means any Causes of Actions against or Liabilities of any
Debtor that are not Assumed Liabilities, including, for the avoidance of doubt, any rejection
damages arising from the rejection of any Executory Contract or Unexpired Lease.

       79.     “FCC” means the U.S. Federal Communications Commission, or any successor
agency.




                                              -9-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 126 of 342



       80.     “Fee Claim” means a Claim under sections 328, 330(a) or 331 of the Bankruptcy
Code for compensation of a Professional for services rendered and expenses incurred in connection
with these cases prior to the Effective Date.

         81.    “Fiduciary Exculpated Parties” means Exculpated Parties that are fiduciaries of
any of the Estates or that are such fiduciaries’ current and former officers and directors, principals,
equity holders, members, partners, managers, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives,
investment managers, investment advisors, management companies, fund advisors, and other
professionals, and such Persons’ respective heirs, executors, estates, and nominees, in each case
in their capacity as such.

       82.   “Final Distribution Date” means, for a particular Class of Claims, the Distribution
Date upon which final Distributions to the holders thereof are to be made.

        83.      “Final Order” means an order or judgment of the Bankruptcy Court or another
court of competent jurisdiction, entered on the docket of the applicable court, that has not been
reversed, stayed, modified or amended, and as to which the time to appeal or seek certiorari or
move for a vacatur, new trial, reargument or rehearing has expired, and no appeal or petition for
certiorari or a proceeding for a vacatur, new trial, reargument or rehearing has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been timely
filed has been withdrawn or resolved by the highest court to which the order or judgment was
appealed or from which certiorari was sought or the vacatur, new trial, reargument or rehearing
shall have been denied or resulted in no modification of such order; provided that no order or
judgment shall fail to be a “Final Order” solely because of the possibility that a motion pursuant
to section 502(j) or 1144 of the Bankruptcy Code or under Rule 60 of the Federal Rules of Civil
Procedure or Bankruptcy Rule 9024 has been or may be filed with respect to such order or
judgment.

       84.    “First and Second Cure Notices” means the Notice of Potential Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases in Connection with Sale
[Docket No. 232] and the Supplemental Notice of Potential Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases in Connection with Sale [Docket No. 323].

        85.    “General Unsecured Claim” means any Claim that is not a Secured Claim, an
Ongoing Trade Claim, an Intercompany Claim, a Section 510(b) Claim or a Claim entitled to
priority under the Bankruptcy Code, but includes, for the avoidance of doubt, the Deficiency
Claims which shall be treated as a Class 1 Claim.

       86.    “General Unsecured Claims Settlement Distribution” means $6.1 million in
Cash to be funded by BidCo to the Debtors to fund distributions to holders of Allowed General
Unsecured Claims and Allowed Ongoing Trade Claims.

       87.    “GLAS” means, collectively, Global Loan Agency Services Limited and GLAS
Trust Corporation Limited.

      88.    “Governmental Unit” shall have the meaning set forth in section 101(27) of the
Bankruptcy Code.


                                                - 10 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 127 of 342



       89.     “HM Revenue and Customs” means Her Majesty’s Revenue and Customs.

        90.    “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976 and
the rules and regulations promulgated thereunder, and any successor to such statute, rules, or
regulations.

      91.    “Impaired” means “impaired,” as such term is defined in section 1124 of the
Bankruptcy Code.

        92.    “Indemnification Obligations” means each of the Debtors’ indemnification
obligations (whether in charters, bylaws, limited liability company agreements, or other
organizational documents) in place immediately prior to the Effective Date to indemnify officers
and directors of the Debtors serving in such capacities as of the Petition Date with respect to all
present and future actions, suits, and proceedings against the Debtors or such officers or directors
based upon any act or omission for or on behalf of the Debtors.

        93.    “Initial Distribution Date” means the Effective Date or the date occurring as soon
as reasonably practicable after the Effective Date when Distributions commence.

        94.   “Intercompany Claim” means any Claim held by a Debtor or an Affiliate of a
Debtor against another Debtor or an Affiliate of a Debtor, whether or not such Claim is reflected
in intercompany book entries.

        95.   “Intercompany Interest” means any Interest in a Debtor held by another Debtor.
For the avoidance of doubt, an Intercompany Interest shall exclude the OneWeb Interests.

        96.     “Interest” means any common or preferred stock, limited liability company
interest, equity security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership
or profit interest in a Debtor, whether or not certificated, transferable, or voting.

       97.    “Interim Funding” means $110 million of additional new-money financing
provided by the Plan Sponsor to the Debtors pursuant to the DIP Amendment and the DIP
Amendment Order.

       98.    “Interim Funding DIP Claim” means a DIP Claim held by the Plan Sponsor in
connection with the Interim Funding.

        99.    “KEIP” means the Debtors’ Key Employee Incentive Plan, as approved by the
Order (I) Approving Key Employee Incentive Program and Key Employee Retention Program;
(II) Authorizing Payments Thereunder; and (III) Granting Related Relief [Docket No. 235].

        100. “KERP” means the Debtors’ Key Employee Retention Plan, as approved by the
Order (I) Approving Key Employee Incentive Program and Key Employee Retention Program;
(II) Authorizing Payments Thereunder; and (III) Granting Related Relief [Docket No. 235].

       101. “Liabilities” means, as to any Person, all debts, adverse Claims, liabilities,
commitments, responsibilities, and obligations of any kind or nature whatsoever, direct or indirect,
absolute or contingent, whether accrued or unaccrued, vested or otherwise, liquidated or



                                               - 11 -
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 128 of 342



unliquidated, whether known or unknown, and whether or not actually reflected, or required to be
reflected, in such Person’s balance sheet or other books and records.

       102.    “Lien” means “lien” as defined in section 101(37) of the Bankruptcy Code.

       103. “Liquidating Debtors” means that Debtor or those Debtors whose stock interests
are not transferred directly or indirectly to the Plan Sponsor as part of the Transaction, which
Debtor or Debtors shall remain in existence after the Effective Date for the purpose of winding
down the estates and effectuating the Distributions under the Plan, and the interests of such Debtor
or Debtors shall be identified as Excluded Assets.

     104. “New Equity Interests” means 100% of the equity interests in the Reorganized
Company Party.

       105. “Notice Parties” means the Debtors, the Reorganized Debtors, the Liquidating
Debtors and the Plan Administrator, as applicable, as well as the Secured Notes Agent, the DIP
Agent, the Plan Sponsor, Creditors’ Committee and the U.S. Trustee.

       106.    “OneWeb” means OneWeb Global Limited.

       107.    “OWC” means OneWeb Communications Limited.

       108. “OneWeb Interests” means the Interests in OneWeb, including any Awards (as
defined in the Liquidated Incentive Plans).

        109. “Ongoing Trade Claimant” means those ongoing trade vendors that will continue
after the Effective Date to provide goods and services to the Reorganized Debtors and which hold
Ongoing Trade Claims.

         110. “Ongoing Trade Claims” means unsecured Claims that are fixed, liquidated, and
undisputed payment obligations to third-party providers of goods and services to the Debtors that
facilitate the Debtors’ operations in the ordinary course of business and will continue to do so after
the Effective Date, as determined by the Debtors with the consent of the Plan Sponsor; for the
avoidance of doubt, each holder of an Ongoing Trade Claim shall receive a Ballot for Class 5 as
part of the Solicitation Package (as defined in the Disclosure Statement Order).

      111. “Ongoing Trade Claims Recovery Pool” means $350,000 in Cash if Class 5
(Ongoing Trade Claims) is an Accepting Class.

        112. “Opt-out Form” means the form provided to all holders of Claims and Interests
deemed to have accepted or rejected the Plan allowing such holders to elect to opt out of the
releases provided in section XI.E of the Plan in accordance with the Disclosure Statement Order.

       113. “Ordinary Course Professionals Order” means the Order Authorizing Debtors
to Employ and Pay Professionals Utilized in the Ordinary Course of Business [Docket No. 107]
entered by the Bankruptcy Court on April 30, 2020.




                                                - 12 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 129 of 342



      114. “Other Secured Claim” means a Secured Claim other than an Administrative
Expense Claim, a DIP Claim, a Priority Tax Claim, or a Secured Notes Claim.

        115. “Periodic Distribution Date” means, unless otherwise ordered by the Bankruptcy
Court, (a) the first Business Day that is 180 days after the Initial Distribution Date and
(b) thereafter, the first Business Day that is 180 days after the immediately preceding Periodic
Distribution Date.

       116. “Person” means an individual, a partnership, a joint venture, a corporation, a
business trust, a limited liability company, a trust, an unincorporated organization, a joint stock
company, a labor union, an estate, a Governmental Entity (as defined in the Plan Support
Agreement), or any other entity.

       117.    “Petition Date” means March 27, 2020.

       118. “Plan” means this Second Amended Joint Chapter 11 Plan for OneWeb Global
Limited, et al. and all exhibits, appendices, and schedules thereto, including all documents and
instruments contained in the Plan Supplement, as the same may be amended, modified or
supplemented in accordance with its terms.

        119. “Plan Administrator” means a person appointed by the Liquidating Debtors to
administer Claims reconciliation and oversee the wind-down of their respective Estates after the
Effective Date. The identity, role, and compensation of the Plan Administrator will be disclosed
in the Plan Supplement.

        120. “Plan Document” means any of the documents, other than this Plan, to be
executed, delivered, assumed, or performed in connection with the occurrence of the Effective
Date, including the documents to be included in the Plan Supplement, all of which shall be in form
and substance as provided herein and reasonably acceptable to the Debtors and Plan Sponsor.

       121.    “Plan Sponsor” means BidCo 100 Limited.

        122. “Plan Supplement” means the compilation of documents and forms of documents
that constitute exhibits, appendices, and schedules to the Plan that will be filed before the Voting
Deadline including, without limitation: (a) the Amended Organizational Documents; (b) details
regarding the Plan Administrator’s role and compensation; (c) the Rejection Schedule; (d) the
identity and affiliations of the Reorganized Debtors’ directors and officers to the extent known at
the time of filing; and (e) Retained Causes of Action Schedule. Subject to the provisions of the
Plan Support Agreement, the Debtors will have the right to alter, amend, modify, or supplement
the documents contained in the Plan Supplement through the Effective Date.

       123. “Plan Support Agreement” means that certain Plan Support Agreement dated as
of July 1, 2020 as amended, supplemented, or otherwise modified from time to time, among
OneWeb, OneWeb’s Subsidiaries listed as signatories thereto, and the Plan Sponsor.

        124. “Plan Support Agreement Order” means the Order authorizing the Debtors to
enter into the Plan Support Agreement [Docket No. 400].



                                               - 13 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 130 of 342



       125. “Prepetition Secured Parties” means the holders of the Secured Notes and the
Secured Notes Agent.

        126. “Principal Vendor Contracts” means those contracts listed on Section 1(eeee) of
the disclosure schedules to the Plan Support Agreement.

        127. “Priority Non-Tax Claim” means a Claim entitled to priority under section 507(a)
of the Bankruptcy Code, other than an Administrative Expense Claim or a Priority Tax Claim.

       128. “Privilege Rights” means, collectively, any attorney-client privilege, attorney
work-product protection or any other similar privilege or protection from disclosure belonging to
or operating in favor of the Debtors and their Estates.

        129. “Priority Tax Claim” means a Claim that is entitled to priority pursuant to
section 507(a)(8) of the Bankruptcy Code.

        130. “Professional” means any professional person employed in these cases pursuant
to sections 327, 328, 363 or 1103 of the Bankruptcy Code, including any Entity employed pursuant
to the Ordinary Course Professionals Order.

       131. “Professional Fee Escrow” means an escrow account to be established and funded
on the Effective Date in an amount equal to the Professional Fee Reserve Amount in accordance
with section II.A.1.e hereof.

       132. “Professional Fee Reserve Amount” means the total amount of unpaid
compensation and unreimbursed expenses incurred by Professionals retained by the Debtors or
any official committee through and including the Effective Date, in ease case as determined in
good faith by the applicable professional.

       133. “Proof of Claim” means a proof of Claim filed with the Bankruptcy Court or the
Claims and Noticing Agent in accordance with the applicable order of the Bankruptcy Court.

       134. “Reinstated” means, with respect to a Claim, that such Claim is accorded treatment
provided in section 1124(1) of the Bankruptcy Code.

        135. “Rejection Damages Deadline” means the deadline by which a Proof of Claim on
account of damages resulting from rejection of an Executory Contract and Unexpired Lease must
be filed, which shall be such date specified by any order of the Bankruptcy Court or 30 days after
notice of such rejection if not otherwise specified.

        136. “Rejection Schedule” means a list of Executory Contracts and Unexpired Leases
that shall not be assumed and shall be rejected pursuant to the Plan, which list shall be filed as part
of the Plan Supplement, as may be amended from time to time consistent with last paragraph of
Section VI.C. Notwithstanding anything in Section I.A.122, following the deadline for filing the
Plan Supplement, the Rejection Schedule may only be amended in accordance with the preceding
sentence.




                                                - 14 -
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 131 of 342



       137. “Released Parties” means each of the following, in each case in their capacity as
such: (a) the Creditors’ Committee and its members, (b) the DIP Secured Parties (excluding the
Plan Sponsor); (c) the Prepetition Secured Parties; (d) each of the Debtors, Reorganized Debtors
and Liquidating Debtors; and (e) with respect to the foregoing, each such Entity’s Representatives;
provided that, if any Entity objects to Confirmation of, or votes to reject, the Plan, such Entity and
such Entity’s Representatives shall not be Released Parties.

        138. “Releasing Parties” means each of the following, in each case, in their capacity as
such: (a) each of the Released Parties, (b) the Debtors; (c) the Reorganized Debtors; (d) the
Liquidating Debtors; (e) all holders of Claims that vote to accept the Plan; (f) all holders of Claims
that are entitled to vote on the Plan, but abstain from voting and do not affirmatively opt out of the
releases provided by the Plan by checking the appropriate box on the applicable Ballot; (g) all
holders of Claims and Interests deemed to have accepted the Plan who do not affirmatively opt out
of the releases provided by the Plan by submitting a duly completed Opt-out Form; and (h) with
respect to each of the foregoing, such Entity’s Representatives.

       139. “Reorganized Company Party” means, on or after the Effective Date,
(a) OneWeb, as reorganized pursuant to the Plan, (b) OneWeb Communications Limited, as
reorganized pursuant to the Plan, (c) any successor to either of the foregoing, or (d) one or more
newly-formed entity or entities to hold the equity interests in either of the Entities described in
clause (a) or clause (b) above, in each case as reasonably agreed by the Debtors and the Plan
Sponsor.

        140. “Reorganized Debtors” means, on and after the Effective Date, all Debtors that
are not Liquidating Debtors, including the Reorganized Company Party.

        141. “Representatives” means, with respect to any Entity, solely in their respective
capacities as such, (a) such person’s or Entity’s successors, predecessors, Affiliates, current and
former officers, directors, employees, partners, limited partners, general partners, principals,
managers, members, management companies, advisory board members, investment managers,
employees, equity holders (regardless of whether interests are held directly or indirectly), agents,
attorneys, investment bankers, financial advisors, accountants or other professionals, and (b) such
person’s or Entity’s Affiliates’ current and former directors, managers, officers, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, and other professionals.

        142. “Restraints” means, collectively, any Law or Order (each as defined in the Plan
Support Agreement) restraining, enjoining, preventing or prohibiting the Transactions (as defined
in the Plan Support Agreement) or otherwise making the Transactions illegal.

        143. “Retained Causes of Action” means all claims, obligations, suits, judgments,
damages, demands, debts, rights, causes of action and liabilities, arising on, prior to or after the
Petition Date, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereafter arising in law, equity or
otherwise, including Avoidance Actions, asserted, or which may be asserted, by or on behalf of
any of the Debtors or the Estates, based in law or equity, including, without limitation, whether
asserted or unasserted as of the Effective Date, that are retained by the Reorganized Debtors; which



                                                - 15 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 132 of 342



for the avoidance of doubt shall not include any Avoidance Action released pursuant to the
Avoidance Action Release or any claims, obligations, suits, judgments, damages, demands, debts,
rights, causes of action or liabilities against any Released Party.

       144. “Retained Causes of Action Schedule” means the schedule listing all Retained
Causes of Action to be included with the Plan Supplement.

        145. “Schedules” means, collectively, the (a) schedules of assets and liabilities and
(b) statements of financial affairs filed by the Debtors pursuant to section 521 of the Bankruptcy
Code, as each may be amended and supplemented from time to time.

        146. “Scheme of Arrangement” means a scheme, compromise or arrangement under
Part 26 or 26A of the English Companies Act 2006.

        147. “Section 503(b)(9) Claim” means an Administrative Expense Claim arising under
section 503(b)(9) of the Bankruptcy Code.

      148. “Section 510(b) Claim” means any option, warrant, right, or other security or
agreement to obtain an Interest, whether or not arising under or in connection with any employment
agreement, subject to subordination pursuant to section 510(b) of the Bankruptcy Code.

        149. “Secured Claim” means a Claim secured by a valid and perfected Lien on property
in which an Estate has an interest or that is subject to a valid right of setoff under section 553 of
the Bankruptcy Code, to the extent of the value of its holder’s interest in the Estate’s interest in
such property or to the extent of the amount subject to setoff, as applicable, as determined pursuant
to section 506(a) of the Bankruptcy Code.

       150. “Secured Note Purchase Agreement” means that certain Amended and Restated
Note Purchase Agreement, dated as of March 18, 2019, among the Secured Notes Agent, OneWeb
Communications Limited, as issuer, WorldVu Satellites Ltd. and certain of its Subsidiaries as
guarantors, and the parties identified as “Purchaser” thereunder.

       151. “Secured Notes” means the promissory notes issued pursuant to the Secured Note
Purchase Agreement.

       152. “Secured Notes Agent” means, collectively, Global Loan Agency Services
Limited, as administrative agent, and GLAS Trust Corporation Limited, as collateral agent, under
the Secured Note Purchase Agreement.

       153. “Secured Notes Agent Fees and Expenses” means the compensation, fees,
expenses, disbursements, and indemnity claims incurred by GLAS, solely in its capacity as the
Secured Notes Agent, including, without limitation, attorneys’ and agents’ fees, expenses,
disbursements, and noncontingent indemnification obligations incurred by GLAS, solely in its
capacity as the Secured Notes Agent, in each case as and to the extent payable or reimbursable
under the Secured Note Purchase Agreement or any other Transaction Document (as defined in
the Secured Note Purchase Agreement), as applicable. For the avoidance of doubt, the Secured
Notes Agent Fees and Expenses shall include, but are not limited to, the reasonable and
documented fees, expenses, and disbursements of counsel.


                                               - 16 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 133 of 342



       154. “Secured Notes Claims” means Secured Claims on account of the Secured Notes
and the Secured Note Purchase Agreement and the Deficiency Claims.

       155. “Secured Tax Claim” means any Secured Claim that, absent its secured status,
would be entitled to priority under section 507(a)(8) of the Bankruptcy Code.

        156. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as now
in effect or hereafter amended, and the rules and regulations promulgated thereunder.

       157.    “Settlement” has the meaning set forth in Section IV.B.

       158.    “SoftBank” means SoftBank Group Corp.

        159. “SoftBank Rollover BidCo Equity” means $87.9 million of BidCo Equity
Interests, to be valued on the same basis as the BidCo Equity Consideration, having the same rights
and restrictions as the BidCo Equity Consideration to be issued to SoftBank in exchange for its
entitlement to a Cash recovery of approximately $91 million on account of its Allowed DIP
Claims.

        160.    “Standing Motion” means the Official Committee of Unsecured Creditors’ (I)
Motion for Order Granting Derivative Standing to Pursue and, if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination against Certain Purported Secured Creditors,
and (II) Objection to such Creditors’ Claims [Docket No. 402].

        161. “Subsidiary” means, with respect to any Person (a) a corporation, a majority of
whose capital stock with voting power, under ordinary circumstances, to elect directors is at the
time, directly or indirectly, owned by such Person, by a subsidiary of such Person, or by such
Person and one or more subsidiaries of such Person, (b) a partnership in which such Person or a
subsidiary of such Person is, at the date of determination, a general partner of such partnership, or
(c) any other Person (other than a corporation) in which such Person, a subsidiary of such Person
or such Person and one or more subsidiaries of such Person, directly or indirectly, at the date of
determination thereof, has (i) at least a majority ownership interest thereof or (ii) the power to elect
or direct the election of a majority of the directors or other governing body of such Person,
provided that, for purposes of this Agreement, neither Airbus OneWeb Satellites LLC nor OneWeb
Limited Liability Company shall be deemed to be a Subsidiary of OneWeb or any of its
Subsidiaries.

        162. “Transaction” means the transfer of the New Equity Interests to the Plan Sponsor
on the terms, and subject to the conditions as set forth in the Plan.

       163.    “Unimpaired” means, with respect to a Claim, a Claim that is not Impaired.

       164. “United Kingdom” means, collectively, the United Kingdom, its agencies,
departments, agents, arm’s length bodies, Governmental Entities (as defined in the Plan Support
Agreement), and Governmental Units.

       165.    “Unsecured” means, with respect to a Claim, a Claim that is not a Secured Claim.




                                                 - 17 -
20-22437-rdd         Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 134 of 342



        166.    “U.S. Trustee” means the Office of the United States Trustee for Region 2.

       167. “U.S. Trustee Fees” means all fees payable pursuant to 28 U.S.C. § 1930(a),
together with any interest thereon pursuant to 31 U.S.C. § 3717.

       168. “Voting Deadline” means the deadline for submitting Ballots to accept or reject
the Plan in accordance with section 1126 of the Bankruptcy Code, which is 4:00 p.m. (prevailing
Eastern Time) on [●], 2020.

       169. “Wind-Down Reserve” means $3 million allocated to the winding down of the
Liquidating Debtors to be funded by the Plan Sponsor from the Additional Cash Plan Funding.

        B.      Rules of Interpretation and Computation of Time

                1.      Rules of Interpretation

        For purposes of the Plan, unless otherwise provided herein: (a) whenever it is appropriate
from the context, each term, whether stated in the singular or the plural, includes both the singular
and the plural; (b) unless otherwise provided in the Plan, any reference to a contract, agreement,
release or another instrument or document being in a particular form or on particular terms means
that such document shall be substantially in such form or substantially on such terms and
conditions; (c) any reference to a document or exhibit filed or to be filed means such document or
exhibit, as it may have been or may be amended, modified or supplemented pursuant to the Plan,
Confirmation Order or otherwise; (d) any reference to a holder of a Claim or Interest includes that
holder’s successors, assigns and affiliates; (e) all references to sections, articles and exhibits are
references to sections, articles and exhibits of or to the Plan; (f) the words “herein,” “hereunder”
and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;
(g) captions and headings to articles and sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of the Plan; and (h) the rules of
construction set forth in section 102 of the Bankruptcy Code (other than subsection (5) thereof)
shall apply to the extent not inconsistent with any other provision of this Section I.B.1.

                2.      Computation of Time

      In computing any period of time prescribed or allowed by the Plan, the provisions of
Bankruptcy Rule 9006(a) apply.

                3.      Reference to Monetary Figures

        All references in the Plan to monetary figures refer to the lawful currency of the United
States of America, unless otherwise expressly provided.

II.     CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        All Claims and Interests, except for the Claims set forth in subsection A below, are
classified for voting and Distribution purposes as set forth below. A Claim or Interest is classified
in a particular Class only to the extent that such Claim or Interest fits within the description of that




                                                 - 18 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 135 of 342



Class and is classified in another Class to the extent that another portion of such Claim or Interest
fits within the description of such other Class.

        Solely for the purposes of voting on the Plan and Distributions hereunder, the Estates shall
be deemed substantively consolidated, so that a holder of a Claim that may be asserted against
more than one Debtor shall be entitled to a single Distribution as if such holder had a single Claim
against the consolidated Estates.

       A.      Unclassified Claims

               1.      Administrative Expense Claims

                       a.      Treatment of Administrative Expense Claims

        Except to the extent otherwise expressly provided herein, other than Fee Claims, U.S.
Trustee Fee Claims, DIP Claims and Administrative Expense Claims that have already been paid
by the Debtors during the chapter 11 cases, and except to the extent that a holder of an Allowed
Administrative Expense Claim and the applicable Debtor, with the consent of the Plan Sponsor
(such consent to not be unreasonably withheld), Reorganized Debtor or Liquidating Debtor, as
applicable, agree to less favorable treatment, each holder of an Allowed Administrative Expense
Claim shall be paid 100% of the unpaid Allowed amount of such Claim in Cash by the Reorganized
Debtors from the proceeds of the DIP Facility, Cash on hand and/or Cash funded by BidCo on the
date that is the later of: (a) the Effective Date; (b) the date such Claim would ordinarily be due and
payable in accordance with ordinary business terms; or (c) the date that is fifteen (15) days (or, if
such date is not a Business Day, on the next Business Day) after such Claim becomes an Allowed
Administrative Expense Claim.

                       b.      Administrative Expense Claims Bar Date

        Unless previously filed or as otherwise governed by an order of the Bankruptcy Court,
requests for payment of Administrative Expense Claims (other than Fee Claims and Section
503(b)(9) Claims) that accrued on or before the Effective Date must be filed and served on the
Notice Parties no later than the Administrative Expense Claims Bar Date. Holders of Section
503(b)(9) Claims shall continue to be subject to the Claims Bar Date. Holders of Administrative
Expense Claims that are required to file and serve a request for payment and that do not timely file
and serve such a request shall be forever barred from asserting such Administrative Expense
Claims against the Debtors, the Reorganized Debtors, the Liquidating Debtors or their respective
property, and such Administrative Expense Claims shall be automatically discharged as of the
Effective Date; provided, that, notwithstanding the foregoing in section II.A.1, in the event the
Plan Sponsor is entitled to the expense reimbursement as contemplated by the Plan Support
Agreement, such expense reimbursement will be owed in accordance with the terms of the Plan
Support Agreement and the Plan Support Agreement Order. Objections to requests for payment
of Administrative Expense Claims (other than Fee Claims) must be filed and served on the Notice
Parties and the requesting party no later than the Claims Objection Deadline.

     HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO, BUT DO NOT, FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH
ADMINISTRATIVE EXPENSE CLAIMS BY THE ADMINISTRATIVE EXPENSE


                                                - 19 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 136 of 342



CLAIMS BAR DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
FROM ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS AGAINST THE
DEBTORS, THE REORGANIZED DEBTORS, THE ESTATES, OR THE ASSETS OR
PROPERTY OF ANY OF THE FOREGOING, AND SUCH ADMINISTRATIVE
EXPENSE CLAIMS SHALL BE DISCHARGED AS OF THE EFFECTIVE DATE.

                       c.      U.S. Trustee Fees

         All fees payable pursuant to 28 U.S.C. § 1930 on or before the Effective Date, shall be paid
in full by the Debtors. Fees payable pursuant to 28 U.S.C. § 1930 after the Effective Date shall be
paid by the Liquidating Debtors until the closing of the applicable case pursuant to section 350(a)
of the Bankruptcy Code.

                       d.      Fee Claims

        Professionals asserting Fee Claims for services rendered before the Effective Date must
file and serve on the Notice Parties and such other Entities as are designated by the order
establishing procedures for compensation and reimbursement of expenses of Professionals entered
by the Bankruptcy Court an application for final allowance of such Fee Claims no later than 60
days after the Effective Date; provided, however, that any Professional whose compensation or
reimbursement of expenses is authorized pursuant to the Ordinary Course Professionals Order may
continue to receive such compensation and reimbursement of expenses pursuant to the Ordinary
Course Professionals Order. Objections to any Fee Claim must be filed and served on the Notice
Parties and the requesting party not later than 90 days after the Effective Date or such other period
of limitation as may be established by a Bankruptcy Court’s Order.

        Allowed Fee Claims shall be satisfied from the Professional Fee Escrow. If the amount in
the Professional Fee Escrow is insufficient to pay in full all Allowed Fee Claims, the deficiency
shall be promptly funded by the Reorganized Debtors, without any further action or order of the
Bankruptcy Court.

                       e.      Professional Fee Escrow

       Professionals shall reasonably estimate their unpaid Fee Claims as of the Effective Date,
and shall deliver such estimates to the Debtors no later than five days before the Effective Date;
provided, however, that such estimates shall not be deemed to limit the amount of the Fee Claims
that are the subject of each Professional’s final request for payment in these cases. If a
Professional does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees
and expenses of such Professional.

        On or before the Effective Date, the Debtors shall establish the Professional Fee Escrow
and shall fund such reserve with Cash equal to the Professional Fee Reserve Amount. The
Professional Fee Escrow and the funds therein shall be used for the sole purpose of paying the
Allowed Fee Claims and shall not constitute property of the Debtors, their Estates, the Liquidating
Debtors or the Reorganized Debtors; provided, that the Reorganized Debtors shall hold a residual
interest in the Professional Fee Escrow and, upon the satisfaction of all Allowed Fee Claims, any
funds remaining in the Professional Fee Escrow shall re-vest in the Reorganized Debtors.



                                               - 20 -
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 137 of 342
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 138 of 342
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 139 of 342



                              Other Secured Claim, as applicable: (i) such holder shall receive
                              Cash in an amount equal to the allowed amount of such Claim on
                              the later of the Effective Date and the date that is ten (10) business
                              days after the date such Other Secured Claim becomes an Allowed
                              Claim; (ii) such holder’s Allowed Other Secured Claim shall be
                              Reinstated; (iii) such holder shall receive the collateral securing
                              such Claim and payment of interest required under section 506(b) of
                              the Bankruptcy Code; or (iv) such holder shall receive such other
                              treatment as will render its Allowed Other Secured Claim
                              Unimpaired.

                       c.     Voting. Claims in Class 2 are Unimpaired. Each holder of an
                              Allowed Claim in Class 2 is conclusively presumed to have accepted
                              the Plan and is, therefore, not entitled to vote on the Plan.

               3.      Class 3 – Priority Non-Tax Claims

                       a.     Classification. Class 3 consists of all Priority Non-Tax Claims.

                       b.     Treatment. Except to the extent that a holder of an allowed Priority
                              Non-Tax Claim against the Debtors agrees to a less favorable
                              treatment of such Claim, at the option of the Debtors, with the
                              consent of the Plan Sponsor: (i) such holder shall receive Cash in an
                              amount equal to the allowed amount of such Priority Non-Tax Claim
                              on the later of the Effective Date and the date that is ten (10)
                              business days after the date such Priority Non-Tax Claim becomes
                              an Allowed Claim; or (ii) such other treatment consistent with the
                              provisions of section 1129(a)(9) of the Bankruptcy Code.

                       c.     Voting. Claims in Class 3 are Unimpaired. Each holder of an
                              Allowed Claim in Class 3 is conclusively presumed to have accepted
                              the Plan and is, therefore, not entitled to vote on the Plan.

               4.      Class 4 – General Unsecured Claims

                       a.     Classification. Class 4 consists of all General Unsecured Claims.

                       b.     Treatment. Except to the extent that a holder of an Allowed General
                              Unsecured Claim agrees to less favorable treatment, on or as soon
                              as is reasonably practicable after the Effective Date, each holder
                              thereof, in exchange for full and final satisfaction shall receive its
                              pro rata share of the General Unsecured Claims Settlement
                              Distribution. Each holder of an Allowed General Unsecured Claim
                              that votes to accept the Plan shall receive an Avoidance Action
                              Release.

                       c.     Voting. Claims in Class 4 are Impaired. Each holder of an Allowed
                              Claim in Class 4 is entitled to vote to accept or reject the Plan.


                                              - 23 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 140 of 342



               5.      Class 5 – Ongoing Trade Claims

                       a.     Classification. Class 5 consists of all Ongoing Trade Claims.

                       b.     Treatment. Except to the extent that a holder of an Allowed
                              Ongoing Trade Claim agrees to less favorable treatment, on or as
                              soon as is reasonably practicable after the Effective Date, in
                              exchange for full and final satisfaction, settlement, release and
                              discharge of each Allowed Ongoing Trade Claim, each holder of a
                              Claim in Class 5 shall receive the following treatment:

                              (i)    If Class 5 votes to accept the Plan, each holder of an
                                     Allowed Ongoing Trade Claim shall receive its pro rata
                                     share of both the General Unsecured Claims Settlement
                                     Distribution and the Ongoing Trade Recovery Pool. For the
                                     avoidance of doubt, a vote in favor of the Plan shall
                                     constitute an agreement by each holder of an Allowed
                                     Ongoing Trade Claim to continue to provide goods and
                                     services to the Reorganized Debtors on terms and conditions
                                     no less favorable than currently provided.

                              (ii)   If Class 5 votes to reject the Plan, each holder of an
                                     Allowed Claim in Class 5 shall receive its pro rata share of
                                     the General Unsecured Claims Settlement Distribution.

                                     Each holder of an Allowed Ongoing Trade Claim that votes
                                     to accept the Plan shall receive an Avoidance Action
                                     Release.

                       c.     Voting. Claims in Class 5 are Impaired. Each holder of an Allowed
                              Claim in Class 5 is entitled to vote to accept or reject the Plan.

               6.      Class 6 – Intercompany Claims

                       a.     Classification. Class 6 consists of all Intercompany Claims.

                       b.     Treatment. On the Effective Date, all Intercompany Claims will be
                              adjusted, continued, settled, Reinstated, discharged, or eliminated,
                              as determined by the Debtors with the consent of the Plan Sponsor.
                              For the avoidance of doubt, the treatment provided for in this
                              paragraph shall extend to all Intercompany Claims as between the
                              Debtors (including any Liquidating Debtor) or between any of the
                              Debtors and any of their non-Debtor Affiliates.

                       c.     Voting. Class 6 Claims are either (i) Unimpaired, in which case each
                              holder of an Allowed claim in Class 6 is deemed to accept the Plan,
                              or (ii) Impaired, and not receiving any distribution under the Plan,
                              in which case each holder of an Allowed claim in Class 5 is deemed


                                              - 24 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 141 of 342



                              to reject the Plan.

               7.      Class 7 – Intercompany Interests

                       a.     Classification. Class 7 consists of all Intercompany Interests.

                       b.     Treatment. On the Effective Date, all Intercompany Interests will
                              be adjusted, continued, settled, Reinstated, discharged, or
                              eliminated, as determined by the Debtors, with the consent of the
                              Plan Sponsor, or the Plan Administrator, as applicable.

                       c.     Voting. Class 7 Interests are either (i) Unimpaired, in which case
                              each holder of an Allowed Interest in Class 7 is deemed to accept
                              the Plan, or (ii) Impaired, and not receiving any distribution under
                              the Plan, in which case each holder of an Allowed Interest in Class
                              7 is deemed to reject the Plan.

               8.      Class 8 – Section 510(b) Claims

                       a.     Classification. Class 8 consists of all Section 510(b) Claims.

                       b.     Treatment. On the Effective Date, all Section 510(b) Claims shall
                              be discharged without any Distribution.

                       c.     Voting. Class 8 is Impaired. Each holder of a Claim in Class 8 is
                              conclusively presumed to have rejected the Plan and is, therefore,
                              not entitled to vote on the Plan.

               9.      Class 9 – OneWeb Interests

                       a.     Classification. Class 9 consists of all OneWeb Interests.

                       b.     Treatment. On the Effective Date, all OneWeb Interests shall be
                              deemed cancelled and extinguished and shall be of no further force
                              and effect, whether surrendered for cancellation or otherwise, and
                              there shall be no distributions under the Plan to the holders of
                              OneWeb Interests on account of such Interests.

                       c.     Voting. Class 9 is Impaired. Each holder of a Class 9 Interest is
                              conclusively presumed to have rejected the Plan and is, therefore,
                              not entitled to vote on the Plan.

       D.      Reservation of Rights Regarding Claims

       Except as otherwise provided in the Plan or in any Final Order of the Bankruptcy Court,
nothing herein shall affect the Debtors, Reorganized Debtors’ or Liquidating Debtors’ rights and
defenses, whether legal or equitable, with respect to any Claim.




                                               - 25 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 142 of 342



       E.      Postpetition Interest on Claims

       Except as required by the Bankruptcy Code, postpetition interest shall not accrue or be
payable on account of any Claim.

       F.      Insurance

       Notwithstanding anything to the contrary herein, if any Allowed Claim is covered by an
insurance policy, such Claim shall be paid from the proceeds of such insurance policy, with the
balance, if any, treated in accordance with the provisions of this Plan.

III.   ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY
       ONE OR MORE CLASSES OF CLAIMS OR EQUITY INTERESTS

       A.      Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

        The Debtors are seeking Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to such Classes that are deemed to reject or that otherwise vote to
reject the Plan, and the Plan constitutes a motion for such non-consensual Confirmation. The
Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code
with respect to any other rejecting Class(es).

       B.      Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a holder of a Claim or Interest as of the
date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting
to accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

       C.      Voting Classes

        If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be deemed accepted
by the holders of such Claims or Interests in such Class.

IV.    MEANS OF IMPLEMENTATION

       A.      Deemed Consolidation

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each
Debtor. Solely for purposes of voting on, and receiving Distributions under, the Plan, the Estates
are deemed to be substantively consolidated, i.e., (i) all assets and liabilities of the Debtors are
deemed to be assets and liabilities, respectively, of a single Estate; (ii) all guarantees by one Debtor
of the obligations of any other Debtor are deemed eliminated, (iii) any joint or several liability of
any of the Debtors are deemed to be one obligation of the Debtors; and (iv) Proofs of Claim filed
against multiple Debtors are deemed to be one Claim against a single Estate. This deemed
consolidation will not affect (i) the legal and corporate structures of the Debtors; (ii) the rights of



                                                 - 26 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 143 of 342



the holders of Allowed Claims to receive Distributions from any insurance policies or proceeds of
such policies; (iii) any Liens granted or arising at any time prior to the Effective Date or the priority
of those Liens; or (iv) the rights of the Debtors to contest alleged setoff or recoupment rights on
the grounds of lack of mutuality under section 553 of the Bankruptcy Code and other applicable
law.

         This deemed consolidation is appropriate and justified under the circumstances of these
chapter 11 cases because it (i) causes no harm to the Debtors’ creditors because (a) the DIP Claims
may be asserted against each Debtor, (b) the holders of Secured Notes Claims have Secured Claims
against the majority of the Debtors, and (c) the DIP Claims and Secured Notes Claims exceed the
value of the assets of each Debtor, and (ii) avoids the costs of allocating consideration and
litigation-related costs among the Debtors’ Estates, thereby avoiding diluting creditor recoveries
as a result of increased professional fees, particularly given there has been no allocation of the
consideration to be provided by BidCo amongst the various Debtors and their assets. Therefore,
all Distributions on account of Claims other than the DIP Claims are carved out from the collateral
of the DIP Lenders, and in the absence of such carve-out and the deemed consolidation of the
Debtors’ Estates, such Claims would receive no recovery.

       Subject to section VII, all Distributions made to holders of Allowed Claims and Interests
in any Class are intended to be and shall be final.

        B.      The Settlement

       Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in
consideration of the Distributions and other benefits provided under the Plan, the provisions of the
Plan, including the releases set forth in section XI.E hereof, shall constitute a good-faith
compromise and settlement of all Claims, Interests, disputes and controversies relating to the rights
of holders of Claims and Interests including with respect to the claims asserted in the Committee’s
Standing Motion in exchange for, among other things, the Additional SoftBank Consideration, and
the reduction of BidCo Equity Consideration to be distributed to the holders of Senior Secured
Claims which is facilitating the cash funding of the General Unsecured Claims Settlement
Distribution (the “Settlement”).

        The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as
of the Effective Date, of such compromise and settlement and the Bankruptcy Court’s
determination that such compromise and settlement is in the best interests of the Debtors, their
Estates, their creditors, and all other parties in interest, and is fair, equitable and within the range
of reasonableness. If the Effective Date does not occur, the settlements set forth herein shall be
deemed to have been withdrawn without prejudice to the respective positions of the parties.

        C.      Sources of Consideration for Plan Distributions

        Prior to the Effective Date, the Plan Sponsor will be capitalized with cash and commitments
sufficient to satisfy the Additional Cash Plan Funding. The Reorganized Debtors shall fund
distributions under the Plan from the proceeds of the (i) DIP Facility, including Interim Funding,
(ii) Cash Consideration, (iii) Additional Cash Plan Funding, and Cash funded by BidCo to fund




                                                 - 27 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 144 of 342



(iv) the Ongoing Trade Claims Recovery Pool, and (v) as the result of the Settlement to fund the
General Unsecured Claims Settlement Distribution, and (vi) BidCo Equity Consideration.

               1.      Cash Consideration

        On the Effective Date, the Plan Sponsor shall pay the Cash Consideration (less the amount
of the Deposit) to the Debtors by wire transfer of immediately available funds to an account or
accounts designated in writing by the Debtors before the Effective Date. The Cash Consideration
shall be used to pay Allowed DIP Claims (other than the Interim Funding DIP Claims, as set forth
above) as well as other claims to be satisfied in cash hereunder.

               2.      Additional Cash Plan Funding

       On and following the Effective Date, the Plan Sponsor will provide the Reorganized
Debtors with the Additional Cash Plan Funding to fund, as and when due: (i) all Allowed Cure
Claims; (ii) all Allowed Administrative Expense Claims, including the Wind-Down Reserve (but
excluding Allowed Cure Claims), all Allowed Priority Tax Claims, all Allowed Other Secured
Claims required to receive Cash payment, and all Allowed Priority Non-Tax Claims required to
receive Cash payment, up to an aggregate maximum of $25.9 million (it being agreed that such
aggregate maximum excludes any amounts used to satisfy Allowed Administrative Expense
Claims that are paid with the Cash Consideration or the Interim Funding) or such greater amount
as Plan Sponsor agrees in its sole discretion; and (iii) the Reorganized Debtors’ business going
forward.

       D.      Ongoing Trade Claims Recovery Pool

       On the Effective Date, provided that Class 5 votes to accept the Plan, Cash in an amount of
$350,000 shall be funded by BidCo by wire transfer in immediately available funds to an account
or accounts designated in writing by the Debtors before the Effective Date to fund the Ongoing
Trade Claims Recovery Pool. For the avoidance of doubt, the Ongoing Trade Claims Recovery
Pool shall be funded from the Additional SoftBank Consideration and shall not be included in the
calculation of, or subject to, the Effective Date Cash Funding Cap.

       E.      General Unsecured Claims Settlement Distribution

       On the Effective Date, cash in the amount of $6.1 million shall be funded by BidCo by wire
transfer in immediately available funds to an account or accounts designated in writing by the
Debtors before the Effective Date to fund the General Unsecured Claims Settlement
Distribution. For the avoidance of doubt, the General Unsecured Claims Settlement Distribution
shall be funded from the Additional SoftBank Consideration and shall not be included in the
calculation of, or subject to, the Effective Date Cash Funding Cap.

       F.      Issuance of New Equity Interests, BidCo Equity Interests, and SoftBank
               Rollover BidCo Equity

        On the Effective Date, the Plan Sponsor shall be issued one hundred percent (100%) of the
New Equity Interests in Reorganized Company Party in exchange for the consideration set forth
herein, SoftBank shall receive the SoftBank Rollover BidCo Equity, and each holder of an


                                              - 28 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 145 of 342



Allowed Secured Notes Claim shall receive its pro rata share of the BidCo Equity Consideration,
and that portion of the Allowed Secured Notes Claims not satisfied with the pro rata portion of
the BidCo Equity Consideration will be considered as uncollectible accounts, and the obligations
of the Debtors thereunder or in any way related thereto will be deemed extinguished and cancelled
in full.

               1.      New Equity Interests. The offering, issuance, and distribution of the New
                       Equity Interests shall be exempt from, among other things, the registration
                       requirements of section 5 of the Securities Act and any other applicable law
                       requiring registration prior to the offering, issuance, distribution, or sale of
                       Securities pursuant to section 4(a)(2) of the Securities Act; provided that, to
                       the extent that such exemption is unavailable, such securities shall be issued
                       pursuant to any other available exemptions from registration. With respect
                       to the New Equity Interests issued pursuant to section 4(a)(2) of the
                       Securities Act and Regulation D thereunder, such securities will be
                       considered “restricted securities” and may not be transferred except
                       pursuant to an effective registration statement or under an available
                       exemption from the registration requirements of the Securities Act. The
                       ability to transfer New Equity Interests will be subject to any restrictions in
                       any applicable securities laws as well as any restrictions in the Reorganized
                       Debtors’ Amended Organizational Documents or BidCo’s organizational
                       documents, as applicable. On the Effective Date, the New Equity Interests
                       shall not be registered under the Securities Act, and shall not be listed for
                       public trading on any securities exchange.

               2.      BidCo Equity Interests. Except as otherwise set forth herein, the offering,
                       issuance, and distribution of the BidCo Equity Interests (including the
                       SoftBank Rollover BidCo Equity) shall be exempt from, among other
                       things, the registration requirements of section 5 of the Securities Act and
                       any other applicable law requiring registration prior to the offering,
                       issuance, distribution, or sale of Securities in accordance with section 1145
                       of the Bankruptcy Code, provided that, to the extent that such exemption is
                       unavailable, such securities shall be issued pursuant to any other available
                       exemptions from registration. In addition, under section 1145 of the
                       Bankruptcy Code, such BidCo Equity Consideration and the SoftBank
                       Rollover BidCo Equity will be freely tradable in the U.S. by the recipients
                       thereof, subject to the provisions of (i) section 1145(b)(1) of the Bankruptcy
                       Code relating to the definition of an underwriter in section 2(a)(11) of the
                       Securities Act, (ii) compliance with applicable securities laws and any rules
                       and regulations of the Securities and Exchange Commission, if any,
                       applicable at the time of any future transfer of such securities or instruments,
                       and (iii) any restrictions in the Reorganized Debtors’ Amended
                       Organizational Documents or BidCo’s organizational documents, as
                       applicable. On the Effective Date, the BidCo Equity Consideration and the
                       SoftBank Rollover BidCo Equity shall not be registered under the Securities




                                                - 29 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 146 of 342



                       Act, and shall not be listed for public trading on any securities exchange.

               3.      Authorization, Issuance and Delivery of the New Equity Interests. On
                       the Effective Date, the Reorganized Company Party shall be authorized to
                       issue or cause to be issued and deliver to the Plan Sponsor the New Equity
                       Interests in accordance with the terms of the Amended Organizational
                       Documents without the need for any further corporate or shareholder action
                       subject to section IV.U. The New Equity Interests, when so issued and
                       delivered, shall be duly authorized, validly issued, fully paid and non-
                       assessable.

               4.      Issuance and Delivery of the BidCo Equity Consideration to Class 1.
                       On the Effective Date, BidCo shall issue or cause to be issued and
                       distributed to holders of Allowed Secured Notes Claims pursuant to section
                       II.C.1 the BidCo Equity Consideration without the need for any further
                       corporate or shareholder action provided that BidCo shall take such actions
                       as may be required under English Law to effectuate the foregoing. The
                       BidCo Equity Consideration when so issued and distributed, shall be duly
                       authorized, validly issued, fully paid and non-assessable. Effective as of
                       the Effective Date, such holders will be subject to transfer restrictions and,
                       in addition to statutory protections for minority shareholders, will receive
                       preemptive rights to purchase ordinary shares of BidCo on a pro rata basis
                       in respect of their existing ownership percentage in BidCo in the event of a
                       new issuance of ordinary shares by BidCo, subject to customary exceptions.

       G.      Restructuring Steps Under UK Corporate Law

       The Transaction contemplated herein shall be effectuated through certain steps and
provisions set forth on Exhibit 1 hereto, or such other steps and provisions as may be agreed to by
the Debtors and the Plan Sponsor.

       The Debtors and the Plan Sponsor agree that OWC will be the Reorganized Company Party
and will implement the transactions contemplated by the Plan. The Debtors and the Plan Sponsor
do not believe that it is legally necessary to implement an English Law Scheme of Arrangement
(or any alternative process) to effect the acquisition of the New Equity Interests in compliance
with English Law.

       H.      The Liquidating Debtors

        In order to transfer the Excluded Assets to the Liquidating Debtors, the Debtors may
implement one or more restructuring steps to effectuate such transfers, which such steps shall be
set forth on a schedule to be filed with the Plan Supplement. The Liquidating Debtors shall
continue to exist after the Effective Date for the purposes of making Distributions to the holders
of Allowed Claims under the Plan other than those Claims to be satisfied by the Reorganized
Debtors and to take any other steps in furtherance thereof or as may be reasonably necessary or
appropriate to wind-down the affairs of their Estates. The principal purposes of the Liquidating
Debtors shall be to liquidate, collect and maximize the Cash value of the Excluded Assets, which



                                               - 30 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 147 of 342



shall be transferred to the Liquidating Debtors on, or immediately prior to, the Effective Date and
make distributions in respect of Allowed Claims in accordance with the terms of the Plan. The
Plan Administrator shall be authorized to merge, consolidate, or dissolve any of the Liquidating
Debtors, as the Plan Administrator deems appropriate.

       I.      Plan Administrator

         On the Effective Date, the Plan Administrator shall be appointed for the purpose of (and
shall have the authority to) (i) conducting the wind down of the Estates of the Liquidating Debtors
as expeditiously as reasonably possible; (ii) administering the liquidation or dissolution of the
Liquidating Debtors and their Estates; (iii) selling, abandoning (or effecting a similar disposition)
of the Excluded Assets; (iv) making Distributions to the holders of Allowed Claims in accordance
with the Plan; (v) except to the extent Claims have been previously Allowed, conducting the
Claims reconciliation process, including objecting to, seeking to subordinate, compromise or settle
any and all Disputed Claims; (vi) retaining professionals to assist in performing its duties under
the Plan; (vii) maintaining the books, records, and accounts of the Liquidating Debtors;
(viii) completing and filing, as necessary, all final or otherwise required federal, state, local and
foreign tax returns for the Liquidating Debtors; (ix) creating and funding reserves provided for in
the Plan; (x) investing Cash of the Liquidating Debtors, including any Cash proceeds realized from
the liquidation of the Excluded Assets, if any; (xi) obtaining commercially reasonable liability,
errors and omissions, directors and officers, or other insurance coverage as the Plan Administrator
deems necessary and appropriate; (xii) performing other duties and functions that are consistent
with the implementation of the Plan; (xiii) filing the final monthly operating report (for the month
in which the Effective Date occurs) and all subsequent quarterly reports, and (xiv) cooperating
with the Plan Sponsor in any way necessary to fully effectuate the purposes and the benefit of the
bargain of the Transaction; provided, that the Liquidating Debtors and the Plan Administrator shall
not take any actions that could reasonably be expected to prejudice or would otherwise be adverse
to the Reorganized Debtors.

        The Plan Administrator shall act for the Liquidating Debtors in the same capacity and shall
have the same rights and powers as are applicable to a manager, managing member, board of
managers, board of directors or equivalent governing body, as applicable, and to officers, subject
to the provisions hereof (and all certificates of formation and limited liability company agreements
and certificates of incorporation or by-laws, or equivalent governing documents and all other
related documents (including membership agreements, stockholders agreements or other similar
instruments), as applicable, are deemed amended pursuant to the Plan to permit and authorize the
same).

        From and after the Effective Date, the Plan Administrator shall be the sole representative
of and shall act for the Liquidating Debtors with the authority set forth in this section IV and in
the Plan Supplement.

        Each of the Liquidating Debtors shall indemnify and hold harmless the Plan Administrator
solely in its capacity as such for any losses incurred in such capacity, except to the extent such




                                               - 31 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 148 of 342



losses were the result of the Plan Administrator’s fraud, gross negligence, willful misconduct, or
criminal conduct.

       J.      The Wind Down

        On and after the Effective Date, the Plan Sponsor shall fund the Wind-Down Reserve and
the Liquidating Debtors and the Plan Administrator shall be authorized to implement the Plan and
shall have the power and authority to take any reasonable action necessary to implement the wind
down of the Estates.

        The activities and operations of the Liquidating Debtors and the Plan Administrator should
be funded from the Wind-Down Reserve. Upon the closing of the chapter 11 cases and the
dissolution of the Liquidating Debtors, or such earlier time as it appears, in the reasonable view of
the Plan Administrator, that the Wind-Down Reserve is overfunded, the Plan Administrator shall
make any excess funds available for distribution and funding of the other reserves and
Distributions in accordance with the terms of this Plan.

        Except to the extent necessary to (i) complete the wind down and (ii) effectuate the
Transaction, from and after the Effective Date, the Liquidating Debtors (a) for all purposes, shall
be deemed to have withdrawn the Debtors’ business operations from any state or province or
foreign jurisdiction in which the Debtors were previously conducting, or are registered or licensed
to conduct, their business operations, and shall not be required to file any document, pay any sum,
or take any other action to effectuate such withdrawal and (b) shall not be liable in any manner to
any taxing authority for franchise, business, license, or similar taxes accruing on or after the
Effective Date; provided, that the above shall not preclude the Plan Administrator from taking any
action necessary to dissolve or wind down any Liquidating Debtor pursuant to any dissolution,
winding down or similar proceeding.

       K.      Continued Corporate Existence.

         Except as otherwise provided in this Plan, the Reorganized Debtors and the Liquidating
Debtors shall continue to exist after the Effective Date. At any time after the Effective Date, each
Liquidating Debtor or Reorganized Debtor, in its sole and exclusive discretion, may take such
action as permitted by applicable law as such Liquidating Debtor or Reorganized Debtor may
determine is reasonable and appropriate, including, but not limited to, (i) merging into another
Liquidating Debtor or Reorganized Debtor, or a Subsidiary and/or Affiliate of the foregoing,
(ii) causing a Liquidating Debtor or Reorganized Debtor to be liquidated and/or dissolved,
(iii) changing the legal name of a Liquidating Debtor or Reorganized Debtor, (iv) converting a
Liquidating Debtor or Reorganized Debtor to another form of Entity, including from a corporation
to a limited liability company, or (v) closing a Liquidating Debtor’s or Reorganized Debtor’s
chapter 11 case.

       L.      Disbursing Agent

        The Debtors, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall
designate one or more Entities (which may be the Reorganized Debtors in the case of the
Reorganized Debtors and the Plan Administrator in the case of the Liquidating Debtors) to
effectuate the Distributions. If the Disbursing Agent is a third party, the reasonable fees and


                                               - 32 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 149 of 342



expenses of the Disbursing Agent shall be paid by the Liquidating Debtors upon submission of
statements. The payment of the reasonable fees and expenses of the Disbursing Agent shall be
made in the ordinary course of business without any further notice to any party or action, order or
approval of the Bankruptcy Court. The Disbursing Agent shall be deemed exculpated and
indemnified by the Estates, except for fraud, ultra vires actions, willful misconduct, criminal
conduct or gross negligence.

       M.      New Board of Directors/Officers

        The member(s) of the boards of directors and the officers of the Reorganized Debtors and
the Liquidating Debtors will be identified in the Plan Supplement. The Reorganized Debtors and
the Liquidating Debtors shall purchase an insurance policy (including any “tail policy”) for the
Reorganized Debtors’ and Liquidating Debtors’, as applicable, directors and officers that is
acceptable to the Reorganized Debtors and Liquidating Debtors, as applicable. For the avoidance
of doubt, the Debtors may extend any or obtain new insurance policies during the chapter 11 cases
without the consent of the Plan Sponsor for any period prior to consummation of the Transaction
subject to section IV.T.

       On the Effective Date, all persons acting as directors and/or managers of the Debtors that
have not been selected as directors and/or managers of the Reorganized Debtors or the Liquidating
Debtors shall be deemed to have resigned, their appointments shall be rescinded for all purposes,
and their respective authority and power, in their capacities as such, shall be revoked, in each case,
without the necessity of taking any further action in connection therewith subject to section IV.T.

       N.      Survival of Indemnification Obligations and D&O Liability Insurance

               1.      Indemnification Obligations. Each of the Debtors’ Indemnification
                       Obligations shall be reinstated, assumed by the Reorganized Debtors and
                       remain intact and irrevocable, as applicable, and shall not be discharged,
                       impaired, or otherwise affected by the Plan.

               2.      D&O Liability Insurance Policies. The D&O Liability Insurance Policies
                       shall be deemed executory contracts and shall be assumed by the
                       Reorganized Debtors on behalf of the applicable Debtors effective as of the
                       Effective Date, pursuant to sections 365 and 1123 of the Bankruptcy Code.
                       For the avoidance of doubt, coverage for defense and indemnity under the
                       D&O Liability Insurance Policies shall remain available to all individuals
                       within the definition of “Insured” in the D&O Liability Insurance Policies.
                       In addition, after the Effective Date, all officers, directors, agents or
                       employees of the Debtors who served in such capacity at any time before
                       the Effective Date shall be entitled to the full benefits of the D&O Liability
                       Insurance Policies (including any “tail” policy) in effect or purchased as of
                       the Effective Date for the full term of such policy regardless of whether
                       such officers, directors, agents and/or employees remain in such positions
                       after the Effective Date, in each case, to the extent such individuals are




                                                - 33 -
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                       Pg 150 of 342



                      covered under the D&O Liability Insurance Policies.

       O.      Employee Matters

         On the Effective Date, all Current Employees shall be retained by the Reorganized Debtors
in their existing positions. Each Benefit Plan and all other wage, compensation, employee expense
reimbursement, and other benefit obligations solely relating to the Current Employees, including
without limitation the KEIP and the KERP, shall be assumed by the Reorganized Debtors as of the
Effective Date.

       For the avoidance of doubt, (i) neither the KEIP nor the KERP shall be included on the
Rejection Schedule and such programs will be honored in accordance with their terms, (ii) the
consummation of the Plan will constitute a “Sale” under the KEIP and (iii) any Benefit Plan
included on the Rejection Schedule shall be replaced by a comparable Benefit Plan that is no less
favorable to Current Employees for the benefit of the Current Employees.

       The 2018 Equity Incentive Plan of OneWeb Global Limited, the Consultant Equity
Incentive Plan of OneWeb Global Limited and any predecessor plans thereof (the “Liquidated
Incentive Plans”) shall remain with the Liquidating Debtors and wound down by the Plan
Administrator. Notwithstanding the foregoing, none of the Plan Sponsor, the Debtors, the
Reorganized Debtors or their subsidiaries shall have any payment or other obligation under the
Liquidated Incentive Plans or any Awards (as defined therein) issued thereunder upon or following
the Effective Date, regardless of whether such Awards or obligations were issued or incurred
before or after the Petition Date.

        Without limiting or altering any employee’s rights under the KEIP or the KERP, execution
of the Plan Support Agreement and consummation of the Plan will not constitute a change of
control under any other Benefit Plan.

       P.      Retained Causes of Action

        Except as provided in the Plan or in any contract, instrument, release or other agreement
entered into or delivered in connection with the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, the Reorganized Debtors will retain the Retained Causes of Action that the
Debtors or the Estates may hold against any Entity to the extent included on the Retained Causes
of Action Schedule and not released under section XI.E hereof or otherwise, including the
Avoidance Actions (and all Privilege Rights with respect to any of the foregoing) and may, in their
sole discretion, pursue or settle any such Retained Causes of Action, as appropriate, in accordance
with the best interests of the Estates. The Retained Causes of Action Schedule shall be included
as part of the Plan Supplement. The inclusion or failure to include any Retained Cause of Action
in the Plan Supplement shall not be deemed an admission, denial or waiver of any claims, rights
or causes of action that any Reorganized Debtor may hold against any Entity. For the avoidance
of doubt, the Retained Causes of Action shall not include any Claims or Causes of Action against
any Released Party or any Avoidance Action released against a holder of a General Unsecured
Claim or Ongoing Trade Claim in accordance with sections II.C.4.b and II.C.5.b hereof.

        On the Effective Date, the applicable Reorganized Debtors shall be deemed to be
substituted as a party to any Retained Causes of Action litigation in which any Debtor is a party,


                                              - 34 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 151 of 342



including (but not limited to): (a) pending contested matters or adversary proceedings in the
Bankruptcy Court; (b) any appeals of orders of the Bankruptcy Court; and (c) any state court or
federal or state administrative proceedings pending as of the Petition Date. The Reorganized
Debtors are not required to, but may, take such steps as are appropriate to provide notice of such
substitution.

       Q.      Release of Avoidance Actions for Holders of Claims in Class 4 and Class 5

        On the Effective Date, in connection with the Distributions to the holders of Allowed
General Unsecured Claims in accordance with section II.C of this Plan, the Debtors, and the
Reorganized Debtors shall grant each holder of an Allowed General Unsecured Claim that
individually votes to accept the Plan an Avoidance Action Release. Also, on the Effective Date,
in connection with the Distributions to holders of Allowed Ongoing Trade Claims in accordance
with section II.C of this Plan, the Debtors and the Reorganized Debtors shall grant each holder of
an Allowed Ongoing Trade Claim an Avoidance Action Release if, and only if, Class 5 votes to
accept the Plan.

       R.      Cancellation and Surrender of Notes, Instruments, Securities and Other
               Documentation

        Except as provided in the Plan Support Agreement, or as otherwise agreed to by the Plan
Sponsor, on the Effective Date, all notes, instruments, certificates and other documents evidencing
Claims or Interests that are not otherwise being satisfied by the pro rata portion of the BidCo
Equity Consideration (collectively, the “Cancelled Agreements”) shall be deemed canceled and
will be considered uncollectible accounts and surrendered and of no further force and effect against
the Debtors, the Reorganized Debtors or the Liquidating Debtors without any further action on the
part of the Debtors, the Reorganized Debtors or the Liquidating Debtors; provided, however, that
each of the Cancelled Agreements shall continue in effect solely for the purposes of, (x) allowing
holders of Claims or Interests to receive distributions under the Plan on account of such Claims or
Interests and (y) allowing and preserving the rights of the DIP Agent and Secured Notes Agent, as
applicable, to (1) make distributions on account of such Claims or Interests; (2) maintain, enforce,
and exercise their respective Liens, including their charging liens, as applicable, under the terms
of the applicable agreements, or any related or ancillary document, instrument, agreement, or
principle of law, against any money or property distributed or allocable on account of such Claims
under this Plan, as applicable; (3) seek compensation and reimbursement for any reasonable and
documented fees and expenses incurred in connection with the implementation of the Plan; (4)
maintain, enforce, and exercise any right or obligation to compensation, indemnification, expense
reimbursement, or contribution, or any other claim or entitlement that the DIP Agent or Secured
Notes Agent may have under the applicable credit agreement, note purchase agreement, collateral
agreements, or pledge agreements, in each case solely as against the holders of the Secured Notes
Claims; (5) appear and raise issues in these chapter 11 cases or in any proceeding in the Bankruptcy
Court or any other court after the Effective Date on matters relating to the Plan or the applicable
credit agreements or note purchase agreement; and (6) execute documents pursuant to section IV.U
of the Plan; provided, further, that the DIP Agent and Secured Notes Agent may take such further
action to implement the terms of the Plan as agreed to with the Debtors or the Reorganized Debtors,
as applicable, to the extent not inconsistent with the Confirmation Order or the Plan. Nothing
herein shall affect the discharge pursuant to section 1141 of the Bankruptcy Code.



                                               - 35 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 152 of 342



        S.      Release of Liens

       Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan or the Transaction,
on the Effective Date, subject to receipt of the applicable Distributions, if applicable, all Liens on
the property of any Estate, including the New Equity Interests, shall be fully released and
discharged.

       The DIP Agent and the Secured Notes Agent shall execute and deliver all documents
reasonably requested by the Debtors or the Reorganized Debtors to evidence the release of such
Liens and shall authorize the Reorganized Debtors and their designees to file UCC-3 termination
statements and other release documentation (to the extent applicable) with respect thereto, at the
sole expense of the Debtors or the Reorganized Debtors, as applicable.

        T.      Effectuating Documents; Further Transactions

        Following entry of the Confirmation Order, but subject to the occurrence of the Effective
Date, and subject to any consents of the Plan Sponsor required by the Plan Support Agreement, in
each instance, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall take all
actions as may be necessary or appropriate to effectuate, implement and evidence the terms and
conditions of the Plan and the restructuring Transaction contemplated thereby, including (i)
implementation of any restructuring steps (ii) the execution and delivery of appropriate agreements
or other documents of merger, amalgamation, consolidation, restructuring, conversion,
disposition, transfer, arrangement, continuance, dissolution, cancellation, sale, purchase, or
liquidation containing terms that are consistent with the terms of the Plan, (iii) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset,
property, right, liability, debt, or obligation on terms consistent with the terms of the Plan, (iv) the
filing of appropriate certificates or articles of incorporation, reincorporation, merger,
consolidation, conversion, amalgamation, arrangement, continuance, cancellation, or dissolution
pursuant to applicable foreign, state, territorial, provincial, or federal law, (v) the issuance of
Securities in accordance with the Plan, all of which shall be authorized and approved in all respects
in each case without further action being required under applicable law, regulation, order, or rule,
(vi) taking necessary steps under applicable local law to effectuate the Plan; and (vii) all other
actions that the applicable entities determine to be necessary or appropriate, including making
filings or recordings that may be required by applicable law or the Plan Support Agreement and
the term sheet annexed thereto, as applicable, to fully effectuate the Plan.

       Each officer, legal representative or member of the board of directors of the Debtors is
authorized to issue, execute, deliver, file, or record such contracts, securities, instruments, releases,
indentures, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan,
the Plan Documents and the securities issued pursuant to the Plan in the name of and on behalf of
the Debtors, all of which shall be authorized and approved in all respects, in each case, without the
need for any approvals, authorization, consents, or any further action required under applicable




                                                 - 36 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 153 of 342



law, regulation, order, or rule (including any action by the directors or managers of the Debtors)
except for those expressly required pursuant to the Plan.

        Each officer, legal representative or member of the board of directors of the Reorganized
Debtors is authorized to issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, indentures, and other agreements or documents and take such actions as may
be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
of the Plan, the Plan Documents and the securities issued pursuant to the Plan in the name of and
on behalf of the Reorganized Debtors, all of which shall be authorized and approved in all respects,
in each case, without the need for any approvals, authorization, consents, or any further action
required under applicable law, regulation, order, or rule (including any action by the directors or
managers of the Debtors) except for those expressly required pursuant to the Plan.

        Unless otherwise agreed to by the Debtors and the Plan Sponsor, all matters provided for
herein involving the corporate structure of the Debtors or Reorganized Debtors, or any corporate,
limited liability company, or related action required by the Debtors or Reorganized Debtors in
connection herewith shall be deemed to have occurred and shall be in effect as of the Effective
Date, without any requirement of further action by the stockholders, members, board, or directors
of the Debtors or Reorganized Debtors, and with like effect as though such action had been taken
unanimously by the stockholders, members, directors, or officers, as applicable, of the Debtors or
Reorganized Debtors.

       U.      Amended Organizational Documents

        On or prior to the Effective Date, the Amended Organizational Documents shall be filed
with the applicable Secretaries of State and/or other applicable authorities in their respective states,
provinces, or countries of incorporation or organization, if necessary under the corporate laws of
the respective states, provinces, or countries of incorporation or organization, in accordance with
such corporate laws as determined by the Plan Sponsor and the Reorganized Debtors. The
Amended Organizational Documents shall prohibit the issuance of non-voting equity securities to
the extent required by section 1123(a)(6) of the Bankruptcy Code. After the Effective Date, the
Amended Organizational Documents may be amended and restated as permitted by such
documents and the laws of their respective states, provinces, or countries of incorporation or
organization.

       V.      FCC Communications Consents

        No provision in the Plan relieves any Debtor or Reorganized Debtor from its obligation to
comply with the Communications Act of 1934, as amended, and the rules, regulations and orders
promulgated thereunder by the FCC. No transfer of any FCC license or authorization held by any
Debtor or transfer of control of an FCC licensee controlled by any Debtor shall take place prior to
the issuance of any necessary FCC Communications Consents for such transfer pursuant to
applicable FCC regulations. The FCC’s rights and powers to take any action pursuant to its
regulatory authority, including but not limited to imposing any regulatory conditions on any of the
above-described transfers are fully preserved, and nothing herein shall proscribe or constrain the
FCC’s exercise of such power or authority to the extent provided by law.




                                                 - 37 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 154 of 342



       W.      Section 1146 Exemption from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any stamp tax or other similar tax or governmental assessment in
the United States, and the Confirmation Order shall direct and be deemed to direct the appropriate
state or local governmental officials or agents to forgo the collection of any such tax or
governmental assessment and to accept for filing and recordation instruments or other documents
pursuant to such transfers of property without the payment of any such tax or governmental
assessment. Such exemption specifically applies, without limitation, to (1) the creation of any
mortgage, deed of trust, lien or other security interest; (2) the making or assignment of any lease
or sublease; (3) any restructuring transaction authorized by this Plan; or (4) the making or delivery
of any deed or other instrument of transfer under, in furtherance of or in connection with the Plan,
including, without limitation: (a) any merger agreements; (b) agreements of consolidation,
restructuring, disposition, liquidation or dissolution; (c) deeds; or (d) assignments executed in
connection with any transaction occurring under or pursuant to the Plan.

V.     SECURED NOTES AGENT FEES AND EXPENSES

        On the Effective Date, and without any further notice to, or action, order, or approval of,
the Bankruptcy Court, the Debtors or the Reorganized Debtors, as applicable, shall distribute Cash
to the Secured Notes Agent in an amount equal to the Secured Notes Agent Fees and Expenses;
provided that the Secured Notes Agent shall provide the Debtors with summary invoices for the
Secured Notes Agent Fees and Expenses (including, without limitation, attorneys’ fees and
expenses) for which they seek payment no later than five (5) days prior to the Effective Date. Such
summary invoices may (but are not required to) include estimates for the Secured Notes Agent
Fees and Expenses anticipated through the Effective Date and the release of any Liens required
under the Plan. For the avoidance of doubt, nothing herein shall be deemed to impair, waive,
discharge, or negatively impact or affect the rights of the Secured Notes Agent to exercise its
charging liens pursuant to the terms of the Secured Note Purchase Agreement or any other
Transaction Documents (as defined in the Secured Note Purchase Agreement), as applicable.

VI.    TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

        As of and subject to the occurrence of the Effective Date, all Executory Contracts and
Unexpired Leases shall be deemed assumed, together with all amendments agreed to in writing
between the Debtor(s) and the Executory Contract or Unexpired Lease counterparty and consented
to by the Plan Sponsor unless such Executory Contract or Unexpired Lease (i) was previously
assumed or rejected pursuant to a Final Order of the Bankruptcy Court, (ii) is listed on the
Rejection Schedule or (iii) is the subject of a separate motion filed by a Debtor for assumption or
rejection under section 365 of the Bankruptcy Code.

        The Debtors or Reorganized Debtors, as applicable, shall use reasonable best efforts to
obtain all necessary consents required under any Executory Contract or Unexpired Lease assumed
as a result of the Transactions. To the extent the foregoing shall require any action by any Debtor
that would, or would continue to, have an adverse effect on the business of the Plan Sponsor or



                                               - 38 -
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 155 of 342



any of its Affiliates after the Effective Date, such action shall require the prior written consent of
the Plan Sponsor. These reasonable best efforts shall not require any material payment or other
material consideration from the Debtors or the Plan Sponsor (other than the payment of the Cure
Claims, by the Plan Sponsor), or any action reasonably likely to delay the Debtors’ emergence
from these chapter 11 cases, and any such consent shall contain terms and conditions reasonably
acceptable to the Debtors and the Plan Sponsor. For the avoidance of doubt, the term “material”
in the prior sentence means material in the context of the relevant assumed Executory Contract or
Unexpired Lease.

       B.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

        Unless otherwise provided by a Bankruptcy Court’s order, any Proof of Claim arising from
the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan must be filed with
the Claims and Noticing Agent by the Rejection Damages Deadline. Any Claim arising from the
rejection of an Executory Contract or Unexpired Lease, with respect to which no Proof of Claim
is timely filed, shall be automatically disallowed without the need for any objection or further
notice to or action or approval of the Bankruptcy Court.

       Holders of Claims arising from the rejection of Executory Contracts or Unexpired Leases
with respect to which no Proof of Claim is timely filed shall be forever barred, estopped, and
enjoined from asserting a Claim based on such rejection against the Debtors, the Reorganized
Debtors, the Liquidating Debtors, the Estates or the respective property of any of the foregoing,
and such claims shall be discharged as of the Effective Date unless otherwise expressly allowed
by the Bankruptcy Court.

       The Liquidating Debtors and/or Plan Administrator shall have the right to object to, settle,
compromise or otherwise resolve any Claim asserted on account of a rejected Executory Contract
or Unexpired Lease.

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of the obligations owed by the counterparty to the applicable
Debtor(s) under such Executory Contracts or Unexpired Leases. Notwithstanding any applicable
non-bankruptcy law to the contrary, the Liquidating Debtors and the Reorganized Debtors
expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties, indemnifications or continued maintenance obligations from
the counterparties to the rejected Executory Contracts or Unexpired Leases.

       C.      Cure Claims

        Any Cure Claims under each Executory Contract and Unexpired Lease to be assumed or
assumed and assigned pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Claim in Cash on the Effective Date or as soon as
reasonably practicable thereafter, subject to the limitations described below, by the Reorganized
Debtors or the Plan Sponsor, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of the
Cure Claim, (2) the ability of the Debtors’ Estates or any assignee to provide “adequate assurance
of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the



                                                - 39 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 156 of 342



Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to
assumption, the Cure Claims required by section 365(b)(1) of the Bankruptcy Code shall be
satisfied following the entry of a Final Order or Orders resolving the dispute and approving the
assumption. Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, subject to
satisfaction of the Cure Claims whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed Executory Contract or Unexpired Lease at any time before the
effective date of assumption and/or assignment. Any liabilities reflected in the Schedules with
respect to an Executory Contract or Unexpired Lease that has been assumed or assumed and
assigned shall be deemed Disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity.

        For the avoidance of doubt, the Debtors served the First and Second Cure Notices to
applicable counterparties to the Executory Contracts and Unexpired Leases listed on Schedule I
attached to the respective notice. Pursuant to the First and Second Cure Notices, the deadline to
file an objection to the proposed assumption of any Executory Contract or Unexpired Lease,
including any objection relating to a Cure Claim, other than an objection based solely on the
adequate assurance of future performance under such Executory Contract or Unexpired Lease was
fourteen days following service of the applicable notice. Prior to the expiration of the First Cure
Notice’s objection deadline, the Debtors received twenty-five (25) objections asserting Cure
Claims [Docket Nos. 250, 254, 256, 259-263, 265, 267-271, 274, 284, 286, 288, 296, 297, 303,
311, 312, 319 and 321]. After the expiration of the objection deadline of the First Cure Notice the
Debtors received one objection asserting a Cure Claim [Docket No. 360]. The Debtors received
an amended objection asserting Cure Claims after the expiration of the objection deadline to the
First Cure Notice [Docket No. 505]. Prior to the expiration of the objection deadline of the Second
Cure Notice, the Debtors received one more objection asserting a Cure Claim [Docket No. 377].
Furthermore, five parties filed timely objections regarding the First and Second Cure Notices
requesting additional adequate assurance [Docket Nos. 258, 267, 268, 297 and 377].

        With respect to Executory Contracts or Unexpired Leases for which no objection was filed
or for which no informal comments were received, the amount of the applicable Cure Claim set
forth in the First and Second Cure Notices, as applicable is now binding. Upon entry of the Plan
Support Agreement Order, all of the objections in connection with the First Cure Notice and the
Second Cure Notice not previously consensually resolved were adjourned to the Confirmation
Hearing or such other hearing date and time scheduled by the Debtors or Reorganized Debtors
with the Bankruptcy Court.

        Unless otherwise provided by an order of the Bankruptcy Court, at least seven (7) calendar
days before the Voting Deadline, the Debtors shall cause notice of any proposed assumption to the
extent of any proposed Cure Claim regarding any Executory Contracts and Unexpired Leases not
reflected in the First and Second Cure Notices or otherwise not previously noticed to be sent to the
applicable counterparties. Such notice shall contain the proposed Cure Claim and the deadline by
which the counterparty may dispute the proposed Cure Claim. Any objection by such newly
noticed counterparty must be filed and served on the Debtors no later than the deadline for
objecting to Confirmation of the Plan. Any counterparty to an Executory Contract or Unexpired
Lease that previously failed or fails to timely object to the proposed assumption or cure amount


                                               - 40 -
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                       Pg 157 of 342



will be deemed to have assented to such assumption and Cure Claim. Notwithstanding the
foregoing, except to the extent an Executory Contract or Unexpired Lease is set forth on the
Rejection Schedule, all Executory Contracts and Unexpired Leases shall be assumed by the
Reorganized Debtors on the Effective Date.

        To the extent the Debtors or the Reorganized Debtors, as applicable, and the objecting
counterparty cannot resolve their dispute consensually, the Bankruptcy Court shall retain
jurisdiction to resolve such dispute. Upon the Bankruptcy Court’s resolution of the dispute, the
Plan Sponsor shall have three (3) business days to determine whether it wishes to assume the
applicable Executory Contract or Unexpired Lease. If the Plan Sponsor determines not to assume
the applicable Executory Contract or Unexpired Lease, it shall direct the applicable Reorganized
Debtor to reject same, and such Executory Contract or Unexpired Lease shall be deemed rejected
under the Plan as of the Effective Date, and all procedures set forth in section VI.B above shall
apply.

       D.      Reservation of Rights

       Neither the listing of any contract or lease on the Rejection Schedule, nor the Debtors’
delivery of a Notice of Cure and Assumption to the applicable counterparty shall constitute an
admission by the Debtors that such contract or lease is in fact an Executory Contract or Unexpired
Lease or that any Debtor has any liability thereunder.

VII.   PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Method of Distributions to Holders of Claims

        All Distributions to be made under the Plan shall be made by the Disbursing Agent to the
applicable holders of Allowed Claims in accordance with the terms of this Plan; provided,
however, that all Distributions to the holders of Secured Notes Claims shall be made to the Secured
Notes Agent. The Secured Notes Agent shall hold or direct such Distributions for the benefit of
the holders of Secured Notes Claims, as applicable. As soon as practicable in accordance with the
requirements set forth in this section VII, the Secured Notes Agent shall arrange to deliver such
Distributions to or on behalf of such holders of Secured Notes Claims, at the sole expense of the
Debtors or the Reorganized Debtors, as applicable. Such distributions shall be subject in all
respects to the right of the Secured Notes Agent, as applicable, to assert its applicable charging
liens against such distributions. The Secured Notes Agent shall not incur any liability on account
of any distributions under the Plan.

       Unless a holder of an Allowed Claim and the Disbursing Agent otherwise agree, any
Distribution to be made in Cash shall be made, at the election of the Disbursing Agent, by check
drawn on a domestic bank or by wire transfer from a domestic bank. Unless a holder of an Allowed
Claim and the Disbursing Agent otherwise agree, Cash Distributions shall be made in U.S. Dollars.
Cash payments to foreign creditors may, in addition to the foregoing, be made at the option of the
Disbursing Agent in such funds and by such means as are necessary or customary in a particular
foreign jurisdiction.

       Except as otherwise provided in the Plan, Distributions shall be made to the holders of
record of Allowed Claims as of the Distribution Record Date at the last known address, as


                                              - 41 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 158 of 342



identified in: (i) the most recently filed Proof of Claim; (ii) at the address set forth in any written
notice of address change delivered to the Debtors after the date of the most recently filed Proof of
Claim or where no Proof of Claim was filed; (iii) at the address reflected in the Schedules if no
Proof of Claim has been filed and the Debtors have not received a written notice of a change of
address; or (iv) if clauses (i) through (iii) are not applicable, at the last address directed by such
holder.

       B.      Undeliverable Distributions and Time Bar to Cash Payments.

        In the event a Distribution is returned as undeliverable, or no address for a particular holder
is found in the Debtors’ records, no further Distributions to such holder shall be made unless and
until the Disbursing Agent is notified in writing of such holder’s then-current address, at which
time a Distribution shall be made to such holder on the next Periodic Distribution Date. The
Disbursing Agent in its sole discretion may, but shall have no obligation to, attempt to locate the
holders entitled to receive undeliverable Distributions. Any Distributions returned to the
Disbursing Agent as undeliverable shall remain in the possession of the Liquidating Debtors until
such time as a Distribution becomes deliverable; provided that any Distribution that remains
undeliverable for six months or is represented by a voided check shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code, shall re-vest in the Reorganized Debtors
automatically without need for any Bankruptcy Court order, notwithstanding any federal or state
escheat laws to the contrary.

        Checks issued on account of Allowed Claims shall be null and void if not negotiated within
180 days after the date of issuance. Requests for reissuance of any voided check shall be made
directly to the Disbursing Agent by the Entity to whom such check was originally issued. Any
claim in respect of a voided check shall be made within thirty (30) days after the date upon which
such check was deemed void. If no request is made as provided in the preceding sentence, any
claims in respect of such voided check shall be discharged and forever barred.

      Neither the Disbursing Agent nor the Liquidating Debtors shall incur any liability
whatsoever on account of any Distribution.

       C.      Distribution Record Date

        As of 5:00 p.m. (prevailing Eastern Time) on the Distribution Record Date, the transfer
registers for Claims shall be closed. The Disbursing Agent shall have no obligation to recognize
the transfer or sale of any Claim that occurs after such time on the Distribution Record Date and
shall be entitled for all purposes to recognize and make Distributions only to those holders who
are holders of Claims as of 5:00 p.m. on the Distribution Record Date.

       D.      Minimum Distributions

       No Distribution of less than one hundred dollars ($100.00) shall be made by the Disbursing
Agent. Each such Distribution shall vest in the Liquidating Debtors and become available for
Distribution to the holders of other Allowed Claims in the applicable Class.




                                                - 42 -
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 159 of 342



       E.      Compliance with Tax Requirements

        To the extent applicable, in connection with making Distributions, the Disbursing Agent
shall comply with all tax withholding and reporting requirements imposed on the Reorganized
Debtors, Liquidating Debtors, or the Plan Administrator, as applicable, by any Governmental Unit,
and all Distributions shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting
requirements (with any amount so withheld and paid over to the applicable Governmental Unit
treated as having been paid to and received by the Person in respect of which such withholding
was made for all purposes of the Plan). The Disbursing Agent shall be authorized to require each
holder of an Allowed Claim to provide it with an executed Form W-9, applicable Form W-8 or
other appropriate tax form or documentation as a condition precedent to being sent a Distribution.
The Disbursing Agent shall provide advance written notice of such requirement to each holder of
an Allowed Claim. The notice shall provide each holder with a specified time period after the date
of mailing of such notice to provide an executed Form W-9, applicable Form W-8 or other tax
form or documentation to the Disbursing Agent. If a holder of an Allowed Claim does not provide
the Disbursing Agent with an executed Form W-9, applicable Form W-8 or other tax form or
documentation within the time period specified in such notice, or such later time period agreed to
by the Disbursing Agent in writing in its discretion, then the Disbursing Agent, in its sole
discretion, may (a) make a Distribution net of any applicable withholding or (b) determine that
such holder shall be deemed to have forfeited the right to receive any Distribution, in which case,
any such Distribution shall revert to the Reorganized Debtors or Liquidating Debtors (as
applicable) for Distribution on account of other Allowed Claims in the applicable Class, and the
Claim of the holder originally entitled to such Distribution shall be waived, discharged and forever
barred without further order of the Bankruptcy Court. The Disbursing Agent shall have the right
to allocate all Distributions in compliance with applicable wage garnishments, alimony, child
support and other spousal awards, Liens and encumbrances.

       F.      Setoffs

        Except with respect to Claims released pursuant to the Plan or any contract, instrument,
release or other agreement or document entered into or delivered in connection with the Plan, the
Disbursing Agent and/or the Reorganized Debtors, Liquidating Debtors, or the Plan Administrator,
as applicable, may, pursuant to section 553 of the Bankruptcy Code or applicable non-bankruptcy
law, set off against any Allowed Claim (and the Distributions to be made on account of such
Claim), all counterclaims, rights and causes of action of any nature that the applicable Debtor may
have held against the holder of such Claim; provided, however, that the failure to effectuate such
a setoff shall not constitute a waiver or release by the applicable Debtor, Liquidating Debtor, or
the Disbursing Agent of any Cause of Action against any holder of a Claim.

       G.      Allocation Between Principal and Accrued Interest

        Except as otherwise provided in the Plan, the aggregate consideration paid to holders with
respect to their Allowed Claims (including for tax purposes) shall be allocated first to the principal
amount of such Allowed Claims (to the extent thereof) with any excess allocated to unpaid interest,
if any, accrued before the Petition Date.



                                                - 43 -
20-22437-rdd         Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 160 of 342



        H.      Claims Paid or Payable by Third Parties

                1.      Claims Paid by Third Parties

        To the extent that a holder of an Allowed Claim receives a payment from a third party, the
Disbursing Agent shall be authorized to reduce, for the purposes of Distribution, the Allowed
amount of such Claim by the amount of such payment, and such Claim shall be disallowed or
deemed satisfied to the extent of the third party payment received without an objection having to
be filed and without any further notice to or action, order or approval of the Bankruptcy Court.

                2.      Claims Payable by Insurance

        No Distributions shall be made on account of any Allowed Claim that is payable pursuant
to one of the Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all
remedies with respect to such insurance policy. To the extent that any of the Debtors’ insurers
agrees to satisfy in full or in part an Allowed Claim, then, immediately upon such insurer’s
agreement, the applicable portion of such Claim may be expunged without an objection having to
be filed and without any further notice to or action, order or approval of the Bankruptcy Court.

        Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall
be in accordance with the provisions of any applicable insurance policy. Nothing contained in the
Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any other
Entity may hold against any other Entity, including insurers under any policies of insurance, nor
shall anything contained herein constitute or be deemed a waiver by such insurers of any defenses,
including coverage defenses, held by such insurers.

VIII. DISPUTED, CONTINGENT AND UNLIQUIDATED CLAIMS

        A.      Allowance of Claims

        After the Effective Date, the Reorganized Debtors and the Liquidating Debtors shall have
any and all rights and defenses that the Debtors had with respect to any Claim immediately before
the Effective Date, except with respect to any Claim deemed Allowed or released under the Plan.
All settled Claims approved prior to the Effective Date by a Final Order of the Bankruptcy Court
pursuant to Bankruptcy Rule 9019 or otherwise shall be binding on all parties.

       Any Claim that has been listed in the Schedules as disputed, contingent or unliquidated,
and for which no Proof of Claim has been timely filed, shall be expunged without further action
and without any further notice to or action, order or approval of the Bankruptcy Court.

        B.      Prosecution of Objections to Claims

                1.      Authority to Prosecute and Settle Claims

        Except as otherwise specifically provided in the Plan, the Debtors, with the consent of the
Plan Sponsor (not to be unreasonably withheld), prior to the Effective Date, and, after the Effective
Date, the Reorganized Debtors, Liquidating Debtors and Plan Administrator, as applicable shall
have the sole authority to: (i) file, withdraw or litigate to judgment, objections to Claims; (ii) settle



                                                 - 44 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 161 of 342



or compromise any Disputed Claim without any further notice to or action, order or approval by
the Bankruptcy Court; and (iii) direct the Claims and Noticing Agent to adjust the claims register
to reflect any resolutions of Disputed Claims, in each case with respect to claims against the
applicable Debtor, and without any further notice to or action, order or approval by the Bankruptcy
Court. To the extent that the Debtors have filed objections to Claims that remain pending as of
the Effective Date, the Liquidating Debtors shall be substituted as the objecting party without
further action of the parties or order of the Court.

               2.      Omnibus Objections

        To facilitate the efficient resolution of Disputed Claims, Reorganized Debtors and
Liquidating Debtors shall, notwithstanding Bankruptcy Rule 3007(c), be permitted to file omnibus
objections to Claims, with such limitations as imposed by the Court after due notice and
opportunity for to be heard.

               3.      Authority to Amend Schedules

       The Debtors, with the consent of the Plan Sponsor (not to be unreasonably withheld), prior
to the Effective Date, and the Reorganized Debtors, the Liquidating Debtors and/or Plan
Administrator, after the Effective Date, shall have the authority to amend the Schedules with
respect to any Claim against the applicable Debtor (other than Claims Allowed or released
hereunder) and to make Distributions based on such amended Schedules (if no Proof of Claim is
timely filed in response to such amendment) without approval of the Bankruptcy Court. If any
such amendment to the Schedules reduces the amount of a Claim or changes the nature or priority
of a Claim that was previously scheduled as undisputed, liquidated and not contingent, the
Reorganized Debtors, the Liquidating Debtors and/or Plan Administrator, as applicable, shall
provide the holder of such Claim with notice of such amendment and the opportunity to file a Proof
of Claim.

       C.      Estimation of Claims

        The Debtors, with the consent of the Plan Sponsor (not to be unreasonably withheld), prior
to the Effective Date, and the Reorganized Debtors, the Liquidating Debtors and/or Plan
Administrator, as applicable, after the Effective Date, as applicable, may at any time request that
the Bankruptcy Court estimate any Claim that is contingent or unliquidated pursuant to section
502(c) of the Bankruptcy Code, regardless of whether any party previously has objected to such
Claim or whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court
shall retain jurisdiction to estimate any Claim, including during the litigation of any objection to
such Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
estimates any contingent or unliquidated Claim, that estimated amount shall constitute a maximum
limitation on such Claim for all purposes under the Plan (including for purposes of Distributions),
and the relevant Debtor, Reorganized Debtor, Liquidating Debtor or Plan Administrator, as the
case may be, may elect to pursue any supplemental proceedings to object to any Distribution on
such Claim in excess of the estimated amount.




                                               - 45 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 162 of 342



       D.      Claims Subject to Pending Actions

        Except as otherwise provided herein or in a Final Order of the Bankruptcy Court, including
pursuant this section VIII of the Plan, any Claim held by an Entity against which a Debtor, a
Reorganized Debtor, a Liquidating Debtor or another party pursues an Avoidance Action or an
action to recover property under sections 542, 543, 550 or 553 of the Bankruptcy Code, shall be
deemed a Disputed Claim pursuant to section 502(d) of the Bankruptcy Code, and the holder of
such Claim shall not receive any Distributions on account of such Claim until such time as such
Causes of Action have been resolved and, to the extent applicable, all sums due from such holder
have been turned over to the Reorganized Debtors.

       E.      Distributions to Holders of Disputed Claims

        Notwithstanding any other provision of the Plan: (1) no Distributions will be made on
account of a Disputed Claim until such Claim becomes an Allowed Claim, if ever; and (2) except
as otherwise agreed to by the relevant parties, no partial Distributions will be made with respect to
a Disputed Claim until all such disputes in connection with such Disputed Claim have been
resolved by settlement or Final Order.

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, any
Distributions will be made to the holder of such Allowed Claim in accordance with the provisions
of the Plan. On the Distribution Date that is at least 30 days after a Disputed Claim becomes an
Allowed Claim (or such lesser period as the Disbursing Agent may determine), the holder of such
Claim will receive any Distribution to which such holder would have been entitled under the Plan
as of the Effective Date (including any Distribution such holder would have been entitled to on the
Distribution Date on which such holder is receiving its initial Distribution) if such Claim had been
Allowed as of the Effective Date, without any interest to be paid on account of such Claim.

       F.      Partitioning of Authority With Respect to Claims

        Notwithstanding the provisions of section VIII.A-E, the Reorganized Debtors will not have
authority with respect to the Claims against the Liquidating Debtors, and the Liquidating Debtors
and the Plan Administrator will not have authority with respect to the Claims against the
Reorganized Debtors.

IX.    CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION OF
       THE PLAN

       A.      Conditions to Confirmation

        The Bankruptcy Court shall not be requested to enter the Confirmation Order unless and
until the following conditions have been satisfied:

               1.      The Bankruptcy Court shall have entered the Disclosure Statement Order.

               2.     The Plan and the Confirmation Order shall be in form and substance
acceptable to the Debtors and the Plan Sponsor.




                                               - 46 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 163 of 342



       B.      Conditions to the Effective Date

        The Effective Date shall not occur, and the Plan shall not be consummated unless and until
the following conditions have been satisfied or duly waived pursuant to section IX.C:

               1.      Confirmation Order. The Confirmation Order shall be in full force and
                       effect, and shall not have been stayed, stayed pending appeal or vacated;
                       provided, however, that even if an appeal, notice of appeal, motion to
                       amend, or make additional findings of fact or motion for a new trial is timely
                       filed, or the Confirmation Order is otherwise challenged in any respect, such
                       Confirmation Order will be deemed a Final Order if it provides that it is
                       effective immediately upon entry on the Bankruptcy Court’s docket and not
                       subject to any stay notwithstanding Bankruptcy Rules 6004(h), 6006(d), or
                       7062 or Rule 62 of the Federal Rules of Civil Procedure.

               2.      Statutory Fees. All statutory fees and obligations then due and payable to
                       the U.S. Trustee shall have been paid in full.

               3.      Documentation. All documents and agreements necessary to implement
                       the Plan and the Transaction, including such agreements and documents set
                       forth in section 4 of the Plan Support Agreement, shall have been executed
                       and delivered to the required parties and, to the extent required, filed with
                       the applicable government unit in accordance with applicable laws, and all
                       other actions required to be taken in connection with the Effective Date shall
                       have occurred;

               4.      Antitrust and Foreign Investment Approvals. All (A) applicable waiting
                       periods, and any extensions thereof, under the HSR Act and the Antitrust
                       and Foreign Investment Laws, and any commitments by the parties to the
                       Plan Support Agreement not to close before a certain date under a timing
                       agreement entered into with applicable Antitrust and Foreign Investment
                       Authorities, shall have expired or otherwise been terminated and (B)
                       authorizations, consents, orders or approvals under the Antitrust and
                       Foreign Investment Laws, including but not limited to the CFIUS Approval
                       and those authorizations, consents, orders or approvals set forth on section
                       9(c)(i) of the disclosures schedules to the Plan Support Agreement, shall
                       have been obtained and shall remain in full force and effect.

               5.      State Aid Approval. If required by applicable law, a decision of the
                       European Commission pursuant to Article 4 or Article 9 of Council
                       Regulation (EU) 2015/1589 of 13 July 2015 that the transaction notified to
                       it does not constitute aid or is compatible with the internal market, or such
                       other similar consents or approvals as may be required from the European
                       Commission after December 31, 2020 shall have been obtained.

               6.      DDTC Notification. WorldVu Development LLC shall have provided to
                       the U.S. Directorate of Defense Trade Controls of the U.S. Department of



                                               - 47 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 164 of 342



                       State the DDTC Notification.

               7.      No Injunctions or Restraints. No Governmental Entity (as defined in the
                       Plan Support Agreement) shall have issued, enacted, entered, promulgated,
                       or enforced any Restraint.

               8.      Establishment of Professional Fee Escrow. The Professional Fee Escrow
                       shall have been established and fully funded in the amount of the
                       Professional Fee Reserve Amount.

               9.      Funding of the Ongoing Trade Claims Recovery Pool and the General
                       Unsecured Claims Settlement Distribution. Each of the Ongoing Trade
                       Claims Recovery Pool and the General Unsecured Claims Settlement
                       Distribution shall have been funded by BidCo in the respective amounts
                       required by the Settlement.

               10.     Conditions Precedent to the Obligations of the Plan Sponsor.

                       a.     Accuracy of Representations and Warranties.                         The
                              representations and warranties of the Company Parties as set forth
                              in the Plan Support Agreement in (i) sections 11(a)(i)-(iv), (b), (e)(i)
                              and (u) shall be true and correct in all material respects and (ii) set
                              forth in section 11 (other than those described in clause (i)) shall be
                              true and correct (disregarding all qualifications or limitations as to
                              “materiality” or “Company Material Adverse Effect” and words of
                              similar import set forth therein), except where the failure of such
                              representations or warranties to be true and correct has not had and
                              would not reasonably be expected to have a Company Material
                              Adverse Effect (as defined in the Plan Support Agreement), in the
                              case of each of clauses (i) and (ii), at and as of the Effective Date as
                              though made at and as of the Effective Date (in each case, except to
                              the extent expressly made as of another date, in which case as of
                              such date as if made at and as of such date).

                       b.     Performance of Obligations. The Company Parties shall have
                              performed in all material respects all obligations and agreements
                              contained in the Plan Support Agreement required to be performed
                              by them on or prior to the Effective Date.

                       c.     No Termination. The Plan Sponsor shall not have terminated the
                              Plan Support Agreement in accordance with its terms prior to the
                              occurrence of the Effective Date.

                       d.     BidCo Equity Consideration. The Entities to receive any share of
                              the BidCo Equity Consideration are acceptable to the Plan Sponsor,
                              in its sole discretion, provided that for the avoidance of doubt the
                              holders of Allowed Secured Notes Claims receiving such BidCo
                              Equity Consideration in the term sheet annexed to Plan Support


                                               - 48 -
20-22437-rdd     Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                     Pg 165 of 342



                           Agreement are acceptable to the Plan Sponsor.

                     e.    Officer’s Certificate. The Plan Sponsor shall have received a
                           certificate, dated the Effective Date, of the chief executive officer or
                           the chief financial officer of OneWeb, on behalf of the Company
                           Parties, to the effect that the conditions specified in section 9(a)(i)
                           and section 9(a)(ii) of the Plan Support Agreement have been
                           fulfilled and/or waived.

                     f.    Communications Consents. All Communications Consents shall
                           have been obtained.

                     g.    No Company Material Adverse Effect. Since the Agreement Date
                           of the Plan Support Agreement (as defined therein), no Company
                           Material Adverse Effect (as defined therein) shall have occurred and
                           be continuing.

                     h.    Principal Vendor Contracts. The applicable Company Parties
                           shall have executed the Amended Principal Vendor Contracts (in
                           accordance with section 6(c) of the Plan Support Agreement) and
                           such Amended Principal Vendor Contracts shall remain in full force
                           and effect.

                     i.    Effective Date Cash Funding Cap. The Effective Date Cash
                           Funding Reserve Amount, as determined in good faith by the
                           Debtors and delivered to Plan Sponsor no later than five days before
                           the Effective Date, shall not exceed the Effective Date Cash Funding
                           Cap, unless otherwise agreed to by the Plan Sponsor.

               11.   Conditions Precedent to the Debtors’ Obligations.

                     a.    Accuracy of Representations and Warranties.                        The
                           representations and warranties of the Plan Sponsor (i) set forth in
                           sections 12(a), (b) and (e) of the Plan Support Agreement shall be
                           true and correct in all material respects and (ii) set forth in section
                           12 of the Plan Support Agreement (other than those described in
                           clause (i)) shall be true and correct (disregarding all qualifications
                           or limitations as to “materiality” or “Plan Sponsor Material Adverse
                           Effect” and words of similar import set forth therein), except where
                           the failure of such representations or warranties to be true and
                           correct has not had and would not reasonably be expected to have a
                           Plan Sponsor Material Adverse Effect (as defined in the Plan
                           Support Agreement), in the case of each of clauses (i) and (ii), at and
                           as of the Effective Date as though made at and as of the Effective
                           Date (in each case, except to the extent expressly made as of another
                           date, in which case as of such date as if made at and as of such date).

                     b.    Performance of Obligations. The Plan Sponsor shall have


                                            - 49 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 166 of 342



                               performed in all material respects all obligations and agreements
                               contained in the Plan Support Agreement required to be performed
                               by it on or prior to the Effective Date.

                       c.      No Termination. The Company Parties shall not have terminated
                               the Plan Support Agreement in accordance with its terms prior to the
                               occurrence of the Effective Date.

                       d.      Officer’s Certificate. The Company Parties shall have received a
                               certificate, dated the Effective Date, of a chief executive officer of
                               the Plan Sponsor to the effect that the conditions specified in section
                               9(b)(i) and section 9(b)(ii) of the Plan Support Agreement have been
                               fulfilled and/or waived.

       C.      Waiver of Conditions to the Effective Date

        The conditions to consummation of the Plan set forth in section IX may be waived as
follows: the conditions set forth in section IX.B.10 may only be waived by the Plan Sponsor; the
conditions set forth in section IX.B.11 may be waived by the Debtors; and the conditions set forth
in sections IX.B.4-7 may be mutually waived by both the Plan Sponsor and the Debtors, as
applicable, in their sole discretion, respectively, without notice, leave or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate the Plan. For the
avoidance of doubt, sections IX.B. 8-9 may not be waived by the Plan Sponsor.

X.     WITHDRAWAL AND MODIFICATION OF THE PLAN

       A.      Withdrawal of the Plan

        Subject to the rights of the Plan Sponsor under the Plan Support Agreement, the Debtors
reserve the right to seek to withdraw the Plan at any time prior to the Effective Date. If the Plan
is withdrawn: (1) each of the Plan and the Confirmation Order shall be null and void in all respects;
and (2) nothing contained in the Plan or the Confirmation Order shall (i) constitute a waiver or
release of any Claims or Interest, or any claim the Debtors have against any Entity or (ii) prejudice
in any manner the rights of the Debtors or any other Entity.

       B.      Modification of the Plan

        Subject to the restrictions on modifications set forth in section 1127 of the Bankruptcy
Code, the Debtors reserve the right, with the consent of the Plan Sponsor, to alter, amend or modify
the Plan before the Effective Date. Notwithstanding the foregoing, the Debtors may make
appropriate technical adjustments and modifications to the Plan without the consent of the Plan
Sponsor or further order or approval of the Bankruptcy Court; provided that any such adjustments
or modifications do not adversely affect the rights, interests or treatment of the Plan Sponsor under
the Plan Support Agreement or the Plan. Holders of Claims that have accepted the Plan shall be
deemed to have accepted the Plan, as amended, modified, or supplemented, if the proposed
amendment, modification, or supplement does not materially and adversely change the treatment
of their Claims; provided, however, that the holders of Claims who were deemed to accept the
Plan because their Claims were Unimpaired shall continue to be deemed to accept the Plan only


                                               - 50 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 167 of 342



if, after giving effect to such amendment, modification or supplement, such Claims continue to be
Unimpaired.

XI.    EFFECT OF CONFIRMATION

       A.      Binding Effect

        Subject to the occurrence of the Effective Date, on and after the entry of the Confirmation
Order, the provisions of the Plan shall bind every holder of a Claim against or Interest in the
Debtors and inure to the benefit of and be binding on such holder’s respective successors and
assigns, regardless of whether any such holders (i) were Impaired or Unimpaired under the Plan,
(ii) were deemed to accept or reject the Plan, (iii) failed to vote to accept or reject the Plan,
(iv) voted to reject the Plan, or (v) received any distribution under the Plan.

       B.      Vesting of Assets

         Except as otherwise provided in the Plan or the Plan Support Agreement, on and after the
Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all assets of the
Debtors or their Estates, including all Claims, rights, defenses, and Causes of Action and any
property or assets acquired by the Debtors under or in connection with the Plan, shall vest in each
Reorganized Debtor free and clear of all Claims, Causes of Action against the Debtors or their
Estates, Liens, encumbrances, charges, and other interests of any and every type, kind, or nature
whatsoever; provided, however, that the foregoing excludes the Excluded Assets and the Excluded
Liabilities, which shall be transferred to and vest in the Liquidating Debtor as provided for herein.
Without limiting the foregoing, the Reorganized Debtors may pay the charges that they incur on
or after the Effective Date for the Debtors’ Professionals’ fees, disbursements, expenses, or related
support services without application to the Bankruptcy Court.

       C.      Discharge of Claims Against and Interests in the Debtors

        Upon the Effective Date and in consideration of the Distributions to be made hereunder, to
the fullest extent permitted by applicable law, except as expressly provided herein or in the
Confirmation Order, each holder (as well as any trustee and agents on behalf of such holder) of a
Claim or Interest and any affiliate of such holder shall be deemed to have forever waived, released,
and discharged the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy Code,
of and from any and all Claims, Interests, Liens, rights, and liabilities that arose prior to the
Effective Date, and will be considered waived, released, or discharged as an uncollectible account
for tax purposes. Except as otherwise expressly provided herein, upon the Effective Date, all such
holders of Claims, Interests, rights and liabilities and their affiliates shall be forever precluded and
enjoined, pursuant to sections 105, 524, and 1141 of the Bankruptcy Code, from prosecuting or
asserting any Claim, Interest, Lien, right or liability in or against the Estates, Debtors, Liquidating
Debtors or the Reorganized Debtors or any of their assets or property, whether or not such holder




                                                 - 51 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 168 of 342



has filed a proof of claim and whether or not the facts or legal bases thereof were known or existed
prior to or on the Effective Date.

       D.      Exculpation

     EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO
EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED PARTY
IS RELEASED AND EXCULPATED FROM, ANY LIABILITY FOR ANY ACT OR
OMISSION IN CONNECTION WITH, RELATING TO OR ARISING OUT OF THE
DEBTORS’ CHAPTER 11 CASES, THE FORMULATION, PREPARATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE PLAN SUPPORT
AGREEMENT, THE PLAN SUPPORT AGREEMENT ORDER, THE DISCLOSURE
STATEMENT, THE PLAN, THE DIP FACILITY, THE DIP AGREEMENT, THE DIP
AMENDMENT, THE DIP ORDER, THE DIP AMENDMENT ORDER, THE
TRANSACTION OR ANY TRANSACTION, CONTRACT, INSTRUMENT, RELEASE
OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
CONNECTION WITH THE FOREGOING, THE FILING OF THE CHAPTER 11 CASES,
THE PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
ISSUANCE OF SECURITIES PURSUANT TO THE PLAN, THE DISTRIBUTION OF
PROPERTY UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT, EXCEPT
FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS DETERMINED IN A
FINAL ORDER TO HAVE CONSTITUTED ACTUAL FRAUD, GROSS NEGLIGENCE
OR WILLFUL MISCONDUCT; IN ALL RESPECTS THE EXCULPATED PARTIES
SHALL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE OF COUNSEL
WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES. THE EXCULPATED
PARTIES HAVE, AND UPON COMPLETION OF THE PLAN SHALL BE DEEMED TO
HAVE, PARTICIPATED IN THE SOLICITATION OF VOTES AND DISTRIBUTIONS
PURSUANT TO THE PLAN IN GOOD FAITH AND IN COMPLIANCE WITH
APPLICABLE LAWS AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH
ACTIONS SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION
OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR DISTRIBUTIONS MADE
PURSUANT TO THE PLAN.

     NOTWITHSTANDING THE FOREGOING, SOLELY WITH RESPECT TO
EXCULPATED PARTIES THAT ARE NOT (A) FIDUCIARY EXCULPATED PARTIES
OR (B) THE PLAN SPONSOR AND ITS REPRESENTATIVES, THIS SECTION XI.D.
WILL BIND ONLY ENTITIES THAT ARE RELEASING PARTIES. FOR THE
AVOIDANCE OF DOUBT, THIS PARAGRAPH IS NOT INTENDED TO, AND SHALL
NOT, IMPAIR OR OTHERWISE LIMIT (I) ANY EXCULPATION RIGHTS OF ANY
PERSONS THAT ARE PROVIDED FOR UNDER ANY AGREEMENTS TO WHICH
SUCH PERSONS ARE PARTIES OR BENEFICIARIES OR (II) THIS SECTION XI.D.
OR ANY OTHER EXCULPATION RIGHTS (INCLUDING UNDER 11 U.S.C. § 1125(E))




                                               - 52 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                        Pg 169 of 342



AS APPLIED TO (A) FIDUCIARY EXCULPATED PARTIES OR (B) THE PLAN
SPONSOR AND ITS REPRESENTATIVES.

      E.       Releases

               1.      Releases by the Debtors

      PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD
AND VALUABLE CONSIDERATION AND FOR THE CONCESSIONS MADE AS SET
FORTH IN THIS PLAN AND THE OTHER CONTRACTS, INSTRUMENTS, RELEASES,
AGREEMENTS, OR DOCUMENTS TO BE ENTERED INTO OR DELIVERED IN
CONNECTION WITH THIS PLAN, AND THE SERVICE OF THE RELEASED PARTIES
IN FACILITATING THE EXPEDITIOUS REORGANIZATION OF THE DEBTORS AND
THE IMPLEMENTATION OF THE RESTRUCTURING CONTEMPLATED BY THE
PLAN, ON AND AFTER THE EFFECTIVE DATE, EACH RELEASED PARTY IS
DEEMED RELEASED AND DISCHARGED BY THE DEBTORS, THEIR ESTATES,
THE REORGANIZED DEBTORS, THE LIQUIDATING DEBTORS AND ANY OTHER
PERSON OR ENTITY SEEKING TO EXERCISE THE RIGHTS OF THE ESTATES
FROM ANY AND ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, DEMANDS, DEBTS, RIGHTS, LIENS, LOSSES, REMEDIES,
CONTRIBUTIONS, INDEMNITIES, COSTS, CAUSES OF ACTION OR LIABILITIES
WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS OR CAUSES OF ACTION,
THAT THE DEBTORS, THEIR ESTATES, THE REORGANIZED DEBTORS OR THE
LIQUIDATING DEBTORS WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR ANOTHER ENTITY,
WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED OR CONTINGENT,
MATURED OR UNMATURED, KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, EXISTING OR ARISING, IN LAW, EQUITY, CONTRACT, TORT, OR
OTHERWISE, BY STATUTE, VIOLATIONS OF FEDERAL, STATE, PROVINCIAL,
FOREIGN, OR TERRITORIAL SECURITIES LAWS, OR OTHERWISE THAT THE
DEBTORS, THE REORGANIZED DEBTORS, THE LIQUIDATING OR THE ESTATES
WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT
(WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE
HOLDER OF A CLAIM OR INTEREST OR OTHER PERSON OR ENTITY, BASED ON,
RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART,
THE DEBTORS, THE DEBTORS’ IN- OR OUT-OF-COURT RESTRUCTURING
EFFORTS, INTERCOMPANY TRANSACTIONS, THE DEBTORS’ CHAPTER 11
CASES, THE FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION,
OR FILING OF THE PLAN SUPPORT AGREEMENT, THE PLAN SUPPORT
AGREEMENT ORDER, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE
DIP ORDER, THE DIP AMENDMENT ORDER, THE PLAN, THE SECURED NOTE
PURCHASE AGREEMENT, THE TRANSACTION AND ANY CONTRACT,
INSTRUMENT, RELEASE, OR ANOTHER AGREEMENT OR DOCUMENT CREATED
OR ENTERED INTO IN CONNECTION WITH THE FOREGOING, AND ANY
EXHIBITS OR DOCUMENTS RELATED THERETO, THE FILING OF THESE
CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION, INCLUDING THE


                                            - 53 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                        Pg 170 of 342



SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, THE PURSUIT OF
CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION OF THE
PLAN, INCLUDING THE PURCHASE, SALE, ISSUANCE, DISTRIBUTION, OR
CANCELLATION OR RESCISSION OF THE PURCHASE OR SALE OF ANY
SECURITIES PURSUANT TO THE PLAN, OR THE DISTRIBUTIONS UNDER THE
PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY OTHER ACT OR
OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE. FOR THE AVOIDANCE
OF DOUBT, NO RELEASE IN SECTION XI.E. SHALL BE GIVEN FOR: (I) THE
DEBTORS’ COUNTERCLAIMS, SETOFFS, OR DEFENSES TO CLAIMS OR (II) ANY
OBLIGATIONS OF ANY NON-DEBTOR COUNTERPARTY UNDER ASSUMED
CONTRACTS.

               2.      Releases by Holders of Claims

     AS OF THE EFFECTIVE DATE, EACH RELEASING PARTY IS DEEMED TO
HAVE RELEASED AND DISCHARGED EACH DEBTOR, EACH LIQUIDATING
DEBTOR, EACH REORGANIZED DEBTOR, AND EACH RELEASED PARTY FROM
ANY AND ALL CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN THAT
SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
INDIVIDUALLY OR COLLECTIVELY, INCLUDING ANY DERIVATIVE CLAIMS),
BASED ON OR RELATING TO OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE DEBTORS’ IN- OR OUT-OF-COURT
RESTRUCTURING EFFORTS, INTERCOMPANY TRANSACTIONS, THE DEBTORS’
CHAPTER 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
NEGOTIATION, OR FILING OF THE PLAN SUPPORT AGREEMENT, THE PLAN
SUPPORT AGREEMENT ORDER, THE DISCLOSURE STATEMENT, THE DIP
FACILITY, THE DIP ORDER, THE DIP AMENDMENT ORDER, THE PLAN, THE
SECURED NOTE PURCHASE AGREEMENT, THE TRANSACTION AND ANY
CONTRACT, INSTRUMENT, RELEASE, OR ANOTHER AGREEMENT OR
DOCUMENT CREATED OR ENTERED INTO IN CONNECTION WITH THE
FOREGOING, AND ANY EXHIBITS OR DOCUMENTS RELATED THERETO, THE
FILING OF THESE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION,
INCLUDING THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, THE
PURSUIT OF CONSUMMATION, THE ADMINISTRATION AND IMPLEMENTATION
OF THE PLAN, INCLUDING THE PURCHASE, SALE, ISSUANCE, DISTRIBUTION,
OR CANCELLATION OR RESCISSION OF THE PURCHASE OR SALE OF ANY
SECURITIES PURSUANT TO THE PLAN, OR THE DISTRIBUTIONS UNDER THE
PLAN OR ANY OTHER RELATED AGREEMENT, OR UPON ANY OTHER ACT OR
OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.

     FOR THE AVOIDANCE OF DOUBT, THE ONLY PARTIES THAT ARE BOUND
BY THE RELEASE SET FORTH IN SECTION XI.E.2 ARE: (A) THE RELEASED
PARTIES; (B) PARTIES WHO VOTE IN FAVOR OF THE PLAN AND DO NOT OPT
OUT OF THE RELEASE PROVIDED IN SECTION XI.E.2 OF THE PLAN IN A TIMELY
AND PROPERLY SUBMITTED BALLOT; (C) PARTIES WHO ARE ENTITLED TO


                                            - 54 -
20-22437-rdd     Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                      Pg 171 of 342



VOTE BUT DO NOT VOTE AND DO NOT OPT OUT OF THE RELEASE PROVIDED
IN SECTION XI.E.2 OF THE PLAN IN A TIMELY AND PROPERLY SUBMITTED
BALLOT; AND (D) PARTIES WHO ARE DEEMED TO ACCEPT THE PLAN AND DO
NOT OPT OUT OF THE RELEASE PROVIDED IN SECTION XI.E.2 OF THE PLAN BY
SUBMITTING A DULY COMPLETED OPT-OUT FORM.

     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE ANY
INDIVIDUAL FROM ANY CLAIM OR CAUSES OF ACTION RELATED TO AN ACT
OR OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD,
WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE.

      F.       Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
HOLD CLAIMS OR INTERESTS OR CAUSES OF ACTION THAT HAVE BEEN
RELEASED, DISCHARGED, OR ARE SUBJECT TO EXCULPATION UNDER THE
PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE
DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS
APPLICABLE, THE DEBTORS, THE REORGANIZED DEBTORS, THE LIQUIDATING
DEBTORS, THE EXCULPATED PARTIES, OR THE RELEASED PARTIES: (A)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH ANY
SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION; (B) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING ANY JUDGMENT, AWARD,
DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH ANY SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION;
(C) CREATING, PERFECTING, OR ENFORCING AN ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THEIR PROPERTIES ON ACCOUNT OF OR IN
CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION; (D)
ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR RECOUPMENT OF ANY
KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES OR AGAINST THE
PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH
SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION UNLESS SUCH HOLDER
HAS FILED A MOTION REQUESTING THE RIGHT TO PERFORM SUCH SETOFF,
NOTWITHSTANDING AN INDICATION IN ANY PROOF OF CLAIM OR OTHERWISE
THAT SUCH HOLDER ASSERTS, HAS, OR INTENDS TO PRESERVE THE RIGHT OF
SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (E)
COMMENCING OR CONTINUING ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH SUCH CLAIMS OR INTERESTS
OR CAUSES OF ACTION.

    NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE INJUNCTION SET FORTH ABOVE SHALL NOT ENJOIN THE




                                         - 55 -
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 172 of 342



PLAN SPONSOR FROM EXERCISING ANY OF ITS RIGHTS UNDER THE PLAN
SUPPORT AGREEMENT PRIOR TO THE EFFECTIVE DATE.

       G.      Scope of Discharge, Release, or Injunction With Respect to the United States
               of America

        As to the United States of America, its agencies, departments, or agents (collectively,
the “United States”), nothing in this Plan or the Confirmation Order shall limit or expand the scope
of discharge, release or injunction to which the Debtors or Reorganized Debtors are entitled to
under the Bankruptcy Code, if any. The discharge, release, and injunction provisions contained in
this Plan and the Confirmation Order are not intended and shall not be construed to bar the United
States from, subsequent to the Confirmation Order, pursuing any police or regulatory action except
to the extent the applicable Bar Date or the discharge, release, exculpation or injunction provisions
of the Plan bar a Governmental Unit from pursuing prepetition Claims against the Debtors or
Reorganized Debtors.

         Accordingly, notwithstanding anything contained herein or in the Confirmation Order to
the contrary, nothing herein or the Confirmation Order shall discharge, release, impair or otherwise
preclude: (1) any liability to the United States that is not a “claim” within the meaning of Section
101(5) of the Bankruptcy Code; (2) any Claim of the United States arising on or after the Effective
Date; or (3) any valid right of setoff or recoupment of the United States against any of the Debtors.
Nothing herein or in the Confirmation Order shall: (i) enjoin or otherwise bar the United States
from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence; or (ii) divest any court, commission, or tribunal of jurisdiction to determine whether any
liabilities asserted by the United States are discharged or otherwise barred by this Plan, the
Confirmation Order or the Bankruptcy Code.

         Moreover, nothing herein or in the Confirmation Order shall release or exculpate any non-
Debtor, including any Released Parties and/or Exculpated Parties that are not Debtors, from any
liability to the United States, including but not limited to any liabilities arising under the Internal
Revenue Code, the environmental laws, or the criminal laws against the Released Parties and/or
Exculpated Parties, nor shall anything herein or in the Confirmation Order enjoin the United States
from bringing any claim, suit, action or other proceeding against any non-Debtor for any liability
whatsoever; provided, that the foregoing sentence shall not (x) limit the scope of discharge granted
to the Debtors and the Reorganized Debtors under sections 524 and 1141 of the Bankruptcy Code,
or (y) diminish the scope of any exculpation to which any party is entitled under section 1125(e)
of the Bankruptcy Code.

         Without limiting the application of section 1145 of the Bankruptcy Code, nothing
contained herein or in the Confirmation Order shall be deemed to determine the tax liability of any
person or entity, including but not limited to the Debtors and the Reorganized Debtors, nor shall
this Plan or the Confirmation Order be deemed to have determined the federal tax treatment of any
item, distribution, or entity, including the federal tax consequences of this Plan, nor shall anything
in this Plan or Confirmation Order be deemed to have conferred jurisdiction upon the Bankruptcy
Court to make determinations as to federal tax liability and federal tax treatment except as provided
under 11 U.S.C. § 505.




                                                - 56 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 173 of 342



        H.     Term of Injunctions or Stays

        Unless otherwise provided herein or in the Confirmation Order, all injunctions or stays
arising under or entered during the pendency of these cases under section 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order providing
for such injunction or stay; provided, however, that in no event shall the Plan or the Confirmation
Order be construed as enjoining Plan Sponsor from exercising any of its rights under the Plan
Support Agreement prior to the Effective Date.

        I.     Ipso Facto and Similar Provisions Ineffective

        Any term of any prepetition policy, contract, or other obligation applicable to a Debtor
shall be void and of no further force or effect to the extent that such policy, contract, or other
obligation is conditioned on, creates an obligation as a result of, or gives rise to a right of any
Entity based on (i) the insolvency or financial condition of a Debtor, (ii) the commencement of
these chapter 11 cases, (iii) the Confirmation or consummation of the Plan, or (iv) the Transaction.

XII.    RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall retain jurisdiction over these cases after the Effective Date to the
fullest legally permissible extent, including jurisdiction to:

              1.     Allow, disallow, estimate, determine, liquidate, reduce, classify, re-classify,
and establish the priority or secured or unsecured status of any Claim, including any
Administrative Expense Claim;

               2.      Adjudicate any Retained Cause of Action, including any Avoidance Action;

               3.      Resolve any disputes relating to the Transaction;

               4.      Grant or deny any applications for allowance of Fee Claims;

                 5.    Resolve any matters related to the assumption, assumption and assignment
or rejection of any Executory Contract or Unexpired Lease and to hear, determine and, if necessary,
liquidate any Claims arising therefrom, including any Cure Claims;

               6.      Ensure that Distributions are accomplished pursuant to the provisions of the
Plan;

              7.     Decide or resolve any motions, adversary proceedings, contested matters
and any other matters that may be pending on the Effective Date or brought thereafter in these
cases;

            8.     Enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases and other




                                               - 57 -
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 174 of 342



agreements or documents entered into or delivered in connection with the Plan, the Confirmation
Order, or the Transaction;

                9.     Resolve any controversies, suits or disputes that may arise in connection
with the consummation, interpretation or enforcement of the Plan, the Confirmation Order or any
contract, instrument, release or other agreement or document that is entered into or delivered in
connection with the Plan and any Entity’s rights arising from or obligations incurred in connection
with the Plan;

               10.    Modify the Plan before or after the Effective Date pursuant to section 1127
of the Bankruptcy Code; modify the Confirmation Order or any contract, instrument, release or
other agreement or document entered into or delivered in connection with the Plan, or remedy any
defect or omission or reconcile any inconsistency in any order entered in the Debtors’ cases, the
Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release or
other agreement or document entered into, delivered or created in connection with the Plan, in
such manner as may be necessary or appropriate to consummate the Plan and the transactions
contemplated hereby;

               11.     Hear and determine any matter, case, controversy, suit, dispute, or Cause of
Action regarding the existence, nature and scope of the releases, injunctions, and exculpation
provided in the Plan, and issue injunctions, enforce the injunctions contained in the Plan and the
Confirmation Order;

                12.    Enter and implement orders or take such other actions as may be necessary
or appropriate to implement, enforce or restrain interference by any Entity with the consummation,
implementation or enforcement of the Plan or the Confirmation Order;

                13.     Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if Distributions are enjoined or stayed;

               14.     Determine any other matters that may arise in connection with or relate to
the Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release or
other agreement or document entered into or delivered in connection with the Plan, the Disclosure
Statement, or the Confirmation Order;

                15.    Grant, under section 505(b) of the Bankruptcy Code, an expedited
determination with respect to tax returns filed, or to be filed, on behalf of the Debtors for any and
all taxable periods ending after the Petition Date through, and including, the Effective Date;

               16.     Enforce, clarify or modify any orders previously entered in the Debtors’
cases;

               17.     Enter final decrees closing the Debtors’ cases;

               18.    Determine matters concerning state, local and federal taxes in accordance
with sections 346, 505 and 1146 of the Bankruptcy Code, including any Disputed Claims for taxes;



                                               - 58 -
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 175 of 342



               19.     Assist in recovery of all assets of the Debtors and their Estates, wherever
located; and

               20.     Hear any other matter over which the Bankruptcy Court has jurisdiction.

                21.     If the Bankruptcy Court abstains from exercising, or declines to exercise,
jurisdiction or is otherwise without jurisdiction over any matter, the provisions of this section XII
shall have no effect upon and shall not control, prohibit or limit the exercise of jurisdiction by any
other court having jurisdiction with respect to such matter.

XIII. MISCELLANEOUS PROVISIONS

       A.      Dissolution of Creditors’ Committee

        Except to the extent provided herein, upon the Effective Date: (i) the Creditors’ Committee
shall be dissolved and shall have no further role in these chapter 11 cases except to (a) prepare,
file and, if necessary, litigate final applications for compensation; and (b) object to final fee
applications filed by other Professionals; (ii) the current and former members of the Creditors’
Committee and their respective officers, employees, counsel, advisors and agents, shall be released
and discharged of and from all further authority, duties, responsibilities and obligations related to
and arising from and in connection with these cases; and (iii) the Professionals retained by the
Creditors’ Committee will not be entitled to assert any Fee Claims for any services rendered or
expenses incurred after the Effective Date in their capacity as Professionals for the Creditors’
Committee, except with regard to the services specifically delineated in clauses (i)(a) and (b),
above.

       B.      Inconsistency

        In the event of any inconsistency between the Plan and the Disclosure Statement (including
any exhibit or schedule to the Disclosure Statement), the provisions of the Plan shall govern. In
the event of any inconsistency between the Plan and any document or agreement filed in the Plan
Supplement, such document or agreement shall control. In the event of any inconsistency between
the Plan or any document or agreement filed in the Plan Supplement, on the one hand, and the
Confirmation Order, on the other hand, the Confirmation Order shall control. Notwithstanding the
foregoing, the Debtors remain subject to all of their obligations under the Plan Support Agreement
to the extent the terms of the Plan Support Agreement are not explicitly modified by this Plan.

       C.      Exhibits / Schedules

        All exhibits and schedules to the Plan, including the Plan Supplement, are incorporated
into and constitute a part of the Plan.

       D.      Severability

       If, prior to the entry of the Confirmation Order, any term or provision of the Plan is
determined by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court
may, at the request of the Debtors, alter and interpret such term or provision to the extent necessary
to render it valid or enforceable to the maximum extent practicable, consistent with the original


                                                - 59 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 176 of 342



purpose of the term or provision held to be invalid, void or unenforceable, and such term or
provision shall then be applicable as so altered or interpreted. Notwithstanding any such holding,
alteration or interpretation, the remaining terms and provisions of the Plan shall remain in full
force and effect and shall in no way be affected, impaired or invalidated by such alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is valid and enforceable pursuant to its terms.

       E.      Governing Law

        Except to the extent that (1) the Bankruptcy Code or other federal law is applicable or (2) a
document or agreement filed in the Plan Supplement provides otherwise (in which case the
governing law specified therein shall be applicable to such document or agreement), the rights,
duties, and obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of
conflict of laws that would require or permit application of the laws of another jurisdiction.

       F.      Successors and Assigns

       The rights, benefits and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign
of such Entity.

       G.      Service of Documents

        To be effective, any pleading, notice or other document required by the Plan or the
Confirmation Order to be served on or delivered to counsel to the Debtors, the DIP Agent, the
Creditors’ Committee and the U.S. Trustee must be sent by email and overnight delivery service,
courier service, first class mail or messenger to:

               1.      The Debtors

                       MILBANK LLP
                       55 Hudson Yards
                       New York, New York 10001
                       Telephone: (212) 530-5000
                       Facsimile: (212) 530-5219
                       Email: ddune@milbank.com
                              aleblanc@milbank.com
                              tlomazow@milbank.com
                              ldoyle@milbank.com

               2.      DIP Agent

                       ARNOLD & PORTER KAYE SCHOLER LLP
                       250 West 55th Street
                       New York, NY 10019
                       Attn: Jonathan Levine


                                               - 60 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                        Pg 177 of 342



                       Telephone: (212) 836-8000
                       Facsimile: (212) 836-8689
                       Email: jonathan.levine@arnoldporter.com

               3.      Creditors’ Committee

                       PAUL HASTINGS LLP
                       200 Park Avenue
                       New York, NY 10166
                       Telephone: (212) 318-6000
                       Facsimile: (212) 319-4090
                       Email: lucdespins@paulhastings.com
                              pedrojimenez@paulhastings.com
                              alexbongartz@paulhastings.com
                              shlomomaza@paulhastings.com

               4.      The U.S. Trustee

                       201 Varick Street, Room 1006
                       New York, NY 10014
                       Attn: Richard C. Morrissey
                       Telephone: (212) 510-0500 ext. 206
                       Facsimile: (212) 668-2255
                       Email: morrissey@usdoj.gov

               5.      Plan Sponsor

                       WEIL, GOTSHAL & MANGES LLP
                       767 Fifth Avenue
                       New York, New York 10153
                       Attn.: Garrett A. Fail
                              Gabriel A. Morgan
                       Telephone: (212) 310-8000
                       Facsimile: (212) 310-8007
                       E-mail: Garrett.Fail@weil.com
                                Gabriel.Morgan@weil.com

                        - and –

                       CRAVATH, SWAINE & MOORE LLP
                       825 Eighth Avenue
                       New York, New York 10019
                       Attn.: Paul H. Zumbro
                        George E. Zobitz
                       Telephone: (212) 474-1000
                       Facsimile: (212) 474-3700
                       E-mail: PZumbro@cravath.com


                                             - 61 -
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                        Pg 178 of 342



                              JZobitz@cravath.com

               6.      SoftBank Group Corp.

                       MORRISON & FOERSTER LLP
                       250 W. 55th Street
                       New York, New York 10019
                       Attn: Gary S. Lee
                             Todd M. Goren
                       Telephone: (212) 468-8000
                       Facsimile: (212) 468-7900
                       E-mail: GLee@mofo.com
                               TGoren@mofo.com

XIV. CONFIRMATION REQUEST

      The Debtors respectfully request Confirmation of the Plan pursuant to section 1129 of the
Bankruptcy Code.

 Dated: August 31, 2020                   Respectfully submitted,

                                          On behalf of each of the Debtors

                                          By: /s/ Thomas Whayne
                                               Name: Thomas Whayne
                                               Title: Chief Financial Officer
                                                      OneWeb Global Limited




                                            - 62 -
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 179 of 342



                                    Exhibit 1

                   Restructuring Steps Under UK Corporate Law
20-22437-rdd    Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                      Pg 180 of 342



                                      Exhibit 1 to the Plan


  In accordance with the provisions of section IV.G of the Plan, the Plan Sponsor and the
  Debtors may supplement, modify and/or revise the actions and matters set out in this Schedule
  under certain circumstances, and to the extent the Debtors and the Plan Sponsor agree to
  supplement, modify and/or revise this Schedule the Plan shall be implemented in a manner
  consistent with this Schedule as may be so supplemented, modified and/or revised.
  Subject to the aforementioned the Parties contemplate that the Reorganized Company Party
  shall be OneWeb Communications Limited.
  Subject to the aforementioned the following steps shall be undertaken by way of the following
  implementation of the Plan actions and matters:
       1. The Plan Sponsor will on the Effective Date acquire all of the issued and outstanding
          shares in and any other Interests as may exist and are held by OneWeb in OneWeb
          Communications Limited, from OneWeb, in consideration of $1.
       2. The actions and matters set out in section IV.C of the Plan shall be implemented on
          the Effective Date through the Plan Sponsor subscribing for new ordinary shares in
          OneWeb Communications Limited, or through the Plan Sponsor advancing funds
          to OneWeb Communications Limited by way of a loan or loans, or through a
          combination of both a subscription for new ordinary shares and the advancing of
          funds by way of a loan or loans, as the Plan Sponsor may determine provided that
          any shares which may be subscribed by the Plan Sponsor for this purpose may be
          fully paid up on subscription or alternatively at the discretion of the Plan Sponsor
          partly paid only and any balance not paid up at the Effective Date will be paid up as
          may be required in order to comply with the provisions of the Plan.
       3. The actions and matters set out in section II.C.1 of the Plan shall, so far as dealt with
          in the following sub-paragraphs, be implemented as follows:
           3.1. The holders of Allowed Secured Notes Claims will convert when required to
                do so by the Plan Sponsor, and if not required to do so within one business day
                of the Effective Date then when such holders choose to convert, the Allowed
                Secured Notes Claims Equity Amount of the principal amount of the aggregate
                amount of their Allowed Secured Notes Claims in consideration for ordinary
                shares in OneWeb Communications Limited, on the basis that such conversion
                of Allowed Secured Notes Claims shall be made pro rata to the amount of
                Allowed Secured Notes Claims held by each such holder.
           3.2. Following the issue of such ordinary shares in OneWeb Communications
                Limited to the holders as is mentioned in paragraph 3.1 above, the Plan Sponsor
                calling upon such holders to transfer such shares to the Plan Sponsor in
                consideration for the issue by the Plan Sponsor to such holder of their pro rata
                share of the BidCo Equity Consideration, provided that if the Plan Sponsor does
                not so call on the holders to so transfer their shares in OneWeb Communications
                Limited to the Plan Sponsor within one business day of the issue of such shares
                then such holders shall have the right to transfer such shares to the Plan Sponsor
                in consideration for which the Plan Sponsor shall issue to such holders their pro
                rata share of the BidCo Equity Consideration.
           3.3. Alternatively to the actions set out at paragraphs 3.1 and 3.2 above and at the
                discretion of the Plan Sponsor, the Plan Sponsor shall have the right to call upon


                                                                                            1
20-22437-rdd   Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                     Pg 181 of 342



               the holders of the Allowed Secured Notes Claims to sell to the Plan Sponsor
               the Allowed Secured Notes Claims Equity Amount of such Allowed Secured
               Notes Claims, in the case of each holder of such claims pro rata to the amount
               of such claims held by such holder, in consideration for which the Plan Sponsor
               shall issue to such holders their pro rata share of the BidCo Equity
               Consideration.
          3.4. If applicable, the Plan Sponsor shall within 60 days of the acquisition
               mentioned in paragraph 3.3 above shall irrevocably release OWG for no
               consideration the Allowed Secured Notes Claims Equity Amount owed to it by
               OneWeb Communications Limited following such acquisition.
          3.5. Immediately following the issue of such ordinary shares in OneWeb
               Communications Limited to the holders as is mentioned in paragraph 3.1 above,
               and the matters set out in paragraph 3.2 or alternatively the matters set out in
               paragraph 3.3 (as the case may be), the remaining claims of the holders of the
               Allowed Secured Notes Claims shall be irrevocably released for no
               consideration.




                                                                                        2
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 182 of 342



                                     ANNEX B

                                Liquidation Analysis
        20-22437-rdd          Doc 534           Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                                          Pg 183 of 342

OneWeb Global Ltd. et. al.
Summary Table - Best Interests Test

Below is a summary, prepared by the Debtors and their professionals, of the proposed recoveries by Holders of Allowed Claims
against, and Allowed Interests in, the Debtors pursuant to the Joint Chapter 11 Plan of Reorganization of OneWeb Global
Limited et. al. (the "Plan") as compared to potential recoveries in a hypothetical Chapter 7 liquidation.

Because recoveries under the Plan exceed those in a hypothetical chapter 7 case, the Plan satisfies the best interests of creditors
test.

                                                                                               Plan
        Class                        Claim Type                      Plan Consideration                       Chapter 7 Recovery
                                                                                             Recovery
     Unclassified    New Money DIP Loan Claims1                            Cash2              100.0%              0% to 21.0%
     Unclassified    Roll-up Loan Claims                                   Cash               100.0%                  0.0%
     Unclassified    Ch. 11 Administrative Expense Claims                  Cash               100.0%                  0.0%
                                            3
          1          Secured Notes Claims                                  Equity              6.1%                   0.0%
           2         Other Secured Claims                                  Cash               100.0%                  0.0%
           3         Priority Non-Tax Claims                               Cash               100.0%                  0.0%
           4         General Unsecured Claims                               N/A                0.0%                   0.0%
           5         Ongoing Trade Claims                                   [ ]                 [ ]                   0.0%
           6         Intercompany Claims                                    N/A             0% to 100%                0.0%
           7         Intercompany Interests                                 N/A             0% to 100%                0.0%
           8         Section 510(b) Claims                                  N/A                0.0%                   0.0%
           9         OneWeb Interests                                       N/A                0.0%                   0.0%
1
  New money DIP Claims represent $30 million of initial new money DIP loans provided by the initial DIP Lenders and $110
million of additional new money DIP loans provided by the Plan Sponsor (the “New Money DIP Loan Claims”). Chapter 7
recovery percentage reflects the range of the high-case and low-case recovery scenarios.
2
 On the Effective Date, except with respect to Interim Funding DIP Claims, each holder of an Allowed DIP Claim shall receive
payment in full in cash under the Plan. With respect to the Interim Funding DIP Claims under the Plan, each holder of an
allowed Interim Funding DIP Claim under the DIP Facility shall have such claims converted into BidCo Equity Interests at the
same valuation as the BidCo Equity Consideration. In a Chapter 7 liquidation, all New Money DIP Loan Claims will receive
payment, if any, in cash.
3
    Plan percentage recovery reflects equity distribution value of $100 million.




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20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 184 of 342



OneWeb Global Ltd. et. al.
Liquidation Analysis Assumptions


Introduction
Section 1129(a)(7) of the Bankruptcy Code1 requires that each holder of an impaired Allowed
Claim or Interest either (i) accept the Plan or (ii) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such holder would receive or retain
if the Debtors’ assets were liquidated under Chapter 7 of the Bankruptcy Code on the Effective
Date of the Plan. To demonstrate that the Plan satisfies this standard, the Debtors, in consultation
with their legal and financial advisors, have prepared the Liquidation Analysis, which (a) estimates
the realizable value of the Debtors (the “Chapter 7 Debtors”) under a hypothetical Chapter 7
liquidation (the “Liquidation Analysis”) and (b) estimates the distribution to creditors resulting
from the liquidation.

The Liquidation Analysis is a hypothetical exercise based on a number of estimates and
assumptions that are subject to significant uncertainties and contingencies. Proceeds
generated in a hypothetical Chapter 7 liquidation are likely to be significantly discounted due to
the distressed nature of the sale. Further, Allowed Claims against the Chapter 7 Debtors’ estates
could vary materially from the estimates set forth in the Liquidation Analysis. Accordingly, while
the information contained in the Liquidation Analysis is presented with numerical specificity, the
Debtors make no assurances that the asset values and Claim amounts presented in the Liquidation
Analysis would not vary materially from actual amounts in the event of an actual Chapter 7
liquidation.

Following is a summary of certain assumptions used in the Liquidation Analysis. The notes to the
Liquidation Analysis provide additional assumptions and should be read in conjunction with the
Liquidation Analysis. Additional factors not enumerated herein were also considered in connection
with the formulation of the Liquidation Analysis.


General Assumptions
The Liquidation Analysis assumes that the Debtors’ Chapter 11 cases are converted to
liquidation cases under Chapter 7 of the Bankruptcy Code effective October 1, 2020. The
Bankruptcy Court-appointed Chapter 7 trustee would proceed to liquidate as soon as possible all
assets of the Chapter 7 Debtors in both the high recovery and low recovery scenarios.

In the high-recovery scenario, assets are assumed liquidated over a nine-month liquidation period
and the Chapter 7 cases would conclude on June 30, 2021. The assumed nine-month wind-down
period reflects the requirement for regulatory approvals for a sale transaction. The high-recovery
scenario assumes that the Debtors’ spectrum rights, seventy-four (74) in-orbit satellites, satellite
control equipment and certain related contracts and other operating assets located at its UK-based
satellite operations center and its $5 million cash fund pledged to the United Kingdom Space
Agency (the “Spectrum Asset Package”) would be sold in the aggregate as a pool of assets to
maximize liquidation value. The hypothetical sales assume that the Debtors’ existing business

                                               2
20-22437-rdd        Doc 534                           CONFIDENTIAL
                                  Filed 09/01/20 Entered              – SUBJECT
                                                          09/01/20 00:35:39  MainTO FRE 408
                                                                                  Document
                                            Pg 185 of 342    DRAFT – SUBECT TO REVISION


would not be sold as a going concern, which severely limits the potential value to be derived from
the spectrum and other assets.

In the low-recovery scenario, assets are assumed liquidated over a twelve-month liquidation period
and the Chapter 7 cases would conclude on September 30, 2021. A twelve-month liquidation
period is estimated based on the assumption that the spectrum is not able to be sold given the
distressed nature of the sale and the limited time to market the assets in a hypothetical Chapter 7
liquidation and, therefore, a period of time would be required to de-orbit the satellites currently in
operation within the necessary regulatory guidelines and requirements.

This Liquidation Analysis incorporates, inter alia, (a) information included in the Debtors’ Plan,
(b) amounts presented in the Debtors’ books and records and (c) analyses performed by the
Debtors.

The Liquidation Analysis reflects the possibility that the applicable liquidation period may not
provide sufficient time to maximize value during the sale of assets of the Chapter 7 Debtors and
that the Chapter 7 Debtors’ negotiation position will be very weak. The assets would likely be
valued and, if sold, sold at “deeply distressed” price levels. Liquidation values were derived by
estimating proceeds from a “deeply distressed” sale of assets that a Chapter 7 trustee might
achieve.

The Liquidation Analysis assumes that liquidation proceeds (net of the expenses incurred by the
Chapter 7 trustee) will be distributed in accordance with the Bankruptcy Code and that no
distributions will be made to junior creditors or equity holders until all senior creditors are paid in
full.

The Liquidation Analysis assumes an Ongoing Trade Claims class is not established and that
the Ongoing Trade Claims are treated as General Unsecured Claims.

Upon conversion of the Chapter 11 cases to Chapter 7 liquidation, it is assumed that the Chapter
7 trustee will be permitted the use of Cash Collateral (as defined in the DIP Order) 1 and sale
proceeds for solely the purposes of managing a wind-down and liquidation of assets, however,
there is no guarantee that funding beyond the Carve-Out (as defined in the DIP Order) will be
available to a Chapter 7 trustee absent consent of the DIP Lenders to use Cash Collateral.

While the Liquidation Analysis assumes liquidation over a nine- to twelve-month period due to
the time required obtain regulatory approval in the high-recovery scenario or to de-orbit the
satellites in the low-recovery scenario or it is possible that the disposition and recovery from
certain assets could take longer and cost more to realize. The potential impact of litigation and
actions by other creditors could increase the amount of time required to realize recoveries assumed
in this analysis. Such events, including if the Chapter 7 trustee were not granted consensual use of
Cash Collateral and could not obtain alternate financing for costs incurred to realize on assets,

1
 Order (I) Authorizing Debtors to Obtain Postpetition Secured Financing, (II) Granting Liens and Providing
Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief
[Docket No. 121] (the “DIP Order”).

                                                      3
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 186 of 342



could add costs to the liquidation in the form of higher legal and professional fees to resolve these
potential events or shorten the time available to realize on the assets.

The table herein summarizes the estimated proceeds that would be available for distribution
to the Debtors’ creditors in a hypothetical liquidation of the Debtors’ estates under Chapter 7 of
the Bankruptcy Code. Additional assumptions with respect to the Liquidation Analysis are
provided below.

Cash and Equivalents
The “Cash and Equivalents” balances are the projected unrestricted Debtor cash balances as of
October 1, 2020 based on the Debtors’ consolidated cash forecast. OneWeb Communications
Limited is projected to hold the majority of the cash as of October 1, 2020. Cash balances at each
entity are projected based on allocation of the consolidated cash balance projected at October 1,
2020 and expected cash needs for wind-down and other administrative expenses. It is assumed that
the Chapter 7 Debtors maintain the existing cash management system currently in place. The
Liquidation Analysis assumes that, to the extent necessary to fund operations, the Debtors will
first use cash currently reflected on the books of OneWeb Communications Limited.

The Liquidation Analysis assumes zero cash balance at each of the non-debtor entities as of
October 1, 2020. Existing cash balances at June 30, 2020 are projected to be utilized to partly fund
liabilities at the non-debtor entities. Non-debtor liabilities are projected to exceed the existing cash-
on-hand.

Restricted cash includes cash held by third parties, including approximately $5 million held by the
United Kingdom Space Agency as collateral in the event that the Debtors are no longer able to
operate or safely de-orbit the satellites currently in operation. The low-recovery scenario assumes
this cash collateral is returned to the Debtors in full at the conclusion of the de-orbiting process.
The high-recovery scenario assumes the collateral remains in place and is transferred to the buyer
as part of the Spectrum Asset Package.

Intercompany Receivables
For purposes of this analysis, intercompany receivables have not been included. In both
scenarios, gross proceeds available are insufficient to cover the projected administrative
expenses and carve-out expense at most of the Debtor entities. Local, third-party liabilities of
non-US debtors may have to be paid in priority to intercompany payables to other OneWeb-
related entities. As a result, the intercompany receivables are assumed to have no realizable
value.

Prepaid Expenses and Other Current Assets
Prepaid and other current assets consist mainly of prepaid rent, prepaid insurance, advances to
suppliers, and security deposits. The Liquidation Analysis assumes these assets will either be
consumed during the liquidation period or are not realizable and therefore no proceeds will be
realized from prepaid expenses.


                                                  4
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 187 of 342




Income Tax Receivable
The Liquidation Analysis assumes no proceeds are realized from any income tax receivable.

Satellites, Ground, and Other Property and Equipment
The Company’s property and equipment includes costs for the design, development, manufacture,
test, and launch of a constellation of LEO satellites (referred to as the “Space Component”) and
the acquisition, installation, and activation of primary and backup control centers, gateway, and
other ground facilities (referred to as the “Ground Component”).

The Liquidation Analysis assumes in the high-recovery scenario that the Space Component and
Ground Component assets are included in the Spectrum Asset Package and are sold together as a
pool of assets at deeply distressed values. See the “Spectrum Rights” section below for discussion
of the estimated gross proceeds.

Intangible Assets
Intangible assets consist of intangibles with determinable or indefinite lives, website and computer
software costs. A portion of the Company’s intangible assets are spectrum licenses, priority rights,
and trademarks, which are indefinite-lived intangible assets.

The Liquidation Analysis assumes no proceeds are realized from the intangible assets except for
the spectrum rights included in the Spectrum Asset Package.

Spectrum Rights
OneWeb has various spectrum authorizations and licenses, including for the use of Ku-band and
Ka-band radio-frequency spectrum on a global basis, and domestic market access/services
authorizations in jurisdictions in which its ground infrastructure is located.

The global Ku-band and Ka-band authorizations are issued by the ITU for a specific set of
satellites, frequencies, and orbits to be used in a planned constellation and contain certain
milestones for the number of in-orbit satellites, which are assumed to be at risk in a hypothetical
liquidation sale. The high-recovery scenario assumes that the Debtors’ Spectrum Asset Package
would be sold as a pool of assets at deeply distressed value for gross proceeds of no more than $50
million.

In the low-recovery scenario, assets are assumed liquidated over a twelve (12) month period based
on the assumption that the spectrum is not able to be sold during the hypothetical liquidation sale
period, thus the satellites currently in operation must be de-orbited within the necessary regulatory
guidelines and requirements. It is assumed that the Debtors’ remaining assets in the Spectrum
Asset Package, separate and independent from the spectrum rights, are not able to be sold in either
scenario.



                                                5
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 188 of 342



The assumption of a range of zero to $50 million in gross proceeds for the Spectrum Asset Package
reflects the bids, indications of interest, and other information regarding value received during the
Debtors’ sale process (as adjusted to account for the both the significant risk of getting regulatory
approval of such sales and the additional risks associated with an asset sale in a liquidation
environment) as well as key characteristics of the spectrum assets, namely that the majority of its
value is derived from the operation of a LEO constellation as contemplated under the Debtors’
authorizations and licenses. These authorizations and licenses include certain future milestone
dates regarding the deployment of satellites. The hypothetical liquidation analysis assumes that the
Spectrum Asset Package is sold as assets separate and apart from a going concern business.

The Liquidation Analysis assumes that 80% of the gross liquidation value would be attributable to
the spectrum rights and 20% attributable to the other assets comprising the Spectrum Asset
Package. OneWeb’s Ku-band authorization is the forward channel and provides higher priority
use than its Ka-band authorization and, therefore, comprises most of the estimated spectrum rights
liquidation value. The Liquidation Analysis assumes 90% allocation of the estimated spectrum
rights liquidation value to the Ku-band and 10% allocation to the Ka-band.

While there may be some hypothetical value in the domestic market access licenses the realizable
value for any particular market is highly uncertain. There would also be significant costs to
negotiate with governments for approval of the transfer of such licenses. Accordingly, the
Liquidation Analysis assumes that any value realized from sales of the domestic market access
licenses is included in the gross liquidation value.


Other Non-Current Assets
The Liquidation Analysis assumes no proceeds are realized from the other non-current assets.


Investment in Affiliates
Assets at non-debtor subsidiaries have limited to no realizable value on a standalone basis.
Certain non-debtors have liabilities, including the potential obligations under long-term site
leases. The Liquidation Analysis assumes cash available in aggregate at the non-debtor entities
is used to pay the non-debtors’ obligations and that cash at non-debtor entities is insufficient to
fund all existing and projected liabilities as of October 1, 2020. As a result, the Liquidation
Analysis assumes no proceeds are available to provide any realization on the Debtors’
investment in affiliates.

Deferred Tax Assets
The Liquidation Analysis assumes no proceeds are realized from the other deferred tax assets.

Costs Associated with Liquidation
Estimated amounts for corporate payroll and certain operating costs during the nine-month
liquidation period are based upon the assumption that certain corporate functions would be
retained to oversee the liquidation process. Some staff would also be needed to maintain and

                                                6
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 189 of 342



close the accounting records and to complete certain administrative tasks, including payroll, tax
forms, and records. Certain minimum staff would be required at the physical locations to
complete the closure of the facilities, disassemble the equipment, and oversee the sale process
of the spectrum and equipment.

Operating costs are expected to include staff and facilities costs to maintain and manage the fleet
of satellites during the nine-month liquidation period in the high-recovery scenario where the
Spectrum Asset Package is sold. In the low-recovery scenario where a buyer for the Spectrum
Asset Package is not found, costs will be required to de-orbit the seventy-four (74) in-orbit
satellites. This is expected to take twelve (12) months. The Liquidation Analysis assumes the
$5 million of restricted cash held by the United Kingdom Space Agency is returned to the
Debtors at the end of this period.

Chapter 7 trustee fees include those fees associated with the appointment of a Chapter 7 trustee
in accordance with section 326 of the Bankruptcy Code. Chapter 7 professional fees include
legal, appraisal, broker and accounting fees expected to be incurred during the liquidation period
and not already deducted from liquidation values.

Carve-Out for US Trustee, Chapter 7 Trustee and Estate Professional Fees
The Carve-Out represents proceeds of the secured lenders’ collateral allocated under the DIP Order
to pay certain US Trustee fees, Chapter 7 trustee fees, and fees and expenses of the Debtors’ and
the Creditors’ Committee’s professionals. The estimates incorporated in the Liquidation Analysis
include: (i) estimated accrued and unpaid professional fees associated with the Chapter 11 Cases
as of October 1, 2020, (ii) estimated US Trustee fees owing as of October 1, 2020, (iii) all
reasonable fees and expenses up to $100,000 incurred by a Chapter 7 trustee, and (iv) up to
$3,000,000 of fees and expenses of the Debtors’ and the Creditors’ Committee’s professionals
incurred after October 1, 2020.


New Money DIP Loan Claims
New Money DIP Loan Claims in the Liquidation Analysis are comprised of the $30 million
aggregate amount of the first two tranches of the initial DIP funding and $110 million of Interim
Funding DIP Claims, plus interest accrued on each principal balance.


Senior Secured Prepetition Claims
The Liquidation Analysis assumes $94 million of the Secured Notes Claims, which includes
accrued interest, and is reflected as Roll-up Loan Claims.

Other Secured Claims
Other Secured Claims are estimated for purposes of this Liquidation Analysis at zero based on
the Debtors’ books and records as of the Petition Date. The final amount of Other Secured
Claims is subject to change based on continued reconciliation of proofs of claim filed through
the bar date of August 11, 2020. The debtors have not analyzed potential Other Secured Claims

                                                7
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 190 of 342



in detail and this estimate is not an admission that any asserted Claim qualifies for secured
treatment. No assurance can be given that the total amount of actual Allowed Other Secured
Claims will ultimately be in the estimated amount and actual results could be greater or less than
this estimate.


503(b)(9) Claims
The 503(b)(9) Claims reflect estimated amounts based on the Debtors’ preliminary review of
proof of claims filed through July 15, 2020 as well as the Debtors’ books and records. The final
amount of 503(b)(9) is subject to change based on potential additional proofs of claims filed
through the bar date of August 11, 2020 and upon the debtors’ full legal review of filed claims.
The debtors have not analyzed potential 503(b)(9) Claims in detail and this estimate is not an
admission that any asserted claim qualifies for 503(b)(9) treatment. No assurance can be given
that actual allowed 503(b)(9) Claims will ultimately be in the estimated amount and actual
results could be greater or less than this estimate.


Priority Tax Claims
Priority Tax Claims are estimated for purposes of this Liquidation Analysis at zero based on the
Debtors’ books and records. The final amount of Priority Tax Claims is subject to change based
on continued reconciliation against proof of claims and potential additional proofs of claims
filed through the governmental bar date of September 24, 2020 and upon the debtors’ full legal
review of filed claims. The debtors have not analyzed potential priority tax Claims in detail and
this estimate is not an admission that any asserted Claim qualifies for priority tax treatment. No
assurance can be given that the total actual amount of Allowed Priority Tax Claims will
ultimately be in the estimated amount and actual results could be greater or less than this
estimate.




                                                8
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                Main Document
                                                                                       Pg 191 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                        OneWeb Global Limited             OneWeb Communications Limited            WorldVu Satellites Limited


                                                                                    Low Recovery     High Recovery        Low Recovery      High Recovery       Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                             1,576               1,576           702,572            702,572                 -                  -
  Restricted Cash                                                                             -                   -                 -                  -                   -                  -
  Gross Proceeds from Sale [2] [3]                                                            -                   -                 -                  -                   -           36,797,329
Total Gross Proceeds Available                                                              1,576               1,576           702,572            702,572                 -           36,797,329

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 35                  35            15,808             15,808                -               827,940
    Chapter 7 Professional Fees [5]                                                            16                  16             7,026              7,026                -               367,973
    Transaction Fee - Spectrum Sale                                                           -                   -                 -                  -                  -             1,500,000
    Estate Wind-down Expenses [6]                                                           2,137               1,503           952,919            670,368            253,460             178,306
Total Priority Administrative Costs                                                         2,188               1,555           975,753            693,202            253,460           2,874,219

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                             21                 21              9,371             9,371               2,492              2,492
   Accrued Professional Fees at Conversion Date                                                -                  -                  -                 -                   -           10,069,500
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                  -                 -                   -            3,100,000
Total Carve-Out                                                                                 21                 21              9,371             9,371               2,492         13,171,992

  Net Estimated Proceeds Available (by Entity)                                               (634)                    0         (282,551)                   0         (255,952)        20,751,118

Proceeds Available for Distribution to Creditors                                               -                      0              -                      0              -           20,751,118

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083      143,802,083          143,802,083       143,802,083         143,802,083        143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                      0              -                      0              -           20,751,118
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                  -                 -                   -                  -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667       94,541,667           94,541,667        94,541,667          94,541,667         94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                  -                 -                   -                    -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                 3,720              3,720                -                 -                   -                  -
   Priority Tax Claims                                                                         -                  -                  -                 -                 2,000              2,000

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                  -                 -                   -                    -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -        1,639,267,588     1,639,267,588       1,639,267,588      1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                  -                 -                   -                    -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                  -                 -                   -                    -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                  -                 -                   -                    -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                  -                 -                   -                    -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                  -                 -                   -                    -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                  -                 -                   -                    -




                                                                                              9
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                   Main Document
                                                                                       Pg 192 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                         OneWeb Holdings LLC                   WorldVu Development LLC                     1021823 BC Ltd.


                                                                                    Low Recovery       High Recovery        Low Recovery      High Recovery        Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                               672                 672           14,231,706        14,231,706              16,176              16,176
  Restricted Cash                                                                             -                   -                    -                 -                   -                   -
  Gross Proceeds from Sale [2] [3]                                                            -                   -                    -                 -                   -                   -
Total Gross Proceeds Available                                                                672                 672           14,231,706        14,231,706              16,176              16,176

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 15                  15              320,213           320,213                 364                 364
    Chapter 7 Professional Fees [5]                                                             7                   7              142,317           142,317                 162                 162
    Transaction Fee - Spectrum Sale                                                           -                   -                    -                 -                   -                   -
    Estate Wind-down Expenses [6]                                                             912                 641           19,302,867        13,579,360              21,940              15,435
Total Priority Administrative Costs                                                           933                 663           19,765,398        14,041,891              22,466              15,960

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                                9                   9          189,815            189,815                 216                216
   Accrued Professional Fees at Conversion Date                                                -                  -                   -                  -                   -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                   -                  -                   -                  -
Total Carve-Out                                                                                    9                   9          189,815            189,815                 216                216

  Net Estimated Proceeds Available (by Entity)                                               (270)                    (0)       (5,723,507)                  (0)           (6,505)                   0

Proceeds Available for Distribution to Creditors                                               -                  -                    -                 -                    -                      0

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083          143,802,083       143,802,083          143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                    -                 -                    -                      0
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                    -                 -                    -                  -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667           94,541,667        94,541,667           94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                    -                 -                    -                  -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                63,362             63,362             960,000             960,000
   Priority Tax Claims                                                                         -                  -                60,154             60,154                 -                   -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                    -                 -                    -                  -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -          1,639,267,588     1,639,267,588        1,639,267,588      1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                    -                 -                    -                  -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                    -                 -                    -                  -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                    -                 -                    -                  -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                    -                 -                    -                  -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                    -                 -                    -                  -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                    -                 -                    -                  -




                                                                                               10
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                             Main Document
                                                                                       Pg 193 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                             OneWeb Ltd                 Network Access Associates Limited         OneWeb Norway AS


                                                                                    Low Recovery     High Recovery      Low Recovery       High Recovery     Low Recovery     High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -              30,837            30,837               -                -
  Restricted Cash                                                                              -                  -           5,000,000               -                 -                -
  Gross Proceeds from Sale [2] [3]                                                             -                  -                 -           9,202,671               -                -
Total Gross Proceeds Available                                                                 -                  -           5,030,837         9,233,507               -                -

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -                  -             113,194           207,754               -                -
    Chapter 7 Professional Fees [5]                                                            -                  -              50,308            92,335               -                -
    Transaction Fee - Spectrum Sale                                                            -                  -                 -                 -                 -                -
    Estate Wind-down Expenses [6]                                                              -                  -           4,748,587         3,340,580               -                -
Total Priority Administrative Costs                                                            -                  -           4,912,089         3,640,669               -                -

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -             46,695             46,695               -                -
   Accrued Professional Fees at Conversion Date                                                -                  -         10,069,500                -                 -                -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -          3,100,000                -                 -                -
Total Carve-Out                                                                                -                  -         13,216,195             46,695               -                -

  Net Estimated Proceeds Available (by Entity)                                                 -                  -         (13,097,448)        5,546,143               -                -

Proceeds Available for Distribution to Creditors                                               -                  -                 -           5,546,143               -                -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083      143,802,083        143,802,083       143,802,083      143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                 -            5,546,143              -                -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                 -                  -                -                -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667       94,541,667         94,541,667        94,541,667       94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                 -                  -                -                -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                -                  -                -                 -
   Priority Tax Claims                                                                         -                  -                300                300              200               200

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                 -                  -                -                -

Less Secured Notes Claims
   Total Secured Debt [8]                                                            1,639,267,588    1,639,267,588       1,639,267,588      1,639,267,588              -                -

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                 -                  -                -                -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                 -                  -                -                -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                 -                  -                -                -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                 -                  -                -                -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                 -                  -                -                -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                 -                  -                -                -




                                                                                              11
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                     Main Document
                                                                                       Pg 194 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                             OneWeb ApS                    WorldVu Australia Pty Ltd             OneWeb Network Access Holdings Limited


                                                                                    Low Recovery     High Recovery      Low Recovery      High Recovery             Low Recovery       High Recovery



  Unrestricted Cash on Hand [1]                                                             1,088              1,088          470,425            470,425                     3,240              3,240
  Restricted Cash                                                                             -                  -                -                  -                         -                  -
  Gross Proceeds from Sale [2] [3]                                                            -                  -                -                  -                         -                  -
Total Gross Proceeds Available                                                              1,088              1,088          470,425            470,425                     3,240              3,240

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 24                 24           10,585             10,585                        73                 73
    Chapter 7 Professional Fees [5]                                                            11                 11            4,704              4,704                        32                 32
    Transaction Fee - Spectrum Sale                                                           -                  -                -                  -                         -                  -
    Estate Wind-down Expenses [6]                                                           1,475              1,038          638,051            448,862                     4,394              3,091
Total Priority Administrative Costs                                                         1,510              1,073          653,339            464,151                     4,500              3,197

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                             15                 15            6,274                 6,274                     43                43
   Accrued Professional Fees at Conversion Date                                                -                  -                -                     -                      -                 -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                -                     -                      -                 -
Total Carve-Out                                                                                 15                 15            6,274                 6,274                     43                43

  Net Estimated Proceeds Available (by Entity)                                               (437)                -           (189,189)                      0               (1,303)                  (0)

Proceeds Available for Distribution to Creditors                                               -                  -                -                         0                  -                 -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083      143,802,083       143,802,083                143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                -                         0                  -                 -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                -                     -                      -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667       94,541,667         94,541,667                94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                -                     -                      -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                -                     -                      -                 -
   Priority Tax Claims                                                                         -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                -                     -                      -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -                -                     -            1,639,267,588     1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                -                     -                      -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                -                     -                      -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                -                     -                      -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                -                     -                      -                 -




                                                                                              12
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                           Main Document
                                                                                       Pg 195 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                           OneWeb Limited                   WorldVu Unipessoal Lda                  OneWeb GK


                                                                                    Low Recovery     High Recovery      Low Recovery     High Recovery     Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -                -                 -            21,903             21,903
  Restricted Cash                                                                              -                  -                -                 -               -                  -
  Gross Proceeds from Sale [2] [3]                                                             -            4,000,000              -                 -               -                  -
Total Gross Proceeds Available                                                                 -            4,000,000              -                 -            21,903             21,903

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -              90,000               -                 -               493                493
    Chapter 7 Professional Fees [5]                                                            -              40,000               -                 -               219                219
    Transaction Fee - Spectrum Sale                                                            -                 -                 -                 -               -                  -
    Estate Wind-down Expenses [6]                                                              -                 -                 -                 -            29,707             20,899
Total Priority Administrative Costs                                                            -             130,000               -                 -            30,419             21,610

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -                -                 -               292                292
   Accrued Professional Fees at Conversion Date                                                -                  -                -                 -               -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                -                 -               -                  -
Total Carve-Out                                                                                -                  -                -                 -               292                292

  Net Estimated Proceeds Available (by Entity)                                                 -            3,870,000              -                 -             (8,808)              -

Proceeds Available for Distribution to Creditors                                               -            3,870,000              -                 -                -                 -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083      143,802,083        143,802,083      143,802,083       143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -            3,870,000              -                 -                -                 -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                -                 -                -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667       94,541,667         94,541,667        94,541,667       94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                -                 -                -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                 9,090             9,090               -                 -                -                 -
   Priority Tax Claims                                                                         -                 -                 -                 -                -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                -                 -                -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                -                 -                -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                -                 -                -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                -                 -                -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                -                 -                -                 -




                                                                                              13
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                  Main Document
                                                                                       Pg 196 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                     WorldVu South Africa (Pty) Ltd           WorldVu Mexico S. De R.L. de CV           OneWeb Chile SpA


                                                                                    Low Recovery      High Recovery           Low Recovery      High Recovery     Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                             27,780             27,780                 1,530              1,530           40,556             40,556
  Restricted Cash                                                                              -                  -                     -                  -                -                  -
  Gross Proceeds from Sale [2] [3]                                                             -                  -                     -                  -                -                  -
Total Gross Proceeds Available                                                              27,780             27,780                 1,530              1,530           40,556             40,556

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 625                625                    34                 34              913                913
    Chapter 7 Professional Fees [5]                                                            278                278                    15                 15              406                406
    Transaction Fee - Spectrum Sale                                                            -                  -                     -                  -                -                  -
    Estate Wind-down Expenses [6]                                                           37,679             26,507                 2,075              1,460           55,008             38,697
Total Priority Administrative Costs                                                         38,582             27,410                 2,125              1,510           56,326             40,015

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            371                371                     20                 20             541                541
   Accrued Professional Fees at Conversion Date                                                -                  -                      -                  -               -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                      -                  -               -                  -
Total Carve-Out                                                                                371                371                     20                 20             541                541

  Net Estimated Proceeds Available (by Entity)                                             (11,172)                       0            (615)                -            (16,310)                   0

Proceeds Available for Distribution to Creditors                                               -                          0              -                  -                -                      0

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083            143,802,083       143,802,083       143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                          0              -                  -                -                      0
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                      -                  -                  -                -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667             94,541,667        94,541,667        94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                      -                  -                  -                -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                      -                  -                  -                -                 -
   Priority Tax Claims                                                                         -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                      -                  -                  -                -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Secured Claims                                          -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                      -                  -                  -                -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                      -                  -                  -                -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                      -                  -                  -                -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                      -                  -                  -                -                 -




                                                                                               14
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                          Main Document
                                                                                       Pg 197 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                        WorldVu JV Holdings LLC                       Total


                                                                                    Low Recovery      High Recovery    Low Recovery           High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -        15,550,060             15,550,060
  Restricted Cash                                                                              -                  -         5,000,000                    -
  Gross Proceeds from Sale [2] [3]                                                             -                  -               -               50,000,000
Total Gross Proceeds Available                                                                 -                  -        20,550,060             65,550,060

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -                  -           462,376              1,474,876
    Chapter 7 Professional Fees [5]                                                            -                  -           205,501                655,501
    Transaction Fee - Spectrum Sale                                                            -                  -               -                1,500,000
    Estate Wind-down Expenses [6]                                                              -                  -        26,051,211             18,326,748
Total Priority Administrative Costs                                                            -                  -        26,719,088             21,957,125

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -           256,175                256,175
   Accrued Professional Fees at Conversion Date                                                -                  -        10,069,500             10,069,500
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -         3,100,000              3,100,000
Total Carve-Out                                                                                -                  -        13,425,675             13,425,675

  Net Estimated Proceeds Available (by Entity)                                                 -                  -       (19,594,702)            30,167,261

Proceeds Available for Distribution to Creditors                                               -                  -               -               30,167,261

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083       143,802,083      143,802,083            143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -               -               30,167,261
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -               -                      -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667        94,541,667       94,541,667             94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -               -                      -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -               -                      -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -         1,036,172              1,036,172
   Priority Tax Claims                                                                         -                  -            62,654                 62,654

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -               -                      -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -               -                      -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -     1,639,267,588          1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -               -                      -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -               -                      -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -               -                      -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -               -                      -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -               -                      -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -               -                      -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -               -                      -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -               -                      -




                                                                                              15
20-22437-rdd    Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                      Pg 198 of 342



Liquidation Analysis Footnotes


   1. Projected Unrestricted Cash on Hand balance of $15.5M reflects the DIP forecast as at
      October 1, 2020.

   2. Gross estimated proceeds from liquidation do not include any potential recovery from
      lawsuits that the Debtors have filed or could file or any value related to Net Operating
      Losses at any of the Debtor entities.

   3. Spectrum Asset Package proceeds estimated at $0 to $50 million. See “Spectrum Rights.”

   4. The Chapter 7 trustee’s fees are calculated at 2.25% of distributable assets as a proxy for
      11 U.S.C. § 326(a).

   5. Chapter 7 professional fees are assumed to be 1% of distributable assets.

   6. Wind-down costs include operating expense required to keep satellites in-orbit for nine (9)
      months under the high-recovery scenario or to de-orbit the satellites over a twelve (12)
      month period in the low-recovery scenario as well as payroll costs for reduced staff to
      shutter all other operations.

   7. Carve-out amount includes (i) estimated unpaid professional fees projected in the DIP
      Budget to be incurred through to September 30, 2020, (ii) $0.26 million for Q3-2020
      accrued US Trustee fees, (iii) $100,000 for fees and expenses of a trustee appointed in the
      Debtors’ cases under section 726(b) of the Bankruptcy Code, and (iv) $3 million capped
      amount of professional fees of the Debtors’ and the Creditors’ Committee professionals
      after conversion to a Chapter 7 proceeding. In the high-recovery scenario, the carve-out
      amount also includes an assumed $1.5 million transaction fee earned for the sale of the
      Spectrum Asset Package.

   8. Secured Notes Claims are reflected in full at each Debtor that is an obligor under the
      prepetition loan agreement.




                                             16
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 199 of 342



                                    ANNEX C

                               Financial Projections
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 200 of 342



                                      Financial Projections

THE DEBTORS DO NOT, AS A MATTER OF COURSE, PUBLISH THEIR BUSINESS
PLANS, BUDGETS OR STRATEGIES OR MAKE EXTERNAL PROJECTIONS OR
FORECASTS OF THEIR ANTICIPATED FINANCIAL POSITIONS OR RESULTS OF
OPERATIONS. ACCORDINGLY, THE DEBTORS DO NOT ANTICIPATE THAT THEY
WILL, AND DISCLAIM ANY OBLIGATION TO, FURNISH UPDATED BUSINESS PLANS,
BUDGETS OR PROJECTIONS PRIOR TO THE EFFECTIVE DATE OR OTHERWISE MAKE
SUCH INFORMATION PUBLICLY AVAILABLE.

The Debtors prepared the financial projections set forth herein (the “Financial Projections”) based
on, among other things, the anticipated future financial condition and results of operations of the
Debtors in the Transaction. The following forecast was not prepared with a view toward
compliance with published guidelines of the SEC or the American Institute of Certified Public
Accountants regarding forecasts. The Debtors’ independent auditor has not audited, reviewed,
compiled or otherwise applied procedures to the forecast and consequently, does not express an
opinion or any other form of assurance with respect to the forecast. The forecast data are not
measured on a basis consistent with generally accepted accounting principles (“GAAP”) or
International Financial Reporting Standards (“IFRS”) as applied to the Debtors’ historical financial
statements and should not be relied upon as such.

THE FINANCIAL PROJECTIONS HEREIN HAVE BEEN PREPARED BY THE DEBTORS’
MANAGEMENT. THESE PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY MANAGEMENT,
MAY NOT BE REALIZED, AND ARE INHERENTLY SUBJECT TO SIGNIFICANT
BUSINESS, ECONOMIC AND COMPETITIVE UNCERTAINTIES AND CONTINGENCIES,
MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL. THE DEBTORS CAUTION
THAT NO REPRESENTATIONS CAN BE MADE AS TO THE ACCURACY OF THESE
FINANCIAL PROJECTIONS OR AS TO THE REORGANIZED DEBTORS’ ABILITY TO
ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL NOT
MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THESE PROJECTIONS WERE PREPARED
MAY BE DIFFERENT FROM THOSE ASSUMED OR, ALTERNATIVELY, MAY HAVE
BEEN UNANTICIPATED, AND THUS THE OCCURRENCE OF THESE EVENTS MAY
AFFECT FINANCIAL RESULTS IN A MATERIAL AND POSSIBLY ADVERSE MANNER.
THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTY OR
OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

Risks Associated with Forward-Looking Statements

The Financial Projections are, by their nature, forward-looking and are necessarily based on certain
assumptions and estimates. Should any or all of these assumptions or estimates ultimately prove
to be incorrect, the actual future results of the Reorganized Debtors may differ from those set forth
from the Financial Projections. The Financial Projections reflect numerous assumptions
concerning the anticipated future performance of the Reorganized Debtors, some of which may
20-22437-rdd       Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                           Pg 201 of 342



not materialize, including, without limitation, assumptions concerning: (a) the timing of
confirmation and consummation of the Plan in accordance with its terms; (b) the anticipated future
performance of the Reorganized Debtors, including, without limitation, the Debtors’ ability to
maintain or increase revenue and gross margins, control future operating expenses or make
necessary capital expenditures; (c) general business and economic conditions; (d) overall industry
performance and trends; and (e) the Debtors’ ability to receive vendor support.


                                                           Q4 2020E(1)     2021E        2022E         2023E
EBITDA                                                            ($45)       ($144)         $20         $232
 Less: Capex                                                      (373)      (1,215)        (200)          (74)
 Less: Working Capital & Other                                       --         (27)         (26)           (8)
Unlevered Free Cash Flow                                        ($419)      ($1,386)       ($206)        $149
 Plus: New Financing (BidCo Emergence)(2)                         740              --           --            --
                                                     (3)
 Plus: New Financing (New Offering / Commitments)                    --       1,300             --            --
Net Cash Flow                                                    $321          ($86)       ($206)        $149
Ending Cash Balance                                              $344         $258           $52         $201

Notes:
Figures may not tie due to rounding.
1 The Financial Projections assume an effective date of October 2, 2020 and this column includes pre-
  emergence expenses.
2 Represents $850 million of Additional Cash Plan Funding less $110 million of Interim Funding. Approximately
  $83 million of the $740 million of new financing will be used to fund administrative claims, cure costs and
  other expenses prior to emergence and are included in the EBITDA and capex figures above.
3 Per the table above, the Debtors' business plan contemplates post-close financing of $1.3BN in order to fund
  operational and capital expenditure needs. With a de-leveraged balance sheet as a result of the emergence
  from chapter 11 cases; the already existing commitment to fund up to $850 million to fund expenses and
  operations on and after the Effective Date; and the rebound in financial markets since the inception of COVID-
  19, the Debtors believe that they will be able to raise additional funding and that the Plan is feasible.
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 202 of 342



                                    ANNEX D


                                 Excluded Assets
20-22437-rdd       Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                           Pg 203 of 342




Excluded Entities

•   OneWeb Global Ltd (UK) 1
•   OneWeb Technology Ltd (Jersey) 2
•   OneWeb Development Ltd (UK)2

Excluded Assets to be Transferred to Excluded Entities

•   The 49% interest in OneWeb LLC (Russia) currently held by OneWeb Network Access
    Holdings Ltd (UK)
•   Joint Venture Agreement in relation to OneWeb Limited Liability Company between
    OneWeb Network Access Holdings Limited and JSC “Satellite System “Gonets” dated 1
    June 2017, as amended (the “Russian JVA”), and any agreements relating to the Russian
    JVA or OneWeb Limited Liability Company.




1
    OneWeb Global Ltd (UK) will become a Liquidating Debtor upon consummation of the Plan. All parent
    company guarantees provided by OneWeb Global Ltd (UK) will be assumed by OneWeb Global Ltd (UK) and
    assigned to the Reorganized Debtors.
2
    OneWeb Technology Ltd (Jersey) and OneWeb Development Ltd (UK) are non-debtor subsidiaries of OneWeb
    Global Ltd (UK) that will not be transferred to BidCo and that will instead remain as subsidiaries of OneWeb
    Global Ltd (UK) upon consummation of the Plan.
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                   Pg 204 of 342



                                      Exhibit B

                Blackline of Solicitation Version Disclosure Statement
     20-22437-rdd                      Doc 534                 Filed 09/01/20 Entered 09/01/20 00:35:39                                   Main Document
                                                                         Pg 205 of 342



     THE DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT
     HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT. THIS IS NOT A
     SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
     ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
     DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
     COURT. THE DISCLOSURE STATEMENT MAY BE REVISED TO REFLECT
     EVENTS THAT OCCUR AFTER THE DATE HEREOF BUT PRIOR TO THE
     BANKRUPTCY COURT’S APPROVAL OF THE DISCLOSURE STATEMENT.

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                                                                         )
     In re:                                                                                              )       Chapter 11
                                                                                                         )
     OneWeb Global Limited, et al.                                                                       )       Case No. 20-22437 (RDD)
                                                                                                         )
                                                                 Debtors.1                               )       (Jointly Administered)
                                                                                                         )


                                     DISCLOSURE STATEMENT RELATING TO
                             THE FIRSTSECOND AMENDED JOINT CHAPTER 11 PLAN OF
                             REORGANIZATION OF ONEWEB GLOBAL LIMITED, ET AL.

Dennis F. Dunne, Esq.
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Tyson M. Lomazow, Esq.
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MILBANK LLP
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New York, New York 10001
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Facsimile:   (212) 530-5219

Counsel to the Debtors
and Debtors in Possession


     1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, if
            any, are: OneWeb Global Limited (N/A); OneWeb Holdings LLC (5429); OneWeb Communications Limited
            (9487); WorldVu Satellites Limited (7802); WorldVu Development LLC (9067); WorldVu JV Holdings LLC
            (N/A); 1021823 B.C. LTD (8609); Network Access Associates Limited (8566); OneWeb Limited (8662);
            WorldVu South Africa (Pty) Ltd. (1867); OneWeb Chile SpA (2336); WorldVu Australia Pty Ltd. (5436);
            WorldVu Unipessoal Lda. (2455); OneWeb Norway AS (0209); OneWeb ApS (9191); OneWeb Network
            Access Holdings Limited (8580); OneWeb G.K. (1396); OneWeb Ltd (8661); WorldVu Mexico S. DE R. L.
            DE C.V. (1234). The Debtors’ headquarters is located at 195 Wood Lane, West Works Building, 3rd Floor,
            London, W12 7FQ, UK.


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20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 206 of 342




                    IMPORTANT INFORMATION FOR YOU TO READ

THE DEADLINE TO VOTE ON THE PLAN IS [SEPTEMBER 22]25, 2020 AT 4:00 P.M.
PREVAILING EASTERN TIME, UNLESS EXTENDED BY THE DEBTORS
(THE “VOTING DEADLINE”).

FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
RECEIVED BY THE SOLICITATION AGENT BEFORE THE VOTING DEADLINE AS
DESCRIBED HEREIN.

PLEASE BE ADVISED THAT SECTION XI. OF THE PLAN CONTAINS
EXCULPATION, RELEASES AND INJUNCTION PROVISIONS. YOU SHOULD
REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE IT MAY AFFECT
YOUR RIGHTS.

       You have received this Disclosure Statement (the “Disclosure Statement”) from the
above-captioned debtors in possession (the “Debtors”) because you may be a creditor entitled to
vote on the FirstSecond Amended Joint Chapter 11 Plan of Reorganization of OneWeb Global
Limited, et al. dated as [●]August 31, 2020 attached hereto as Annex A (as it may be amended,
supplemented, or otherwise modified from time to time, the “Plan”). Capitalized terms not
otherwise defined herein have the meanings ascribed to them in the Plan.
                                 ________________________

       The Debtors urge each holder of a Claim to consult with its own advisors with respect to
any legal, financial, securities, tax, or business advice in reviewing the Disclosure Statement and
the Plan.
                                     ________________________

        The Disclosure Statement contains, among other things, summaries of the Plan, certain
statutory provisions, certain events in the Debtors’ chapter 11 cases, and certain documents
related to the Plan. Although the Debtors believe that these summaries are fair and accurate,
they are qualified in their entirety to the extent that they do not set forth the entire text, or every
detail, of the relevant document or statutory provision. In the event of any inconsistency or
discrepancy between a description in the Disclosure Statement and the terms and provisions of
the Plan or any document incorporated in the Plan by reference, the Plan or such other document
will govern for all purposes. The statements contained herein are made as of the date of this
Disclosure Statement, and there can be no assurance that such statements will be correct at any
time after such date. Although the Debtors may subsequently update the information in this
Disclosure Statement, they have no affirmative duty to do so, and expressly disclaim any duty to
publicly update any forward-looking statements, whether as a result of new information, future
events or otherwise. The Debtors also reserve the right to file an amended or different plan and
related amended disclosure statement.
                                    ________________________




                                                  -2-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 207 of 342



        This Disclosure Statement has been prepared in accordance with section 1125 of the
Bankruptcy Code and Bankruptcy Rule 3016 and not necessarily in accordance with federal,
state, or foreign securities laws or other non-U.S. laws. This Disclosure Statement has not been
approved or disapproved by the United States Securities and Exchange Commission (the
“SEC”), any state securities commission, or any securities exchange or association, or foreign
equivalent, nor has the SEC, any state securities commission, any securities exchange, or foreign
equivalent association passed upon the accuracy or adequacy of the statements contained herein.
                                     ________________________
        In preparing this Disclosure Statement, the Debtors relied on financial data derived from
their books and records or that was otherwise been made available to them at the time of such
preparation. Although the Debtors believe that the financial information contained herein and in
the Plan fairly reflects the financial conditions of the Debtors as of the date hereof, no
representations or warranties are made as to the accuracy of the financial information contained
herein and in the Plan. Except where specifically noted, the financial information contained in
the Plan, this Disclosure Statement and in its exhibits has not been audited by a certified public
accountant and has not been prepared in accordance with generally accepted accounting
principles in the United States or any other jurisdiction.
                                     ________________________
        This Disclosure Statement does not constitute, and may not be construed as, an admission
of fact, liability, stipulation, or waiver. The Debtors may object to Claims before or after the
Effective Date irrespective of whether this Disclosure Statement identifies any such objection.
                                     ________________________
        Confirmation and effectiveness of the Plan are subject to certain material conditions
precedent described in Section IX of the Plan. There is no assurance that the Plan will be
confirmed or, if confirmed, that the material conditions precedent to its effectiveness will be
satisfied or waived. You are encouraged to read this Disclosure Statement in its entirety,
including, but not limited to, Section VII hereof entitled “Risk Factors,” before submitting your
vote to accept or reject the Plan.
                                     ________________________
        The Debtors have not authorized any Entity to give any information about or concerning
the Plan other than that which is contained in this Disclosure Statement. The Debtors have not
authorized any representations concerning the Debtors or the value of their property other than as
set forth in this Disclosure Statement.
                                     ________________________
        If the Plan is confirmed and the Effective Date occurs, all holders of Claims and Interests
(including those holders of Claims or Interests who are not entitled to vote on the Plan) will be
bound by the terms of the Plan.


                    QUESTIONS AND ADDITIONAL INFORMATION

If you would like to obtain copies of this Disclosure Statement or the Plan or have
questions about the solicitation and voting process or these cases generally, please contact
Omni Agent Solutions, the Claims and Noticing Agent in these cases, by either (i) visiting




                                                -3-
20-22437-rdd   Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39      Main Document
                                    Pg 208 of 342



its website at http://www.omniagentsolutions.com/onewebglobal or (ii) calling (866) 680-
8121.




                                          -4-
20-22437-rdd                      Doc 534                 Filed 09/01/20 Entered 09/01/20 00:35:39                          Main Document
                                                                    Pg 209 of 342



                                                                      TABLE OF CONTENTS

                                                                                                                                    Page

I.            INTRODUCTION AND OVERVIEW OF THE PLAN                                                                                    1
              A.             The Adequacy of Disclosure                                                                                1
              B.             The Plan                                                                                                  2
              C.             Voting on the Plan                                                                                       34
              D.             Votes Required for Acceptance                                                                            34
              E.             Certain Factors to be Considered Prior to Voting                                                          4
              F.             Solicitation Package and Plan Supplement                                                                  4
              G.             Voting Procedures                                                                                         5
              H.             Plan Objection Deadline                                                                                  56
              I.             Confirmation Hearing                                                                                     56
II.           DEBTORS’ PREPETITION BUSINESS AND CAPITAL STRUCTURE                                                                     67
              A.             The Debtors’ Business                                                                                    67
                             1.      Overview of OneWeb’s Satellite System Licenses                                                   78
                             2.      Overview of OneWeb’s Satellite Development and Deployment                                      1011
              B.             The Debtors Prepetition Organizational Structure and Stockholders’
                             Equity                                                                                                 1213
                             1.      Organizational Structure                                                                       1213
                             2.      Stockholders’ Equity                                                                           1213
              C.             Prepetition Funded Indebtedness                                                                        1314
III.          EVENTS LEADING TO THE CHAPTER 11 CASES                                                                                1516
              A.             Historical Financing Sources and Increasing Liquidity Needs                                            1516
              B.             Liquidity Concerns and Discussions with Potential Lenders and Investors                                1617
              C.             Shift to Bankruptcy Preparation                                                                        1617
              D.             The Decision to File for Chapter 11 Protection                                                         1617
IV.           EVENTS DURING THE CHAPTER 11 CASES                                                                                    1718
              A.             First and Second Day Pleadings                                                                         1718
              B.             Procedural and Administrative Motions                                                                  1819
              C.             Appointment of the Creditors’ Committee                                                                1819
              D.             Debtors’ Retention of Professionals                                                                    1920
              E.             Postpetition Financing                                                                                 1920
              F.             Pending Litigation Proceedings and Claims                                                              2021
              G.             The Marketing and Sale Process                                                                         2021
              H.             The Terms of BidCo’s Bid                                                                               2223
                             1.      Acquisition of All Assets Including Retained Causes of Action &
                                     Avoidance Actions                                                                              2223
                             2.      Cash Consideration and BidCo Equity Consideration                                              2324


42403.0000642403.0000642403.0000642403.0000642403.0000642403.0000642403.0000642403.0000642403.0000642403.0000642403.00006
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                        Pg 210 of 342



               3.    The Releases                                                       2526
                     a.      Releases for the Prepetition Secured Parties               2526
                     b.      Releases of the Debtors’ Directors & Officers              2627
      I.       Approval of the Plan Support Agreement and Interim Funding               2829
      J.       The Committee’s Derivative Standing Motion                               2930
               1.    The Committee’s Recharacterization Claims                          3032
                     a.      Debtors’ Response                                          3032
                     b.      SoftBank’s Response                                        3233
               2.    The Committee’s Equitable Subordination Claims                     3335
                     a.      Debtors’ Response                                          3335
                     b.      SoftBank’s Response                                        3435
               3.    The Plan Contemplates Releases 35 for the Prepetition Secured
                     Parties                                                              36
                     a.      Debtors’ Response                                          3536
                     b.      SoftBank’s Response                                        3536
V.    SUMMARY OF THE PLAN                                                               3637
      A.       CLASSIFICATION AND TREATMENT OF CLAIMS AND
               INTERESTS                                                                3637
               1.   Unclassified Claims                                                 3637
                    a.      Administrative Expense Claims                               3637
                    b.      U.S. Trustee Fees                                           3638
                    c.      Fee Claims                                                  3638
                    d.      Priority Tax Claims                                         3738
                    e.      DIP Claims                                                  3738
               2.   Classified Claims                                                   3739
      B.       MEANS OF IMPLEMENTATION                                                  4445
               1.   Deemed Consolidation                                                4445
               2.   Comprehensive Settlement                                            4546
               3.   Sources of Consideration for Plan Distributions                     4648
                    a.      Cash Consideration                                          4648
                    b.      Additional Cash Plan Funding                                4748
                    c.      Ongoing Trade Claims Recovery Pool                          4748
                    d.      General Unsecured Claims Settlement Distribution            4748
               4.   Issuance of the New Equity Interests, BidCo Equity Interests, and
                    SoftBank Rollover BidCo Equity                                      4749
                    a.      New Equity Interests                                        4849
                    b.      BidCo Equity Interests                                      4849
                    c.      Authorization, Issuance and Delivery of the New Equity
                            Interests                                                   4850
                    d.      Authorization, Issuance and Delivery of the BidCo Equity
                            Consideration to Class 1                                    4950


                                              -ii-
20-22437-rdd     Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                      Pg 211 of 342



               5.   UK Restructuring Steps 49 Under UK Corporate Law                     50
               6.   The Liquidating Debtors                                            4950
               7.   Plan Administrator                                                 4951
               8.   The Wind Down                                                      5052
               9.   Continued Corporate Existence                                      5152
               10.  Disbursing Agent                                                   5152
               11.  New Board of Directors/Officers                                    5153
               12.  Survival of Indemnification Obligations and D&O Liability
                    Insurance                                                          5253
                    a.     Indemnification Obligations                                 5253
                    b.     D&O Liability Insurance Policies                            5253
               13.  Employee Matters                                                   5254
               14.  Retained Causes of Action                                          5354
               15.  Release of Avoidance Actions for Holders of Claims in Class 4
                    and Class 5                                                        5355
               16.  Cancellation and Surrender of Notes, Instruments, Securities and
                    Other Documentation                                                5455
               17.  Release of Liens                                                   5456
               18.  Effectuating Documents; Further Transactions                       5556
               19.  Amended Organizational Documents                                   5657
               20.  FCC Communications Consents                                        5657
               21.  Section 1146 Exemptions from Certain Taxes and Fees                5658
      C.       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES                                                                  5758
               1.   Assumption and Rejection of Executory Contracts and Unexpired
                    Leases                                                             5758
               2.   Claims Based on Rejection of Executory Contracts and Unexpired
                    Leases                                                             5758
               3.   Cure Claims                                                        5859
               4.   Reservation of Rights                                              5961
      D.       CONDITIONS PRECEDENT TO CONFIRMATION AND
               CONSUMMATION OF THE PLAN                                                5961
               1.   Conditions to Confirmation                                         5961
               2.   Conditions to the Effective Date                                   6061
                    a.     Confirmation Order                                          6061
                    b.     Statutory Fees                                              6061
                    c.     Documentation                                               6061
                    d.     Antitrust and Foreign Investment Approvals                  6062
                    e.     State Aid Approval                                          6162
                    f.     DDTC Notification                                           6162
                    g.     No Injunctions or Restraints                                6162



                                             -iii-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                       Pg 212 of 342



                      h.   Establishment of Professional Fee Escrow                     6162
                      i.   Funding of the Ongoing Trade Claims Recovery Pool and
                           the General Unsecured Claims Settlement Distribution         6162
                   j.      Conditions Precedent to the Obligations of the Plan
                           Sponsor                                                      6163
                           i.      Accuracy of Representations and Warranties             63
                           ii.     Performance of Obligations                             63
                           iii.    No Termination                                         63
                           iv.     BidCo Equity Consideration                             63
                           v.      Officer’s Certificate                                  63
                           vi.     Communications Consents                                63
                           vii.    No Company Material Adverse Effect                     63
                           viii. Principal Vendor Contracts                               64
                           ix.     Effective Date Cash Funding Cap                        64
                   k.      Conditions Precedent to the Debtors’ Obligations             6364
                           i.      Accuracy of Representations and Warranties             64
                           ii.     Performance of Obligations                             64
                           iii.    No Termination                                         64
                           iv.     Officer’s Certificate                                  64
               3.  Waiver of Conditions to the Effective Date                           6364
      E.       EXCULPATION, RELEASES AND INJUNCTIONS                                    6465
               1.  Discharge of Claims Against and Interest in the Debtors              6465
               2.  Exculpation                                                          6465
               3.  Releases                                                             6566
                   a.      Releases by the Debtors                                      6566
                   b.      Third-Party Releases by Holders of Claims and Interests      6667
               4.  Injunction                                                             68
               5.  Scope of Discharge, Release, or Injunction With Respect to the
                   United States of America                                             6869
               6.  Term of Injunctions or Stays                                         6970
               7.  Ipso Facto and Similar Provisions Ineffective                        6970
VI.   STATUTORY REQUIREMENTS FOR CONFIRMATION                                           6971
      A.       Requirements for Confirmation                                            6971
               1.     Acceptance by Impaired Classes                                    7071
               2.     Best Interests of Creditors                                       7071
               3.     Feasibility                                                       7172
      B.       The Debtor Releases, Third Party Releases, Exculpation, and Injunction
               Provisions                                                               7172
      C.       Alternative Plans                                                        7374
      D.       Confirmation Hearing                                                     7375



                                              -iv-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                       Pg 213 of 342



VII.   RISK FACTORS                                                                      7475
       A.      Certain Bankruptcy Considerations                                         7475
               1.     The Debtors May Not Be Able to Secure Confirmation                 7475
               2.     Releases, Injunctions and Exculpations Provisions May Not Be
                      Approved                                                           7476
               3.     Risks Related to Possible Objections to the Plan                   7576
               4.     Risk of Termination of the Plan Support Agreement                  7576
               5.     Risk of Nonoccurrence of the Effective Date                        7576
       B.      Risk Factors that May Affect Recoveries Available to Holders of Allowed
               Claims Under the Plan                                                     7577
               1.     Claims May Be Higher Than Projected                                7577
               2.     The Debtors Cannot Guarantee Recoveries or the Timing of such
                      Recoveries                                                         7577
       C.      Disclosure Statement Disclaimer                                           7677
               1.     The Financial Information Contained in this Disclosure Statement
                      Has Not Been Audited                                               7677
               2.     Information Contained in this Disclosure Statement Is for
                      Soliciting Votes                                                   7677
               3.     The Disclosure Statement May Contain Forward Looking
                      Statements                                                         7677
               4.     No Legal or Tax Advice is Provided to You by this Disclosure
                      Statement                                                          7678
               5.     No Admissions Made                                                 7778
               6.     Failure to Identify Objections                                     7778
               7.     No Waiver of Right to Object or Right to Recover Transfers and
                      Assets                                                             7778
               8.     Information was Provided by the Debtors and was Relied Upon by
                      the Debtors’ Advisors                                              7778
               9.     No Representations Outside this Disclosure Statement are
                      Authorized                                                         7779
       D.      Risks Relating to Securities to Be Issued Under the Plan                  7879
               1.     Market for Securities                                              7879
               2.     Potential Dilution                                                 7879
               3.     Equity Interests Subordinated to Indebtedness                      7880
               4.     Implied Value of New Equity Interests or BidCo Equity Interests
                      Not Intended to Represent Trading Value of New Equity Interests
                      and BidCo Equity Interests, Respectively                           7980
               5.     No Dividends                                                       7980
       E.      Risks Related to the Debtors’ Businesses                                  7980
               1.     Macroeconomic Conditions                                           7980
               2.     Financial Results May Be Volatile and May Not Reflect Historical



                                              -v-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39         Main Document
                                        Pg 214 of 342



                       Trends                                                              7981
               3.      The Debtors’ Substantial Liquidity Needs May Impact the Plan        8081
               4.      The Debtors’ Business is Subject to Complex Laws and
                       Regulations That Can Adversely Affect the Cost, Manner, or
                       Feasibility of Doing Business                                       8182
               5.      The Reorganized Debtors May Be Adversely Affected by Potential
                       Litigation, Including Litigation Arising Out of the Chapter 11
                       Cases                                                               8182
               6.      The Loss of Key Personnel Could Adversely Affect the Debtors’
                       Operations                                                          8182
               7.      Certain Claims May Not Be Discharged and Could Have a
                       Material Adverse Effect on the Debtors’ Corporate Reputation or
                       Brand Perception, Financial Condition, and Results of Operations    8183
               8.      Recent Global Economic Trends Could Adversely Affect the
                       Debtors’ Business, Results of Operations and Financial Condition,
                       Primarily Through Disruption to the Debtors’ Customers’
                       Businesses                                                          8283
               9.      Consent Required Relating to FCC and Other Communications
                       Licenses                                                            8283
               10.     CFIUS Approval Required                                             8384
               11.     Export Controls Notification to the DDTC                            8384
VIII.   CERTAIN TAX CONSEQUENCES OF THE PLAN                                               8485
        A.     Certain U.S. Federal Income Tax Consequences of the Plan                    8485
               1.     Certain U.S. Federal Income Tax Consequences to the Debtors          8586
                      a.      Cancellation of Debt and Reduction of Tax Attributes         8586
                      b.      Limitation of NOL Carryforwards and Other Tax Attributes     8687
                              i.     General Section 382 Annual Limitation                   88
                              ii.    Special Bankruptcy Exceptions                           88
               2.     U.S. Holders of Allowed Secured Notes Claims                         8889
                      a.      Consequences of Receiving BidCo Equity Consideration         8889
                      b.      Consequences of Owning BidCo Equity Interests                9091
                              i.     Distributions on BidCo Equity Interests                 91
                              ii.    Sale, Exchange or Other Taxable Disposition of
                                     BidCo Equity Interests                                  92
                              iii.   Possible Treatment of BidCo as a Passive Foreign
                                     Investment Company                                      92
               3.     U.S. Holders of Allowed General Unsecured Claims                     9293
               4.     U.S. Holders of Allowed Ongoing Trade Claims                         9293
               5.     Accrued Interest                                                     9394
               6.     Market Discount                                                      9394
               7.     Information Reporting and Backup Withholding                         9495
        B.     Certain UK Tax Consequences for Holders of BidCo Equity Interests           9495


                                               -vi-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 215 of 342



IX.   RECOMMENDATION AND CONCLUSION                                         9596




                                       -vii-
20-22437-rdd                      Doc 534                 Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                                                    Pg 216 of 342



I.            INTRODUCTION AND OVERVIEW OF THE PLAN2

        OneWeb Global Limited and its affiliated Debtors submit this Disclosure Statement
pursuant to section 1125 of the Bankruptcy Code in connection with solicitation of votes to
accept or reject the Plan, which the Debtors are asking the Bankruptcy Court to confirm. A copy
of the Plan is attached hereto as Annex A.

       The Debtors recommend that all holders of Claims entitled to vote accept the Plan by
checking the appropriate box on their Ballots and returning such Ballots so they are actually
received by the Claims and Noticing Agent by the Voting Deadline, which is currently set for
[September 2225, 2020], at 4:00 P.M. (prevailing Eastern Time).3 Assuming the requisite
acceptances of the Plan are obtained, the Debtors will seek Confirmation at the Confirmation
Hearing on [October 2, 2020], at 10:00 AM (prevailing Eastern Time).4 Should they believe it
necessary or appropriate to do so, the Debtors may extend or modify one or both of the foregoing
dates.

              A.             THE ADEQUACY OF DISCLOSURE

        Before soliciting acceptances of a proposed chapter 11 plan, section 1125 of the
Bankruptcy Code requires the plan proponent to prepare a written disclosure statement
containing information of a kind, and in sufficient detail, to enable a hypothetical reasonable
investor to make an informed judgment regarding acceptance of the plan. The Debtors submit
this Disclosure Statement in accordance with such requirements.

              The Disclosure Statement includes, without limitation, information about:

                                           the Debtors’ organizational structure, business operations, prepetition
                                            indebtedness, and assets and liabilities (Section II hereof);

                                           the events leading to the filing of these cases (Section III hereof);

                                           the major events during these cases (Section IV hereof);

                                           the classification and treatment of Claims and Interests under the Plan,
                                            including identification of the Claims entitled to vote on the Plan, and the
                                            projected recoveries under the plan (Section V.A hereof);




2
       Capitalized terms used but not defined herein have the meanings given to them in the Plan, attached hereto as
       Annex A.
3
       Pursuant to the Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement; (II) Approving
       Solicitation and Notice Materials; (III) Approving Forms of Ballots and Opt out Forms; (IV) Establishing
       Solicitation and Voting Procedures; (V) Establishing Procedures for Allowing Certain Claims for Voting
       Purposes; (VI) Scheduling a Confirmation Hearing and (VII) Establishing Notice and Objection Procedures
       (the “Disclosure Statement Motion”) [Docket No. 422] the Debtors are seeking [September 22], 2020 at 4:00
       PM as the Voting Deadline.
4
       The Debtors are seeking [October 2], 2020 at 10:00 AM as the time and date for the Confirmation Hearing.


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20-22437-rdd         Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                            Pg 217 of 342



                         the means for implementation of the Plan (Section V.B hereof);

                         the exculpations, releases and injunctions contemplated by the Plan
                          (Section V.E hereof);

                         the statutory requirements for confirming the Plan (Section VI hereof);

                         certain risk factors that holders of Claims should consider before voting on
                          the Plan (Section VII hereof); and

                         certain tax consequences of the Plan (Section VIII hereof).

         B.      THE PLAN

       In the lead up to the commencement of these cases on March 27, 2020, the Debtors
engaged advisors and began evaluating potential strategic alternatives for stabilizing their
businesses and maximizing value for their stakeholders. The Debtors continued to pursue these
value-maximizing strategies following the Petition Date, and accordingly obtained approval of
the Bidding Procedures53 pursuant to which they conducted a robust sale process. This sale
process culminated in the selection of BidCo 100 Limited,64 a private limited company organized
under English Law (“BidCo” or “Plan Sponsor”), as the successful bidder pursuant to the
Bidding Procedures, and entry into, and Bankruptcy Court approval of that certain Plan Support
Agreement, dated as of July 1, 2020 (as amended, supplemented, or otherwise modified from
time to time in accordance with the terms therein, the “Plan Support Agreement”), among
Company Parties and BidCo.

       Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the
Plan incorporates a settlement of, inter alia, the claims asserted by the Committee in the
Standing Motion. See Section V.B.2, infra. Notwithstanding the Settlement in the Plan, the
Debtors, the Committee, and SoftBank have requested mediation, which is ongoing at the
time of solicitation of the Plan. Neither the Plan nor the Settlement alter the terms of the
successful bid nor do they alter the rights of the parties thereto, nor shall, pending
confirmation of the Plan, anything in the Plan or Settlement alter the terms of the Plan
Support Agreement Order without further Court approval.

        The Debtors view the terms of the Plan, consistent with their agreements in the Plan
Support Agreement, as providing the Debtors with a framework to emerge from chapter 11 and
make Distributions to creditors that provide them with a higher recovery than they would receive
in a liquidation under chapter 7 of the Bankruptcy Code. Following the Effective Date, the
Reorganized Debtors’ business will focus on continuing the development of the OneWeb


53
     Order (A) Approving Bidding Procedures, (B) Scheduling an Auction and Sale Hearing and Approving Form
     and Manner of Notice Thereof, (C) Approving Assumption and Assignment Procedures and Form and Manner
     of Notice Thereof; and (D) Granting Related Relief [Docket No. 104] (the “Bidding Procedures Order”) at Ex.
     1 (the “Bidding Procedures”).
64
     BidCo’s shareholders are the United Kingdom Secretary of State for Business, Energy and Industrial Strategy
     (“HMG”) and Bharti Global Limited (“Bharti”).


                                                       -2-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 218 of 342



System. Excluded Assets and Excluded Liabilities will be transferred to the Liquidating Debtors
and the Liquidating Debtors will be responsible for administering the Plan post-Effective Date
and effectuating the Distributions contemplated in the Plan.

        The Plan designates Classes of Claims and Interests and specifies which Classes are (i)
Impaired and Unimpaired by the Plan, (ii) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code, or (iii) deemed to accept or reject the
Plan in accordance with section 1126 of the Bankruptcy Code.

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. Solely for purposes of voting on, and receiving Distributions under, the Plan, the
Estates are deemed to be substantively consolidated, i.e., (i) all assets and liabilities of the
Debtors are deemed to be assets and liabilities, respectively, of a single Estate; (ii) all guarantees
by one Debtor of the obligations of any other Debtor are deemed eliminated, (iii) any joint or
several liability of any of the Debtors are deemed to be one obligation of the Debtors; and (iv)
Proofs of Claim filed against multiple Debtors are deemed to be one Claim against a single
Estate. This deemed consolidation will not affect (i) the legal and corporate structures of the
Debtors; (ii) the rights of the holders of Allowed Claims to receive Distributions from any
insurance policies or proceeds of such policies; (iii) any Liens granted or arising at any time prior
to the Effective Date or the priority of those Liens; or (iv) the rights of the Debtors to contest
alleged setoff or recoupment rights on the grounds of lack of mutuality under section 553 of the
Bankruptcy Code and other applicable law.

        This deemed consolidation is appropriate and justified under the circumstances of these
chapter 11 cases because it (i) causes no harm to the Debtors’ creditors because (a) the DIP
Claims may be asserted against each Debtor, (b) the holders of Secured Notes Claims have
Secured Claims against the majority of the Debtors, and (c) the DIP Claims and Secured Notes
Claims exceed the value of the assets of each Debtor, and (ii) avoids the costs of allocating
consideration and litigation-related costs among the Debtors’ Estates, thereby avoiding diluting
creditor recoveries as a result of increased professional fees, particularly given there has been no
allocation of the consideration to be provided by BidCo amongst the various Debtors and their
assets. Therefore, all Distributions on account of Claims other than the DIP Claims are carved
out from the collateral of the DIP Lenders, and in the absence of such carve-out and the deemed
consolidation of the Debtors’ Estates, such Claims would receive no recovery.

       A summary of the Plan is contained herein at Section V.

       Although the Court has approved this Disclosure Statement for solicitation of votes
to accept or reject the Plan, the positions taken by the Debtors in this Disclosure Statement
are those of the Debtors and/or their advisors and have not been approved by or endorsed
by the Bankruptcy Court.

       The Committee has asserted its views and positions with respect to the Plan and
certain matters described in this Disclosure Statement in a letter (the “Committee Letter”)
that will be enclosed in the Solicitation Package. Among other things, the Committee
disagrees with the Debtors’ and SoftBank’s characterization of the legal and factual issues


                                                 -3-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 219 of 342



described in Sections IV.G, IV.H, IV.I, and IV.J of this Disclosure Statement, and, in this
regard, the Committee refers creditors to the Committee Letter.

       C.      VOTING ON THE PLAN

        Holders of Claims in Class 1 (Secured Notes Claims), Class 4 (General Unsecured
Claims) and Class 5 (Ongoing Trade Claims) are Impaired and entitled to vote on the Plan.
Solicitation and tabulation of votes on the Plan will be conducted in accordance with the
Disclosure Statement Order that is transmitted concurrently herewith.

       Each holder of a General Unsecured Claim in Class 4 or an Ongoing Trade Claim in
Class 5 will receive a Ballot that will identify the Class in which such holder is entitled to vote.
Ongoing Trade Claims have been identified by the Debtors with the consent of the Plan Sponsor.
Each counterparty to an Executory Contract or Unexpired Lease that has timely filed a Proof of
Claim will receive a Class 4 Ballot and will be entitled to vote. If an Executory Contract or
Unexpired Lease is assumed (whether under the Plan or otherwise), the vote of such
counterparty to such Executory Contract or Unexpired Lease will not be counted with
respect to any Claims thereunder.

       D.      VOTES REQUIRED FOR ACCEPTANCE

        Pursuant to section 1129(a)(8) of the Bankruptcy Code, for the Plan to be confirmed by
the Bankruptcy Court, it must be accepted by at least one voting Class of Impaired Claims – in
this case, by Class 1 (Secured Notes Claims), Class 4 (General Unsecured Claims) or Class 5
(Ongoing Trade Claims). A Class accepts the Plan where: (i) the holders of at least two-thirds in
dollar amount of the Claims voting in such Class vote to accept the Plan; and (ii) the holders of
more than one-half in number of the Claims voting in such Class vote to accept the Plan.

       E.      CERTAIN FACTORS TO BE CONSIDERED PRIOR TO VOTING

       There are a variety of factors that holders of Allowed Claims entitled to vote on the Plan
should consider prior to voting to accept or reject the Plan, including:

                      the financial information contained in this Disclosure Statement and the
                       Plan has not been audited and is based on an analysis of data available at
                       the time of the preparation of this Disclosure Statement;

                      although the Debtors believe that the Plan complies with all applicable
                       provisions of the Bankruptcy Code, there is no assurance that the
                       Bankruptcy Court will confirm the Plan; and

                      any delays of either Confirmation or consummation could result in, among
                       other things, increased Administrative Expense Claims, including Fee
                       Claims, and jeopardize the Debtors’ ability to satisfy the conditions
                       precedent to the effectiveness of the Plan.




                                                -4-
20-22437-rdd       Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 220 of 342



       F.      SOLICITATION PACKAGE AND PLAN SUPPLEMENT

      In accordance with the Disclosure Statement Order, together with this Disclosure
Statement, the holders of Claims entitled to vote to accept or reject the Plan will receive the
package of materials (the “Solicitation Package”) containing the following (as applicable):

                     a cover letter;

                     a notice of the Confirmation Hearing (the “Confirmation Hearing
                      Notice”);

                     the Disclosure Statement Order (excluding exhibits thereto);

                     a Ballot, instructions on how to complete the Ballot, and a pre-paid,
                      pre-addressed return envelope; and

                     such other materials as the Bankruptcy Court may direct to include in the
                      Solicitation Package, including the Committee Letter.

        The Solicitation Package (except for the Ballots) may also be obtained free of charge
from        the       Claims       and        Noticing       Agent        by:      (1) visiting
http://www.omniagentsolutions.com/onewebglobal; (2) writing to the Solicitation Agent at
OneWeb Global Limited, et al. Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Ave., Suite 100, Woodland Hills, CA 91367; or (3) calling (866) 680-8121.

       The Debtors will file the Plan Supplement on or before [INSERT DATE]September
18, 2020, which is [X]seven (7) days prior to the Voting Deadline.

       G.      VOTING PROCEDURES

       If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) have been
enclosed in your Solicitation Package for the purpose of voting on the Plan.

      The deadline to vote on the Plan is September 25, 2020 at 4:00p.m. (Eastern) (the
“Voting Deadline”).

        Please vote and return your Ballot(s) to Omni Agent Solutions in its capacity as a
solicitation agent (the “Solicitation Agent”), at OneWeb Global Limited, et al. Ballot
Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA
91367, or by overnight delivery or by hand courier so as to be actually received by the
Solicitation Agent by the Voting Deadline. Ballots should not be sent to the Debtors or the
Creditors’ Committee, or their respective counsel.




                                              -5-
20-22437-rdd       Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39                  Main Document
                                          Pg 221 of 342



        In addition to accepting Ballots via first class mail, overnight courier and hand delivery,
the Solicitation Agent will accept Ballots via electronic, online transmission, solely through a
customized online balloting portal at https://omniagentsolutions.com/OnewebBallotSubmission.
Parties entitled to vote may cast an electronic Ballot and electronically sign and submit the Ballot
instantly by utilizing the online balloting portal. Instructions for electronic, online transmission
of Ballots are set forth on the forms of the Ballots. The encrypted Ballot data and audit trail
created by such electronic submission shall become part of the record of any Ballot submitted in
this matter, and the creditor’s electronic signature will be deemed to be immediately legally valid
and effective.

        H.      PLAN OBJECTION DEADLINE

       The deadline to file objections to Confirmation is September 28, 2020, at 4:00 P.M.
(prevailing Eastern Time) (the “Plan Objection Deadline”).

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
Confirmation. The deadline to file objections to Confirmation is [September 25], 2020, at 4:00
P.M. (prevailing Eastern Time) (the “Plan Objection Deadline”).7 All objections to
Confirmation must be in writing and must specify in detail the name and address of the objector,
all grounds for the objection and the amount of the Claim held by the objector. Any such
objection must be filed with the Bankruptcy Court and served on the Debtors and certain other
parties in interest in accordance with the Disclosure Statement Order so that they are actually
received on or before the Plan Objection Deadline. Parties wishing to reply to any objection to
Confirmation shall have until 12:00 P.M. (prevailing Eastern Time) on [do so by September 30],
2020, to file a reply.8.

        I.      CONFIRMATION HEARING

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
hold a hearing on Confirmation. The Confirmation Hearing will commence on [October 2],
2020, at 10:00 AM (prevailing Eastern Time), before the Honorable Robert D. Drain, United
States Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District of New
York, 300 Quarropas Street, White Plains, New York 10601. Pursuant to the Bankruptcy
Court’s General Order M-543, dated March 20, 2020 (“General Order M-543”), the
Confirmation Hearing will be conducted telephonically. Parties wishing to participate in the
Confirmation Hearing should review General Order M543 which can be obtained at
http://www.nysb.uscourts.gov/news/general-order-m-543-court-operations-under-exigent-
circumstances-created-covid-19 for further instructions on how to make a telephonic appearance.

        The Confirmation Hearing may be continued from time to time without further notice
other than an adjournment announced in open court or a notice of adjournment filed with the
Bankruptcy Court and served on the Entities that have filed objections to Confirmation, without


7
    Pursuant to the Disclosure Statement Motion, the Debtors are seeking [September 25], 2020, at 4:00 P.M.
    (prevailing Eastern Time) as the Plan Objection Deadline.
8
    Pursuant to the Disclosure Statement Motion, the Debtors are seeking [September 30], 2020, at 12:00 P.M.
    (prevailing Eastern Time) as the deadline to reply to any objection to Confirmation of the Plan.


                                                    -6-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 222 of 342



further notice to other parties in interest. The Bankruptcy Court, in its discretion and before the
Confirmation Hearing, may put in place additional procedures governing the Confirmation
Hearing. Subject to the terms of the Plan Support Agreement and the Plan Support Agreement
Order, the Plan may be modified, if necessary, before, during or as a result of the Confirmation
Hearing, without further notice to parties in interest.

II.    DEBTORS’ PREPETITION BUSINESS AND CAPITAL STRUCTURE

       A.      THE DEBTORS’ BUSINESS

       Prior to the Petition Date, the Debtors and their non-debtor subsidiaries (collectively,
“OneWeb”) were in the process of deploying the world’s first global satellite communications
network to deliver high-throughput, high-speed, low-latency internet connectivity services
channeling up to 50 megabits per second, with a latency of less than 50 milliseconds.

        Founded in 2012, OneWeb has spent the past eight years developing a low-Earth orbit
(“LEO”) satellite constellation system (the “Constellation”) as well as associated ground
infrastructure, including terrestrial gateways (“Satellite Network Portals” or “SNPs”) and
end-user terminals, to deliver communication services for use by consumers, businesses,
governmental entities, and institutions, including schools, hospitals, and other end-users whether
on the ground, in the air, or at sea (collectively, the “OneWeb System”). OneWeb’s business
consists of, first, the design, development, manufacture and integration of the various
components of the OneWeb System and, second, maintenance and operation of, and the sale of
broadband capacity, on a wholesale and/or retail basis, generated by the OneWeb System.

       OneWeb’s design, development and manufacturing activities include next generation
small satellites and the mass production of these satellites through a strategic joint venture
between OneWeb and certain members of the Airbus family of companies (as described below),
which are major players in the European aerospace sector. Through the joint venture, OneWeb
also develops ground infrastructure associated with and used for maintaining and operating its
Constellation, including operations centers, ground control facilities, SNPs, and various end-user
terminals for various markets.

        In order to operate the OneWeb System, OneWeb indirectly holds various authorizations
and licenses, including for use of Ku-band and Ka-band radio-frequency spectrum on a global
basis, and domestic market access/services authorizations necessary for operating ground
infrastructure associated with the Constellation in, and for sending and receiving signals into and
from, the jurisdictions in which such ground infrastructure is located. Having already completed
three successful launches of over 70 satellites between February 2019 and March 2020, OneWeb
was well on its way to growing the Constellation to 648 satellites as well as beginning to identify
and negotiate with customers, with the goal of commencing customer service demonstrations in
late 2020 and providing global commercial coverage by late 2021 or early 2022.

       Below, is an illustration of how the OneWeb System operates:




                                                -7-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 223 of 342




               1.      Overview of OneWeb’s Satellite System Licenses

        OneWeb’s most significant assets are its radio-frequency spectrum authorizations (the
“Spectrum Licenses”) issued by (a) the United Kingdom’s Office of Communications (“Ofcom”)
to Debtor WorldVu Satellites Limited (“WSL”), a company organized under the laws of Jersey,
authorizing WSL to operate certain service link radio-frequencies in the 10.7-12.7 GHz Ku-band
transmit frequencies and 14.0-14.5 GHz Ku-band receive frequencies of the electromagnetic
spectrum, and (b) France’s Agence Nationale des Fréquences (“ANFR”) to OneWeb Ltd., a
company organized under the laws of Malta and affiliated with WSL, for gateway/feeder link
frequencies in the 17.8-18.6 and 18.8.-19.3 and 19.7-19.8 GHz Ka-band transmit frequencies and
27.5-29.1 and 29.5-30 GHz Ka-band receive frequencies of the electromagnetic spectrum. The
Spectrum Licenses provide that Ofcom and ANFR will represent and defend the interests of
WSL at the International Telecommunication Union (the “ITU”), a specialized agency of the
United Nations that establishes standards for international connectivity in communications
networks, including the allocation of global wireless radio-frequency spectrum, satellite orbits,
and related services, among member state nations. For example, Ofcom is obligated to represent
and defend OneWeb’s interests at the ITU with respect to any challenges or disputes relating to
the use of the radio-frequencies allocated to OneWeb, including any potential claims of harmful
radio-frequency use interference caused by or to the other satellite system operators represented
at the ITU by their national telecoms regulatory authorities.

        To maintain priority rights to use the radio-frequency allocations authorized under the
Spectrum Licenses, OneWeb has successfully launched and operated (in its notified LEO orbit)
six satellites with the confirmed capability of transmitting and receiving communications links
within the radio-frequency ranges prescribed in the Spectrum Licenses for a continuous period of
at least 90 days prior to the regulatory deadline. Ofcom on October 25, 2019 submitted to the
ITU the “bringing into use” notice necessary to confirm and maintain OneWeb’s priority rights
to use the Ku-band radio-frequencies authorized under its Spectrum License (the “BIU” notice),
officially bringing the radio-frequencies into use prior to the required deadline of November 27,



                                               -8-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 224 of 342



2019. ANFR also submitted the BIU notice with respect to the Ka-band radio-frequencies to the
ITU on October 18, 2019, before the required deadline of December 18, 2019.

       OneWeb has additional Spectrum Licenses, which have a BIU regulatory deadline in
2021 or later, as follows:

(a)         Spectrum Licenses issued by Ofcom to WSL for: (i) Ka-band frequencies for a LEO
            system to be brought into use before June 22, 2023; (ii) Ku- and Ka-band
            frequencies for a LEO system to be brought into use before June 22, 2025; (iii) Ku-
            and Ka-band frequencies for a Medium-Earth orbit (“MEO”) system to be brought
            into use before March 29, 2024; (iv) the 37.5-42.5 GHz V-band transmit frequencies
            and 42.5-43.5 GHz, 47.2-50.2 GHz and 50.4-51.4 GHz V-band receive frequencies
            for a LEO system to be brought into use before November 22, 2022; (v) V-band
            frequencies for a LEO system to be brought into use before November 23, 2026; (vi)
            V-band frequencies for a MEO system to be brought into use before November 22,
            2022; and (vii) the 71-76 GHz and 81-86 GHz E-band transmit and receive
            frequencies for a MEO system to be brought into use before December 18, 2024;

(b)         Spectrum Licenses issued by ANFR to OneWeb Ltd for: (i) Ku- and Ka-band
            frequencies for a MEO system to be brought into use before March 22, 2024;
            (ii) V-band frequencies for two LEO systems to be brought into use before
            November 22, 2022; and (iii) V-band frequencies for a LEO system to be brought
            into use before November 23, 2026;

(c)         Spectrum Licenses issued by Canada’s Innovation, Science and Economic
            Development (“ISED”) agency to 1021823 BC Ltd. for Ka-band frequencies for a
            LEO system in Ka-band to be brought into use before May 27, 2022; and

(d)         Spectrum Licenses issued by Mexico’s Instituto Federal de Telecomunicaciones
            (“IFT”) to WorldVu Mexico, S. de R.L. de C.V. for V-band frequencies for a LEO
            system in V-band to be brought into use before November 23, 2026.

         Prior to the Petition Date, OneWeb was also in the process of obtaining market access
“landing rights” authorizations in various countries, where such are required. These
authorizations are issued by individual countries and permit the licensee to send signals from
satellites into the particular country, to receive uplinks from such country’s territory to the
satellites, and to provide services to, from, or within such country. As of the Petition Date,
OneWeb has received landing rights in Argentina, Australia, the Bahamas, Canada, Colombia,
Mexico, Nigeria, Paraguay, Peru and the United States. Specifically, WSL holds a landing rights
license (called a “market access grant” in the United States) issued by the United States Federal
Communications Commission (the “FCC”) to provide services to, from, or within the United
States as well as a landing rights license issued by the Bahamas. Debtor Network Access
Associates Limited (“NAA”), a company organized under the laws of England and Wales, holds
landing rights licenses issued by Australia, Colombia, Nigeria, Paraguay and Peru. Debtor
1021823 BC Ltd. (“1021823 BC”), a company organized under the laws of the Province of
British Columbia, holds a landing rights license issued by Canada. OneWeb S.A., a company
organized under the laws of Argentina, holds a landing rights license issued by Argentina.


                                               -9-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 225 of 342



Debtor WorldVu Mexico S. de R. L. de C.V., a company organized under the laws of Mexico,
holds a landing rights license issued by Mexico. OneWeb also has landing rights for the
Indonesia market via a license held by a local partner.

        In addition, prior to the Petition Date, OneWeb was in the process of constructing SNPs
for the purpose of transmitting and receiving customer data, as well as telemetry, tracking and
control signals (“TT&C Stations”) to and from the OneWeb System. OneWeb has already been
granted licenses for SNPs in Italy, Portugal, the United States (Florida and Alaska), Australia,
Chile and Norway. WSL holds licenses issued by the FCC for the operation of the SNPs in the
United States. NAA holds a license for the operation of an SNP in Portugal. Debtor OneWeb
Chile SpA (“OW Chile”), a company organized under the laws of Chile, holds a
preliminary/experimental license for the operation of an SNP in Chile. Debtor WorldVu
Australia Pty Ltd., a company organized under the laws of Australia, holds the
preliminary/experimental licenses for the operation of SNPs in Australia. 1021823 BC holds
licenses for the operation of a TT&C Station in Canada. Debtor WorldVu Development LLC
(“WVD”), a company organized under the laws of Nevada, holds a license for the operation of a
ground station located in Svalbard, Norway used primarily as a TT&C Station, but which can
also be used as an SNP.

        OneWeb has obtained experimental licenses in multiple countries to allow testing of the
end-user terminals required to access and use the OneWeb System (“User Terminals”). NAA
holds experimental licenses for the operation of User Terminals in Croatia, Italy, and the United
Kingdom. WSL holds experimental licenses for the operation of User Terminals in Sweden and
the United States. OW Chile holds an experimental license for the operation of User Terminals
in Chile.

        In addition, OneWeb has obtained licenses under the Outer Space Act 1986 from the
United Kingdom Space Agency (“UKSA”) for the procurement of launch and in-orbit operations
for each of the 74 satellites on its first three launches of the OneWeb System satellites (the “OSA
licenses”). The OSA licenses authorize OneWeb to procure the launch of its satellites into orbit
from various launch sites located around the globe. The UKSA, as a condition to issuing the
OSA Licenses, required OneWeb to set aside funds that the UKSA could use to maintain and, if
necessary, deorbit, OneWeb’s satellite constellation in the event of OneWeb’s insolvency.
GLAS Trustees Limited (the “UKSA Trustee”), in its role as trustee of an English Law governed
trust established for the benefit of the UKSA, holds £3,955,050.80 (~$5,137,000.00) in a bank
account. Pursuant to the Trust Deed establishing such trust, the UKSA may unilaterally direct
the release of funds from the trust by sending a payment instruction to the UKSA Trustee.

       OneWeb and the UKSA also entered into a Financial Security Agreement to govern the
conditions upon which the UKSA may request a release of funds from the trust. The UKSA may
request a release of funds following the occurrence of a OneWeb insolvency event if the UKSA
considers it appropriate to release such funds to ensure compliance with the conditions of any of
OneWeb’s UKSA licenses or the international obligations of the United Kingdom. The UKSA
is permitted to use such funds to (a) “take control of the operation of the Satellites,” (b)
“implement a de-orbiting or decommissioning of the Satellites, either in whole or in part” or (c)




                                                -10-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 226 of 342



“pay any additional insurance premiums or renewal premiums as required for third party liability
insurance.” The UKSA has not requested a release of the funds from the trust.

               2.      Overview of OneWeb’s Satellite Development and Deployment

         In June of 2015, Debtor WorldVu JV Holdings LLC (“WJVH”), a Delaware limited
liability company (an indirect subsidiary of OneWeb), and Airbus DS Satnet LLC (“Airbus
Satnet”), a Delaware limited liability company, formed a Delaware company to house the
parties’ strategic joint venture, Airbus OneWeb Satellites LLC (“AOS”). AOS is owned 50/50
by WJVH and Airbus Satnet. The formation and operation of AOS was to comprise part of
OneWeb’s and Airbus’ comprehensive plan of cooperation and joint development with respect to
satellites based on the Constellation and the OneWeb System. AOS was formed in the first
instance to design, develop, and manufacture a limited batch of “pilot” satellites to serve as
prototypes for future work, after which AOS would incorporate the intellectual property
developed in those activities into manufacturing over 600 LEO satellites for the OneWeb System
(such satellites forming the OneWeb first generation constellation, the “GEN 1 Constellation”),
as well as continuing work on developing and improving the relevant technologies towards
next-generation satellites associated ground infrastructure for the OneWeb System and ultimately
serve third-party customers with the technology developed along the way.

       The satellite production process was divided into two stages. In the first stage, pursuant
to a design and development contract between WSL and AOS, AOS focused on performing
research, design, development, and testing to validate, confirm and upgrade the initial design of
the LEO satellites, and to develop working prototypes of the satellites based on such research
and development activities. As the culmination of about three years of research, development
and testing, a total of twelve operational prototypes (the “Pilot Satellites”) were completed at a
production facility owned by AOS in Toulouse, France. The prototypes ultimately reached the
required orbit and were able to send and receive the wireless signals required for OneWeb to
achieve BIU with respect to the Spectrum Frequencies licensed through Ofcom.

         The second, main-run stage of satellite production commenced in July 2019, when AOS
completed construction of the world’s first state-of-the-art, high-volume satellite manufacturing
facility in Exploration Park, Florida, on the land leased to it by Space Florida. With a unique set
of proprietary tooling and other high-tech manufacturing equipment, the new facility production
capability was up to one satellite per day. The facility had completed production of 68 satellites
in two successive batches of 34 satellites each as of the Petition Date.

        The satellites in the GEN 1 Constellation were designed to use a cutting-edge technique
called “Progressive Pitch™”, which allows OneWeb to use its spectrum in a highly efficient
manner by gradually and slightly tilting the satellites as they approach the equator to ensure that
such satellites do not cause or receive interference with Ku-band satellites operating above the
GEN 1 Constellation in geostationary orbit. This is necessary in order to comply with the ITU’s
rules and procedures protecting satellites operating in the geostationary orbit from receiving
harmful interference from non-geostationary orbit satellite systems, such as the OneWeb System.
OneWeb’s user terminals would provide high-speed connectivity without latency during satellite
handovers to ensure excellent voice quality, gaming, and web-based experience. These
ground-based terminals would be capable of being self-installed and be small, affordable, and


                                                -11-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 227 of 342



extremely efficient, such that they would operate with optionally included solar panels, battery
packs, and Wi-Fi, 2G, 3G, & 4G/LTE, potentially upgradable to 5G capabilities, to provide
coverage directly to cellular phones, tablets, and laptops. OneWeb’s satellites were designed to
comply with the “orbital debris-mitigation” guidelines for removing satellites from orbit.

         For the launch and deployment of its satellites in orbit, OneWeb entered into two
significant launch services agreements with launch services provider Arianespace S.A.
(“Arianespace”). Specifically, OneWeb and Arianespace entered into a launch services
agreement for the performance of 21 launch missions, each using the Soyuz launch vehicle and
carrying up to 36 satellites per launch mission (the “Soyuz LSA”). The Soyuz LSA contemplates
use of three separate launch sites – the Soyuz launch complex at the Baikonur Cosmodrome in
Baikonur, Kazakhstan, the Soyuz launch base at the Guiana Space Centre in Kourou, French
Guiana, and the Soyuz launch base at the Vostochny Cosmodrome in Vostochny, Russia – in
order to support the capacity needs of the OneWeb launch campaign. OneWeb and Arianespace
also entered into a launch services agreement for the performance of an additional launch
mission using the new (under development) heavy-lift Ariane 6 launch vehicle expected to carry
at least 30 satellites per launch mission (the “Ariane 6 LSA”). The Ariane 6 LSA contemplates
use of the Ariane 6 launch base at the Guiana Space Centre in Kourou, French Guiana. Certain
contracts between Arianespace and certain of the Debtors are designated as Principal Vendor
Contracts under the Plan Support Agreement.

       On February 27, 2019, OneWeb successfully launched all six Pilot Satellites from the
Guiana Space Centre on a Soyuz launch vehicle, marking successful performance of the first
launch mission contemplated under the Soyuz LSA. OneWeb then successfully launched, on
February 6, 2020, its first batch of 34 GEN 1 Constellation satellites and the following month, on
March 21, 2020, a second batch of 34 GEN 1 Constellation satellites, in each case on a Soyuz
launch vehicle from the Baikonur Cosmodrome, marking successful performance of two more
launch missions under the Soyuz LSA. OneWeb currently operates a total of 74 fully
functioning satellites in orbit.

       In addition to AOS, OneWeb and Airbus intended to cooperate in the development and
monetization of related technologies. Manufacturing the GEN 1 Constellation and, eventually,
the GEN 2 Constellation, would continue to be AOS’s priority business, but AOS would also
pursue third-party design, development and manufacturing opportunities, thereby generating a
passive return for OneWeb unrelated to its core business. In addition, OneWeb has and
continues to have rights in a portfolio of certain intellectual property developed in the course of
the work of AOS and would have the potential opportunity to develop further innovations based
on such intellectual property. Certain contracts between AOS and certain of the Debtors are
designated as Principal Vendor Contracts under the Plan Support Agreement.

       OneWeb has also constructed two Satellite Operation Centers (“SOCs”) and two Ground
Network Operations Centers (“GNOCs”) in Virginia and London. Each of the SOCs can
individually manage the entire Constellation through the TT&C Antennas and are responsible for
managing ground station visibility, collision avoidance, altitude maneuvers, planning contacts
and payload schedules and analyzing telemetry and investigating anomalies. Each of the
GNOCs is a redundant data center that can individually manage the entire SNP ground network
and is responsible for determining satellite pass schedules, frequency allocations, effective


                                                -12-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 228 of 342



downlink power and monitoring and controlling all SNP sites, equipment and the network
connections.

       B.      THE DEBTORS PREPETITION ORGANIZATIONAL STRUCTURE AND
               STOCKHOLDERS’ EQUITY

               1.      Organizational Structure

       A chart showing the Debtors’ organizational structure as of the Petition Date is attached
as Exhibit A to the Declaration of Thomas Whayne in Support of Chapter 11 Petitions and First
Day Pleadings [Docket No. 3]. As reflected in that chart, OneWeb owns 100% of the interests
in OneWeb Communications Limited (“OWC”), a company organized under the laws of
England and Wales.

       OWC owns 100% of the interests in WSL, which in turn owns 100% of the interests in
WVD, 1021823 BC, NAA, OneWeb Asia Pte. Ltd., a company organized under the laws of
Singapore, Debtor OneWeb Limited, a company organized under the laws of Jersey, and
OneWeb Communications S.à.r.l., a company organized under the laws of Luxembourg. Each of
the companies at this level was established as required by the local laws of the countries in which
OneWeb operates to hold spectrum and landing rights, regulatory licenses and authorizations,
administer sales, conduct network operations, undertake research and development, and for other
corporate, finance, regulatory, contracting, administrative and employment related purposes, as
applicable.

         WVD owns 100% of the interests in Debtor WJVH, which owns 50% of the interests in
AOS. WVD owns 100% of the interests in Debtor OneWeb Holdings LLC, a New York limited
liability company, which leases office space and maintains a bank account in White Plains,
New York.

       NAA owns 100% of Debtor OneWeb Network Access Holdings Ltd. (“ONAH”), a
company organized under the laws of England and Wales, which in turn owns 99% (and NAA
owns 1%) of Debtor OneWeb Ltd., a company organized under the laws of Malta. Each of the
companies owned wholly or partially by NAA was established as required by local laws to hold
spectrum and landing rights, regulatory licenses and authorizations, own and operate antennas
and other ground segment equipment and communication network assets, and for other corporate
and regulatory purposes, as applicable, in the various countries in which OneWeb operates.

       ONAH owns 49% (and a local partner owns 51%) of OneWeb LLC, a company
organized under the laws of Russia. Each of the companies owned wholly or partially by ONAH
were established as required by local laws to hold spectrum and landing rights licenses, own and
operate antennas and other ground segment equipment and communication network assets, and
for other corporate and regulatory purposes, as applicable, in the various countries in which
OneWeb operates.

               2.      Stockholders’ Equity

        In 2015, OneWeb raised approximately $500 million in equity financing primarily from
strategic investors, including certain entities affiliated with Airbus Group, Inc. (collectively,


                                                -13-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 229 of 342



“Airbus”), Hughes Network Systems, LLC, which is producing OneWeb’s ground network
system and which is a subsidiary of EchoStar Corp., Indian Continent Investment Limited, an
associate entity of Bharti, Qualcomm Incorporated, and Virgin Group Ltd. In December 2016,
OneWeb raised an additional $1.2 billion in equity financing, consisting of a $1 billion
investment from SoftBank Group Corp. (“SoftBank”), a Japanese corporation, thereby making
SoftBank OneWeb’s largest shareholder, and a $200 million investment from certain of its
existing investors.

       As of the Petition Date, OneWeb had 6,897,734 ordinary shares and 606,061 preferred
shares outstanding. The number of ordinary shares outstanding includes restricted stock units
awarded under OneWeb’s employee and consultant equity incentive plans. As of June 30, 2018,
an aggregate of 417,000 ordinary shares were authorized for issuance pursuant to such plans.

       C.      PREPETITION FUNDED INDEBTEDNESS

        On July 12, 2018, OWC entered into a Note Purchase Agreement (the “Original NPA”)
among OWC, SoftBank, as administrative and collateral agent, and each of the purchasers
thereunder from time to time, for the issuance of 13% senior secured promissory notes (the
“Bridge Notes”). Between July 2018 and January 2019, OWC issued Bridge Notes to SoftBank
under the Original NPA in an aggregate principal amount of $408 million. The obligations under
the Original NPA were guaranteed by WSL, WVD, LLC, OneWeb Asia Pte. Ltd., OneWeb
Limited, NAA, and 1021823 BC and were secured by substantially all assets of OWC and its key
subsidiaries. These assets included the frequency spectrum authorizations, which assets were
considered to be valued in excess of the amounts outstanding under the Bridge Notes. PIK
interest accrued on the Bridge Notes quarterly. SoftBank did not receive any fees or other
special compensation in connection with providing the Bridge Notes.

        The Original NPA was structured as a short-term 364-day bridge loan to an anticipated
$3 billion export credit agency-guaranteed project financing that was being sourced from various
export credit agencies, public financial institutions, lenders guaranteed or supported by export
credit agencies and development finance institutions (the “ECA Financing”). Indeed, a number
of potential lenders, including International Finance Corporation, part of the World Bank Group,
European Bank for Reconstruction and Development and BpiFrance Assurance Credit Export
were party to an agreed term sheet that was annexed to the Original NPA. In contemplation of
the ECA Financing and its eventual take out of the Bridge Notes, the Original NPA contained
financing milestones and other express terms, conditions and accommodations relating to the
ECA Financing.

        The structuring of a multi-sourced financing such as the ECA Financing is complex, and
the internal approval processes of export credit agencies and development finance institutions
often require coordination among a number of different teams and, in certain circumstances, with
multiple governmental institutions, which results in a time-consuming and lengthy process to get
from initial due diligence to credit approval (and thereafter documentation and financial closing).
Accordingly, SoftBank agreed to enter into the Original NPA and provide bridge loans to
OneWeb thereunder in order to fund the OneWeb’s needs during the extended process up to the
expected completion of the ECA Financing.



                                                -14-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 230 of 342



        As noted above, the Original NPA contemplated that the Bridge Notes would be fully
refinanced by the completion and funding of the ECA Financing, and OneWeb’s use of proceeds
drawn under the Original NPA were restricted to project costs that would be eligible for
refinancing under the ECA Financing. Under a separate redeemable preferred shares purchase
agreement (the “SPA”) entered into in connection with the Original NPA, the Bridge Notes were
automatically exchangeable for redeemable shares of OWG upon the occurrence of the initial
funding of the ECA Financing. The redeemable shares were in turn either redeemable by OWG
(using the ECA Financing proceeds) upon commercial completion or convertible to equity.

       The financing structure contemplated by the Original NPA and the ECA Financing (i.e.,
using bridge loans from a prominent sponsor to ensure continuity of funding for the project while
the debt process is being completed) is employed in project financings generally, and has been
successfully employed in numerous satellite financings including both for satellite constellations
such as O3b Networks, Iridium and Globalstar and geostationary satellite projects such as PSN
Enam, Asia Broadcast Satellite ABS-2 and APT Satellite APStar-2.

        By the fourth quarter of 2018, it became evident that not all the lenders needed under the
ECA Financing would be able to obtain necessary internal approvals prior to the maturity of the
Original NPA and the related Bridge Notes. Concurrently, OneWeb decided to restructure the
project to reduce the amount of capital needed to secure immediate commitments for less than
the full amount of the originally contemplated ECA Financing, with the full expectation that
additional senior indebtedness would be required and obtained.

       While OneWeb continued to pursue project financing from typical project finance
sources such as government agencies and quasi-development finance institutions, OneWeb
determined to secure the immediate funding needs from existing stakeholders.

       On March 18, 2019, OWC entered into an Amended and Restated Note Purchase
Agreement (the “A&R NPA”) among OWC, Global Loan Agency Services Limited, as
administrative agent, GLAS Trust Corporation Limited (“GLAS”), as collateral agent, and
SoftBank, Banco Azteca, S.A., Institución de Banca Múltiple (“Banco Azteca”), Airbus Group
Proj B.V. (“Airbus”), Qualcomm Technologies, Inc. and The Government of the Republic of
Rwanda as the initial purchasers (collectively, and together with their respective affiliates, the
“Prepetition Lenders”).

        The A&R NPA amended and restated the Original NPA. SoftBank’s $408 million in
Bridge Notes issued under the Original NPA, together with accrued interest, were converted into
a new note under the A&R NPA. Due to the size of SoftBank’s existing note holdings together
with the additional notes issued in exchange for additional funds it lent under the A&R NPA,
SoftBank alone qualified as “Required Holders” under the A&R NPA, and, therefore, as is
customary in third-party loans, had the ability to control decisions regarding the exercise of
remedies and release of collateral. However, and notably, SoftBank did not have rights to
unilaterally alter material terms of the Secured Notes. In addition, due to the fact that SoftBank
was no longer the only lender, a third party, GLAS, was appointed to replace SoftBank as
collateral agent so that the debt facility would be managed, and benefit from security held by a




                                               -15-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                       Pg 231 of 342



third party agent with duties to all noteholders (as is customary for debt financing transactions
with multiple lenders) and in contemplation of additional future senior secured financing.

        Between March 2019 and October 2019, OWC issued 12.5% senior secured promissory
notes (the “Secured Notes”) in an aggregate principal amount of $1,560,621,949.30. Like the
Bridge Notes, the Secured Notes are guaranteed by WSL, WVD, OneWeb Limited, OneWeb
Asia Pte. Ltd., NAA, and 1021823 BC, and are secured by substantially all of OneWeb’s assets.
In order to support the additional loans, OneWeb, in connection with the A&R NPA, provided an
enhanced collateral package to secure the additional Secured Notes including local law share
pledges with respect to many of OWG’s operating subsidiaries worldwide, and also provided a
guarantee from ONAH.

        The willingness of the Prepetition Lenders to provide the additional indebtedness (or in
Qualcomm’s case defer payment of amounts then owing) was conditioned on the success of
OneWeb’s initial launch of the first six prototype satellites (an important step towards
successfully bringing OneWeb’s radio frequency spectrum into use and thereby maintaining its
priority to use the spectrum ahead of its competitors), which the OneWeb successfully achieved
in February 2019 and which the parties believed would significantly enhance the value of
OneWeb’s assets.

       In conjunction with entering into the A&R NPA, certain of the Prepetition Lenders also
entered into a Warrant Purchase Agreement, dated as of March 18, 2019 (the “Warrant Purchase
Agreement”), pursuant to which OWG issued warrants, a common equity sweetener for
providers of debt financing, with an exercise price of $0.01 per voting or non-voting share of
OWG at each drawdown under the A&R NPA, giving such Prepetition Lenders the right to
subscribe for a number of shares of OWG in an amount equal to 100% of such Prepetition
Lender’s funded amount on the drawdown date divided by $300. SoftBank also received
warrants at the initial closing to purchase voting and/or non-voting shares of OWG in the amount
of $408 million divided by $300/share.

        The Committee does not agree with the Debtors’ characterizations of the Original
NPA, the Bridge Notes, the A&R NPA, or the Senior Secured Notes (collectively, the
“Senior Secured Debt”), as described more fully in the Committee Letter. The Committee
has asserted that the Senior Secured Debt should be recharacterized as equity or should be
equitably subordinated to the Claims of general unsecured creditors, all as set forth more
fully in the Standing Motion described in Section IV.J, infra, and in the Committee Letter.

        As of the Petition Date, there was approximately $1,733,121,8561,733,809,254.40
(principal plus accrued interest) of Secured Notes outstanding.

III.   EVENTS LEADING TO THE CHAPTER 11 CASES

       A.      HISTORICAL FINANCING SOURCES AND INCREASING LIQUIDITY
               NEEDS

       As of the Petition Date, the Debtors were still in the development stage of their business
and, notably, did not yet generate revenue. Historically, and throughout the various development



                                               -16-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 232 of 342



stages of the OneWeb System, OneWeb has looked to its key equity and debt investors to
provide liquidity for the next stage of its operations. Since 2019, OneWeb has been actively
seeking investments from both its existing and new investors to fund its continuing operations
and completion of the OneWeb System. In February 2020, OneWeb completed the first launch
of 34 satellites for its GEN 1 Constellation, and over the course of 2020 it was anticipated that
OneWeb would continue with a monthly launch cadence to deploy the complete GEN 1
Constellation of 648 satellites. At that time, OneWeb had anticipated raising additional capital
to meet its launch and constellation implementation schedule.

       B.      LIQUIDITY CONCERNS AND DISCUSSIONS WITH POTENTIAL
               LENDERS AND INVESTORS

       By early 2020, OneWeb continued to face a rapidly deteriorating liquidity position as the
cost of building out the OneWeb System exhausted its existing equity and debt financing.
OneWeb engaged Guggenheim Securities, LLC (“Guggenheim Securities”) in February 2020 to
serve as its investment banker and assist the Debtors in their evaluation and pursuit of strategic
opportunities.

        After several due diligence meetings during the first and second weeks of March 2020,
OneWeb believed that it was going to be able to secure a long-term funding arrangement from
existing stakeholders. However, on March 12, 2020, as the markets began to feel the impact of
COVID-19, OneWeb was notified that its current investors would not commit to a long-term
solution. Thereafter, OneWeb entered into a term sheet for bridge financing to be consummated
by March 26, 2020, but OneWeb was notified on March 21, 2020 that the bridge financing offer
was no longer available. By the end of March, it had become clear that the anticipated funding
opportunities OneWeb had been pursuing, as well as the prospect of locating any new sources of
financing or strategic partners, were significantly and precipitously impacted by the COVID-19
pandemic and the resulting shuttering of the global economy.

       C.      SHIFT TO BANKRUPTCY PREPARATION

       Following notification on March 21, 2020 that the bridge financing offer was no longer
available, and due to the near exhaustion of its existing equity and debt financing and the lack of
any other financing prospects, OneWeb immediately shifted to bankruptcy preparation and the
preservation of its assets for a potential sale. OneWeb, in an effort to conserve liquidity and
preserve the value of its existing assets, began shutting down nonessential aspects of its business.
OneWeb was forced to pursue a strategic reduction in force of approximately 90% of its
workforce and maintain only its existing operations, while halting all further development.

       D.      THE DECISION TO FILE FOR CHAPTER 11 PROTECTION

        Ultimately, OneWeb, in consultation with its advisors, determined that the best path
forward was to commence chapter 11 cases to preserve the value of its key assets while pursuing
strategic alternatives. As such, OneWeb entered into an agreement with its largest equity and
debtholder, SoftBank, with respect to the consensual use of its cash collateral to fund the
chapter 11 cases.




                                                -17-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 233 of 342



         On March 27, 2020, OWG’s board of directors, and the boards of directors or managers
of each of its affiliated Debtors, unanimously voted to commence voluntary cases for relief under
chapter 11 of the Bankruptcy Code. The Debtors’ other subsidiaries, OneWeb S.R.L., a
company formed under the laws of Italy, OneWeb Capacidade Satelital Ltda., a Brazilian limited
liability company, OneWeb Costa Rica Limitada, a Costa Rican limited liability company
(Sociedad de Responsibilidad Limitada), OneWeb Senegal SARL, a Senegal limited liability
company, One Web Angola – Serviços De Telecomunicações (SU), LDA., an Angolan limited
liability company, OneWeb S.A., an Argentinian sociedad anónima, First Tech Web Company
Limited, a Saudi Arabian limited liability company, OneWeb Communications S.a.r.l., a
Luxembourg société à responsabilité limitée, OneWeb Asia Pte. Ltd., a Singaporean private
company limited by shares, OneWeb Development Ltd., a company incorporated under the laws
of England and Wales, and OneWeb Technology Ltd., a Jersey private company, did not
commence chapter 11 cases.

IV.    EVENTS DURING THE CHAPTER 11 CASES

       A.      FIRST AND SECOND DAY PLEADINGS

        Immediately after commencing these cases, the Debtors filed a number of motions and
other pleadings seeking relief necessary to stabilize their business and ensure a smooth transition
into chapter 11. These first and second day motions were granted by the Bankruptcy Court with
certain adjustments or modifications.

       The Bankruptcy Court entered orders authorized the Debtors to, among other things:

                      maintain their existing bank accounts and cash management system, and
                       continue use of existing checks [Docket Nos. 30, 119, and 349];

                      pay certain prepetition employee wages, salaries, other compensation, and
                       continue certain compensation and benefits programs [Docket Nos. 37 and
                       108];

                      pay all undisputed, liquidated, prepetition amounts owing on account of
                       claims held by critical vendors [Docket Nos. 38 and 109];

                      provide adequate assurance of payment to utility companies and establish
                       procedures for resolving requests by utility companies for additional
                       assurance of payment [Docket Nos. 45 and 111];

                      pay certain prepetition taxes and fees and those that will become payable
                       during the pendency of the cases [Docket Nos. 32 and 113];

                      continue insurance coverage, workers’ compensation programs and surety
                       bond programs entered into prepetition and satisfy payment of those
                       obligations, and continue performance [Docket Nos. 35 and 110];




                                                -18-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 234 of 342



                      establish procedures relating to certain transfers of, or declarations of
                       worthlessness with respect to, common stock or any beneficial ownership
                       interests [Docket Nos. 36 and 112];

                      utilize cash collateral [Docket Nos. 17 and 118];

                      obtain postpetition financing [Docket No. 121]; and

                      approving bidding procedures with respect to the sale of the Debtors’
                       assets [Docket No. 104].

       B.      PROCEDURAL AND ADMINISTRATIVE MOTIONS

        On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
Extending Time to File Schedules of Assets and Liabilities, Schedule of Executory Contracts and
Unexpired Leases, Statements of Financial Affairs, and Rule 2015.3 Financial Reports [Docket
No. 7] seeking an extension of the time within which the Debtors must file their schedules of
assets and liabilities and statements of financial affairs (collectively, the “Schedules”) up to and
including 30 days after the meeting of the creditors pursuant to section 341 of the Bankruptcy
Code or 44 days from the Petition Date or such later date as agreed to with the U.S. Trustee,
which the Bankruptcy Court granted on April 1, 2020 [Docket No. 33]. On May 25, 2020, the
Debtors filed the Schedules and their Rule 2015.3 Financial Report.

        On June 23, 2020, the Bankruptcy Court entered an order approving: (1) August 11,
2020, at 5:00 p.m., prevailing Eastern Time, as the deadline for all non-governmental units (as
defined in section 101(27) of the Bankruptcy Code) to file Claims in the chapter 11 cases; (2)
September 24, 2020 at 5:00 p.m., prevailing Eastern Time, as the deadline for all governmental
units (as defined in section 101(27) of the Bankruptcy Code) to file Claims in the chapter 11
cases; (3) procedures for filing proofs of Claim; and (4) the form and manner of notice of the
applicable bar dates [Docket No. 331] (the “Bar Date Order”). Any creditor whose Claim is not
scheduled in the Schedules or whose Claim is scheduled as disputed, contingent, or unliquidated
must file a Proof of Claim in accordance with the Bar Date Order.

       To facilitate the efficient administration of these chapter 11 cases and to reduce the
administrative burden associated therewith, the Debtors also filed and received authorization to
implement several further procedural and administrative motions:

                      authorizing the joint administration of the chapter 11 cases [Docket No.
                       29];

                      establishing certain notice, case management, and administrative
                       procedures [Docket No. 44];

                      allowing the Debtors to prepare a list of creditors in lieu of submitting a
                       formatted mailing matrix and to file a consolidated list of the Debtors’
                       30 largest creditors [Docket No. 41];



                                                -19-
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 235 of 342



                      approving the procedures for the interim compensation and reimbursement
                       of retained Professionals in the chapter 11 cases [Docket No. 106];

                      allowing the Debtors to retain and compensate certain Professionals
                       utilized in the ordinary course of business [Docket No. 107]; and

                      approving procedures for rejecting executory contracts and unexpired
                       leases [Docket No. 346].

       C.      APPOINTMENT OF THE CREDITORS’ COMMITTEE

        On April 16, 2020, the U.S. Trustee appointed the Official Committee of Unsecured
Creditors (the “Committee”) pursuant to section 1102 of the Bankruptcy Code [Docket No. 67].
The Committee retained (a) Paul Hastings, LLP as lead counsel; (b) Cole Schotz, P.C. as
conflicts and efficiency counsel; (c) Province, Inc. as financial advisor; and (d) Jefferies LLC as
investment banker.

       D.      DEBTORS’ RETENTION OF PROFESSIONALS

        Upon the Bankruptcy Court’s approval, the Debtors retained (1) Milbank LLP as counsel;
(2) Omni Agent Solutions as the Claims and Noticing Agent; (3) Guggenheim Securities as
investment banker; (4) Choate, Hall & Stewart LLP as special corporate counsel; and (5) FTI
Consulting, Inc., as financial advisor. The Bankruptcy Court also authorized the Debtors to
retain and compensate certain Professionals utilized in the ordinary course of the Debtors’
business.

       E.      POSTPETITION FINANCING

        Following the Petition Date, the Debtors obtained debtor-in-possession financing
pursuant to a Senior Secured Debtor-In-Possession Term Loan Credit Agreement, dated as of
April 29, 2020 (the “Original DIP Credit Agreement”), among, inter alios, OWC as borrower,
SoftBank and Grupo Elektra, S.A.B. de C.V., as lenders (the “DIP Lenders”), GLAS USA LLC,
as administrative agent (the “DIP Administrative Agent”) and GLAS Trust Corporation Limited,
as collateral agent (the “DIP Collateral Agent”, and together with the DIP Administrative Agent,
the “DIP Agent”).

        The Original DIP Credit Agreement provided for senior secured superpriority financing
consisting of (a) new money term loans of up to $75 million, consisting of a $10 million first
tranche, a $20 million second tranche, a $25 million third tranche, and a $20 million fourth
tranche (the “New Money DIP Loans”) and (b) a “roll-up,” consisting of a substitution and
exchange of a portion of the Claims of the DIP Lenders or their affiliates under the A&R NPA
and the Secured Notes (the “Prepetition Obligations”) occurring on each borrowing date under
the Original DIP Credit Agreement (except that the roll-up with respect to the New Money DIP
Loans extended on the first borrowing date was deemed to occur on the second borrowing date)
in an aggregate amount equal to three times the aggregate principal amount of New Money DIP




                                                -20-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 236 of 342



Loans made on the applicable date, up to an aggregate amount of no more than $225 million (the
“DIP Facility”).

        To secure the obligations under the Original DIP Credit Agreement, the Debtors granted
the DIP Collateral Agent, for the benefit of the DIP Lenders and the DIP Agent (collectively, the
“DIP Secured Parties”), a valid, perfected first priority priming security interest and lien on all of
their prepetition and postpetition tangible and intangible property and assets, whether real or
personal, other than the Excluded Collateral and the Avoidance Actions (each, as defined in the
Original DIP Credit Agreement).

       In connection with the bid from the Plan Sponsor to acquire 100% of the equity interests
of the Reorganized Company Party (the “New Equity Interests”) through a chapter 11 plan of
reorganization and to provide an ongoing, material funding commitment to the reorganized
business (the “Transaction”), as discussed further herein, the Plan Sponsor agreed to provide
$110 million of incremental DIP financing (the “Interim Funding”), by taking assignment of the
approximately $45 million of unfunded new-money commitments under the Original DIP Credit
Agreement and providing additional new-money commitments of approximately $65 million.

       The Debtors filed a motion seeking authority to amend the DIP Facility to allow for the
Interim Funding on June 6, 2020 [Docket No. 370] and increasing the size of the DIP Facility
from $300 million to $410 million. The Bankruptcy Court entered an order granting the
requested relief on July 10, 2020 [Docket No. 398].

       F.      PENDING LITIGATION PROCEEDINGS AND CLAIMS

        In the ordinary course of business, certain of the Debtors are party to various lawsuits,
legal proceedings, and claims arising out of their businesses. The Debtors cannot predict with
certainty the outcome or disposition of these lawsuits, legal proceedings, and claims, although
the Debtors do not believe any reasonable outcome of any currently existing proceeding, even if
determined adversely, would (a) have a material adverse effect on their businesses, financial
condition, or results of operations or (b) interfere with the feasibility of the Plan.

        On June 6, 2019, Virgin Orbit, LLC (“Virgin”) filed suit against OneWeb in the United
States District Court for the Southern District of New York, alleging breach of contract related to
the calculation and payment of a termination fee associated with OneWeb’s termination of
certain launches under a Launch Services Agreement between the parties in May 2015. Virgin is
seeking $46,323,851 in damages, interest, attorney’s fees and costs (the “Virgin Litigation”).

        On September 10, 2019, Intelsat US LLC (“Intelsat”) filed suit against OneWeb and
SoftBank Group Corporation in the Supreme Court of the State of New York, County of New
York, alleging contract and tort claims, including breach of contract under the Amended and
Restated Strategic Cooperation Agreement between Intelsat, OneWeb and SoftBank (the
“Intelsat Litigation”). On November 8, 2019, OneWeb and SoftBank filed a joint motion to
dismiss the complaint in its entirety. On May 13, 2020, Intelsat commenced voluntary cases
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern
District of Virginia.




                                                 -21-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 237 of 342



        With certain exceptions, the filing of the chapter 11 cases operates as a stay with respect
to the commencement or continuation of litigation against the Debtors that was or could have
been commenced before the commencement of the chapter 11 cases. The Debtors’ liability with
respect to litigation stayed by the commencement of the chapter 11 cases is subject to discharge,
settlement, and release upon confirmation of a plan under chapter 11, with certain exceptions.
Therefore, certain litigation claims against the Debtors may be subject to discharge in connection
with the chapter 11 cases. This may reduce the Debtors’ exposure to losses in connection with
the adverse determination of such litigation.

       G.      THE MARKETING AND SALE PROCESS

        The Debtors, with the assistance of Guggenheim Securities, conducted an extensive
outreach effort in connection with the Debtors’ marketing and sale process, including, among
other things, reaching out to over ninety (90) strategic and financial investors around the world.
Over half of those parties executed non-disclosure agreements and received access to a data
room supplied with diligence information regarding the Debtors’ businesses and operations.
Such information included, among other things, a management presentation, regulatory filings,
information regarding manufacturing facilities, asset details, technical specifications for SNPs,
network, user terminals and satellite design, various business plans, and other commercial
agreements. Moreover, the Debtors’ management and their advisors participated in numerous
calls to address diligence and sale related topics. Through additional information posted to the
data room and written answers, the Debtors, with the assistance of their advisors, provided well
over one hundred (100) written submissions in response to diligence questions submitted by
prospective buyers. Throughout the sale and marketing process, the Debtors regularly informed
and consulted with the Committee and SoftBank (together, the “Consultation Parties”).

        At the original bid deadline of June 26, 2020, the Debtors received three bids, none of
which met the definition of a Qualified Bid in the Bidding Procedures Order. Consequently,
after discussion with the Consultation Parties (including the Committee), the Debtors extended
the bid deadline and continued discussions with the parties that submitted these bids in an
attempt to turn their submissions into Qualified Bids. Three additional parties that had
conducted due diligence also contacted the Debtors and expressed interest in bidding for the
Debtors’ assets, although each of these additional parties indicated they were yet to secure the
requisite financing and internal approvals. The Debtors, with the assistance of their advisors,
continued to interact with these parties following the original bid deadline.

      On July 1, 2020, the Debtors received a signed bid from BidCo in the form of a Plan
Support Agreement and plan term sheet attached thereto as Exhibit A (the “Plan Term Sheet”).

        On July 2, 2020, BidCo’s bid was submitted to OWG’s Board of Directors (the “Board”)
for consideration. Of the seven Board members, each of SoftBank, Airbus, Grupo Salinas, and
Qualcomm have one designee. The other three Board members are: an independent member
with no other affiliation to the Debtors or the holders of Secured Notes Claims, the Debtors’
CEO, and the founder of OneWeb, who also has no affiliation with the holders of Secured Notes
Claims but is a current equity holder. The Board unanimously voted to approve BidCo’s bid,
subject to obtaining certain modifications to be negotiated by the Debtors, with the assistance of
their advisors, as the baseline bid. Among the Board members who voted to approve the bid


                                                -22-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 238 of 342



were the unaffiliated independent director and the designees of two significant unsecured
creditors—Qualcomm (directly) and Airbus (indirectly through its ownership interests in the
AOS joint venture and its significant ownership interest in Arianespace). In approving BidCo’s
bid, including the Plan Term Sheet, each member of the Board exercised its duties under
applicable law, having determined that BidCo’s bid preserved the going concern value of the
Debtors’ business, avoided imminent liquidation, and was the highest and otherwise best bid
available. The Board’s decision was further supported, as described below, by the Committee,
which recognized that BidCo’s bid was the highest and best bid and conceded that there were no
issues with the sale process, stating as follows in a filing with the Bankruptcy Court:

               The Committee fully supports a going concern sale of the Debtors’
               business, and it agrees that the selection of BidCo as the proposed
               buyer in accordance with the sale process is a positive
               development and a critical first step towards a confirmable chapter
               11 plan and a successful reorganization. The Committee is also
               not second-guessing the sale process run by the Debtors or the
               purchase price to be paid by BidCo.

Official Committee of Unsecured Creditors’ Limited Objection to (1) Debtors’ (I) Supplemental
Motion for Entry of an Order (A) Authorizing Debtors to Enter Into and Perform Under Plan
Support Agreement With Successful Bidder in Connection With Debtors’ Motion to Authorize
Sale, Free and Clear of All Liens, Claims, Interests & Encumbrances and (B) Granting Related
Relief and (II) Preliminary Reply to Cure, Assumption and Assignment, and Sale Objections, and
(2) Debtors’ Motion for Authorization to Amend Existing DIP Facility [Docket No. 386] (the
“PSA Objection”) at ¶ 1; see also, id. at ¶¶ 9, 16 (the Committee “has no objection to the
Debtors selecting BidCo as the Successful Bidder”).

        None of the other bids received were Qualified Bids, and no other interested party
indicated to the Debtors that it would submit a Qualified Bid competitive with BidCo’s bid.
BidCo agreed to requested modifications, negotiated solely by the Debtors, with the assistance of
their advisors, and in consultation with the Consultation Parties (including the Committee),
notified BidCo that the Debtors intended to designate BidCo’s bid as the highest and otherwise
best bid. The Debtors, in consultation with the Consultation Parties, then cancelled the auction
and BidCo was declared the successful bidder.

        On July 3, 2020, the Debtors announced that BidCo was the successful bidder and that
the terms of the Plan Support Agreement and the going concern sale contemplated thereby
constituted the highest and otherwise best bid for the Debtors’ business.

       The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.G and, in this regard, the Committee refers creditors to
the Committee Letter.

       H.      THE TERMS OF BIDCO’S BID




                                               -23-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 239 of 342



               1.      Acquisition of All Assets Including Retained Causes of Action &
                       Avoidance Actions

        The Plan Support Agreement and the Plan Term Sheet expressly state that BidCo’s offer
is for the acquisition of the New Equity Interests and includes “all the assets, properties and
rights used or held for use by the Debtor entity that will act as the Reorganized Company Party
(in accordance with the terms [of the Plan Support Agreement and the Plan Term Sheet]) and its
subsidiaries and affiliated entities in the operation and conduct of the Business as a going
concern in connection with the Chapter 11 Cases through the Transactions, subject to the ability
to designate Excluded Assets in accordance with the PSA.” Plan Term Sheet at 4 (a schedule of
the Excluded Assets is attached as Annex D hereto). All assets necessary for the operation of
the Debtors’ business as a going concern, among other things, include all Causes of Action,
including all Avoidance Actions, except those released pursuant to the Plan. The Plan Support
Agreement and the Plan Term Sheet do not provide for any allocation of the purchase price to
specific assets. Notably, the Committee insisted on striking from the Bidding Procedures the
requirement that Proposals (as defined therein) include allocation of the purchase price as part of
its comments thereto. See Notice of Filing of Revised Proposed Order (I)(A) Approving Bidding
Procedures, (B) Scheduling an Auction and Sale Hearing and Approving Form and Manner of
Notice Thereof, and (C) Approving Assumption and Assignment Procedures and Form and
Manner of Notice Thereof; and (II) Authorizing (A) the Sale(s), Free and Clear of All Liens,
Claims, Interests, and Encumbrances, and (B) Assumption and Assignment of Executory
Contracts and Unexpired Leases [Docket No. 89]; cf. Bidding Procedures Motion, Exhibit 1,
Section III.B.2.(c). [Docket No. 57]; Bidding Procedures, Section III.B.2.(c). [Docket No. 104].
The purchase and sale of the Causes of Action is a requirement of the Plan Term Sheet and is a
necessary predicate to confirmation of the Plan.

        Notwithstanding assertions by the Committee to the contrary, it is standard for a
purchaser of a going concern business, including a reorganizing business, to retain all of its
causes of action regardless of whether the purchaser is an existing creditor. In any event, this is
not a case where a buyer cherry-picks assets to operate as part of a different business and looks
to acquire causes of action unrelated to the existing business. To the contrary, because the
Debtors’ business is being acquired as a going concern, it is unremarkable that the Plan Sponsor
seeks to acquire all rights associated therewith, including the ability to decide which Claims to
pursue and which Claims to release. To do otherwise would require the Plan Sponsor to
relinquish its ability to make critical go-forward business decisions, and/or subject the
reorganized business to unquantifiable risks to disruption of its business because its vendors,
customers, debt and equity sources and counterparties are being subjected to litigation in the
name of their business. The acquisition of the Retained Causes of Action ensures that the
Debtors’ new owners will have the ability to continue to negotiate with existing or former
vendors, suppliers, and contract counterparties, without the overhang of the threat of litigation
(not controlled by the new owners) that could disrupt operations and management of the
business. It is a requirement of the Plan Term Sheet.

       Moreover, while the Debtors have not conducted an independent review of potential
Causes of Action and Avoidance Actions, the Debtors are not aware of any valuable Causes of
Action or Avoidance Actions that are being retained by the Reorganized Debtors. Notably, the
Debtors believe that any potential preference claims under section 547 of the Bankruptcy Code


                                                -24-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 240 of 342



are likely subject to applicable defenses, including “contemporaneous exchange for value”, “new
value”, or are for payments tied to contracts that will be assumed, and therefore the cost of
litigation would far exceed the recoverable value. Even so, the Bankruptcy Court approved
BidCo’s bid as the highest and otherwise best and only available option for the Debtors, and the
terms of the BidCo bid require the Reorganized Debtors to maintain the Retained Causes of
Action.

               2.      Cash Consideration and BidCo Equity Consideration

        In exchange for the acquisition of the New Equity Interests, BidCo agreed to provide,
among other things, (i) on or before the Effective Date, $150 million cash payment to satisfy
Allowed DIP Claims (other than the Interim Funding DIP Claims) and such other claims that
were required to be paid in cash under the Plan; and (ii) on or following the Effective Date, the
Additional Cash Plan Funding. In addition, BidCo committed to (i) provide additional DIP
financing in the amount of $110 million to fund the Debtors’ chapter 11 cases through the
Effective Date and (ii) provide for payment of all Allowed Cure Claims. The Plan Support
Agreement and Plan Term Sheet also provides for the issuance of the BidCo Equity
Consideration pro rata for the holders of Allowed Secured Notes Claims.

        These key financial terms of the Plan Support Agreement and the Plan Term Sheet
comprise the terms of BidCo’s successful bid. These terms have been in every iteration of the
Plan Support Agreement and the Plan Term Sheet delivered by BidCo to the Debtors, as well as
the Committee as a Consultation Party under the Bidding Procedures. BidCo is a private joint
venture between HMG and Bharti, established by them for the purpose of acquiring 100% of the
equity interests of the Reorganized Company Party in consortium with each other, together with
any other selected additional commercial partners that HMG and Bharti may invite to join that
consortium. As with any private consortium, HMG and Bharti will take care in the selection of
any third parties that they invite to become consortium partners with them. In addition, HMG, as
a sovereign entity, has additional considerations and approval procedures in relation to the
identity and ultimate ownership of any third party with which it enters a commercial partnership.
For the same reasons, HMG and Bharti will limit the transferability of both the legal and
beneficial ownership of the equity in BidCo.

        Because of these concerns, in deciding to offer the BidCo Equity Consideration as part of
the Plan, consideration was given by HMG and Bharti to the identity of those third parties who
would receive such consideration. HMG and Bharti had identified and approved as acceptable
shareholders in BidCo the holders of Allowed Secured Notes Claims to whom it is proposed the
BidCo Equity Consideration will be issued. HMG and Bharti have not undertaken, and do not
believe it is appropriate or reasonable to expect them to undertake, this exercise in respect of the
much larger pool of holders of General Unsecured Claims. BidCo, as the Plan Sponsor and DIP
Lender and the party funding payment of administrative expenses of these cases, has every
incentive and right to seek to reduce, not increase, the cost of administering these cases.

       In addition to any considerations that HMG and Bharti may have over the identity of
those third parties unknown to them, HMG and Bharti would also have concerns about any
increase in the number of shareholders in BidCo given the private company nature of BidCo and
its governance. HMG and Bharti would also be concerned about any proposed arrangement


                                                -25-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 241 of 342



where a single trustee acts as shareholder for all of the New Equity Interests, given that similar
concerns would arise in relation the identity and number of underlying beneficiaries, and where
in addition HMG and Bharti would have less visibility into those underlying beneficiaries and
less ability to control any transfer or other dealings in BidCo equity.

       The Debtors, through their advisors, requested that the BidCo Equity Consideration, like
the Cash Consideration, be made available to the Estate generally. However, the Plan Sponsor
would not agree.

        Contrary to the Committee’s assertions, in the Debtors’ view, the Bankruptcy Court has
been clear that BidCo would (1) have a reasonable basis for terminating the Plan Support
Agreement if the BidCo Equity Consideration was required to be distributed to any party other
than the holders of Secured Notes Claims (see Tr. of July 10, 2020, Hearing to Approve Plan
Support Agreement and DIP Amendment at 67:7-13 (“[T]he point you made about the equity, to
me, I understand completely. That would be, certainly, a [case] where consent would be
reasonably withheld, if it affects your very ability to do the transaction, get regulatory approval,
et. cetera.”)) and (2) that any challenge brought by the Committee to recharacterize or equitably
subordinate the Secured Notes Claims in a manner that could trigger termination rights under the
Plan Support Agreement and jeopardize the sale should not be a risk that should be allowed to
exist. See Tr. of July 28, 2020 hearing at 111:1-20 (“I believe the committee should not be
permitted to [] pursue litigation that would, by its plain terms, cause a breach of the purchase
agreement if the committee succeeded [in its recharacterization and equitable subordination
claims] and the order would have to be drafted to preclude that relief and the pursuit of that relief
from taking place, which in all likelihood would mean that the remedies that the committee
would see would be limited to the other aspect of the consideration provided by BidCo, which is
ninety million dollars.”) (emphasis added). And, again, BidCo’s successful bid was determined
to be the highest and best available to the Debtors.

      Contrary to the Committee’s assertions, these are critical components to the Plan Support
Agreement and Plan Term Sheet, which are further clarified in Sections IV and IX of the Plan.




                                                 -26-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 242 of 342



               3.      The Releases

                       a.      Releases for the Prepetition Secured Parties

        As part of the Debtors’ negotiations to obtain the consensual use of cash collateral and
ultimately, DIP financing, the Prepetition Secured Parties insisted, among other things, that the
Debtors agree that the Secured Notes Claims be allowed in the full outstanding amount and that
a release will be granted of all claims and Causes of Action against the Prepetition Secured
Parties, subject only to the limited challenge rights of other parties in interest. While the Debtors
did not conduct an independent investigation of claims potentially held by them or their estates
against the Prepetition Secured Parties at the time of granting the release (the Debtors neither had
the time nor the liquidity to do so), the Debtors were not aware of any potential Claims they held
against the Prepetition Secured Parties nor did they have any reasonable basis to believe such
claims existed. Ultimately, the Debtors, in the reasonable exercise of their business judgement,
agreed to grant the requested releases in exchange for the consensual use of cash collateral and
DIP financing, both of which were necessary to allow the Debtors to use chapter 11 to pursue a
value maximizing going concern sale for the benefit of all of the Debtors’ stakeholders. Absent
the ability to use cash collateral and obtain postpetition financing (which was only available from
SoftBank and an affiliate of Banco Azteca), the Debtors would not have been able to pursue the
sale process, secure a going concern bid, or otherwise maximize value for their Estates. Rather,
the Debtors would have been forced to liquidate under U.S. or English Law.

        After further review of the facts surrounding the Original NPA and the A&R NPA, as
detailed more fully above, the Debtors believe that the claims and causes of action alleged by the
Committee against the Prepetition Secured Parties are without any merit (as discussed more fully
below). Accordingly, the treatment provided to the Prepetition Secured Parties under the Plan is
consistent with the current status quo waivers and releases contained in the DIP Order and the
Cash Collateral Order. Until such time as there is a successful challenge of the Secured Notes
Claims, there is no basis to treat such claims differently.

        The Debtors’ decision to agree to the releases in the Plan Term Sheet and the Plan is
similarly justified by the Debtors’ business judgment as, in connection with finalizing the terms
of the Plan Support Agreement and the Plan Term Sheet, the Debtors were required to obtain the
consent of the existing DIP Lenders and the largest prepetition secured lenders to the
transactions contemplated by BidCo’s bid. They did so for two valid reasons (neither of which is
remotely improper). First, because the Plan proposes to provide the holders of Secured Notes
Claims with equity – a treatment that cannot be crammed down on secured debt (and the Secured
Notes Claims are presumptively valid secured claims), SoftBank’s consent to the Plan was
necessary.

        Second, it is a “Termination Event” under the Debtors’ DIP financing for the Debtors to
file or support a plan that is not in form and substance acceptable to SoftBank. Pursuant to
paragraph 24 of the DIP Order, it is a Termination Event (as defined in the DIP Order) with
respect to the Debtors’ right to use proceeds of any DIP Loans if, among other things, “the
Debtors file, propose, or support confirmation of a chapter 11 plan that is not in form and
substance acceptable to [SoftBank, as] the Lead Lender.” Similarly, pursuant to paragraph 8 of
the Cash Collateral Order, it is a Termination Event (as defined in the Cash Collateral Order)


                                                 -27-
20-22437-rdd     Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                       Pg 243 of 342



with respect to the Debtors’ right to use cash collateral if “the Debtors shall create, incur, or
suffer any other claim which is pari passu or senior to the Notes Superpriority Claim, other than
a claim granted in connection with a postpetition financing facility consented to by [SoftBank,
as] the Required Holders or under this Final Order.”

       Whatever rights the Committee may have to challenge the Secured Notes Claims under
the Cash Collateral Order, the Committee expressly consented to the foregoing provisions.
Statement of Official Committee of Unsecured Creditors in Support of Debtors’ Motions for
Orders (A) Authorizing Use of Cash Collateral, (B) Authorizing Postpetition Financing, and (C)
Approving Bidding Procedures, Each as Modified, at ¶ 3 [Docket No. 96].

        To obtain SoftBank’s consent to the Plan Support Agreement and the Plan Term Sheet,
SoftBank required the Debtors to release claims against SoftBank as a DIP Secured Party and
Prepetition Secured Party. On July 9, 2020, SoftBank executed a joinder to the Plan Support
Agreement which provides that SoftBank’s support is contingent on no change in its treatment or
the releases to be granted under the Plan Support Agreement and Plan Term Sheet.

       In addition, pursuant to the terms of the Settlement embodied in the Plan, SoftBank has
agreed to contribute its cash recovery on account of the Allowed SoftBank DIP Claims
(approximately $91 million before the consideration of accrued interest) in exchange for the
issuance of $87.9 million of equity in BidCo calculated on the same basis as the BidoCoBidCo
Equity Consideration (the “Additional SoftBank Consideration”). In turn, and as a result thereof,
and a reduction in the amount of BidCo Equity Consideration distributed to holders of Allowed
Senior Secured Claims, BidCo has agreed to fund the General Unsecured Claims Settlement
Distribution to provide a recovery to holders of Allowed Claims in Class 4 and holders of
Allowed Claims in Class 5 with their pro rata share of $6.1 million (which approximates,
depending on the ultimate size of the unsecured claims pool, could yield a percentage of
recovery the Debtors believe will be greater than, and the Committee asserts may be less
than, the percentage of recovery originally contemplated under the Plan Term Sheet for holders
of Allowed Secured Notes Claims under the Plan).

                      b.      Releases of the Debtors’ Directors & Officers

        The Plan and the Plan Term Sheet also contemplate the Debtors’ and third-party releases
of the Debtors’ directors and officers (“Directors and Officers”) serving in such capacity on and
after the Petition Date to the fullest extent permitted by law, including under English Law.
Notwithstanding the Committee’s entirely baseless accusations, the Debtors are not aware of any
valid claims or Causes of Action against any of their Directors and Officers. Leading up to the
filing of these cases, the Directors and Officers were faced with extremely challenging
circumstances. The Directors and Officers have shepherded these Debtors through extraordinary
circumstances, least of which is a global pandemic.

       As described more fully above, just weeks before the commencement of these cases, the
Debtors believed that they had secured an out-of-court financing transaction that would have
funded the build-out of the Debtors’ constellation to completion. On the same day the Debtors
expected to get the go-ahead with respect to this anticipated financing, the World Health
Organization declared COVID-19 a global pandemic, the world financial markets suffered one of


                                               -28-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 244 of 342



the worst days in trading history, and the Debtors were informed that the possibility of a fully
funded transaction was no longer available. The Directors and Officers pivoted quickly toward
pursuit of an out-of-court bridge financing, which was hoped to bridge the Debtors to a value
maximizing sale once the financial markets rebounded. However, just one hour before the
Debtors’ scheduled launch of their third batch of satellites into orbit, they were informed that the
bridge financing was no longer available.

        The Directors and Officers had no choice but to turn quickly to preparing for a chapter 11
filing – a process (unlike an insolvency process under English insolvency law) that would give
the Debtors the necessary breathing space to pursue a value maximizing sale. The Directors and
Officers had to make the difficult decisions to preserve cash, shut down non-essential operations,
and implement a significant reduction in work force, all the while managing continuing business
operations, maintaining vendor and supplier relationships, and retaining essential and specially
skilled employees. In addition, the Debtors had to navigate a “free fall” chapter 11 case, obtain
and agree to conditional postpetition financing at a fraction of the Debtors’ operating
requirements, and pursue a value maximizing sale of their business as a going concern on a shoe-
string budget and extremely short timeline – which they have successfully done. Had the
Directors and Officers opted to shut down operations and pursue an insolvency process under
English Law, the Debtors would have ended up in liquidation with no value available for
hundreds of stakeholders.

        The Committee intimates that there may be potential claims against the Directors and
Officers that are being released but it asserts no basis for these allegations. To the contrary, the
Directors and Officers have achieved a home-run going concern sale of the Debtors’ business,
pursuant to which current employees will keep their jobs, many terminated employees may be
rehired, and hundreds of contract counterparties will have their contracts assumed by the
Reorganized Debtors. Moreover, even with respect to those contract counterparties whose
contracts may be rejected, an opportunity for future engagement with the Reorganized Debtors
remains as the Debtors’ business will continue as a going concern. The Plan contemplates the
retention of Current Employees in their current positions, including Officers. To allow parties to
bring meritless claims against these individuals would cause enormous disruption to the
Reorganized Debtors’ business, would force the Reorganized Debtors to have to expend
resources in defending and indemnifying the Directors and Officers, and would risk losing the
very same employees who have been so critical to the Debtors’ survival and these chapter 11
cases.

        Among the baseless allegations made by the Committee is that certain retention payments
made to the Debtors’ Officers and other remaining employees prior to the commencement of
these cases may have been improperly made or improperly approved by the Board. However, as
the Committee is well aware from its review of the Debtors’ KEIP and KERP, discussions with
the Debtors’ advisors, informal and formal document production, and voluntary interviews of the
Debtors’ management, there was absolutely nothing improper about the retention payments made
in the week prior to the commencement of these cases. Those payments were made upon the
review and advice of outside employment advisors and were considered and unanimously
approved by the Board (excluding the Debtors’ CEO), including the Debtors’ independent
director. The Board determined that, in order to successfully operate the Debtors’ assets while
managing chapter 11 and conducting a sale process, the prepetition retention payments were


                                                -29-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 245 of 342



necessary to retain the Debtors’ essential management team and remaining employees in the face
of extreme uncertainty. The Board was also informed at that time that the Debtors would likely
seek approval of a key employee incentive program tied to the sale process at a future date.
Contrary to the Committee’s baseless accusations, these payments were approved by the Board
before the Debtors received any draft form of order from holders of the Secured Notes Claims
authorizing consensual use of cash collateral. Indeed, the Debtors had only a matter of days to
pivot from a fully operational satellite venture to “mothballing” their operations. The Directors
and Officers have been and continue to be critical to the success of the sale process and these
chapter 11 cases. This was also recognized by the Bankruptcy Court when it approved the
Debtors’ KEIP. Thus, the releases are appropriate.

        The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.H, and, in this regard, the Committee refers creditors to
the Committee Letter.

       I.      APPROVAL OF THE PLAN SUPPORT AGREEMENT AND INTERIM
               FUNDING

       On July 6, 2020, the Debtors filed a motion seeking authority to enter into the Plan
Support Agreement [Docket No. 369] (the “PSA Motion”) and a motion seeking authority to
amend the existing DIP Facility [Docket No. 370] (the “DIP Amendment Motion”). The
Committee filed its PSA Objection (which included an objection to the Interim Funding) on July
9, 2020.

        Principally, the PSA Objection raised concerns with: (1) the Plan Support Agreement’s
allocation of the purchase price; (2) the proposed releases; (3) a $5.5 million exit fee, up to $25
million in expense reimbursements, and automatic acceleration of the Interim Funding if the Plan
Support Agreement is terminated; and (4) the Plan Sponsor’s right to determine the treatment of
General Unsecured Claims under the Plan. See PSA Objection at ¶¶ 1, 2, 8, 10. The Debtors,
Plan Sponsor, DIP Secured Parties, and the Committee were able to resolve many of these issues
consensually, and their agreement was memorialized in the Plan Support Agreement Order and
DIP Amendment Order.

        As described above, the Committee stated in the PSA Objection that it “fully supports a
going concern sale of the Debtors’ business, and that it agrees that the selection of BidCo as the
proposed buyer in accordance with the sale process is a positive development and a critical first
step towards a confirmable chapter 11 plan and a successful reorganization.” PSA Objection at ¶
1; see also, id. at ¶¶ 9, 16 (the Committee “has no objection to the Debtors selecting BidCo as
the Successful Bidder”). The Committee also made clear that it was not second-guessing the
sale process run by the Debtors or the purchase price to be paid by BidCo. Id.

        However, the Debtors, the Plan Sponsor, and the Committee were unable to resolve their
disputes over the proposed releases and the allocation of the BidCo Equity Consideration in
advance of the hearing on July 10, 2020. The Bankruptcy Court acknowledged on the record of
that hearing that it would not be unreasonable for the Plan Sponsor to decline to modify its
obligations under the Plan Support Agreement and Plan Term Sheet to allow the BidCo Equity
Consideration to be made available to the Estate generally and not just to the holders of the


                                                -30-
20-22437-rdd         Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                        Main Document
                                              Pg 246 of 342



Allowed Secured Notes Claims, as agreed to by the Debtors in the Plan Support Agreement and
Plan Term Sheet. See Tr. of July 10, 2020, Plan Support Agreement and DIP Amendment
hearing at 67:7-13 (“[T]he point you made about the equity, to me, I understand completely.
That would be, certainly, a [case] where consent would be reasonably withheld, if it affects your
very ability to do the transaction, get regulatory approval, et. cetera.”).95

        The Bankruptcy Court entered the Plan Support Agreement Order and DIP Amendment
Order, as modified, on July 13, 2020 [Docket No. 400] and July 10, 2020 [Docket No. 398],
respectively.

       The Committee disagrees with the Debtors’ characterization of the legal and factual
issues described in this Section IV.I, and, in this regard, the Committee refers creditors to
the Committee Letter.

         J.       THE COMMITTEE’S DERIVATIVE STANDING MOTION

        On July 13, 2020, the Committee filed a motion seeking (a) derivative standing to pursue
recharacterization and equitable subordination claims against the holders of Secured Notes
Claims and (b) disallowance of the Secured Notes Claims under section 502(b) of the
Bankruptcy Code. See Official Committee of Unsecured Creditors’ (I) Motion for Order
Granting Derivative Standing to Pursue and, if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination against Certain Purported Secured Creditors,
and (II) Objection to such Creditors’ Claims [Docket No. 402] (the “Standing Motion”).

       In the Standing Motion, the Committee alleged that some factors from Bayer Corp. v.
MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726 (6th Cir. 2001), support
recharacterizing the Secured Notes Claims as equity. Standing Motion at ¶ 105. In addition, the
Committee alleged the Secured Notes Claims should be equitably subordinated because the
holders of Secured Notes Claims used their “insider” position with the Debtors to “engage[] in
inequitable conduct for their benefit that harmed the Company’s other creditors” while the
Debtors were undercapitalized. Id. at ¶ 108.

       On July 21, 2020, the Debtors filed an objection to the Standing Motion. Debtors’
Objection to the Official Committee of Unsecured Creditors’ (I) Motion for Order Granting
Committee Derivative Standing to Pursue, and if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination Against Certain Purported Secured Creditors,


95
          At a subsequent hearing, the Bankruptcy Court further noted that the “risk that equity goes to other parties
because of a recharacterization win by the committee, BidCo could walk from its transaction or at least renegotiate
it. I don’t believe that that risk should be allowed to even exist.” Tr. of July 28, 2020 hearing at 111:1-20; see also
id. (“I believe the committee should not be permitted to [] pursue litigation that would, by its plain terms, cause a
breach of the purchase agreement if the committee succeeded [in its recharacterization and equitable subordination
claims] and the order would have to be drafted to preclude that relief and the pursuit of that relief from taking place,
which in all likelihood would mean that the remedies that the committee would see would be limited to the other
aspect of the consideration provided by BidCo, which is ninety million dollars”) (emphasis added).




                                                          -31-
20-22437-rdd          Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                               Pg 247 of 342



and (II) Objection to Such Creditors’ Claims [Docket No. 430] (the “Debtors’ Objection”). The
Debtors’ Objection argues, among other things, that the Committee’s request for derivative
standing was improper because (i) such standing would cause more harm than benefit to the
Estates and creditors, (ii) the Debtors are justified in not pursuing the alleged claims, and (iii) the
Committee’s claims are not colorable. Id. at ¶¶ 18-49. Other parties, such as SoftBank, Banco
Azteca, Airbus Group Proj B.V., Qualcomm Technologies, Inc., and Qualcomm Global Trading
Pte. Ltd. also objected to the Standing Motion. See SoftBank Group Corp.’s Objection to the
Official Committee of Unsecured Creditors’ (I) Motion for Order Granting Committee
Derivative Standing to Pursue, and if Appropriate, Settle Claims for Recharacterization and
Equitable Subordination Against Certain Purported Secured Creditors, and (II) Objection to
Such Creditors’ Claims [Docket No. 427] (“SoftBank’s Objection”); Joinder and Supplemental
Memorandum of Law in Opposition to the Official Committee of Unsecured Creditors’ (I)
Motion for Order Granting Committee Derivative Standing to Pursue and, if Appropriate, Settle
Claims for Recharacterization and Equitable Subordination Against Certain Purported Secured
Creditors and (II) Objection to such Creditors’ Claims [Docket No. 428]; Joinder of Airbus
Group Proj B.V. to the SoftBank Group Corp.’s Objection to the Official Committee of
Unsecured Creditors’ (I) Motion for Order Granting Committee Derivative Standing to Pursue
and, if Appropriate, Settle Claims for Recharacterization and Equitable Subordination Against
Certain Purported Secured Creditors, and (II) Objection to Such Creditors’ Claims [Docket No.
429]; Joinder of Qualcomm Technologies, Inc. and Qualcomm Global Trading Pte. Ltd. to the
Debtors’ and SoftBank Group Corp.’s Objections to the Official Committee of Unsecured
Creditors’ Motion for Derivative Standing to Pursue Recharacterization and Subordination of
Certain Secured Creditors’ Claims and Objections Thereto [Docket No. 440].

        On July 24, 2020, the Committee filed its reply to all of the foregoing objections.
Official Committee of Unsecured Creditors’ Reply in Support of Motion for Order Granting
Committee Derivative Standing to Pursue and, if Appropriate, Settle Claims for
Recharacterization and Equitable Subordination Against Certain Purported Secured Creditors
[Docket No. 445].

       On July 28, 2020, the Bankruptcy Court held a hearing on the Standing Motion.
Following oral argument, the Bankruptcy Court adjourned the matter to the next omnibus
hearing date.

         The Debtors believe the claims identified in the Standing Motion are meritless and
unlikely to succeed. Moreover, the costs of pursuing the causes of action the Committee
identified in the Standing Motion will likely be significant. Even if the Committee was
permitted to pursue its baseless claims, there is simply no source of funding available to support
it, as failure to confirm the Plan could result in both the termination of the Debtors’ right to use
the proceeds of the DIP Facility and give rise to a termination event under the Plan Support
Agreement and Plan Term Sheet, a risk the Bankruptcy Court has acknowledged should not be
allowed to exist.106



106
      See Tr. of July 28, 2020 hearing at 111:1-20 (“I believe the committee should not be permitted to [] pursue
      litigation that would, by its plain terms, cause a breach of the purchase agreement if the committee succeeded
      [in its recharacterization and equitable subordination claims] and the order would have to be drafted to preclude


                                                          -32-
20-22437-rdd         Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39                       Main Document
                                            Pg 248 of 342



        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the
Plan incorporates a settlement of the claims asserted by the Committee in the Standing
Motion. See Section V.B.2, infra. Notwithstanding the Settlement in the Plan, the Debtors,
the Committee, and SoftBank have requested mediation, which is ongoing at the time of
solicitation of the Plan. Neither the Plan nor the Settlement alter the terms of the
successful bid nor do they alter the rights of the parties thereto, nor shall, pending
confirmation of the Plan, anything in the Plan or Settlement alter the terms of the Plan
Support Agreement Order without further Court approval.

                1.       The Committee’s Recharacterization Claims

                         a.        Debtors’ Response

       In the Standing Motion, the Committee contends that recharacterization of the Secured
Notes Claims is warranted primarily because the Debtors were undercapitalized at the time the
Secured Notes were issued and because the holders of the Secured Notes Claims also held equity
in the Debtors. As discussed in the Debtors’ Objection, the Debtors believe that these facts
alone are insufficient to warrant recharacterization.

        The Committee has used its Standing Motion to rewrite history, including a version of the
facts that are simply not based in reality. The fact that the Debtors were undercapitalized is
unremarkable for companies still in the process of capital development; investments made as
debt in similar companies are not uncommon. A project the size of the Debtors’ contemplated
business plan requires years to be fully funded, given the significant capital contributions
required, lengthy regulatory approval processes in numerous countries, the time necessary to
manufacture and launch satellites, and the challenges in securing presales of capacity on
reasonable terms.

        It is clear that the version of facts that the Committee relies on to support its claims for
recharacterization bear no resemblance to the facts as they actually occurred. Contrary to the
Committee’s allegations, at the time the Secured Notes were issued, the Debtors were not a
moribund start-up company unlikely to generate sufficient revenue to satisfy its debt obligations.
To the contrary, by the time the Debtors entered into the A&R NPA, they had already
successfully launched the first six prototype satellites into orbit (an important step in bringing its
radio frequency spectrum into use and thereby maintaining its priority right to use the spectrum
ahead of its competitors). By the time of the filing of these cases, the Debtors, through their joint
venture with Airbus, were capable of producing a satellite a day, and the Debtors had
commenced a monthly launch cadence of 34 satellites per month.

       The Bridge Notes and the Secured Notes were issued pursuant to the agreements clearly
evidencing indebtedness in contemplation of additional third-party financing and weighing
against recharacterization. In particular, the Debtors believe that if the facts were further
examined, the AutoStyle factors weigh heavily against the Committee because the Secured Notes


   that relief and the pursuit of that relief from taking place, which in all likelihood would mean that the remedies
   that the committee would see would be limited to the other aspect of the consideration provided by BidCo,
   which is ninety million dollars.”) (emphasis added).


                                                        -33-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 249 of 342



contain an explicit fixed maturity date and schedule of payments which are hallmarks of debt and
weigh against recharacterization. Further, the Secured Notes have a fixed rate of interest and
interest paymentspaid in kind (“PIK”) and were secured by valuable collateral which are
quintessential debt features.

        As discussed in Section II.C, supra, the Bridge Notes in particular were intended to
function as a short-term bridge loan (364 days) to allow for full funding of the contemplated
ECA Financing. And the Bridge Notes were expressly tied to replacement financing milestones.
In addition, contrary to the Committee’s assertions repayment of the Secured Notes was not
contingent on the Debtors’ success in generating revenues and signing up customers, instead the
Secured Notes were used to fund obligations to vendors and suppliers and in particular were
designed to attract additional project financing, consistent with the nature of a bridge loan and
thus further evidencing characteristics of debt.

        The overlap between the Debtors’ equity-holders and debt holders is likewise
unremarkable in the project finance space. As noted in the Debtors’ Objection, it is common for
a start up’s existing stakeholders to make loans where third-party financing may not be readily
available – especially in the context of bridge loans. Here, contrary to the Committee’s bald
allegations, the loans were not used by the Debtors’ equity holders to “leap frog” the Debtors’
unsecured creditors in advance of a chapter 11 filing. Nothing could be further from the truth.
The funds were used to fund obligations to the very same unsecured creditors whose official
representative now asserts that the loans should be recharacterized. The Debtors’ vendors
directly benefitted from the issuance of the Secured Notes as they received hundreds of millions
of dollars from their proceeds.

        Thus, for these reasons, among others, the Debtors believe that the Committee’s claims
asserted in its Standing Motion have little possibility of success and serve only to imperil the
Debtors’ ability to confirm the Plan and pursue the value-maximizing transaction contemplated
thereby. The Debtors believe that they have justifiably refused to bring the meritless claims that
the Committee is seeking to pursue here, with minimal benefit and likely significant expense to
the Estates.

                      b.      SoftBank’s Response

        SoftBank believes that the plain terms of the Original NPA and the A&R NPA
demonstrate that the Secured Notes were intended, in all respects, to be debt instruments and not
equity investments. The Secured Notes and the financing documents themselves have all the
hallmarks of debt in that they provided for the issuance of promissory notes with fixed interest
rates, maturity dates, repayment terms, events of default, and collateral in the event of default.
SoftBank is of the opinion that a trier of fact is unlikely to recharacterize the Secured Notes as
equity because the documents themselves clearly evidence an intent to create a creditor-debtor
relationship and the economic terms reflected the substantial credit risk of loaning new money to
the Debtors. For example, the high interest rates under both Original NPA and the A&R NPA,
as well as the consideration provided under the Warrant Purchase Agreement, accounted for the
significant risks involved.

       In addition, SoftBank is not aware of any case where a bankruptcy court has


                                               -34-
20-22437-rdd           Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                        Main Document
                                                Pg 250 of 342



recharacterized debt that was secured by a valid lien (not to mention a lien on substantially all of
a borrower’s assets). Nor has the Committee identified any such case in its pleadings before the
bankruptcy court. SoftBank believes that it is highly unlikely that the Committee will be able to
convince a finder of fact to take unprecedented action and hold that SoftBank (and the other
Senior Noteholders) never intended to be paid back on the Secured Notes issued under the A&R
NPA (or, as to SoftBank, under the Original NPA).

        Furthermore, SoftBank notes that bankruptcy courts in this district look to a number of
factors when assessing recharacterization claims.11 The 7 SoftBank asserts the Committee has
acknowledged, however, that only two out of the eleven recharacterization factors could
conceivably weigh in favor of recharacterization in this case. SoftBank is of the opinion this
clearly demonstrates that the Committee’s recharacterization arguments are weak. In any event,
the factors that the Committee believes weigh in favor of recharacterization are that (i) the
Debtors were allegedly undercapitalized and (ii) that SoftBank was an insider that allegedly
controlled the other Senior Noteholders.

        But even assuming that the Committee could meet its burden of demonstrating the
presence of these two factors (SoftBank submits that the Committee cannot), SoftBank believes
that recharacterization would otherwise be inappropriate under the facts and circumstances of
this case. This is because courts have overwhelmingly held that undercapitalization is not
sufficient, on its own, to justify recharacterization particularly where, as here, a debtor is a
startup company rather than a revenue-generating (but distressed) company.128 Similarly, courts
have recognized that insiders are often the only entities that have both the means and the
incentive to lend money to undercapitalized companies and have refused to recharacterize debt in
such circumstances.139

        Finally, SoftBank believes that pursuing claims for recharacterization is not in the best
interest of the Debtors’ estates because even if successful they are not likely to generate
meaningful value for general unsecured creditors. That is because regardless of the outcome of
any challenge against SoftBank for recharacterization (which owns approximately 60% of the
Secured Notes), it is unlikely that the Committee could ever prevail in recharacterizing or
subordinating the claims of Banco Azteca and Qualcomm. As the bankruptcy court noted at the
July 28, 2020 hearing to consider the Committee’s motion for derivative standing, Qualcomm’s
Secured Notes claims were “rolled over from legitimate debt,” while Banco Azteca “is a bank
subject to regulation by the Mexican banking authorities” and is “precluded from making an
equity investment” in the Debtors.1410 SoftBank is of the opinion that, putting aside the logical
dissonance that would be required for a trier of fact to conclude that Banco Azteca and

11
       See Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726 (6th Cir. 2001).
7
       See Bayer Corp. v. MascoTech, Inc. (In re AutoStyle Plastics, Inc.), 269 F.3d 726 (6th Cir. 2001).
128
       See, e.g., In re USDigital, Inc., 443 B.R. 22, 51–53 (Bankr. D. Del. 2011) (dismissing a recharacterization
       claim in the context of multiple startups that shared similar management and sources of capital).
139
       See, e.g., See In re Rockville Orthopedic Assocs., P.C., 377 B.R. 438, 442–43 (Bankr. D. Conn. 2007) (“[I]t [is]
       important to note that a claimant’s insider status and a debtor’s undercapitalization alone will normally be
       insufficient to support the recharacterization of a claim. In many cases, an insider will be the only party willing
       to make a loan to a struggling business, and recharacterization should not be used to discourage good-faith
       loans.”) (quoting In re Dornier Aviation, (N. Am.), Inc., 453 F.3d 225, 234 (4th Cir. 2006)).
1410
       See Tr. of Hr’g. at 104:21-105:7 (Jul. 28, 2020).


                                                            -35-
20-22437-rdd             Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39                    Main Document
                                               Pg 251 of 342



Qualcomm hold valid debt while the other parties to the exact same instrument somehow
invested in equity, the claims of Banco Azteca and Qualcomm alone make the Committee’s
claims pointless. Specifically, Banco Azteca and Qualcomm hold over $400 million of Secured
Notes Claims so a successful recharacterization challenge against every other holder of the
Secured Notes Claims would leave no prospect of any “money [left] over for the unsecured
creditors.”1511

                    2.      The Committee’s Equitable Subordination Claims

                            a.       Debtors’ Response

        The Committee also seeks to equitably subordinate the Secured Notes Claims, alleging
the holders of the Secured Notes Claims, primarily through SoftBank, controlled the Debtors
prepetition and used this control for their own parochial benefit at the expense of other creditors.
The Debtors believe this theory to be unfounded.

        As with the Committee’s recharacterization claims, the Debtors believe that the
Committee has failed (and will not be able) to allege a colorable claim for equitable
subordination because the Committee has failed to show that holders of the Secured Notes
Claims engaged in inequitable conduct, that any such conduct caused injury to the Debtors’
creditors or conferred an unfair advantage to the holders of the Secured Notes Claims, or that
equitable subordination is consistent with the provisions of the Bankruptcy Code. Importantly,
the Debtors believe that the Committee has failed in its Standing Motion to allege that the
holders of the Secured Notes Claims are all insiders that collectively exercised the requisite
control over the Debtors or that SoftBank, alone, exercised the requisite control over the Debtors,
such that holders of the Secured Notes Claims could orchestrate a complex financing
arrangement simply to “leap frog” unsecured creditors who, it should be noted, benefitted from
the proceeds of the very same loans. Further, the Debtors do not believe that the Committee has
alleged or can allege any harm to unsecured creditors or any unwarranted benefit to the holders
of the Secured Notes Claims.

         Specifically, the Committee has alleged that the fact that SoftBank had the right to
appoint one designee of the Board amounts to control of both the holders of Secured Notes
Claims and the Debtors. There are six other members of the Board, three of whom are not
affiliated with any of the holders of Secured Notes Claims, including a completely independent
and unaffiliated director. Furthermore, not only does the Standing Motion fail to articulate any
specific harm that flowed from this alleged control, the ability to designate board members is a
common right that lenders bargain for and is not evidence of inequitable conduct. Nor does
SoftBank exert control over the other holders of Secured Notes Claims. Each lender viewed its
investment into the Secured Notes based on its own interest and potential benefits. See, e.g.,
Banco Azteca Objection at ¶ 15 (“Banco Azteca made its own lending decisions and did not



1511
       See id., at 105:23-24. Although the Committee has suggested that any liens in favor of holder of the Secured
       Notes Claims whose claims are successfully recharacterized could be preserved for the benefit of the Debtors’
       estates—i.e., unsecured creditors would be pari passu with Qualcomm and Banco Azteca—the Committee has
       provided no support for this novel theory, nor has SoftBank identified any.


                                                          -36-
20-22437-rdd             Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39       Main Document
                                                Pg 252 of 342



delegate these decisions to any third party.”).

        Thus, the Debtors do not believe equitable subordination of the Secured Notes Claims is
warranted. Aside from asserting that SoftBank is an insider, the Committee has failed to
establish any other basis for the equitable subordination of the Secured Notes Claims. As noted
above, unsecured creditors only benefitted from the issuance of the Secured Notes. Moreover,
none of the holders of Secured Notes Claims received any special advantage or benefit as a result
of the loans. The terms of the Bridge Notes and the Secured Notes were market for loans of their
type and included terms intended to make additional financings more “bankable.” The Debtors
do not believe that there is a legitimate basis to equitably subordinate the Secured Notes Claims.

                             b.       SoftBank’s Response

         SoftBank also believes that the Committee has not demonstrated that it is likely to
succeed on a claim for equitable subordination under section 510(c) of the Bankruptcy Code
because the facts and circumstances of this case do not warrant it. As a threshold matter,
SoftBank believes it is telling that the Committee has not identified any misconduct that would
justify the subordination of claims of either SoftBank or the other Senior Noteholders. Instead,
the Committee appears to rely upon vague and formulaic allegations of undercapitalization and
control. SoftBank believes that these allegations are insufficient to justify equitable
subordination, and courts have held that undercapitalization, on its own, is an insufficient
justification for subordination.1612 Finally, SoftBank is of the opinion that the Committee has
cited no evidence of inequitable conduct on the part of SoftBank despite have received tens of
thousands of pages of documents in these chapter 11 cases, including communications between
SoftBank and the other holders of the Secured Notes and after having spent a significant amount
of professional fees in these cases.

                    3.       The Plan Contemplates Releases for the Prepetition Secured Parties

                             a.       Debtors’ Response

         The Plan contemplates releases for the holders of the Prepetition Secured
CreditorsParties, as discussed in Section V.E. below. As detailed below, the Debtors believe
that the releases in the Plan are necessary and appropriate and meet the requisite legal standard
promulgated by the United States Court of Appeals for the Second Circuit. The Debtors have
determined, in their business judgment, that all of the Released Parties have made substantial
and valuable contributions to the Debtors’ restructuring (as described more fully herein) through
efforts including providing (i) consensual use to cash collateral; (ii) DIP financing; (iii) standstill
agreements, amendments, and accommodations with respect to various executory contracts and
other arrangements; (iv) consent to the incurrence of additional pari passu Interim Funding; (v)
the equitization of the Secured Notes Claims, and (vi) the Additional SoftBank Consideration to
facilitate the Settlement and the funding of the General Unsecured Claims Settlement
Distribution.

           Accordingly, the holders of Secured Notes Claims are entitled to the benefit of the


1612
       Matter of Lifschultz Fast Freight, 132 F.3d 339, 345 (7th Cir. 1997).


                                                           -37-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 253 of 342



releases contained in the Plan. The Debtors will present evidence at the Confirmation Hearing to
demonstrate the basis for and propriety of the release and exculpation provisions.

                       b.      SoftBank’s Response

        SoftBank believes that the releases contained in the Plan are entirely consistent with and
justified under Second Circuit law, which permits a debtor to release claims in a Plan where
doing so is in the best interests of the estate and constitutes a reasonable exercise of the debtor’s
business judgment. Since the beginning of these chapter 11 cases, SoftBank (along with certain
other of the holders of the Secured Notes Claims) has provided significant consideration to the
estates, including funding the Debtors’ sales and marketing process with tens of millions of
dollars in new-money investments; agreeing to subordinate a portion of its recovery under the
DIP Facility to facilitate additional funding by the Plan Sponsor; agreeing to contribute a portion
of its recoveries on account of its claims to provide a distribution to unsecured creditors;
supporting the Debtors’ efforts to prosecute and confirm a plan of reorganization, as opposed to
the liquidation of its collateral; committing to further support the Plan process by signing a
joinder to the Plan Support Agreement; and consenting to receive equity in the reorganized
Debtors rather than a cash payment, which it is entitled to as a secured lender under the
Bankruptcy Code. This is particularly relevant where, as here, the proposed release was a
substantial inducement and ongoing condition for SoftBank to execute the Plan Support
Agreement and support the Plan, respectively.

         Taken alone, SoftBank is of the opinion that any one of the foregoing would be sufficient
to justify the proposed release of claims in favor of SoftBank. But when viewed together, it is
clear that SoftBank’s contributions to these cases have been substantial and they easily support a
finding that the releases are in the best interests of the Debtors’ estate and a reasonable exercise
of the Debtors’ business judgment.

        The Committee disagrees with the Debtors’ and SoftBank’s characterization of the
legal and factual issues described in this Section IV.J and, in this regard, the Committee
refers creditors to the Committee Letter.

V.     SUMMARY OF THE PLAN

     THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN SUBSTANTIVE
PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A
COMPLETE DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE
REVIEW OF THE PLAN. THE DEBTORS URGE ALL HOLDERS OF CLAIMS AND
INTERESTS TO READ AND STUDY CAREFULLY THE PLAN, A COPY OF WHICH
IS ATTACHED HERETO AS ANNEX A. IN THE EVENT OF ANY CONFLICT
BETWEEN THE DISCLOSURE STATEMENT, ON THE ONE HAND, AND THE PLAN
OR ANY OTHER OPERATIVE DOCUMENT, ON THE OTHER HAND, THE TERMS
OF THE PLAN AND/OR SUCH OTHER OPERATIVE DOCUMENT SHALL
CONTROL.




                                                 -38-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39         Main Document
                                        Pg 254 of 342



       A.      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

               1.      Unclassified Claims

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, Priority Tax Claims and DIP Claims are not classified in the Plan. Such Claims will be
satisfied as set forth in the Plan and as summarized herein.

                       a.     Administrative Expense Claims

       Except to the extent otherwise expressly provided in the Plan, other than Fee Claims,
U.S. Trustee Fee Claims, DIP Claims and Administrative Expense Claims that have already been
paid by the Debtors during the chapter 11 cases, and except to the extent that a holder of an
Allowed Administrative Expense Claim and the applicable Debtor, with the consent of the Plan
Sponsor (such consent to not be unreasonably withheld), Reorganized Debtor or Liquidating
Debtor, as applicable, agree to less favorable treatment, each holder of an Allowed
Administrative Expense Claim shall be paid 100% of the unpaid Allowed amount of such Claim
in Cash by the Reorganized Debtors from the proceeds of the DIP Facility, Cash on hand and/or
Cash funded by BidCo on the date that is the later of: (a) the Effective Date; (b) the date such
Claim would ordinarily be due and payable in accordance with ordinary business terms; or (c)
the date that is fifteen (15) days (or, if such date is not a Business Day, on the next Business
Day) after such Claim becomes an Allowed Administrative Expense Claim.

                       b.     U.S. Trustee Fees

        All fees payable pursuant to 28 U.S.C. § 1930 on or before the Effective Date, shall be
paid in full by the Debtors. Fees payable pursuant to 28 U.S.C. § 1930 after the Effective Date
shall be paid by the Liquidating Debtors until the closing of the applicable case pursuant to
section 350(a) of the Bankruptcy Code.

                       c.     Fee Claims

        Professionals asserting Fee Claims for services rendered before the Effective Date must
file and serve on the Notice Parties and such other Entities as are designated by the order
establishing procedures for compensation and reimbursement of expenses of Professionals
entered by the Bankruptcy Court an application for final allowance of such Fee Claims no later
than 60 days after the Effective Date; provided, however, that any Professional whose
compensation or reimbursement of expenses is authorized pursuant to the Ordinary Course
Professionals Order may continue to receive such compensation and reimbursement of expenses
pursuant to the Ordinary Course Professionals Order. Objections to any Fee Claim must be filed
and served on the Notice Parties and the requesting party not later than 90 days after the
Effective Date or such other period of limitation as may be established by a Bankruptcy Court’s
Order.

       Allowed Fee Claims shall be satisfied from the Professional Fee Escrow. If the amount
in the Professional Fee Escrow is insufficient to pay in full of all Allowed Fee Claims, the




                                              -39-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 255 of 342



deficiency shall be promptly funded by the Reorganized Debtors, without any further action or
order of the Bankruptcy Court.

                       d.      Priority Tax Claims

        Pursuant to section 1129(a)(9)(C) of the Bankruptcy Code, unless otherwise agreed by
the holder of a Priority Tax Claim, each holder of an Allowed Priority Tax Claim, to the extent
not previously paid, shall receive, in full and final satisfaction of its Allowed Priority Tax Claim
(a) that is due and payable on or before the Effective Date, Cash in an amount equal to the
Allowed amount of such Claim, at the option of the Liquidating Debtors and/or the Plan
Administrator, (i) on the Effective Date or (ii) in installments over a period of time not to exceed
five years after the Petition Date; and (b) that is not due and payable on or before the Effective
Date, as it becomes due in the ordinary course; provided, however, that if an Allowed Priority
Tax Claim is also a Secured Tax Claim, such Claim shall be treated as an Other Secured Claim.

                       e.      DIP Claims

        On the Effective Date, except with respect to Interim Funding DIP Claims, each holder of
an Allowed DIP Claim shall receive payment in full in cash. As part of the Settlement set forth
in the Plan and described herein, SoftBank shall contribute to BidCo its entitlement to the Cash
Distribution on account of SoftBank’s Allowed DIP Claims (approximately $91 million before
the consideration of accrued interest) in exchange for the issuance of the SoftBank Rollover
BidCo Equity.

        With respect to the Interim Funding DIP Claims, each holder of an allowed Interim
Funding DIP Claim under the DIP Facility shall have such Claims converted into BidCo Equity
Interests at the same valuation as the BidCo Equity Consideration.

               2.      Classified Claims

       The following table (i) designates the Classes of Claims and Interests for the purposes of
voting on the Plan and receiving Distributions thereunder and (ii) specifies which Classes are
(a) Impaired and Unimpaired by the Plan and (b) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code and (iii) specifies projected recoveries (if
any) of all classified Claims and Interests under the Plan. Projected recoveries are estimates
and actual recoveries may differ based on, among other things, realizable value of the
Debtors’ remaining assets and the amount of Claims that are actually Allowed.




                                                -40-
20-22437-rdd         Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                             Pg 256 of 342



Class      Designation          Voting               Treatment                  Projected           Projected
                                Status                                          Amount of           Recoveries
                                                                                  Claims
                                                                                ($USMM)

1         Secured            Impaired         On the Effective Date $1,639.27171,643.                5.925.9%
          Notes Claims                        or     as    soon      as    813
                             Entitled to      practicable thereafter,
                             Vote             except to the extent
                                              that a holder of an
                                              Allowed Secured Notes
                                              Claim,      and       the
                                              Debtors, with the
                                              consent of the Plan
                                              Sponsor, agree to a less
                                              favorable treatment,
                                              each such holder, in
                                              full      and       final
                                              satisfaction, settlement,
                                              release and discharge
                                              of     each     Allowed
                                              Secured Notes Claim,
                                              shall receive its pro
                                              rata share of the BidCo
                                              Equity Consideration
                                              for Allowed Secured
                                              Notes Claims, and that
                                              portion of the Allowed
                                              Secured Notes Claims
                                              not satisfied with the
                                              pro rata portion of the
                                              BidCo              Equity
                                              Consideration will be
                                              considered             as
                                              uncollectible accounts,
                                              and the obligations of
                                              the Debtors thereunder
                                              or in any way related
                                              thereto will be deemed
                                              extinguished         and
                                              cancelled in full.


17
     This calculation excludes amounts “rolled up” from the $1,733,121,856 of Secured Notes outstanding as of the
     Petition Date.
13
     This calculation excludes amounts “rolled up” from the $1,733,809,254 40 of Secured Notes outstanding as of
     the Petition Date.


                                                       -41-
20-22437-rdd      Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                       Pg 257 of 342



Class   Designation         Voting         Treatment             Projected       Projected
                            Status                               Amount of       Recoveries
                                                                   Claims
                                                                 ($USMM)

2       Other          Unimpaired    Except to the extent        $0.05 - $0.10    100.0%
        Secured                      that a holder of an
        Claims         Deemed to     Allowed Other Secured
                       Accept        Claim agrees to a less
                                     favorable treatment, at
                                     the option of the
                                     Debtors, with the
                                     consent of the Plan
                                     Sponsor,       or     the
                                     Reorganized Debtors,
                                     as     applicable,     in
                                     exchange for full and
                                     final       satisfaction,
                                     settlement, release and
                                     discharge of each
                                     Allowed Other Secured
                                     Claim, as applicable:
                                     (i) such holder shall
                                     receive Cash in an
                                     amount equal to the
                                     allowed amount of
                                     such Claim on the later
                                     of the Effective Date
                                     and the date that is ten
                                     (10) business days after
                                     the date such Other
                                     Secured            Claim
                                     becomes an Allowed
                                     Claim;      (ii)    such
                                     holder’s Allowed Other
                                     Secured Claim shall be
                                     Reinstated; (iii) such
                                     holder shall receive the
                                     collateral securing such
                                     Claim and payment of
                                     interest required under
                                     section 506(b) of the
                                     Bankruptcy Code; or
                                     (iv) such holder shall
                                     receive such other
                                     treatment as will render



                                             -42-
20-22437-rdd        Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                  Main Document
                                            Pg 258 of 342



Class     Designation          Voting               Treatment                 Projected           Projected
                               Status                                         Amount of           Recoveries
                                                                                Claims
                                                                              ($USMM)

                                             its Allowed        Other
                                             Secured            Claim
                                             Unimpaired.

3         Priority Non-     Unimpaired       Except to the extent                 $0.00             100.0%
          Tax Claims                         that a holder of an
                            Deemed to        allowed Priority Non-
                            Accept           Tax Claim against the
                                             Debtors agrees to a less
                                             favorable treatment of
                                             such Claim, at the
                                             option of the Debtors,
                                             with the consent of the
                                             Plan Sponsor: (i) such
                                             holder shall receive
                                             Cash in an amount
                                             equal to the allowed
                                             amount of such Priority
                                             Non-Tax Claim on the
                                             later of the Effective
                                             Date and the date that
                                             is ten (10) business
                                             days after the date such
                                             Priority       Non-Tax
                                             Claim becomes an
                                             Allowed Claim; or (ii)
                                             such other treatment
                                             consistent with the
                                             provisions of section
                                             1129(a)(9) of the
                                             Bankruptcy Code.

4         General           Impaired
                                  (i)        Except to the extent          $66.00 - $79.0014         7.6% -
          Unsecured                          that a holder of an                                      9.1%
          Claims            Entitled to      Allowed         General
                            Vote             Unsecured         Claim
                                             agrees to less favorable
                                             treatment, on or as

14
     The projected amount of claims for Class 4 is based on the Debtors’ and FTI’s review of the scheduled
     liabilities, filed proofs of claim, and the Debtors’ preliminary list of Executory Contracts and Unexpired
     Leases to be rejected as agreed to by the Plan Sponsor.


                                                      -43-
20-22437-rdd       Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                           Pg 259 of 342



Class     Designation         Voting              Treatment                Projected          Projected
                              Status                                       Amount of          Recoveries
                                                                             Claims
                                                                           ($USMM)

                                           soon as is reasonably
                                           practicable after the
                                           Effective Date, each
                                           holder thereof, in
                                           exchange for full and
                                           final satisfaction shall
                                           receive its pro rata
                                           share of the General
                                           Unsecured        Claims
                                           Settlement
                                           Distribution.      Each
                                           holder of an Allowed
                                           General      Unsecured
                                           Claim that votes to
                                           accept the Plan shall
                                           also     receive     an
                                           Avoidance        Action
                                           Release.

5        Ongoing           Impaired
                                 (i)       Except to the extent          $0.72 - $0.8215        50.3% -
         Trade Claims                      that a holder of an                                   57.8%
                           Entitled to     Allowed        Ongoing
                           Vote            Trade Claim agrees to
                                           less          favorable
                                           treatment, on or as
                                           soon as is reasonably
                                           practicable after the
                                           Effective Date, in
                                           exchange for full and
                                           final      satisfaction,
                                           settlement, release and
                                           discharge of each
                                           Allowed        Ongoing
                                           Trade Claim, each
                                           holder of a Claim in
                                           Class 5 shall receive
                                           the           following


15
     The projected amount of claims for Class 5 is based on the list of holders of Ongoing Trade Claims as
     agreed to by the Debtors and the Plan Sponsor and based on the Debtors’ and FTI’s review of the
     scheduled liabilities and filed proofs of claims related thereto.


                                                    -44-
20-22437-rdd   Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39         Main Document
                                    Pg 260 of 342



Class   Designation      Voting           Treatment            Projected      Projected
                         Status                                Amount of      Recoveries
                                                                 Claims
                                                               ($USMM)

                                    treatment:

                            (ii)    If Class 5 votes to
                                    accept the Plan, each
                                    holder of an Allowed
                                    Ongoing Trade Claim
                                    shall receive its pro
                                    rata share of both the
                                    General      Unsecured
                                    Claims       Settlement
                                    Distribution and the
                                    Ongoing Trade Claims
                                    Recovery Pool. For the
                                    avoidance of doubt, a
                                    vote in favor of the
                                    Plan shall constitute an
                                    agreement by each
                                    holder of an Allowed
                                    Ongoing Trade Claim
                                    to continue to provide
                                    goods and services to
                                    the        Reorganized
                                    Debtors on terms and
                                    conditions no less
                                    favorable           than
                                    currently provided.

                            (iii)   If Class 5 votes to
                                    reject the Plan, each
                                    holder of an Allowed
                                    Claim in Class 5 shall
                                    receive its pro rata
                                    share of the General
                                    Unsecured      Claims
                                    Settlement
                                    Distribution.

                            (iv)    Each holder of an
                                    Allowed        Ongoing
                                    Trade Claim that votes
                                    to accept the Plan shall
                                    also     receive     an


                                            -45-
20-22437-rdd    Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                     Pg 261 of 342



Class   Designation       Voting           Treatment              Projected      Projected
                          Status                                  Amount of      Recoveries
                                                                    Claims
                                                                  ($USMM)

                                    Avoidance         Action
                                    Release.

6       Intercompany   Impaired     On the Effective Date,          N/A            0% to
        Claims         OR           all         Intercompany                       100%
                       Unimpaired   Claims         will     be
                                    adjusted, continued,
                       Deemed to    settled,       Reinstated,
                       Reject OR    discharged,             or
                       Accept       eliminated,             as
                                    determined by the
                                    Debtors        with    the
                                    consent of the Plan
                                    Sponsor.          For the
                                    avoidance of doubt, the
                                    treatment provided for
                                    in this paragraph shall
                                    extend          to      all
                                    Intercompany Claims
                                    as between the Debtors
                                    (including            any
                                    Liquidating Debtor) or
                                    between any of the
                                    Debtors and any of
                                    their         non-Debtor
                                    affiliates.

7       Intercompany   Impaired     On the Effective Date,          N/A            0% to
        Interests      OR           all       Intercompany                         100%
                       Unimpaired   Interests    will     be
                                    adjusted, continued,
                       Deemed to    settled,     Reinstated,
                       Reject OR    discharged,           or
                       Accept       eliminated,           as
                                    determined by the
                                    Debtors, with the
                                    consent of the Plan
                                    Sponsor, or the Plan
                                    Administrator,        as
                                    applicable.




                                             -46-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 262 of 342



Class    Designation          Voting           Treatment               Projected         Projected
                              Status                                   Amount of         Recoveries
                                                                         Claims
                                                                       ($USMM)

8       Section          Impaired        On the Effective Date,           $0.00             0.0%
        510(b)                           all section 510(b)
        Claims           Deemed to       Claims      shall   be
                         Reject          discharged without any
                                         Distribution.

9       OneWeb           Impaired        On the Effective Date,            N/A              0.0%
        Interests                        all OneWeb Interests
                         Deemed to       shall     be    deemed
                         Reject          cancelled           and
                                         extinguished and shall
                                         be of no further force
                                         and effect, whether
                                         surrendered          for
                                         cancellation          or
                                         otherwise, and there
                                         shall be no Distribution
                                         under the Plan to the
                                         holders of OneWeb
                                         Interests on account of
                                         such Interests.


        B.     MEANS OF IMPLEMENTATION

               1.      Deemed Consolidation

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. Solely for purposes of voting on, and receiving Distributions under, the Plan, the
Estates are deemed to be substantively consolidated, i.e., (a) all assets and liabilities of the
Debtors are deemed to be assets and liabilities, respectively, of a single Estate; (b) all guarantees
by one Debtor of the obligations of any other Debtor are deemed eliminated, (iii) any joint or
several liability of any of the Debtors are deemed to be one obligation of the Debtors; and (d)
Proofs of Claim filed against multiple Debtors are deemed to be one Claim against a single
Estate. This deemed consolidation will not affect (x) the legal and corporate structures of the
Debtors; (y) the rights of the holders of Allowed Claims to receive Distributions from any
insurance policies or proceeds of such policies; (z) any Liens granted or arising at any time prior
to the Effective Date or the priority of those Liens; or (iv) the rights of the Debtors to contest
alleged setoff or recoupment rights on the grounds of lack of mutuality under section 553 of the
Bankruptcy Code and other applicable law.



                                                 -47-
20-22437-rdd             Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39                    Main Document
                                               Pg 263 of 342



        This deemed consolidation is appropriate and justified under the circumstances of these
chapter 11 cases because it (i) causes no harm to the Debtors’ creditors because (a) the DIP
Claims may be asserted against each Debtor, (b) the holders of Secured Notes Claims have
Secured Claims against the majority of the Debtors, and (c) the DIP Claims and Secured Notes
Claims exceed the value of the assets of each Debtor, and (ii) avoids the costs of allocating
consideration and litigation-related costs among the Debtors’ Estates, thereby avoiding diluting
creditor recoveries as a result of increased professional fees, particularly given there has been no
allocation of the consideration to be provided by BidCo amongst the various Debtors and their
assets. Indeed, the Liquidation Analysis demonstrates that, in a liquidation, even the DIP Claims
would be massively undersecured, and no junior creditor would be entitled to any recovery.
Therefore, all Distributions on account of Claims other than the DIP Claims are carved out from
the collateral of the DIP Lenders, and in the absence of such carve-out and the deemed
consolidation of the Debtors’ Estates, such Claims would receive no recovery.

                    2.       Comprehensive Settlement

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in
consideration of the Distributions and other benefits provided under the Plan, the provisions of
the Plan, including the releases set forth in Section XI.E of the Plan, shall constitute a good-faith
compromise and settlement of all Claims, Interests, disputes and controversies relating to the
rights of holders of Claims and Interests, including with respect to the claims asserted in the
Standing Motion in exchange for, among other things, the Additional SoftBank Consideration
and the reduction of BidCo Equity Consideration to be distributed to the holders of Senior
Secured Claims which is facilitating the cash funding of the General Unsecured Claims
Settlement Distribution (the “Settlement”).

       The Debtors believe that the Settlement will comply with the requirements that courts in
the Second Circuit demand in determining whether a settlement is within the range of
reasonableness.1816 First, the Debtors are of the opinion that the possibility of success of the
Committee’s Challenge is extremely low for the reasons set forth in sectionSection IV.J.

       Second, the Debtors believe that the likelihood of complex and protracted litigation and
the expense and delay associated with litigation will weigh in favor of the Settlement. The
Debtors believe that, even if the Committee were successful in pursuing its claims against the




1816
       In re NII Holdings, 536 B.R. 61, 100 (Bankr. S.D.N.Y. 2015) (“When courts in this Circuit consider whether a
       settlement is within the range of reasonableness, they apply the following factors:
       (1) the balance between the litigation's possibility of success and the settlement's future benefits;
       (2) the likelihood of complex and protracted litigation, with its attendant expense, inconvenience, and delay;
       (3) the paramount interests of creditors;
       (4) whether other parties in interest support the settlement;
       (5) the nature and breadth of releases to be obtained by officers and directors;
       (6) the competency and experience of counsel supporting, and the experience and knowledge of the bankruptcy
            court judge reviewing, the settlement; and
       (7) the extent to which the settlement is the product of arm's-length bargaining.”)
       (citing, In re Iridium Operating LLC, 478 F.3d 452, 462 (2d Cir. 2007)).


                                                          -48-
20-22437-rdd         Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 264 of 342



Prepetition Secured Parties, any benefit to the Estates would almost certainly be drastically offset
by the expense of pursuing protracted litigation.

        Third, the paramount interest of creditors is to achieve confirmation of the Plan which
offers the Debtors a chance to survive as a going concern, preserving employees’ jobs and
maintaining prepetition vendor relationships (not to mention hundreds of millions of dollars of
cure payments made and hundreds of contracts assumed).

        Fourth, the Debtors, the Plan Sponsor, and SoftBank, support the Settlement as an
efficient means to achieve the Debtors’ successful reorganization.

       Fifth, the Debtors believe that the releases to be obtained by the Officers and Directors
are similar to those in other large, complex, chapter 11 cases and as detailed herein and will be
demonstrated at the Confirmation Hearing are justified and appropriate under the facts of these
cases.

        The Debtors believe the sixth Iridium factor is neutral.

       The Debtors believe the last Iridium factor will weigh heavily in favor of the Settlement
because the Settlement was the result of arm’s length bargaining among the Debtors, the Plan
Sponsor, and SoftBank. None of the Prepetition Secured Parties or DIP Secured Parties
independently controls the Debtors or the Debtors’ management.

       Thus, the Debtors believe, in their business judgment, that the Settlement is reasonable
and in the best interests of the Debtors’ Estates and will maximize and preserve the going-
concern value of the Debtors for all parties in interest. Based on the foregoing, the Debtors
believe that they will be able to demonstrate at the Confirmation Hearing that the Settlement is
far above the lowest possible point of reasonableness.

        The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as
of the Effective Date, of such compromise and settlement and the Bankruptcy Court’s
determination that such compromise and settlement is in the best interests of the Debtors, their
Estates, their creditors, and all other parties in interest, and is fair, equitable and within the range
of reasonableness. If Confirmation of the Plan and/or the Effective Date doesdo not occur, the
settlements set forth in the Plan shall be deemed to have been withdrawn without prejudice to the
respective positions of the parties.

        Subject to Section VII, all Distributions Made to Holders of Allowed Claims and
Interests in any Class are Intended to be and Shallshall be Final.

                3.      Sources of Consideration for Plan Distributions

        Prior to the Effective Date, the Plan Sponsor will be capitalized with cash and
commitments sufficient to satisfy the Additional Cash Plan Funding. The Reorganized Debtors
shall fund Distributions under the Plan from the proceeds of the (i) DIP Facility including the
Interim Funding, (ii) Cash Consideration, (iii) Additional Cash Plan Funding and Cash funded by
BidCo to fund (iv) the Ongoing Trade Claims Recovery Pool and (v) as the result of the



                                                  -49-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 265 of 342



Settlement to fund the General Unsecured Claims Settlement Distribution, and (vi) BidCo Equity
Consideration.

                       a.     Cash Consideration

        On the Effective Date, the Plan Sponsor shall pay the Cash Consideration (less the
amount of the Deposit) to the Debtors by wire transfer of immediately available funds to an
account or accounts designated in writing by the Debtors before the Effective Date. The Cash
Consideration shall be used to pay Allowed DIP Claims (other than the Interim Funding DIP
Claims, as set forth above), but subject to the Settlement, as well as other claims to be satisfied
in cash hereunder.

                       b.     Additional Cash Plan Funding

       On and following the Effective Date, the Plan Sponsor will provide the Reorganized
Debtors with the Additional Cash Plan Funding to fund, as and when due: (i) all Allowed Cure
Claims; (ii) all Allowed Administrative Expense Claims, including the Wind-Down Reserve (but
excluding Allowed Cure Claims), all Allowed Priority Tax Claims, all Allowed Other Secured
Claims required to receive cash payment, and all Allowed Priority Non-Tax Claims required to
receive Cash payment, up to an aggregate maximum of $25.9 million (it being agreed that such
aggregate maximum excludes any amounts used to satisfy Allowed Administrative Expense
Claims that are paid with the Cash Consideration or the Interim Funding) or such greater amount
as the Plan Sponsor agrees in its sole discretion; and (iii) the Reorganized Debtors’ business
going forward.

                       c.     Ongoing Trade Claims Recovery Pool

       On the Effective Date, provided that Class 5 votes to accept the Plan, Cash in the amount
of up to $350,000 shall be funded by BidCo by wire transfer in immediately available funds to an
account or accounts designated in writing by the Debtors before the Effective Date to fund the
Ongoing Trade Claims Recovery Pool. For the avoidance of doubt, the Ongoing Trade Claims
Recovery Pool shall be funded from the Additional SoftBank Consideration and shall not be
included in the calculation of, or subject to the Effective Date Cash Funding Cap.

                       d.     General Unsecured Claims Settlement Distribution

        On the Effective Date, cash in the amount of $6.1 million shall be funded by BidCo by
wire transfer in immediately available funds to an account or accounts designated in writing by
the Debtors before the Effective Date to fund the General Unsecured Claims Settlement
Distribution. For the avoidance of doubt, the General Unsecured Claims Settlement Distribution
shall be funded from the Additional SoftBank Consideration and shall not be included in the
calculation of, or subject to, the Effective Date Cash Funding Cap.




                                                -50-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 266 of 342



               4.      3. Issuance of the New Equity Interests, BidCo Equity Interests, and
                       SoftBank Rollover BidCo Equity

        On the Effective Date, the Plan Sponsor shall be issued one hundred percent (100%) of
the New Equity Interests in Reorganized Company Party in exchange for the consideration set
forth herein and, SoftBank shall receive the SoftBank Rollover BidCo Equity, each holder of
an Allowed Secured Notes Claim shall receive its pro rata share of the BidCo Equity
Consideration, and that portion of the Allowed Secured Notes Claims not satisfied with the pro
rata portion of the BidCo Equity Consideration will be considered as uncollectible accounts, and
the obligations of the Debtors thereunder or in any way related thereto will be deemed
extinguished and cancelled in full.

                       a.     New Equity Interests

        The offering, issuance, and distribution of the New Equity Interests shall be exempt from,
among other things, the registration requirements of section 5 of the Securities Act and any other
applicable law requiring registration prior to the offering, issuance, distribution, or sale of
Securities pursuant to section 4(a)(2) of the Securities Act; provided that, to the extent that such
exemption is unavailable, such securities shall be issued pursuant to any other available
exemptions from registration. With respect to the New Equity Interests issued pursuant to
section 4(a)(2) of the Securities Act and Regulation D thereunder, such securities will be
considered “restricted securities” and may not be transferred except pursuant to an effective
registration statement or under an available exemption from the registration requirements of the
Securities Act. The ability to transfer New Equity Interests will be subject to any restrictions in
any applicable securities laws as well as any restrictions in the Reorganized Debtors’ Amended
Organizational Documents or BidCo’s organizational documents, as applicable. On the
Effective Date, the New Equity Interests shall not be registered under the Securities Act, and
shall not be listed for public trading on any securities exchange.

                       b.     BidCo Equity Interests

        Except as otherwise set forth herein, the offering, issuance, and distribution of the BidCo
Equity Interests (including the SoftBank Rollover BidCo Equity) shall be exempt from, among
other things, the registration requirements of section 5 of the Securities Act and any other
applicable law requiring registration prior to the offering, issuance, distribution, or sale of
Securities in accordance with section 1145 of the Bankruptcy Code, provided that, to the extent
that such exemption is unavailable, such securities shall be issued pursuant to any other available
exemptions from registration. In addition, under section 1145 of the Bankruptcy Code, such
BidCo Equity Consideration and the SoftBank Rollover BidCo Equity will be freely tradable in
the U.S. by the recipients thereof, subject to the provisions of (i) section 1145(b)(1) of the
Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the Securities
Act, (ii) compliance with applicable securities laws and any rules and regulations of the
Securities and Exchange Commission, if any, applicable at the time of any future transfer of such
securities or instruments, and (iii) any restrictions in the Reorganized Debtors’ Amended
Organizational Documents or BidCo’s organizational documents, as applicable. On the Effective
Date, the BidCo Equity Consideration and the SoftBank Rollover BidCo Equity shall not be
registered under the Securities Act, and shall not be listed for public trading on any securities


                                                -51-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 267 of 342



exchange.

                       c.     Authorization, Issuance and Delivery of the New Equity
                              Interests

        On the Effective Date, the Reorganized Company Party shall be authorized to issue or
cause to be issued and deliver to the Plan Sponsor the New Equity Interests in accordance with
the terms of the Amended Organizational Documents without the need for any further corporate
or shareholder action subject to Section IV.V of the Plan. The New Equity Interests, when so
issued and delivered, shall be duly authorized, validly issued, fully paid and non-assessable.

                       d.     Authorization, Issuance and Delivery of the BidCo Equity
                              Consideration to Class 1

        On the Effective Date, BidCo shall issue or cause to be issued and distributed to holders
of Allowed Secured Notes Claims pursuant to Section II.C.1 of the Plan the BidCo Equity
Consideration without the need for any further corporate or shareholder action provided that
BidCo shall take such actions as may be required under English Law to effectuate the foregoing.
The BidCo Equity Consideration when so issued and distributed, shall be duly authorized,
validly issued, fully paid and non-assessable. Effective as of the Effective Date, such holders
will be subject to transfer restrictions and, in addition to statutory protections for minority
shareholders, will receive preemptive rights to purchase ordinary shares of BidCo on a pro rata
basis in respect of their existing ownership percentage in BidCo in the event of a new issuance of
ordinary shares by BidCo, subject to customary exceptions.

               5.      4. UK Restructuring Steps Under UK Corporate Law

       The Transaction contemplated in the Plan shall be effectuated through certain steps and
provisions set forth on Exhibit 1 thereto, or such other steps and provisions as may be agreed to
by the Debtors and the Plan Sponsor.

       The Debtors and the Plan Sponsor agree that OWC will be the Reorganized Company
Party and will implement the transactions contemplated by the Plan. The Debtors and the Plan
Sponsor do not believe that it is legally necessary to implement an English Law Scheme of
Arrangement (or any alternative process) to effect the acquisition of the New Equity Interests in
compliance with English Law.

               6.      5. The Liquidating Debtors

        In order to transfer the Excluded Assets to the Liquidating Debtors, the Debtors may
implement one or more restructuring steps to effectuate such transfers, which such steps shall be
set for on a schedule to be filed with the Plan Supplement. The Liquidating Debtors shall
continue to exist after the Effective Date for the purposes of making Distributions to the holders
of Allowed Claims under the Plan other than those Claims to be satisfied by the Reorganized
Debtors and to take any other steps in furtherance thereof or as may be reasonably necessary or
appropriate to wind-down the affairs of their Estates. The principal purposes of the Liquidating
Debtors shall be to liquidate, collect and maximize the Cash value of the Excluded Assets, which
shall be transferred to the Liquidating Debtors on, or immediately prior to, the Effective Date and


                                                -52-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 268 of 342



make Distributions in respect of Allowed Claims in accordance with the terms of the Plan. The
Plan Administrator shall be authorized to merge, consolidate, or dissolve any of the Liquidating
Debtors, as the Plan Administrator deems appropriate.

               7.      6. Plan Administrator

    On the Effective Date, the Plan Administrator shall be appointed for the purpose of (and shall
have the authority to) (i) conducting the wind down of the Estates of the Liquidating Debtors as
expeditiously as reasonably possible; (ii) administering the liquidation or dissolution of the
Liquidating Debtors and their Estates; (iii) selling, abandoning (or effecting a similar disposition)
of the Excluded Assets; (iv) making Distributions to the holders of Allowed Claims in
accordance with the Plan; (v) except to the extent Claims have been previously Allowed,
conducting the Claims reconciliation process, including objecting to, seeking to subordinate,
compromise or settle any and all Disputed Claims; (vi) retaining professionals to assist in
performing its duties under the Plan; (vii) maintaining the books, records, and accounts of the
Liquidating Debtors; (viii) completing and filing, as necessary, all final or otherwise required
federal, state, local and foreign tax returns for the Liquidating Debtors; (ix) creating and funding
reserves provided for in the Plan; (x) investing Cash of the Liquidating Debtors, including any
Cash proceeds realized from the liquidation of the Excluded Assets, if any; (xi) obtaining
commercially reasonable liability, errors and omissions, directors and officers, or other insurance
coverage as the Plan Administrator deems necessary and appropriate; (xii) performing other
duties and functions that are consistent with the implementation of the Plan; (xiii) filing the final
monthly operating report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports, and (xiv) cooperating with the Plan Sponsor in any way necessary to fully
effectuate the purposes and the benefit of the bargain of the Transaction; provided, that the
Liquidating Debtors and the Plan Administrator shall not take any actions that could reasonably
be expected to prejudice or would otherwise be adverse to the Reorganized Debtors.

        The Plan Administrator shall act for the Liquidating Debtors in the same capacity and
shall have the same rights and powers as are applicable to a manager, managing member, board
of managers, board of directors or equivalent governing body, as applicable, and to officers,
subject to the provisions hereof (and all certificates of formation and limited liability company
agreements and certificates of incorporation or by-laws, or equivalent governing documents and
all other related documents (including membership agreements, stockholders agreements or other
similar instruments), as applicable, are deemed amended pursuant to the Plan to permit and
authorize the same).

        From and after the Effective Date, the Plan Administrator shall be the sole representative
of and shall act for the Liquidating Debtors with the authority set forth in Section IV of the Plan
and in the Plan Supplement.

       Each of the Liquidating Debtors shall indemnify and hold harmless the Plan
Administrator solely in its capacity as such for any losses incurred in such capacity, except to the
extent such losses were the result of the Plan Administrator’s fraud, gross negligence, willful
misconduct, or criminal conduct.




                                                 -53-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 269 of 342



               8.      7. The Wind Down

       On and after the Effective Date, the Plan Sponsor shall fund the Wind-Down Reserve and
the Liquidating Debtors and the Plan Administrator shall be authorized to implement the Plan
and shall have the power and authority to take any reasonable action necessary to implement the
wind down of the Estates.

        The activities and operations of the Liquidating Debtors and the Plan Administrator
areshall be funded from the Wind-Down Reserve. Upon the closing of the chapter 11 cases and
the dissolution of the Liquidating Debtors, or such earlier time as it appears, in the reasonable
view of the Plan Administrator, that the Wind-Down Reserve is overfunded, the Plan
Administrator shall make any excess funds available for Distribution and funding of the other
reserves and Distributions in accordance with the terms of the Plan.

        Except to the extent necessary to (i) complete the wind down and (ii) effectuate the
Transaction, from and after the Effective Date, the Liquidating Debtors (a) for all purposes, shall
be deemed to have withdrawn the Debtors’ business operations from any state or province or
foreign jurisdiction in which the Debtors were previously conducting, or are registered or
licensed to conduct, their business operations, and shall not be required to file any document, pay
any sum, or take any other action to effectuate such withdrawal and (b) shall not be liable in any
manner to any taxing authority for franchise, business, license, or similar taxes accruing on or
after the Effective Date; provided, that the above shall not preclude the Plan Administrator from
taking any action necessary to dissolve or wind down any Liquidating Debtor pursuant to any
dissolution, winding down or similar proceeding.

               9.      8. Continued Corporate Existence

       Except as otherwise provided in the Plan, the Reorganized Debtors and the Liquidating
Debtors shall continue to exist after the Effective Date. At any time after the Effective Date,
each Liquidating Debtor or Reorganized Debtor, in its sole and exclusive discretion, may take
such action as permitted by applicable law as such Liquidating Debtor or Reorganized Debtor
may determine is reasonable and appropriate, including, but not limited to, (i) merging into
another Liquidating Debtor or Reorganized Debtor, or a Subsidiary and/or Affiliate of the
foregoing, (ii) causing a Liquidating Debtor or Reorganized Debtor to be liquidated and/or
dissolved, (iii) changing the legal name of a Liquidating Debtor or Reorganized Debtor, (iv)
converting a Liquidating Debtor or Reorganized Debtor to another form of Entity, including from
a corporation to a limited liability company, or (v) closing a Liquidating Debtor’s or Reorganized
Debtor’s chapter 11 case.

               10.     9. Disbursing Agent

        The Debtors, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall
designate one or more Entities (which may be the Reorganized Debtors in the case of the
Reorganized Debtors and the Plan Administrator in the case of the Liquidating Debtors) to
effectuate the Distributions. If the Disbursing Agent is a third party, the reasonable fees and
expenses of the Disbursing Agent shall be paid by the Liquidating Debtors upon submission of
statements. The payment of the reasonable fees and expenses of the Disbursing Agent shall be


                                                -54-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 270 of 342



made in the ordinary course of business without any further notice to any party or action, order or
approval of the Bankruptcy Court. The Disbursing Agent shall be deemed exculpated and
indemnified by the Estates, except for fraud, ultra vires actions, willful misconduct, criminal
conduct or gross negligence.

               11.     10. New Board of Directors/Officers

        The member(s) of the boards of directors and the officers of the Reorganized Debtors and
the Liquidating Debtors will be identified in the Plan Supplement. The Reorganized Debtors and
the Liquidating Debtors shall purchase an insurance policy (including any “tail policy”) for the
Reorganized Debtors’ and Liquidating Debtors’, as applicable, directors and officers that is
acceptable to the Reorganized Debtors and Liquidating Debtors, as applicable. For the
avoidance of doubt, the Debtors may extend any or obtain new insurance policies during the
chapter 11 cases without the consent of the Plan Sponsor for any period prior to consummation
of the Transaction subject to Section IV.UT of the Plan.

        On the Effective Date, all persons acting as directors, and/or managers of the Debtors that
have not been selected as directors and/or managers of the Reorganized Debtors or the
Liquidating Debtors shall be deemed to have resigned, their appointments shall be rescinded for
all purposes, and their respective authority and power, in their capacities as such, shall be
revoked, in each case, without the necessity of taking any further action in connection therewith
subject to Section IV.UT of the Plan.

               12.     11. Survival of Indemnification Obligations and D&O Liability
                       Insurance

                       a.      Indemnification Obligations.

       Each of the Debtors’ Indemnification Obligations shall be reinstated, assumed by the
Reorganized Debtors and the Liquidating Debtors, as applicable, and remain intact and
irrevocable, as applicable, and shall not be discharged, impaired, or otherwise affected by the
Plan.

                       b.      D&O Liability Insurance Policies.

        The D&O Liability Insurance Policies shall be deemed executory contracts and shall be
assumed by the Reorganized Debtors or Liquidating Debtors, as applicable, on behalf of the
applicable DebtorDebtors effective as of the Effective Date, pursuant to sections 365 and 1123
of the Bankruptcy Code. For the avoidance of doubt, coverage for defense and indemnity under
the D&O Liability Insurance Policies shall remain available to all individuals within the
definition of “Insured” in the D&O Liability Insurance Policies. In addition, after the Effective
Date, all officers, directors, agents or employees of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of the D&O Liability
Insurance Policies (including any “tail” policy) in effect or purchased as of the Effective Date for
the full term of such policy regardless of whether such officers, directors, agents and/or
employees remain in such positions after the Effective Date, in each case, to the extent such
individuals are covered under the D&O Liability Insurance Policies.



                                                -55-
20-22437-rdd        Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39     Main Document
                                             Pg 271 of 342



                 13.      12. Employee Matters

        On the Effective Date, all Current Employees of the Reorganized Debtors shall be
retained by the Reorganized Debtors in their existing positions. Each Benefit Plan and all other
wage, compensation, employee expense reimbursement, and other benefit obligations solely
relating to the Current Employees, including without limitation the KEIP and the KERP, shall be
assumed by the Reorganized Debtors as of the Effective Date.

       For the avoidance of doubt, (i) neither the KEIP nor the KERP shall be included on the
Rejection Schedule and such programs will be honored in accordance with their terms, (ii) the
consummation of the Plan will constitute a “Sale” under the KEIP and [(iii) any Benefit Plan
included on the Rejection Schedule shall be replaced by a comparable Benefit Plan that is no less
favorable to Current Employees for the benefit of the Current Employees.]19

       The 2018 Equity Incentive Plan of OneWeb Global Limited, the Consultant Equity
Incentive Plan of OneWeb Global Limited and any predecessor plans thereof (the
“Liquidated Incentive Plans”) shall remain with the Liquidating Debtors and wound down
by the Plan Administrator. Notwithstanding the foregoing, none of the Plan Sponsor, the
Debtors, the Reorganized Debtors or their subsidiaries shall have any payment or other
obligation under the Liquidated Incentive Plans or any Awards (as defined therein) issued
thereunder upon or following the Effective Date, regardless of whether such Awards or
obligations were issued or incurred before or after the Petition Date.

       Without limiting or altering any employee’s rights under the KEIP or the KERP,
execution of the Plan Support Agreement and consummation of the Plan will not constitute a
change of control under any other Benefit Plan.

                 14.      13. Retained Causes of Action

        Except as provided in the Plan or in any contract, instrument, release or other agreement
entered into or delivered in connection with the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, the Reorganized Debtors will retain the Retained Causes of Action that the
Debtors or the Estates may hold against any Entity to the extent included on the Retained Causes
of Action Schedule and not released under Section XI.E of the Plan or otherwise, including the
Avoidance Actions (and all Privilege Rights with respect to any of the foregoing) and may, in
their sole discretion, pursue or settle any such Retained Causes of Action, as appropriate, in
accordance with the best interests of the Estates. The Retained Causes of Action Schedule shall
be included as part of the Plan Supplement. The inclusion or failure to include any Retained
Cause of Action in the Plan Supplement shall not be deemed an admission, denial or waiver of
any claims, rights or causes of action that any Reorganized Debtor may hold against any Entity.
For the avoidance of doubt, the Retained Causes of Action shall not include any claims or
Causes of Action against any Released Party or any Avoidance Action released against a holder
of a General Unsecured Claim or Ongoing Trade Claim in accordance with Sections II.C.4.b. and
II.C.5.b. of the Plan.



19
     [NTD   subject to certain continuing discussion]


                                                        -56-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 272 of 342



        On the Effective Date, the applicable Reorganized Debtors shall be deemed to be
substituted as a party to any Retained Causes of Action litigation in which any Debtor is a party,
including (but not limited to): (a) pending contested matters or adversary proceedings in the
Bankruptcy Court; (b) any appeals of orders of the Bankruptcy Court; and (c) any state court or
federal or state administrative proceedings pending as of the Petition Date. The Reorganized
Debtors are not required to, but may, take such steps as are appropriate to provide notice of such
substitution.

               15.    14. Release of Avoidance Actions for Holders of Claims in Class 4 and
                      Class 5

       On the Effective Date, in connection with the Distributions to the holders of Allowed
General Unsecured Claims in accordance with Section II.C of the Plan, the Debtors and the
Reorganized Debtors shall grant each holder of an Allowed General Unsecured Claim that
individually votes to accept the Plan an Avoidance Action Release. Also, on the Effective Date,
in connection with the Distributions to holders of Allowed Ongoing Trade Claims in accordance
with Section II.C of the Plan, the Debtors and the Reorganized Debtors shall grant each holder of
an Allowed Ongoing Trade Claim that individually votes to accept the Plan an Avoidance Action
Release.




                                               -57-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 273 of 342



               16.     15. Cancellation and Surrender of Notes, Instruments, Securities and
                       Other Documentation

        Except as provided in the Plan Support Agreement, or as otherwise agreed to by the Plan
Sponsor, on the Effective Date, all notes, instruments, certificates and other documents
evidencing Claims or Interests, that are not otherwise being satisfied by the pro rata portion of
the BidCo Equity Consideration (collectively, the “Cancelled Agreements”) shall be deemed
cancelled and will be considered uncollectible accounts and surrendered and of no further force
and effect against the Debtors, the Reorganized Debtors or the Liquidating Debtors without any
further action on the part of the Debtors, the Reorganized Debtors or the Liquidating Debtors;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the DIP Agent
and Secured Notes Agent, as applicable, to (1) make distributions on account of such Claims or
Interests; (2) maintain, enforce, and exercise their respective Liens, including their charging
liens, as applicable, under the terms of the applicable agreements, or any related or ancillary
document, instrument, agreement, or principle of law, against any money or property distributed
or allocable on account of such Claims under the Plan, as applicable; (3) seek compensation and
reimbursement for any reasonable and documented fees and expenses incurred in connection
with the implementation of the Plan; (4) maintain, enforce, and exercise any right or obligation
to compensation, indemnification, expense reimbursement, or contribution, or any other claim or
entitlement that the DIP Agent or Secured Notes Agent may have under the applicable credit
agreement, note purchase agreement, collateral agreements, or pledge agreements, in each case
solely as against the holders of the Secured Notes Claims; (5) appear and raise issues in these
chapter 11 cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to the Plan or the applicable credit agreements or note
purchase agreement; and (6) execute documents pursuant to Section IV.V of the Plan; provided,
further, that the DIP Agent and Secured Notes Agent may take such further action to implement
the terms of the Plan as agreed to with the Debtors or the Reorganized Debtors, as applicable, to
the extent not inconsistent with the Confirmation Order or the Plan. Nothing herein shall affect
the discharge pursuant to section 1141 of the Bankruptcy Code.

               17.     16. Release of Liens

       Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan or the Transaction,
on the Effective Date, subject to receipt of the applicable Distributions, if applicable, all Liens on
the property of any Estate, including the New Equity Interests, shall be fully released and
discharged.

       The DIP Agent and the Secured Notes Agent shall execute and deliver all documents
reasonably requested by the Debtors or the Reorganized Debtors to evidence the release of such
Liens and shall authorize the Reorganized Debtors and their designees to file UCC-3 termination
statements and other release documentation (to the extent applicable) with respect thereto, at the
sole expense of the Debtors or the Reorganized Debtors, as applicable.




                                                 -58-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 274 of 342



               18.     17. Effectuating Documents; Further Transactions

        Following entry of the Confirmation Order, but subject to the occurrence of the Effective
Date, and subject to any consents of the Plan Sponsor required by the Plan Support Agreement,
in each instance, the Reorganized Debtors and the Liquidating Debtors, as applicable, shall take
all actions as may be necessary or appropriate to effectuate, implement and evidence the terms
and conditions of the Plan and the restructuring Transaction contemplated thereby, including (i)
implementation of any restructuring steps; (ii) the execution and delivery of appropriate
agreements or other documents of merger, amalgamation, consolidation, restructuring,
conversion, disposition, transfer, arrangement, continuance, dissolution, cancellation, sale,
purchase, or liquidation containing terms that are consistent with the terms of the Plan, (iii) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan, (iv) the filing of appropriate certificates or articles of incorporation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance,
cancellation, or dissolution pursuant to applicable foreign, state, territorial, provincial, or federal
law, (v) the issuance of securities in accordance with the Plan, all of which shall be authorized
and approved in all respects in each case without further action being required under applicable
law, regulation, order, or rule, (vi) taking necessary steps under applicable local law to effectuate
the Plan; and (vii) all other actions that the applicable entities determine to be necessary or
appropriate, including making filings or recordings that may be required by applicable law or the
Plan Support Agreement and the term sheet annexed thereto, as applicable, to fully effectuate the
Plan.

        Each officer, legal representative or member of the board of directors of the Debtors is
authorized to issue, execute, deliver, file, or record such contracts, securities, instruments,
releases, indentures, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
of the Plan, the Plan Documents and the securities issued pursuant to the Plan in the name of and
on behalf of the Debtors, all of which shall be authorized and approved in all respects, in each
case, without the need for any approvals, authorization, consents, or any further action required
under applicable law, regulation, order, or rule (including any action by the directors or managers
of the Debtors) except for those expressly required pursuant to the Plan.

         Each officer, legal representative or member of the board of directors of the Reorganized
Debtors is authorized to issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, indentures, and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Plan, the Plan Documents and the securities issued pursuant to the Plan in the
name of and on behalf of the Reorganized Debtors, all of which shall be authorized and approved
in all respects, in each case, without the need for any approvals, authorization, consents, or any
further action required under applicable law, regulation, order, or rule (including any action by
the directors or managers of the Debtors) except for those expressly required pursuant to the
Plan.

       Unless otherwise agreed to by the Debtors and the Plan Sponsor, all matters provided for
in the Plan involving the corporate structure of the Debtors or Reorganized Debtors, or any


                                                  -59-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 275 of 342



corporate, limited liability company, or related action required by the Debtors or Reorganized
Debtors in connection with the Plan shall be deemed to have occurred and shall be in effect as of
the Effective Date, without any requirement of further action by the stockholders, members,
board, or directors of the Debtors or Reorganized Debtors, and with like effect as though such
action had been taken unanimously by the stockholders, members, directors, or officers, as
applicable, of the Debtors or Reorganized Debtors.

               19.     18. Amended Organizational Documents

        On or prior to the Effective Date, the Amended Organizational Documents shall be filed
with the applicable Secretaries of State and/or other applicable authorities in their respective
states, provinces, or countries of incorporation or organization, if necessary under the corporate
laws of the respective states, provinces, or countries of incorporation or organization, in
accordance with such corporate laws as determined by the Plan Sponsor and the Reorganized
Debtors. The Amended Organizational Documents shall prohibit the issuance of non-voting
equity securities to the extent required by section 1123(a)(6) of the Bankruptcy Code. After the
Effective Date, the Amended Organizational Documents may be amended and restated as
permitted by such documents and the laws of their respective states, provinces, or countries of
incorporation or organization.

               20.     19. FCC Communications Consents

        No provision in the Plan relieves any Debtor or Reorganized Debtor from its obligation to
comply with the Communications Act of 1934, as amended, and the rules, regulations and orders
promulgated thereunder by the FCC. No transfer of any FCC license or authorization held by
any Debtor or transfer of control of an FCC licensee controlled by any Debtor shall take place
prior to the issuance of any necessary FCC Communications Consents for such transfer pursuant
to applicable FCC regulations. The FCC’s rights and powers to take any action pursuant to its
regulatory authority, including but not limited to imposing any regulatory conditions on any of
the above-described transfers, are fully preserved, and nothing herein shall proscribe or constrain
the FCC’s exercise of such power or authority to the extent provided by law.

               21.     20. Section 1146 Exemptions from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any stamp tax or other similar tax or governmental assessment in
the United States, and the Confirmation Order shall direct and be deemed to direct the
appropriate state or local governmental officials or agents to forego the collection of any such tax
or governmental assessment and to accept for filing and recordation instruments or other
documents pursuant to such transfers of property without the payment of any such tax or
governmental assessment. Such exemption specifically applies, without limitation, to (1) the
creation of any mortgage, deed of trust, lien or other security interest; (2) the making or
assignment of any lease or sublease; (3) any restructuring transaction authorized by the Plan; or
(4) the making or delivery of any deed or other instrument of transfer under, in furtherance of or
in connection with the Plan, including, without limitation: (a) any merger agreements; (b)
agreements of consolidation, restructuring, disposition, liquidation or dissolution; (c) deeds; or



                                                -60-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 276 of 342



(d) assignments executed in connection with any transaction occurring under or pursuant to the
Plan.

       C.      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
               LEASES

               1.      Assumption and Rejection of Executory Contracts and Unexpired
                       Leases

       As of and subject to the occurrence of the Effective Date, all Executory Contracts and
Unexpired Leases shall be deemed assumed, together with all amendments agreed to in writing
between the Debtor(s) and the Executory Contract or Unexpired Lease counterparty and
consented to by the Plan Sponsor, unless such Executory Contract or Unexpired Lease (i) was
previously assumed or rejected pursuant to a Final Order of the Bankruptcy Court, (ii) is listed on
the Rejection Schedule or (iii) is the subject of a separate motion filed by a Debtor for
assumption or rejection under section 365 of the Bankruptcy Code.

        The Debtors or Reorganized Debtors, as applicable, shall use reasonable best efforts to
obtain all necessary consents required under any Executory Contract or Unexpired Lease
assumed as a result of the Transactions. To the extent the foregoing shall require any action by
any Debtor that would, or would continue to, have an adverse effect on the business of the Plan
Sponsor or any of its Affiliates after the Effective Date, such action shall require the prior written
consent of the Plan Sponsor. These reasonable best efforts shall not require any material payment
or other material consideration from the Debtors or the Plan Sponsor (other than the payment of
the Cure Claims, by the Plan Sponsor), or any action reasonably likely to delay the Debtors’
emergence from these chapter 11 cases, and any such consent shall contain terms and conditions
reasonably acceptable to the Debtors and the Plan Sponsor. For the avoidance of doubt, the term
“material” in the prior sentence means material in the context of the relevant assumed Executory
Contract or Unexpired Lease.

               2.      Claims Based on Rejection of Executory Contracts and Unexpired
                       Leases

        Unless otherwise provided by a Bankruptcy Court’s order, any Proof of Claim arising
from the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan must be
filed with the Claims and Noticing Agent by the Rejection Damages Deadline. Any Claim
arising from the rejection of an Executory Contract or Unexpired Lease, with respect to which no
Proof of Claim is timely filed, shall be automatically disallowed without the need for any
objection or further notice to or action or approval of the Bankruptcy Court.

    Holders of Claims arising from the rejection of Executory Contracts or Unexpired Leases
with respect to which no Proof of Claim is timely filed shall be forever barred, estopped, and
enjoined from asserting a Claim based on such rejection against the Debtors, the Reorganized
Debtors, the Liquidating Debtors, the Estates or the respective property of any of the foregoing,
and such Claims shall be discharged as of the Effective Date unless otherwise expressly allowed
by the Bankruptcy Court.




                                                 -61-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 277 of 342



         The Liquidating Debtors and/or Plan Administrator shall have the right to object to,
settle, compromise or otherwise resolve any Claim asserted on account of a rejected Executory
Contract or Unexpired Lease.

       Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall not constitute a termination of the obligations owed by the counterparty to the
applicable Debtor(s) under such Executory Contracts or Unexpired Leases. Notwithstanding any
applicable non-bankruptcy law to the contrary, the Liquidating Debtors and the Reorganized
Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of
a counterparty to provide, warranties, indemnifications or continued maintenance obligations
from the counterparties to the rejected Executory Contracts or Unexpired Leases.

               3.      Cure Claims

        Any Cure Claims under each Executory Contract and Unexpired Lease to be assumed or
assumed and assigned pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Claim in Cash on the Effective Date or as soon as
reasonably practicable thereafter, subject to the limitations described below, by the Reorganized
Debtors or the Plan Sponsor, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount of the
Cure Claim, (2) the ability of the Debtors’ Estates or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter
pertaining to assumption, the Cure Claims required by section 365(b)(1) of the Bankruptcy Code
shall be satisfied following the entry of a Final Order or Orders resolving the dispute and
approving the assumption. Assumption of any Executory Contract or Unexpired Lease pursuant
to the Plan or otherwise shall result in the full release and satisfaction of any Claims or defaults,
subject to satisfaction of the Cure Claims whether monetary or nonmonetary, including defaults
of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time before the effective date of assumption and/or assignment. Any liabilities reflected
in the Schedules with respect to an Executory Contract or Unexpired Lease that has been
assumed or assumed and assigned shall be deemed disallowed and expunged, without
further notice to or action, order, or approval of the Bankruptcy Court or any other
Entity.

        For the avoidance of doubt, the Debtors served the First and Second Cure Notices to
applicable counterparties to the Executory Contracts and Unexpired Leases listed on Schedule I
attached to the respective notice. Pursuant to the First and Second Cure Notices, the deadline to
file an objection to the proposed assumption of any Executory Contract or Unexpired Lease,
including any objection relating to a Cure Claim, other than an objection based solely on the
adequate assurance of future performance under such Executory Contract or Unexpired Lease
was fourteen days following service of the applicable notice. Prior to the expiration of the First
Cure Notice’s objection deadline, the Debtors received twenty-five (25) objections asserting
Cure Claims [Docket Nos. 250, 254, 256, 259-263, 265, 267-271, 274, 284, 286, 288, 296, 297,
303, 311, 312, 319 and 321]. After the expiration of the objection deadline of the First Cure
Notice the Debtors received one objection asserting a Cure Claim [Docket No. 360]. The


                                                 -62-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 278 of 342



Debtors received an amended objection asserting Cure Claims after the expiration of the
objection deadline to the First Cure Notice [Docket No. 505]. Prior to the expiration of the
objection deadline of the Second Cure Notice, the Debtors received one more objection asserting
a Cure Claim [Docket No. 377]. Furthermore, five parties filed timely objections regarding the
First and Second Cure Notices requesting additional adequate assurance [Docket Nos. 258, 267,
268, 297 and 377].

        With respect to Executory Contracts or Unexpired Leases for which no objection was
filed or for which no informal comments were received, the amount of the applicable Cure Claim
set forth in the First and Second Cure Notices, as applicable is now binding. Upon entry of the
Plan Support Agreement Order, all of the objections in connection with the First Cure Notice and
the Second Cure Notice not previously consensually resolved were adjourned to the
Confirmation Hearing or such other hearing date and time scheduled by the Debtors or
Reorganized Debtors with the Bankruptcy Court.

        Unless otherwise provided by an order of the Bankruptcy Court, at least seven (7)
calendar days before the Voting Deadline, the Debtors shall cause notice of any proposed
assumption to the extent of any proposed Cure Claim regarding any Executory Contracts and
Unexpired Leases not reflected in the First and Second Cure Notices or otherwise not previously
noticed to be sent to the applicable counterparties. Such notice shall contain the proposed Cure
Claim and the deadline by which the counterparty may dispute the proposed Cure Claim. Any
objection by such newly noticed counterparty must be filed and served on the Debtors no later
than the deadline for objecting to Confirmation of the Plan. Any counterparty to an Executory
Contract or Unexpired Lease that previously failed or fails to timely object to the proposed
assumption or cure amount will be deemed to have assented to such assumption and Cure Claim.
Notwithstanding the foregoing, except to the extent an Executory Contract or Unexpired Lease is
set forth on the Rejection Schedule, all Executory Contracts and Unexpired Leases shall be
assumed by the Reorganized Debtors on the Effective Date.

        To the extent the Debtors or the Reorganized Debtors, as applicable, and the objecting
counterparty cannot resolve their dispute consensually, the Bankruptcy Court shall retain
jurisdiction to resolve such dispute. Upon the Bankruptcy Court’s resolution of the dispute, the
Plan Sponsor shall have three (3) business days to determine whether it wishes to assume the
applicable Executory Contract or Unexpired Lease. If the Plan Sponsor determines not to
assume the applicable Executory Contract or Unexpired Lease, it shall direct the applicable
Reorganized Debtor to reject same, and such Executory Contract or Unexpired Lease shall be
deemed rejected under the Plan as of the Effective Date, and all procedures set forth in
sectionSection VI.B of the Plan shall apply.

               4.      Reservation of Rights

       Neither the listing of any contract or lease on the Rejection Schedule, nor the Debtors’
delivery of a Notice of Cure and Assumption to the applicable counterparty shall constitute an
admission by the Debtors that such contract or lease is in fact an Executory Contract or
Unexpired Lease or that any Debtor has any liability thereunder.




                                               -63-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 279 of 342



       D.      CONDITIONS  PRECEDENT                      TO      CONFIRMATION              AND
               CONSUMMATION OF THE PLAN

               1.      Conditions to Confirmation

        The Bankruptcy Court shall not be requested to enter the Confirmation Order unless and
until the following conditions have been satisfied:

                      The Bankruptcy Court shall have entered the Disclosure Statement Order.

                      The Plan and the Confirmation Order shall be in form and substance
                       acceptable to the Debtors and the Plan Sponsor.

               2.      Conditions to the Effective Date

        The Effective Date will not occur, and the Plan will not be consummated unless and until
the conditions set forth in Section IX.B of the Plan have been satisfied or duly waived pursuant
to Section IX.C of the Plan.

                       a.     Confirmation Order

       The Confirmation Order shall be in full force and effect, and shall not have been stayed,
stayed pending appeal or vacated; provided, however, that even if an appeal, notice of appeal,
motion to amend, or make additional findings of fact or motion for a new trial is timely filed, or
the Confirmation Order is otherwise challenged in any respect, such Confirmation Order will be
deemed a Final Order if it provides that it is effective immediately upon entry on the Bankruptcy
Court’s docket and not subject to any stay notwithstanding Bankruptcy Rules 6004(h), 6006(d),
or 7062 or Rule 62 of the Federal Rules of Civil Procedure.

                       b.     Statutory Fees

       All statutory fees and obligations then due and payable to the U.S. Trustee shall have
been paid in full.

                       c.     Documentation

        All documents and agreements necessary to implement the Plan and the Transaction,
including such agreements and documents set forth in Section 4 of the Plan Support Agreement,
shall have been executed and delivered to the required parties and, to the extent required, filed
with the applicable government unit in accordance with applicable laws, and all other actions
required to be taken in connection with the Effective Date shall have occurred;

                       d.     Antitrust and Foreign Investment Approvals

       All (A) applicable waiting periods, and any extensions thereof, under the HSR Act and
the Antitrust and Foreign Investment Laws, and any commitments by the parties to the Plan
Support Agreement not to close before a certain date under a timing agreement entered into with
applicable Antitrust and Foreign Investment Authorities, shall have expired or otherwise been


                                               -64-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 280 of 342



terminated and (B) authorizations, consents, orders or approvals under the Antitrust and Foreign
Investment Laws, including but not limited to the CFIUS Approval and those authorizations,
consents, orders or approvals set forth on Section 9(c)(i) of the disclosures schedules to the Plan
Support Agreement, shall have been obtained and shall remain in full force and effect.

                       e.     State Aid Approval

        If required by applicable law, a decision of the European Commission pursuant to Article
4 or Article 9 of Council Regulation (EU) 2015/1589 of 13 July 2015 that the transaction
notified to it does not constitute aid or is compatible with the internal market, or such other
similar consents or approvals as may be required from the European Commission after
December 31, 2020 shall have been obtained.

                       f.     DDTC Notification

      WVD shall have provided to the U.S. Directorate of Defense Trade Controls of the U.S.
Department of State the DDTC Notification.

                       g.     No Injunctions or Restraints

       No Governmental Entity (as defined in the Plan Support Agreement) shall have issued,
enacted, entered, promulgated, or enforced any Restraint.

                       h.     Establishment of Professional Fee Escrow

        The Professional Fee Escrow shall have been established and fully funded in the amount
of the Professional Fee Reserve Amount.

                       i.     Funding of the Ongoing Trade Claims Recovery Pool and the
                              General Unsecured Claims Settlement Distribution

        Each of the Ongoing Trade Claims Recovery Pool and the General Unsecured Claims
Settlement Distribution shall have been funded by BidCo in the respective amounts required by
the Settlement.




                                                -65-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 281 of 342



                       j.      Conditions Precedent to the Obligations of the Plan Sponsor

                               i.      Accuracy of Representations and Warranties

       The representations and warranties of the Company Parties as set forth in the Plan
Support Agreement in (i) Sections 11(a)(i)-(iv), (b), (e)(i) and (u) shall be true and correct in all
material respects and (ii) set forth in Section 11 (other than those described in clause (i)) shall be
true and correct (disregarding all qualifications or limitations as to “materiality” or “Company
Material Adverse Effect” and words of similar import set forth therein), except where the failure
of such representations or warranties to be true and correct has not had and would not reasonably
be expected to have a Company Material Adverse Effect (as defined in the Plan Support
Agreement), in the case of each of clauses (i) and (ii), at and as of the Effective Date as though
made at and as of the Effective Date (in each case, except to the extent expressly made as of
another date, in which case as of such date as if made at and as of such date).

                               ii.     Performance of Obligations

        The Debtors shall have performed in all material respects all obligations and agreements
contained in Plan Support Agreement required to be performed by them on or prior to the
Effective Date.

                               iii.    No Termination

        The Plan Sponsor shall not have terminated the Plan Support Agreement, in accordance
with its terms prior to the occurrence of the Effective Date.

                               iv.     BidCo Equity Consideration

      The Entities to receive any share of the BidCo Equity Consideration are acceptable to the
Plan Sponsor, in its sole discretion, provided that for the avoidance of doubt the holders of
Allowed Secured Notes Claims receiving such BidCo Equity Consideration in the term sheet
annexed to the Plan Support Agreement are acceptable to the Plan Sponsor.

                               v.      Officer’s Certificate

       The Plan Sponsor shall have received a certificate, dated the Effective Date, of the chief
executive officer or the chief financial officer of OneWeb, on behalf of the Debtors, to the effect
that the conditions specified in Section 9(a)(i) and Section 9(a)(ii) of the Plan Support
Agreement have been fulfilled and/or waived.

                               vi.     Communications Consents

       All Communications Consents shall have been obtained.

                               vii.    No Company Material Adverse Effect




                                                 -66-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 282 of 342



     Since the Agreement Date of the Plan Support Agreement (as defined therein), no
Company Material Adverse Effect (as defined therein) shall have occurred and be continuing.

                               viii.   Principal Vendor Contracts

       The applicable Company Parties shall have executed the Amended Principal Vendor
Contracts (in accordance with Section 6(c) of the Plan Support Agreement) and such Amended
Principal Vendor Contracts shall remain in full force and effect.

                               ix.     Effective Date Cash Funding Cap

       The Effective Date Cash Funding Reserve Amount, as determined in good faith by the
Debtors and delivered to the Plan Sponsor no later than five days before the Effective Date, shall
not exceed the Effective Date Cash Funding Cap, unless otherwise agreed to by the Plan
Sponsor.

                       k.      Conditions Precedent to the Debtors’ Obligations

                               i.      Accuracy of Representations and Warranties

        The representations and warranties of the Plan Sponsor (i) set forth in Sections 12(a), (b)
and (e) of the Plan Support Agreement shall be true and correct in all material respects and (ii)
set forth in Section 12 of the Plan Support Agreement (other than those described in clause (i))
shall be true and correct (disregarding all qualifications or limitations as to “materiality” or “Plan
Sponsor Material Adverse Effect” and words of similar import set forth therein), except where
the failure of such representations or warranties to be true and correct has not had and would not
reasonably be expected to have a Plan Sponsor Material Adverse Effect (as defined in the Plan
Support Agreement), in the case of each of clauses (i) and (ii), at and as of the Effective Date as
though made at and as of the Effective Date (in each case, except to the extent expressly made as
of another date, in which case as of such date as if made at and as of such date).

                               ii.     Performance of Obligations

        The Plan Sponsor shall have performed in all material respects all obligations and
agreements contained in this Agreement required to be performed by it on or prior to the
Effective Date.

                               iii.    No Termination

       The Company Parties shall not have terminated the Plan Support Agreement in
accordance with its terms prior to the occurrence of the Effective Date.

                               iv.     Officer’s Certificate

       The Company Parties shall have received a certificate, dated the Effective Date, of a chief
executive officer of the Plan Sponsor to the effect that the conditions specified in Section 9(b)(i)
and Section 9(b)(ii) of the Plan Support Agreement have been fulfilled and/or waived.



                                                 -67-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 283 of 342



               3.      Waiver of Conditions to the Effective Date

       The conditions to consummation of the Plan set forth in Section IX therein may be
waived as follows: the conditions set forth in Section IX.B.10 of the Plan may only be waived by
the Plan Sponsor; the conditions set forth in Section IX.B.111 of the Plan may be waived by the
Debtors; and the conditions set forth in Section IX.B.4-7 of the Plan may be mutually waived by
both the Plan Sponsor and the Debtors, as applicable, in their sole discretion, respectively,
without notice, leave or order of the Bankruptcy Court or any formal action other than
proceeding to confirm or consummate the Plan. For the avoidance of doubt, Sections IX.B.8-9
may not be waived by the Plan Sponsor.

       E.      EXCULPATION, RELEASES AND INJUNCTIONS

               1.      Discharge of Claims Against and Interest in the Debtors

        Upon the Effective Date and in consideration of the Distributions to be made hereunder,
to the fullest extent permitted by applicable law, except as expressly provided herein or in the
Confirmation Order, each holder (as well as any trustee and agents on behalf of such holder) of a
Claim or Interest and any affiliate of such holder shall be deemed to have forever waived,
released, and discharged the Debtors, to the fullest extent permitted by section 1141 of the
Bankruptcy Code, of and from any and all Claims, Interests, Liens, rights, and liabilities that
arose prior to the Effective Date, and will consider thisbe considered waived, released, or
discharged as an uncollectible account for tax purposes. Except as otherwise expressly provided
herein, upon the Effective Date, all such holders of Claims, Interests, rights and liabilities and
their affiliates shall be forever precluded and enjoined, pursuant to sections 105, 524, and 1141
of the Bankruptcy Code, from prosecuting or asserting any Claim, Interest, Lien, right or liability
in or against the Estates, Debtors, Liquidating Debtors or the Reorganized Debtors or any of their
assets or property, whether or not such holder has filed a Proof of Claim and whether or not the
facts or legal bases thereof were known or existed prior to or on the Effective Date.

               2.      Exculpation

     EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN, NO
EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH EXCULPATED
PARTY IS RELEASED AND EXCULPATED FROM, ANY LIABILITY FOR ANY ACT
OR OMISSION IN CONNECTION WITH, RELATING TO OR ARISING OUT OF THE
DEBTORS’ CHAPTER 11 CASES, THE FORMULATION, PREPARATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE PLAN SUPPORT
AGREEMENT, THE PLAN SUPPORT AGREEMENT ORDER, THE DISCLOSURE
STATEMENT, THE PLAN, THE DIP FACILITY, THE DIP AGREEMENT, THE DIP
AMENDMENT, THE DIP ORDER, THE DIP AMENDMENT ORDER, THE
TRANSACTION OR ANY TRANSACTION, CONTRACT, INSTRUMENT, RELEASE
OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN
CONNECTION WITH THE FOREGOING, THE FILING OF THE CHAPTER 11
CASES, THE PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION,
THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING
THE ISSUANCE OF SECURITIES PURSUANT TO THE PLAN, THE DISTRIBUTION


                                                -68-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 284 of 342



OF PROPERTY UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT,
EXCEPT FOR CLAIMS RELATED TO ANY ACT OR OMISSION THAT IS
DETERMINED IN A FINAL ORDER TO HAVE CONSTITUTED ACTUAL FRAUD,
GROSS NEGLIGENCE OR WILLFUL MISCONDUCT; IN ALL RESPECTS THE
EXCULPATED PARTIES SHALL BE ENTITLED TO REASONABLY RELY UPON
THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES. THE EXCULPATED PARTIES HAVE, AND UPON
COMPLETION OF THE PLAN SHALL BE DEEMED TO HAVE, PARTICIPATED IN
THE SOLICITATION OF VOTES AND DISTRIBUTIONS PURSUANT TO THE PLAN
IN GOOD FAITH AND IN COMPLIANCE WITH APPLICABLE LAWS AND,
THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH ACTIONS SHALL NOT BE,
LIABLE AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE,
OR REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF THE PLAN OR DISTRIBUTIONS MADE PURSUANT TO THE
PLAN.




                                       -69-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                        Pg 285 of 342



      NOTWITHSTANDING THE FOREGOING, SOLELY WITH RESPECT TO
EXCULPATED PARTIES THAT ARE NOT (A) FIDUCIARY EXCULPATED PARTIES
OR (B) THE PLAN SPONSOR AND ITS REPRESENTATIVES, PLAN SECTION XI.D.
WILL BIND ONLY ENTITIES THAT ARE RELEASING PARTIES. FOR THE
AVOIDANCE OF DOUBT, THIS PARAGRAPH IS NOT INTENDED TO, AND SHALL
NOT, IMPAIR OR OTHERWISE LIMIT (I) ANY EXCULPATION RIGHTS OF ANY
PERSONS THAT ARE PROVIDED FOR UNDER ANY AGREEMENTS TO WHICH
SUCH PERSONS ARE PARTIES OR BENEFICIARIES OR (II) PLAN SECTION XI.D.
OR ANY OTHER EXCULPATION RIGHTS (INCLUDING UNDER 11 U.S.C. § 1125(E))
AS APPLIED TO (A) FIDUCIARY EXCULPATED PARTIES OR (B) THE PLAN
SPONSOR AND ITS REPRESENTATIVES.

               3.      Releases

                       a.     Releases by the Debtors




                                             -70-
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 286 of 342



     PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, FOR GOOD
AND VALUABLE CONSIDERATION AND FOR THE CONCESSIONS MADE AS SET
FORTH IN THE PLAN AND THE OTHER CONTRACTS, INSTRUMENTS,
RELEASES, AGREEMENTS, OR DOCUMENTS TO BE ENTERED INTO OR
DELIVERED IN CONNECTION WITH THE PLAN, AND THE SERVICE OF THE
RELEASED PARTIES IN FACILITATING THE EXPEDITIOUS REORGANIZATION
OF THE DEBTORS AND THE IMPLEMENTATION OF THE RESTRUCTURING
CONTEMPLATED BY THE PLAN, ON AND AFTER THE EFFECTIVE DATE, EACH
RELEASED PARTY IS DEEMED RELEASED AND DISCHARGED BY THE
DEBTORS, THEIR ESTATES, THE REORGANIZED DEBTORS, THE LIQUIDATING
DEBTORS AND ANY OTHER PERSON OR ENTITY SEEKING TO EXERCISE THE
RIGHTS OF THE ESTATES FROM ANY AND ALL CLAIMS, INTERESTS,
OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS, RIGHTS,
LIENS, LOSSES, REMEDIES, CONTRIBUTIONS, INDEMNITIES, COSTS, CAUSES
OF ACTION OR LIABILITIES WHATSOEVER, INCLUDING ANY DERIVATIVE
CLAIMS OR CAUSES OF ACTION, THAT THE DEBTORS, THEIR ESTATES, THE
REORGANIZED DEBTORS OR THE LIQUIDATING DEBTORS WOULD HAVE
BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
CLAIM OR INTEREST OR ANOTHER ENTITY, WHETHER LIQUIDATED OR
UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR ARISING,
IN LAW, EQUITY, CONTRACT, TORT, OR OTHERWISE, BY STATUTE,
VIOLATIONS OF FEDERAL, STATE, PROVINCIAL, FOREIGN, OR TERRITORIAL
SECURITIES LAWS, OR OTHERWISE THAT THE DEBTORS, THE REORGANIZED
DEBTORS, THE LIQUIDATING OR THE ESTATES WOULD HAVE BEEN LEGALLY
ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF A CLAIM OR INTEREST
OR OTHER PERSON OR ENTITY, BASED ON, RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
DEBTORS’    IN-   OR    OUT-OF-COURT     RESTRUCTURING    EFFORTS,
INTERCOMPANY TRANSACTIONS, THE DEBTORS’ CHAPTER 11 CASES, THE
FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING
OF THE PLAN SUPPORT AGREEMENT, THE PLAN SUPPORT AGREEMENT
ORDER, THE DISCLOSURE STATEMENT, THE DIP FACILITY, THE DIP ORDER,
THE DIP AMENDMENT ORDER, THE PLAN, THE SECURED NOTE PURCHASE
AGREEMENT, THE TRANSACTION AND ANY CONTRACT, INSTRUMENT,
RELEASE, OR ANOTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED
INTO IN CONNECTION WITH THE FOREGOING, AND ANY EXHIBITS OR
DOCUMENTS RELATED THERETO, THE FILING OF THESE CHAPTER 11 CASES,
THE PURSUIT OF CONFIRMATION, INCLUDING THE SOLICITATION OF VOTES
WITH RESPECT TO THE PLAN, THE PURSUIT OF CONSUMMATION, THE
ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
PURCHASE, SALE, ISSUANCE, DISTRIBUTION, OR CANCELLATION OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITIES PURSUANT TO
THE PLAN, OR THE DISTRIBUTIONS UNDER THE PLAN OR ANY OTHER



                                       -71-
20-22437-rdd    Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39        Main Document
                                     Pg 287 of 342



RELATED AGREEMENT, OR UPON ANY OTHER ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE. FOR THE AVOIDANCE OF
DOUBT, NO RELEASE IN PLAN SECTION XI.E. SHALL BE GIVEN FOR: (I) THE
DEBTORS’ COUNTERCLAIMS, SETOFFS, OR DEFENSES TO CLAIMS OR (II) ANY
OBLIGATIONS OF ANY NON-DEBTOR COUNTERPARTY UNDER ASSUMED
CONTRACTS.

                     b.     Third-Party Releases by Holders of Claims and Interests

     AS OF THE EFFECTIVE DATE, EACH RELEASING PARTY IS DEEMED TO
HAVE RELEASED AND DISCHARGED EACH DEBTOR, EACH LIQUIDATING
DEBTOR, EACH REORGANIZED DEBTOR, AND EACH RELEASED PARTY FROM
ANY AND ALL CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN THAT
SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
(WHETHER INDIVIDUALLY OR COLLECTIVELY, INCLUDING ANY DERIVATIVE
CLAIMS), BASED ON OR RELATING TO OR IN ANY MANNER ARISING FROM, IN
WHOLE OR IN PART, THE DEBTORS, THE DEBTORS’ IN- OR OUT-OF-COURT
RESTRUCTURING EFFORTS,        INTERCOMPANY TRANSACTIONS, THE
DEBTORS’ CHAPTER 11 CASES, THE FORMULATION, PREPARATION,
DISSEMINATION, NEGOTIATION, OR FILING OF THE PLAN SUPPORT
AGREEMENT, THE PLAN SUPPORT AGREEMENT ORDER, THE DISCLOSURE
STATEMENT, THE DIP FACILITY, THE DIP ORDER, THE DIP AMENDMENT
ORDER, THE PLAN, THE SECURED NOTE PURCHASE AGREEMENT, THE
TRANSACTION AND ANY CONTRACT, INSTRUMENT, RELEASE, OR ANOTHER
AGREEMENT OR DOCUMENT CREATED OR ENTERED INTO IN CONNECTION
WITH THE FOREGOING, AND ANY EXHIBITS OR DOCUMENTS RELATED
THERETO, THE FILING OF THESE CHAPTER 11 CASES, THE PURSUIT OF
CONFIRMATION, INCLUDING THE SOLICITATION OF VOTES WITH RESPECT
TO THE PLAN, THE PURSUIT OF CONSUMMATION, THE ADMINISTRATION
AND IMPLEMENTATION OF THE PLAN, INCLUDING THE PURCHASE, SALE,
ISSUANCE, DISTRIBUTION, OR CANCELLATION OR RESCISSION OF THE
PURCHASE OR SALE OF ANY SECURITIES PURSUANT TO THE PLAN, OR THE
DISTRIBUTIONS UNDER THE PLAN OR ANY OTHER RELATED AGREEMENT,
OR UPON ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

       The Debtors intend to obtain Bankruptcy Court approval of the foregoing third
party releases under two alternative bases. First, that the releases are consensual for all
those parties who do not opt-out of the third party releases as described in the following
paragraph. Consequently, if you do not want to grant a release, you must opt out as
described in the following paragraphs. Second, the Debtors may seek to demonstrate at
the Confirmation Hearing that such third-party releases is warranted on a non-consensual
basis as described infra in Section VI.B.




                                            -72-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                        Pg 288 of 342



      FOR THE AVOIDANCE OF DOUBT, THE ONLY PARTIES THAT ARE
BOUND BY THE RELEASE SET FORTH IN SECTION XI.E.2 OF THE PLAN ARE:
(A) THE RELEASED PARTIES; (B) PARTIES WHO VOTE IN FAVOR OF THE PLAN
AND DO NOT OPT OUT OF THE RELEASE PROVIDED IN SECTION XI.E.2 OF THE
PLAN IN A TIMELY AND PROPERLY SUBMITTED BALLOT; (C) PARTIES WHO
VOTE TO REJECT THE PLAN AND DO NOT OPT OUT OF THE RELEASE
PROVIDED IN SECTION XI.E.2 OF THE PLAN IN A TIMELY AND PROPERLY
SUBMITTED BALLOT; (D) PARTIES WHO ARE ENTITLED TO VOTE BUT DO NOT
VOTE AND DO NOT OPT OUT OF THE RELEASE PROVIDED IN SECTION XI.E.2
OF THE PLAN IN A TIMELY AND PROPERLY SUBMITTED BALLOT; (E) PARTIES
WHO ARE DEEMED TO REJECT THE PLAN AND DO NOT OPT OUT OF THE
RELEASE PROVIDED IN SECTION XI.E.2 OF THE PLAN BY SUBMITTING A DULY
COMPLETED OPT-OUT FORM; (FAND (D) PARTIES WHO ARE DEEMED TO
ACCEPT THE PLAN AND DO NOT OPT OUT OF THE RELEASE PROVIDED IN
SECTION XI.E.2 OF THE PLAN BY SUBMITTING A DULY COMPLETED OPT-OUT
FORM; AND (G) PARTIES WHO HOLD ALLOWED ADMINISTRATIVE EXPENSE
CLAIMS OR ARE OTHERWISE NOT ENTITLED TO VOTE TO ACCEPT OR
REJECT THE PLAN AND DO NOT OPT OUT OF THE RELEASE PROVIDED IN
SECTION XI.E.2 OF THE PLAN BY SUBMITTING A DULY COMPLETED OPT OUT
FORM..

     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE ANY
INDIVIDUAL FROM ANY CLAIM OR CAUSES OF ACTION RELATED TO AN ACT
OR OMISSION THAT IS DETERMINED IN A FINAL ORDER BY A COURT OF
COMPETENT JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD,
WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE.

               4.      Injunction




                                            -73-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39          Main Document
                                        Pg 289 of 342



     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
HOLD CLAIMS OR INTERESTS OR CAUSES OF ACTION THAT HAVE BEEN
RELEASED, DISCHARGED, OR ARE SUBJECT TO EXCULPATION UNDER THE
PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE
DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS
APPLICABLE, THE DEBTORS, THE REORGANIZED DEBTORS, THE
LIQUIDATING DEBTORS, THE EXCULPATED PARTIES, OR THE RELEASED
PARTIES: (A) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION
OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION
WITH ANY SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION; (B)
ENFORCING, ATTACHING, COLLECTING, OR RECOVERING ANY JUDGMENT,
AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR
IN CONNECTION WITH ANY SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION; (C) CREATING, PERFECTING, OR ENFORCING AN ENCUMBRANCE OF
ANY KIND AGAINST SUCH ENTITIES OR THEIR PROPERTIES ON ACCOUNT OF
OR IN CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION; (D) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF
ACTION UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE
RIGHT TO PERFORM SUCH SETOFF, NOTWITHSTANDING AN INDICATION IN
ANY PROOF OF CLAIM OR OTHERWISE THAT SUCH HOLDER ASSERTS, HAS,
OR INTENDS TO PRESERVE THE RIGHT OF SETOFF PURSUANT TO
APPLICABLE LAW OR OTHERWISE; AND (E) COMMENCING OR CONTINUING
ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN
CONNECTION WITH SUCH CLAIMS OR INTERESTS OR CAUSES OF ACTION.

     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE INJUNCTION SET FORTH ABOVE SHALL NOT ENJOIN THE
PLAN SPONSOR FROM EXERCISING ANY OF ITS RIGHTS UNDER THE PLAN
SUPPORT AGREEMENT PRIOR TO THE EFFECTIVE DATE.

               5.      Scope of Discharge, Release, or Injunction With Respect to the United
                       States of America

        As to the United States of America, its agencies, departments, or agents (collectively,
the “United States”), nothing in this Plan or the Confirmation Order shall limit or expand the
scope of discharge, release or injunction to which the Debtors or Reorganized Debtors are
entitled to under the Bankruptcy Code, if any. The discharge, release, and injunction provisions
contained in this Plan and the Confirmation Order are not intended and shall not be construed to
bar the United States from, subsequent to the Confirmation Order, pursuing any police or
regulatory action except to the extent the applicable Bar Date or the discharge, release,
exculpation or injunction provisions of the Plan bar a Governmental Unit from pursuing
prepetition Claims against the Debtors or Reorganized Debtors.



                                              -74-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 290 of 342



        Accordingly, notwithstanding anything contained herein or in the Confirmation Order to
the contrary, nothing herein or the Confirmation Order shall discharge, release, impair or
otherwise preclude: (1) any liability to the United States that is not a “claim” within the meaning
of section 101(5) of the Bankruptcy Code; (2) any Claim of the United States arising on or after
the Effective Date; or (3) any valid right of setoff or recoupment of the United States against any
of the Debtors. Nothing herein or in the Confirmation Order shall: (i) enjoin or otherwise bar the
United States from asserting or enforcing, outside the Bankruptcy Court, any liability described
in the preceding sentence; or (ii) divest any court, commission, or tribunal of jurisdiction to
determine whether any liabilities asserted by the United States are discharged or otherwise
barred by this Plan, the Confirmation Order or the Bankruptcy Code.

        Moreover, nothing herein or in the Confirmation Order shall release or exculpate any
non-Debtor, including any Released Parties and/or Exculpated Parties that are not Debtors, from
any liability to the United States, including but not limited to any liabilities arising under the
Internal Revenue Code, the environmental laws, or the criminal laws against the Released Parties
and/or Exculpated Parties, nor shall anything herein or in the Confirmation Order enjoin the
United States from bringing any claim, suit, action or other proceeding against any non-Debtor
for any liability whatsoever; provided, that the foregoing sentence shall not (x) limit the scope of
discharge granted to the Debtors and the Reorganized Debtors under sections 524 and 1141 of
the Bankruptcy Code, or (y) diminish the scope of any exculpation to which any party is entitled
under section 1125(e) of the Bankruptcy Code.

        Without limiting the application of section 1145 of the Bankruptcy Code, nothing
contained herein or in the Confirmation Order shall be deemed to determine the tax liability of
any person or entity, including but not limited to the Debtors and the Reorganized Debtors, nor
shall this Plan or the Confirmation Order be deemed to have determined the federal tax treatment
of any item, distribution, or entity, including the federal tax consequences of this Plan, nor shall
anything in this Plan or Confirmation Order be deemed to have conferred jurisdiction upon the
Bankruptcy Court to make determinations as to federal tax liability and federal tax treatment
except as provided under 11 U.S.C. § 505.

               6.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays arising under or entered during the pendency of these cases under section 105 or 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order providing
for such injunction or stay; provided, however, that in no event shall the Plan or the
Confirmation Order be construed as enjoining the Plan Sponsor from exercising any of its rights
under the Plan Support Agreement prior to the Effective Date.

               7.      Ipso Facto and Similar Provisions Ineffective

        Any term of any prepetition policy, contract, or other obligation applicable to a Debtor
shall be void and of no further force or effect to the extent that such policy, contract, or other
obligation is conditioned on, creates an obligation as a result of, or gives rise to a right of any
Entity based on (i) the insolvency or financial condition of a Debtor, (ii) the commencement of


                                                -75-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 291 of 342



these chapter 11 cases, (iii) the confirmation or consummation of the Plan, or (iv) the
Transaction.

VI.    STATUTORY REQUIREMENTS FOR CONFIRMATION

       The following is a brief summary of the requirements for Confirmation. Holders of
Claims and Interests are encouraged to review the relevant provisions of the Bankruptcy Code
and to consult their own advisors with respect to the summary provided in this Disclosure
Statement.

       A.      REQUIREMENTS FOR CONFIRMATION

        For the Plan to be confirmed, the Plan (and the Debtors as proponents of the Plan) must
comply with section 1129 of the Bankruptcy Code. Among the requirements for Confirmation
pursuant to section 1129 of the Bankruptcy Code are: (1) the Plan is accepted by all Impaired
Classes of Claims, or if rejected by any Impaired Class, the Plan “does not discriminate unfairly”
and is “fair and equitable” as to such rejecting Impaired Class; (2) the Plan is feasible; (3) the
Plan is in the “best interests” of holders of Claims and Interests, and (4) the Plan has been
proposed in good faith.

        The Debtors believe that: (1) the Plan satisfies, or will satisfy, all of the requirements of
section 1129 of the Bankruptcy Code; and (2) the Debtors have complied, or will have complied,
with all of the requirements of section 1129 of the Bankruptcy Code.

               1.      Acceptance by Impaired Classes

        For a plan to be confirmable, section 1129(a)(8) of the Bankruptcy Code requires that
each “impaired” class of claims and interests accepts the plan. Any class that is “unimpaired”
under a plan is presumed to have accepted the plan. Pursuant to section 1124 of the Bankruptcy
Code, a class is “impaired” unless, with respect to each claim or interest in such class, the plan:
(1) leaves unaltered the legal, equitable and contractual rights to which such claim or interest
entitles the holder of such claim; or (2) cures any default, reinstates the maturity of such claim or
interest as such maturity existed before such default and compensates the holder of such claim or
interest for any damages incurred.

        Under the Plan, the only Classes that are both Impaired and may be entitled to receive a
Distribution under the Plan are Classes 1, 4 and 5. Accordingly, only Class 1, 4 and 5 are
entitled to vote to accept or reject the Plan.

               2.      Best Interests of Creditors

        Pursuant to section 1129(a)(7), notwithstanding acceptance of the Plan by a voting
Impaired Class, to confirm the Plan, the Bankruptcy Court must still independently determine
that the Plan is in the best interests of each holder of a Claim in such Class that has not voted to
accept the Plan. The Plan will be deemed to be in the best interests of such claimants if it
provides to each such claimant a recovery that is at least equal in value to the recovery that such
claimant would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code
on the Effective Date. Accordingly, if the holders of Claims in Class 1, Class 4 or Class 5 do not


                                                 -76-
20-22437-rdd             Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39                     Main Document
                                                Pg 292 of 342



unanimously vote to accept the Plan, the Bankruptcy Court will need to determine whether the
Plan provides to each rejecting holder a recovery on account of its Claim that has a value, as of
the Effective Date, at least equal to the value that each such holder would receive if the Debtors
were liquidated under chapter 7 on the Effective Date. Based on the liquidation analysis attached
hereto as Annex B (the “Liquidation Analysis”), the Debtors believe that the Plan satisfies the
best interests of creditors test.

        Recoveries in a chapter 7 case, as compared to the Distribution provided under the Plan,
would be further reduced by (i) the delay necessarily resulting from the appointment of a chapter
7 trustee with no familiarity with the Debtors’ assets and business, (ii) the fees and expenses of
such trustee and any professionals he or she will retain, and (iii) additional Administrative
Expense Claims.

        Additionally, sales organized under a chapter 7 liquidations will often yield depressed
values because the sale is conducted under more or less “fire sale” conditions. In particular, it is
unlikely that a chapter 7 trustee appointed by the Bankruptcy Court and overseen by the United
States Trustee’s office in the Southern District of New York will continue to operate the
Debtors’ assets. Besides logistical concerns, the chapter 7 trustee would not likely be familiar
with the intricacies of Debtors’ assets, the Debtors’ business nor would the chapter 7 trustee be
familiar with various regulatory laws related thereto. Thus, an additional layer of advisors and
experts would need to be retained by the chapter 7 trustee, giving rise to additional
administrative expenses that would be entitled to priority.

        Because recoveries under the Plan exceed those in a hypothetical chapter 7 case, the Plan
satisfies the best interests of creditors test.

                    3.       Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that, to confirm a chapter 11 plan,
the Bankruptcy Court must find that confirmation of such plan is not likely to be followed by the
liquidation or the need for further financial reorganization of the debtor, unless contemplated by
the plan.

        To determine whether the Plan meets the feasibility requirement, the Debtors analyzed
their ability to meet their respective obligations under the Plan. As part of this analysis, the
Debtors prepared financial projections, attached hereto as Annex C (the “Financial
Projections”). Based on the Financial Projections, the Debtors believe that the Plan satisfies the
feasibility requirement.

           B.       THE   DEBTOR    RELEASES,   THIRD   PARTY                                         RELEASES,
                    EXCULPATION, AND INJUNCTION PROVISIONS

           It is well-settled that debtors are authorized to settle or release their claims in a chapter 11
        2017
plan.        Debtor releases are granted by courts in the Second Circuit where the debtors establish

2017
       See In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289, 269 (Bankr. S.D.N.Y. 2007) (debtor may
       release its own claims); In re Oneida Ltd., 351 B.R. 79, 94 n. 21 (Bankr. S.D.N.Y. 2006) (noting that a debtor’s
       release of its own claims does not raise third party release issues).


                                                           -77-
20-22437-rdd           Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                                Pg 293 of 342



that such releases are in the “best interests of the estate.”2118 Courts often find that releases
pursuant to a settlement are appropriate.2219 Additionally, in the Second Circuit, third party
releases are permissible when they are consensual or where “truly unusual circumstances” render
the release terms integral to the success of the plan.2320

        “Unusual circumstances” include: (a) the estate received a substantial contribution; (b)
the enjoined claims were “channeled” to a settlement fund rather than extinguished; (c) the
enjoined claims would indirectly impact the debtors’ reorganization by way of indemnity or
contribution; (d) the plan otherwise provided for the full payment of the enjoined claims; and (e)
the affected creditors consent.2421 Courts typically allow releases of third party claims against
non-debtors where there is the express consent (including pursuant to an opt-out) of the party
giving the release or where other circumstances in the case justify giving the release.2522 Finally,
exculpation provisions that extend to prepetition conduct and cover non-estate fiduciaries are
regularly approved.2623 In approving these provisions, courts consider a number of factors,
including whether the beneficiaries of the exculpation have participated in good faith in
negotiating the plan and bringing it to fruition, and whether the provision is integral to the
plan.2724




2118
       See In re Charter Commc’ns, 419 B.R. 221, 257 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a
       debtor’s plan, courts consider whether such releases are in the best interest of the estate.”).
2219
       See, e.g., In re Spiegel, 2005 WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving releases
       pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re AMR Corp., No.
       11-15463 (SHL) (Bankr. S.D.N.Y. Oct. 22, 2013) (confirming chapter 11 plan containing releases of members,
       directors, officers and employees of the debtors as well as prepetition lenders that were party to a restructuring
       support agreement); see also In re Bally Total Fitness Holding Corp., 2007 WL 2779438, at *12 (“To the
       extent that a release or other provision in the Plan constitutes a compromise of a controversy, this Confirmation
       Order shall constitute an order under Bankruptcy Rule 9019 approving such compromise.”); accord In re
       Adelphia Communications Corp., 368 B.R. 140, 263 n. 289 (Bankr. S.D.N.Y. 2007) (“The Debtors have
       considerable leeway in issuing releases of any claims the Debtors themselves own.”).
2320
       In re Metromedia Fiber Network, Inc., 416 F.3d 136, 142-43 (2d Cir. 2005).
2421
       Id. at 141.
2522
       Id. at 142-43.
2623
       See, e.g., Oneida, 351 B.R. at 94 & n.22 (considering an exculpation provision covering a number of prepetition
       actors with respect to certain prepetition actions, as well as postpetition activity).
2724
       See In re Bearing Point, Inc., 435 B.R. 486, 494 (Bankr. S.D.N.Y. 2011) (“Exculpation provisions are included
       so frequently in chapter 11 plans because stakeholders all too often blame others for failures to get recoveries
       they desire; seek vengeance against other parties, or simply wish to second guess the decision makers.”); In re
       DBSD N. Am., Inc., 419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009) (same), aff’d, In re DBSD N. Am., Inc., No. 09-
       10156, 2010 WL 1223109 (S.D.N.Y. May 24, 2010), aff’d in part, rev’d in part, 634 F.3d 79 (2d Cir. 2011); In
       re Bally Total Fitness, 2007 WL 2779438, at *8 (finding exculpation, release, and injunction provisions
       appropriate because they were fair and equitable, necessary to successful reorganization, and integral to the
       plan); In re WorldCom, Inc., No. 02-13533, 2003 WL 23861928, at *28 (Bankr. S.D.N.Y. Oct. 31, 2003)
       (approving an exculpation provision where it “was an essential element of the [p]lan formulation process and
       negotiations”); Enron, 326 B.R. 497, 503 (S.D.N.Y. 2005) (excising similar exculpation provisions would “tend
       to unravel the entire fabric of the Plan, and would be inequitable to all those who participated in good faith to
       bring it into fruition”).


                                                            -78-
20-22437-rdd           Doc 534        Filed 09/01/20 Entered 09/01/20 00:35:39                     Main Document
                                                Pg 294 of 342



         “Most courts allow consensual [third party] releases to be included in a plan.”2825 Courts
in this district have found that parties consent to give releases when they vote in favor of the plan
or when they abstain from voting but do not opt out of releases.2926 Third party releases may also
be deemed consensual for unimpaired creditors who are deemed to accept the plan.3027 Here, the
third party releases are consensual with respect to all of the Released Parties. Importantly, the
Ballots to be distributed to holders of Claims entitled to vote on the Plan quote the entirety of the
Releases and related provisions and definitions of the Plan, clearly informing holders of Claims
entitled to vote of the steps they should take if they disagree with the scope of the Release.3128
Thus, affected parties are on notice of the third party release and given the express opportunity to
opt-out of the third party releases. As a result, the third party releases are consensual under the
majority of precedent in this jurisdiction, and the Bankruptcy Court need not consider the other
Metromedia factors with respect to such aspects.

        The Debtors believe that the Releases contained in the Plan meet the Second Circuit’s
well established criteria for when such provisions are “important to a debtor’s plan” and “where
the released party provides substantial consideration” which are present here as more fully
described above and as will be demonstrated at the Confirmation Hearing. Contrary to the
assertions made by the Committee, the Releases are an integral component of the Plan and the
DIP Secured Parties, the Prepetition Secured Parties, the Debtors’ Directors and Officers and all
Released Parties have made substantial contributions to these cases to justify the releases.

        Moreover, the Debtors are of the view that the Claims that are subject to Release are of,
at best, minimal value when compared to the certain value achieved to the Estates through the
Plan. Absent the Releases contemplated in the Plan, the Debtors believe that the parties in
interest that both negotiated for, and relied upon, the prospect of the Releases in negotiations
would not have otherwise committed to the result reflected in the Plan Support Agreement and
the Plan. In this regard, too, the Releases are an integral part of the Plan. The Debtors believe


2825
       In re Wool Growers Cent. Storage Co., 371 B.R. 768, 775 (Bankr. N.D. Tex. 2007); see also Indianapolis
       Downs, 486 B.R. 286, 305 (Bankr. Del. 2013) (“Courts in this jurisdiction have consistently held that a plan
       may provide for a release of third party claims against a non-debtor upon consent of the party affected.”).
2926
       See In re Metromedia Fiber Network, Inc., 416 F.3d at 142 (“Nondebtor releases may also be tolerated if the
       affected creditors consent.”); In re Calpine Corp., No. 05-60200 BRL, 2007 WL 4565223, at *10 (Bankr.
       S.D.N.Y. Dec. 19, 2007) (“Such releases by Holders of Claims and Interests provide for the release by Holders
       of Claims and Interests that vote in favor of the Plan, who abstain from voting and choose not to opt out of the
       releases, or who have otherwise consented to give a release, and are consensual.”); DBSD N. Am., 419 B.R. at
       218–19 (“Except for those who voted against the Plan, or who abstained and then opted out, I find the Third
       Party Release provision consensual and within the scope of releases permitted in the Second Circuit.”);
       Adelphia, 368 B.R. at 268 (upholding non-debtor releases for creditors who voted to accept the plan because
       creditors consented to the releases through their vote to support the plan); In re Lear Corp., No. 09–14326,
       2009 WL 6677955, at *7 (Bankr. S.D.N.Y. Nov. 5, 2009) (finding that non-debtor releases for creditors who
       voted to accept the plan were permissible).
3027
       See Indianapolis Downs, 486 B.R. at 306 (finding that the releases, which included releases of unimpaired
       creditors who were deemed to accept the plan, “may be properly characterized as consensual”).
3128
       See, e.g., In re Crabtree & Evelyn, Ltd., No. 09-14267 (BRL), 2010 WL 3638369, at *7 (Bankr. S.D.N.Y. Jan
       14. 2010) (finding that where creditors have accepted the plan and the non-debtor releases were appropriately
       disclosed by the debtors in both the disclosure statement and the ballot, the creditors have expressly consented
       to the non-debtor releases and therefore, the non-debtor releases satisfy the standards set forth in Metromedia
       for granting non-debtor releases and are fair to the releasing parties).


                                                           -79-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 295 of 342



that the Releases are narrowly tailored and should be approved as an essential part of the Plan.

       C.      ALTERNATIVE PLANS

        The Debtors do not believe that there are any alternative plans for their reorganization.
The Debtors believe that the Plan, as described therein, enables holders of Claims to realize the
greatest possible value under the circumstances and that, compared to any alternative plan, the
Plan has the greatest chance to be confirmed and consummated.

       D.      CONFIRMATION HEARING

         As set forth in the Disclosure Statement Order, the Bankruptcy Court has
scheduled the Confirmation Hearing for [October 2], 2020 at 10:00 A.M. (prevailing
Eastern Time). The Confirmation Hearing may be adjourned from time to time by the
Bankruptcy Court without further notice except for an announcement of the adjourned date made
at the Confirmation Hearing or the filing of a notice of such adjournment served in accordance
with the Disclosure Statement Order. Unless an objection to the Plan is timely served and
filed, it may not be considered by the Bankruptcy Court.

VII.   RISK FACTORS

        Holders of Claims should read and carefully consider the risk factors set forth below, as
well as the other information set forth in this Disclosure Statement and the documents delivered
together with this Disclosure Statement, referred to or incorporated by reference in this
Disclosure Statement, before reaching their own views prior to voting to accept or reject the
Plan. These factors should not be regarded as constituting the only risks present in connection
with the Debtors’ business or the Plan and its implementation. All of these factors are
contingencies which may or may not occur and the Debtors are not in a position to express a
view on the likelihood of any such contingency occurring.

       A.      CERTAIN BANKRUPTCY CONSIDERATIONS

               1.      The Debtors May Not Be Able to Secure Confirmation

        Although section 1129(b) of the Bankruptcy Code allows, under certain circumstances,
confirmation of a plan even where not all Impaired Classes accept the Plan, section 1129(a)(10)
requires that at least one Impaired Class has accepted the Plan. There can be no assurance that
the requisite acceptances to confirm the Plan will be received. As discussed above, Class 1, 4 or
5 are the only Impaired Classes entitled to vote on the Plan. If none of Class 1, Class 4 and Class
5 vote to accept the Plan, the Plan will not comply with the confirmation requirements of section
1129.

       Even if the requisite acceptances are received, there can be no assurance that the
Bankruptcy Court will confirm the Plan. The Bankruptcy Court may find that the statutory
requirements for Confirmation have not been met, including the best interest of creditors test.

      The Debtors, subject to the terms and conditions of the Plan and the Plan Support
Agreement, reserve the right to modify the terms and conditions of the Plan as necessary for


                                                -80-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 296 of 342



Confirmation. Any such modifications may result in a less favorable treatment of any Class than
the treatment currently provided in the Plan. Such a less favorable treatment may include a
Distribution of a lesser value than currently provided in the Plan.

        In the event the Plan is not confirmed, the Debtors may seek to pursue another strategy to
reorganize the Debtors, such as an alternative chapter 11 plan (which, as described above the,
Debtor does not believe is available), a dismissal of these cases and an out-of-court dissolution,
an assignment for the benefit of creditors, a conversion to a chapter 7 cases or other strategies.
There can be no assurance that the terms of any such alternative strategies would be similar or as
favorable to the holders of Allowed Claims as those proposed in the Plan.

               2.      Releases, Injunctions and Exculpations Provisions May Not Be
                       Approved

        Section XI of the Plan provides for certain releases, injunctions, and exculpations, for
claims and Causes of Action that may otherwise be asserted against the Debtors, the Reorganized
Debtors, the exculpated parties, or the Released Parties, as applicable. The releases, injunctions,
and exculpations provided in the Plan are subject to objection by parties in interest and may not
be approved. If the releases and exculpations are not approved, certain parties may not be
considered Releasing Parties, Released Parties, or exculpated parties, and certain Released
Parties or Exculpated Parties may withdraw their support for the Plan.

               3.      Risks Related to Possible Objections to the Plan

        There is a risk that certain parties could oppose and object to either the entirety of the
Plan or specific provisions of the Plan. Although the Debtors believe that the Plan complies with
all relevant Bankruptcy Code provisions, there can be no guarantee that a party in interest will
not file an objection to the Plan or that the Bankruptcy Court will not sustain such an objection.
An objection that is sustained and is contrary to the terms of the Plan Support Agreement could
lead to a failure of a condition to effectiveness of the Plan.

               4.      Risk of Termination of the Plan Support Agreement

         The Plan Support Agreement contains certain provisions that give the Plan Sponsor the
ability to terminate the Plan Support Agreement if various conditions are satisfied or not satisfied
(as applicable), including, among others, (i) if the Debtors lose the exclusive right to file a plan
or plans of reorganization or to solicit acceptances thereof pursuant to section 1121 of the
Bankruptcy Code, (ii) a trustee or an examiner with expanded powers is appointed in any of
these chapter 11 cases, (iii) any of these chapter 11 cases are dismissed or converted to a case
under chapter 7 of the Bankruptcy Code, (iv) failure of the Debtors to meet certain milestones,
and (v) the Debtors’ pursuit of a Plan inconsistent with the terms of the Plan Support Agreement
and Plan Term Sheet. Termination of the Plan Support Agreement could result in protracted
chapter 11 cases, have a negative impact on the Debtors’ ability to consummate the Transaction
and implement the Plan, and could significantly and detrimentally impact the Debtors’
relationships with vendors, suppliers, employees, and major customers.

               5.      Risk of Nonoccurrence of the Effective Date



                                                -81-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 297 of 342



         The Plan Support Agreement contains numerous conditions that must be met by the
Effective Date. There can be no assurance as to such timing or as to whether the Effective Date
will, in fact, occur as there can be no assurance of the satisfaction of certain conditions precedent
to the Effective Date, including consummation of the Transaction.

       B.      RISK FACTORS THAT MAY AFFECT RECOVERIES AVAILABLE TO
               HOLDERS OF ALLOWED CLAIMS UNDER THE PLAN

               1.      Claims May Be Higher Than Projected

       There can be no assurance that the estimated Allowed number of certain Claims will not
be significantly more than projected, which could cause the value of pro rata Distributions to be
reduced substantially. Inevitably, some assumptions will not materialize, and unanticipated
events and circumstances may affect the ultimate results.

               2.      The Debtors Cannot Guarantee Recoveries or the Timing of such
                       Recoveries

       Although the Debtors have made commercially reasonable efforts to project recoveries to
the holders of Allowed Claims, it is possible that the amount of Allowed Claims will be
materially higher than any range the Debtors have considered to date, and thus recoveries could
be materially reduced or eliminated. In addition, the timing of actual Distributions to holders of
Allowed Claims may be affected by many factors that cannot be predicted. Therefore, the
Debtors cannot guarantee the timing of any recovery on an Allowed Claim.

       C.      DISCLOSURE STATEMENT DISCLAIMER

               1.      The Financial Information Contained in this Disclosure Statement Has
                       Not Been Audited

        In preparing this Disclosure Statement, the Debtors and their advisors relied on financial
data derived from the Debtors’ books and records that was available at the time of such
preparation. Although the Debtors have used their reasonable business judgment to ensure the
accuracy of the financial information, and any conclusions or estimates drawn from such
financial information, and although the Debtors believe that such financial information fairly
reflects the financial condition of the Debtors, the Debtors are unable to represent or warrant that
the financial information contained herein and in the Plan, or any such conclusions or estimates
drawn therefrom, is without inaccuracies.

               2.      Information Contained in this Disclosure Statement Is for Soliciting
                       Votes

       The information contained in this Disclosure Statement is for the purpose of soliciting
acceptances of the Plan and may not be relied upon for any other purpose.

               3.      The Disclosure Statement May Contain Forward Looking Statements




                                                 -82-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 298 of 342



       This Disclosure Statement may contain “forward looking statements” within the meaning
of the Private Securities Litigation Reform Act of 1995. Such statements consist of any
statement other than a recitation of historical fact and can be identified by the use of forward
looking terminology such as “may,” “will,” “might,” “expect,” “believe,” “anticipate,” “could,”
“would,” “estimate,” “continue,” “pursue” or the negative thereof or comparable terminology.
All forward-looking statements are necessarily speculative, and there are certain risks and
uncertainties that could cause actual events or results to differ materially from those referred to
in such forward looking statements. The information contained herein and in the Plan is an
estimate only, based upon information currently available to the Debtors.

               4.      No Legal or Tax Advice is Provided to You by this Disclosure Statement

        This Disclosure Statement is not legal advice to you. The contents of this Disclosure
Statement should not be construed as legal, business or tax advice. Each holder of a Claim or an
Interest should consult his or her own legal counsel, accountant or other applicable advisor with
regard to any legal, tax and other matters concerning his, her or its Claim or Interest. This
Disclosure Statement may not be relied upon for any purpose other than to determine (i) how to
vote on the Plan, (ii) whether or not to opt-out of the Releases as set forth in Section XI.E of the
Plan, and (iii) whether or not object to Confirmation.

               5.      No Admissions Made

        The information and statements contained in this Disclosure Statement will neither
(a) constitute an admission of any fact or liability by any Entity (including, without limitation,
the Debtors) nor (b) be deemed evidence of the tax or other legal effects of the Plan on the
Debtors, holders of Allowed Claims or Allowed Interests or any other parties in interest.

               6.      Failure to Identify Objections

       No reliance should be placed on the fact that a projected objection to a particular Claim
is, or is not, identified in this Disclosure Statement. The Reorganized Debtors and/or
Liquidating Debtors, as applicable, may object to Claims after the Effective Date irrespective of
whether this Disclosure Statement identifies objections to such Claims.

               7.      No Waiver of Right to Object or Right to Recover Transfers and Assets

        The vote by a holder of a Claim for or against the Plan does not constitute a waiver or
release of any claims, causes of action or rights of the Debtors (or any other Entity, as the case
may be) to object to that holder’s Claim, or recover any preferential, fraudulent or other voidable
transfer, regardless of whether any Claims or Causes of Action of the Debtors or their Estates are
specifically or generally identified in this Disclosure Statement.

               8.      Information was Provided by the Debtors and was Relied Upon by the
                       Debtors’ Advisors

       The Debtors’ advisors have relied upon information provided by the Debtors in
connection with the preparation of this Disclosure Statement. Although the Debtors’ advisors
have performed certain limited due diligence in connection with the preparation of this


                                                -83-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 299 of 342



Disclosure Statement, they have not independently verified the information contained in the Plan
and in this Disclosure Statement.

               9.      No Representations Outside this Disclosure Statement are Authorized

       No representations concerning or relating to the Debtors, these cases or the Plan are
authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement and the Committee Letter. Any representations or inducements made to
secure your acceptance or rejection of the Plan other than as contained in this Disclosure
Statement and the Committee Letter should not be relied upon by you in arriving at your
decision. You should promptly report unauthorized representations or inducements to counsel to
the Debtors and the U.S. Trustee.

       D.      RISKS RELATING TO SECURITIES TO BE ISSUED UNDER THE PLAN

               1.      Market for Securities

        There is currently no market for the New Equity Interests or BidCo Equity Consideration,
and the Reorganized Debtors are under no obligation to list any securities on any securities
exchange. Therefore, there can be no assurance that any of the foregoing securities will be
tradable or liquid at any time after the Effective Date. If a trading market does not develop or is
not maintained, holders of the foregoing securities may experience difficulty in reselling such
securities or may be unable to sell them at all. Even if such a market were to exist, such
securities could trade at prices higher or lower than the estimated value set forth in the
Disclosure Statement depending upon many factors including prevailing interest rates, markets
for similar securities, industry conditions, and the performance of, and investor expectations for
the Reorganized Debtors and BidCo. Accordingly, holders of these securities may bear certain
risks associated with holding securities for an indefinite period of time.

               2.      Potential Dilution

        The ownership percentage represented by the New Equity Interests or BidCo Equity
Consideration distributed on the Effective Date under the Plan may be subject to dilution from
the conversion of any options, warrants, convertible securities, exercisable securities, or other
securities that may be issued postemergence, including, as a result of the conversion of the
Interim Funding Claims into BidCo Equity Interests on the Effective Date. In the future, similar
to all companies, additional equity financings or other share issuances by the Reorganized
Debtors or BidCo could adversely affect the value of the New Equity Interests and the BidCo
Equity Interests. The amount and dilutive effect of any of the foregoing could be material.

        The ownership percentage represented by the New Equity Interests or BidCo Equity
Consideration distributed on the Effective Date under the Plan may be subject to dilution from
the conversion of any options, warrants, convertible securities, exercisable securities, or other
securities that may be issued postemergence, including, as a result of the conversion of the
Interim Funding Claims into BidCo Equity Interests on the Effective Date. In the future, similar
to all companies, additional equity financings or other share issuances by the Reorganized




                                                -84-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 300 of 342



Debtors or BidCo could adversely affect the value of the New Equity Interests and the BidCo
Equity Interests. The amount and dilutive effect of any of the foregoing could be material

               3.      Equity Interests Subordinated to Indebtedness

        In any subsequent liquidation, dissolution, or winding down of the Reorganized Debtors,
the New Equity Interests would rank below all debt claims against the Reorganized Debtors. As
a result, holders of the New Equity Interests will not be entitled to receive any payment or other
Distribution of assets upon the liquidation, dissolution, or winding down of the Reorganized
Debtors until after all the applicable entity’s obligations to their debt holders have been satisfied.

               4.      Implied Value of New Equity Interests or BidCo Equity Interests Not
                       Intended to Represent Trading Value of New Equity Interests and
                       BidCo Equity Interests, Respectively

        The implied value of the Reorganized Debtors is not intended to represent the trading
value of New Equity Interests or BidCo Equity Interests in public or private markets and is
subject to additional uncertainties and contingencies, all of which are difficult to predict. Actual
market prices of such securities at issuance will depend upon, among other things: (a) prevailing
interest rates; (b) conditions in the financial markets; (c) the anticipated initial securities of
creditors receiving New Equity Interests or BidCo Equity Interests under the Plan, some of
which may prefer to liquidate their investment rather than hold it on a long-term basis; and (d)
other factors that generally influence the prices of securities. The actual market price of the New
Equity Interests and BidCo Equity Interests are likely to be volatile. Many factors, including
factors unrelated to the actual operating performance of the Reorganized Debtors and BidCo, and
other factors not possible to predict, could cause the market price of the New Equity Interests or
BidCo Equity Interests to rise and fall. Accordingly, the implied value, stated herein and in the
Plan, of the securities to be issued does not necessarily reflect, and should not be construed as
reflecting, values that will be attained for the New Equity Interests or BidCo Equity Interests in
the public or private markets.

               5.      No Dividends

        The Reorganized Debtors may not pay any dividends on the New Equity Interests and
may instead retain any future cash flows for debt reduction and to support operations. Similarly,
BidCo may not pay any dividends on the BidCo Equity Interests and may instead retain any
future cash flows for debt reduction and to support its operations. As a result, the success of an
investment in the New Equity Interests or BidCo Equity Interests may depend entirely upon any
future appreciation in the value of the New Equity Interests or BidCo Equity Interests, as
applicable. There is no guarantee that the New Equity Interests or BidCo Equity Interests will
appreciate in value or even maintain their initial value.

       E.      RISKS RELATED TO THE DEBTORS’ BUSINESSES

               1.      Macroeconomic Conditions

      On March 11, 2020, the spread of COVID-19 (also known as coronavirus) was declared a
“pandemic” by the World Health Organization. The situation with respect to COVID-19


                                                 -85-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 301 of 342



continues to evolve rapidly. The extent to which COVID-19 may impact the Debtors’
operational and financial performance is uncertain.

               2.      Financial Results May Be Volatile and May Not Reflect Historical
                       Trends

       The Financial Projections attached hereto as Annex C are based on assumptions that are
an integral part of the projections, including Confirmation and implementation of the Plan in
accordance with its terms, the anticipated future performance of the Reorganized Debtors,
industry performance, general business and economic conditions, and other matters, many of
which are beyond the control of the Reorganized Debtors and some or all of which may not
materialize.

        In addition, unanticipated events and circumstances occurring after the date hereof may
affect the actual financial results of the Debtors’ operations. These variations may be material
and may adversely affect the value of the New Equity Interests and the ability of the Debtors to
make payments with respect to their indebtedness. Because the actual results achieved may vary
from projected results, perhaps significantly, the Financial Projections should not be relied upon
as a guarantee or other assurance of the actual results that will occur.

        Further, during the chapter 11 cases, the Debtors’ financial results may be volatile as
restructuring activities and expenses, contract terminations and rejections, and claims
assessments significantly impact the Debtors’ consolidated financial statements. As a result, the
Debtors’ historical financial performance likely will not be indicative of their financial
performance after the Petition Date. In addition, if the Debtors emerge from the chapter 11
cases, the amounts reported in subsequent consolidated financial statements may materially
change relative to historical consolidated financial statements, including as a result of revisions
to the Debtors’ operating plans pursuant to a plan of reorganization. The Debtors also may be
required to adopt fresh start accounting, in which case their assets and liabilities will be recorded
at fair value as of the fresh start reporting date, which may differ materially from the recorded
values of assets and liabilities on the Debtors’ consolidated balance sheets. The Debtors’
financial results after the application of fresh start accounting also may be different from
historical trends.

        Lastly, the business plan was developed by the Debtors with the assistance of their
advisors. There can be no assurances that the Debtors’ business plan will not change, perhaps
materially, as a result of decisions that the board of directors may make after fully evaluating the
strategic direction of the Debtors and their business plan. Any deviations from the Debtors’
existing business plan would necessarily cause a deviation in the Financial Projections.

               3.      The Debtors’ Substantial Liquidity Needs May Impact the Plan

        The Debtors operate in a capital-intensive industry. The Debtors face uncertainty
regarding the adequacy of their liquidity and capital resources. In addition to the cash necessary
to fund ongoing operations, the Debtors have incurred significant professional fees and other
costs in connection with preparing for the chapter 11 cases and expect to continue to incur
significant professional fees and costs throughout the chapter 11 cases. The Debtors cannot


                                                 -86-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 302 of 342



guarantee that Cash on hand, Cash paid provided by the Plan Sponsor and Cash provided by the
DIP Agreement will be sufficient to continue to fund their operations and allow the Debtors to
satisfy obligations related to the chapter 11 cases until the Debtors are able to emerge from
bankruptcy protection.

        The Debtors’ liquidity, including the ability to meet ongoing operational obligations, will
be dependent upon, among other things: (a) their ability to comply with the terms and condition
of the DIP Agreement, the DIP Order, the DIP Amendment Order, and the Cash Collateral Order
in connection with the chapter 11 cases; (b) their ability to maintain adequate cash on hand;
(c) their ability to develop, confirm, and consummate the Plan; and (d) the cost, duration, and
outcome of the chapter 11 cases. The Debtors’ ability to maintain adequate liquidity depends, in
part, upon industry conditions and general economic, financial, competitive, regulatory, and
other factors beyond the Debtors’ control. In the event that Cash on hand, Cash provided by the
sale of the New Equity Interests, and Cash provided under the DIP Agreement are not sufficient
to meet the Debtors’ liquidity needs, the Debtors may be required to seek additional financing.
The Debtors can provide no assurance that additional financing would be available or, if
available, offered to the Debtors on acceptable terms. The Debtors’ access to additional
financing is, and for the foreseeable future likely will continue to be, extremely limited if it is
available at all.

               4.      The Debtors’ Business is Subject to Complex Laws and Regulations
                       That Can Adversely Affect the Cost, Manner, or Feasibility of Doing
                       Business

        The Debtors’ operations are subject to extensive foreign, federal, state and local laws and
regulations, including complex telecommunication and satellite laws and regulations. The
Debtors may be required to make large expenditures to comply with such laws and regulations.
Failure to comply with these laws and regulations may result in the suspension or termination of
operations and subject the Reorganized Debtors to administrative, civil and criminal penalties.
These liabilities and costs could have a material adverse effect on the business, financial
condition, results of operations and cash flows of the Reorganized Debtors.

               5.      The Reorganized Debtors May Be Adversely Affected by Potential
                       Litigation, Including Litigation Arising Out of the Chapter 11 Cases

         The Reorganized Debtors may become parties to future litigation. Litigation can be
expensive and time consuming to prosecute or defend. Such litigation could result in settlements
or damages that could significantly affect the Reorganized Debtors’ financial results. It is also
possible that certain parties will commence litigation with respect to the treatment of their
Claims under the Plan. It is not possible to predict the potential litigation that the Reorganized
Debtors may become party to, nor the final resolution of such litigation. The impact of any such
litigation on the Reorganized Debtors’ businesses and financial stability, however, could be
material.

               6.      The Loss of Key Personnel Could Adversely Affect the Debtors’
                       Operations



                                                -87-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 303 of 342



        The Debtors’ operations are dependent on a relatively small group of key management
personnel and a highly skilled employee base. The Debtors’ recent liquidity issues and the
chapter 11 cases have created distractions and uncertainty for key management personnel and
employees. Because competition for experienced personnel can be significant, the Debtors may
be unable to find adequate replacements with comparable skills and experience and the loss of
such key management personnel could adversely affect the Debtors’ ability to operate their
businesses. In addition, a loss of key personnel or material erosion of employee morale could
have a material adverse effect on the Debtors’ ability to meet expectations, thereby adversely
affecting the Debtors’ businesses and the results of operations.

               7.      Certain Claims May Not Be Discharged and Could Have a Material
                       Adverse Effect on the Debtors’ Corporate Reputation or Brand
                       Perception, Financial Condition, and Results of Operations

        The Bankruptcy Code provides that the confirmation of a plan of reorganization
discharges a debtor from substantially all debts arising prior to confirmation. With few
exceptions, all Claims that arose prior to the Petition Date or before Confirmation (a) would be
subject to compromise and/or treatment under the Plan and/or (b) would be discharged in
accordance with the terms of the Plan. Any Claims not ultimately discharged through the Plan
could be asserted against the Reorganized Debtors and harm the Reorganized Debtors’
reputations and/or damage their brands, which may have an adverse effect on the Reorganized
Debtors’ financial condition and results of operations.

               8.      Recent Global Economic Trends Could Adversely Affect the Debtors’
                       Business, Results of Operations and Financial Condition, Primarily
                       Through Disruption to the Debtors’ Customers’ Businesses

       Recent global economic conditions, including disruption of financial markets, could
adversely affect the Debtors’ business, results of operations and financial condition, primarily
through disrupting their customers’ businesses. Higher rates of unemployment and lower levels
of business activity generally adversely affect the level of demand for certain of the Debtors’
products and services. In addition, continuation or worsening of general market conditions in the
U.S. economy, the departure of the U.K. from the EU single market and customs union or other
national economies important to the Debtors’ businesses may adversely affect the Debtors’
customers’ level of spending, ability to obtain financing for purchases and ability to make timely
payments to the Debtors for their products and services.

               9.      Consent Required Relating to FCC and Other Communications
                       Licenses

         A change in control of the OneWeb entities that hold Spectrum Licenses, market access
“landing rights” licenses or authorizations, SNP and/or TT&C Station licenses or authorizations,
User Terminal experimental licenses or authorizations for launch and in-orbit operations of
satellites will, depending on the type of license, permit, consent or authorization, involve either a
notification requirement to, or alternatively a requirement to obtain consent from, the relevant
national regulatory authority.



                                                 -88-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 304 of 342



        FCC approval will be required to assign the Debtors’ FCC SNP and experimental
licenses to the Reorganized Debtors pursuant to the Plan. Applications requesting such FCC
approval will have to detail the change in control of the Reorganized Debtors in order to account
for the New Equity Interests acquired by the Plan Sponsor. Similarly, certain of Debtors’ other
radio-frequency spectrum authorizations, market access licenses and other communications
services related authorizations or licenses may also require disclosure of details associated with
the change in control the Reorganized Debtors. Timing of FCC and other communications
regulatory authority approvals associated with emergence will be difficult to predict.

        The Debtors can provide no assurance that the required regulatory and governmental
consents in connection with the Transaction under the Plan will be obtained. In addition, even if
all required regulatory and other governmental consents are obtained and the closing conditions
are satisfied, no assurance can be given as to the terms, conditions, and timing of the approvals
or clearances.




                                               -89-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 305 of 342



               10.     CFIUS Approval Required

        The Committee on Foreign Investment in the United States, through powers conferred by
legislation and delegated by the President of the United States, is authorized to conduct
investigations of any investment, acquisition, merger, takeover or other transaction that could
result in a foreign person acquiring (A) control of a U.S. business or (B) with respect to U.S.
businesses that deal with “critical technology,” “critical infrastructure” or “sensitive personal
data” of U.S. citizens, rights to hold or obtain a board of directors voting seat or observer seat,
rights to access certain information or rights to participate in substantive decision-making
relating to critical technology, critical infrastructure, or sensitive personal data of U.S. citizens.
If CFIUS determines that such a transaction could threaten to impair the national security of the
United States, it may work with the transaction parties to mitigate the perceived national security
risk. If CFIUS determines that risk mitigation is not possible and the parties decline to abandon
the transaction voluntarily, then CFIUS may refer the matter to the President for a decision
whether to suspend or prohibit the transaction. In 2016, OneWeb and SoftBank voluntarily
notified CFIUS of SoftBank’s indirect acquisition of a 38.11% voting interest in OneWeb.
CFIUS concluded its review of the transaction in 2017 with a finding that it had no outstanding
concerns of risk to U.S. national security. As a condition to reaching that conclusion, CFIUS
required OneWeb and SoftBank to enter into a National Security Agreement with the U.S.
Department of Defense to address and mitigate concerns relating to U.S. national security.
Given that the Transaction contemplated by the Plan involves non-U.S. parties acquiring control
of OneWeb, and given that OneWeb’s business involves “critical technologies” as defined in the
CFIUS regulations utilized in connection with activities of OneWeb of a kind enumerated in
those regulations, it will be necessary for OneWeb and the acquirer(s) of the New Equity
Interests to formally notify the transaction to CFIUS. It is highly recommended that the Parties
make conclusion of review by CFIUS with an affirmative finding of no national security
concerns a precondition to emergence from chapter 11. When CFIUS formally accepts a notice
for review, it has 45 days in which to complete a first-stage “review.” This may be followed by
an additional 45-day period for second-stage “investigation.” But even before a notice is
accepted, time is required for CFIUS staff to examine a draft notice and verify its completeness,
and more often than not parties are required to revise a draft notice to address comments from
CFIUS staff. These additional steps before a notice is accepted make it difficult to assess the
length of the CFIUS review process. From the date the parties begin drafting a notice to the date
CFIUS concludes its review ordinarily will be four to six months. As a condition to approving
the notified transaction, CFIUS or its member agencies may require OneWeb and BidCo to enter
into mitigation measures to address concerns relating to U.S. national security.

               11.     Export Controls Notification to the DDTC

        WVD is registered with the Directorate of Defense Trade Controls of the U.S.
Department of State (“DDTC”) as an exporter of defense articles and defense services. Under
the International Traffic in Arms Regulations administered by DDTC, WVD is required to
provide notification to DDTC of any change in the ownership or control of WVD and any change
in the information provided in WVD’s annual DDTC registration statement, including changes
in WVD’s senior management or board of directors. In connection with implementation of the
Plan, WVD will have to provide a notification to DDTC detailing any such changes that would
result from such implementation. As the purchaser(s) of the New Equity Interests include


                                                 -90-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 306 of 342



foreign persons, and implementation of the Plan will result in foreign ownership or control of
WVD, then WVD will have to submit such notification to DDTC no later than 60 days prior to
implementation of the Plan.

VIII.   CERTAIN TAX CONSEQUENCES OF THE PLAN

        A.     CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE
               PLAN

        The following is a general discussion based upon present law of certain U.S. federal
income tax consequences relevant to the implementation of the Plan to the Debtors, the
Reorganized Debtors and U.S. Holders (as defined below) of Allowed Secured Notes Claims,
Allowed General Unsecured Claims, Allowed Ongoing Trade Claims and BidCo Equity
Interests. This summary is limited to U.S. Holders of Allowed Secured Notes Claims, Allowed
General Unsecured Claims, Allowed Ongoing Trade Claims and BidCo Equity Interests who
hold their Claims or BidCo Equity Interests, as applicable, as capital assets for purposes of the
Internal Revenue Code of 1986, as amended (the “Code”). This discussion does not address
rules relating to special categories of holders, including financial institutions, insurance
companies, regulated investment companies, real estate investment trusts, broker-dealers, tax-
exempt organizations, traders in securities that elect to mark-to-market, persons subject to
special accounting rules under section 451(b) of the Code, U.S. expatriates, investors that hold
Claims or BidCo Equity Interests as part of a straddle, hedging, constructive sale or conversion
transaction, holders whose functional currency is not the U.S. dollar or holders who will actually
or constructively own 5% or more of the BidCo Equity Interests (by either vote or value). The
discussion does not address any state, local or foreign taxes, the Medicare tax on net investment
income, the federal alternative minimum tax or any other federal tax other than the federal
income tax. The discussion of U.S. federal income tax consequences below is based on the
Code, Treasury Regulations, judicial authorities, published positions of the U.S. Internal
Revenue Service (the “IRS”) and other applicable authorities, all as in effect on the date of this
Disclosure Statement and all of which are subject to change or differing interpretations (possibly
with retroactive effect). The U.S. federal income tax consequences of the contemplated
transactions are complex and subject to significant uncertainties. Holders should note that no
rulings from the IRS have been sought with respect to any of the U.S. federal income tax
consequences discussed below, and no assurance can be given that the IRS or a court will not
take contrary positions. This discussion does not address the U.S. federal income tax
consequences to holders of Claims or Interests who are Unimpaired, or who are not entitled to
vote because they are deemed to accept or reject the Plan.

        This summary is not a comprehensive description of all of the U.S. federal tax
consequences that may be relevant with respect to the Plan. U.S Holders are urged to consult
their own tax advisors regarding their particular circumstances and the U.S. federal tax
consequences with respect to the Plan, as well as any tax consequences arising under the laws of
any state, local or foreign tax jurisdiction and the possible effects of changes in U.S. federal or
other tax laws.




                                                -91-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 307 of 342



       As used herein, the term “U.S. Holder” means a beneficial owner of Allowed Secured
Notes Claims, Allowed General Unsecured Claims, Allowed Ongoing Trade Claims, or BidCo
Equity Interests, as applicable, that for U.S. federal income tax purposes is any of the following:

                      an individual citizen or resident of the United States;

                      a corporation or any other entity treated as a corporation for U.S. federal
                       income tax purposes created or organized in or under the laws of the
                       United States, any state thereof or the District of Columbia;

                      an estate the income of which is subject to U.S. federal income taxation
                       regardless of its source; or

                      a trust if it (1) is subject to the primary supervision of a court within the
                       United States and one or more U.S. persons have the authority to control
                       all substantial decisions of the trust or (2) has a valid election in effect
                       under applicable Treasury Regulations to be treated as a U.S. person.

        If an entity or arrangement treated as a partnership for U.S. federal income tax purposes
holds Allowed Secured Notes Claims, Allowed General Unsecured Claims, Allowed Ongoing
Trade Claims, or BidCo Equity Interests, the U.S. federal income tax treatment of a partner
therein generally will depend upon the status of the partner and the activities of the partnership
and accordingly, this summary does not apply to partnerships. A partner of a partnership
exchanging Allowed Secured Notes Claims, Allowed General Unsecured Claims or Allowed
Ongoing Trade Claims pursuant to the Plan should consult its own tax advisor regarding the U.S.
federal income tax consequences to the partner of exchanging Allowed Secured Notes Claims,
Allowed General Unsecured Claims or Allowed Ongoing Trade Claims

               1.      Certain U.S. Federal Income Tax Consequences to the Debtors

        Only one of the Debtors, WVD, which has elected to be treated as a corporation for U.S.
federal income tax purposes, is required to file a U.S. federal income tax return. WJVH and
OneWeb Holdings LLC are each treated as disregarded entities of WVD for U.S. federal income
tax purposes. As of January 1, 2020, WVD estimates that it has net operating loss (“NOL”)
carryforwards in excess of $45 million and certain other favorable tax attributes, including
general business credit carryforwards, in excess of $28 million. As discussed below, if WVD is
one of the Reorganized Debtors, any NOLs and other tax attributes may be reduced or otherwise
subject to limitation as a result of or following the implementation of the Plan.

                       a.     Cancellation of Debt and Reduction of Tax Attributes

       In general, absent an exception, a debtor that is a U.S. taxpayer will realize and recognize
cancellation of debt income (“CODI”) upon satisfaction of its outstanding indebtedness for total
consideration less than the amount of such indebtedness. The amount of CODI, in general, is the
excess of (a) the adjusted issue price of the indebtedness satisfied over (b) the sum of (x) the
adjusted issue price of any new indebtedness of the taxpayer issued and (y) the fair market value
of any stock or other consideration given in satisfaction of such indebtedness at the time of the


                                                -92-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 308 of 342



exchange. The amount of CODI for WVD, if any, arising in connection with the implementation
of the Plan and the amount of WVD’s tax attributes potentially subject to reduction (as described
below), will generally depend on the amount of any Cash and the fair market value of any other
consideration received (or treated as received) by holders of General Unsecured Claims and
Ongoing Trade Claims under the Plan and the amount of General Unsecured Claims and
Ongoing Trade Claims against WVD and its subsidiaries, and may also be impacted by the
manner in which the Plan is implemented. These factors are not known at this time and may not
be known with certainty until after the Effective Date and, as a result, the total amount of CODI
for WVD arising as a result of the implementation of the Plan cannot be determined until after
the Effective Date.

         A debtor generally will not, however, be required to include any amount of CODI in
gross income if the debtor is under the jurisdiction of a court in a case under chapter 11 of the
Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding, as would be the
case if the Plan were approved. Instead, as a consequence of such exclusion, a debtor generally
must reduce certain of its tax attributes by the amount of CODI that it excluded from gross
income pursuant to section 108 of the Code. In general, tax attributes are reduced in the
following order: (a) NOLs and NOL carryforwards; (b) most tax credits; (c) capital loss
carryovers; (d) tax basis in assets (but not below the amount of liabilities to which the
reorganized company remains subject immediately after the discharge); (e) passive activity loss
and credit carryovers; and (f) foreign tax credits. Alternatively, a debtor with CODI may elect
first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the Code.
Although not free from doubt, it is expected that carryovers of disallowed business interest
expense are not tax attributes subject to such reduction. If the amount of excluded CODI
exceeds available tax attributes, the excess generally is not subject to U.S. federal income tax
and has no other U.S. federal income tax impact.

        WVD may realize CODI as a result of the implementation of the Plan. As noted above,
the amount of CODI will not be determinable until after the Effective Date. Any such amount,
however, is expected to be excluded from WVD’s gross income and reduce WVD’s NOLs
and/or other tax attributes. In addition, as discussed below under “Limitation of NOL
Carryforwards and Other Tax Attributes,” WVD’s ability to utilize those reduced NOLs and/or
other tax attributes is expected to be subject to limitation as a result of the implementation of the
Plan. Any changes in the direct or indirect ownership of equity interests in WVD following the
Effective Date may further limit WVD’s ability to utilize any NOLs and/or other tax attributes.




                                                 -93-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 309 of 342



                       b.      Limitation of NOL Carryforwards and Other Tax Attributes

        Under sections 382 and 383 of the Code, if a corporation undergoes an “ownership
change,” the amount of any NOLs, interest expense carryforwards, tax credit carryforwards, net
unrealized built-in losses, and possibly certain other tax attributes of the corporation allocable to
periods prior to the ownership change (collectively, “Pre-Change Losses”) that may be utilized to
offset future taxable income generally are subject to an annual limitation. For purposes of this
discussion, it is assumed that WVD has not already undergone an “ownership change” during the
pendency of these chapter 11 cases. The implementation of the Plan is expected to result in an
“ownership change” of WVD for these purposes if WVD is one of the Reorganized Debtors. As
a result, if WVD is one of the Reorganized Debtors, WVD’s use of its Pre-Change Losses will
be subject to limitation unless an exception to the general rules of section 382 of the Code
applies. For this purpose, if a corporation has a net unrealized built-in loss at the time of an
ownership change (taking into account most assets and items of “built-in” income and
deductions), then generally built-in losses (including amortization or depreciation deductions
attributable to such built-in losses) recognized during the following five years (up to the amount
of the original net unrealized built-in loss) will be treated as Pre-Change Losses and similarly
will be subject to the annual limitation. In general, a corporation’s net unrealized built-in loss
will be deemed to be zero unless it is greater than the lesser of (a) $10,000,000 or (b) 15% of the
fair market value of its assets (with certain adjustments) before the ownership change. On
September 9, 2019, the IRS issued proposed regulations that would significantly modify the
calculation and treatment of net unrealized built-in gains and losses; however, the IRS recently
amended the proposed effective date provision of those regulations to exempt from the new
regulations ownership changes pursuant to chapter 11 cases filed prior to the regulations
becoming effective. Thus, if the proposed regulations are finalized in their current form, the
proposed regulations are not expected to apply to WVD and the remainder of this discussion
assumes they will not apply.

                               i.      General Section 382 Annual Limitation

        In general, the amount of the annual limitation to which a corporation that undergoes an
“ownership change” would be subject is equal to the product of (a) the fair market value of the
stock of the corporation immediately before the “ownership change” (with certain adjustments)
multiplied by (b) the “long-term tax-exempt rate” (which is the highest of the adjusted federal
long-term rates in effect for any month in the three-calendar-month period ending with the
calendar month in which the ownership change occurs, e.g. 0.89% for ownership changes
occurring in July 2020). The section 382 limitation may be increased if the company has a net
unrealized built-in gain in its assets as of the ownership change date and the company recognizes
certain built-in gains in their assets during the five-year period following the ownership change
or are treated as recognizing built-in gains pursuant to the safe harbors provided in IRS Notice
2003-65. Section 383 of the Code applies a similar limitation to capital loss carryforwards and
tax credits. Any portion of the annual limitation that is not used in a given year may be carried
forward, thereby increasing the annual limitation in the subsequent taxable year. As discussed
below, however, special rules may apply in the case of a corporation that experiences an
ownership change as the result of a bankruptcy proceeding.




                                                 -94-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                         Pg 310 of 342



         If the corporation does not continue its historic business or use a significant portion of its
historic assets in a new business for at least two years after the ownership change, the annual
limitation resulting from the ownership change is reduced to zero, thereby precluding any
utilization of the ‘corporation’s Pre-Change Losses (absent any increases due to recognized built-
in gains).

                               ii.     Special Bankruptcy Exceptions

        An exception to the foregoing annual limitation rules generally applies when so-called
“qualified creditors” and/or shareholders of a debtor corporation in chapter 11 receive, in respect
of their claims or equity interests, respectively, at least 50% of the vote and value of the stock of
the reorganized debtor (or a controlling corporation if also in chapter 11) pursuant to a confirmed
chapter 11 plan (the “382(l)(5) Exception”). Under the 382(l)(5) Exception, a debtor’s Pre-
Change Losses are not limited on an annual basis, but, instead, the amount of the debtor’s Pre-
Change Losses is re-determined as if no interest deductions were allowable during the three
taxable years preceding the ownership change, and during the part of the taxable year prior to
and including the ownership change, in respect of all debt converted into stock in the
reorganization. If the 382(l)(5) Exception applies and the company undergoes another
“ownership change” within two years after the first change, then the company’s Pre-Change
Losses thereafter would be effectively eliminated in their entirety unless there is a net unrealized
built-in gain in the company’s assets. Any future ownership change after such two-year period
would subject WVD to the general limitations under sections 382 and 383 of the Code. Where
the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either because the
debtor does not qualify for it or the debtor otherwise elects not to utilize the 382(l)(5)
Exception), a second special rule will generally apply (the “382(l)(6) Exception”). Under the
382(l)(6) Exception, the annual limitation will be calculated by reference to the lesser of (a) the
value of the debtor corporation’s stock (with certain adjustments) immediately after the
ownership change and (b) the value of such debtor corporation’s assets (determined without
regard to liabilities) immediately before the ownership change. This differs from the ordinary
rule that requires the fair market value of a debtor corporation that undergoes an “ownership
change” to be determined before the events giving rise to the change. The 382(l)(6) Exception
also differs from the 382(l)(5) Exception in that under it the debtor corporation is not required to
re-determine the amount of its Pre-Change Losses as if no interest deductions were allowable
with respect to the debt exchanged for stock in the manner described above, and the debtor may
undergo a change of ownership within two years without automatically triggering the elimination
of its Pre-Change Losses. The resulting limitation would be determined under the regular rules
for ownership changes.

       WVD is not expected to qualify for the 382(l)(5) Exception under the Plan.

               2.      U.S. Holders of Allowed Secured Notes Claims

                       a.      Consequences of Receiving BidCo Equity Consideration

       Pursuant to the Plan, each holder of Allowed Secured Notes Claims will receive its pro
rata share of the BidCo Equity Consideration in satisfaction of its Allowed Secured Notes
Claims. The U.S. federal income tax consequences of the Plan to U.S. Holders of Allowed


                                                  -95-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 311 of 342



Secured Notes Claims will depend on whether the exchange of the Allowed Secured Notes
Claims pursuant to the Plan constitutes a taxable transaction or a tax-deferred transaction, such
as an exchange governed by section 351 of the Code and/or section 368 of the Code. Whether
the exchange constitutes a taxable transaction or a tax-deferred transaction will depend on the
manner in which the transactions undertaken pursuant to the Plan (including the transaction steps
set forth in Exhibit 1 of the Plan) are consummated and may also depend on whether the
Allowed Secured Notes Claims are treated as “securities” for U.S. federal income tax purposes.

        Whether a debt instrument constitutes a “security” for U.S. federal income tax purposes
is determined based on all the relevant facts and circumstances, but most authorities have held
that the length of the term of a debt instrument at initial issuance is an important factor in
determining whether such instrument is a security for U.S. federal income tax purposes. These
authorities have indicated that a term of less than five years is evidence that the instrument is not
a security, whereas a term of ten years or more is evidence that it is a security. The A&R NPA
under which the Secured Notes were issued was entered into on March 18, 2019, which was five
years before the stated maturity date for the Secured Notes. There are numerous other factors
that could be taken into account in determining whether a debt instrument is a security, including
the security for payment, the creditworthiness of the obligor at the time of issuance, the
subordination or lack thereof with respect to other creditors, the right to vote or otherwise
participate in the management of the obligor, convertibility of the instrument into an equity
interest of the obligor, whether payments of interest are fixed, variable, or contingent, and
whether such payments are made on a current or accrued basis. A U.S. Holder of Allowed
Secured Notes Claims should consult its own tax advisor to determine whether its Allowed
Secured Notes Claims should be treated as securities for U.S. federal income tax purposes.

        If the exchange of Allowed Secured Notes Claims for the BidCo Equity Consideration
constitutes a taxable transaction, each U.S. Holder of an Allowed Secured Notes Claim generally
will recognize gain or loss in an amount equal to the difference between (i) the fair market value
of the BidCo Equity Interests received (other than any BidCo Equity Interests treated as received
for accrued but unpaid interest and accrued original issue discount (“OID”), if any) and (ii) the
U.S. Holder’s adjusted tax basis in its Allowed Secured Notes Claim immediately prior to the
exchange (other than any tax basis attributable to accrued but unpaid interest and accrued OID, if
any). The character of such gain or loss as capital gain or loss or as ordinary income or loss will
be determined by a number of factors, including the tax status of the U.S. Holder, the nature of
the Allowed Secured Notes Claim in such U.S. Holder’s hands, whether the Allowed Secured
Notes Claim was purchased at a discount, and whether and to what extent the U.S. Holder
previously has claimed a bad debt deduction with respect to its Allowed Secured Notes Claim. If
recognized gain is capital gain, it generally would be long-term capital gain if the U.S. Holder
held its Allowed Secured Notes Claim for more than one year at the time of the exchange. The
deductibility of capital losses is subject to certain limitations. To the extent that a portion of the
BidCo Equity Interests received is allocable to accrued but unpaid interest or OID, the U.S.
Holder may recognize ordinary income. See “Accrued Interest” and “Market Discount” below.
A U.S. Holder’s tax basis in the BidCo Equity Interests received should be equal to the fair
market value of such BidCo Equity Interests. A U.S. Holder’s holding period in such BidCo
Equity Interests received should begin on the day following the Effective Date.




                                                 -96-
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 312 of 342



        If the exchange of Allowed Secured Notes Claims for the BidCo Equity Consideration
constitutes a tax-deferred transaction, subject to the discussion below under “Accrued Interest,”
U.S. Holders of Allowed Secured Notes Claims could be required to recognize gain, but not loss,
upon the exchange. In such case, a U.S. Holder’s tax basis in the BidCo Equity Interests
received (other than any BidCo Equity Interests treated as received in satisfaction of accrued but
unpaid interest and accrued OID, if any) should be equal to the tax basis in the Allowed Secured
Notes Claims exchanged therefor increased by the amount of any gain recognized upon the
exchange, and the holding period for such BidCo Equity Interests should include the holding
period for the exchanged Allowed Secured Notes Claims.

        Regardless of whether the exchange is treated as a taxable transaction or a tax-deferred
transaction, a U.S. Holder will have taxable interest income to the extent of any consideration
allocable to accrued but unpaid interest or OID not previously included in income, as more fully
described below under “Accrued Interest,” which amounts will not be included in the amount
realized with respect to a U.S. Holder’s Allowed Secured Notes Claim.

                      b.      Consequences of Owning BidCo Equity Interests

                              i.      Distributions on BidCo Equity Interests

        Subject to the discussion below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” any distributions with respect to the BidCo Equity Interests (including
any amounts withheld in respect of taxes thereon) generally will be treated as taxable dividends
to the extent paid out of BidCo’s current or accumulated earnings and profits (as determined
under U.S. federal income tax principles). To the extent the amount of any distribution exceeds
BidCo’s current and accumulated earnings and profits for a taxable year (as determined under
U.S. federal income tax principles), the distribution will first be treated as a tax-free return of
capital to the extent of the U.S. Holder’s adjusted tax basis in the BidCo Equity Interests, and
thereafter as capital gain, subject to the discussion below under “Market Discount.” The Debtors
do not know whether BidCo will keep record of its earnings and profits in accordance with U.S.
federal income tax principles. Therefore, U.S. Holders should expect that any distribution on the
BidCo Equity Interests generally will be treated as a dividend unless otherwise noted.

        Any such taxable dividends received by a corporate U.S. Holder will not be eligible for
the “dividends received deduction.” Any such taxable dividends will be eligible for reduced
rates of taxation as “qualified dividend income” for non-corporate U.S. Holders if the following
conditions are met: (i) either (1) BidCo is eligible for the benefits of a comprehensive income
tax treaty with the United States that the Secretary of the U.S. Treasury has determined is
satisfactory and that includes an exchange of information program (which includes, as of the date
hereof, the Convention between the Government of the United States of America and the
Government of the United Kingdom of Great Britain and Northern Ireland for the Avoidance of
Double Taxation and the Prevention of Fiscal Evasion with respect to Taxes on Income and
Capital Gains) or (2) the BidCo Equity Interests are readily tradable on an established securities
market in the United States (including, e.g., the NYSE or NASDAQ); (ii) the U.S. Holder meets
the holding period requirement for the BidCo Equity Interests (generally more than 60 days
during the 121-day period that begins 60 days before the ex-dividend date); and (iii) BidCo was
not in the year prior to the year in which the dividend was paid (with respect to a U.S. Holder


                                                -97-
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 313 of 342



that held BidCo Equity Interests), and is not in the year in which the dividend is paid, a passive
foreign investment company (“PFIC”). Otherwise, such taxable dividends will not be eligible
for reduced rates of taxation as “qualified dividend income.”

        No assurance can be given that BidCo will qualify for the benefits of a comprehensive
income tax treaty, and it is not expected that the BidCo Equity Interests will be considered
readily tradable on an established securities market in the United States as described above. In
addition, as discussed below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” no assurance can be given that BidCo will not be treated as a PFIC.
Accordingly, each non-corporate U.S. Holder is urged to consult its tax advisor regarding
whether taxable dividends received by such U.S. Holder will be eligible for qualified dividend
income treatment.

                               ii.     Sale, Exchange or Other Taxable Disposition of BidCo
                                       Equity Interests

        Subject to the discussion below under “Possible Treatment of BidCo as a Passive Foreign
Investment Company,” a U.S. Holder generally will recognize gain or loss on a sale, exchange or
other taxable disposition of BidCo Equity Interests equal to the difference between the amount
realized on the disposition and the U.S. Holder’s adjusted tax basis in the BidCo Equity Interests.
Subject to the discussion below under “Market Discount” and the following sentence, this gain
or loss generally will be capital gain or loss and generally will be long-term capital gain or loss if
the U.S. Holder has held the BidCo Equity Interests for more than one year. A U.S. Holder that
previously claimed a bad debt deduction with respect to its Allowed Secured Notes Claims or
that is a cash-method taxpayer may be required to treat some or all of this gain as ordinary
income. Generally, for U.S. Holders who are individuals, long-term capital gains are subject to
U.S. federal income tax at a maximum rate of 20%. For foreign tax credit limitation purposes,
gain or loss recognized upon a disposition generally will be treated as from sources within the
United States. The deductibility of capital losses is subject to limitations for U.S. federal income
tax purposes.

                               iii.    Possible Treatment of BidCo as a Passive Foreign
                                       Investment Company

        BidCo may be classified as a PFIC for U.S. federal income tax purposes. In general, a
foreign corporation will be classified as a PFIC if (i) 75% or more of its gross income in a
taxable year is passive income, or (ii) 50% or more of its assets in a taxable year, averaged
quarterly over the year, produce, or are held for the production of, passive income. Passive
income for this purpose generally includes, among other items, interest, dividends, royalties,
rents and annuities. For purposes of these PFIC tests, if BidCo directly or indirectly owns at
least 25% (by value) of the stock of another corporation, BidCo will be treated as owning its
proportionate share of such other corporation’s gross assets and receiving its proportionate share
of such other corporation’s gross income. The Debtors cannot provide any assurances that
BidCo will not be treated as a PFIC in the current or future taxable years, especially in light of
the fact that the Debtors are still in the development stage of their business.




                                                 -98-
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                        Pg 314 of 342



         Under the PFIC rules, if BidCo is a PFIC for any taxable year during which a U.S. Holder
holds BidCo Equity Interests, BidCo will continue to be treated as a PFIC with respect to such
U.S. Holder for all succeeding years during which the U.S. Holder holds the BidCo Equity
Interests unless (i) BidCo ceases to be a PFIC and (ii) the U.S. Holder makes a “deemed sale”
election under the PFIC rules. In general, if BidCo is a PFIC for any taxable year during which a
U.S. Holder holds BidCo Equity Interests, any gain recognized by the U.S. Holder on a sale or
other taxable disposition of BidCo Equity Interests, as well as the amount of any “excess
distribution” (defined below) received by such U.S. Holder, would be allocated ratably over the
U.S. Holder’s holding period for the BidCo Equity Interests. The amounts allocated to the
taxable year of the sale or other disposition (or the taxable year of receipt, in the case of an
excess distribution) and to any year before BidCo became a PFIC would be taxed as ordinary
income. The amounts allocated to each other taxable year would be subject to tax at the highest
rate in effect for that taxable year, and an interest charge would be imposed. For purposes of
these rules, an excess distribution is the amount by which any distribution received by a U.S.
Holder on its BidCo Equity Interests in a taxable year exceeds 125% of the average of the annual
distributions on the BidCo Equity Interests received during the preceding three years or the U.S.
Holder’s holding period, whichever is shorter. Certain elections may be available that would
result in alternative treatments (such as mark-to-market treatment or “qualified electing fund”
treatment) of the BidCo Equity Interests. It is not known whether BidCo will make available the
information necessary for U.S. Holders to make a “qualified electing fund” election with respect
to their BidCo Equity Interests.

       The rules relating to PFICs are complex. Each U.S. Holder is urged to consult its tax
advisor regarding whether BidCo will constitute a PFIC and, if so, the U.S. federal income tax
consequences of holding the BidCo Equity Interests.

               3.      U.S. Holders of Allowed General Unsecured Claims

        In general, a U.S. Holder of an Allowed General Unsecured Claim will recognize gain or
loss in an amount equal to the difference between (i) the sum of any Cash and the fair market
value of any other consideration received in satisfaction of its Claim (other than any Cash or
other consideration received in respect of a Claim for accrued but unpaid interest and accrued
OID, if any), and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis
attributable to accrued but unpaid interest and accrued OID, if any). A U.S. Holder will have
ordinary interest income to the extent of any Cash or other consideration received that is
allocable to accrued but unpaid interest or OID not previously included in income, as described
under “Accrued Interest.” In the event of the subsequent disallowance of any General Unsecured
Claims, a U.S. Holder of a previously Allowed General Unsecured Claim may receive additional
post-Effective Date Distributions. Accordingly, it is possible that any loss, or a portion of any
gain, realized by a U.S. Holder may be deferred until all General Unsecured Claims are Allowed
or disallowed. In addition, a U.S. Holder may have imputed interest income with respect to any
such post-Effective Date Distributions. U.S. Holders are urged to consult their own tax advisors
regarding the possible application (and the ability to elect out) of the “installment method” of
reporting any gain that may be recognized by them in respect of their General Unsecured Claims
due to the receipt of consideration in a taxable year subsequent to the taxable year in which the




                                               -99-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 315 of 342



Effective Date occurs. The discussion herein assumes that the installment method does not
apply.

               4.      U.S. Holders of Allowed Ongoing Trade Claims

        In general, a U.S. Holder of an Allowed Ongoing Trade Claim will recognize gain or loss
in an amount equal to the difference between (i) the sum of any Cash and the fair market value of
any other consideration received in satisfaction of its Claim (other than any Cash or other
consideration received in respect of a Claim for accrued but unpaid interest and accrued OID, if
any), and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis
attributable to accrued but unpaid interest and accrued OID, if any). A U.S. Holder will have
ordinary interest income to the extent of any Cash or other consideration received that is
allocable to accrued but unpaid interest or accrued OID not previously included in income, as
described under section “Accrued Interest.” In the event of the subsequent disallowance of any
Ongoing Trade Claims, a U.S. Holder of a previously Allowed Ongoing Trade Claim may
receive additional post-Effective Date Distributions subject to the treatment discussed above.
See Section VIII.A.3., “U.S. Holders of Allowed General Unsecured Claims”, supra.

               5.      Accrued Interest

        To the extent that any amount received by a U.S. Holder of a surrendered Allowed
Secured Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim is
attributable to accrued but unpaid interest or OID, the receipt of such amount should be taxable
to the U.S. Holder as ordinary interest income (to the extent not already taken into income by the
U.S. Holder, and subject to a special exception that may be available to cash-method U.S.
Holders in certain circumstances). Conversely, a U.S. Holder of an Allowed Secured Notes
Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim may be able to
recognize a deductible loss (or, possibly, a write off against a reserve for worthless debts) to the
extent that any accrued interest or OID was previously included in the U.S. Holder’s gross
income but was not paid in full. Such loss may be ordinary, but the tax law is unclear on this
point.

        If the fair market value of the consideration is not sufficient to fully satisfy all principal
and interest on an Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed
Ongoing Trade Claim, the extent to which such consideration will be attributable to accrued
interest is unclear. Under the Plan, the aggregate consideration received in respect of Allowed
Claims will be allocated first to the principal amount of such Claims, with any excess allocated
to unpaid interest, if any, that accrued on such Claims before the Petition Date. Certain
legislative history indicates that an allocation of consideration as between principal and interest
provided in a chapter 11 plan of reorganization is binding for U.S. federal income tax purposes,
while certain Treasury Regulations treat payments as allocated first to any accrued but unpaid
interest. The IRS could take the position that the consideration received by a U.S. Holder should
be allocated in some way other than as provided in the Plan. U.S. Holders of Allowed Secured
Notes Claims, Allowed General Unsecured Claims and Allowed Ongoing Trade Claims should
consult their own tax advisors regarding the proper allocation of the consideration received by
them under the Plan.



                                                 -100-
20-22437-rdd        Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                         Pg 316 of 342



               6.      Market Discount

        Under the “market discount” provisions of the Code, some or all of any gain realized by a
U.S. Holder of an Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed
Ongoing Trade Claim who receives consideration pursuant to the Plan in satisfaction of its
Allowed Secured Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade
Claim may be treated as ordinary income (instead of capital gain), to the extent of the amount of
market discount on the Claim. In general, a debt instrument is considered to have been acquired
with market discount if the U.S. Holder’s adjusted tax basis in the debt instrument is less than (a)
the sum of all remaining payments to be made on the debt instrument, excluding “qualified
stated interest” or (b) in the case of a debt instrument issued with original issue discount, its
adjusted issue price, in either case, by at least a statutorily defined de minimis amount.

       Any gain recognized by a U.S. Holder on the taxable disposition of an Allowed Secured
Notes Claim, Allowed General Unsecured Claim or Allowed Ongoing Trade Claim acquired
with market discount should generally be treated as ordinary income to the extent of the market
discount that accrued thereon while the Allowed Secured Notes Claim, Allowed General
Unsecured Claim or Allowed Ongoing Trade Claim was considered to be held by the U.S.
Holder (unless the U.S. Holder elected to include market discount in income as it accrued).

        To the extent that Allowed Secured Notes Claims acquired with market discount are
exchanged in a tax-deferred transaction, any market discount that accrued on the Allowed
Secured Notes Claims (i.e., up to the time of the exchange) but was not recognized by the U.S.
Holder may carry over to the BidCo Equity Interests received in exchange therefor, in which case
any gain recognized on the subsequent sale or other taxable disposition of the BidCo Equity
Interests shall be treated as ordinary income to the extent of the accrued, but not recognized,
market discount with respect to the Allowed Secured Notes Claims.

       U.S. Holders are urged to consult their own tax advisors regarding the tax consequences
of the exchange of Allowed Secured Notes Claims, Allowed General Unsecured Claims or
Allowed Ongoing Trade Claims acquired with market discount pursuant to the Plan.

               7.      Information Reporting and Backup Withholding

        The Debtors and the Reorganized Debtors will withhold all amounts required by law to
be withheld and will comply with all applicable reporting requirements of the Code. In general,
information reporting requirements may apply to Distributions or payments made to a holder
under the Plan or with respect to their BidCo Equity Interests. In addition, dividends and other
reportable payments may, under certain circumstances, be subject to “backup withholding” at the
then applicable withholding rate (currently 24%) if a recipient of those payments fails to furnish
to the payor certain identifying information and, in some cases, a certification that the recipient is
not subject to backup withholding. Backup withholding is not an additional tax but is, instead,
an advance payment that may entitle the holder to a refund from the IRS to the extent it results in
an overpayment of tax, provided that the required information is timely provided to the IRS.

       In addition, from an information reporting perspective, the Treasury Regulations
generally require disclosure by a U.S. taxpayer on its U.S. federal income tax return of certain


                                                 -101-
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                        Pg 317 of 342



types of transactions in which the taxpayer participated, including, among other types of
transactions, certain transactions that result in the taxpayer claiming a loss in excess of specified
thresholds. U.S. Holders are urged to consult their tax advisors regarding these regulations and
whether the transactions contemplated by the Plan would be subject to these regulations and
require disclosure on the holders’ tax returns.

        The U.S. federal income tax consequences of the Plan are complex. The foregoing
summary does not discuss all aspects of U.S. federal income taxation that may be relevant
to a particular U.S. Holder in light of such U.S. Holder’s circumstances and income tax
situation. All holders of Claims and Interests should consult with their tax advisors as to
the particular tax consequences to them of the transactions contemplated by the Plan,
including the applicability and effect of any state, local, or foreign tax laws, and of any
change in applicable tax laws.

       B.      CERTAIN UK TAX CONSEQUENCES FOR HOLDERS OF BIDCO
               EQUITY INTERESTS

        The mere subscription of new share capital in BidCo will have no immediate UK taxation
consequence for the new shareholder. A shareholder acquiring existing shares by transfer (as
opposed to new shares by subscription) will be liable for UK stamp duty at the rate of 0.5% on
the consideration paid for those shares. The acquisition of shares in the Reorganized Company
Party should not result in any UK tax consequences for the holders of shares in BidCo.

      The holder of shares in BidCo receiving dividends on those shares will not, under current
UK law, suffer any withholding on account of UK tax on such dividends.

         Indebtedness of the Reorganized Debtors which is released under the Plan in a way that
gives rise, prima facie, to a taxable credit in the hands of the Reorganized Debtors, should not, of
itself, result in a shareholder of BidCo incurring any charge to UK taxation. A ruling has been
obtained from HM Revenue and Customs which confirms that any income so arising shall be
treated as statutorily exempt from UK tax in the Reorganized Debtors’ hands.

       Shareholders should consult their own tax advisers of any non-UK taxation
consequences to them arising as a result of the conversion or exchange of any indebtedness
of the Debtors and/or the holding of the share capital of BidCo (or any affiliate thereof).

       This analysis may not apply to a shareholder who holds its investment in BidCo as a
trading or dealing asset of a financial trade or business carried on in the United Kingdom
or through a branch or permanent establishment there, and such persons are advised to
seek their own professional tax and accounting advice on the consequences of any exchange
of indebtedness for equity under the Plan.

IX.    RECOMMENDATION AND CONCLUSION

        The Debtors believe that the Confirmation and consummation of the Plan is preferable to
all other alternatives. Consequently, the Debtors urge all parties entitled to vote to accept the




                                                 -102-
    20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39           Main Document
                                            Pg 318 of 342



     Plan and to evidence their acceptance by duly completing and returning their Ballots so that they
     will be received on or before the Voting Deadline established by the Disclosure Statement Order.

Dated: August [__]31, 2020                      Respectfully submitted,

                                                OneWeb Global Limited,
                                                on behalf of itself and each of the other Debtors




                                                By:      /s/ [DRAFT] Thomas Whayne
                                                        Name: Thomas Whayne
                                                        Title: Chief Financial Officer
                                                               OneWeb Global Limited




                                                      -103-
      20-22437-rdd    Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                          Pg 319 of 342



       Prepared by:

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                                               -104-
20-22437-rdd                      Doc 534                 Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                                                    Pg 320 of 342



                                                                                     ANNEX A

                                                                                            Plan




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20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 321 of 342



                                     ANNEX B

                                Liquidation Analysis
        20-22437-rdd          Doc 534           Filed 09/01/20 Entered 09/01/20 00:35:39                      Main Document
                                                          Pg 322 of 342

OneWeb Global Ltd. et. al.
Summary Table - Best Interests Test

Below is a summary, prepared by the Debtors and their professionals, of the proposed recoveries by Holders of Allowed Claims
against, and Allowed Interests in, the Debtors pursuant to the Joint Chapter 11 Plan of Reorganization of OneWeb Global
Limited et. al. (the "Plan") as compared to potential recoveries in a hypothetical Chapter 7 liquidation.

Because recoveries under the Plan exceed those in a hypothetical chapter 7 case, the Plan satisfies the best interests of creditors
test.

                                                                                               Plan
        Class                        Claim Type                      Plan Consideration                       Chapter 7 Recovery
                                                                                             Recovery
     Unclassified    New Money DIP Loan Claims1                            Cash2              100.0%              0% to 21.0%
     Unclassified    Roll-up Loan Claims                                   Cash               100.0%                  0.0%
     Unclassified    Ch. 11 Administrative Expense Claims                  Cash               100.0%                  0.0%
                                            3
          1          Secured Notes Claims                                  Equity              6.1%                   0.0%
           2         Other Secured Claims                                  Cash               100.0%                  0.0%
           3         Priority Non-Tax Claims                               Cash               100.0%                  0.0%
           4         General Unsecured Claims                               N/A                0.0%                   0.0%
           5         Ongoing Trade Claims                                   [ ]                 [ ]                   0.0%
           6         Intercompany Claims                                    N/A             0% to 100%                0.0%
           7         Intercompany Interests                                 N/A             0% to 100%                0.0%
           8         Section 510(b) Claims                                  N/A                0.0%                   0.0%
           9         OneWeb Interests                                       N/A                0.0%                   0.0%
1
  New money DIP Claims represent $30 million of initial new money DIP loans provided by the initial DIP Lenders and $110
million of additional new money DIP loans provided by the Plan Sponsor (the “New Money DIP Loan Claims”). Chapter 7
recovery percentage reflects the range of the high-case and low-case recovery scenarios.
2
 On the Effective Date, except with respect to Interim Funding DIP Claims, each holder of an Allowed DIP Claim shall receive
payment in full in cash under the Plan. With respect to the Interim Funding DIP Claims under the Plan, each holder of an
allowed Interim Funding DIP Claim under the DIP Facility shall have such claims converted into BidCo Equity Interests at the
same valuation as the BidCo Equity Consideration. In a Chapter 7 liquidation, all New Money DIP Loan Claims will receive
payment, if any, in cash.
3
    Plan percentage recovery reflects equity distribution value of $100 million.




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20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 323 of 342



OneWeb Global Ltd. et. al.
Liquidation Analysis Assumptions


Introduction
Section 1129(a)(7) of the Bankruptcy Code1 requires that each holder of an impaired Allowed
Claim or Interest either (i) accept the Plan or (ii) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such holder would receive or retain
if the Debtors’ assets were liquidated under Chapter 7 of the Bankruptcy Code on the Effective
Date of the Plan. To demonstrate that the Plan satisfies this standard, the Debtors, in consultation
with their legal and financial advisors, have prepared the Liquidation Analysis, which (a) estimates
the realizable value of the Debtors (the “Chapter 7 Debtors”) under a hypothetical Chapter 7
liquidation (the “Liquidation Analysis”) and (b) estimates the distribution to creditors resulting
from the liquidation.

The Liquidation Analysis is a hypothetical exercise based on a number of estimates and
assumptions that are subject to significant uncertainties and contingencies. Proceeds
generated in a hypothetical Chapter 7 liquidation are likely to be significantly discounted due to
the distressed nature of the sale. Further, Allowed Claims against the Chapter 7 Debtors’ estates
could vary materially from the estimates set forth in the Liquidation Analysis. Accordingly, while
the information contained in the Liquidation Analysis is presented with numerical specificity, the
Debtors make no assurances that the asset values and Claim amounts presented in the Liquidation
Analysis would not vary materially from actual amounts in the event of an actual Chapter 7
liquidation.

Following is a summary of certain assumptions used in the Liquidation Analysis. The notes to the
Liquidation Analysis provide additional assumptions and should be read in conjunction with the
Liquidation Analysis. Additional factors not enumerated herein were also considered in connection
with the formulation of the Liquidation Analysis.


General Assumptions
The Liquidation Analysis assumes that the Debtors’ Chapter 11 cases are converted to
liquidation cases under Chapter 7 of the Bankruptcy Code effective October 1, 2020. The
Bankruptcy Court-appointed Chapter 7 trustee would proceed to liquidate as soon as possible all
assets of the Chapter 7 Debtors in both the high recovery and low recovery scenarios.

In the high-recovery scenario, assets are assumed liquidated over a nine-month liquidation period
and the Chapter 7 cases would conclude on June 30, 2021. The assumed nine-month wind-down
period reflects the requirement for regulatory approvals for a sale transaction. The high-recovery
scenario assumes that the Debtors’ spectrum rights, seventy-four (74) in-orbit satellites, satellite
control equipment and certain related contracts and other operating assets located at its UK-based
satellite operations center and its $5 million cash fund pledged to the United Kingdom Space
Agency (the “Spectrum Asset Package”) would be sold in the aggregate as a pool of assets to
maximize liquidation value. The hypothetical sales assume that the Debtors’ existing business

                                               2
20-22437-rdd        Doc 534                           CONFIDENTIAL
                                  Filed 09/01/20 Entered              – SUBJECT
                                                          09/01/20 00:35:39  MainTO FRE 408
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                                            Pg 324 of 342    DRAFT – SUBECT TO REVISION


would not be sold as a going concern, which severely limits the potential value to be derived from
the spectrum and other assets.

In the low-recovery scenario, assets are assumed liquidated over a twelve-month liquidation period
and the Chapter 7 cases would conclude on September 30, 2021. A twelve-month liquidation
period is estimated based on the assumption that the spectrum is not able to be sold given the
distressed nature of the sale and the limited time to market the assets in a hypothetical Chapter 7
liquidation and, therefore, a period of time would be required to de-orbit the satellites currently in
operation within the necessary regulatory guidelines and requirements.

This Liquidation Analysis incorporates, inter alia, (a) information included in the Debtors’ Plan,
(b) amounts presented in the Debtors’ books and records and (c) analyses performed by the
Debtors.

The Liquidation Analysis reflects the possibility that the applicable liquidation period may not
provide sufficient time to maximize value during the sale of assets of the Chapter 7 Debtors and
that the Chapter 7 Debtors’ negotiation position will be very weak. The assets would likely be
valued and, if sold, sold at “deeply distressed” price levels. Liquidation values were derived by
estimating proceeds from a “deeply distressed” sale of assets that a Chapter 7 trustee might
achieve.

The Liquidation Analysis assumes that liquidation proceeds (net of the expenses incurred by the
Chapter 7 trustee) will be distributed in accordance with the Bankruptcy Code and that no
distributions will be made to junior creditors or equity holders until all senior creditors are paid in
full.

The Liquidation Analysis assumes an Ongoing Trade Claims class is not established and that
the Ongoing Trade Claims are treated as General Unsecured Claims.

Upon conversion of the Chapter 11 cases to Chapter 7 liquidation, it is assumed that the Chapter
7 trustee will be permitted the use of Cash Collateral (as defined in the DIP Order) 1 and sale
proceeds for solely the purposes of managing a wind-down and liquidation of assets, however,
there is no guarantee that funding beyond the Carve-Out (as defined in the DIP Order) will be
available to a Chapter 7 trustee absent consent of the DIP Lenders to use Cash Collateral.

While the Liquidation Analysis assumes liquidation over a nine- to twelve-month period due to
the time required obtain regulatory approval in the high-recovery scenario or to de-orbit the
satellites in the low-recovery scenario or it is possible that the disposition and recovery from
certain assets could take longer and cost more to realize. The potential impact of litigation and
actions by other creditors could increase the amount of time required to realize recoveries assumed
in this analysis. Such events, including if the Chapter 7 trustee were not granted consensual use of
Cash Collateral and could not obtain alternate financing for costs incurred to realize on assets,

1
 Order (I) Authorizing Debtors to Obtain Postpetition Secured Financing, (II) Granting Liens and Providing
Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief
[Docket No. 121] (the “DIP Order”).

                                                      3
20-22437-rdd      Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39               Main Document
                                         Pg 325 of 342



could add costs to the liquidation in the form of higher legal and professional fees to resolve these
potential events or shorten the time available to realize on the assets.

The table herein summarizes the estimated proceeds that would be available for distribution
to the Debtors’ creditors in a hypothetical liquidation of the Debtors’ estates under Chapter 7 of
the Bankruptcy Code. Additional assumptions with respect to the Liquidation Analysis are
provided below.

Cash and Equivalents
The “Cash and Equivalents” balances are the projected unrestricted Debtor cash balances as of
October 1, 2020 based on the Debtors’ consolidated cash forecast. OneWeb Communications
Limited is projected to hold the majority of the cash as of October 1, 2020. Cash balances at each
entity are projected based on allocation of the consolidated cash balance projected at October 1,
2020 and expected cash needs for wind-down and other administrative expenses. It is assumed that
the Chapter 7 Debtors maintain the existing cash management system currently in place. The
Liquidation Analysis assumes that, to the extent necessary to fund operations, the Debtors will
first use cash currently reflected on the books of OneWeb Communications Limited.

The Liquidation Analysis assumes zero cash balance at each of the non-debtor entities as of
October 1, 2020. Existing cash balances at June 30, 2020 are projected to be utilized to partly fund
liabilities at the non-debtor entities. Non-debtor liabilities are projected to exceed the existing cash-
on-hand.

Restricted cash includes cash held by third parties, including approximately $5 million held by the
United Kingdom Space Agency as collateral in the event that the Debtors are no longer able to
operate or safely de-orbit the satellites currently in operation. The low-recovery scenario assumes
this cash collateral is returned to the Debtors in full at the conclusion of the de-orbiting process.
The high-recovery scenario assumes the collateral remains in place and is transferred to the buyer
as part of the Spectrum Asset Package.

Intercompany Receivables
For purposes of this analysis, intercompany receivables have not been included. In both
scenarios, gross proceeds available are insufficient to cover the projected administrative
expenses and carve-out expense at most of the Debtor entities. Local, third-party liabilities of
non-US debtors may have to be paid in priority to intercompany payables to other OneWeb-
related entities. As a result, the intercompany receivables are assumed to have no realizable
value.

Prepaid Expenses and Other Current Assets
Prepaid and other current assets consist mainly of prepaid rent, prepaid insurance, advances to
suppliers, and security deposits. The Liquidation Analysis assumes these assets will either be
consumed during the liquidation period or are not realizable and therefore no proceeds will be
realized from prepaid expenses.


                                                  4
20-22437-rdd        Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 326 of 342




Income Tax Receivable
The Liquidation Analysis assumes no proceeds are realized from any income tax receivable.

Satellites, Ground, and Other Property and Equipment
The Company’s property and equipment includes costs for the design, development, manufacture,
test, and launch of a constellation of LEO satellites (referred to as the “Space Component”) and
the acquisition, installation, and activation of primary and backup control centers, gateway, and
other ground facilities (referred to as the “Ground Component”).

The Liquidation Analysis assumes in the high-recovery scenario that the Space Component and
Ground Component assets are included in the Spectrum Asset Package and are sold together as a
pool of assets at deeply distressed values. See the “Spectrum Rights” section below for discussion
of the estimated gross proceeds.

Intangible Assets
Intangible assets consist of intangibles with determinable or indefinite lives, website and computer
software costs. A portion of the Company’s intangible assets are spectrum licenses, priority rights,
and trademarks, which are indefinite-lived intangible assets.

The Liquidation Analysis assumes no proceeds are realized from the intangible assets except for
the spectrum rights included in the Spectrum Asset Package.

Spectrum Rights
OneWeb has various spectrum authorizations and licenses, including for the use of Ku-band and
Ka-band radio-frequency spectrum on a global basis, and domestic market access/services
authorizations in jurisdictions in which its ground infrastructure is located.

The global Ku-band and Ka-band authorizations are issued by the ITU for a specific set of
satellites, frequencies, and orbits to be used in a planned constellation and contain certain
milestones for the number of in-orbit satellites, which are assumed to be at risk in a hypothetical
liquidation sale. The high-recovery scenario assumes that the Debtors’ Spectrum Asset Package
would be sold as a pool of assets at deeply distressed value for gross proceeds of no more than $50
million.

In the low-recovery scenario, assets are assumed liquidated over a twelve (12) month period based
on the assumption that the spectrum is not able to be sold during the hypothetical liquidation sale
period, thus the satellites currently in operation must be de-orbited within the necessary regulatory
guidelines and requirements. It is assumed that the Debtors’ remaining assets in the Spectrum
Asset Package, separate and independent from the spectrum rights, are not able to be sold in either
scenario.



                                                5
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 327 of 342



The assumption of a range of zero to $50 million in gross proceeds for the Spectrum Asset Package
reflects the bids, indications of interest, and other information regarding value received during the
Debtors’ sale process (as adjusted to account for the both the significant risk of getting regulatory
approval of such sales and the additional risks associated with an asset sale in a liquidation
environment) as well as key characteristics of the spectrum assets, namely that the majority of its
value is derived from the operation of a LEO constellation as contemplated under the Debtors’
authorizations and licenses. These authorizations and licenses include certain future milestone
dates regarding the deployment of satellites. The hypothetical liquidation analysis assumes that the
Spectrum Asset Package is sold as assets separate and apart from a going concern business.

The Liquidation Analysis assumes that 80% of the gross liquidation value would be attributable to
the spectrum rights and 20% attributable to the other assets comprising the Spectrum Asset
Package. OneWeb’s Ku-band authorization is the forward channel and provides higher priority
use than its Ka-band authorization and, therefore, comprises most of the estimated spectrum rights
liquidation value. The Liquidation Analysis assumes 90% allocation of the estimated spectrum
rights liquidation value to the Ku-band and 10% allocation to the Ka-band.

While there may be some hypothetical value in the domestic market access licenses the realizable
value for any particular market is highly uncertain. There would also be significant costs to
negotiate with governments for approval of the transfer of such licenses. Accordingly, the
Liquidation Analysis assumes that any value realized from sales of the domestic market access
licenses is included in the gross liquidation value.


Other Non-Current Assets
The Liquidation Analysis assumes no proceeds are realized from the other non-current assets.


Investment in Affiliates
Assets at non-debtor subsidiaries have limited to no realizable value on a standalone basis.
Certain non-debtors have liabilities, including the potential obligations under long-term site
leases. The Liquidation Analysis assumes cash available in aggregate at the non-debtor entities
is used to pay the non-debtors’ obligations and that cash at non-debtor entities is insufficient to
fund all existing and projected liabilities as of October 1, 2020. As a result, the Liquidation
Analysis assumes no proceeds are available to provide any realization on the Debtors’
investment in affiliates.

Deferred Tax Assets
The Liquidation Analysis assumes no proceeds are realized from the other deferred tax assets.

Costs Associated with Liquidation
Estimated amounts for corporate payroll and certain operating costs during the nine-month
liquidation period are based upon the assumption that certain corporate functions would be
retained to oversee the liquidation process. Some staff would also be needed to maintain and

                                                6
20-22437-rdd      Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 328 of 342



close the accounting records and to complete certain administrative tasks, including payroll, tax
forms, and records. Certain minimum staff would be required at the physical locations to
complete the closure of the facilities, disassemble the equipment, and oversee the sale process
of the spectrum and equipment.

Operating costs are expected to include staff and facilities costs to maintain and manage the fleet
of satellites during the nine-month liquidation period in the high-recovery scenario where the
Spectrum Asset Package is sold. In the low-recovery scenario where a buyer for the Spectrum
Asset Package is not found, costs will be required to de-orbit the seventy-four (74) in-orbit
satellites. This is expected to take twelve (12) months. The Liquidation Analysis assumes the
$5 million of restricted cash held by the United Kingdom Space Agency is returned to the
Debtors at the end of this period.

Chapter 7 trustee fees include those fees associated with the appointment of a Chapter 7 trustee
in accordance with section 326 of the Bankruptcy Code. Chapter 7 professional fees include
legal, appraisal, broker and accounting fees expected to be incurred during the liquidation period
and not already deducted from liquidation values.

Carve-Out for US Trustee, Chapter 7 Trustee and Estate Professional Fees
The Carve-Out represents proceeds of the secured lenders’ collateral allocated under the DIP Order
to pay certain US Trustee fees, Chapter 7 trustee fees, and fees and expenses of the Debtors’ and
the Creditors’ Committee’s professionals. The estimates incorporated in the Liquidation Analysis
include: (i) estimated accrued and unpaid professional fees associated with the Chapter 11 Cases
as of October 1, 2020, (ii) estimated US Trustee fees owing as of October 1, 2020, (iii) all
reasonable fees and expenses up to $100,000 incurred by a Chapter 7 trustee, and (iv) up to
$3,000,000 of fees and expenses of the Debtors’ and the Creditors’ Committee’s professionals
incurred after October 1, 2020.


New Money DIP Loan Claims
New Money DIP Loan Claims in the Liquidation Analysis are comprised of the $30 million
aggregate amount of the first two tranches of the initial DIP funding and $110 million of Interim
Funding DIP Claims, plus interest accrued on each principal balance.


Senior Secured Prepetition Claims
The Liquidation Analysis assumes $94 million of the Secured Notes Claims, which includes
accrued interest, and is reflected as Roll-up Loan Claims.

Other Secured Claims
Other Secured Claims are estimated for purposes of this Liquidation Analysis at zero based on
the Debtors’ books and records as of the Petition Date. The final amount of Other Secured
Claims is subject to change based on continued reconciliation of proofs of claim filed through
the bar date of August 11, 2020. The debtors have not analyzed potential Other Secured Claims

                                                7
20-22437-rdd       Doc 534    Filed 09/01/20 Entered 09/01/20 00:35:39            Main Document
                                        Pg 329 of 342



in detail and this estimate is not an admission that any asserted Claim qualifies for secured
treatment. No assurance can be given that the total amount of actual Allowed Other Secured
Claims will ultimately be in the estimated amount and actual results could be greater or less than
this estimate.


503(b)(9) Claims
The 503(b)(9) Claims reflect estimated amounts based on the Debtors’ preliminary review of
proof of claims filed through July 15, 2020 as well as the Debtors’ books and records. The final
amount of 503(b)(9) is subject to change based on potential additional proofs of claims filed
through the bar date of August 11, 2020 and upon the debtors’ full legal review of filed claims.
The debtors have not analyzed potential 503(b)(9) Claims in detail and this estimate is not an
admission that any asserted claim qualifies for 503(b)(9) treatment. No assurance can be given
that actual allowed 503(b)(9) Claims will ultimately be in the estimated amount and actual
results could be greater or less than this estimate.


Priority Tax Claims
Priority Tax Claims are estimated for purposes of this Liquidation Analysis at zero based on the
Debtors’ books and records. The final amount of Priority Tax Claims is subject to change based
on continued reconciliation against proof of claims and potential additional proofs of claims
filed through the governmental bar date of September 24, 2020 and upon the debtors’ full legal
review of filed claims. The debtors have not analyzed potential priority tax Claims in detail and
this estimate is not an admission that any asserted Claim qualifies for priority tax treatment. No
assurance can be given that the total actual amount of Allowed Priority Tax Claims will
ultimately be in the estimated amount and actual results could be greater or less than this
estimate.




                                                8
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                Main Document
                                                                                       Pg 330 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                        OneWeb Global Limited             OneWeb Communications Limited            WorldVu Satellites Limited


                                                                                    Low Recovery     High Recovery        Low Recovery      High Recovery       Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                             1,576               1,576           702,572            702,572                 -                  -
  Restricted Cash                                                                             -                   -                 -                  -                   -                  -
  Gross Proceeds from Sale [2] [3]                                                            -                   -                 -                  -                   -           36,797,329
Total Gross Proceeds Available                                                              1,576               1,576           702,572            702,572                 -           36,797,329

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 35                  35            15,808             15,808                -               827,940
    Chapter 7 Professional Fees [5]                                                            16                  16             7,026              7,026                -               367,973
    Transaction Fee - Spectrum Sale                                                           -                   -                 -                  -                  -             1,500,000
    Estate Wind-down Expenses [6]                                                           2,137               1,503           952,919            670,368            253,460             178,306
Total Priority Administrative Costs                                                         2,188               1,555           975,753            693,202            253,460           2,874,219

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                             21                 21              9,371             9,371               2,492              2,492
   Accrued Professional Fees at Conversion Date                                                -                  -                  -                 -                   -           10,069,500
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                  -                 -                   -            3,100,000
Total Carve-Out                                                                                 21                 21              9,371             9,371               2,492         13,171,992

  Net Estimated Proceeds Available (by Entity)                                               (634)                    0         (282,551)                   0         (255,952)        20,751,118

Proceeds Available for Distribution to Creditors                                               -                      0              -                      0              -           20,751,118

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083      143,802,083          143,802,083       143,802,083         143,802,083        143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                      0              -                      0              -           20,751,118
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                  -                 -                   -                  -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667       94,541,667           94,541,667        94,541,667          94,541,667         94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                  -                 -                   -                    -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                 3,720              3,720                -                 -                   -                  -
   Priority Tax Claims                                                                         -                  -                  -                 -                 2,000              2,000

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                  -                 -                   -                    -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -        1,639,267,588     1,639,267,588       1,639,267,588      1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                  -                 -                   -                    -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                  -                 -                   -                    -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                  -                 -                   -                    -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                  -                 -                   -                    -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                  -                 -                   -                    -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                  -                 -                   -                    -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                  -                 -                   -                    -




                                                                                              9
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                   Main Document
                                                                                       Pg 331 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                         OneWeb Holdings LLC                   WorldVu Development LLC                     1021823 BC Ltd.


                                                                                    Low Recovery       High Recovery        Low Recovery      High Recovery        Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                               672                 672           14,231,706        14,231,706              16,176              16,176
  Restricted Cash                                                                             -                   -                    -                 -                   -                   -
  Gross Proceeds from Sale [2] [3]                                                            -                   -                    -                 -                   -                   -
Total Gross Proceeds Available                                                                672                 672           14,231,706        14,231,706              16,176              16,176

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 15                  15              320,213           320,213                 364                 364
    Chapter 7 Professional Fees [5]                                                             7                   7              142,317           142,317                 162                 162
    Transaction Fee - Spectrum Sale                                                           -                   -                    -                 -                   -                   -
    Estate Wind-down Expenses [6]                                                             912                 641           19,302,867        13,579,360              21,940              15,435
Total Priority Administrative Costs                                                           933                 663           19,765,398        14,041,891              22,466              15,960

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                                9                   9          189,815            189,815                 216                216
   Accrued Professional Fees at Conversion Date                                                -                  -                   -                  -                   -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                   -                  -                   -                  -
Total Carve-Out                                                                                    9                   9          189,815            189,815                 216                216

  Net Estimated Proceeds Available (by Entity)                                               (270)                    (0)       (5,723,507)                  (0)           (6,505)                   0

Proceeds Available for Distribution to Creditors                                               -                  -                    -                 -                    -                      0

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083          143,802,083       143,802,083          143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                    -                 -                    -                      0
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                    -                 -                    -                  -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667           94,541,667        94,541,667           94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                    -                 -                    -                  -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                63,362             63,362             960,000             960,000
   Priority Tax Claims                                                                         -                  -                60,154             60,154                 -                   -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                    -                 -                    -                  -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -          1,639,267,588     1,639,267,588        1,639,267,588      1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                    -                 -                    -                  -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                    -                 -                    -                  -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                    -                 -                    -                  -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                    -                 -                    -                  -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                    -                 -                    -                  -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                    -                 -                    -                  -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                    -                 -                    -                  -




                                                                                               10
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                             Main Document
                                                                                       Pg 332 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                             OneWeb Ltd                 Network Access Associates Limited         OneWeb Norway AS


                                                                                    Low Recovery     High Recovery      Low Recovery       High Recovery     Low Recovery     High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -              30,837            30,837               -                -
  Restricted Cash                                                                              -                  -           5,000,000               -                 -                -
  Gross Proceeds from Sale [2] [3]                                                             -                  -                 -           9,202,671               -                -
Total Gross Proceeds Available                                                                 -                  -           5,030,837         9,233,507               -                -

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -                  -             113,194           207,754               -                -
    Chapter 7 Professional Fees [5]                                                            -                  -              50,308            92,335               -                -
    Transaction Fee - Spectrum Sale                                                            -                  -                 -                 -                 -                -
    Estate Wind-down Expenses [6]                                                              -                  -           4,748,587         3,340,580               -                -
Total Priority Administrative Costs                                                            -                  -           4,912,089         3,640,669               -                -

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -             46,695             46,695               -                -
   Accrued Professional Fees at Conversion Date                                                -                  -         10,069,500                -                 -                -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -          3,100,000                -                 -                -
Total Carve-Out                                                                                -                  -         13,216,195             46,695               -                -

  Net Estimated Proceeds Available (by Entity)                                                 -                  -         (13,097,448)        5,546,143               -                -

Proceeds Available for Distribution to Creditors                                               -                  -                 -           5,546,143               -                -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083      143,802,083        143,802,083       143,802,083      143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                 -            5,546,143              -                -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                 -                  -                -                -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667       94,541,667         94,541,667        94,541,667       94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                 -                  -                -                -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                -                  -                -                 -
   Priority Tax Claims                                                                         -                  -                300                300              200               200

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                 -                  -                -                -

Less Secured Notes Claims
   Total Secured Debt [8]                                                            1,639,267,588    1,639,267,588       1,639,267,588      1,639,267,588              -                -

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                 -                  -                -                -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                 -                  -                -                -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                 -                  -                -                -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                 -                  -                -                -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                 -                  -                -                -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                 -                  -                -                -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                 -                  -                -                -




                                                                                              11
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                     Main Document
                                                                                       Pg 333 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                             OneWeb ApS                    WorldVu Australia Pty Ltd             OneWeb Network Access Holdings Limited


                                                                                    Low Recovery     High Recovery      Low Recovery      High Recovery             Low Recovery       High Recovery



  Unrestricted Cash on Hand [1]                                                             1,088              1,088          470,425            470,425                     3,240              3,240
  Restricted Cash                                                                             -                  -                -                  -                         -                  -
  Gross Proceeds from Sale [2] [3]                                                            -                  -                -                  -                         -                  -
Total Gross Proceeds Available                                                              1,088              1,088          470,425            470,425                     3,240              3,240

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 24                 24           10,585             10,585                        73                 73
    Chapter 7 Professional Fees [5]                                                            11                 11            4,704              4,704                        32                 32
    Transaction Fee - Spectrum Sale                                                           -                  -                -                  -                         -                  -
    Estate Wind-down Expenses [6]                                                           1,475              1,038          638,051            448,862                     4,394              3,091
Total Priority Administrative Costs                                                         1,510              1,073          653,339            464,151                     4,500              3,197

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                             15                 15            6,274                 6,274                     43                43
   Accrued Professional Fees at Conversion Date                                                -                  -                -                     -                      -                 -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                -                     -                      -                 -
Total Carve-Out                                                                                 15                 15            6,274                 6,274                     43                43

  Net Estimated Proceeds Available (by Entity)                                               (437)                -           (189,189)                      0               (1,303)                  (0)

Proceeds Available for Distribution to Creditors                                               -                  -                -                         0                  -                 -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083      143,802,083       143,802,083                143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -                -                         0                  -                 -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                -                     -                      -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667       94,541,667         94,541,667                94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                -                     -                      -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -                -                     -                      -                 -
   Priority Tax Claims                                                                         -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                -                     -                      -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -                -                     -            1,639,267,588     1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                -                     -                      -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                -                     -                      -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                -                     -                      -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                -                     -                      -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                -                     -                      -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                -                     -                      -                 -




                                                                                              12
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                           Main Document
                                                                                       Pg 334 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                           OneWeb Limited                   WorldVu Unipessoal Lda                  OneWeb GK


                                                                                    Low Recovery     High Recovery      Low Recovery     High Recovery     Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -                -                 -            21,903             21,903
  Restricted Cash                                                                              -                  -                -                 -               -                  -
  Gross Proceeds from Sale [2] [3]                                                             -            4,000,000              -                 -               -                  -
Total Gross Proceeds Available                                                                 -            4,000,000              -                 -            21,903             21,903

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -              90,000               -                 -               493                493
    Chapter 7 Professional Fees [5]                                                            -              40,000               -                 -               219                219
    Transaction Fee - Spectrum Sale                                                            -                 -                 -                 -               -                  -
    Estate Wind-down Expenses [6]                                                              -                 -                 -                 -            29,707             20,899
Total Priority Administrative Costs                                                            -             130,000               -                 -            30,419             21,610

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -                -                 -               292                292
   Accrued Professional Fees at Conversion Date                                                -                  -                -                 -               -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                -                 -               -                  -
Total Carve-Out                                                                                -                  -                -                 -               292                292

  Net Estimated Proceeds Available (by Entity)                                                 -            3,870,000              -                 -             (8,808)              -

Proceeds Available for Distribution to Creditors                                               -            3,870,000              -                 -                -                 -

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083      143,802,083        143,802,083      143,802,083       143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -            3,870,000              -                 -                -                 -
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -                -                 -                -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667       94,541,667         94,541,667        94,541,667       94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -                -                 -                -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                 9,090             9,090               -                 -                -                 -
   Priority Tax Claims                                                                         -                 -                 -                 -                -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -                -                 -                -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -                -                 -                -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -                -                 -                -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -                -                 -                -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -                -                 -                -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -                -                 -                -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -                -                 -                -                 -




                                                                                              13
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                                  Main Document
                                                                                       Pg 335 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                     WorldVu South Africa (Pty) Ltd           WorldVu Mexico S. De R.L. de CV           OneWeb Chile SpA


                                                                                    Low Recovery      High Recovery           Low Recovery      High Recovery     Low Recovery      High Recovery



  Unrestricted Cash on Hand [1]                                                             27,780             27,780                 1,530              1,530           40,556             40,556
  Restricted Cash                                                                              -                  -                     -                  -                -                  -
  Gross Proceeds from Sale [2] [3]                                                             -                  -                     -                  -                -                  -
Total Gross Proceeds Available                                                              27,780             27,780                 1,530              1,530           40,556             40,556

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 625                625                    34                 34              913                913
    Chapter 7 Professional Fees [5]                                                            278                278                    15                 15              406                406
    Transaction Fee - Spectrum Sale                                                            -                  -                     -                  -                -                  -
    Estate Wind-down Expenses [6]                                                           37,679             26,507                 2,075              1,460           55,008             38,697
Total Priority Administrative Costs                                                         38,582             27,410                 2,125              1,510           56,326             40,015

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            371                371                     20                 20             541                541
   Accrued Professional Fees at Conversion Date                                                -                  -                      -                  -               -                  -
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -                      -                  -               -                  -
Total Carve-Out                                                                                371                371                     20                 20             541                541

  Net Estimated Proceeds Available (by Entity)                                             (11,172)                       0            (615)                -            (16,310)                   0

Proceeds Available for Distribution to Creditors                                               -                          0              -                  -                -                      0

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083        143,802,083            143,802,083       143,802,083       143,802,083       143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                          0              -                  -                -                      0
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                      -                  -                  -                -                 -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667         94,541,667             94,541,667        94,541,667        94,541,667        94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                      -                  -                  -                -                 -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                      -                  -                  -                -                 -
   Priority Tax Claims                                                                         -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                      -                  -                  -                -                 -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Secured Claims                                          -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                      -                  -                  -                -                 -

Less Other Secured Claims
   Other Secured Claims                                                                        -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                      -                  -                  -                -                 -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                      -                  -                  -                -                 -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                      -                  -                  -                -                 -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                      -                  -                  -                -                 -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                      -                  -                  -                -                 -




                                                                                               14
             20-22437-rdd                           Doc 534                  Filed 09/01/20 Entered 09/01/20 00:35:39                                          Main Document
                                                                                       Pg 336 of 342

In Re: OneWeb Global Limited, et al. (the "Debtors")
Liquidation Analysis - Conversion Effective October 1, 2020
$ USD
Analysis Current as of August 10, 2020
                                                                                        WorldVu JV Holdings LLC                       Total


                                                                                    Low Recovery      High Recovery    Low Recovery           High Recovery



  Unrestricted Cash on Hand [1]                                                                -                  -        15,550,060             15,550,060
  Restricted Cash                                                                              -                  -         5,000,000                    -
  Gross Proceeds from Sale [2] [3]                                                             -                  -               -               50,000,000
Total Gross Proceeds Available                                                                 -                  -        20,550,060             65,550,060

Ch. 7 Administrative Expenses
    Chapter 7 Trustee Fees [4]                                                                 -                  -           462,376              1,474,876
    Chapter 7 Professional Fees [5]                                                            -                  -           205,501                655,501
    Transaction Fee - Spectrum Sale                                                            -                  -               -                1,500,000
    Estate Wind-down Expenses [6]                                                              -                  -        26,051,211             18,326,748
Total Priority Administrative Costs                                                            -                  -        26,719,088             21,957,125

Carve-out [7]
   Ch. 11 US Trustee Fees (Q3 2020)                                                            -                  -           256,175                256,175
   Accrued Professional Fees at Conversion Date                                                -                  -        10,069,500             10,069,500
   Post-Conversion Ch. 11 Prof Fees @ Carve Out Cap                                            -                  -         3,100,000              3,100,000
Total Carve-Out                                                                                -                  -        13,425,675             13,425,675

  Net Estimated Proceeds Available (by Entity)                                                 -                  -       (19,594,702)            30,167,261

Proceeds Available for Distribution to Creditors                                               -                  -               -               30,167,261

Less New Money DIP Loan Claims
   Total New Money DIP Loan Claims                                                     143,802,083       143,802,083      143,802,083            143,802,083

   Hypothetical Recovery to Holders of New Money DIP Loan Claims                               -                  -               -               30,167,261
   Net Proceeds Available after Distributions to New Money DIP Loan Claims                     -                  -               -                      -

Less Roll-up Loan Claims
   Total Roll-up Loan Claims                                                            94,541,667        94,541,667       94,541,667             94,541,667

   Hypothetical Recovery to Holders of Roll-up Loan Claims                                     -                  -               -                      -
   Net Proceeds Available after Distributions to Roll-up Loan Claims                           -                  -               -                      -

Less Ch. 11 Administrative Expenses
   503(b)(9)                                                                                   -                  -         1,036,172              1,036,172
   Priority Tax Claims                                                                         -                  -            62,654                 62,654

   Hypothetical Recovery to Holders of Ch. 11 Administrative Expenses                          -                  -               -                      -
   Net Proceeds Available after Distributions to Ch. 11 Administrative Expenses                -                  -               -                      -

Less Secured Notes Claims
   Total Secured Debt [8]                                                                      -                  -     1,639,267,588          1,639,267,588

   Hypothetical Recovery to Holders of Secured Claims                                          -                  -               -                      -
   Net Proceeds Available after Distributions to Secured Notes Claims                          -                  -               -                      -

Less Other Secured Claims
   Other Secured Claims                                                                        -                  -               -                      -

   Hypothetical Recovery to Holders of Other Secured Claims                                    -                  -               -                      -
   Net Proceeds Available after Distributions to Other Secured Claims                          -                  -               -                      -

Less Priority Non-Tax Claims
   Priority Non-Tax Claims                                                                     -                  -               -                      -

   Hypothetical Recovery to Holders of Priority Non-Tax Claims                                 -                  -               -                      -
   Net Proceeds Available for General Unsecured Creditors and OneWeb Interests                 -                  -               -                      -




                                                                                              15
20-22437-rdd    Doc 534     Filed 09/01/20 Entered 09/01/20 00:35:39              Main Document
                                      Pg 337 of 342



Liquidation Analysis Footnotes


   1. Projected Unrestricted Cash on Hand balance of $15.5M reflects the DIP forecast as at
      October 1, 2020.

   2. Gross estimated proceeds from liquidation do not include any potential recovery from
      lawsuits that the Debtors have filed or could file or any value related to Net Operating
      Losses at any of the Debtor entities.

   3. Spectrum Asset Package proceeds estimated at $0 to $50 million. See “Spectrum Rights.”

   4. The Chapter 7 trustee’s fees are calculated at 2.25% of distributable assets as a proxy for
      11 U.S.C. § 326(a).

   5. Chapter 7 professional fees are assumed to be 1% of distributable assets.

   6. Wind-down costs include operating expense required to keep satellites in-orbit for nine (9)
      months under the high-recovery scenario or to de-orbit the satellites over a twelve (12)
      month period in the low-recovery scenario as well as payroll costs for reduced staff to
      shutter all other operations.

   7. Carve-out amount includes (i) estimated unpaid professional fees projected in the DIP
      Budget to be incurred through to September 30, 2020, (ii) $0.26 million for Q3-2020
      accrued US Trustee fees, (iii) $100,000 for fees and expenses of a trustee appointed in the
      Debtors’ cases under section 726(b) of the Bankruptcy Code, and (iv) $3 million capped
      amount of professional fees of the Debtors’ and the Creditors’ Committee professionals
      after conversion to a Chapter 7 proceeding. In the high-recovery scenario, the carve-out
      amount also includes an assumed $1.5 million transaction fee earned for the sale of the
      Spectrum Asset Package.

   8. Secured Notes Claims are reflected in full at each Debtor that is an obligor under the
      prepetition loan agreement.




                                             16
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 338 of 342



                                    ANNEX C

                               Financial Projections
20-22437-rdd     Doc 534      Filed 09/01/20 Entered 09/01/20 00:35:39             Main Document
                                        Pg 339 of 342



                                      Financial Projections

THE DEBTORS DO NOT, AS A MATTER OF COURSE, PUBLISH THEIR BUSINESS
PLANS, BUDGETS OR STRATEGIES OR MAKE EXTERNAL PROJECTIONS OR
FORECASTS OF THEIR ANTICIPATED FINANCIAL POSITIONS OR RESULTS OF
OPERATIONS. ACCORDINGLY, THE DEBTORS DO NOT ANTICIPATE THAT THEY
WILL, AND DISCLAIM ANY OBLIGATION TO, FURNISH UPDATED BUSINESS PLANS,
BUDGETS OR PROJECTIONS PRIOR TO THE EFFECTIVE DATE OR OTHERWISE MAKE
SUCH INFORMATION PUBLICLY AVAILABLE.

The Debtors prepared the financial projections set forth herein (the “Financial Projections”) based
on, among other things, the anticipated future financial condition and results of operations of the
Debtors in the Transaction. The following forecast was not prepared with a view toward
compliance with published guidelines of the SEC or the American Institute of Certified Public
Accountants regarding forecasts. The Debtors’ independent auditor has not audited, reviewed,
compiled or otherwise applied procedures to the forecast and consequently, does not express an
opinion or any other form of assurance with respect to the forecast. The forecast data are not
measured on a basis consistent with generally accepted accounting principles (“GAAP”) or
International Financial Reporting Standards (“IFRS”) as applied to the Debtors’ historical financial
statements and should not be relied upon as such.

THE FINANCIAL PROJECTIONS HEREIN HAVE BEEN PREPARED BY THE DEBTORS’
MANAGEMENT. THESE PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY MANAGEMENT,
MAY NOT BE REALIZED, AND ARE INHERENTLY SUBJECT TO SIGNIFICANT
BUSINESS, ECONOMIC AND COMPETITIVE UNCERTAINTIES AND CONTINGENCIES,
MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL. THE DEBTORS CAUTION
THAT NO REPRESENTATIONS CAN BE MADE AS TO THE ACCURACY OF THESE
FINANCIAL PROJECTIONS OR AS TO THE REORGANIZED DEBTORS’ ABILITY TO
ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL NOT
MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THESE PROJECTIONS WERE PREPARED
MAY BE DIFFERENT FROM THOSE ASSUMED OR, ALTERNATIVELY, MAY HAVE
BEEN UNANTICIPATED, AND THUS THE OCCURRENCE OF THESE EVENTS MAY
AFFECT FINANCIAL RESULTS IN A MATERIAL AND POSSIBLY ADVERSE MANNER.
THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTY OR
OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

Risks Associated with Forward-Looking Statements

The Financial Projections are, by their nature, forward-looking and are necessarily based on certain
assumptions and estimates. Should any or all of these assumptions or estimates ultimately prove
to be incorrect, the actual future results of the Reorganized Debtors may differ from those set forth
from the Financial Projections. The Financial Projections reflect numerous assumptions
concerning the anticipated future performance of the Reorganized Debtors, some of which may
20-22437-rdd       Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                           Pg 340 of 342



not materialize, including, without limitation, assumptions concerning: (a) the timing of
confirmation and consummation of the Plan in accordance with its terms; (b) the anticipated future
performance of the Reorganized Debtors, including, without limitation, the Debtors’ ability to
maintain or increase revenue and gross margins, control future operating expenses or make
necessary capital expenditures; (c) general business and economic conditions; (d) overall industry
performance and trends; and (e) the Debtors’ ability to receive vendor support.


                                                           Q4 2020E(1)     2021E        2022E         2023E
EBITDA                                                            ($45)       ($144)         $20         $232
 Less: Capex                                                      (373)      (1,215)        (200)          (74)
 Less: Working Capital & Other                                       --         (27)         (26)           (8)
Unlevered Free Cash Flow                                        ($419)      ($1,386)       ($206)        $149
 Plus: New Financing (BidCo Emergence)(2)                         740              --           --            --
                                                     (3)
 Plus: New Financing (New Offering / Commitments)                    --       1,300             --            --
Net Cash Flow                                                    $321          ($86)       ($206)        $149
Ending Cash Balance                                              $344         $258           $52         $201

Notes:
Figures may not tie due to rounding.
1 The Financial Projections assume an effective date of October 2, 2020 and this column includes pre-
  emergence expenses.
2 Represents $850 million of Additional Cash Plan Funding less $110 million of Interim Funding. Approximately
  $83 million of the $740 million of new financing will be used to fund administrative claims, cure costs and
  other expenses prior to emergence and are included in the EBITDA and capex figures above.
3 Per the table above, the Debtors' business plan contemplates post-close financing of $1.3BN in order to fund
  operational and capital expenditure needs. With a de-leveraged balance sheet as a result of the emergence
  from chapter 11 cases; the already existing commitment to fund up to $850 million to fund expenses and
  operations on and after the Effective Date; and the rebound in financial markets since the inception of COVID-
  19, the Debtors believe that they will be able to raise additional funding and that the Plan is feasible.
20-22437-rdd   Doc 534   Filed 09/01/20 Entered 09/01/20 00:35:39   Main Document
                                   Pg 341 of 342



                                    ANNEX D


                                 Excluded Assets
20-22437-rdd         Doc 534       Filed 09/01/20 Entered 09/01/20 00:35:39                   Main Document
                                             Pg 342 of 342




Excluded Entities

     OneWeb Global Ltd (UK)321
     OneWeb Technology Ltd (Jersey)332
     OneWeb Development Ltd (UK)2

Excluded Assets to be Transferred to Excluded Entities

     The 49% interest in OneWeb LLC (Russia) currently held by OneWeb Network Access
      Holdings Ltd (UK)
     Joint Venture Agreement in relation to OneWeb Limited Liability Company between
      OneWeb Network Access Holdings Limited and JSC “Satellite System “Gonets” dated 1
      June 2017, as amended (the “Russian JVA”), and any agreements relating to the Russian
      JVA or OneWeb Limited Liability Company.




321
      OneWeb Global Ltd (UK) will become a Liquidating Debtor upon consummation of the Plan. All parent
      company guarantees provided by OneWeb Global Ltd (UK) will be assumed by OneWeb Global Ltd (UK) and
      assigned to the Reorganized Debtors.
332
      OneWeb Technology Ltd (Jersey) and OneWeb Development Ltd (UK) are non-debtor subsidiaries of OneWeb
      Global Ltd (UK) that will not be transferred to BidCo and that will instead remain as subsidiaries of OneWeb
      Global Ltd (UK) upon consummation of the Plan.
